         Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 1 of 854




 1   C. ANDREW WATERS, ESQ., CA Bar No. 147259
     MICHAEL CONNETT, ESQ., CA Bar No. 300314
 2   WATERS, KRAUS & PAUL
     222 N. Pacific Coast Hwy, Suite 1900
 3   El Segundo, CA 90245
     310-414-8146 Telephone
 4   310-414-8156 Facsimile

 5   Attorneys for Plaintiffs

 6                                    UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF CALIFORNIA
 7                                         AT SAN FRANCISCO

 8   _________________________________________
      FOOD & WATER WATCH, et al.,              )
 9                                             )             Civ. No. 17-CV-02162-EMC
                              Plaintiffs,      )
10                vs.                          )             DECLARATION OF MICHAEL
                                               )             CONNETT IN SUPPORT OF
11    U.S. ENVIRONMENTAL PROTECTION            )             PLAINTIFFS’ OPPOSITION TO
      AGENCY, et al.                           )             DEFENDANTS’ MOTION FOR
12                                             )             SUMMARY JUDGMENT
                              Defendants.      )
13                                             )
                                               )
14                                             )

15
             I, Michael Connett, submit the following declaration in support of Plaintiffs’ Opposition of
16

17   Defendants’ Motion for Summary Judgment.

18           1.     I am lead counsel for Plaintiffs in the above-captioned case.

19           2.     Exhibit 1 is a true and correct excerpt of the deposition of EPA’s non-retained expert, Dr.
20
     Tala Henry. This deposition and all other depositions attached to this declaration were taken in this
21
     litigation.
22
             3.     Exhibit 2 is a true and correct excerpt of Plaintiffs’ November 22, 2016 Citizen Petition.
23
             4.     Exhibit 3 is a true and correct excerpt of an EPA report that I downloaded from EPA’s
24

25   website entitled Guidelines for Neurotoxicity Risk Assessment.

26           5.     Exhibit 4 is a true and correct excerpt of a webpage that I downloaded from EPA’s website
27   entitled: The NRC Risk Assessment Paradigm.
28
                                                   1
                                       DECLARATION OF MICHAEL CONNETT
         Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 2 of 854



            6.      Exhibit 5 is a true and correct excerpt of EPA’s Reregistration Eligibility Decision
 1
     for Sodium Fluoride, dated December 20, 2007, which I downloaded from EPA’s website.
 2

 3          7.      Exhibit 6 is a true and correct excerpt of a document that EPA provided to Plaintiffs which

 4   summarizes the rebuttal opinions EPA’s non-retained expert, Dr. Tala Henry, is expected to provide, and
 5   the facts upon which she will base them.
 6
            8.      Exhibit 7 is a true and correct excerpt of a powerpoint presentation by EPA’s non-retained
 7
     expert, Dr. Tala Henry. Dr. Henry confirmed that she is the author of this presentation at her deposition.
 8
     See Exhibit 1 at 277:17-279:19.
 9

10          9.      Exhibit 8 is a true and correct excerpt of a document I downloaded from the EPA website

11   entitled: Draft Risk Evaluation for 1-Bromopropane (n-Propyl Bromide).

12          10.     Exhibit 9 is a true and correct excerpt of a document I downloaded from the EPA website
13   entitled: Draft Risk Evaluation for 1,4-Dioxane.
14
            11.     Exhibit 10 is a true and correct excerpt of the deposition of EPA’s 30(b)(6) representative
15
     in this case, Dr. Edward Ohanian.
16
            12.     Exhibit 11 is a true and correct excerpt of the deposition of retired EPA scientist, Dr. John
17

18   William Hirzy.

19          13.     Exhibit 12 is a true and correct excerpt of the deposition of EPA scientist, Dr. Joyce

20   Donohue.
21
            14.     Exhibit 13 is a true and correct copy of an October 8, 2019 declaration from Plaintiffs’
22
     expert, Dr. Kathleen Thiessen, along with a copy of Dr. Thiessen’s June 27, 2019 expert report.
23
            15.     Exhibit 14 is a true and correct excerpt of a May 1, 1999 report entitled Why EPA’s
24
     Headquarters Union Opposes Fluoridation written by Dr. John William Hirzy. Dr. Hirzy authenticated
25

26   this document during his deposition in this case. See Exhibit 11 at 91:22-92:22.

27          16.     Exhibit 15 is a true and correct excerpt of a report that I downloaded from EPA’s website
28
                                                     2
                                         DECLARATION OF MICHAEL CONNETT
         Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 3 of 854



     entitled Fluoride: Dose-Response Analysis for Non-Cancer Effects.
 1
            17.     Exhibit 16 is a true and correct excerpt of the deposition of CDC’s 30(b)(6) representative,
 2

 3   Casey Hannan.

 4          18.     Exhibit 17 is a true and correct excerpt of the National Research Council’s report Fluoride
 5   in Drinking Water: A Scientific Review of EPA’s Standards which I downloaded from the National
 6
     Academies Press website.
 7
            19.     Exhibit 18 is a true and correct excerpt of the deposition of Plaintiffs’ expert, Dr. Kathleen
 8
     M. Thiessen.
 9

10          20.     Exhibit 19 is a true and correct excerpt of the deposition of Plaintiffs’ expert, Dr. Phillipe

11   Grandjean.

12          21.     Exhibit 20 is a true and correct copy of a letter from Robert Perciasepe, Assistant
13   Administrator for the EPA, dated July 25, 1997. Dr. Hirzy authenticated this letter at his deposition. See
14
     Exhibit 11 at pp. 89-91.
15
            21.     Exhibit 21 is a true and correct excerpt of a 2016 report that I downloaded from the National
16
     Toxicology Program’s (NTP) website entitled Systematic Literature Review on the Effects of Fluoride on
17

18   Learning and Memory in Animal Studies.

19          22.     Exhibit 22 is a true and correct excerpt of a webpage that I downloaded from EPA’s website

20   entitled: Conducting a Human Health Risk Assessment.
21
            23.     Exhibit 23 is a true and correct copy of an October 8, 2019 declaration from Plaintiffs’
22
     expert, Dr. Philippe Grandjean, along with a copy of Dr. Grandjean’s two expert reports.
23
            24.     Exhibit 24 is a true and correct excerpt of a paper co-authored by Plaintiffs’ expert, Dr.
24
     Philippe Grandjean, entitled Neurobehavioural Effects of Developmental Toxicity, which EPA’s counsel
25

26   introduced as Exhibit 335 during Dr. Grandjean’s deposition.

27          25.     Exhibit 25 is a true and correct excerpt of a report that I downloaded from EPA’s website
28
                                                   3
                                       DECLARATION OF MICHAEL CONNETT
         Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 4 of 854



     entitled: NIEHS/EPA Children’s Environmental Health and Disease Prevention Research Centers Impact
 1
     Report.
 2

 3             27.   Exhibit 26 is a true and correct excerpt of the deposition of EPA scientist, Dr. Kristina A.

 4   Thayer.
 5             28.   Exhibit 27 is a true and correct excerpt of the deposition of Plaintiffs’ non-retained expert,
 6
     Dr. Howard Hu.
 7
               29.   Exhibit 28 is a true and correct excerpt of the deposition of Plaintiffs’ non-retained expert
 8
     Dr. Bruce Lanphear
 9

10             30.   Exhibit 29 is a true and correct copy of a study that I received directly from the authors

11   entitled Fluoride Concentrations in Urine, Serum and Amniotic fluid in 2nd Trimester Pregnant Women in

12   Northern California.
13             31.   Exhibit 30 is a true and correct excerpt of a report that I downloaded from EPA’s website
14
     entitled: Toxicological Review Of 2,2',4,4'-Tetrabromodiphenyl Ether (BDE-47).
15
               32.   Exhibit 31 is a true and correct excerpt of a report that I downloaded from EPA’s website
16
     entitled: Toxicological Review of 2-Hexanone.
17

18             33.   Exhibit 32 is a true and correct excerpt of the deposition of Dr. Joyce Tsuji, an expert

19   retained by EPA in this litigation.

20             34.   Exhibit 33 is a true and correct excerpt of a report that I downloaded from EPA’s website
21
     entitled: Toxicological Review of Methanol.
22
               35.   Exhibit 34 is a study that I downloaded from the website of the British Journal of Psychiatry
23
     entitled Aluminium and fluoride in drinking water in relation to later dementia risk.
24
               36.   Exhibit 35 is a true and correct excerpt of the July 14, 1976 House Report on the Toxic
25

26   Substances Control Act, which I downloaded from Westlaw.

27             37.   Exhibit 36 is a true and correct excerpt of the deposition of Dr. Ellen Chang, an expert
28
                                                       4
                                           DECLARATION OF MICHAEL CONNETT
         Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 5 of 854



     retained by EPA in this litigation.
 1
              38.   Exhibit 37 is a true and correct excerpt of a document that I downloaded from the EPA
 2

 3   website entitled Methylmercury (MeHg); CASRN 22967-92-6.

 4            39.   Exhibit 38 is a true and correct excerpt of the deposition of Dr. Charlotte Lewis, an expert
 5   that EPA has retained in this litigation.
 6
              40.   Exhibit 39 is a true and correct excerpt of the deposition of Dr. Gary Slade, an expert that
 7
     EPA has retained in this litigation.
 8
              41.   Exhibit 40 is a true and correct copy of the Second Amended Declaration of Scott Edwards,
 9

10   Co-Director of the Food & Water Justice project for Plaintiff Food & Water Watch, which was initially

11   filed with the Court as part of the parties’ stipulation on standing (ECF 100).

12            42.   Exhibit 41 is a true and correct excerpt of the deposition of Julie Simms.
13            43.   Exhibit 42 is a true and correct excerpt of Exhibit F to Julie Simms’s declaration that was
14
     filed with the Court as part of the parties’ stipulation on standing (ECF 100).
15
              44.   Exhibit 43 is a true and correct excerpt of Exhibit E to Julie Simms’s declaration that was
16
     filed with the Court as part of the parties’ stipulation on standing (ECF 100).
17

18            45.   Exhibit 44 is a true and correct copy of Exhibit A to Audrey Adams’s declaration that

19   was filed with the Court as part of the parties’ stipulation on standing (ECF 100).

20            46.   Exhibit 45 is a true and correct copy of Exhibit C to Audrey Adams’s declaration that was
21
     filed with the Court as part of the parties’ stipulation on standing (ECF 100).
22
              47.   Exhibit 46 is a copy of a study that Plaintiffs attached to their Citizen Petition entitled
23
     Prevalence of Neurological Manifestations in a Human Population Exposed to Fluoride in Drinking
24
     Water.
25

26

27

28
                                                       5
                                           DECLARATION OF MICHAEL CONNETT
         Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 6 of 854



             48.     Exhibit 47 is a true and correct excerpt of a document that I downloaded from the Food &
 1
     Drug Administration’s website entitled MOU-XXX-XX-XXXX: Memorandum of Understanding Between the
 2

 3   Environmental Protection Agency and The Food & Drug Administration.

 4           49.     The following URL links to an August 19, 2019 podcast by the editors of JAMA Pediatrics,
 5   wherein the editors discuss the study on prenatal fluoride and IQ co-authored by Dr. Bruce Lanphear:
 6
     https://bit.ly/2p996AE (last accessed on October 9, 2019).
 7
             50.     Some of the exhibits that are attached to this declaration have highlighting and/or pen marks.
 8
     All of these highlights and writings are my own, with the exception of the pen marks in Exhibit 35, which
 9

10   were on the document I downloaded from Westlaw.

11           51.     Dr. Howard Hu and Dr. Bruce Lanphear have both agreed to serve as non-retained experts

12   for Plaintiffs in this case.
13           I declare under penalty of perjury that the foregoing is true and correct.
14
             Executed on October 18, 2019, in Long Beach, California.
15
                                                    /s/ Michael Connett
16                                                  MICHAEL CONNETT
                                                    WATERS, KRAUS & PAUL
17                                                  222 N. Pacific Coast Hwy, Suite 1900
18                                                  El Segundo, CA 90245
                                                    Tel: (310) 414-8146
19                                                  Email: mconnett@waterskraus.com

20

21

22

23

24

25

26

27

28
                                                    6
                                        DECLARATION OF MICHAEL CONNETT
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 7 of 854




                     Exhibit 1
  Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 8 of 854




                  FOOD & WATER WATCH

                                 VS

U.S. ENVIRONMENTAL PROTECTION AGENCY, ET AL.,



                         TALA HENRY

                         August 20, 2019
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 9 of 854
                                                                          11

·1    · · ·A· · Deputy office director of the Office

·2    of Pollution Prevention and Toxics.

·3    · · ·Q· · And is the office of Pollution

·4    Prevention and Toxics, is that the office that

·5    handles TSCA issues?

·6    · · ·A· · It is the office that implements

·7    TSCA.

·8    · · ·Q· · And TSCA is the Toxic Substances

·9    Control Act?

10    · · ·A· · Correct.

11    · · ·Q· · And you have been at the EPA for

12    about 25 years now?

13    · · ·A· · Correct.

14    · · ·Q· · And how would you describe your

15    expertise?· What subject matters are -- let me

16    back up.· Are you a toxicologist?

17    · · ·A· · Yes.

18    · · ·Q· · Are you a risk assessment scientist?

19    · · ·A· · Yes.

20    · · ·Q· · Any other areas that you consider

21    yourself an expert in?



                     Asbestos Reporters of California
                               888-779-9974                                    YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 10 of 854
                                                                           12

·1     · · ·A· · Those are very broad areas.· Let me

·2     just clarify.· Currently in my position I'm a

·3     senior executive, so I do have the expertise

·4     and I have conducted risk assessments and been

·5     a staff toxicologist in the past.· But in my

·6     position now, again, I have the office's

·7     resources in many areas available.

·8     · · ·Q· · Okay.· And so during your 25 years

·9     at EPA, have you personally been involved with

10     writing risk assessments?

11     · · ·A· · Yes.

12     · · ·Q· · And in addition to writing risk

13     assessments, have you personally been involved

14     in reviewing and providing comments on risk

15     assessments?

16     · · ·A· · Yes.

17     · · ·Q· · Fair to say that in the course of

18     your 25 years at EPA, you have been involved

19     in one way or another with many risk

20     assessments?

21     · · ·A· · Yes.



                      Asbestos Reporters of California
                                888-779-9974                                    YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 11 of 854
                                                                           13

·1     · · ·Q· · Do you have an estimate as to how

·2     many risk assessments you have been involved

·3     with in some capacity?

·4     · · ·A· · No.

·5     · · ·Q· · More than 20?

·6     · · ·A· · Yes.

·7     · · ·Q· · More than 50?

·8     · · ·A· · Yes.

·9     · · ·Q· · More than a hundred?

10     · · ·A· · Yes.

11     · · ·Q· · More than 200?

12     · · ·A· · I would have to count at that point.

13     · · ·Q· · And can you give me -- I know there

14     is obviously many risk assessments that you

15     have been a part of, but can you summarize for

16     me how you have contributed to risk

17     assessments in your career at EPA?

18     · · ·A· · I have actually written some parts

19     of risk assessments, I have extensively

20     reviewed them, I have edited, reviewed, okayed

21     or signed off on, if you will, in pretty much



                      Asbestos Reporters of California
                                888-779-9974                                    YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 12 of 854
                                                                           14

·1     any way, shape or form.

·2     · · ·Q· · And how would you define risk

·3     assessment?

·4     · · ·A· · Risk assessment is to determine

·5     whether or not risk is -- the probability of

·6     risk from exposure to -- in my case it's been

·7     always chemical substances.

·8     · · ·Q· · Okay.· And let me just back up and

·9     ask you what is it that led you to the EPA?

10     Why did you want to work for the EPA?

11     · · ·A· · Well, I was a junior in college in

12     my -- getting a biology degree.· I was in my

13     chemistry class and the professor came in and

14     announced that at the EPA laboratory in the

15     town where my college is, that they were

16     looking for student workers and, as many

17     college students, I was in need of funds.

18     · · · · · So I got myself down there and

19     interviewed for the biological laboratory aide

20     job, which is on my CV, and secured the job.

21     That's how it started.



                      Asbestos Reporters of California
                                888-779-9974                                    YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 13 of 854
                                                                           16

·1     · · ·BY MR. CONNETT:

·2     · · ·Q· · Is it fair to say that EPA is

·3     seeking to protect public health?

·4     · · · · · MS. CARFORA:· Objection, form.

·5     · · ·A· · I'm not speaking on behalf of EPA

·6     today.

·7     · · ·BY MR. CONNETT:

·8     · · ·Q· · Okay.· So prior to your -- now, I

·9     know -- and we're going to talk about this a

10     little bit later -- I know that you were

11     involved with responding to the plaintiffs'

12     petition in this case.· We're going to talk

13     about that a little bit later.

14     · · · · · But prior to your work on the

15     petition, had you ever been involved with any

16     fluoride-related projects at EPA?

17     · · ·A· · Not to my recollection.

18     · · ·Q· · And I will just go through some

19     examples of what I am referring to.· Had you

20     ever been involved with any regulatory actions

21     related to fluoride?



                      Asbestos Reporters of California
                                888-779-9974                                    YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 14 of 854
                                                                           17

·1     · · ·A· · Not that I recall.

·2     · · ·Q· · Had you ever been involved with any

·3     literature reviews related to fluoride?

·4     · · ·A· · No.

·5     · · ·Q· · Had you been involved with any

·6     hazard assessments related to fluoride?

·7     · · ·A· · Not that I recall.

·8     · · ·Q· · Had you been involved with any

·9     dose-response assessments related to fluoride?

10     · · ·A· · Not that I recall.

11     · · ·Q· · Had you been involved with any

12     exposure assessments related to fluoride?

13     · · ·A· · Not that I recall.

14     · · ·Q· · Had you been involved with any risk

15     characterizations related to fluoride?

16     · · ·A· · Not that I recall.

17     · · ·Q· · Do you consider yourself an expert

18     on fluoride toxicology?

19     · · ·A· · No.

20     · · ·Q· · Do you consider yourself an expert

21     on fluoride neurotoxicity?



                      Asbestos Reporters of California
                                888-779-9974                                    YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 15 of 854
                                                                           18

·1     · · ·A· · No.

·2     · · ·Q· · Do you consider yourself an expert

·3     on fluoride and dental health?

·4     · · ·A· · No.

·5     · · ·Q· · Do you consider yourself an expert

·6     on any aspect of fluoride?

·7     · · ·A· · Not specifically.· Again, I am a

·8     toxicologist and can evaluate papers that are

·9     toxicology-type, papers but it's not an area

10     that I have studied extensively.

11     · · ·Q· · Prior to your involvement with the

12     petition in this case, had you ever reviewed

13     any of the scientific literature on fluoride?

14     · · ·A· · Not that I recall.

15     · · ·Q· · Have you, subsequent to the petition

16     being filed, actually read any of the primary

17     studies related to fluoride toxicity?

18     · · ·A· · Yes.

19     · · ·Q· · How many prior studies do you

20     estimate you have read?

21     · · ·A· · At the time that we were preparing



                      Asbestos Reporters of California
                                888-779-9974                                    YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 16 of 854
                                                                           160

·1     · · · · · (Recess taken from 12:04 p.m.

·2     · · · · · until 12:09 p.m.)

·3     · · · · · THE VIDEOGRAPHER:· We're back on the

·4     record.· The time on the video is 12:09 p.m.

·5     · · · · · (Deposition Exhibit Number 231 was

·6     · · · · · marked for identification.)

·7     · · ·BY MR. CONNETT:

·8     · · ·Q· · Okay.· So I am going to hand you a

·9     document which I've marked as Exhibit

10     Number 231.

11     · · ·A· · So we're done with these.· Okay.

12     · · ·Q· · And it's a Federal Register document

13     dated July 20th, 2017 and it's titled,

14     "Procedures for Chemical Risk Evaluation under

15     the Amended Toxic Substances Control Act."

16     · · · · · You're familiar with this document,

17     right?

18     · · ·A· · Yes.

19     · · ·Q· · What is it exactly?· Can you

20     describe or summarize it?

21     · · ·A· · It's the rulemaking that codifies



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 17 of 854
                                                                           161

·1     the requirements of the Toxic Substances

·2     Control Act and describes the procedures and

·3     processes by which the agency will conduct

·4     risk evaluations in accordance with the law.

·5     · · ·Q· · Okay.· And were you an author of

·6     this document?

·7     · · ·A· · I wasn't an author per se.· I served

·8     basically as a risk assessment resource to the

·9     person who was the primary author and reviewed

10     it, of course.

11     · · ·Q· · Okay.· So if you turn to the second

12     page of the document, which is page 33727, you

13     see the section one in the top left?

14     · · ·A· · Yes.

15     · · ·Q· · It's titled, "Chemical substances to

16     undergo risk evaluation."

17     · · ·A· · Yes.

18     · · ·Q· · And EPA writes that, "Section 6(b)

19     identifies the chemical substances that are

20     subject to this process."

21     · · ·A· · Yes.



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 18 of 854
                                                                           162

·1     · · ·Q· · And then EPA identifies three groups

·2     of chemical substances that are subject to

·3     this rulemaking proceeding, right?

·4     · · ·A· · Yes.

·5     · · ·Q· · So this -- these risk evaluation

·6     procedures that EPA sets forth here govern

·7     these three groups of chemical substances,

·8     right?

·9     · · ·A· · Yes.

10     · · ·Q· · And the first group of chemical

11     substances are the ten chemical substances the

12     agency was required to identify from the 2014

13     update to the TSCA work plan, right?

14     · · ·A· · Yes.

15     · · ·Q· · The second group of chemical

16     substances that this risk evaluation procedure

17     applies to is the chemical substances

18     determined to be high-priority substances

19     through the prioritization process published

20     elsewhere in the Federal Register, right?

21     · · ·A· · Yes.



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 19 of 854
                                                                           163

·1     · · ·Q· · And then the third group of chemical

·2     substances that this risk evaluation procedure

·3     applies to is chemicals selected in response

·4     to a manufacturer's request, right?

·5     · · ·A· · Yes.

·6     · · ·Q· · So those are the three groups of

·7     chemical substances that these risk evaluation

·8     procedures govern, right?

·9     · · ·A· · Yes.

10     · · ·Q· · Now, this document here, which is

11     about 20 or so pages, the word citizen

12     petition don't appear anywhere, right?

13     · · ·A· · No, not that I know of, having read

14     it just here today.

15     · · ·Q· · Right.· Now, the -- these procedures

16     that are identified here in this Federal

17     Register document do not apply to risk

18     evaluations done under Section 21 of the Act,

19     correct?

20     · · ·A· · I don't believe that risk

21     evaluations are conducted under Section 21.



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 20 of 854
                                                                           181

·1     different definitions in the scientific

·2     literature and that is what the purpose of

·3     this table was, to in fact show that there are

·4     different definitions out there.

·5     · · ·Q· · Now, over the years EPA has used

·6     weight of the scientific evidence as a method

·7     for many of its risk assessments, right?

·8     · · ·A· · The concept of using a weight of

·9     scientific evidence has been a conceptual

10     approach and, you know, a recommended approach

11     in many of EPA's risk assessment guidances.

12     · · ·Q· · And it's a common method that

13     scientists use in literature reviews in the

14     published literature, correct?

15     · · ·A· · Yes.

16     · · ·Q· · Now, in its definition -- well,

17     strike that.

18     · · · · · The TSCA statute does not require

19     systematic reviews, correct?

20     · · ·A· · Correct, it did not speak to

21     systematic review.



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 21 of 854
                                                                           212

·1     era, they met the intent or the letter, no, I

·2     cannot say that today.

·3     · · ·BY MR. CONNETT:

·4     · · ·Q· · Okay.· I move to strike as

·5     nonresponsive.· I just want to be really clear

·6     about this.· It's a yes or no.

·7     · · · · · Can you identify for me a single

·8     completed risk assessment that EPA has ever

·9     done that used -- had a predefined criteria

10     for which papers it would select?

11     · · · · · MS. CARFORA:· Objection, asked and

12     answered.

13     · · ·A· · Sitting here today, I cannot due to

14     lack of being able to explore the question.

15     · · ·BY MR. CONNETT:

16     · · ·Q· · Okay.· Can you identify for me any

17     completed risk assessment in EPA's entire

18     history that used a predefined criteria for

19     assessing the quality of studies?

20     · · · · · MS. CARFORA:· Objection, asked and

21     answered.



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 22 of 854
                                                                           213

·1     · · ·BY MR. CONNETT:

·2     · · ·Q· · Yes or no?

·3     · · ·A· · Again, without looking back at some

·4     completed, I would need to basically read

·5     them, see what they said about what criteria

·6     were used and whether they were predefined.

·7     · · ·BY MR. CONNETT:

·8     · · ·Q· · I move to strike as nonresponsive

·9     because I don't think I got an answer.· It's

10     really a yes-or-no answer.

11     · · · · · Can you point me to any completed

12     risk assessment in EPA's entire history where

13     EPA used a predefined criteria for assessing

14     the quality of the studies, yes or no?

15     · · · · · MS. CARFORA:· Objection, asked and

16     answered.

17     · · ·A· · As we sit here today, no.

18     · · ·BY MR. CONNETT:

19     · · ·Q· · Can you point me to any completed

20     risk assessment in EPA's entire history where

21     EPA used a predefined method -- sorry, strike



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 23 of 854
                                                                           236

·1     · · ·Q· · And EPA has conducted narrative

·2     reviews for some of its risk assessments in

·3     the past, right?

·4     · · ·A· · In the past.

·5     · · ·Q· · In fact, most of EPA's risk

·6     assessments in the past were narrative

·7     reviews, right?

·8     · · ·A· · In the past.

·9     · · ·Q· · And when you say in the past, we're

10     talking prior to 2014, '15, right?

11     · · ·A· · Yes.· Under TSCA, I can only speak

12     of but again, I'm not as familiar with some of

13     the more recent risk assessments in other

14     parts of the EPA so I can't really speak on

15     all of EPA.

16     · · ·Q· · But for TSCA, EPA was using

17     narrative reviews for its risk assessments up

18     to about 2014, right?

19     · · ·A· · Not exclusively.· Again, I believe

20     that some of the business tenets of systematic

21     review were still performed.



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 24 of 854
                                                                           240

·1     · · ·Q· · So you weren't involved in risk

·2     assessments for your first 15 years at EPA?

·3     · · ·A· · Define risk assessment.

·4     · · ·Q· · Well, I will let you define it since

·5     you're the expert.

·6     · · ·A· · I reviewed -- largely reviewed risk

·7     assessments when I first joined.· Then I was

·8     in the Office of Research and Development

·9     where we didn't perform or review.· And then

10     later I did ambient water quality criteria

11     which is a form of risk assessment.

12     · · ·Q· · So the risk assessments that you

13     reviewed or were in some way involved with

14     from when you first joined the agency up until

15     2009 were entirely narrative review?

16     · · ·A· · I can't affirm that without looking

17     at them.

18     · · ·Q· · Can you point me to or identify for

19     me a single risk assessment that you were

20     involved with between 1994 and 2009 that used

21     a systematic review procedure?



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 25 of 854
                                                                           241

·1     · · ·A· · No.

·2     · · · · · MS. CARFORA:· Tala, do you need a

·3     break?

·4     · · · · · THE WITNESS:· Sure.

·5     · · · · · THE VIDEOGRAPHER:· This concludes

·6     media unit number four.· The time on the video

·7     is 2:25 p.m.· We are off the record.

·8     · · · · · (Recess taken from 2:25 p.m.

·9     · · · · · until 2:34 p.m.)

10     · · · · · THE VIDEOGRAPHER:· This begins media

11     unit number five.· The time on the video is

12     2:34 p.m.· We are on the record.

13     · · ·BY MR. CONNETT:

14     · · ·Q· · Are you familiar with the Bradford

15     Hill analysis?

16     · · ·A· · The Bradford Hill criteria?

17     · · ·Q· · Yes.

18     · · ·A· · I'm familiar.

19     · · ·Q· · Are you familiar with -- are you

20     aware of any EPA risk assessment for noncancer

21     effects that has used or discussed the



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 26 of 854
                                                                           250

·1     understand whether the data or the experiment

·2     support causality.

·3     · · ·Q· · Was the -- did EPA consider the

·4     temporal relationship issue in the 1-BP risk

·5     evaluation?

·6     · · ·A· · Absolutely.

·7     · · ·Q· · And it considered -- EPA considered

·8     biological gradient in the 1-BP --

·9     · · ·A· · Absolutely.

10     · · ·Q· · Now, EPA over time issues guidelines

11     on various aspects of risk assessment, right?

12     · · ·A· · As well as guidance.

13     · · ·Q· · And in the final rule on risk

14     evaluation procedures under TSCA, EPA

15     references these prior guidelines, right?

16     · · ·A· · Yes.

17     · · ·Q· · And EPA states in the final rule

18     that it's -- that those guidelines can be used

19     and considered when doing risk evaluation,

20     right?

21     · · ·A· · Yes.



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 27 of 854
                                                                           251

·1     · · ·Q· · And one of the guidelines that EPA

·2     has published in the past is guidelines on

·3     neurotoxicity risk assessment, correct?

·4     · · ·A· · Yes.

·5     · · ·Q· · So when doing a risk evaluation

·6     under TSCA, one can use and consider EPA's

·7     guidelines on neurotoxicity risk assessment,

·8     correct?

·9     · · ·A· · Yes.

10     · · ·Q· · Now, are you familiar -- have you

11     ever read the guidelines on neurotoxicity risk

12     assessment?

13     · · ·A· · Yes.

14     · · ·Q· · When is the last time you read them?

15     · · ·A· · Two weeks ago.

16     · · ·Q· · Okay.· So why don't I pull those

17     out.

18     · · · · · (Deposition Exhibit Number 234

19     · · · · · was marked for identification.)

20     · · ·BY MR. CONNETT:

21     · · ·Q· · I'm going to mark this as Exhibit



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 28 of 854
                                                                           252

·1     Number 234.· It's just an excerpt of EPA's

·2     "Guidelines for neurotoxicity risk

·3     assessment."· And I would like to draw your

·4     attention to the introduction section here

·5     which is on page one.· And the first sentence

·6     of the introduction states, "These guidelines

·7     describe the principles, concepts and

·8     procedures that the U.S. Environmental

·9     Protection Agency will follow in evaluating

10     data on potential neurotoxicity associated

11     with exposure to environmental toxicants."

12     · · · · · Did I read that correctly?

13     · · ·A· · Yes.

14     · · ·Q· · Is that a correct statement?

15     · · ·A· · Yes.

16     · · ·Q· · So then if someone is evaluating

17     data on the potential neurotoxicity associated

18     with fluoride, someone should -- the risk

19     assessor should use these guidelines, correct?

20     · · ·A· · To the extent they're applicable.

21     · · ·Q· · Now, do these guidelines -- and I



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 29 of 854
                                                                           254

·1     very much the same things you do in what we

·2     call a systematic review today.

·3     · · ·BY MR. CONNETT:

·4     · · ·Q· · Okay.· So if one does a risk

·5     assessment that is compliant with these

·6     guidelines, one would effectively do a

·7     systematic review?

·8     · · ·A· · Effectively.

·9     · · ·Q· · Okay.· Now, do these guidelines

10     require the use of predefined criteria for

11     which studies will be considered?

12     · · ·A· · Guidelines by their very inherency,

13     if you will, don't require anything.

14     · · ·Q· · Okay.· Do these guidelines recommend

15     or suggest the use of predefined criteria for

16     which studies will be considered?

17     · · ·A· · Again, in the chapter that is fairly

18     lengthy on things to consider in reviewing

19     studies, there are quite a few predefined

20     criteria that one would consider in reviewing

21     those types of studies.· It's organized by



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 30 of 854
                                                                           257

·1     · · ·Q· · Okay.· A risk assessment that

·2     follows and adheres to these guidelines for

·3     neurotoxicity risk assessment, would that

·4     provide credible information for making a

·5     determination as to risk?

·6     · · ·A· · Generally speaking, yes, but one

·7     always has to consider, you know, the vintage

·8     of the guidelines, what newer science has

·9     become available since then, what potentially

10     supersedent guidance that EPA has, as well as

11     the context, in this case specifically TSCA,

12     context you're conducting a risk assessment.

13     · · ·Q· · Has EPA issued any superseding

14     guidelines for neurotoxicity risk assessment?

15     · · ·A· · Not specifically in whole.

16     · · ·Q· · So when you say not specifically in

17     whole, what do you mean?

18     · · ·A· · There are certain aspects of some

19     chapters in this guideline have had updated

20     guidance published subsequently but not called

21     the neurotoxicity risk assessment guidelines.



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 31 of 854
                                                                           267

·1     provided to counsel what is required of it

·2     under the rules for a nonretained expert to

·3     make counsel -- the plaintiffs aware of our

·4     experts' opinions and the underlying facts for

·5     those opinions in summary form.

·6     · · · · · MR. CONNETT:· Okay.

·7     · · ·BY MR. CONNETT:

·8     · · ·Q· · So one last question about the

·9     guidelines for neurotoxicity risk assessment.

10     The guidelines specifically reference this

11     concept of margin exposure as a method for

12     characterizing risk, correct?

13     · · ·A· · Yes.

14     · · ·Q· · Now --

15     · · ·A· · Well, actually the margin of

16     exposure itself is not an expression of risk.

17     It's a calculation of the margin of exposure.

18     That is the difference between hazard and

19     exposure level.

20     · · ·Q· · Okay.· And EPA uses this method --

21     this margin of exposure method to -- as a



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 32 of 854
                                                                           268

·1     basis for characterizing risk, right?

·2     · · ·A· · Yes, in some programs.

·3     · · ·Q· · Including in TSCA, right?

·4     · · ·A· · Yes.

·5     · · ·Q· · And in your rebuttal report in this

·6     case, you identified margin of exposure as a

·7     method EPA uses for characterizing risk under

·8     TSCA, right?

·9     · · ·A· · Yes.

10     · · ·Q· · And in a margin of exposure

11     analysis, if the calculated margin of exposure

12     is less than the benchmark margin of exposure,

13     EPA considers that to be a risk of concern,

14     correct?

15     · · ·A· · It's a risk that we would consider

16     further.

17     · · ·Q· · And in fact under TSCA, EPA

18     considers -- strike that.

19     · · · · · Under TSCA, where the calculated

20     margin of exposure is less than the benchmark

21     margin of exposure, EPA considers that to be



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 33 of 854
                                                                           271

·1     the benchmark margin of exposure, that is an

·2     unacceptable health risk as a general rule?

·3     · · ·A· · I wouldn't call it a rule but it's

·4     the general starting point for further

·5     consideration.

·6     · · ·Q· · Okay.· And what -- remind me what is

·7     the further consideration that needs to be

·8     done after that?

·9     · · ·A· · Under TSCA?

10     · · ·Q· · Yes.

11     · · ·A· · You have to go beyond the risk

12     assessment and make an unreasonable risk

13     determination.

14     · · ·Q· · And what do you have to do beyond

15     the margin of exposure analysis to reach the

16     unreasonable risk determination?

17     · · ·A· · There are other risk-related factors

18     that may be considered.

19     · · ·Q· · May be considered.· What are those

20     other risk-related factors that may be

21     considered?



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 34 of 854
                                                                           272

·1     · · ·A· · The severity of the effect, the

·2     reversibility of the effect, the population

·3     exposed, the number of people exposed, for

·4     example.

·5     · · ·Q· · And would you agree that the more

·6     people who are exposed to the chemical, that

·7     that weighs in favor of an unreasonable risk

·8     determination?

·9     · · ·A· · I don't think that that is a general

10     rule.· I think it's context-specific so it

11     depends.

12     · · ·Q· · So why does EPA consider the number

13     of people exposed in doing its unreasonable

14     risk analysis?

15     · · ·A· · Swaying of various evidence.

16     · · ·Q· · What's the relevance for EPA to

17     understand the number of Americans exposed to

18     a chemical when it's doing its risk

19     evaluation?

20     · · · · · MS. CARFORA:· Objection, asked and

21     answered.



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 35 of 854
                                                                           273

·1     · · ·A· · It's a consideration that we take

·2     into account in moving from the margin of

·3     exposure to making the unreasonable risk

·4     determination.

·5     · · ·BY MR. CONNETT:

·6     · · ·Q· · And why does EPA consider that?· Why

·7     is that factor relevant, the number of people

·8     who are exposed to the chemical?

·9     · · ·A· · It's a piece of information to

10     understand the -- how widespread the risk

11     could possibly be.

12     · · ·Q· · And why is that important for EPA to

13     understand how widespread the risk could be?

14     · · ·A· · It's a part of a risk

15     characterization to just know.· Again, under

16     TSCA there are many, many different uses and

17     so therefore there are very many different

18     exposure scenarios.· So we try to understand

19     for all of them and for the chemical as a

20     whole what kind of risk could possibly be over

21     what spatial and temporal and population



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 36 of 854
                                                                           277

·1     · · ·Q· · Well, can you identify for me any

·2     other factor that you can think of?

·3     · · ·A· · Not as we sit here today.

·4     · · ·Q· · Okay.

·5     · · ·A· · I think there might be a few more

·6     listed in the rule, final rule.

·7     · · ·Q· · Okay.· Can you point me to those

·8     other considerations?

·9     · · ·A· · Maybe.· And they were provided as

10     examples.· I guess it's not here.· It's in

11     some of our drafts but again, those are three

12     of the biggest ones.

13     · · ·Q· · So as you sit here today, you can't

14     point me to any other factors you consider

15     besides three risk-related factors --

16     · · ·A· · Not as we sit here today.

17     · · ·Q· · Now, Dr. Henry, from time to time

18     you give PowerPoint presentations on

19     TSCA-related issues, correct?

20     · · ·A· · Yes.

21



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 37 of 854
                                                                           278

·1     · · · · · (Deposition Exhibit Number 235 was

·2     · · · · · marked for identification.)

·3     · · ·BY MR. CONNETT:

·4     · · ·Q· · I am going to hand you a PowerPoint

·5     presentation that we got from the internet

·6     which I'll mark as Exhibit Number 235.· And

·7     it's a PowerPoint presentation titled,

·8     "Overview of Risk Assessment under TSCA."

·9     · · · · · Do you recall this presentation?

10     · · ·A· · I don't recall where.· Do you have

11     any more context?

12     · · ·Q· · I do.· So let me hand you a document

13     which I will mark as 236 that is the beginning

14     part of this file.· As you'll see, the first

15     page of your PowerPoint here is listed as

16     page nine; do you see that?

17     · · ·A· · Okay.

18     · · · · · (Deposition Exhibit Number 236

19     · · · · · was marked for identification.)

20     · · ·BY MR. CONNETT:

21     · · ·Q· · So I'm going to hand you the first



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 38 of 854
                                                                           279

·1     eight pages of this that we got from the

·2     internet, okay?

·3     · · ·A· · Okay.

·4     · · ·Q· · And it's the first page here is

·5     titled, "Risk Evaluation Rule."· It's dated

·6     August 9th, 2016 by Jeff Morris, who was then

·7     the deputy director of the Office of Pollution

·8     Prevention and Toxics; do you see that?

·9     · · ·A· · Yes.

10     · · ·Q· · Jeff Morris was your predecessor,

11     correct?

12     · · ·A· · Yes.

13     · · ·Q· · So does this -- do these pages here

14     allow you to recall this presentation that you

15     gave?

16     · · ·A· · Yes, this was a public meeting held

17     in August of 2016, so shortly after the

18     amendments to TSCA came out, we held a public

19     meeting.

20     · · ·Q· · So let's look at some of your

21     comments in here.· Let's go to page 43.



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 39 of 854
                                                                           287

·1     · · ·Q· · And it says, "If the MOE

·2     estimate" -- and MOE stands for margin of

·3     exposure, right?

·4     · · ·A· · Yes.

·5     · · ·Q· · So it says here, "If the MOE

·6     estimate was less than the benchmark MOE, the

·7     exposure scenario for noncancer endpoints was

·8     interpreted as a human health risk."

·9     · · ·A· · Yes.

10     · · ·Q· · So under the analysis at that time,

11     if the calculated margin of exposure was less

12     than the benchmark margin of exposure, EPA

13     considered that a human health risk?

14     · · ·A· · As a starting point, yes.

15     · · ·Q· · Well, does it use the phrase "as a

16     starting point"?

17     · · ·A· · No, it does not.

18     · · ·Q· · Why doesn't it use the phrase "as a

19     starting point"?

20     · · ·A· · Again, this was a draft that we took

21     to a peer-review panel and this is I believe



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 40 of 854
                                                                           288

·1     related to one of the questions, so yes.

·2     · · ·Q· · But no "as a starting point" phrase

·3     in there, right?

·4     · · ·A· · Correct.

·5     · · ·Q· · Now, let's turn to page 61.· And

·6     looking at the third paragraph on the page, it

·7     starts by saying, "The MOE approach is one of

·8     the standard approaches for noncancer risk

·9     assessment."· And you agree with that, right?

10     · · ·A· · Yes.

11     · · ·Q· · And then if you scroll towards the

12     bottom of the paragraph, I think it's two

13     sentences from the end, it says, "If the MOE

14     is lower than the benchmark MOE, then the risk

15     is considered unacceptable," right?

16     · · ·A· · Yes.

17     · · ·Q· · That's a true statement, right?

18     · · ·A· · That is what it says.

19     · · ·Q· · And that's a true statement, right?

20     · · ·A· · That is the basic construct of the

21     MOE.



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 41 of 854
                                                                           289

·1     · · ·Q· · And that's exactly what you said in

·2     your PowerPoint presentation that we just

·3     looked at, right?

·4     · · ·A· · Correct.

·5     · · ·Q· · So this document that we're looking

·6     at from 2016 says the same thing that you said

·7     in your PowerPoint from 2016, right?

·8     · · ·A· · Correct.

·9     · · ·Q· · And neither of these documents use

10     the phrase "as a starting point," right?

11     · · ·A· · Correct.

12     · · ·Q· · Why didn't you use the phrase "as a

13     starting point"?

14     · · ·A· · Because in 2016 these are

15     pre-amendment to TSCA, and as I have

16     explained, beyond the risk assessment piece

17     under the new TSCA, there's a risk

18     determination that's a separate piece.· After

19     you do the math -- which this is all talking

20     about the math -- then we move into risk

21     determination, unreasonable risk.· And so



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 42 of 854
                                                                           290

·1     there are -- it's a different piece of the

·2     overall risk evaluation.

·3     · · ·Q· · So just so I'm clear, back in 2016

·4     before the amendments were completed, was

·5     it -- did you -- was it unacceptable risk

·6     level as a starting point, or was it just

·7     unacceptable risk level, the risk

·8     characterization is done?

·9     · · ·A· · The risk characterization -- the

10     risk characterization, the final piece of the

11     risk assessment generally would present the

12     MOEs compared to the benchmark, as is.

13     · · ·Q· · So prior to the amendment, that was

14     where EPA basically stopped the analysis on

15     risk characterization, is the MOE?

16     · · ·A· · Yes.

17     · · ·Q· · Okay.· Let's turn to page 67, last

18     page of this excerpt.· Do you see the first

19     sentence of the second paragraph.· It says,

20     "The MOEs presented in the document based on

21     both monitoring and modeling are mostly well



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 43 of 854
                                                                           303

·1     that is how we would say it.

·2     · · ·BY MR. CONNETT:

·3     · · ·Q· · So do you agree that -- strike that.

·4     · · · · · Does EPA need conclusive proof that

·5     a chemical causes harm in human beings to make

·6     an unreasonable risk determination?

·7     · · ·A· · No.

·8     · · · · · MS. CARFORA:· Objection, form.

·9     · · ·A· · Again, I'm not here to speak for

10     EPA.

11     · · ·BY MR. CONNETT:

12     · · ·Q· · Based on your knowledge, was your

13     answer no?

14     · · ·A· · Yes.

15     · · ·Q· · So EPA does -- just to be clear,

16     EPA -- is it correct that EPA does not need

17     conclusive proof that a chemical causes harm

18     in human beings to make an unreasonable risk

19     determination?

20     · · · · · MS. CARFORA:· Objection, form.

21     · · ·A· · Again, you have to -- it's got to be



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 44 of 854
                                                                           346

·1     · · ·Q· · Would you agree that EPA does BMD

·2     analyses in making a risk determination under

·3     TSCA?

·4     · · ·A· · Yes.· My critique of his BMD

·5     analysis was that he stated it was based on

·6     data which he did not present or provide to us

·7     so we could not possibly even look at that.

·8     · · ·Q· · Where is that criticism that you

·9     have just stated?· Where is that provided in

10     your written report?

11     · · ·A· · It's going down the path of MCL.

12     · · ·Q· · I want you -- you can take your

13     time.· I want you to read this and tell me

14     where that criticism is identified in this

15     report.· And I can tell you that your analysis

16     of Grandjean is on page 22 to 24.· So take

17     your time, look at this and tell me where you

18     make that statement.

19     · · · · · MS. CARFORA:· There's also a summary

20     of opinions on page one, Counsel, if you're

21     pointing her to --



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 45 of 854
                                                                           409

·1     now, under SDWA and under TSCA, when you get

·2     to the risk management phase, other

·3     considerations may prevail.

·4     · · ·Q· · Do you agree that chemicals that are

·5     added to drinking water should not cause

·6     reductions in IQ at the levels that they are

·7     added?

·8     · · ·A· · Yes, I don't think that anyone

·9     should lose IQ points.· But again, it's not my

10     decision.· That's my personal opinion but

11     that's not the full story.

12     · · ·Q· · Okay.· Now, you had talked earlier

13     about -- when I was asking you about the

14     research that the NRC had recommended to be

15     done on fluoride; do you remember that?

16     · · ·A· · Yes.

17     · · ·Q· · And the NRC had recommended studies

18     to be done on IQ, on dementia and thyroid

19     disease; do you remember that?

20     · · ·A· · Correct.

21     · · ·Q· · And your response to -- when I asked



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 46 of 854
                                                                           509

·1     STATE OF MARYLAND

·2     HOWARD COUNTY

·3     · · ·I, Dawn Michele Hyde, a Notary Public of the

·4     State of Maryland, Howard County, do hereby

·5     certify that the above-captioned proceeding took

·6     place before me at the time and place herein set

·7     out.

·8     · · ·I further certify that the proceeding was

·9     recorded stenographically by me and this

10     transcript is a true record of the proceedings.

11     · · ·I further certify that I am not of counsel to

12     any of the parties, nor an employee of counsel,

13     nor related to any of the parties, nor in any way

14     interested in the outcome of the action.

15     · · ·As witness my hand and seal this 20th day of

16     August, 2019.

17

18     · · · · · · · ·Dawn M. Hyde, Notary Public

19     · · · · · · · ·My Commission Expires 10/7/2019

20

21



                      Asbestos Reporters of California
                                888-779-9974
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 47 of 854




                      Exhibit 2
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 48 of 854




November 22, 2016

Gina McCarthy, Administrator
Environmental Protection Agency
Ariel Rios Building
1200 Pennsylvania Avenue, NW
Washington, D.C. 20460

Dear Administrator McCarthy:

Pursuant to section 21 of the Toxic Substances Control Act (“TSCA”), 15 U.S.C. § 2620, the
Fluoride Action Network, Food & Water Watch, Organic Consumers Association, American
Academy of Environmental Medicine, International Academy of Oral Medicine and Toxicology,
Moms Against Fluoridation, and undersigned individuals (collectively, “Petitioners”) hereby
petition the U.S. Environmental Protection Agency to protect the public and susceptible
subpopulations from the neurotoxic risks of fluoride by banning the addition of fluoridation
chemicals to water.

Under Section 6 of TSCA, EPA is invested with the authority to prohibit the “particular use” of a
chemical substance if the use presents an unreasonable risk to the general public or susceptible
subpopulations. 15 U.S.C. § 2605(a). EPA has recognized that its authority to regulate
chemical substances under TSCA includes the authority to prohibit drinking water additives.

EPA should exercise its authority under TSCA to prohibit fluoridation additives because
application of the Agency’s own Guidelines for Neurotoxicity Risk Assessment to the existing
database on fluoride shows that (1) neurotoxicity is a hazard of fluoride exposure, and (2) the
reference dose that would reasonably protect against this hazard is incompatible with the doses
now ingested by millions of Americans in fluoridated areas. In fact, the amount of fluoride now
regularly consumed by many people in fluoridated areas exceeds the doses repeatedly linked to
IQ loss and other neurotoxic effects; with certain subpopulations standing at elevated risk of
harm, including infants, young children, elderly populations, and those with dietary deficiencies,
renal impairment, and/or genetic predispositions.

The risk to the brain posed by fluoridation additives is an unreasonable risk because, inter alia,
it is now understood that fluoride’s predominant effect on tooth decay comes from topical
contact with teeth, not ingestion. Since there is little benefit in swallowing fluoride, there is little
justification in exposing the public to any risk of fluoride neurotoxicity, particularly via a source
as essential to human sustenance as the public drinking water and the many processed foods
and beverages made therefrom. The addition of fluoridation chemicals to water thus represents
the very type of unreasonable risk that EPA is duly authorized to prohibit pursuant to its powers
and responsibilities under Section 6 of TSCA, and Petitioners urge the Agency to exercise its
authority to do so.
        Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 49 of 854



Unlike EPA’s 2010 risk assessment, a diligent evaluation of fluoride’s neurotoxicity would
consider the voluminous data that has been released since the NRC published its review in
March 2006. Towards this end, Petitioners have attached an exhaustive list of human, animal,
and cell studies of fluoride’s neurotoxicity that have become available since NRC’s review.6

In total, Petitioners have identified 196 published studies that have addressed the neurotoxic
effects of fluoride exposure subsequent to the NRC’s review, including 61 human studies, 115
animal studies, 17 cell studies, and 3 systematic reviews.

The post-NRC human studies include:

    •    54 studies investigating fluoride’s effect on cognition, including but not limited to IQ, with
         all but 8 of these studies finding statistically significant7 associations between fluoride
         exposure and cognitive deficits.8 (Appendix A)
    •    3 studies investigating fluoride’s effect on fetal brain, with each of the 3 studies reporting
         deleterious effects. (Appendix B)
    •    4 studies investigating fluoride’s association with other forms of neurotoxic harm,
         including ADHD, altered neonatal behavior, and various neurological symptoms.
         (Appendix C)

The post-NRC animal studies include:

    •    105 studies investigating fluoride’s ability to produce neuroanatomical and
         neurochemical changes, with all but 2 of the studies finding at least one detrimental
         effect in the fluoride-treated groups. (Appendix D)
    •    31 studies investigating fluoride’s effect on learning and memory, with all but one of the
         studies finding at least one deleterious effect in the fluoride-treated groups. (Appendix E)
    •    18 studies investigating fluoride’s impact on other parameters of neurobehavior besides
         learning and memory, with all but one of the studies finding effects. (Appendix F)

The post-NRC cell studies include:

    •    17 studies, including 2 studies that investigated and found effects at fluoride levels that
         chronically occur in the blood of Americans living in fluoridated communities. (Appendix
         G)
6
  Included among these studies are Chinese language studies that were originally published in Chinese journals prior
to 2006 but were not translated and made available in the U.S. until after the NRC’s review. Excluded from these
studies are those that are only available in abstract form, and animal/cell studies that have not yet been published
and/or translated into English.
7
  In 4 of the 8 studies not finding statistically significant associations, the IQs of the children in the high-fluoride area
were lower than in the low-fluoride area. (Eswar et al. 2011; Yang et al. 2008; Fan et al. 2007; Zhang et al. 1998)
The 4 studies that did not find any association between fluoride exposure and IQ, significant or otherwise, are:
Broadbent et al. 2015; Kang et al. 2011; He et al. 2010; and Li et al. 2010.
8
   Petitioners are aware of two unpublished fluoride/IQ studies from Mexico, one which reports a significant
relationship between prenatal fluoride exposure and reduced IQ (water F = 3.1 mg/L; urine F = 2.0 mg/L) (Rocha
Amador et al. 2016), and one which reports no association between childhood IQ and low-level prenatal and
postnatal exposures (Thomas 2014). The Thomas study failed to detect an association between IQ and
urinary/serum fluoride concentrations in a population with average urinary and serum fluoride levels among pregnant
women of 0.89 mg/L and 0.02 mg/L, respectively, and average urinary fluoride concentrations among children of 0.64
mg/L. The Thomas study, however, failed to find a significant correlation between urinary and serum fluoride levels,
which raises questions about whether the study’s spot-sample testing method reliably reflected the chronic fluoride
intake among the cohort.



                            TSCA Section 21 Petition to EPA re: Fluoride Neurotoxicity                                     4
    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 50 of 854




                               APPENDIX C:
Post-NRC Human Studies Investigating Fluoride’s Impact on Other Parameters of
                               Neurotoxicity

                                                                                       Exhibit
                                                                                        No.
  1. Li J, Yao L, Shao Q-L, Wu CY. 2008. Effects of high fluoride level on neonatal
     neurobehavioural development. Fluoride 41(2):165-70. (Originally published in      147
     Chinese in the Chinese Journal of Endemiology 2004;23:464-465.)

  2. Malin AJ, Till C. 2015. Exposure to fluoridated water and attention deficit
     hyperactivity disorder prevalence among children and adolescents in the United     165
     States: an ecological association. Environmental Health 14:17.

  3. Sharma JD, Sohu D, Jain P. 2009. Prevalence of neurological manifestations in a
     human population exposed to fluoride in drinking water. Fluoride 42(2):127-32.     234
  4. Singh VP, Chauhan DS, Tripathi S, et al. 2014. Acetylcholinesterase activity in
     fluorosis adversely affects mental well-being —an experimental study in rural      240
     Rajasthan. European Academic Research 2(4):5857-69.




                      TSCA Section 21 Petition to EPA re: Fluoride Neurotoxicity              61
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 51 of 854




                      Exhibit 3
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 52 of 854




                                                                   EPA/630/R-95/001F
                                                                           April 1998




                       Guidelines for
                Neurotoxicity Risk Assessment
        (Published on May 14, 1998, Federal Register 63(93):26926-26954)




                            Risk Assessment Forum
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 53 of 854




                                         DISCLAIMER


       This document has been reviewed in accordance with U.S. Environmental Protection Agency
policy and approved for publication. Mention of trade names or commercial products does not
constitute endorsement or recommendation for use.




                                                iii
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 54 of 854


                 GUIDELINES FOR NEUROTOXICITY RISK ASSESSMENT
                                             [FRL-6011-3]


AGENCY: Environmental Protection Agency


ACTION: Notice of availability of final Guidelines for Neurotoxicity Risk Assessment.


SUMMARY: The U.S. Environmental Protection Agency (EPA) is today publishing in final form a
document entitled Guidelines for Neurotoxicity Risk Assessment (hereafter “Guidelines”). These
Guidelines were developed as part of an interoffice guidelines development program by a Technical
Panel of the Risk Assessment Forum. The Panel was composed of scientists from throughout the
Agency, and selected drafts were peer-reviewed internally and by experts from universities,
environmental groups, industry, and other governmental agencies. The Guidelines are based, in part, on
recommendations derived from various scientific meetings and workshops on neurotoxicology, from
public comments, and from recommendations of the Science Advisory Board. An earlier draft
underwent external peer review in a workshop held on June 2-3, 1992, and received internal review by
the Risk Assessment Forum. The Risk Assessment Subcommittee of the Committee on the
Environment and Natural Resources of Office of Science and Technology Policy reviewed the
proposed Guidelines during a meeting held on August 15, 1995. The Guidelines were revised and
proposed for public comment on October 4, 1995 (60 FR 52032-52056). The proposed Guidelines
were reviewed by the Science Advisory Board on July 18, 1996. EPA appreciates the efforts of all
participants in the process, and has tried to address their recommendations in these Guidelines.
        This notice describes the scientific basis for concern about exposure to agents that cause
neurotoxicity, outlines the general process for assessing potential risk to humans because of
environmental contaminants, and addresses Science Advisory Board and public comments on the 1995
Proposed Guidelines for Neurotoxicity Risk Assessment (FR 60:52032-52056). These Guidelines
are intended to guide Agency evaluation of agents that are suspected to cause neurotoxicity, in line with
the policies and procedures established in the statutes administered by the Agency.


DATES: The Guidelines will be effective April 30, 1998.




                                                    iv
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 55 of 854


ADDRESSES: The Guidelines will be made available in several ways:
        (1) The electronic version will be accessible from EPA's National Center for Environmental
Assessment home page on the Internet at http://www.epa.gov/ncea.
        (2) 3½" high-density computer diskettes in WordPerfect format will be available from ORD
Publications, Technology Transfer and Support Division, National Risk Management Research
Laboratory, Cincinnati, OH; Tel: 513-569-7562; Fax: 513-569-7566. Please provide the EPA No.:
EPA/630/R-95/001Fa when ordering.
        (3) This notice contains the full document. Copies of the Guidelines will be available for
inspection at EPA headquarters and regional libraries, through the U.S. Government Depository
Library program, and for purchase from the National Technical Information Service (NTIS),
Springfield, VA; telephone: 1-800-553-6847, or 703-605-6000, fax: 703-321-8547. Please provide
the NTIS PB No. [PB98-117831] when ordering.


FOR FURTHER INFORMATION CONTACT: Dr. Hugh A. Tilson, Neurotoxicology Division,
National Health and Environmental Effects Research Laboratory, U.S. Environmental Protection
Agency, Research Triangle Park, NC 27711, Tel: 919-541-2671; Fax: 919-541-4849; E-mail:
tilson.hugh@epamail.epa.gov.


SUPPLEMENTARY INFORMATION: In its 1983 book Risk Assessment in the Federal
Government: Managing the Process, the National Academy of Sciences recommended that Federal
regulatory agencies establish “inference guidelines” to promote consistency and technical quality in risk
assessment, and to ensure that the risk assessment process is maintained as a scientific effort separate
from risk management. A task force within EPA accepted that recommendation and requested that
Agency scientists begin to develop such guidelines. In 1984, EPA scientists began work on risk
assessment guidelines for carcinogenicity, mutagenicity, suspect developmental toxicants, chemical
mixtures, and exposure assessment. Following extensive scientific and public review, these first five
guidelines were issued on September 24, 1986 (51 FR 33992-34054). Since 1986, additional risk
assessment guidelines have been proposed, revised, reproposed, and finalized. These guidelines
continue the process initiated in 1984. As with other EPA guidelines (e.g., developmental toxicity, 56
FR 63798-63826; exposure assessment, 57 FR 22888-22938; and carcinogenicity, 61 FR 17960-
18011), EPA will revisit these guidelines as experience and scientific consensus evolve.
        These Guidelines set forth principles and procedures to guide EPA scientists in the conduct of
Agency risk assessments and to inform Agency decision makers and the public about these procedures.
Policies in this document are intended as internal guidance for EPA. Risk assessors and risk managers


                                                    v
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 56 of 854




at EPA are the primary audience, although these Guidelines may be useful to others outside the Agency.
In particular, the Guidelines emphasize that risk assessments will be conducted on a case-by-case
basis, giving full consideration to all relevant scientific information. This approach means that Agency
experts study scientific information on each chemical under review and use the most scientifically
appropriate interpretation to assess risk. The Guidelines also stress that this information will be fully
presented in Agency risk assessment documents, and that Agency scientists will identify the strengths
and weaknesses of each assessment by describing uncertainties, assumptions, and limitations, as well as
the scientific basis and rationale for each assessment. The Guidelines are formulated in part to bridge
gaps in risk assessment methodology and data. By identifying these gaps and the importance of the
missing information to the risk assessment process, EPA wishes to encourage research and analysis that
will lead to new risk assessment methods and data.



_________________                                 ________________________
Dated: April 30,1998                              signed by EPA Administrator
                                                  Carol M. Browner




                                                     vi
        Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 57 of 854




                                                               CONTENTS

Part A: Guidelines for Neurotoxicity Risk Assessment

List of Tables . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8

1. Introduction . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
    1.1. Organization of These Guidelines . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
    1.2. The Role of Environmental Agents in Neurotoxicity . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14
    1.3. Neurotoxicity Risk Assessment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15
    1.4. Assumptions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17

2. Definitions and Critical Concepts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 20

3. Hazard Characterization . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25
   3.1. Neurotoxicological Studies: Endpoints and Their Interpretation . . . . . . . . . . . . . . . . . . . . . 25
         3.1.1. Human Studies . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 27
                 3.1.1.1. Clinical Evaluations . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 28
                 3.1.1.2. Case Reports . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 31
                 3.1.1.3. Epidemiologic Studies . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 32
                 3.1.1.4. Human Laboratory Exposure Studies . . . . . . . . . . . . . . . . . . . . . . . . . . . 36
         3.1.2. Animal Studies . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 39
                 3.1.2.1. Structural Endpoints of Neurotoxicity . . . . . . . . . . . . . . . . . . . . . . . . . . . 42
                 3.1.2.2. Neurophysiological Endpoints of Neurotoxicity . . . . . . . . . . . . . . . . . . . 45
                 3.1.2.3. Neurochemical Endpoints of Neurotoxicity . . . . . . . . . . . . . . . . . . . . . . 53
                 3.1.2.4. Behavioral Endpoints of Neurotoxicity . . . . . . . . . . . . . . . . . . . . . . . . . . 59
         3.1.3. Other Considerations . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 79
                 3.1.3.1. Pharmacokinetics . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 79
                 3.1.3.2. Comparisons of Molecular Structure . . . . . . . . . . . . . . . . . . . . . . . . . . . 80
                 3.1.3.3. Statistical Considerations . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 80
                 3.1.3.4. In Vitro Data in Neurotoxicology . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 82
                 3.1.3.5. Neuroendocrine Effects . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 83
   3.2. Dose-Response Evaluation . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 84
   3.3. Characterization of the Health-Related Database . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 86

4. Quantitative Dose-Response Analysis . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 92
   4.1. LOAEL/NOAEL and BMD Determination . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 92
   4.2. Determination of the Reference Dose or Reference Concentration . . . . . . . . . . . . . . . . . . . 94

5. Exposure Assessment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 96



                                                                       viii
        Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 58 of 854




6. Risk Characterization . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 98
   6.1. Overview . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 98
   6.2. Integration of Hazard Characterization, Dose-Response Analysis, & Exposure Assessment 99
   6.3. Quality of the Database and Degree of Confidence in the Assessment . . . . . . . . . . . . . . . 101
   6.4. Descriptors of Neurotoxicity Risk . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 102
         6.4.1. Estimation of the Number of Individuals . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 102
         6.4.2. Presentation of Specific Scenarios . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 103
         6.4.3. Risk Characterization for Highly Exposed Individuals . . . . . . . . . . . . . . . . . . . . .103
         6.4.4. Risk Characterization for Highly Sensitive or Susceptible Individuals . . . . . . . . . . 104
         6.4.5. Other Risk Descriptors . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 105
   6.5. Communicating Results . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 106
   6.6. Summary and Research Needs . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 106

References . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 108

Part B: Response to Science Advisory Board and Public Comments

1. Introduction . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 123
2. Response to Science Advisory Board Comments . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 123
3. Response to Public Comments . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 127




                                                                       ix
       Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 59 of 854




List of Tables

Table 1. Examples of possible indicators of a neurotoxic effect . . . . . . . . . . . . . . . . . . . . . . . . . . . . 41
Table 2. Neurotoxicants and disorders with specific neurological targets . . . . . . . . . . . . . . . . . . . . . 44
Table 3. Examples of neurophysiological measures of neurotoxicity . . . . . . . . . . . . . . . . . . . . . . . . . 47
Table 4. Examples of neurotoxicants with known neurochemical mechanisms . . . . . . . . . . . . . . . . . 55
Table 5. Examples of measures in a representative functional observational battery . . . . . . . . . . . . . 61
Table 6. Examples of specialized behavioral tests to measure neurotoxicity . . . . . . . . . . . . . . . . . . . 62
Table 7. Examples of compounds or treatments producing developmental neurotoxicity . . . . . . . . . 75
Table 8. Characterization of the health-related database . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 87




                                                             x
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 60 of 854




Part A: Guidelines for Neurotoxicity Risk Assessment


1. Introduction
        These Guidelines describe the principles, concepts, and procedures that the U.S. Environmental
Protection Agency (EPA) will follow in evaluating data on potential neurotoxicity associated with
exposure to environmental toxicants. The Agency's authority to regulate substances that have the
potential to interfere with human health is derived from a number of statutes that are implemented
through multiple offices within EPA. The procedures outlined here are intended to help develop a
sound scientific basis for neurotoxicity risk assessment, promote consistency in the Agency's
assessment of toxic effects on the nervous system, and inform others of the approaches used by the
Agency in those assessments. This document is not a regulation and is not intended for EPA
regulations. The Guidelines set forth current scientific thinking and approaches for conducting and
evaluating neurotoxic risk assessments. They are not intended, nor can they be relied upon, to create
any rights enforceable by any party in litigation with the United States.


1.1. Organization of These Guidelines
        This introduction (section 1) summarizes the purpose of these Guidelines within the overall
framework of risk assessment at EPA. It also outlines the organization of the guidance and describes
several default assumptions to be used in the risk assessment process, as discussed in the recent
National Research Council report “Science and Judgment in Risk Assessment” (NRC, 1994).
        Section 2 sets forth definitions of particular terms widely used in the field of neurotoxicology.
These include “neurotoxicity” and “behavioral alterations.” Also included in this section are discussions
concerning reversible and irreversible effects and direct versus indirect effects.
        Risk assessment is the process by which scientific judgments are made concerning the potential
for toxicity in humans. The National Research Council (NRC, 1983) has defined risk assessment as
including some or all of the following components (paradigm): hazard
identification, dose-response assessment, exposure assessment, and risk characterization. In its 1994
report “Science and Judgment in Risk Assessment” the NRC extended its view of the paradigm to
include characterization of each component (NRC, 1994). In addition, it noted
the importance of an approach that is less fragmented and more holistic, less linear and more
interactive, and that deals with recurring conceptual issues that cut across all stages of risk



                                                      1
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 61 of 854




assessment. These Guidelines describe a more interactive approach by organizing the process around
the qualitative evaluation of the toxicity data (hazard characterization), the quantitative dose-response
analysis, the exposure assessment, and the risk characterization. In these Guidelines, hazard
characterization includes deciding whether a chemical has an effect by means of qualitative
consideration of dose-response relationships, route, and duration of exposure. Determining a hazard
often depends on whether a dose-response relationship is present (Kimmel et al., 1990). This
approach combines the information important in comparing the toxicity of a chemical with potential
human exposure scenarios (section 3). In addition, it avoids the potential for labeling chemicals as
“neurotoxicants” on a purely qualitative basis. This organization of the risk assessment process is
similar to that discussed in the Guidelines for Developmental Toxicity Risk Assessment (56 FR 63798),
the main difference being that the quantitative dose-response analysis is discussed under a separate
section in these Guidelines.
        Hazard characterization involves examining all available experimental animal and human data
and the associated doses, routes, timing, and durations of exposure to determine qualitatively if an agent
causes neurotoxicity in that species and under what conditions. From the hazard characterization and
criteria provided in these Guidelines, the health-related database can be characterized as sufficient or
insufficient for use in risk assessment (section 3.3). Combining
hazard identification and some aspects of dose-response evaluation into hazard characterization does
not preclude the evaluation and use of data for other purposes when quantitative information for setting
reference doses (RfDs) and reference concentrations (RfCs) is not available.
        The next step in the dose-response analysis (section 4) is the quantitative analysis, which
includes determining the no-observed-adverse-effect-level (NOAEL) and/or the lowest-
observed-adverse-effect-level (LOAEL) for each study and type of effect. Because of the
limitations associated with the use of the NOAEL, the Agency is beginning to use an additional
approach, the benchmark dose approach (BMD) (Crump, 1984; U.S. EPA, 1995a), for more
quantitative dose-response evaluation when sufficient data are available. The benchmark dose
approach takes into account the variability in the data and the slope of the dose-response curve, and
provides a more consistent basis for calculation of the RfD or RfC. If data are considered sufficient for
risk assessment, and if neurotoxicity is the effect occurring at the lowest dose level (i.e., the critical
effect), an oral or dermal RfD or an inhalation RfC, based on neurotoxic effects, is then derived. This
RfD or RfC is derived using the NOAEL or benchmark dose divided by uncertainty factors to account
for interspecies differences in response, intraspecies variability, and other factors of study design or the

                                                       2
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 62 of 854




database. A statement of the potential for human risk and the consequences of exposure can come
only from integrating the hazard characterization and
dose-response analysis with the human exposure estimates in the final risk characterization.
        The section on exposure assessment (section 5) identifies human populations exposed or
potentially exposed to an agent, describes their composition and size, and presents the types,
magnitudes, frequencies, and durations of exposure to the agent. The exposure assessment
provides an estimate of human exposure levels for particular populations from all potential sources.
        In risk characterization (section 6), the hazard characterization, dose-response analysis, and
exposure assessment for given populations are combined to estimate some measure of the risk for
neurotoxicity. As part of risk characterization, a summary of the strengths and weaknesses of each
component of the risk assessment is given, along with major assumptions, scientific judgments and, to
the extent possible, qualitative and quantitative estimates of the
uncertainties. This characterization of the health-related database is always presented in conjunction
with information on the dose, route, duration, and timing of exposure as well as the dose-response
analysis including the RfD or RfC. If human exposure estimates are available,
the exposure basis used for the risk assessment is clearly described, e.g., highly exposed individuals or
highly sensitive or susceptible individuals. The NOAEL may be compared to the various estimates of
human exposure to calculate the margin(s) of exposure (MOE). The
considerations for judging the acceptability of the MOE are similar to those for determining the
appropriate size of the uncertainty factor for calculating the RfD or RfC.
        The Agency recently issued a policy statement and associated guidance for risk characterization
(U.S. EPA, 1995b, 1995c), which is currently being implemented throughout EPA. This statement is
designed to ensure that critical information from each stage of a risk assessment is used in forming
conclusions about risk and that this information is communicated from risk assessors to risk managers
(policy makers), from middle to upper management, and from the Agency to the public. Additionally,
the policy provides a basis for greater clarity, transparency, reasonableness, and consistency in risk
assessments across Agency programs.
        Final neurotoxicity risk assessment guidelines may reflect additional changes in risk
characterization practices resulting from implementation activities. Risk assessment is just one
component of the regulatory process and defines the potential adverse health consequences of
exposure to a toxic agent. The other component, risk management, combines risk assessment with
statutory directives regarding socioeconomic, technical, political, and other considerations in order to

                                                      3
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 63 of 854




decide whether to control future exposure to the suspected toxic agent and, if so, the nature and level of
control. One major objective of these Guidelines is to help the risk assessor determine whether the
experimental animal or human data indicate the potential for a neurotoxic effect. Such information can
then be used to categorize evidence that will identify and characterize neurotoxic hazards, as described
in section 3.3, Characterization of the Health-Related Database, and Table 8 of these Guidelines. Risk
management is not dealt with directly in these Guidelines because the basis for decision making goes
beyond scientific considerations alone, but the use of scientific information in this process is discussed.
For example, the acceptability of the MOE is a risk management decision, but the scientific bases for
establishing this value are discussed here.


1.2. The Role of Environmental Agents in Neurotoxicity
        Chemicals are an integral part of life, with the capacity to improve as well as endanger health.
The general population is exposed to chemicals in air, water, foods, cosmetics, household products,
and drugs used therapeutically or illicitly. During daily life, a person experiences a multitude of
exposures to potentially neuroactive substances, singly and in combination, both synthetic and natural.
Levels of exposure vary and may or may not pose a hazard, depending on dose, route, and duration of
exposure.
        A link between human exposure to some chemical substances and neurotoxicity has been firmly
established (Anger, 1986; OTA, 1990). Because many natural and synthetic chemicals are present in
today's environment, there is growing scientific and regulatory interest in the potential for risks to
humans from exposure to neurotoxic agents. If sufficient exposure occurs, the effects resulting from
such exposures can have a significant adverse impact on human health. It is not known how many
chemicals may be neurotoxic in humans (Reiter, 1987). EPA’s TSCA inventory of chemical
substances manufactured, imported, or processed in the United States includes more than 65,000
substances and is increasing yearly. An overwhelming majority of the materials in commercial use have
not been tested for neurotoxic potential (NRC, 1984).
        Estimates of the number of chemicals with neurotoxic properties have been made for subsets of
substances. For instance, a large percentage of the more than 500 registered active pesticide
ingredients affect the nervous system of the target species to varying degrees. Of 588 chemicals listed
by the American Conference of Governmental Industrial Hygienists, 167 affected the nervous system or
behavior at some exposure level (Anger, 1984). Anger (1990) estimated that of the approximately 200
chemicals to which 1 million or more American workers are exposed, more than one-third may have

                                                      4
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 64 of 854




adverse effects on the nervous system if sufficient exposure occurs. Anger (1984) also recognized
neurotoxic effects as one of the 10 leading workplace disorders. A number of therapeutic substances,
including some anticancer and antiviral agents and abused drugs, can cause adverse or
neurotoxicological side effects at therapeutic levels (OTA, 1990). The number of chemicals with
neurotoxic potential has been estimated to range from 3% to 28% of all chemicals (OTA, 1990). Thus,
estimating the risks of exposure to chemicals with neurotoxic potential is of concern with regard to their
overall impact on human health.


1.3. Neurotoxicity Risk Assessment
        In addition to its primary role in psychological functions, the nervous system controls most, if
not all, other bodily processes. It is sensitive to perturbation from various sources and has limited
ability to regenerate. There is evidence that even small anatomical, biochemical, or physiological insults
to the nervous system may result in adverse effects on human health. Therefore, there is a need for
consistent guidance on how to evaluate data on neurotoxic substances and assess their potential to
cause transient or persistent and direct or indirect effects on human health.
        These Guidelines develop principles and concepts in several areas. They outline the scientific
basis for evaluating effects due to exposure to neurotoxicants and discuss principles and methods for
evaluating data from human and animal studies on behavior, neurochemistry, neurophysiology, and
neuropathology. They also discuss adverse effects on neurological development and function in infants
and children following prenatal and perinatal exposure to chemical agents. They outline the methods for
calculating reference doses or reference concentrations when neurotoxicity is the critical effect, discuss
the availability of alternative mathematical approaches to dose-response analyses, characterize the
health-related database for neurotoxicity risk assessment, and discuss the integration of exposure
information with results of the dose-response assessment to characterize risks. These Guidelines do not
advocate developing reference doses specific for neurotoxicity, but rather support the use of
neurotoxicity as one possible endpoint to develop reference doses. EPA offices have published
guidelines for neurotoxicity testing in animals (U.S. EPA, 1986, 1987, 1988a, 1991a). The testing
guidelines address the development of new data for use in risk assessment.
        These neurotoxicity risk assessment guidelines provide the Agency's first comprehensive
guidance on the use and interpretation of neurotoxicity data, and are part of the Agency's risk
assessment guidelines development process, which was initiated in 1984. As part of its neurotoxicity
guidelines development program, EPA has sponsored or participated in several conferences on relevant

                                                     5
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 65 of 854




issues (Tilson, 1990); these and other sources (see references) provide the scientific basis for these
Guidelines.
        This guidance is intended for use by Agency risk assessors and is separate and distinct from the
recently published document on principles of neurotoxicity risk assessment (U.S. EPA, 1994). The
document on principles was prepared under the auspices of the Subcommittee on Risk Assessment of
the Federal Coordinating Council for Science, Engineering, and Technology and was not intended to
provide specific directives for how neurotoxicity risk assessment should be performed. It is expected
that, like other EPA risk assessment guidelines for noncancer endpoints (U.S. EPA, 1991b), this
document will encourage research and analysis leading to new risk assessment methods and data,
which in turn would be used to revise and improve the Guidelines and better guide Agency risk
assessors.


1.4. Assumptions
        There are a number of unknowns in the extrapolation of data from animal studies to humans.
Therefore, a number of default assumptions are made that are generally applied in the absence of data
on the relevance of effects to potential human risk. Default assumptions should not be applied
indiscriminately. First, all available mechanistic and pharmacokinetic data should be considered. If
these data indicate that an alternative assumption is appropriate or if they obviate the need for applying
an assumption, such information should be used in risk assessment. For example, research in rats may
determine that the neurotoxicity of a chemical is caused by a metabolite. If subsequent research finds
that the chemical is metabolized to a lesser degree or not at all in humans, then this information should
be used in formulating the default assumptions. The following default assumptions form the basis of the
approaches taken in these Guidelines:
        (1) It is assumed that an agent that produces detectable adverse neurotoxic effects in
experimental animal studies will pose a potential hazard to humans. This assumption is based on the
comparisons of data for known human neurotoxicants (Anger, 1990; Kimmel et al., 1990;
Spencer and Schaumburg, 1980), which indicate that experimental animal data are frequently predictive
of a neurotoxic effect in humans.
        (2) It is assumed that behavioral, neurophysiological, neurochemical, and neuroanatomical
manifestations are of concern. In the past, the tendency has been to consider only neuropathological
changes as endpoints of concern. Based on data on agents that are known human neurotoxicants
(Anger, 1990; Kimmel et al., 1990; Spencer and Schaumberg, 1980), there is usually at least one

                                                     6
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 66 of 854




experimental species that mimics the types of effects seen in humans, but in other species tested, the
neurotoxic effect may be different or absent. For example, certain organophosphate compounds
produce a delayed-onset neuropathy in hens similar to that seen in humans, whereas rodents are
characteristically insensitive to these compounds. A biologically significant increase in any of the
manifestations is considered indicative of an agent's potential for disrupting the structure or function of
the human nervous system.
        (3) It is assumed that the neurotoxic effects seen in animal studies may not always be the same
as those produced in humans. Therefore, it may be difficult to determine the most appropriate species
in terms of predicting specific effects in humans. The fact that every species may not react in the same
way is probably due to species-specific differences in maturation of the nervous system, differences in
timing of exposure, metabolism, or mechanisms of action.
        (4) It is also assumed that, in the absence of data to the contrary, the most sensitive species is
used to estimate human risk. This is based on the assumption that humans are as sensitive as the most
sensitive animal species tested. This provides a conservative estimate of sensitivity for added protection
to the public. As with other noncancer endpoints, it is assumed that there is a nonlinear dose-response
relationship for neurotoxicants. Although there may be a threshold for neurotoxic effects, these are
often difficult to determine empirically. Therefore, a nonlinear relationship is assumed to exist for
neurotoxicants.
        These assumptions are “plausibly conservative” (NRC, 1994) in that they are protective of
public health and are also well founded in scientific knowledge about the effects of concern.




                                                      7
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 67 of 854




assessor should be aware of possible problems associated with estimating a NOAEL in studies
involving a small number of test subjects and that have a poor dose-response relationship.
        In addition to identifying the NOAEL/LOAEL or BMD, the dose-response evaluation defines
the range of doses that are neurotoxic for a given agent, species, route of exposure, and duration of
exposure. In addition to these considerations, pharmacokinetic factors and other aspects that might
influence comparisons with human exposure scenarios should be taken into account. For example,
dose-response curves may exhibit not only monotonic but also U-shaped or inverted U-shaped
functions (Davis and Svendsgaard, 1990). Such curves are hypothesized to reflect multiple
mechanisms of action, the presence of homeostatic mechanisms, and/or activation of compensatory or
protective mechanisms. In addition to considering the shape of the dose-response curve, it should also
be recognized that neurotoxic effects vary in terms of nature and severity across dose or exposure level.
At high levels of exposure, frank lesions accompanied by severe functional impairment may be
observed. Such effects are widely accepted as adverse. At progressively lower levels of exposure,
however, the lesions may become less severe and the impairments less obvious. At levels of exposure
near the NOAEL and LOAEL, the effects will often be mild, possibly reversible, and inconsistently
found. In addition, the endpoints showing responses may be at levels of organization below the whole
organism (e.g., neurochemical or electrophysiological endpoints). The adversity of such effects can be
disputed (e.g., cholinesterase inhibition), yet it is such effects that are likely to be the focus of risk
assessment decisions. To the extent possible, this document provides guidance on determining the
adversity of neurotoxic effects. However, the identification of a critical adverse effect often requires
considerable professional judgment and should consider factors such as the biological plausibility of the
effect, the evidence of a dose-effect continuum, and the likelihood for progression of the effect with
continued exposure.


3.3. Characterization of the Health-Related Database
        This section describes a scheme for characterizing the sufficiency of evidence for neurotoxic
effects. This scheme defines two broad categories: sufficient and insufficient (Table 8). Categorization
is aimed at providing certain criteria for the Agency to use to define the minimum evidence necessary to
define hazards and to conduct dose-response analyses. It does not address the issues related to
characterization of risk, which requires analysis of potential human exposures and their relation to
potential hazards in order to estimate the risks of those hazards from anticipated or estimated



                                                       51
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 68 of 854




exposures. Several examples using a weight-of-evidence approach similar to that described in these
Guidelines have been described elsewhere (Tilson et al., 1995; Tilson et al., 1996).




                                                   52
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 69 of 854




Table 8. Characterization of the health-related database

 Sufficient         The sufficient evidence category includes data that collectively provide enough
 evidence           information to judge whether or not a human neurotoxic hazard could exist.
                    This category may include both human and experimental animal evidence.

 Sufficient human   This category includes agents for which there is sufficient evidence from
 evidence           epidemiologic studies, e.g., case control and cohort studies, to judge that some
                    neurotoxic effect is associated with exposure. A case series in conjunction
                    with other supporting evidence may also be judged “sufficient evidence.”
                    Epidemiologic and clinical case studies should discuss whether the observed
                    effects can be considered biologically plausible in relation to chemical
                    exposure.
                    (Historically, often much has been made of the notion of causality in
                    epidemiologic studies. Causality is a more stringent criterion than association
                    and has become a topic of scientific and
                    philosophical debate. See Susser [1986], for example, for a discussion of
                    inference in epidemiology.)

 Sufficient         This category includes agents for which there is sufficient evidence from
 experimental       experimental animal studies and/or limited human data to judge whether a
 animal             potential neurotoxic hazard may exist. Generally, agents that have been tested
 evidence/limited   according to current test guidelines would be included in this category. The
 human data         minimum evidence necessary to judge that a potential hazard exists would be
                    data demonstrating an adverse neurotoxic effect in a single appropriate,
                    well-executed study in a single experimental animal species. The minimum
                    evidence needed to judge that a potential hazard does not exist would include
                    data from an appropriate number of endpoints from more than one study and
                    two species showing no adverse neurotoxic effects at doses that were
                    minimally toxic in terms of producing an adverse effect. Information on
                    pharmacokinetics, mechanisms, or known properties of the chemical class may
                    also strengthen the evidence.




                                                  53
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 70 of 854




 Insufficient        This category includes agents for which there is less than the minimum evidence
 evidence            sufficient for identifying whether or not a neurotoxic hazard exists, such as
                     agents for which there are no data on neurotoxicity or agents with databases
                     from studies in animals or humans that are limited by study design or conduct
                     (e.g., inadequate conduct or report of clinical signs). Many general toxicity
                     studies, for example, are considered insufficient in terms of the conduct of
                     clinical neurobehavioral observations or the number of samples taken for
                     histopathology of the nervous system. Thus, a battery of negative toxicity
                     studies with these shortcomings would be regarded as providing insufficient
                     evidence of the lack of a neurotoxic effect of the test material. Further, most
                     screening studies based on simple observations involving autonomic and motor
                     function provide insufficient evaluation of many sensory or cognitive functions.
                     Data, which by itself would likely fall in this category, would also include
                     information on SAR or data from in vitro tests. Although such information
                     would be insufficient by itself to proceed further in the assessment it could be
                     used to support the need for additional testing.
Table 8. Characterization of the health-related database (cont.)




                                                 54
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 71 of 854




        Data from all potentially relevant studies, whether indicative of potential hazard or not, should
be included in this characterization. The primary sources of data are human studies and
case reports, experimental animal studies, other supporting data, and in vitro and/or SAR data.
Because a complex interrelationship exists among study design, statistical analysis, and biological
significance of the data, a great deal of scientific judgment, based on experience with neurotoxicity data
and with the principles of study design and statistical analysis, is required to adequately evaluate the
database on neurotoxicity. In many cases, interaction with scientists in specific disciplines either within
or outside the field of neurotoxicology (e.g., epidemiology, statistics) may be appropriate.
        The adverse nature of different neurotoxicity endpoints may be a complex judgment. In
general, most neuropathological and many neurobehavioral changes are regarded as adverse. However,
there are adverse behavioral effects that may not reflect a direct action on the nervous system.
Neurochemical and electrophysiological changes may be regarded as adverse because of their known
or presumed relation to neuropathological and/or neurobehavioral consequences. In the absence of
supportive information, a professional judgment should be made regarding the adversity of such
outcomes, considering factors such as the nature, magnitude, and duration of the effects reported.
Thus, correlated measures of neurotoxicity strengthen the evidence for a hazard. Correlations between
functional and morphological effects, such as the correlation between leg weakness and paralysis and
peripheral nerve damage from exposure to tri-ortho-cresyl phosphate, are the most common and
striking example of this form of validity. Correlations support a coherent and logical link between
behavioral effects and biochemical mechanisms. Replication of a finding also strengthens the evidence
for a hazard. Some neurotoxicants cause similar effects across most species. Many chemicals shown
to produce neurotoxicity in laboratory animals have similar effects in humans. Some neurological effects
may be considered adverse even if they are small in magnitude, reversible, or the result of indirect
mechanisms.
        Because of the inherent difficulty in “proving any negative,” it is more difficult to document a
finding of no apparent adverse effect than a finding of an adverse effect. Neurotoxic effects (and most
kinds of toxicity) can be observed at many different levels, so only a single endpoint needs to be found
to demonstrate a hazard, but many endpoints need to be examined to demonstrate no effect. For
example, to judge that a hazard for neurotoxicity could exist for a given agent, the minimum evidence
sufficient would be data on a single adverse endpoint from a well-conducted study. In contrast, to
judge that an agent is unlikely to pose a hazard for



                                                       55
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 72 of 854




neurotoxicity, the minimum evidence would include data from a host of endpoints that revealed no
neurotoxic effects. This may include human data from appropriate studies that could support a
conclusion of no evidence of a neurotoxic effect. With respect to clinical signs and symptoms, human
exposures can reveal far more about the absence of effects than animal studies, which are confined to
the signs examined.
        In some cases, it may be that no individual study is judged sufficient to establish a hazard, but
the total available data may support such a conclusion. Pharmacokinetic data and structure-
activity considerations, data from other toxicity studies, or other factors may affect the strength of the
evidence in these situations. For example, given that gamma diketones are known to cause motor
system neurotoxicity, a marginal data set on a candidate gamma diketone, e.g., 1/10 animals affected,
might be more likely to be judged sufficient than equivalent data from a member of a chemical class
about which nothing is known.
        A judgment that the toxicology database is sufficient to indicate a potential neurotoxic hazard is
not the end of analysis. The circumstances of expression of the hazard are essential to describing
human hazard potential. Thus, reporting should contain the details of the circumstances under which
effects have been observed, e.g., “long-term oral exposures of adult rodents to compound X at levels
of roughly 1 mg/kg have been associated with ataxia and peripheral nerve damage.”




                                                     56
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 73 of 854




4. Quantitative Dose-Response Analysis
            This section describes several approaches (including the LOAEL/NOAEL and BMD) for
determining the reference dose (RfD) or reference concentration (RfC). The NOAEL or
BMD/uncertainty factor approach results in an RfD or RfC, which is an estimate (with uncertainty
spanning perhaps an order of magnitude) of a daily exposure to the human population (including
sensitive subgroups) that is likely to be without an appreciable risk of deleterious effects during a
lifetime.
            The dose-response analysis characterization should:
            C   Describe how the RfD/RfC was calculated;
            C   Discuss the confidence in the estimates;
            C   Describe the assumptions or uncertainty factors used; and
            C   Discuss the route and level of exposure observed, as compared to expected human
                exposures.


4.1. LOAEL/NOAEL and BMD Determination
            As indicated earlier, the LOAEL and NOAEL are determined for endpoints that are seen at the
lowest dose level (so-called critical effect). Several limitations in the use of the NOAEL have been
identified and described (e.g., Barnes and Dourson, 1988; Crump, 1984). For example, the NOAEL
is derived from a single endpoint from a single study (the critical study) and ignores both the slope of the
dose-response function and baseline variability in the endpoint of concern. Because the baseline
variability is not taken into account, the NOAEL from a study using small group sizes may be higher
than the NOAEL from a similar study in the same species that uses larger group sizes. The NOAEL is
also directly dependent on the dose spacing used in the study. Finally, and perhaps most importantly,
use of the NOAEL does not allow estimates of risk or extrapolation of risk to lower dose levels.
Because of these and other limitations in the NOAEL approach, it has been proposed that
mathematical curve-fitting techniques (Crump, 1984; Gaylor and Slikker, 1990; Glowa, 1991; Glowa
and MacPhail, 1995; U.S. EPA, 1995a) be compared with the NOAEL procedure in calculating the
RfD or RfC. These techniques typically apply a mathematical function that describes the
dose-response relationship and then interpolate to a level of exposure associated with a small increase
in effect over that occurring in the control group or under baseline conditions. The BMD has been
defined as a lower confidence limit on the effective dose associated with some defined level of effect,
e.g., a 5% or 10% increase in response. These guidelines suggest that the use of the BMD should be

                                                       57
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 74 of 854




explored in specific situations. The Agency is currently developing guidelines for the use of the BMD in
risk assessment.
        Many neurotoxic endpoints provide continuous measures of response, such as response speed,
nerve conduction velocity, IQ score, degree of enzyme inhibition, or the accuracy of task performance.
Although it is possible to impose a dichotomy on a continuous effects distribution and to classify some
level of response as “affected” and the remainder as “unaffected,” it may be very difficult and
inappropriate to establish such clear distinctions, because such a dichotomy would misrepresent the true
nature of the neurotoxic response. The risk assessor should be aware of the importance of trying to
reconcile findings from several studies that seem to report widely divergent results. Alternatively,
quantitative models designed to analyze continuous effect variables may be preferable. Other
techniques that allow this approach, with transformation of the information into estimates of the
incidence or frequency of affected individuals in a population, have been proposed (Crump, 1984;
Gaylor and Slikker, 1990; Glowa and MacPhail, 1995). Categorical regression analysis has been
proposed because it can evaluate different types of data and derive estimates for short-term exposures
(Rees and Hattis, 1994). Decisions about the most appropriate approach require professional
judgment, taking into account the biological nature of the continuous effect variable and its distribution in
the population under study.
        Although dose-response functions in neurotoxicology are generally linear or monotonic,
curvilinear functions, especially U-shaped or inverted U-shaped curves, have been reported as noted
earlier (section 3.2). Dose-response analyses should consider the uncertainty that U-
shaped dose-response functions might contribute to the estimate of the NOAEL/LOAEL or BMD.
Typically, estimates of the NOAEL/LOAEL are taken from the lowest part of the dose-response curve
associated with impaired function or adverse effect.


4.2. Determination of the Reference Dose or Reference Concentration
        Since the availability of dose-response data in humans is limited, extrapolation of data from
animals to humans usually involves the application of uncertainty factors to the NOAEL/LOAEL or
BMD. The NOAEL or BMD/uncertainty factor approach results in an RfD or RfC, which is an
estimate (with uncertainty spanning perhaps an order of magnitude) of a daily exposure to the human
population (including sensitive subgroups) that is likely to be without an appreciable risk of deleterious
effects during a lifetime. The oral RfD and inhalation RfC are applicable to chronic exposure situations
and are based on an evaluation of all the noncancer health effects, including neurotoxicity data. RfDs

                                                     58
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 75 of 854




and RfCs in the Integrated Risk Information System (IRIS-2) database for several agents are based on
neurotoxicity endpoints and include a few cases in which the RfD or RfC is calculated using the BMD
approach (e.g., methylmercury, carbon disulfide). The size of the final uncertainty factor used will vary
from agent to agent and will require the exercise of scientific judgment, taking into account interspecies
differences, the shape of the dose-response curve, and the neurotoxicity endpoints observed.
Uncertainty factors are typically multiples of 10 and are used to compensate for human variability in
sensitivity, the need to extrapolate from animals to humans, and the need to extrapolate from less than
lifetime (e.g., subchronic) to lifetime exposures. An additional factor of up to 10 may be included when
only a LOAEL (and not a NOAEL) is available from a study, or depending on the completeness of the
database, a modifying factor of up to 10 may be applied, depending on the confidence one has in the
database. Uncertainty factors of less than 10 can be used, depending upon the availability of relevant
information. Barnes and Dourson (1988) provide a more complete description of the calculation, use,
and significance of RfDs in setting exposure limits to toxic agents by the oral route. Jarabek et al.
(1990) provide a more complete description of the calculation, use, and significance of RfCs in setting
exposure limits to toxic agents in air. Neurotoxicity can result from acute, shorter term exposures, and
it may be appropriate in some cases, e.g., for air pollutants or water contaminants, to set shorter term
exposure limits for neurotoxicity as well as for other noncancer health effects.




                                                    59
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 76 of 854




5. Exposure Assessment
        Exposure assessment describes the magnitude, duration, frequency, and routes of exposure to
the agent of interest. This information may come from hypothetical values, models, or actual
experimental values, including ambient environmental sampling results. Guidelines for exposure
assessment have been published separately (U.S. EPA, 1992) and will, therefore, be discussed only
briefly here.
        The exposure assessment should include an exposure characterization that:
        C       Provides a statement of the purpose, scope, level of detail, and approach used in the
exposure assessment;
        C Presents the estimates of exposure and dose by pathway and route for individuals,
population segments, and populations in a manner appropriate for the intended risk characterization;
        C Provides an evaluation of the overall level of confidence in the estimate of exposure and
dose and the conclusions drawn; and
        C Communicates the results of the exposure assessment to the risk assessor, who can then
use the exposure characterization, along with the hazard and dose/response characterizations, to
develop a risk characterization.
        A number of considerations are relevant to exposure assessment for neurotoxicants. An
appropriate evaluation of exposure should consider the potential for exposure via ingestion, inhalation,
and dermal penetration from relevant sources of exposure, including multiple avenues of intake from the
same source.
        In addition, neurotoxic effects may result from short-term (acute), high-concentration exposures
as well as from longer term (subchronic), lower level exposures. Neurotoxic effects may occur after a
period of time following initial exposure or be obfuscated by repair mechanisms or apparent tolerance.
The type and severity of effect may depend significantly on the pattern of exposure rather than on the
average dose over a long period of time. For this reason, exposure assessments for neurotoxicants
may be much more complicated than those for long-latency effects such as carcinogenicity. It is rare
for sufficient data to be available to construct such patterns of exposure or dose, and professional
judgment may be necessary to evaluate exposure to neurotoxic agents.




                                                      60
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 77 of 854




6. Risk Characterization
6.1. Overview
        Risk characterization is the summarization step of the risk assessment process and consists of
an integrative analysis and a summary. The integrative analysis (a) involves integration of the toxicity
information from the hazard characterization and dose-response analysis with the human exposure
estimates, (b) provides an evaluation of the overall quality of the assessment and the degree of
confidence in the estimates of risk and conclusions drawn, and (c) describes risk in terms of the nature
and extent of harm. The risk characterization summary communicates the results of the risk assessment
to the risk manager in a complete, informative, and useful format.
        This summary should include, but is not limited to, a discussion of the following elements:
        C   Quality of and confidence in the available data;
        C   Uncertainty analysis;
        C   Justification of defaults or assumptions;
        C   Related research recommendations;
        C   Contentious issues and extent of scientific consensus;
        C   Effect of reasonable alternative assumptions on conclusions and estimates;
        C   Highlights of reasonable plausible ranges;
        C   Reasonable alternative models; and
        C   Perspectives through analogy.
        The risk manager can then use the derived risk to make public health decisions.
        An effective risk characterization should fully, openly, and clearly characterize risks and
disclose the scientific analyses, uncertainties, assumptions, and science policies that underlie decisions
throughout the risk assessment and risk management processes. The risk characterization should
feature values such as transparency in the decision-making process; clarity in communicating with the
scientific community and the public regarding environmental risk and the uncertainties associated with
assessments of environmental risk; and consistency across program offices in core assumptions and
science policies, which are well grounded in science and reasonable. The following sections describe
these four aspects of the risk characterization in more detail.


6.2. Integration of Hazard Characterization, Dose-Response Analysis, and Exposure Assessment
        In developing the hazard characterization, dose-response analysis, and exposure portions of the
risk assessment, the risk assessor should take into account many judgments concerning human

                                                     61
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 78 of 854




relevance of the toxicity data, including the appropriateness of the various animal models for which data
are available and the route, timing, and duration of exposure relative to expected human exposure.
These judgments should be summarized at each stage of the risk assessment process (e.g., the
biological relevance of anatomical variations may be established in the hazard characterization process,
or the influence of species differences in metabolic patterns in the dose-response analysis). In
integrating the information from the assessment, the risk assessor should determine if some of these
judgments have implications for other portions of the assessment and whether the various components
of the assessment are compatible.
        The risk characterization should not only examine the judgments but also explain the constraints
of available data and the state of knowledge about the phenomena studied in making them, including (1)
the qualitative conclusions about the likelihood that the chemical may pose a specific hazard to human
health, the nature of the observed effects, under what conditions (route, dose levels, time, and duration)
of exposure these effects occur, and whether the health-related data are sufficient to use in a risk
assessment; (2) a discussion of the dose-response characteristics of the critical effects, data such as the
shapes and slopes of the dose-response curves for the various endpoints, the rationale behind the
determination of the NOAEL and LOAEL and calculation of the benchmark dose, and the assumptions
underlying the estimation of the RfD or RfC; and (3) the estimates of the magnitude of human exposure;
the route, duration, and pattern of the exposure; relevant pharmacokinetics; and the number and
characteristics of the population(s) exposed.
        If data to be used in a risk characterization are from a route of exposure other than the
expected human exposure, then pharmacokinetic data should be used, if available, to make
extrapolations across routes of exposure. If such data are not available, the Agency makes certain
assumptions concerning the amount of absorption likely or the applicability of the data from one route
to another (U.S. EPA, 1992).
        The level of confidence in the hazard characterization should be stated to the extent possible,
including the appropriate category regarding sufficiency of the health-related data. A comprehensive
risk assessment ideally includes information on a variety of endpoints that provide insight into the full
spectrum of potential neurotoxicological responses. A profile that integrates both human and test
species data and incorporates a broad range of potential adverse neurotoxic effects provides more
confidence in a risk assessment for a given agent.
        The ability to describe the nature of the potential human exposure is important in order to
predict when certain outcomes can be anticipated and the likelihood of permanence or reversibility of

                                                     62
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 79 of 854




the effect. An important part of this effort is a description of the nature of the exposed population and
the potential for sensitive, highly susceptible, or highly exposed populations. For example, the
consequences of exposure to the developing individual versus the adult can differ markedly and can
influence whether the effects are transient or permanent. Other considerations relative to human
exposures might include the likelihood of exposures to other agents, concurrent disease, and nutritional
status.
           The presentation of the integrated results of the assessment should draw from and highlight key
points of the individual characterizations of component analyses performed under these Guidelines. The
overall risk characterization represents the integration of these component characterizations. If relevant
risk assessments on the agent or an analogous agent have been done by EPA or other Federal
agencies, these should be described and the similarities and differences discussed.


6.3. Quality of the Database and Degree of Confidence in the Assessment
           The risk characterization should summarize the kinds of data brought together in the analysis
and the reasoning on which the assessment is based. The description should convey the major
strengths and weaknesses of the assessment that arise from availability of data and the current limits of
our understanding of the mechanisms of toxicity.
           A health risk assessment is only as good as its component parts, i.e., hazard characterization,
dose-response analysis, and exposure assessment. Confidence in the results of a risk assessment is
thus a function of confidence in the results of the analysis of these elements. Each of these elements
should have its own characterization as a part of the assessment. Within each characterization, the
important uncertainties of the analysis and interpretation of data should be explained, and the risk
manager should be given a clear picture of consensus or lack of consensus that exists about significant
aspects of the assessment. Whenever more than one view is supported by the data and choosing
between them is difficult, all views should be presented. If one has been selected over the others, the
rationale should be given; if not, then all should be presented as plausible alternative results.


6.4. Descriptors of Neurotoxicity Risk
           There are a number of ways to describe risks. Several relevant ways for neurotoxicity are as
follows:


6.4.1. Estimation of the Number of Individuals

                                                      63
       Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 80 of 854




         The RfD or RfC is taken to be a chronic exposure level at or below which no significant risk
occurs. Therefore, presentation of the population in terms of those at or below the RfD or RfC (“not at
risk”) and above the RfD or RfC (“may be at risk”) may be useful information for risk managers. This
method is particularly useful to a risk manager considering possible actions to ameliorate risk for a
population. If the number of persons in the at-risk category can be estimated, then the number of
persons removed from the at-risk category after a contemplated action is taken can be used as an
indication of the efficacy of the action.


6.4.2. Presentation of Specific Scenarios
         Presenting specific scenarios in the form of “what if?” questions is particularly useful to give
perspective to the risk manager, especially where criteria, tolerance limits, or media quality limits are
being set. The question being asked in these cases is, at this proposed exposure limit, what would be
the resulting risk for neurotoxicity above the RfD or RfC?


6.4.3. Risk Characterization for Highly Exposed Individuals
         This measure is one example of the just-discussed descriptor. This measure describes the
magnitude of concern at the upper end of the exposure distribution. This allows risk managers to
evaluate whether certain individuals are at disproportionately high or unacceptably high risk.
         The objective of looking at the upper end of the exposure distribution is to derive a realistic
estimate of a relatively highly exposed individual or individuals. This measure could be addressed by
identifying a specified upper percentile of exposure in the population and/or by estimating the exposure
of the highest exposed individual(s). Whenever possible, it is important to express the number of
individuals who comprise the selected highly exposed group and discuss the potential for exposure at
still higher levels.
         If population data are absent, it will often be possible to describe a scenario representing
high-end exposures using upper percentile or judgment-based values for exposure variables. In these
instances caution should be used in order not to compound a substantial number of high-end values for
variables if a “reasonable” exposure estimate is to be achieved.


6.4.4. Risk Characterization for Highly Sensitive or Susceptible Individuals
         This measure identifies populations sensitive or susceptible to the effect of concern. Sensitive or
susceptible individuals are those within the exposed population at increased risk of expressing the toxic

                                                      64
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 81 of 854




effect. All stages of nervous system maturation might be considered highly sensitive or susceptible, but
certain subpopulations can sometimes be identified because of critical periods for exposure, for
example, pregnant or lactating women, infants, or children. The aged population is considered to be at
particular risk because of the limited ability of the nervous system to regenerate or compensate to
neurotoxic insult.
        In general, not enough is understood about the mechanisms of toxicity to identify sensitive
subgroups for all agents, although factors such as nutrition (e.g., vitamin B), personal habits (e.g.,
smoking, alcohol consumption, illicit drug abuse), or preexisting disease (e.g., diabetes, neurological
diseases, sexually transmitted diseases, polymorphisms for certain metabolic enzymes) may predispose
some individuals to be more sensitive to the neurotoxic effects of specific agents. Gender-related
differences in response to neurotoxicants have been noted, but these appear to be related to gender-
dependent toxicodynamic or toxicokinetic factors.
        In general, it is assumed that an uncertainty factor of 10 for intrapopulation variability will be be
able to accommodate differences in sensitivity among various subpopulations, including children and the
elderly. However, in cases where it can be demonstrated that a factor of 10 does not afford adequate
protection, another uncertainty factor may be considered in conducting the risk assessment.


6.4.5. Other Risk Descriptors
        In risk characterization, dose-response information and the human exposure estimates may be
combined either by comparing the RfD or RfC and the human exposure estimate or by calculating the
margin of exposure (MOE). The MOE is the ratio of the NOAEL from the most appropriate or
sensitive species to the estimated human exposure level. If a NOAEL is not available, a LOAEL may
be used in calculating the MOE. Alternatively, a benchmark dose may be compared with the estimated
human exposure level to obtain the MOE. Considerations for the evaluation of the MOE are similar to
those for the uncertainty factor applied to the LOAEL/NOAEL or the benchmark dose. The MOE is
presented along with a discussion of the adequacy of the database, including the nature and quality of
the hazard and exposure data, the number of species affected, and the dose-response information.
        The RfD or RfC comparison with the human exposure estimate and the calculation of the MOE
are conceptually similar but are used in different regulatory situations. The choice of approach depends
on several factors, including the statute involved, the situation being addressed, the database used, and
the needs of the decision maker. The RfD or RfC and the MOE are considered along with other risk



                                                     65
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 82 of 854




assessment and risk management issues in making risk management decisions, but the scientific issues
that should be taken into account in establishing them have been addressed here.
        If the MOE is equal to or more than the uncertainty factor multiplied by any modifying factor
used as a basis for an RfD or RfC, then the need for regulatory concern is likely to be small. Although
these methods of describing risk do not actually estimate risks per se, they give the risk manager some
sense of how close the exposures are to levels of concern.


6.5. Communicating Results
        Once the risk characterization is completed, the focus turns to communicating results to the risk
manager. The risk manager uses the results of the risk characterization along with other technological,
social, and economic considerations in reaching a regulatory decision. Because of the way in which
these risk management factors may affect different cases, consistent but not necessarily identical risk
management decisions should be made on a case-by-case basis. These Guidelines are not intended to
give guidance on the nonscientific aspects of risk management decisions.


6.6. Summary and Research Needs
        These Guidelines summarize the procedures that the U.S. Environmental Protection Agency
would use in evaluating the potential for agents to cause neurotoxicity. These Guidelines discuss the
general default assumptions that should be made in risk assessment for neurotoxicity because of gaps in
our knowledge about underlying biological processes and how these compare across species.
Research to improve the risk assessment process is needed in a number of areas. For example,
research is needed to delineate the mechanisms of neurotoxicity and pathogenesis, provide comparative
pharmacokinetic data, examine the validity of short-term in vivo and in vitro tests, elucidate the
functional modalities that may be altered, develop improved animal models to examine the neurotoxic
effects of exposure during the premating and early postmating periods and in neonates, further evaluate
the relationship between maternal and developmental toxicity, provide insight into the concept of
threshold, develop approaches for improved mathematical modeling of neurotoxic effects, improve
animal models for examining the effects of agents given by various routes of exposure, determine the
effects of recurrent exposures over prolonged periods of time, and address the synergistic or
antagonistic effects of mixed exposures and neurotoxic response. Such research will aid in the
evaluation and interpretation of data on neurotoxicity and should provide methods to assess risk more



                                                    66
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 83 of 854




precisely. Additional research is needed to determine the most appropriate dose-response approach to
be used in neurotoxicity risk assessments.




                                                67
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 84 of 854




                     Exhibit 4
10/9/2019                       The NRC Risk Assessment
                    Case 3:17-cv-02162-EMC              Paradigm I120-1
                                                   Document       Air: Fate, Exposure, and Risk Analysis
                                                                              Filed 10/18/19         Page    85I US
                                                                                                         (FERA)  of EPA
                                                                                                                    854


               An official website of the United States government.

                                                                                                                     Close
               We've made some changes to EPA.gov. If the information you are
               looking for is not here, you may be able to find it on the EPA Web
               Archive or the January 19, 2017 Web Snapshot.




                      The NRC Risk Assessment Paradigm


                                 Dose-Response Assessment for
                             Assessing Health Risks Associated With
                             Exposure to Hazardous Air Pollutants


                              • Summazy. and Tab les
                              • Sources of Chronic Dose-Response Information
                              • Prioritizati on of Data Sources for Chronic Exgosure
                              • Additional Information, Adjustments and SP-ecial Cases for Dose-
                                ResP-onse Values :in Tables 1 and 2
                              • Sources of Acute Dose-Response Information
                              • The NRC Risk Assessment Paradigm
                              • Ri sk Assessment for Carcinogenic Effects
                              • Risk Assessment for Other Effects




                      To estimate potential health impacts associated with environmental exposures,
                      EPA scientists and others have spent more than two decades developing an
                      extensive set of risk assessment methods, tools, and data to estimate
                      environmental health risks. Although significant uncertainties remain, this risk
                      assessment methodology has been extensively peer-reviewed, is widely used and
                      understood by the scientific community, and continues to expand and evolve as
                      scientific knowledge advances.

                      EPA's framework for assessing and managing risks reflects the risk assessment
                      and risk management paradigm set forth by the National Academy of Sciences
                      (NRC) in 1983 [,],shown in Figure 1 below. The NRC concluded that risk
                      assessment and risk management are "two distinct elements" between which
                      agencies should maintain a clear conceptual distinction. The 1983 NRC report
                      identified four steps integral to any risk assessment: 1) hazard identification, 2)


https://www.epa.gov/fera/nrc-risk-assessment-paradigm                                                                        1/3
 10/9/2019                       The NRC Risk Assessment Paradigm I Air: Fate, Exposure, and Risk Analysis (FERA) I US EPA
                    Case 3:17-cv-02162-EMC          Document 120-1 Filed 10/18/19 Page 86 of 854
                     dose-response assessment, 3) exposure assessment, and 4) risk characterization.
                     The NRC paradigm for risk assessment serves as the basis for OAQPS risk
                     assessments under the air toxics program.

                       Figure 1. Diagram of NRC risk assessment/risk management paradigm.

                                                Risk assessment                 Risk manag~motit



                                                 Dose- resµonse
                                                   assessment



                                 Hazard
                              1dent IICfllion


                                                    Exposure
                                                   assessm 111                    Other    OhOn'IIC
                                                                                  and social laclors




                       Source: EPA Oltice of Research and Development


                      Within the NRC paradigm, the evaluation of toxicity in a risk assessment is based
                      on two sequential analyses. The first is the hazard identification, which identifies
                      contaminants that may pose health hazards at environmentally relevant
                      concentrations, and qualitatively describes the effects that may occur in humans.
                      The second analysis is the human health dose-response assessment, which
                      characterizes the relationship between the exposure to a pollutant and the resultant
                      health effects.

                      Hazard Identification. The types of effects relevant to each chemical (e.g., cancer,
                      or effects other than cancer) are determined as part of the hazard identification.
                      Factors such as the experimental route of exposure, the type and severity of the
                      effects, the biological plausibility of findings, and the consistency of findings
                      across studies all contribute to the hazard identification statement.

                      Dose-Response Assessment. Generally, the dose-response assessment consists of
                      two parts: the evaluation of data in the observable range, and the extrapolation
                      from the observable range to low doses/risks. Recent terminology refers to the
                      result of analysis in the observable range as the "point of departure" from which
                      extrapolation begins. The approaches used for evaluation in the observable range
                      are similar for all types of effects, but EPA's current extrapolation methods differ
                      for effects concluded to have linear and nonlinear modes of action. Further details
                      of dose-response assessment are provided in the web pages on risk assessment for
                      carcinogenicicy. and other endP.oints.

                      The nature of the dose-response assessment typically varies among pollutants.
                      Sufficient data may exist for some criteria air pollutants, such as ozone or carbon
                      monoxide, so that relatively complete dose-response relationships can be
                      characterized. In such cases, there is no need for extrapolation to lower doses
                      because adequate human health effects data are available at environmentally
                      relevant levels. However, this has not often been the case for air toxics.
                      Epidemiologic and toxicologic data for air toxics have typically resulted from
                      exposure levels that were high relative to environmental levels.
https://www.epa.gov/fera/nrc-risk-assessment-paradigm                                                                        2/3
 10/9/2019          Case 3:17-cv-02162-EMC
                                 The NRC Risk Assessment Paradigm I120-1
                                                    Document                   Filed 10/18/19
                                                                   Air: Fate, Exposure,               Page
                                                                                        and Risk Analysis     87I US
                                                                                                          (FERA)   ofEPA
                                                                                                                      854
                        1. National Research Council. 1983. Risk assessment in the federal
                           government. Managing the process. National Academy Press, Washington,
                           DC.
                        2. National Research Council. 1994. Science and Judgment in Risk
                           Assessment. National Academy Press, Washington, DC."




                      LAST UPDATED ON JANUARY 31, 2017




https://www.epa.gov/fera/nrc-risk-assessment-paradlgm                                                                       3/3
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 88 of 854




                      Exhibit 5
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 89 of 854



      United States              Prevention, Pesticides   EPA 739-R-07-010
      Environmental Protection   and Toxic Substances     December 2007
      Agency                     (7510P)


      Reregistration Eligibility Decision
      for Sodium Fluoride
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 90 of 854




             UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                           WASHINGTON, D.C. 20460


                                                                            OFFICE OF
                                                                      PREVENTION, PESTICIDES
                                                                      AND TOXIC SUBSTANCES
CERTIFIED MAIL

Dear Registrant:

       This is to inform you that the Environmental Protection Agency (hereafter referred to as
EPA or the Agency) has completed its review of the available data and public comments
received related to the draft risk assessments for the antimicrobial sodium fluoride. The enclosed
Reregistration Eligibility Decision (RED) document was approved on December 20, 2007.
Public comments and additional data received were considered in this decision.

        Based on its review, EPA is now publishing its Reregistration Eligibility Decision (RED)
and risk management decision for sodium fluoride and the associated human health and
environmental risks. A Notice of Availability will be published in the Federal Register
announcing the publication of the RED.

      The RED and supporting risk assessments for sodium fluoride are available to the public
in EPA’s Pesticide Docket EPA-HQ-2007-0833 at: http://www.regulations.gov.

        The sodium fluoride RED was developed through EPA’s public participation process,
published in the Federal Register on October 10, 2007, which provides opportunities for public
involvement in the Agency’s pesticide tolerance reassessment and reregistration programs.
Developed in partnership with USDA and with input from EPA’s advisory committees and
others, the public participation process encourages robust public involvement starting early and
continuing throughout the pesticide risk assessment and risk mitigation decision-making process.
The public participation process encompasses full, modified, and streamlined versions that
enable the Agency to tailor the level of review to the level of refinement of the risk assessments,
as well as to the amount of use, risk, public concern, and complexity associated with each
pesticide. Using the public participation process, EPA is attaining its strong commitment to both
involve the public and meet statutory deadlines.

        Please note that the sodium fluoride risk assessment and the attached RED document
concern only this particular pesticide. This RED presents the Agency’s conclusions on the
dietary, residential, occupational and ecological risks posed by exposure to sodium fluoride
alone. This document also contains both generic and product-specific data that the Agency
intends to require in Data Call-Ins (DCIs). Note that DCIs, with all pertinent instructions, will be
sent to registrants at a later date. Additionally, for product-specific DCIs, the first set of required
responses will be due 90 days from the receipt of the DCI letter. The second set of required
responses will be due eight months from the receipt of the DCI letter.
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 91 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 92 of 854
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 93 of 854




ABSTRACT

        The Environmental Protection Agency (EPA or the Agency) has completed the human
health and environmental risk assessments for sodium fluoride and is issuing its risk
management decision. The risk assessments, which are summarized below, are based on the
review of the required target database supporting the use patterns of currently registered products
and additional information received through the public docket. After considering the risks
identified in the revised risk assessments, comments received, and mitigation suggestions from
interested parties, the Agency developed its risk management decision for uses of sodium
fluoride that pose risks of concern. As a result of this review, EPA has determined that sodium
fluoride containing products are eligible for reregistration, provided that risk mitigation measures
are adopted and labels are amended accordingly. That decision is discussed fully in this
document.




                                                 iv
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 94 of 854




I.       Introduction

        The Federal Insecticide, Fungicide, and Rodenticide Act (FIFRA) was amended
in 1988 to accelerate the reregistration of products with active ingredients registered prior
to November 1, 1984 and amended again by the Pesticide Registration Improvement Act
of 2003 to set time frames for the issuance of Reregistration Eligibility Decisions. The
amended Act calls for the development and submission of data to support the
reregistration of an active ingredient, as well as a review of all submitted data by the U.S.
Environmental Protection Agency (EPA or the Agency). Reregistration involves a
thorough review of the scientific database underlying a pesticide’s registration. The
purpose of the Agency’s review is to reassess the potential hazards arising from the
currently registered uses of the pesticide; to determine the need for additional data on
health and environmental effects; and to determine whether or not the pesticide meets the
“no unreasonable adverse effects” criteria of FIFRA.

         On August 3, 1996, the Food Quality Protection Act of 1996 (FQPA) was signed
into law. This Act amends FIFRA to require reregistration assessments of chemicals
registered prior to 1984. The Agency has decided that, for those chemicals that have
tolerances and are undergoing reregistration, the tolerance reassessment will be initiated
through this reregistration process. The Act also requires that by 2006, EPA must review
all tolerances in effect on the day before the date of the enactment of the FQPA. FQPA
also amends the Federal Food, Drug, and Cosmetic Act (FFDCA) to require a safety
finding in tolerance reassessment based on factors including consideration of cumulative
effects of chemicals with a common mechanism of toxicity. This document presents the
Agency’s revised human health and ecological risk assessments; and the Reregistration
Eligibility Decision (RED) for sodium fluoride.

       Sodium fluoride is used for commercial use only as a wood preservative for utility
poles and railroad ties. Sodium fluoride products are used as supplemental wood
treatments and are not intended for primary wood preservative or pressure treated wood
preservation.

        The Agency has concluded that no special hazard-based safety factor under the
Food Quality Protection Act (FQPA) of 1996 is needed for sodium fluoride based on its
current registered use patterns.

        Risks summarized in this document are those that result only from the use of the
active ingredients sodium fluoride. The FFDCA requires that the Agency consider
available information concerning the cumulative effects of a particular pesticide’s
residues and other substances that have a common mechanism of toxicity. The reason for
consideration of other substances is due to the possibility that low-level exposures to
multiple chemical substances that cause a common toxic effect by a common toxic
mechanism could lead to the same adverse health effect that would occur at a higher level
of exposure to any of the substances individually. Unlike the pesticides for which EPA
has followed a cumulative risk approach based on a common mechanism of toxicity, EPA
has not yet initiated a review to determine if there were any other chemicals that have a
mechanism of toxicity common with that of sodium fluoride. Risks summarized in this
document are those that result only from the use of sodium fluoride. Therefore, the
Agency did not perform a cumulative risk assessment as part of this RED for sodium


                                             1
 Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 95 of 854



fluoride. For purposes of this RED, the Agency has assumed that sodium fluoride does
not have a common mechanism of toxicity with other substances. If the Agency
identifies other substances that share a common mechanism of toxicity with sodium
fluoride, the Agency will perform aggregate exposure assessments on each chemical, and
will begin to conduct a cumulative risk assessment. Upon the Agency’s request and
according to a schedule determined by the Agency, the Registrant must submit such
information as needed in order to evaluate issues related to whether sodium fluoride
shares a common mechanism of toxicity with any other substance. For information
regarding EPA’s efforts to determine which chemicals have a common mechanism of
toxicity and to evaluate the cumulative effects of such chemicals, see the policy
statements released by EPA’s Office of Pesticide Programs concerning common
mechanism determinations and procedures for cumulating effects from substances found
to have a common mechanism on EPA’s website at
http://www.epa.gov/pesticides/cumulative .

         This document presents the Agency’s decision regarding the reregistration
eligibility of the registered uses of sodium fluoride. In an effort to simplify the RED, the
information presented herein is summarized from more detailed information, which can
be found in the technical supporting documents for sodium fluoride referenced in this
RED. The revised risk assessments and related addenda are not included in this
document, but are available in the Public Docket at www.regulations.gov (Docket #
EPA-HQ-2007-0833).

        This document consists of six sections. Section I is the introduction. Section II
provides a chemical overview, a profile of the use and usage of sodium fluoride and its
regulatory history. Section III, Summary of sodium fluoride Risk Assessment, gives an
overview of the human health and environmental assessments, based on the data
available to the Agency. Section IV, Risk Management, Reregistration, and Tolerance
Reassessment Decision, presents the reregistration eligibility and risk management
decisions. Section V, What Registrants Need to Do, summarizes the necessary label
changes based on the risk mitigation measures outlined in Section IV. Finally, the
Appendices list all use patterns eligible for reregistration, bibliographic information,
related documents and how to access them, and Data Call-In (DCI) information.




                                             2
  Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 96 of 854




II.    Chemical Overview

       A.      Regulatory History

        Sodium fluoride products were initially registered in 1964. Sodium fluoride was
originally sold to the U.S. telecommunications company in the 1930s as a wood
preservative for utility poles lumber, timbers, posts, poles, ties, pilings, and all exterior
wood exposed to moisture or weather. There are six registered products. There are no
inert uses or tolerances for this chemical.

       B.      Chemical Identification




                               Figure 1. Molecular Structure of Sodium Fluoride

Common Name:                   Chemifluoro, Dentafluoro, Villiaumite

Chemical Name:                 Sodium fluoride

Other Name(s):                 Floridine, Florocid

CAS Registry Number:           7681-49-4

OPP Chemical Code:             075202

Case Number:                   3132

Empirical Formula:             NaF

Molecular Weight:              42.00

Basic Manufacturer:            Osmose Inc.

Chemical Properties:           Sodium fluoride (TGAI) is a yellow powder with a weak
                               musty odor and melting point of 993 o C. The boiling point
                               for sodium fluoride is 1704 o C. Sodium fluoride (TGAI)
                               has an estimated log Kow of -0.77 1 and a vapor pressure of
                               5.43 x 10-26 mm Hg (25 o C)1*. Sodium fluoride (TGAI) is
                               soluble in water at .4.10 g/100 ml; at 15°C and 4.3 g/100
                               ml at 25 o C. Sodium fluoride (TGAI) is readily soluble in
                               many organic solvents and has a density of 2.55 g/cm3.



                                              3
 Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 97 of 854




                               The pH for sodium fluoride is slightly alkaline and stable
                               under normal storage conditions. The Henry Law Constant
                               (air/water partition constant) is 5.04 x 10-33 atm m3/mole1

       C.       Use Profile

       The following is information on the currently registered uses of sodium fluoride,
including an overview of use sites and application methods. A detailed table of the uses
of sodium fluoride eligible for reregistration is available in Appendix A.

Type of Pesticide:     Fungicide

Target Pests:          Fungi

Formulation Types: Powder (Technical Grade Active Ingredients (TGAI)); Soluble
                   Concentrate (Manufacturing Use Products (MP)); Soluble
                   Concentrate, Ready-to-use Solution, Pelleted/tablet (End Use
                   Products (EP))

Use Sites:             Wood Preservative- (Exterior use only) Lumber, Timber, Posts,
                       Poles, Ties, Pilings, and Other Wood Products.

Methods and Rates of Application:

Wood Preservative: For control of internal decay, fill decay pockets and voids using a
                   grease gun or other pressurized applicator. Plug application holes
                   with secure-fitting dowels

                       Using air or mechanical pressure pump, apply solution to interior
                       cavity of wood structure through prepared opening.

                       Typical pole application is from 3 inches above to 18 inches below
                       the ground line and lower where deeper decay is suspected.
                       Application on poles to be restored should extend the length of
                       wrap around type repair systems. Wrap the treatment area with
                       water proof bandage.




                                             4
  Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 98 of 854




                          a.          Occupational Toxicity

       The doses and toxicological endpoints used in the occupational handler
assessment of NaF scenarios are summarized in Table 2 below.

Table 2. Sodium Fluoride for Use in Human Risk Assessment
       Exposure                Dose (mg/kg/day) used in        Special FQPA SF and Level   Study and Toxicological
        Scenario                   risk assessment                of Concern for Risk              Effects
                                         UF                           Assessment

                                           Dietary Risk Assessments

     Acute Dietary        No appropriate endpoints were identified that represent a single dose effect.
(general population and   Therefore, this risk assessment is not required.
    females 13-49)

Chronic Dietary           No appropriate endpoints were identified that represent a chronic dose effect.
                          Therefore, this risk assessment is not required.
                                   Non-Dietary Risk Assessments
                                                      Target MOE=300 (10x Oral Subchronic
                                                      inter-species              Toxicity – Rat (Sodium
                                                      extrapolation, 10x intra- Fluoride)
  Short -Term Dermal                                  species variation, 3x for LOAEL = 20
     (1 - 30 Days)        LOAEL = 20 mg/kg/day use of LOAEL)                     mg/kg/day, based on
                                                                                 significant reductions in
                                                                                 body weight gain and
                                                                                 suppressed spontaneous
                                                                                 motor activity.
                                                      Target MOE=100 (10x 6-month NTP oral
                                                      inter-species              toxicity study-mouse
   Intermediate -Term                                 extrapolation, 10x intra- LOAEL = 7.5
         Dermal                NOAEL = 1.5            species variation)         mg/kg/day based on
  (30 Days- 6 months)           mg/kg/day                                        histopathology observed
                                                                                 in bone with
                                                                                 degeneration in tibias
                                                                                 and femurs of animals
                                                      TARGET MOE = 300           2-year NTP chronic
Long-Term Dermal (> 6                                 (10x inter-species         toxicity/carcinogenicity
      months)                                         extrapolation, 10x intra- study in rats
                                                      species variation and 3x LOAEL = 1.3
                           LOAEL = 1.3 g/kg/day for use of LOAEL)                mg/kg/day, based on
                                                                                 dentine dysplasia in
                                                                                 males and females, and
                                                                                 ameloblast degeneration
                                                                                 in males
                                                      Target MOE=300 (10x Oral Subchronic
                                                      inter-species              Toxicity – Rat (Sodium
                                                      extrapolation, 10x intra- Fluoride)
                                                      species variation, 3x for LOAEL = 20
 Short-term Inhalation    LOAEL = 20 mg/kg/day
                                                      use of LOAEL)              mg/kg/day, based on
     (1-30 days)
                                                      Note: 10x route            significant reductions in
                                                      extrapolation for          body weight gain and
                                                      confirmatory inhalation    suppressed spontaneous
                                                      study.                     motor activity.




                                                          10
  Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 99 of 854



        Exposure              Dose (mg/kg/day) used in        Special FQPA SF and Level     Study and Toxicological
         Scenario                 risk assessment                of Concern for Risk                Effects
                                        UF                           Assessment

                                                          Target MOE=100 (10x             6-month NTP oral
                                                          inter-species                   toxicity study-mouse
                                                          extrapolation, 10x intra-       LOAEL = 7.5
                                                          species variation)              mg/kg/day based on
   Intermediate-term              NOAEL = 1.5
                                                                                          histopathology observed
       Inhalation                  mg/kg/day
                                                          Note: 10x route                 in bone with
                                                          extrapolation for               degeneration in tibias
                                                          confirmatory inhalation         and femurs of animals
                                                          study.
                                                          TARGET MOE =300                 2-year NTP chronic
                                                          (10x inter-species              toxicity/carcinogenicity
                                                          extrapolation, 10x intra-       study in rats
                                                          species variation, 3x for       LOAEL = 1.3
                                  LOAEL = 1.3             use of LOAEL)                   mg/kg/day, based on
 Long-term Inhalation
                                   mg/kg/day                                              dentine dysplasia in
                                                          Note: 10x route                 males and females, and
                                                          extrapolation for               ameloblast degeneration
                                                          confirmatory inhalation         in males
                                                          study.
                            Sodium fluoride has been classified as a “Group D” (not classifiable as to
                            carcinogenicity). This conclusion is consistent with the recent report by the
         Cancer
                            National Academy of Sciences which concluded that ‘the evidence on the
                            potential of fluoride to initiate or promote cancers, particularly of the bone, is
                            tentative and mixed.’
Notes: UF = uncertainty factor, FQPA SF = FQPA safety factor, NOAEL = no observed adverse effect level, LOAEL =
lowest observed adverse effect level.


                           b. Occupational Handler Exposure

         Occupational risk for all potentially exposed populations is measured by a Margin
of Exposure (MOE), which determines how close the occupational exposure comes to a
No Observed Adverse Effect Level (NOAEL) from toxicological studies. Occupational
risk is assessed for exposure at the time of application (termed “handler” exposure).
Application parameters are generally defined by the physical nature of the formulation
(e.g., formula and packaging), by the equipment required to deliver the chemical to the
use site and by the application rate required to achieve an efficacious dose.

        Potential occupational handler exposures can occur when sodium fluoride is used
as a remedial wood treatment for the protection against decay producing fungi. The
Agency evaluated representative occupational handler scenarios to assess and determine
dermal and inhalation exposures. For sodium fluoride, handler scenarios were assessed
by using unit exposure data to estimate occupational exposures. Unit exposures are
estimates of the amount of exposure to an active ingredient a handler receives while
performing various handler tasks and are expressed in terms of micrograms or milligrams
of active ingredient per pounds of active ingredient handled. A series of unit exposures
have been developed that are unique for each scenario typically considered in
assessments (i.e., there are different unit exposures for different types of application
equipment, job functions, and level of protection).


                                                         11
                         Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 100 of 854




           Table 5. Dermal and Inhalation Exposure and Risks for Remedial Applications of Sodium Fluoride to Poles.
                                Inhalation                                                                      Inhalation              Dermal MOEs                 Inhalation MOEs
Application      Dermal UE      UE              Rate             Rate                           Dermal dose     dose              ST       IT     LT                      IT      LT
                 (mg/lb a.i)    (mg/lb a.i)     (gal/pole)       (lb a.i/gal)    # poles        (mg/kg/day)     (mg/kg/day)       (300)    (100)  (300)        ST (300) (100)     (300)
Spray                   0.36         0.0022                  1            0.47             24           0.058         0.00035        350 26       22             56,000      4200   3700
(Distribution
Poles)

Spray                    0.36         0.0022                 1           0.47              30           0.073          0.00044       280    21         18        45,000     3400   2900
(Transmission
Poles)

Brush-on                   24   NA                     0.225             5.33              24            9.87        NA                 2   <1         <1                 NA
(Distribution
Poles)

Brush-on                   24   NA                     0.368             5.33              30            20.2        NA                 1   NA         NA                 NA
(Transmission
Poles)

  NA = Not applicable (e.g., short-term (ST) MOEs are only applicable for the high treatment frequency of poles).
  ST = short-term; IT = intermediate-term; LT = long-term.
 UE are from PHED for termiticide MLAP, liquid pour, rod shank injection
 Dermal UE is single layer of clothing and chemical resistant gloves.
 Treatment solution for spray from EPA Reg. No. 75341-12 (i.e., 1 gal product x 8.34 lb/gal x 8.39% a.i / 1.5 gallons water = 0.47 lb a.i/gal treatment
 solution)
 Brush-on rate EPA Reg No 75341-5 is 44.4% a.i; density of 12lb/gal = 5.33lb a.i./gallon
 # poles = registrant estimate during the reregistration phase 1 error comment period (Distribution is 24 poles per day and transmission is 30 poles per day
 Dermal (mkd) = Dermal UE x rate x # poles x 1/70kg
 Inhalation dose (mkd) = Inhalation UE x rate x #poles x 1/70kg
 MOE ST Dermal & inhalation = LOAEL 20 mkd / dose; UF = 300
 MOE IT Dermal & Inhalation = NOAEL 1.5 mkd / dose; UF = 100
 MOE LT Dermal & Inhalation = LOAEL 1.3 mkd / dose; UF = 300




                                                                                                 17
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 101 of 854




                      Exhibit 6
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 102 of 854




Summary of the facts and opinions to which Tala R. Henry, Ph.D is expected to testify:
I.       Summary of Opinions
In response to the expert opinions offered by Dr. Kathleen Thiessen and Dr. Phillipe Grandjean
on the methods for conducting risk assessments, and in particular, the methods for conducting a
risk evaluation under the Toxic Substances Control Act (TSCA) based on the currently available
scientific evidence, Dr. Henry will testify to the following:
        Dr. Thiessen’s report is not a credible source of evidence for making conclusions
         regarding unreasonable risks under TSCA due to critical limitations, including:
                1.      Mischaracterization of EPA hazard assessments and dose-response
                analyses as “risk assessments” and omission to any reference to or discussion of
                resources available in the public domain that describe the relevant and sound
                requirements and procedures for conducting a risk evaluation under section
                6(b)(4) of TSCA.
                2.      There are inadequate or undocumented literature searches and Systematic
                Review. Literature searches for critical components of a risk evaluation (exposure
                assessment) appear not to have been conducted; and quality and relevancy
                reviews, using systematic review methods, for hazard data (animal and human)
                are not provided to ensure the risk determination is based on the weight of the
                scientific evidence (WoSE).
                3.     The reference dose (RfD) derived by EPA in the document, Fluoride:
                Dose-Responses Analysis for Non-cancer Effects, has as no relevance to the
                question of whether the artificial fluoridation of drinking water creates
                unreasonable risk because it is not fit-for-purpose for a TSCA risk evaluation.
                4.     The methodology for determining unreasonable risk is fundamentally
                flawed because it relies on the statutory framework and assessment
                methodologies used to review new chemicals substances under TSCA Section 5,
                which has different risk assessment requirements and findings than for risk
                evaluations on existing chemicals under TSCA Section 6.
        Dr. Grandjean’s report is not a credible source of evidence for making conclusions
         regarding unreasonable risks under TSCA due to critical limitations, including:

                1.     The methodology for determining unreasonable risk is fundamentally
                flawed because it fails to demonstrate that the key tenets of systematic review
                were applied to his report and is presented in a manner that suggests biased and
                pre-conceived conclusions.

                2.    The report draws inappropriate and unsupported conclusions.
                Conclusions in the purported risk assessment conducted are inappropriate
                because the calculation exercise and the conclusions for making unreasonable

                                                 1
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 103 of 854




derived” by the IRIS program in conducting risk assessments that meet the requirements of the
statutes they implement, or program offices, including OPPT, may leverage parts of the IRIS
Program’s work (i.e., just the hazard identification and dose-response analysis, but not the RfD
or RfC). Whether a program office uses all or part of the IRIS program’s scientific analysis
generally depends on whether the toxicity value ‘in total’ or in part is “fit-for purpose” within the
statutory/regulatory framework that the risk assessment is being conducted.
In deriving toxicity values for TSCA risk evaluations, like the IRIS program, OPPT generally
follows EPA risk assessment guidelines (as described previously). However, EPA/OPPT often
may not use the IRIS program toxicity values “as derived.” This may be because the IRIS
toxicity value does not reflect current reasonably available information (i.e., it is out-of-date). A
significant reason OPPT does not use IRIS program RfDs/RfCs is that they are not fit-for-
purpose for a TSCA exposure scenario.
OPPT does, however, leverage IRIS program analyses in a variety of ways in developing fit-for-
purpose risk evaluations under TSCA. For example, OPPT started with components of the IRIS
program’s systematic review process (e.g., literature search, screening and key study
identification) in developing the TSCA risk evaluation for 1,4-Dioxane (one of the first 10 TSCA
risk evaluations). However, OPPT needed to update the literature search and consider
data/information that has become available since the IRIS toxicity values were developed.
Hence, while leveraging past work by EPA’s IRIS program, to meet the requirements of TSCA,
OPPT deemed it necessary to apply the TSCA systematic review process and to re-derive an
IUR/CSF that incorporated/considered newer information. OPPT has also found it necessary to
derive toxicity values as part of TSCA risk evaluations when IRIS toxicity values are not
available. For example, to conduct the TSCA risk evaluation for 1-bromopropane (one of the
first 10 TSCA risk evaluations), OPPT needed to derive an IUR because the IRIS program has
not developed one.
The IRIS program derives RfDs and RfCs for non-cancer toxicity endpoints. In deriving RfDs
and RfCs, the IRIS program “incorporates” uncertainty factors (for intra-species, inter-species,
etc.) into the toxicity value; that is, the IRIS program decides which uncertainty factors to apply
and what magnitude they are assigned and adjusts the point-of-departure (e.g., NOAEL)
identified in the dose-response analysis by the uncertainty factors, as follows:
               RfD or RfC = NOAEL ÷ Uncertainty Factors
These IRIS program RfDs and RfCs may be used “as derived” in certain program offices to plug
into their risk characterization process, to derive a Hazard Quotient, as follows:
               Hazard Quotient = RfD or RfC ÷ Exposure
In conducting TSCA risk evaluations, however, OPPT generally uses the Margin-of Exposure
(MOE) approach. In this approach, the uncertainty factors are not applied to the point-of-


                                                  17
    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 104 of 854




departure (e.g., NOAEL) identified in the dose-response analysis. Rather, an MOE is calculated
by comparing (dividing) the point-of departure directly to the expected exposure level,
               MOE acute or chronic = NOAEL (POD) ÷ Exposure
The MOE is then compared to a benchmark MOE, which is the product of all relevant
uncertainty factors. OPPT considers the MOE, relative to the benchmark MOE, in addition to
other factors, in determining whether risks are unreasonable under TSCA.
While the mathematical arrangement of terms is different, the general principles of hazard
identification and dose-response assessment used by the IRIS program and in TSCA risk
evaluation process are generally the same. Nonetheless, under OPPT’s approach, the IRIS
program toxicity values “as derived” are not fit-for-purpose in a TSCA risk evaluation.
       C.      Maximum Contaminant Level (MCL) Derived under the Safe Drinking
               Water Act (SDWA)
Contaminants in drinking water are regulated by setting a Maximum Contaminant Level (MCL).
Prior to setting the MCL, EPA develops a maximum contaminant level goal (MCLG). The
MCLG is the maximum level of a contaminant in drinking water at which no known or
anticipated adverse effect on the health of persons would occur, allowing an adequate margin of
safety. While based on similar scientific approaches, derived from the basic tenets of risk
assessment, the process and procedure for deriving an MCLG are different than determining
under TSCA whether a chemical presents an unreasonable risk under the conditions of its use.
Under SDWA, the way EPA determines MCLGs depends on the type of contaminant targeted
for regulation. For chemical contaminants that are non-carcinogens but can cause adverse non-
cancer health effects the MCLG is based on the reference dose. A reference dose (RfD) is an
estimate of the amount of a chemical that a person can be exposed to on a daily basis that is not
anticipated to cause adverse health effects over a lifetime. First EPA reviews health effects data;
however, the procedures and criteria used are not the same systematic review procedures that
EPA has more recently developed for TSCA risk evaluations. To determine the RfD, the
concentration for the non-carcinogenic effects from an epidemiology or toxicology study is
divided by uncertainty factors, as described previously in the IRIS program section. This
provides a margin of safety for consumers of drinking water. This is an example of where a
program office (Office of Water) uses IRIS program values directly. However, Dr. Henry will
testify that the current EPA MCLG is not, in fact, derived from an IRIS program RfD; rather, the
Office of Water determined their own RfD, as presented in Fluoride: Dose-Responses Analysis
for Non-cancer Effects. (U.S. EPA, 2010).
The RfD is then multiplied by body weight and divided by daily water consumption to provide a
Drinking Water Equivalent Level (DWEL). The DWEL is multiplied by the relative source
contribution (the percentage of total drinking water exposure for the general population, after
considering other exposure routes (for example, food, inhalation). These two steps in deriving an

                                                18
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 105 of 854




                      Exhibit 7
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 106 of 854




  Overview of Risk Assessment
         Under TSCA -
                 Tala Henry Ph.D.
                      Director
             Risk Assessment Division
      Office of Pollution Prevention & Toxics

                                                                       9
 Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 107 of 854


RISK CALCULATION
Non-Cancer MOE compared to benchmark MOE (UF)s

                                          𝑵𝑵𝑵𝑵𝑵𝑵 − 𝑪𝑪𝒂𝒂𝒂𝒂𝒂𝒂𝒂𝒂𝒂𝒂 𝑯𝑯𝑯𝑯𝑯𝑯𝑯𝑯𝑯𝑯𝑯𝑯 𝒗𝒗𝒗𝒗𝒗𝒗𝒗𝒗𝒗𝒗 (𝑷𝑷𝑷𝑷𝑷𝑷)
   𝑴𝑴𝑴𝑴𝑴𝑴𝒂𝒂𝒂𝒂𝒂𝒂𝒂𝒂𝒂𝒂 𝒐𝒐𝒐𝒐 𝒄𝒄𝒄𝒄𝒄𝒄𝒄𝒄𝒄𝒄𝒄𝒄𝒄𝒄 =
                                                      𝑯𝑯𝑯𝑯𝑯𝑯𝑯𝑯𝑯𝑯 𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬
     − Where:
     − MOE                   = Margin of exposure (unitless)
     − Hazard value (POD) = HEC or HED (ppm)
     − Risk estimate compared to Benchmark MOE (UFs) which is
       unacceptable risk level


                         Risk                           No Risk
Cancer
                     𝑹𝑹𝑹𝑹𝑹𝑹𝑹𝑹 = 𝑯𝑯𝑯𝑯𝑯𝑯𝑯𝑯𝑯𝑯 𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬 × 𝑰𝑰𝑰𝑰𝑰𝑰
     − Where:
     − Risk             = Cancer risk (unitless)
     − Human exposure = Exposure estimate (LADC in ppm) from occupational
       exposure assessment
     − IUR             = Inhalation unit risk (a x 10-x per ppm)

                                                                                                   | 43
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 108 of 854




                      Exhibit 8
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 109 of 854

                     PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


                         United States                              EPA Document #740-R1-8013
                         Environmental Protection Agency                              August 2019
                                                                    Office of Chemical Safety and
                                                                              Pollution Prevention




                             Draft Risk Evaluation for
                                1-Bromopropane
                               (n-Propyl Bromide)

                                   CASRN: 106-94-5




                                           August 2019




NOTICE: This information is distributed solely for the purpose of pre-dissemination peer review
under applicable information quality guidelines. It has not been formally disseminated by EPA. It
does not represent and should not be construed to represent any Agency determination or policy. It
is being circulated for review of its technical accuracy and science policy implications.
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 110 of 854

                      PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

Table 4-2. Calculated Risk Quotients (RQs) for 1-BP
                                            Concentrations of      Maximum
                Data Source                                                         RQ
                                            Concern (CoC)          Concentration
                    (Geiger et al., 1988)       13,460 µg/L                              <0.01
 Acute Risk
                      (ECHA, 2017)                                     78 µg/L
 Scenario                                        4,860 µg/L                              0.02
                       (EPA, 2019d)
                    (Geiger et al., 1988)         673 µg/L                               0.12
 Chronic Risk
                      (ECHA, 2017)                                     78 µg/L
 Scenario                                         243 µg/L                               0.32
                       (EPA, 2019d)

For environmental release pathways, EPA quantitatively evaluated surface water exposure to fish,
invertebrates and aquatic plants. As explained in Section 2.1, 1-BP is not expected to absorb
strongly to sediment or soil. If present in biosolids, 1-BP would be expected to associate with the
aqueous component and/or volatilize to air as biosolids are applied to soil and allowed to dry. 1-BP
is expected to volatilize readily from dry soil and surfaces due to its vapor pressure (high volatility
(vapor pressure= 146.26 mmHg; Henry’s law constant of 7.3X10-3 atm-m3/mole, see Table 1-1).
1-BP has demonstrated moderate toxicity to aquatic organisms, and overall the exposures to
surface water from biosolids are estimated to be below concentrations of concern for these taxa.
Therefore, no analysis for risks to aquatic organisms from biosolids is necessary.

No sediment monitoring data for 1-BP is available, but physical-chemical characteristics such as a
high vapor pressure= 146.26 mmHg and Henry’s law constant of 7.3X10-3 atm-m3/mole (see
Table 1-1) suggest that 1-BP is expected to quickly volitalize from water and resultingly be present
in very limited amounts in aquatic environments. 1-BP in sediment is expected to be in the pore
water rather than adsorbed to the sediment solids based on a high water solubility (2.4 g/L) and low
log Koc (1.6). Overall, because 1-BP is not expected to accumulate in sediments, sediment-
dwelling organisms are not expected to be exposed to a greater concentration of 1-BP than aquatic
organisms and sediment is not expected to be a source of 1-BP to overlying surface water.

   4.2 Human Health Risk
1-BP exposure is associated with a variety of cancer and non-cancer effects deemed relevant to
humans for risk estimations for the acute and chronic scenarios and populations addressed in this
draft risk evaluation. Based on a weight of the scientific evidence analysis of the reasonably
available toxicity studies from rats and humans, these effects include liver toxicity, kidney toxicity,
reproductive toxicity, developmental toxicity and neurotoxicity. The rationale for using the range of
toxic effects for chronic exposures is based on the fact that relatively low dose, short term/sub-
chronic exposures can result in long-term adverse consequences. The adverse developmental
effects are also deemed important for risk estimation for the acute exposure scenarios and
populations addressed in this draft risk evaluation. The rationale for using 1-BP associated
developmental effects for evaluating risks associated with acute exposures is based on the
understanding that a single exposure during a critical window of vulnerability can adversely impact
the conceptus.

1-BP is carcinogenic in animals. EPA derived an IUR and dermal slope factor based on lung
tumors in female mice to evaluate cancer risk. The weight of the scientific evidence analysis for
the cancer endpoint was sufficient to support a mutagenic mode of action for 1-BP carcinogenesis.



                                            Page 188 of 406
       Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 111 of 854

                             PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

                  Risk Characterization Approach

Table 4-3, Table 4-4, and Table 4-5 show the use scenarios, populations of interest and
toxicological endpoints used for acute and chronic exposures, respectively.

Table 4-3. Use Scenarios, Populations of Interest and Toxicological Endpoints for Assessing
Occupational Risks Following Acute Exposures to 1-BP

       Populations And
                                                           Occupational Use Scenarios of 1-BP
    Toxicological Approach

                                 Workers:
                                 Adult male and female1 (>16 years old) who directly handle 1-BP as part of their job
                                 function (typically 8-hr work day).
Population of Interest and       Occupational Non-user:
Exposure Scenario                Adult male and female1 (>16 years old) who do not directly handle 1-BP, but who are
                                 potentially exposed by being present in the surrounding work area of building (typically
                                 8-hr work day).

                                 Non‐Cancer Health Effects: Decreased live litter size (F1) using BMD modeling; Post-
                                 implantation loss in F0 females using NCTR modeling (WIL Research, 2001)2

                                   1. Non‐cancer hazard values or Point of Departures (PODs; BMD): 8-hr HEC:
Health Effects of Concern,            31 ppm; 24-hr dermal HED: 19 mg/kg-day
Concentration and Time             2. Non-cancer hazard values or Point of Departures (PODs; NCTR): 8-hr HEC: 17
Duration                              ppm; 24-hr dermal HED: 11 mg/kg-day

                                 Cancer Health Effects: Cancer risks following acute exposures were not estimated.
                                 Relationship is not known between a single short‐term exposure to 1-BP and the
                                 induction of cancer in humans.

                              (UFS=1) x (UFA=10) x (UFH=10) x (UFL=1)3 = 100
Uncertainty Factors (UF) used Total UF=Benchmark MOE=100
in Non‐Cancer Margin of
Exposure (MOE) calculations

Notes:
1Includes pregnant women and adults of reproductive age.
2
  The risk assessment for acute exposures focused on developmental toxicity effects as the most sensitive health effect
when compared to other potential acute effects (i.e., neurotoxicity).
3
  UFS=subchronic to chronic UF; UFA=interspecies UF; UFH=intraspecies UF; UFL=LOAEL to NOAEL UF




                                                  Page 189 of 406
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 112 of 854

                            PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

Table 4-4. Use Scenarios, Populations of Interest and Toxicological Endpoints for Assessing
Consumer Risks Following Acute Exposures to 1-BP
    Population and Toxicological
                                                          Consumer Use Scenarios of 1-BP (9 Scenarios)
             Approach
                                        Women and adults of reproductive age1 Users (Youth 11-15, Youth 16-20, Adult
Population of Interest                  21 years and greater)
                                        Bystander (Any age group (infant to elderly))
Exposure Scenario2:                     95th percentile duration of use
Users, High-intensity use               95th percentile mass of product used
                                        High weight fraction (amount of chemical in product)
Exposure Scenario2:                     50th percentile duration of use
Users, moderate intensity use           50th percentile mass of product used
                                        Mean/median weight fraction (amount of chemical in product)
Exposure Scenario2:                     10th percentile duration of use
Users, low intensity use                10th percentile mass of product used
                                        Low weight fraction (amount of chemical in product)

Population of Interest and Exposure     Women and adults of reproductive age non-users 4 and individuals of multiple age
Scenario:                               groups that are exposed to indirect 1-BP exposures by being in the rest of the
Non-User                                house.

Health Effects of Concern,              Non‐Cancer Health Effects: Decreased live litter size (F1) using BMD modeling;
Concentration and Time Duration         Post-implantation loss in F0 females using NCTR modeling (WIL Research, 2001)5
                                         1. Non‐cancer hazard values or Point of Departures (PODs; BMD): 24‐hr HEC:
                                              10 ppm; 24-hr HED: 19 mg/kg-day
                                         2. Non‐cancer hazard values or Point of Departures (PODs; NCTR): 24‐hr HEC:
                                              6 ppm; 24-hr HED: 11 mg/kg-day

                                      Cancer Health Effects: Cancer risks following acute exposures were not estimated.
                                      Relationship is not known between a single short‐term exposure to 1-BP and the
                                      induction of cancer in humans.
Uncertainty Factors (UF) used in Non‐ (UFS=1) x (UFA= 10) x (UFH=10) x (UFL=1)6 = 100
Cancer Margin of Exposure (MOE)       Total UF=Benchmark MOE=100
calculations

Notes:
1
  The risk assessment for acute exposures focused on the most sensitive life stage in humans, which is women and adults of
reproductive age and fetus (i.e., pregnant user) due to concerns for developmental effects.
2
  E-FAST/CEM provided the 24‐hr acute exposure estimate and the HECs were adjusted to 24-hrs.
3
  It is assumed no substantial buildup of 1-BP in the body between exposure events due to 1-BP’s short biological half‐life
(<2 hours).
4
  EPA believes that the users of these products are generally adults or youth (11-20 yrs of age), but any age group may be a
bystander living in the house where product was used.
5
  The risk assessment for acute exposures focused on developmental toxicity effects as the most sensitive health effect when
compared to other potential acute effects (i.e., neurotoxicity).
6
  UFS=subchronic to chronic UF; UFA=interspecies UF; UFH=intraspecies UF; UFL=LOAEL to NOAEL UF




                                                 Page 190 of 406
       Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 113 of 854

                          PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

Table 4-5. Use Scenarios, Populations of Interest and Toxicological Endpoints for Assessing
Occupational Risks Following Chronic Exposures to 1-BP
    Populations and Toxicological
                                                            Occupational Use Scenarios of 1-BP
             Approach

                                      Workers:
                                      Adult male and female1, 2 (>16 years old) who directly handle 1-BP as part of their
                                      job function (typically 260 days per year over lifetime working years, see the 1-BP
                                      Supplemental File: Supplemental Information on Occupational Exposure
                                      Assessment (EPA, 2019g)).
Population of Interest and Exposure
Scenario
                                      Occupational Non-user:
                                      Adult male and female1, 2 (>16 years old) who do not directly handle 1-BP, but
                                      who are potentially exposed by being present in the surrounding work area of
                                      building (typically 260 days per year over lifetime working years, see the 1-BP
                                      Supplemental File: Supplemental Information on Occupational Exposure
                                      Assessment (EPA, 2019g)).
                                      Non‐Cancer Health Effects:
                                       1. Non‐cancer health effects for inhalation and dermal exposures: A range of
                                            possible chronic non‐cancer adverse effects in liver, kidney, nervous system,
                                            reproductive system and developmental effects (including 2 modeling
                                            approaches for developmental effects)
                                       2. Non‐cancer hazard values or Point of Departures (PODs): The most sensitive
                                            POD (i.e., 8‐hr and 24-hr HEC expressed in ppm; 24-hr dermal HED
                                            expressed as mg/kg-day) within each health endpoint domain. See Table 3-1.
Health Effects of Concern,
Concentration and Time Duration       Cancer Health Effects:
                                       1. Cancer health effects for inhalation and dermal exposures: Data for lung
                                           tumors (NTP, 2011a) in female mice was selected as the POD considered
                                           protective for the other tumor types.
                                       2. Cancer Inhalation Unit Risk (IUR): See Table 3-5 and Table 3-6 for IUR
                                           values and dermal slope factors using model averaging and multistage
                                           modeling approaches; the IUR (40 hrs/wk and 24 hrs/day) and dermal cancer
                                           slope factor using the multistage modeling are used in the cancer risk
                                           estimate calculations.

Uncertainty Factors (UF) Used in
Non‐Cancer Margin of Exposure         Study‐ and endpoint‐specific UFs. See Table 3-1.
(MOE) calculations
Notes:
1Includes pregnant women and adults of reproductive age.
2
 The risk assessment for chronic exposures for developmental effects focused on the most sensitive life stage in humans,
which are women and adults of reproductive age and fetus (i.e., pregnant worker). For other health effects (e.g., liver,
kidney, etc.), healthy female or male workers were assumed to be the population of interest.


EPA applied a composite UF of 100 for the acute and chronic inhalation benchmark MOE, based
on the following considerations:
    • An interspecies uncertainty/variability factor of 10 (UFA) was applied for animal-to-human
        extrapolation. This uncertainty factor is comprised of two separate areas of uncertainty to
        account for differences in the toxicokinetics and toxicodynamics of animals and humans. In
        this assessment, a portion of the toxicokinetic uncertainty may be accounted for by the
        calculation of an HEC and application of a dosimetric adjustment factor as outlined in the
                                            Page 191 of 406
       Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 114 of 854

                          PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

         RfC methodology (U.S. EPA, 1994b); however, an UFA of 10 is retained to account for
         additional toxicokinetic differences that remain unaccounted;
   •     1-BP is irritating to the respiratory tract and rodents exhibit physiological responses (such
         as reflex bradypnea) that differ from humans and may alter uptake due to hyper- or
         hypoventilation, therefore, an UFA of 10 is retained to account for pharmacokinetic
         differences OECD 39;
   •     A default intraspecies uncertainty/variability factor (UFH) of 10 was applied to account for
         variation in sensitivity within human populations due to limited information regarding the
         degree to which human variability (i.e., gender, age, health status, or genetic makeup) may
         impact the disposition of or response to, 1-BP;
   •     Interindividual variability in the expression and functional capacity of CYP2E1 has been
         observed (Neafsey et al., 2009) and genetic polymorphisms in CYP2E1 expression have
         been linked to altered disease susceptibility (Trafalis et al., 2010); and,
   •     A LOAEL-to-NOAEL uncertainty factor (UFL) of 1 was applied because BMD modeling
         was used to derive the HEC.

A subchronic-to-chronic uncertainty factor (UFS) was not applied because the key study used a
chronic exposure protocol.

Although EPA’s RfC guidance suggests that the 3-fold uncertainty factor for toxicokinetic
differences may be eliminated based on higher partitioning in the rodent (i.e., blood/air partition
coefficient of 11.7 in rats versus 7.1 in man), the available information is insufficient to determine
whether critical metabolic pathways scale across species according to body weight. Because 1-BP
is irritating to the respiratory tract and rodents exhibit physiological responses (such as reflex
bradypnea) which may alter uptake due to hyper- or hypoventilation, the maximum uncertainty
factor (i.e., UFA of 10) was retained to account for pharmacokinetic differences between rodents
and humans.

Acute and chronic MOEs (MOEacute or MOEchronic) were used in this evaluation to estimate non‐
cancer risks using Equation 4-1.

Equation 4-1. Equation to Calculate Non‐Cancer Risks Following Acute or Chronic
Exposures Using Margin of Exposures

                                                           𝑵𝑵𝑵𝑵𝑵𝑵 − 𝒄𝒄𝒄𝒄𝒄𝒄𝒄𝒄𝒄𝒄𝒄𝒄 𝑯𝑯𝑯𝑯𝑯𝑯𝑯𝑯𝑯𝑯𝑯𝑯 𝒗𝒗𝒗𝒗𝒗𝒗𝒗𝒗𝒗𝒗 (𝑷𝑷𝑷𝑷𝑷𝑷)
                  𝑴𝑴𝑴𝑴𝑴𝑴𝒂𝒂𝒂𝒂𝒂𝒂𝒂𝒂𝒂𝒂 𝒐𝒐𝒐𝒐 𝒄𝒄𝒄𝒄𝒄𝒄𝒄𝒄𝒄𝒄𝒄𝒄𝒄𝒄 =
                                                                       𝑯𝑯𝑯𝑯𝑯𝑯𝑯𝑯𝑯𝑯 𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬

Where:
                          MOE                       = Margin of exposure (unitless)
            Hazard value (POD)                      = HEC (ppm)
              Human Exposure                        = Exposure estimate (in ppm) from occupational or consumer
                                                      exposure assessment. ADCs were used for non‐cancer
                                                      chronic risks and acute concentrations were used for acute
                                                      risks (see Section 2.3.1.18 through Section 2.3.1.18).



                                                           Page 192 of 406
          Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 115 of 854

                         PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

EPA used margin of exposures (MOEs) 27 to estimate acute or chronic risks for non‐cancer based on
the following:

      •    The highest quality HECs/dermal HEDs within each health effects domain reported in the
           literature;
      •    The endpoint/study‐specific UFs applied to the HECs/dermal HEDs per EPA Guidance
           (U.S. EPA, 2002); and
      •    The exposure estimates calculated for 1-BP uses examined in this risk evaluation (see
           Section 2.3).

MOE estimates allow for the presentation of a range of risk estimates. The occupational exposure
scenarios considered both acute and chronic inhalation and dermal exposures. All consumer uses
considered only acute inhalation and dermal exposure scenarios. Different adverse endpoints were
used based on the expected exposure durations. For non‐cancer effects, risks for developmental
effects were evaluated for acute (short‐term) exposures, whereas risks for other adverse effects
(toxicity to the liver, kidney, nervous system, developmental effects, and the reproductive system)
were evaluated for repeated (chronic) exposures to 1-BP.

For occupational exposure calculations, the 8 hr TWA was used to calculate MOE estimates for
acute and chronic exposures.

The total UF for each non‐cancer POD was the benchmark MOE used to interpret the MOE risk
estimates for each use scenario. The MOE estimate was interpreted as a potential human health
concern if the MOE estimate was less than the benchmark MOE (i.e. the total UF). On the other
hand, the MOE estimate indicated negligible concerns for adverse human health effects if the MOE
estimate exceeded the benchmark MOE. Typically, the larger the MOE, the more unlikely it is that
a non‐cancer adverse effect would occur.

MOE estimates were calculated for all of the studies per health effects domain that EPA
considered suitable for the risk evaluation of acute and chronic exposure scenarios in the work plan
risk assessment for 1-BP.

Extra cancer risks for repeated exposures to 1-BP were estimated using Equation 2-1. Estimates of
extra cancer risks should be interpreted as the incremental probability of an individual developing
cancer over a lifetime as a result of exposure to the potential carcinogen (i.e., incremental or extra
individual lifetime cancer risk).

Equation 4-2. Equation to Calculate Extra Cancer Risks

                                  𝑹𝑹𝑹𝑹𝑹𝑹𝑹𝑹 = 𝑯𝑯𝑯𝑯𝑯𝑯𝑯𝑯𝑯𝑯 𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬 × 𝑰𝑰𝑰𝑰𝑰𝑰
Where:
              Risk       = Extra cancer risk (unitless)
     Human exposure      = Exposure estimate (LADC in ppm) from occupational exposure assessment
               IUR       = Inhalation unit risk (3 x 10-3 per ppm)
27
  Margin of Exposure (MOE) = (Non‐cancer hazard value, POD) ÷ (Human Exposure). Equation 4-1. The benchmark
MOE is used to interpret the MOEs and consists of the total UF shown in Table 3-1. See Section 3.2.10.1 for an
explanation of the benchmark MOE.
                                               Page 193 of 406
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 116 of 854

                       PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

               Risk Characterization For Acute, Non-Cancer Inhalation Exposures
Non‐cancer MOE estimates for acute inhalation and dermal exposures to 1-BP were derived for
both occupational scenarios and consumer scenarios. Cancer risk estimates for acute inhalation
exposures to 1-BP were not derived for occupational or consumer scenarios because the published
methodology for extrapolating cancer risks from chronic to short-term exposures to mutagenic
carcinogens caveat that extrapolation of lifetime theoretical extra cancer risks to single exposures
has great uncertainty (NRC, 2001).

The risk assessment for acute inhalation and dermal exposures used developmental toxicity data to
evaluate the risks following acute exposures with the TSCA condition of use scenarios identified
for 1-BP under the scope of this evaluation. EPA based its acute risk assessment on developmental
toxicity (i.e., decreased live litter size, and increases in post-implantation loss), the most sensitive
HEC/dermal HED identified for an acute exposure duration (WIL Research, 2001), which is
representative of potentially exposed or susceptible subpopulation (i.e., adults of reproductive age
and their offspring). For acute exposure scenarios, EPA did not assess risks to children who may be
present in in the workplace (e.g., dry cleaners) due to the uncertainties in extrapolating these
specific developmental effects for this lifestage. See Section 3.2.10.5 for additional discussion..

The risk assessment for acute exposures used the hazard value from the (WIL Research, 2001)
two-generation reproductive toxicity study to evaluate risks for each occupational and consumer
exposure scenario.

Non-cancer MOE estimates for acute occupational exposure scenarios are presented in Table 4-6
through Table 4-25. Non-cancer MOE estimates for acute consumer exposure scenarios are
presented in Table 4-26. MOE estimates (HEC in ppm/exposure estimate in ppm; dermal HED
exposure estimate in mg/kg-day) lower than the Benchmark MOE (Total UF) indicate potential
health risks and are highlighted in red. Where the sample size of the underlying exposure data is
sufficiently large to calculate statistics, the central tendency estimate is based on the 50th percentile
exposure level of the dataset, while the high-end estimate is based on the 95th percentile exposure.
See Section 2.3.1.2 for detailed descriptions of central tendency and high-end estimates.

For occupational scenarios, EPA evaluated the impact of potential respirator use based on
respirator APF of 10, 25, and 50. The calculated MOE with respirator use is then compared to the
benchmark MOE to determine the level of APF required to mitigate risk for all health domains.
The MOE estimates for these respirator scenarios assume workers are properly trained and fitted
on respirator use, and that they wear respirators for the entire duration of the work activity where
there is potential exposure to 1-BP. For some occupational conditions of use, respirators with an
APF of 50 do not reduce worker exposure to levels where the calculated MOE is greater than the
benchmark MOE. EPA does not evaluate respirator use for occupational non-users because they do
not directly handle 1-BP and are unlikely to wear respirators. In addition, EPA believes small
commercial facilities performing dry cleaning and spot cleaning are unlikely to have a respiratory
protection program.

Non-cancer MOE estimates for acute consumer inhalation exposure scenarios are presented in
Table 4-26. MOE estimates (HEC in ppm/exposure estimate in ppm; dermal HED exposure
estimate in mg/kg-day) lower than the Benchmark MOE (Total UF) indicate potential health risks
and are highlighted in red.
                                            Page 194 of 406
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 117 of 854

                         PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


Use: Manufacturing, Import, Repackaging, Processing as a Reactant, and Processing –
Incorporation into Articles and Formulation Based on Monitoring Data and Modeling
MOE estimates for manufacturing, import, repackaging, processing as a reactant, and processing
and incorporation into articles for workers, for both monitoring data and modeling, and with and
without the use of an APF, are presented in Table 4-6, Table 4-7, and Table 4-8. In some instances,
data was either not available or not applicable for occupational non-users.

Table 4-6. Non-Cancer Risk Estimates for Acute Inhalation Exposures Following
Occupational Use of 1-BP in Manufacture Based on Monitoring Data (U.S.)
                                   Acute                            Acute MOE          APF=10
  Health Effect, Endpoint and                                                                       Benchmark
                                    HEC     Exposure Level
             Study                                             Worker       ONU        Worker         MOE
                                   (ppm)
      Developmental Effects                   Central tendency      344     N/A          3,444
   Decreased live litter size (F1)    31                                                                 100
       (WIL Research, 2001)                      High-end           115     N/A          1,148
      Developmental Effects                   Central tendency      189     N/A          1,889
    Post-Implantation Loss (F0)
                                      17                                                                 100
  (WIL Research, 2001); NCTR                     High-end           63      N/A           630
               Model
Note: Exposure monitoring was not performed for ONUs at this manufacturing facility. Based on the process and work
activity description, exposure to ONU is expected to be negligible.

MOE estimates for manufacturing using monitoring data are presented in Table 4-6. MOE
estimates were above the benchmark MOE by 1-2 orders of magnitude for all worker scenarios
without an APF, with one exception. This exception included a scenario where the MOE estimate
was below the benchmark MOE for workers for high-end exposure estimates when using the
NCTR modeling approach. In contrast, when an APF was applied in worker scenarios, the MOE
estimates were above the benchmark MOE by several orders of magnitude.

Table 4-7. Non-Cancer Risk Estimates for Acute Inhalation Exposures Following
Occupational Use of 1-BP in Import, Repackaging, Processing as a Reactant, and Processing
– Incorporation into Articles Based on Modeling
                                        Acute                               Acute MOE              Benchmark
 Health Effect, Endpoint and Study       HEC       Exposure Level
                                                                       Worker         ONU            MOE
                                        (ppm)
        Developmental Effects                       Central tendency      2,709          N/A
     Decreased live litter size (F1)       31                                                           100
        (WIL Research, 2001)                           High-end            515           N/A
        Developmental Effects                       Central tendency      1,486          N/A
     Post-Implantation Loss (F0)
                                           17                                                           100
    (WIL Research, 2001); NCTR                         High-end            283           N/A
                Model
N/A – Not applicable. Because the model assumes tank truck and railcar loading/unloading occurs outdoors, EPA
expects ONU exposure to be negligible due to airborne concentration dilution in ambient air.

MOE estimates for import, repackaging, or processing using modeling are presented in Table 4-7.
APFs were not applied. MOE estimates were above the benchmark MOE by several orders of
magnitude.


                                                Page 195 of 406
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 118 of 854

                          PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


Table 4-8. Non-Cancer Risk Estimates for Acute Inhalation Exposures Following
Occupational Use of 1-BP in Processing – Incorporation into Formulation Based on
Monitoring Data
                                    Acute                        Acute MOE      APF=50
 Health Effect, Endpoint and                                                             Benchmark
                                     HEC    Exposure Level
            Study                                              Worker   ONU     Worker     MOE
                                    (ppm)
    Developmental Effects                   Central tendency     8       95      409
  Decreased live litter size (F1)    31                                                     100
    (WIL Research, 2001)                       High-end          2       19       82
    Developmental Effects                   Central tendency     4       52      224
  Post-Implantation Loss (F0)
                                     17                                                     100
 (WIL Research, 2001); NCTR                    High-end          1       11       45
            Model

MOE estimates for incorporation into formulation based on monitoring data are presented in Table
4-8. MOE estimates for workers were below the benchmark MOE by 1-2 orders of magnitude
without the use of an APF. In this same scenario, MOE estimates for occupational non-users were
slightly increased but still under the benchmark MOE by 1-2 orders of magnitude for central
tendency and high-end exposure levels. When an APF was applied, MOE estimates were above
the benchmark MOE by several orders of magnitude in workers for central tendency exposure
levels, but below the benchmark MOE by several orders of magnitude for high-end exposure
levels.

Use: Batch Vapor Degreaser (Open-Top) Based on Monitoring Data and Modeling (Pre-EC)
MOE estimates for batch vapor degreaser (open top) based on monitoring data and modeling are
presented in Table 4-9 and Table 4-10, respectively.

Table 4-9. Non-Cancer Risk Estimates for Acute Inhalation Exposures Following
Occupational Use of 1-BP in Batch Vapor Degreaser (Open-Top) Based on Monitoring Data
                                    Acute                         Acute MOE     APF=50
  Health Effect, Endpoint and                                                            Benchmark
                                     HEC    Exposure Level
             Study                                             Worker   ONU     Worker     MOE
                                    (ppm)
    Developmental Effects                   Central tendency      5     1,550     231
  Decreased live litter size (F1)    31                                                     100
    (WIL Research, 2001)                        High-end          1      14       31
    Developmental Effects                   Central tendency      3      850      127
  Post-Implantation Loss (F0)
                                     17                                                     100
 (WIL Research, 2001); NCTR                     High-end         0.3      8       17
            Model

When monitoring data was used (Table 4-9 ), MOE estimates were below the benchmark MOE for
workers (central tendency and high-end exposure levels) and occupational non-users (central
tendency exposure levels) by 1-2 orders of magnitude without the use of an APF, with two
exceptions. These exceptions include occupational non-users for central tendency exposure
estimates. When an APF was applied, MOE estimates for workers were above the benchmark
MOE by 1-2 orders of magnitude for central tendency exposure levels, but below the benchmark
MOE by 1-2 orders of magnitude for high-end exposure levels.


                                               Page 196 of 406
       Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 119 of 854

                           PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

Table 4-10. Non-Cancer Risk Estimates for Acute Inhalation Exposures Following
Occupational Use of 1-BP in Batch Vapor Degreaser (Open-Top) Based on Modeling (Pre-
EC)
                                     Acute                        Acute MOE     APF=50
  Health Effect, Endpoint and                                                            Benchmark
                                      HEC    Exposure Level
             Study                                              Worker   ONU    Worker     MOE
                                     (ppm)
    Developmental Effects                    Central tendency     16      31     820
  Decreased live litter size (F1)     31                                                    100
    (WIL Research, 2001)                        High-end          1        2      65
    Developmental Effects                    Central tendency     9       17     450
  Post-Implantation Loss (F0)
                                      17                                                    100
 (WIL Research, 2001); NCTR                     High-end          1        1      36
            Model

When modeling was used (Table 4-10), MOE estimates were below the benchmark MOE by
several orders of magnitude for both workers and occupational non-users without the use of an
APF. When an APF was applied, MOE estimates were above the benchmark MOE by several
orders of magnitude for workers for central tendency exposure levels, but below the benchmark
MOE by 1-2 orders of magnitude for high-end exposure levels.

Use: Batch Vapor Degreaser (Open-Top) Based on Modeling (Post-EC)
MOE estimates for batch vapor degreaser (open-top) based modeling (post-EC) are presented in
Table 4-11.

Table 4-11. Non-Cancer Risk Estimates for Acute Inhalation Exposures Following
Occupational Use of 1-BP in Batch Vapor Degreaser (Open-Top) Based on Modeling (Post-
EC)
                                     Acute                         Acute MOE    APF=25
  Health Effect, Endpoint and                                                            Benchmark
                                      HEC    Exposure Level
             Study                                              Worker   ONU    Worker     MOE
                                     (ppm)
     Developmental Effects                   Central tendency    164      312    4,099
   Decreased live litter size (F1)    31                                                    100
     (WIL Research, 2001)                       High-end          13      23      324
     Developmental Effects                   Central tendency     90      171    2,248
   Post-Implantation Loss (F0)
                                      17                                                    100
  (WIL Research, 2001); NCTR                    High-end          7       13      178
             Model

When an APF was not applied, MOE estimates were below the benchmark MOE by 1-2 orders of
magnitude for high-end exposure estimates (for workers and occupational non-users alike), and for
the central tendency estimates for workers. In this same scenario, MOE estimates were above the
benchmark MOE for workers and occupational non-users (central tendency exposure estimates),
and for occupational non-users (central tendency exposure estimates; acute HEC derived using the
NCTR modeling approach). When an APF was applied, MOE estimates were below the
benchmark MOE by several orders of magnitude for workers.

Use: Batch Vapor Degreaser (Closed-Loop) Based on Modeling
MOE estimates for batch vapor degreaser (closed-loop) based on modeling are presented in Table
4-12.

                                               Page 197 of 406
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 120 of 854

                          PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

Table 4-12. Non-Cancer Risk Estimates for Acute Inhalation Exposures Following
Occupational Use of 1-BP in Batch Vapor Degreaser (Closed-Loop) Based on Modeling
                                    Acute                        Acute MOE      APF=10
  Health Effect, Endpoint and                                                            Benchmark
                                     HEC    Exposure Level
             Study                                             Worker   ONU     Worker     MOE
                                    (ppm)
    Developmental Effects                   Central tendency    820     1,561    8,199
  Decreased live litter size (F1)    31                                                     100
    (WIL Research, 2001)                       High-end          65     115      648
    Developmental Effects                   Central tendency    450     856      4,496
  Post-Implantation Loss (F0)
                                     17                                                     100
 (WIL Research, 2001); NCTR                    High-end          36      63      355
            Model

MOE estimates were above the benchmark MOE by several orders of magnitude for both workers
and occupational non-users for central tendency and high-end exposure estimates in all cases with
or without the use of an APF, with few exceptions. These exceptions included scenarios in which
an APF was not applied, and in scenarios for high-end exposure estimates only (acute HEC using
the BMD modeling approach for workers: and acute HEC using the NCTR modeling approach for
workers and occupational non-users).

Use: Cold Cleaner Based on Monitoring Data and Modeling
MOE estimates for cold cleaner based on monitoring data and monitoring are presented in Table
4-13 and Table 4-14, respectively.

Table 4-13. Non-Cancer Risk Estimates for Acute Inhalation Exposures Following
Occupational Use of 1-BP in Cold Cleaner Based on Monitoring Data
                                    Acute                        Acute MOE      APF=50
  Health Effect, Endpoint and                                                            Benchmark
                                     HEC    Exposure Level
             Study                                             Worker   ONU     Worker     MOE
                                    (ppm)
    Developmental Effects                   Central tendency     7       12      360
  Decreased live litter size (F1)    31                                                     100
    (WIL Research, 2001)                       High-end          4       12      209
    Developmental Effects                   Central tendency     4       7       198
  Post-Implantation Loss (F0)
                                     17                                                     100
 (WIL Research, 2001); NCTR                    High-end          2       7       115
            Model

MOE estimates for cold cleaner based on monitoring data are presented in Table 4-13. When an
APF was not applied, MOE estimates were below the benchmark MOE by 1-2 orders of magnitude
for both workers and occupational non-users for all exposure estimates. When an APF was applied,
MOE estimates were above the benchmark MOE by several orders of magnitude for workers for
all exposure estimates




                                              Page 198 of 406
       Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 121 of 854

                           PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

Table 4-14. Non-Cancer Risk Estimates for Acute Inhalation Exposures Following
Occupational Use of 1-BP in Cold Cleaner Based on Modeling
                                     Acute                        Acute MOE           APF=50
  Health Effect, Endpoint and                                                                     Benchmark
                                      HEC    Exposure Level
             Study                                              Worker     ONU        Worker        MOE
                                     (ppm)
     Developmental Effects                   Central tendency     56        107        2,822
   Decreased live litter size (F1)    31                                                              100
     (WIL Research, 2001)                       High-end          3          5          130
     Developmental Effects                   Central tendency     31         59        1,548
   Post-Implantation Loss (F0)
                                      17                                                              100
  (WIL Research, 2001); NCTR                    High-end          1          2           71
             Model

MOE estimates for cold cleaner based on modeling are presented in Table 4-14. Similar findings
were noted when compared to monitoring data. When an APF was not applied, MOE estimates
were below the benchmark MOE by 1-2 orders of magnitude for both workers and occupational
non-users for all exposure estimates, with one exception. This exception was for occupational non-
users for central tendency exposure estimates for the HEC using the BMD modeling approach.
When an APF was applied, MOE estimates were above the benchmark MOE by several orders of
magnitude for workers for all exposure estimates, except for high-end exposure estimates for the
HEC using the NCTR modeling approach where it was below the benchmark MOE by 1-2 orders
of magnitude.

Use: Aerosol Spray Degreaser Based on Monitoring Data (Pre-, and Post-EC); and Modeling
MOE estimates for aerosol spray degreaser based on monitoring data (for pre-EC and post-EC) and
modeling are presented in Table 4-15, Table 4-16, and Table 4-17. Data for occupational non-users
were not available in some instances.

Table 4-15. Non-Cancer Risk Estimates for Acute Inhalation Exposures Following
Occupational Use of 1-BP in Aerosol Spray Degreaser Based on Monitoring Data (Pre-EC)
                                     Acute                        Acute MOE           APF=50
  Health Effect, Endpoint and                                                                     Benchmark
                                      HEC    Exposure Level
             Study                                              Worker     ONU        Worker        MOE
                                     (ppm)
     Developmental Effects                   Central tendency     2        No data        97
  Decreased live litter size (F1)    31                                                                100
      (WIL Research, 2001)                      High-end          1        No data        49
     Developmental Effects                   Central tendency     1        No data        53
   Post-Implantation Loss (F0)
                                     17                                                                100
 (WIL Research, 2001); NCTR                     High-end          1        No data        27
             Model
Note: EPA did not identify exposure monitoring data for ONUs. EPA estimated exposure level for ONU through
modeling.

MOE estimates for aerosol spray degreaser based on monitoring data for pre-EC scenarios is
presented in Table 4-15. MOE estimates in workers were below the benchmark MOE by several
orders of magnitude without the application of an APF. When an APF was applied, MOE estimates
in workers were closer to, but still below the benchmark MOE.




                                               Page 199 of 406
       Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 122 of 854

                           PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

Table 4-16. Non-Cancer Risk Estimates for Acute Inhalation Exposures Following
Occupational Use of 1-BP in Aerosol Spray Degreaser Based on Monitoring Data (Post-EC)
                                     Acute                            Acute MOE       APF=50
  Health Effect, Endpoint and                                                                     Benchmark
                                      HEC    Exposure Level
             Study                                              Worker      ONU       Worker        MOE
                                     (ppm)
     Developmental Effects
  Decreased live litter size (F1)    31                            6       No data        282          100
      (WIL Research, 2001)
                                                   N/A
     Developmental Effects                  (Single data point)
   Post-Implantation Loss (F0)
                                     17                            3       No data        155          100
 (WIL Research, 2001); NCTR
             Model
Note: EPA did not identify exposure monitoring data for ONUs. EPA estimated exposure level for ONU through
modeling.

MOE estimates for aerosol spray degreaser based on monitoring data for post-EC scenarios is
presented in Table 4-16. MOE estimates in workers were below the benchmark MOE by several
orders of magnitude without the use of an APF. When an APF was applied, MOE estimates in
workers were above the benchmark MOE by 1-2 orders of magnitude.

Table 4-17. Non-Cancer Risk Estimates for Acute Inhalation Exposures Following
Occupational Use of 1-BP in Aerosol Spray Degreaser Based on Modeling
                                     Acute                        Acute MOE           APF=50
  Health Effect, Endpoint and                                                                     Benchmark
                                      HEC    Exposure Level
             Study                                              Worker      ONU       Worker        MOE
                                     (ppm)
     Developmental Effects                   Central tendency     5         282         243
   Decreased live litter size (F1)    31                                                              100
     (WIL Research, 2001)                       High-end          1          33          69
     Developmental Effects                   Central tendency     3         155         133
   Post-Implantation Loss (F0)
                                      17                                                              100
  (WIL Research, 2001); NCTR                    High-end          1          18          38
             Model

MOE estimates for aerosol spray degreaser based on modeling is presented in Table 4-17. As with
montoring data (pre-, and post-EC), similar findings were noted when modeling was used. MOE
estimates were below the benchmark MOE by several orders of magnitude for workers and
occupational non-users when an APF was not applied, with two exceptions. These exceptions
included occupational non-users for central tendency exposure estimates where the MOE estimate
was above the benchmark MOE by 1-2 orders of magnitude. When an APF was applied, MOE
estimates in workers were above the benchmark MOE by 1-2 orders of magnitude for central
tendency exposure levels, but below the benchmark MOE by 1-2 orders of magnitude for high-end
exposure levels.

Use: Dry Cleaning Based on Monitoring Data and Modeling (3rd and 4th Generation Machines)
MOE estimates for dry cleaning based on monitoring data and modeling (3rd and 4th generation
machines) are presented in Table 4-18, Table 4-19, and Table 4-20. An APF was not applied in any
scenario.




                                               Page 200 of 406
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 123 of 854

                           PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


Table 4-18. Non-Cancer Risk Estimates for Acute Inhalation Exposures Following
Occupational Use of 1-BP in Dry Cleaning Based on Monitoring Data
                                        Acute                                 Acute MOE
    Health Effect, Endpoint and                                                                 Benchmark
                                         HEC      Exposure Level
               Study                                                   Worker        ONU          MOE
                                        (ppm)
       Developmental Effects                      Central tendency        1           3
     Decreased live litter size (F1)      31                                                       100
       (WIL Research, 2001)                          High-end             1           2
       Developmental Effects                      Central tendency        1           1
     Post-Implantation Loss (F0)
                                          17                                                       100
    (WIL Research, 2001); NCTR                       High-end            0.3          1
               Model

Table 4-19. Non-Cancer Risk Estimates for Acute Inhalation Exposures Following
Occupational Use of 1-BP in Dry Cleaning Based on Modeling (3rd Generation Machine)
                                                                     Acute MOE
   Health Effect, Endpoint and         Exposure                                                 Benchmark
              Study                     Level        Spot                                         MOE
                                                                Machine & Finish          ONU
                                                    Cleaner
                                        Central
      Developmental Effects                            7                 1                11
                                       tendency
    Decreased live litter size (F1)                                                                100
      (WIL Research, 2001)             High-end        3                0.3                3

     Developmental Effects              Central
                                                       4                 1                 6
    Post-Implantation Loss (F0)        tendency
                                                                                                   100
   (WIL Research, 2001); NCTR
              Model                    High-end        1                0.2                2

Study: (WIL Research, 2001)
Note: Based on acute HEC of 10 ppm and 5.7 ppm.

Table 4-20. Non-Cancer Risk Estimates for Acute Inhalation Exposures Following
Occupational Use of 1-BP in Dry Cleaning Based on Modeling (4th Generation Machine)
                                                                     Acute MOE
    Health Effect, Endpoint and        Exposure                                                 Benchmark
               Study                    Level        Spot                                         MOE
                                                                Machine & Finish          ONU
                                                    Cleaner
                                        Central
      Developmental Effects                            8                 8                15
                                       tendency
    Decreased live litter size (F1)                                                                100
      (WIL Research, 2001)             High-end        4                 3                 5

     Developmental Effects              Central
                                                       5                 5                 9
    Post-Implantation Loss (F0)        tendency
                                                                                                   100
   (WIL Research, 2001); NCTR
              Model                    High-end        2                 2                 3

Study: (WIL Research, 2001)
Note: Based on acute HEC of 10 ppm and 5.7 ppm.




                                                Page 201 of 406
       Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 124 of 854

                           PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

MOE estimates between monitoring data and modeling were similar. In all cases, the MOE
estimates were below the benchmark MOE by several orders of magnitude for both central
tendency and high-end exposures for workers and occupational non-users alike.

Use: Spot Cleaner Based on Monitoring Data and Modeling
MOE estimates using monitoring data and modeling for spot cleaner are presented in Table 4-21
and Table 4-22. Data for occupational non-users was not available for monitoring data. An APF
was not applied in any scenario.

Table 4-21. Non-Cancer Risk Estimates for Acute Inhalation Exposures Following
Occupational Use of 1-BP in Spot Cleaner Based on Monitoring Data
                                       Acute                               Acute MOE
    Health Effect, Endpoint and                                                                 Benchmark
                                        HEC      Exposure Level
               Study                                                Worker        ONU             MOE
                                       (ppm)
       Developmental Effects                      Central tendency     34         No data
     Decreased live litter size (F1)     31                                                          100
       (WIL Research, 2001)                           High-end          7         No data
       Developmental Effects                      Central tendency     19         No data
     Post-Implantation Loss (F0)
                                         17                                                          100
    (WIL Research, 2001); NCTR                        High-end          4         No data
               Model
Note: EPA did not identify exposure monitoring data for ONUs. EPA estimated exposure level for ONU through
modeling.

Table 4-22. Non-Cancer Risk Estimates for Acute Inhalation Exposures Following
Occupational Use of 1-BP in Spot Cleaner Based on Modeling
                                       Acute                               Acute MOE
    Health Effect, Endpoint and                                                                 Benchmark
                                        HEC      Exposure Level
               Study                                                Worker        ONU             MOE
                                       (ppm)
       Developmental Effects                    Central tendency       10           19
     Decreased live litter size (F1)    31                                                          100
       (WIL Research, 2001)                         High-end           4            7
       Developmental Effects                    Central tendency       5            10
     Post-Implantation Loss (F0)
                                        17                                                          100
    (WIL Research, 2001); NCTR                      High-end           2            4
               Model

MOE estimates between monitoring data and modeling for workers were similar. MOE estimates
were below the benchmark MOE by several orders of magnitude for both cental tendency and
high-end exposure levels for workers based on monitoring data, and for workers and occupational
non-users based on modeling.

Use: Adhesive Chemicals (Spray Adhesive) Based on Monitoring Data (Pre-, and Post-EC)
MOE estimates using pre-and post-EC monitoring data for adhesive chemicals (spray adhesive) are
presented in Table 4-23 and Table 4-24. MOE estimates are presented for worker (sprayer and non-
sprayer) and for occupational non-users.




                                               Page 202 of 406
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 125 of 854

                           PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


Table 4-23. Non-Cancer Risk Estimates for Acute Inhalation Exposures Following
Occupational Use of 1-BP in Adhesive Chemicals (Spray Adhesive) Based on Monitoring
Data (Pre-EC)
                                                        Acute MOE                APF=50
   Health Effect, Endpoint         Exposure                                                    Benchmark
         and Study                  Level                 Non-                        Non-       MOE
                                              Sprayer               ONU   Sprayer
                                                         Sprayer                     Sprayer
                                    Central
   Developmental Effects                        0.2        0.2      10      12            12
                                   tendency
 Decreased live litter size (F1)                                                                  100
   (WIL Research, 2001)            High-end     0.1        0.1      0.2     6             7

   Developmental Effects            Central
                                                0.1        0.1       6      6             7
  Post-Implantation Loss (F0)      tendency
                                                                                                  100
    (WIL Research, 2001);
         NCTR Model                High-end     0.1        0.1      0.1     3             4
Note: Based on acute HEC of 31 ppm and 17 ppm.

Table 4-24. Non-Cancer Risk Estimates for Acute Inhalation Exposures Following
Occupational Use of 1-BP in Adhesive Chemicals (Spray Adhesive) Based on Monitoring
Data (Post-EC)
                                                        Acute MOE                APF=50
   Health Effect, Endpoint         Exposure                                                    Benchmark
         and Study                  Level                 Non-                        Non-       MOE
                                              Sprayer               ONU   Sprayer
                                                         Sprayer                     Sprayer
                                    Central
   Developmental Effects                         2          2       16      87            86
                                   tendency
 Decreased live litter size (F1)                                                                  100
   (WIL Research, 2001)            High-end      1          1        6      37            54

   Developmental Effects            Central
                                                 1          1        9      48            47
  Post-Implantation Loss (F0)      tendency
                                                                                                  100
    (WIL Research, 2001);
         NCTR Model                High-end      0.4        1        3      20            29

Note: Based on acute HEC of 31 ppm and 17 ppm.

MOE estimates between pre- and post-EC monitoring data were similar. MOE estimates were
below the benchmark MOE by several orders of magnitude in worker and occupational non-user
scenarios when an APF was not applied. When an APF was applied, MOE estimates were below
the benchmark MOE by several orders of magnitude for workers in pre-EC conditions, and below
but closer to the benchmark MOE in post-EC conditions.

Use: Disposal Based on Modeling
MOE estimates using modeling for disposal are presented in Table 4-25. Occupational non-users
were not applicable to this scenario. APFs were not applied.




                                               Page 203 of 406
       Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 126 of 854

                         PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

Table 4-25. Non-Cancer Risk Estimates for Acute Inhalation Exposures Following
Occupational Use of 1-BP in Disposal Based on Modeling
                                      Acute                                     Acute MOE
  Health Effect, Endpoint and                                                                          Benchmark
                                       HEC    Exposure Level
             Study                                                     Worker             ONU            MOE
                                      (ppm)
 Developmental Effects                        Central tendency         2,709             N/A
 Decreased live litter size (F1)   31                                                               100
 (WIL Research, 2001)                             High-end              515              N/A
 Developmental Effects                        Central tendency         1,486             N/A
 Post-Implantation Loss (F0)
                                   17                                                               100
 (WIL Research, 2001); NCTR                       High-end              283              N/A
 Model
N/A – not applicable. Because the model assumes tank truck and railcar loading/unloading occurs outdoors, EPA
expects ONU exposure to be negligible due to airborne concentration dilution in ambient air.

MOE estimates were above the benchmark MOE by several orders of magnitude for all worker
exposure scenarios evaluated.

Consumer Conditions of Use Based on Modeling
MOE estimates for the consumer conditions of use based on modeling (high, moderate, and low
intensity use scenarios) are presented in Table 4-26. A brief discussion of the approach and the risk
calculations spreadsheet is provided in the 1-BP Supplemental File Consumer Exposure Risk
Calculations (EPA, 2019c).

Table 4-26. Non-Cancer Risk Estimates for Acute 24-hr Inhalation Exposure Following
Consumer Uses of 1-BP (Benchmark MOE = 100) Based on Modeling
                                                         Acute Non-Cancer MOE (24-Hour TWA)
                                                Developmental Effects                 Developmental Effects
 Condition of
                  Scenario Description        Decreased live litter size (F1)        Post-Implantation Loss (F0)
 Use
                                                (WIL Research, 2001)                   (WIL Research, 2001)
                                                 User            Bystander             User           Bystander
                  High Intensity Use             0.5                 2                 0.3                1
 Adhesive         Moderate Intensity
                                                  9                   47                5                 28
 Accelerant       Use
                  Low Intensity Use               74                 393                45               236
                  High Intensity Use             0.1                 0.3               0.1               0.2
 General Spray    Moderate Intensity
                                                 0.7                  4                0.4                2
 Cleaner          Use
                  Low Intensity Use               4                   23                3                 14
                  High Intensity Use             0.2                  1                0.1               0.6
 Spot Cleaner/    Moderate Intensity
                                                  3                   15                2                 9
 Stain Remover    Use
                  Low Intensity Use               37                 173                22               104
                  High Intensity Use             0.5                  2                0.3                2
 Mold
                  Moderate Intensity
 Cleaning/                                        7                   37                4                 22
                  Use
 Release
                  Low Intensity Use               81                 379                49               228


                                                Page 204 of 406
       Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 127 of 854

                          PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


                                                         Acute Non-Cancer MOE (24-Hour TWA)
                                                Developmental Effects              Developmental Effects
 Condition of
                  Scenario Description        Decreased live litter size (F1)     Post-Implantation Loss (F0)
 Use
                                                (WIL Research, 2001)                (WIL Research, 2001)
                                                 User            Bystander           User          Bystander
                  High Intensity Use             0.1                0.2              0.1              0.2
 General
                  Moderate Intensity
 Cleaner/                                        0.5                  2              0.3               1
                  Use
 Degreaser
                  Low Intensity Use               10                  40              6                24
                  High Intensity Use             0.4                  1              0.2              0.7
 Degreaser-       Moderate Intensity
                                                  7                   29              4                17
 Electronics      Use
                  Low Intensity Use              150                 526              90              315
                  High Intensity Use              6                   34              4                21
                  Moderate Intensity
 Coin Cleaner                                     3                   16              2                10
                  Use
                  Low Intensity Use               1                   7              0.7               5
                  High Intensity Use              21                 100              13               61
 Automobile       Moderate Intensity
                                                  6                   32              4                19
 AC Flush         Use
                  Low Intensity Use               3                   15              2                9
                  Living Area                    N/A                3000             N/A              1800
 Insulation       Attic                          N/A                 562             N/A              337
                  Crawlspace                     N/A                 462             N/A              277
                  Maximum                        150                 526              90              315
 Overall
                 Minimum                          0.1              0.3                0.1             0.2
Note: Acute HEC = 6 ppm (decreased live litter size) and 10 ppm (post-implantation loss).

MOE estimates were below the benchmark MOE by 1-2 orders of magnitude for both the user and
bystander for all consumer uses with a few exceptions. These exceptions included insulation
conditions of use, and low intensity use for some conditions of use where, in those instances, the
MOE estimate was above the benchmark MOE by several orders of magnitude.

MOE estimates for chronic exposures were not derived for consumer scenarios since these were
not considered chronic in nature.
            4.2.2.1      Non‐Cancer MOEs for Chronic Occupational Exposure Scenarios
EPA estimated the non‐cancer MOE estimates associated with chronic exposures following 1-BP
conditions of use in the workplace. Since 1-BP exposure may be associated with a variety of non-
cancer health effects, this assessment estimated MOEs for liver toxicity, kidney toxicity,
reproductive toxicity, developmental toxicity and neurotoxicity following chronic inhalation
exposures. EPA used the HEC specific to each health effect domain for calculating MOE
estimates. Table 4-27 through Table 4-46 present the non-cancer risks for chronic occupational
scenarios. MOE estimates for a range of health effects were calculated (See the Supplemental File:
Occupational Risk Calculator (EPA, 2019h)). Where the sample size of the underlying exposure
data is sufficiently large to calculate statistics, the central tendency estimate is based on the 50th

                                                Page 205 of 406
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 128 of 854

                      PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

percentile exposure level of the dataset, while the high-end estimate is based on the 95th percentile
exposure. See Section 2.3.1.2 for detailed descriptions of central tendency and high-end estimates.
These tables also evaluate the impact of potential respirator use and present the respirator that would
be needed (based on respirator APF of 10, 25, and 50) to mitigate risk for all health domain. The
MOE estimates for these respirator scenarios assume workers wear respirators for the entire
duration of the work activity throughout their career (e.g. typically 260 days per year and over 31
years per lifetime for many occupational scenarios). Because respirators are uncomfortable,
interfere with communication, limit vision, and make it hard to breathe, and the onus is on the
worker to don and doff them correctly, the use of respirators on a continuous, long-term basis may
not be practical. EPA does not evaluate respirator use for occupational non-users because they do
not directly handle 1-BP and are unlikely to wear respirators. In addition, EPA believes small
commercial facilities performing dry cleaning and spot cleaning are unlikely to have a respiratory
protection program.

Use: Manufacturing, Import, Repackaging, Processing as a Reactant, and Processing –
Incorporation into Articles and Formulation Based on Monitoring Data and Modeling
MOE estimates for chronic occupational exposure scenarios following the use of 1-BP in
manufacturing, import, repackaging, processing as a reactant, and processing and incorporation
into articles for workers, for both monitoring data and modeling, and with and without the use of
an APF, are presented in Table 4-27, Table 4-28, and Table 4-29. Data for occupational non-users
was either not available or not applicable in some scenarios.




                                           Page 206 of 406
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 129 of 854

                           PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

Table 4-27. Non-Cancer Risk Estimates for Chronic Inhalation Exposures Following
Occupational Use of 1-BP in Manufacture (U.S.) Based on Monitoring Data
                                   Chronic                Chronic MOE        APF=10
   Health Effect, Endpoint                   Exposure                                   Benchmark
                                     HEC
         and Study                            Level     Worker     ONU       Worker       MOE
                                    (ppm)
            Liver                             Central
                                                         1,667      N/A       16,667
   Increased hepatocellular                  tendency
                                     150                                                    100
        vacuolization
    (WIL Research, 2001)                     High-end    556        N/A       5,556

          Kidney                              Central
                                                         1,556      N/A       15,556
      Increased pelvic                       tendency
                                     140                                                    100
       mineralization
    (WIL Research, 2001)                     High-end    519        N/A       5,185

    Reproductive System                       Central
                                                         589        N/A       5,889
   Decreased seminal vesicle                 tendency
                                     53                                                     100
            weight
    (Ichihara et al., 2000b)                 High-end    196        N/A       1,963

                                              Central
   Developmental Effects                                 478        N/A       4,778
                                             tendency
 Decreased live litter size (F1)     43                                                     100
   (WIL Research, 2001)                      High-end    159        N/A       1,593

    Developmental Effects                     Central
                                                         267        N/A       2,667
  Post-Implantation Loss (F0)                tendency
                                     24                                                     100
    (WIL Research, 2001);
         NCTR Model                          High-end     89        N/A        889

                                              Central
       Nervous System                                    278        N/A       2,778
                                             tendency
    Decreased traction time          25                                                     100
     (Honma et al., 2003)                    High-end     93        N/A        926

Notes: 1MOEs (HEC in ppm/exposure estimate in ppm) lower than the Benchmark MOE (Total UF) indicate potential
  health risks and are denoted in bold.
Exposure monitoring was not performed for ONUs at this manufacturing facility. Based on the process and work
  activity description, exposure to ONU is expected to be negligible.

MOE estimates for manufacturing based on monitoring data are presented in Table 4-27. MOE
estimates in workers were above the benchmark MOE by several orders of magnitude in all cases,
including with and without the application of an APF, with few exceptions. These exceptions
included scenarios without the use of an APF for workers for high-end exposure estimates for
either the developmental toxicity HEC using the NCTR modeling approach, or the nervous system
HEC. In these scenarios, the MOE estimate was slightly below the benchmark MOE.




                                                Page 207 of 406
       Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 130 of 854

                           PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

Table 4-28. Non-Cancer Risk Estimates for Chronic Inhalation Exposures Following
Occupational Use of 1-BP in Import, Processing as a Reactant, and Processing –
Incorporation into Articles Based on Modeling
                                     Chronic                      Chronic MOE
  Health Effect, Endpoint and                   Exposure                              Benchmark
                                       HEC
             Study                               Level       Worker        ONU          MOE
                                      (ppm)
              Liver                              Central
                                                              13,110        N/A
     Increased hepatocellular                   tendency
                                       150                                                  100
          vacuolization
      (WIL Research, 2001)                      High-end       2,494        N/A

             Kidney                              Central
                                                              12,236        N/A
  Increased pelvic mineralization      140      tendency                                    100
      (WIL Research, 2001)                      High-end       2,328        N/A
     Reproductive System                         Central
    Decreased seminal vesicle                                  4,632        N/A
                                        53      tendency                                    100
             weight
     (Ichihara et al., 2000b)                   High-end       881          N/A
                                                 Central
     Developmental Effects                                     3,758        N/A
                                                tendency
   Decreased live litter size (F1)      43                                                  100
     (WIL Research, 2001)                       High-end       715          N/A

     Developmental Effects                       Central
   Post-Implantation Loss (F0)                                 2,098        N/A
                                        24      tendency                                    100
  (WIL Research, 2001); NCTR
             Model                              High-end       399          N/A

        Nervous System                           Central
                                                               2,185        N/A
     Decreased traction time            25      tendency                                    100
      (Honma et al., 2003)                      High-end       416          N/A
N/A – Not applicable. Because the model assumes tank truck and railcar loading/unloading occurs outdoors, EPA
expects ONU exposure to be negligible due to airborne concentration dilution in ambient air.

MOE estimates in workers for import and processing based on modeling are presented in
Table 4-28. MOE estimates were above the benchmark MOE by several orders of magnitude in all
scenarios for both central tendency and high-end exposure levels.

Table 4-29. Non-Cancer Risk Estimates for Chronic Inhalation Exposures Following
Occupational Use of 1-BP in Processing – Incorporation into Formulation Based on
Monitoring Data
                                     Chronic                  Chronic MOE          APF=50
  Health Effect, Endpoint and                  Exposure                                           Benchmark
                                       HEC
             Study                              Level      Worker       ONU        Worker           MOE
                                      (ppm)
              Liver                             Central
                                                              40         462        1,979
     Increased hepatocellular                  tendency
                                       150                                                           100
          vacuolization
      (WIL Research, 2001)                     High-end       8           94         397




                                                Page 208 of 406
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 131 of 854

                          PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

                                      Chronic                       Chronic MOE        APF=50
  Health Effect, Endpoint and                     Exposure                                         Benchmark
                                        HEC
             Study                                 Level       Worker       ONU        Worker        MOE
                                       (ppm)
                                                   Central
            Kidney                                                  37         431       1,847
                                                  tendency
 Increased pelvic mineralization        140                                                               100
     (WIL Research, 2001)                         High-end          7          88         370

    Reproductive System                            Central
                                                                    14         163        699
   Decreased seminal vesicle                      tendency
                                        53                                                                100
            weight
    (Ichihara et al., 2000b)                      High-end          3          33         140

                                                   Central
    Developmental Effects                                           11         132        567
                                                  tendency
  Decreased live litter size (F1)       43                                                                100
    (WIL Research, 2001)                          High-end          2          27         114

     Developmental Effects                         Central
                                                                    6          74         317
   Post-Implantation Loss (F0)                    tendency
                                        24                                                                100
  (WIL Research, 2001); NCTR
             Model                                High-end          1          15           63

                                                   Central
        Nervous System                                              7          77         330
                                                  tendency
     Decreased traction time            25                                                                100
      (Honma et al., 2003)                        High-end          1          16           66


MOE estimates for incorporation into formulation based on monitoring data are presented in Table
4-29. MOE estimates were below the benchmark MOE by 1-2 orders of magnitude for both
workers and occupational non-users without the use of an APF in most cases, with the exception of
central tendency exposure levels for the occupational non-user for the liver, kidney, reproductive
system, and developmental (using BMD modeling) health effect endpoints, where the MOE
estimates were above the benchmark MOE by 1-2 orders of magnitude. When an APF was applied,
MOE estimates in workers were above the benchmark MOE by several orders of magnitude in all
worker scenarios, with the exception of high-end exposures estimates for the developmental (using
the NCTR modeling approach) and nervous system health effect endpoints, where the MOE
estimates were below the benchmark MOE by 1-2 orders of magnitude.

Use: Batch Vapor Degreaser (Open-Top) Based on Monitoring Data
MOE estimates for batch vapor degreasing (open-top) based on monitoring data are presented in
Table 4-30.

Table 4-30. Non-Cancer Risk Estimates for Chronic Inhalation Exposures Following
Occupational Use of 1-BP in Batch Vapor Degreaser (Open-Top) Based on Monitoring Data
                                    Chronic                   Chronic MOE            APF=50
   Health Effect, Endpoint                      Exposure                                         Benchmark
                                      HEC
         and Study                               Level       Worker      ONU         Worker        MOE
                                     (ppm)
            Liver                                Central
                                                               22        7,500        1,119
   Increased hepatocellular                     tendency
                                      150                                                           100
        vacuolization
    (WIL Research, 2001)                        High-end       3          70          152

                                                   Page 209 of 406
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 132 of 854

                           PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

                                   Chronic               Chronic MOE      APF=50
  Health Effect, Endpoint                    Exposure                              Benchmark
                                     HEC
        and Study                             Level     Worker    ONU     Worker     MOE
                                    (ppm)
          Kidney                              Central
                                                          21      7,000    1,045
      Increased pelvic                       tendency
                                     140                                              100
       mineralization
    (WIL Research, 2001)                     High-end     3        65      142

   Reproductive System                        Central
                                                          8       2,650    396
  Decreased seminal vesicle                  tendency
                                     53                                               100
           weight
   (Ichihara et al., 2000b)                  High-end     1        25       54

                                              Central
   Developmental Effects                                  6       2,150    321
                                             tendency
 Decreased live litter size (F1)     43                                               100
   (WIL Research, 2001)                      High-end     1        20       44

   Developmental Effects                      Central
                                                          4       1,200    179
 Post-Implantation Loss (F0)                 tendency
                                     24                                               100
   (WIL Research, 2001);
        NCTR Model                           High-end    0.5       11       24

                                              Central
      Nervous System                                      4       1,250    187
                                             tendency
   Decreased traction time           25                                               100
    (Honma et al., 2003)                     High-end     1        12       25


When an APF was not applied, MOE estimates for workers were below the benchmark MOE by
several orders of magnitude in all cases; MOE estimates for occupational non-users were below the
benchmark MOE by 1-2 orders of magnitude for high-end exposure estimates, but above the
benchmark MOE by several orders of magnitude for central tendency exposure estimates. When an
APF was applied, MOE estimates in workers were above the benchmark MOE by several orders of
magnitude for both exposure levels for the liver and kidney health effect endpoints; for central
tendency exposure levels for the reproductive system, developmental (both modeling approaches),
and for the nervous system health effect endpoints. When an APF was applied, MOE estimates in
workers were below the benchmark MOE for high-end exposure levels for the reproductive
system, developmental (both modeling approaches), and nervous system health effect endpoints by
1-2 orders of magnitude.

Use: Batch Vapor Degreaser (Open-Top) Based on Modeling (Pre-, and Post-EC)
MOE estimates for batch vapor degreasing (open-top) based on modeling (pre-, and post-EC) are
presented in Table 4-31 and Table 4-32.




                                                Page 210 of 406
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 133 of 854

                           PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

Table 4-31. Non-Cancer Risk Estimates for Chronic Inhalation Exposures Following
Occupational Use of 1-BP in Batch Vapor Degreaser (Open-Top) (Pre-EC) Based on
Modeling
                                   Chronic               Chronic MOE    APF=50
   Health Effect, Endpoint                   Exposure                            Benchmark
                                     HEC
         and Study                            Level     Worker    ONU   Worker     MOE
                                    (ppm)
            Liver                             Central
                                                          79      151    3,967
   Increased hepatocellular                  tendency
                                     150                                            100
        vacuolization
    (WIL Research, 2001)                     High-end     6       11     314

          Kidney                              Central
                                                          74      141    3,703
      Increased pelvic                       tendency
                                     140                                            100
       mineralization
    (WIL Research, 2001)                     High-end     6       10     293

   Reproductive System                        Central
                                                          28      53     1,402
  Decreased seminal vesicle                  tendency
                                     53                                             100
           weight
   (Ichihara et al., 2000b)                  High-end     2        4     111

                                              Central
   Developmental Effects                                  23      43     1,137
                                             tendency
 Decreased live litter size (F1)     43                                             100
   (WIL Research, 2001)                      High-end     2        3      90

   Developmental Effects                      Central
                                                          13      24     635
 Post-Implantation Loss (F0)                 tendency
                                     24                                             100
   (WIL Research, 2001);
        NCTR Model                           High-end     1        2      50

                                              Central
      Nervous System                                      13      25     661
                                             tendency
   Decreased traction time           25                                             100
    (Honma et al., 2003)                     High-end     1        2      52


MOE estimates for batch vapor degreasing (open-top) based on modeling (pre-EC) are presented in
Table 4-31. MOE estimates for both workers and occupational non-users were below the
benchmark MOE by 1-2 orders of magnitude in workers and occupational non-users when an APF
was not applied, with two exceptions. These exceptions included central tendency exposure
estimates for occupational non-users for liver and kidney health effect endpoints, where the MOE
estimates were slightly above the benchmark MOE. When an APF was applied, MOE estimates in
workers were above the benchmark MOE by several orders of magnitude, in most cases, for central
tendency and high-end exposure levels, with few exceptions. These exceptions included high-end
exposure levels for developmental (both modeling approaches) and nervous system health effect
endpoints where the MOE estimates were slightly or 1-2 orders of magnitude below the benchmark
MOE.




                                                Page 211 of 406
       Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 134 of 854

                           PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

Table 4-32. Non-Cancer Risk Estimates for Chronic Inhalation Exposures Following
Occupational Use of 1-BP in Batch Vapor Degreaser (Open-Top) (Post-EC) Based on
Modeling
                                    Chronic               Chronic MOE     APF=10
 Health Effect, Endpoint and                  Exposure                             Benchmark
                                      HEC
            Study                              Level     Worker   ONU     Worker     MOE
                                     (ppm)
             Liver                             Central
                                                          793     1,510    7,934
    Increased hepatocellular                  tendency
                                     150                                              100
         vacuolization
     (WIL Research, 2001)                     High-end     63     111      627

           Kidney                              Central
                                                          741     1,410    7,405
       Increased pelvic                       tendency
                                     140                                              100
        mineralization
     (WIL Research, 2001)                     High-end     59     104      585

    Reproductive System                        Central
                                                          280     534      2,803
   Decreased seminal vesicle                  tendency
                                      53                                              100
            weight
    (Ichihara et al., 2000b)                  High-end     22      39      222

                                               Central
    Developmental Effects                                 227     433      2,274
                                              tendency
  Decreased live litter size (F1)     43                                              100
    (WIL Research, 2001)                      High-end     18      32      180

    Developmental Effects                      Central
                                                          127     242      1,269
  Post-Implantation Loss (F0)                 tendency
                                      24                                              100
 (WIL Research, 2001); NCTR
            Model                             High-end     10      18      100

                                               Central
       Nervous System                                     132     252      1,322
                                              tendency
    Decreased traction time           25                                              100
     (Honma et al., 2003)                     High-end     10      19      105


MOE estimates for batch vapor degreasing (open-top) based on modeling (post-EC) are presented
in Table 4-32. In contrast to MOE estimates based on pre-EC in workers and occupational non-
users when an APF was not applied in Table 4-31 above, MOE estimates for post-EC were, in
some cases, above the benchmark MOE by 1-2 orders of magnitude. This was seen in workers for
central tendency (but not high-end) exposure levels for liver, kidney, and developmental (both
modeling approaches) health effect endpoints. MOE estimates in workers without the use of an
APF for high-end exposure levels were below the benchmark MOE by 1-2 orders of magnitude for
all health effect endpoints. A similar pattern was noted for occupational non-users. When an APF
was applied, MOE estimates in workers were above the benchmark MOE by several orders of
magnitude in most cases, with the exception of high-end exposures for developmental (NCTR
modeling approach) and nervous system health effect endpoints, where the MOE was at or slightly
above the benchmark MOE.

Use: Batch Vapor Degreaser (Closed-Loop) Based on Modeling
MOE estimates for batch vapor degreaser (closed-loop) based on modeling are presented in Table
4-33.

                                                Page 212 of 406
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 135 of 854

                           PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

Table 4-33. Non-Cancer Risk Estimates for Chronic Inhalation Exposures Following
Occupational Use of 1-BP in Batch Vapor Degreaser (Closed-Loop) Based on Modeling
                                   Chronic                Chronic MOE     APF=10
   Health Effect, Endpoint                   Exposure                              Benchmark
                                     HEC
         and Study                            Level     Worker    ONU     Worker     MOE
                                    (ppm)
            Liver                             Central
                                                         3,967    7,551   39,671
   Increased hepatocellular                  tendency
                                     150                                              100
        vacuolization
    (WIL Research, 2001)                     High-end    314      555      3,135

          Kidney                              Central
                                                         3,703    7,048   37,026
      Increased pelvic                       tendency
                                     140                                              100
       mineralization
    (WIL Research, 2001)                     High-end    293      518      2,926

   Reproductive System                        Central
                                                         1,402    2,668   14,017
  Decreased seminal vesicle                  tendency
                                     53                                               100
           weight
   (Ichihara et al., 2000b)                  High-end    111      196      1,108

                                              Central
   Developmental Effects                                 1,137    2,165   11,372
                                             tendency
 Decreased live litter size (F1)     43                                               100
   (WIL Research, 2001)                      High-end     90      159      899

   Developmental Effects                      Central
                                                         635      1,208    6,347
 Post-Implantation Loss (F0)                 tendency
                                     24                                               100
   (WIL Research, 2001);
        NCTR Model                           High-end     50       89      502

                                              Central
      Nervous System                                     661      1,259    6,612
                                             tendency
   Decreased traction time           25                                               100
    (Honma et al., 2003)                     High-end     52       93      523


MOE estimates were above the benchmark MOE by several orders of magnitude in workers and
occupational non-users for both central tendency and high-end exposure estimates for all health
effect endpoints whether or not an APF was applied, with few exceptions. These exceptions
included high-end exposure estimates for workers (without the use of an APF) for the
developmental (using both modeling approaches) and nervous system health effect endpoints.
MOE estimates for occupational non-users in these excepted scenarios were also below the
benchmark MOE for high-end exposure estimates for developmental (NCTR modeling approach)
and nervous system health effect endpoints.

Use: Cold Cleaner Based on Monitoring Data and Modeling
MOE estimates for cold cleaner based on monitoring data and modeling are presented in Table
4-34 and Table 4-35.




                                                Page 213 of 406
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 136 of 854

                           PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

Table 4-34. Non-Cancer Risk Estimates for Chronic Inhalation Exposures Following
Occupational Use of 1-BP in Cold Cleaner Based on Monitoring Data
                                   Chronic               Chronic MOE    APF=50
   Health Effect, Endpoint                   Exposure                            Benchmark
                                     HEC
         and Study                            Level     Worker    ONU   Worker     MOE
                                    (ppm)
            Liver                             Central
                                                          35      58     1,744
   Increased hepatocellular                  tendency
                                     150                                            100
        vacuolization
    (WIL Research, 2001)                     High-end     20      58     1,014

          Kidney                              Central
                                                          33      54     1,628
      Increased pelvic                       tendency
                                     140                                            100
       mineralization
    (WIL Research, 2001)                     High-end     19      54     946

   Reproductive System                        Central
                                                          12      20     616
  Decreased seminal vesicle                  tendency
                                     53                                             100
           weight
   (Ichihara et al., 2000b)                  High-end     7       20     358

                                              Central
   Developmental Effects                                  10      17     500
                                             tendency
 Decreased live litter size (F1)     43                                             100
   (WIL Research, 2001)                      High-end     6       17     291

    Developmental Effects                     Central
                                                          6        9     279
  Post-Implantation Loss (F0)                tendency
                                     24                                             100
    (WIL Research, 2001);
         NCTR Model                          High-end     3        9     162

                                              Central
       Nervous System                                     6       10     291
                                             tendency
    Decreased traction time          25                                             100
     (Honma et al., 2003)                    High-end     3       10     169


MOE estimates for cold cleaner based on monitoring data are presented in Table 4-34. When an
APF was not applied, MOE estimates were below the benchmark MOE by 1-2 orders of magnitude
for all health effect endpoints in workers and occupational non-users for both central tendency and
high-end exposure levels. When an APF was applied, MOE estimates for workers and occupational
non-users were above the benchmark MOE by several orders of magnitude in most cases.

Table 4-35. Non-Cancer Risk Estimates for Chronic Inhalation Exposures Following
Occupational Use of 1-BP in Cold Cleaner Based on Modeling
                                   Chronic               Chronic MOE    APF=50
   Health Effect, Endpoint                   Exposure                            Benchmark
                                     HEC
         and Study                            Level     Worker    ONU   Worker     MOE
                                    (ppm)
            Liver                             Central
                                                         273      519   13,657
   Increased hepatocellular                  tendency
                                     150                                            100
        vacuolization
    (WIL Research, 2001)                     High-end     13      22     630




                                                Page 214 of 406
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 137 of 854

                           PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

                                   Chronic               Chronic MOE        APF=50
   Health Effect, Endpoint                   Exposure                                Benchmark
                                     HEC
         and Study                            Level     Worker     ONU      Worker     MOE
                                    (ppm)
          Kidney                              Central
                                                         255       484      12,746
      Increased pelvic                       tendency
                                     140                                                100
       mineralization
    (WIL Research, 2001)                     High-end     12        20       588

   Reproductive System                        Central
                                                          97       183       4,825
  Decreased seminal vesicle                  tendency
                                     53                                                 100
           weight
   (Ichihara et al., 2000b)                  High-end     4         8        223

                                              Central
   Developmental Effects                                  78       149       3,915
                                             tendency
 Decreased live litter size (F1)     43                                                 100
   (WIL Research, 2001)                      High-end     4         6        181

    Developmental Effects                     Central
                                                          44        83       2,185
  Post-Implantation Loss (F0)                tendency
                                     24                                                 100
    (WIL Research, 2001);
         NCTR Model                          High-end     2         4        101

                                              Central
       Nervous System                                     46        86       2,276
                                             tendency
    Decreased traction time          25                                                 100
     (Honma et al., 2003)                    High-end     2         4        105


MOE estimates for cold cleaner based on modeling are presented in Table 4-35. The pattern of
MOE estimates were similar to those with monitoring data, with a few exceptions. These
exceptions included central tendency MOE estimates that were above the benchmark MOE in
workers for liver and kidney health effect endpoints; and in the occupational non-user for liver,
kidney, reproductive and developmental health effect endpoints.

Use: Aerosol Spray Degreaser/Cleaner Based on Monitoring Data (Pre- and Post-EC)
MOE estimates for aerosol spray degreaser/cleaner based on monitoring data (pre- and post-EC)
are presented in Table 4-36 and Table 4-37. Data for occupational non-users was not available.
Exposure levels for post-EC monitoring data were based on a single data point.

Table 4-36. Non-Cancer Risk Estimates for Chronic Inhalation Exposures Following
Occupational Use of 1-BP in Aerosol Spray Degreaser/Cleaner (Pre-EC) Based on
Monitoring Data
                                   Chronic               Chronic MOE        APF=50
   Health Effect, Endpoint                   Exposure                                Benchmark
                                     HEC
         and Study                            Level     Worker     ONU      Worker     MOE
                                    (ppm)
            Liver                             Central
                                                          9       No data    467
   Increased hepatocellular                  tendency
                                     150                                                100
        vacuolization
    (WIL Research, 2001)                     High-end     5       No data    238




                                                Page 215 of 406
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 138 of 854

                           PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

                                   Chronic                Chronic MOE          APF=50
   Health Effect, Endpoint                   Exposure                                     Benchmark
                                     HEC
         and Study                            Level     Worker       ONU       Worker       MOE
                                    (ppm)
          Kidney                              Central
                                                           9        No data      436
      Increased pelvic                       tendency
                                     140                                                      100
       mineralization
    (WIL Research, 2001)                     High-end      4        No data      222

    Reproductive System                       Central
                                                           3        No data      165
   Decreased seminal vesicle                 tendency
                                     53                                                       100
            weight
    (Ichihara et al., 2000b)                 High-end      2        No data       84

                                              Central
   Developmental Effects                                   3        No data      134
                                             tendency
 Decreased live litter size (F1)     43                                                       100
   (WIL Research, 2001)                      High-end      1        No data       68

    Developmental Effects                     Central
                                                           1        No data       75
  Post-Implantation Loss (F0)                tendency
                                     24                                                       100
    (WIL Research, 2001);
         NCTR Model                          High-end      1        No data       38

                                              Central
       Nervous System                                      2        No data       78
                                             tendency
    Decreased traction time          25                                                       100
     (Honma et al., 2003)                    High-end      1        No data       40

Note: EPA did not identify exposure monitoring data for ONUs. EPA estimated exposure level for ONU through
modeling.

MOE estimates for aerosol spray degreaser/cleaner based on pre-EC monitoring data are presented
in Table 4-36. When an APF was not applied, MOE estimates for workers were below the
benchmark MOE by 1-2 orders of magnitude for all health effect endpoints for all exposure levels
(central tendency or high-end). When an APF was applied, MOE estimates for workers were above
the benchmark MOE by 1-2 orders of magnitude for liver, kidney, reproductive (central tendency
exposure levels only), and developmental (BMD modeling; central tendency exposure levels); and
below the benchmark MOE by 1-2 orders of magnitude for developmental (BMD modeling; high-
end exposure levels), and developmental (NCTR modeling approach) and nervous system health
effect endpoints for both central tendency and high-end exposure levels.




                                                Page 216 of 406
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 139 of 854

                           PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


Table 4-37. Non-Cancer Risk Estimates for Chronic Inhalation Exposures Following
Occupational Use of 1-BP in Aerosol Spray Degreaser/Cleaner (Post-EC) Based on
Monitoring Data
                                   Chronic                Chronic MOE          APF=25
   Health Effect, Endpoint                   Exposure                                     Benchmark
                                     HEC
         and Study                            Level     Worker       ONU       Worker       MOE
                                    (ppm)
             Liver                                                  No data
    Increased hepatocellular
                                    150                   27                     682          100
         vacuolization
     (WIL Research, 2001)                                           No data

          Kidney                                                    No data
      Increased pelvic
                                    140                                          636          100
       mineralization                                     25
    (WIL Research, 2001)                                            No data

    Reproductive System                                             No data
   Decreased seminal vesicle
                                     53                                          241          100
            weight                              N/A       10
    (Ichihara et al., 2000b)                                        No data
                                              (single
                                                data
   Developmental Effects                       point)               No data
 Decreased live litter size (F1)     43                                          195          100
                                                           8
   (WIL Research, 2001)                                             No data

    Developmental Effects                                           No data
  Post-Implantation Loss (F0)
                                     24                                          109          100
    (WIL Research, 2001);                                  4
         NCTR Model                                                 No data

       Nervous System                                               No data
    Decreased traction time          25                                          114          100
                                                           5
     (Honma et al., 2003)                                           No data

Note: EPA did not identify exposure monitoring data for ONUs. EPA estimated exposure level for ONU through
modeling.

MOE estimates for aerosol spray degreaser/cleaner based on post-EC monitoring data are
presented in Table 4-37. The pattern of MOE estimates for workers were similar to those based on
pre-EC monitoring data. When an APF was not applied, MOE estimates for workers were below
the benchmark MOE by 1-2 orders of magnitude for all health effect endpoints for the single data
point exposure level. In contrast to Table 4-40 above when MOE estimates in workers were based
on pre-EC monitoring data and when an APF was used, MOE estimates for workers based in post-
EC monitoring data were above the benchmark MOE by 1-2 orders of magnitude for all health
effect endpoints.

Use: Aerosol Spray Degreaser/Cleaner Based on Modeling
MOE estimates for aerosol spray degreaser/cleaner based on modeling are presented in Table 4-38.




                                                Page 217 of 406
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 140 of 854

                          PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

Table 4-38. Non-Cancer Risk Estimates for Chronic Inhalation Exposures Following
Occupational Use of 1-BP in Aerosol Spray Degreaser/Cleaner Based on Modeling
                                   Chronic               Chronic MOE     APF=50
 Health Effect, Endpoint and                 Exposure                             Benchmark
                                     HEC
            Study                             Level     Worker   ONU     Worker     MOE
                                    (ppm)
            Liver                             Central
                                                          24     1,364    1,177
   Increased hepatocellular                  tendency
                                    150                                              100
        vacuolization
    (WIL Research, 2001)                     High-end     7      161      333

          Kidney                              Central
                                                          22     1,273    1,099
      Increased pelvic                       tendency
                                    140                                              100
       mineralization
    (WIL Research, 2001)                     High-end     6      151      311

    Reproductive System                       Central
                                                          8      482      416
   Decreased seminal vesicle                 tendency
                                     53                                              100
            weight
    (Ichihara et al., 2000b)                 High-end     2       57      118

                                              Central
   Developmental Effects                                  7      391      338
                                             tendency
 Decreased live litter size (F1)     43                                              100
   (WIL Research, 2001)                      High-end     2       46       95

    Developmental Effects                     Central
                                                          4      218      188
  Post-Implantation Loss (F0)                tendency
                                     24                                              100
 (WIL Research, 2001); NCTR
            Model                            High-end     1       26       53

                                              Central
       Nervous System                                     4      227      196
                                             tendency
    Decreased traction time          25                                              100
     (Honma et al., 2003)                    High-end     1       27       55


When an APF was not applied, MOE estimates for workers were below the benchmark MOE for
both central tendency and high-end exposure levels for all health effect endpoints by 1-2 orders of
magnitude. MOE estimates for occupational non-users were above the benchmark MOE by several
orders of magnitude for liver and kidney (central tendency and high-end exposure levels), and
reproductive, developmental, and nervous system (central tendency exposure levels) health effect
endpoints. When an APF was applied, MOE estimates for workers for both central tendency and
high-end exposure levels were above the benchmark MOE by several orders of magnitude for
liver, kidney, reproductive (central tendency and high-end exposure levels) health effect endpoints;
and developmental (both modeling approaches; central tendency only), and nervous system
(central tendency exposure levels only) health effect endpoints. MOE estimates in workers were
below (in some instances close to) the benchmark MOE when an APF was applied for
developmental (both modeling approaches; high-end exposure levels only) and nervous system
(high-end exposure levels only) health effect endpoints.

Use: Adhesive Chemicals (Spray Adhesives) Based on Monitoring data (Pre- and Post-EC)
MOE estimates for adhesive chemicals (spray adhesives) based on monitoring data (pre- and post-
EC) are presented in Table 4-39 and Table 4-40.

                                               Page 218 of 406
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 141 of 854

                           PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

Table 4-39. Non-Cancer Risk Estimates for Chronic Inhalation Exposures Following
Occupational Use of 1-BP in Adhesive Chemicals (Spray Adhesives) (Pre-EC) Based on
Monitoring Data
                                                       Chronic MOE               APF=50
   Health Effect, Endpoint          Exposure                                                    Benchmark
                                                           Non-                       Non-
         and Study                   Level     Sprayer             ONU      Sprayer               MOE
                                                         Sprayer                     Sprayer
             Liver                   Central
   Increased hepatocellular                       1        1        50         56       59
                                    tendency                                                       100
         vacuolization
    (WIL Research, 2001)            High-end     0.6      0.7      1.2         30       36
            Kidney                   Central
       Increased pelvic                           1        1        47         53       55
                                    tendency                                                       100
        mineralization
    (WIL Research, 2001)            High-end     0.6      0.7       1          28       33
    Reproductive System              Central
                                                 0.4      0.4       18         20       21
  Decreased seminal vesicle         tendency
                                                                                                   100
            weight
                                    High-end     0.2      0.3      0.4         10       13
    (Ichihara et al., 2000b)
   Developmental Effects             Central
                                                 0.3      0.3       14         16       17
 Decreased live litter size (F1)    tendency                                                       100
   (WIL Research, 2001)             High-end     0.2      0.2      0.3         8        10
   Developmental Effects             Central
                                                 0.2      0.2       8          9        9
   Post-Implantation Loss           tendency
                                                                                                   100
   (WIL Research, 2001);
                                    High-end     0.1      0.1      0.2         5        6
       NCTR Model
       Nervous System                Central
                                                 0.2      0.2       8          9        10
    Decreased traction time         tendency                                                       100
     (Honma et al., 2003)           High-end     0.1      0.1      0.2         5        6
Note: Based on HEC values of 150 ppm, 140 ppm, 53 ppm, 43 ppm, 24 ppm, and 25 ppm.

MOE estimates for adhesive chemicals (spray adhesives) based on pre-EC monitoring data are
presented in Table 4-39. MOE estimates in workers and occupational non-users were below the
benchmark MOE by 1-2, and sometimes several orders of magnitude, for all health effect
endpoints, for both central tendency and high-end exposure levels, whether or not an APF was
applied.

Table 4-40. Non-Cancer Risk Estimates for Chronic Inhalation Exposures Following
Occupational Use of 1-BP in Adhesive Chemicals (Spray Adhesives) (Post-EC) Based on
Monitoring Data
                                                       Chronic MOE              APF=50
  Health Effect, Endpoint          Exposure                                                    Benchmark
        and Study                   Level                  Non-                      Non-        MOE
                                               Sprayer             ONU     Sprayer
                                                         Sprayer                    Sprayer
           Liver                    Central
  Increased hepatocellular                       8        8        75        421      417
                                   tendency                                                       100
       vacuolization
   (WIL Research, 2001)            High-end      4        5        27        179      260
          Kidney                    Central
      Increased pelvic                           8        8        70        393      389
                                   tendency                                                       100
       mineralization
   (WIL Research, 2001)            High-end      3        5        26        167      243
   Reproductive System              Central
                                                 3        3        27        149      147         100
 Decreased seminal vesicle         tendency
                                                 Page 219 of 406
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 142 of 854

                          PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

                                                   Chronic MOE                          APF=50
  Health Effect, Endpoint      Exposure                                                                 Benchmark
        and Study               Level                  Non-                                  Non-         MOE
                                           Sprayer             ONU                 Sprayer
                                                     Sprayer                                Sprayer
          weight
                               High-end      1              2            10          63            92
  (Ichihara et al., 2000b)
  Developmental Effects         Central
                                             2              2            22         121        119
  Decreased live litter size   tendency
                                                                                                           100
            (F1)
                               High-end      1              1            8           51            75
   (WIL Research, 2001)
  Developmental Effects         Central
                                             1              1            12          67            67
  Post-Implantation Loss       tendency
                                                                                                           100
  (WIL Research, 2001);
                               High-end      1              1            4           29            42
       NCTR Model
      Nervous System            Central
                                             1              1            13          70            69
   Decreased traction time     tendency                                                                    100
    (Honma et al., 2003)       High-end      1              1            5           30            43
Note: Based on HEC values of 150 ppm, 140 ppm, 53 ppm, 43 ppm, 24 ppm, and 25 ppm.

MOE estimates for adhesive chemicals (spray adhesives) based on post-EC monitoring data are
presented in Table 4-40. When an APF was not applied, a similar pattern of MOE estimates was
observed for workers (sprayer, non-sprayer, and occupational non-users alike) as with the pre-EC
monitoring data scenario (Table 4-39). However, unlike in the pre-EC monitoring data scenario,
when an APF was applied in the post-EC monitoring data scenario for the worker (sprayer and
non-sprayer), some MOE estimates were increased above the benchmark for some health effect
endpoints (liver and kidney for both central tendency and high-end exposure levels), reproductive
system (central tendency exposure levels only), and developmental (BMD modeling; central
tendency exposure levels only). Under these conditions and for all other scenarios, while the MOE
estimates were higher than in the pre-EC scenario, they still remained below the benchmark MOE.

Use: Dry Cleaning Based on Monitoring Data
MOE estimates for dry cleaning based on monitoring data are presented in Table 4-41. APFs were
not applied in this scenario.

Table 4-41. Non-Cancer Risk Estimates for Chronic Inhalation Exposures Following
Occupational Use of 1-BP in Dry Cleaning Based on Monitoring Data
 Health Effect, Endpoint and      Chronic        Exposure        Chronic MOE              Benchmark
            Study                HEC (ppm)        Level         Worker        ONU           MOE

             Liver                                Central
                                                                  5           12
    Increased hepatocellular                     tendency
                                     150                                                     100
         vacuolization
     (WIL Research, 2001)                        High-end         3            7

           Kidney                                 Central
                                                                  5           12
       Increased pelvic                          tendency
                                     140                                                     100
        mineralization
     (WIL Research, 2001)                        High-end         3            7




                                             Page 220 of 406
       Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 143 of 854

                           PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


 Health Effect, Endpoint and          Chronic      Exposure     Chronic MOE           Benchmark
            Study                    HEC (ppm)      Level     Worker       ONU          MOE

    Reproductive System                             Central
                                                                 2          4
   Decreased seminal vesicle                       tendency
                                        53                                               100
            weight
    (Ichihara et al., 2000b)                       High-end      1          3

                                                    Central
    Developmental Effects                                        1          4
                                                   tendency
  Decreased live litter size (F1)       43                                               100
    (WIL Research, 2001)                           High-end      1          2

    Developmental Effects                           Central
                                                                 1          2
  Post-Implantation Loss (F0)                      tendency
                                        24                                               100
 (WIL Research, 2001); NCTR
            Model                                  High-end     0.5         1

                                                    Central
       Nervous System                                            1          2
                                                   tendency
    Decreased traction time             25                                               100
     (Honma et al., 2003)                          High-end     0.5         1


MOE estimates were below the benchmark MOE for the worker and occupational non-user for
both central tendency and high-end exposure estimates by 1-2 orders of magnitude for all health
effect endpoints.

Use: Dry Cleaning Based on Modeling (3rd and 4th Generation)
MOE estimates for dry cleaning based on modeling (3rd and 4th generation) are presented in Table
4-42 and Table 4-43. APFs were not applied.

Table 4-42. Non-Cancer Risk Estimates for Chronic Inhalation Exposures Following
Occupational Use of 1-BP in Dry Cleaning Based on Modeling (3rd Generation)
                                                              Chronic MOE
  Health Effect, Endpoint and          Exposure                                          Benchmark
             Study                      Level        Spot       Machine                    MOE
                                                                                ONU
                                                    Cleaner     & Finish
              Liver                     Central
     Increased hepatocellular                         35              7         56
                                       tendency                                                100
          vacuolization
      (WIL Research, 2001)             High-end       13              2         15

             Kidney                     Central
                                                      33              7         53
  Increased pelvic mineralization      tendency                                                100
      (WIL Research, 2001)             High-end       12              2         14

      Reproductive System               Central
                                                      13              3         20
 Decreased seminal vesicle weight      tendency                                                100
      (Ichihara et al., 2000b)         High-end        5              1          5

     Developmental Effects              Central
                                                      10              2         16
   Decreased live litter size (F1)     tendency                                                100
     (WIL Research, 2001)              High-end        4             0.5         4



                                                  Page 221 of 406
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 144 of 854

                          PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

                                                             Chronic MOE
  Health Effect, Endpoint and        Exposure                                         Benchmark
             Study                    Level        Spot        Machine                  MOE
                                                                            ONU
                                                  Cleaner      & Finish
    Developmental Effects             Central
                                                     5            1          9
    Post-Implantation Loss           tendency
                                                                                         100
  (WIL Research, 2001); NCTR
                                     High-end        2            0.3        2
            Model
        Nervous System                Central
                                                     6            1         10
     Decreased traction time         tendency                                            100
      (Honma et al., 2003)           High-end        2            0.3        3


MOE estimates for dry cleaning based on modeling (3rd generation) for both the worker and
occupational non-user were below the benchmark MOE by 1-2 orders of magnitude for both
central tendency and high-end exposure levels for all health effect endpoints.

Table 4-43. Non-Cancer Risk Estimates for Chronic Inhalation Exposures Following
Occupational Use of 1-BP in Dry Cleaning Based on Modeling (4th Generation)
                                                              Chronic MOE
   Health Effect, Endpoint and        Exposure                                         Benchmark
              Study                    Level         Spot       Machine                  MOE
                                                                             ONU
                                                    Cleaner     & Finish
              Liver                    Central
     Increased hepatocellular                         42              43         78
                                      tendency                                            100
          vacuolization
      (WIL Research, 2001)            High-end        18              16         24

             Kidney                    Central
                                                      40              41         74
  Increased pelvic mineralization     tendency                                            100
      (WIL Research, 2001)            High-end        17              15         23

      Reproductive System              Central
                                                      15              16         28
 Decreased seminal vesicle weight     tendency                                            100
      (Ichihara et al., 2000b)        High-end           6            6          9

     Developmental Effects             Central
                                                      12              12         22
   Decreased live litter size (F1)    tendency                                            100
     (WIL Research, 2001)             High-end           5         4.4           7
     Developmental Effects             Central
                                                         7            7          12
     Post-Implantation Loss           tendency
                                                                                          100
   (WIL Research, 2001); NCTR
                                      High-end           3            3          4
             Model
        Nervous System                 Central
                                                         7            7          13
     Decreased traction time          tendency                                            100
      (Honma et al., 2003)            High-end           3            3          4


MOE estimates for dry cleaning based on modeling (4th generation) showed the same pattern as
with dry cleaning based on modeling (3rd generation). MOE estimates for both worker and
occupational non-users were below the benchmark MOE by 1-2 orders of magnitude for both
central tendency and high-end exposure levels for all health effect endpoints.



                                                Page 222 of 406
       Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 145 of 854

                           PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

Use: Spot Cleaner Based on Monitoring Data and Modeling
MOE estimates for spot cleaner based on monitoring data and modeling are presented in Table
4-44 and Table 4-45. Monitoring data for the occupational non-user were not available. APFs were
not applied.

Table 4-44. Non-Cancer Risk Estimates for Chronic Inhalation Exposures Following
Occupational Use of 1-BP in Spot Cleaner Based on Monitoring Data
                                       Chronic                       Chronic MOE
    Health Effect, Endpoint and                    Exposure                                 Benchmark
                                         HEC
               Study                                Level         Worker        ONU           MOE
                                        (ppm)
                Liver                                Central
                                                                    167        No data
       Increased hepatocellular                     tendency
                                         150                                                    100
            vacuolization
                                                    High-end         32        No data
        (WIL Research, 2001)
                                                     Central
              Kidney                                                156        No data
                                                    tendency
   Increased pelvic mineralization       140                                                    100
       (WIL Research, 2001)                         High-end         30        No data
                                                     Central
       Reproductive System                                           59        No data
                                                    tendency
  Decreased seminal vesicle weight        53                                                    100
       (Ichihara et al., 2000b)                     High-end         11        No data
                                                     Central
       Developmental Effects                                         48        No data
                                                    tendency
     Decreased live litter size (F1)      43                                                    100
       (WIL Research, 2001)                         High-end         9         No data
       Developmental Effects                         Central
                                                                     27        No data
     Post-Implantation Loss (F0)                    tendency
                                          24                                                    100
    (WIL Research, 2001); NCTR
                                                    High-end         5         No data
               Model
                                                     Central
          Nervous System                                             28        No data
                                                    tendency
       Decreased traction time            25                                                    100
        (Honma et al., 2003)                        High-end         5         No data
Note: EPA did not identify exposure monitoring data for ONUs. EPA estimated exposure level for ONU through
modeling.

MOE estimates for spot cleaner for the worker based on monitoring data were below the
benchmark MOE for both central tendency and high-end exposure estimates by 1-2 orders of
magnitude for all health effect endpoints with two exceptions; central tendency exposure levels for
liver and kidney health effect endpoints.




                                               Page 223 of 406
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 146 of 854

                          PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

Table 4-45. Non-Cancer Risk Estimates for Chronic Inhalation Exposures Following
Occupational Use of 1-BP in Spot Cleaner Based on Modeling
                                     Chronic                     Chronic MOE
   Health Effect, Endpoint and                   Exposure                       Benchmark
                                       HEC
              Study                               Level      Worker      ONU      MOE
                                      (ppm)
              Liver                                Central
                                                                 197      390
     Increased hepatocellular                     tendency
                                       150                                         100
          vacuolization
      (WIL Research, 2001)                       High-end        90       136
                                                   Central
             Kidney                                              184      364
                                                  tendency
  Increased pelvic mineralization      140                                         100
      (WIL Research, 2001)                       High-end        84       127
                                                   Central
      Reproductive System                                        70       138
                                                  tendency
 Decreased seminal vesicle weight      53                                          100
      (Ichihara et al., 2000b)                   High-end        32       48
                                                   Central
     Developmental Effects                                       56       112
                                                  tendency
   Decreased live litter size (F1)     43                                          100
     (WIL Research, 2001)                        High-end        26       39
      Developmental Effects                        Central
                                                                 31       62
    Post-Implantation Loss (F0)                   tendency
                                       24                                          100
   (WIL Research, 2001); NCTR
              Model                              High-end        14       22
                                                   Central
         Nervous System                                          33       65
                                                  tendency
      Decreased traction time          25                                          100
       (Honma et al., 2003)                      High-end        15       23


MOE estimates for spot cleaner for the worker based on modeling showed the same pattern as that
for monitoring data – MOE estimates were below the benchmark MOE for both central tendency
and high-end exposure estimates by 1-2 orders of magnitude for all health effect endpoints with
two exceptions; central tendency exposure levels for liver and kidney health effect endpoints. MOE
estimates for the occupational non-user based on modeling were available. In this scenario, MOE
estimates were slightly above the benchmark MOE in most cases for the liver and kidney (both
central tendency and high-end exposure levels), reproductive system (central tendency exposure
level only), and developmental (BMD modeling; central tendency exposure level only) health
effect endpoints. MOE estimates for occupational non-users were below the benchmark MOE by
1-2 orders of magnitude for all other health effect endpoints.

Use: Disposal Based on Modeling
MOE estimates for disposal based on modeling are presented in Table 4-46. Exposures for the
occupational non-user are expected to be neglible in this scenario.




                                               Page 224 of 406
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 147 of 854

                          PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

Table 4-46. Non-Cancer Risk Estimates for Chronic Inhalation Exposures Following
Occupational Use of 1-BP in Disposal Based on Modeling
                                     Chronic                          Chronic MOE
   Health Effect, Endpoint and                     Exposure                                  Benchmark
                                       HEC
              Study                                 Level         Worker         ONU           MOE
                                      (ppm)
               Liver                                Central
                                                                   13,110         N/A
      Increased hepatocellular                     tendency
                                        150                                                       100
           vacuolization
                                                   High-end        2,494          N/A
       (WIL Research, 2001)
                                                    Central
             Kidney                                                12,236         N/A
                                                   tendency
  Increased pelvic mineralization       140                                                       100
      (WIL Research, 2001)                         High-end        2,328          N/A
                                                    Central
      Reproductive System                                          4,632          N/A
                                                   tendency
 Decreased seminal vesicle weight       53                                                        100
      (Ichihara et al., 2000b)                     High-end         881           N/A
                                                    Central
     Developmental Effects                                         3,758          N/A
                                                   tendency
   Decreased live litter size (F1)      43                                                        100
     (WIL Research, 2001)                          High-end         715           N/A
      Developmental Effects                         Central
                                                                   2,098          N/A
    Post-Implantation Loss (F0)                    tendency
                                        24                                                        100
   (WIL Research, 2001); NCTR
                                                   High-end         399           N/A
              Model
                                                    Central
         Nervous System                                            2,185          N/A
                                                   tendency
      Decreased traction time           25                                                        100
       (Honma et al., 2003)                        High-end         416           N/A
N/A – Not applicable. Because the model assumes tank truck and railcar loading/unloading occurs outdoors, EPA
expects ONU exposure to be negligible due to airborne concentration dilution in ambient air.

MOE estimates for the worker were above the benchmark MOE by several orders of magnitude for
both central tendency and high-end exposure estimates for all health effect endpoints
            4.2.2.2    Cancer Evaluation for Occupational Scenarios
EPA estimated the excess cancers associated with chronic inhalation and dermal exposures
following 1-BP conditions of use in the workplace, based on monitoring data and modeling
(probabilistic vs deterministic). The excess cancer estimation for 1-BP consisted of multiplying the
occupational scenario-specific estimates (i.e., LADC) for both workers and occupational non-users
by EPA’s inhalation unit risk (IUR) to estimate the excess cancers. Excess cancer risks were
expressed as number of cancer cases per million.

Table 4-47 presents the inhalation cancer risk estimates for all occupational 1-BP conditions of
use. The table also presents the impact of potential respirator use based on respirator APF of 10,
25, and 50. Figure 4-1 and Figure 4-2 present the incremental individual lifetime cancer risks for
the 50th and 95th percentile for exposures to 1-BP during these same occupational conditions of use.

The exposure frequency (i.e., the amount of days per year for workers or occupational non-users
exposed to 1-BP) was assumed to be 260 days per year for all conditions of use except for dry
cleaning, where employees at small, family-owned businesses were assumed to work up to six days

                                               Page 225 of 406
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 148 of 854

                       PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

only be present at low concentrations in the sediment and terrestrial environmental compartments.
This assumption of low potential for exposure based on physical-chemical characteristics is
uncertain as it is not verified with monitoring data or hazard data specifically related to these
organism. However, this uncertainty is not expected to affect the risk conclusions as sufficient data
are available to indicate that these exposures are not significant enough to be biologically relevant.

The reasonably available environmental toxicity information for 1-BP indicate that the hazard to
aquatic organisms is moderate, but a comparison of these hazard values with estimated
environmental releases did not identify risks to the environment. While EPA has determined that
sufficient data are available to characterize the overall environmental hazards of 1-BP, there are
limited environmental toxicity studies available for assessing the long-term effects of 1-BP to
aquatic species that may create some uncertainty associated with this assessment.

As described in Appendix G and Section 4.1, this assessment presents a screening-level assessment
of relevant routes of exposure, which in the case of 1-BP are the aquatic exposure pathways, to
evaluate ecological exposures in the US that may be associated with releases of 1-BP to surface
waters. The foundation of the ecological risk assessment process is the relationship between the
amount of a substance a receptor is exposed to and the potential for adverse effects resulting from the
exposure. This established dose-response relationship provides the ability to quantitatively evaluate the
potential environmental impacts that may result from a given exposure scenario. Because of
uncertainties inherent in deriving RQ’s, values are protective so that the risk estimate can state with a
high degree of confidence that RQ values < 1 are not an ecological risk and can be screen out from
further analysis.

This assessment was intended as a first-tier, or screening-level, evaluation. Discharging or
releasing facilities were chosen from EPA’s TRI.

An environmental risk evaluation used reasonably available environmental hazard, exposure, fate,
and chemistry data, but was still a screening-level evaluation due to the limited amount of hazard
and exposure information. EPA characterized the environmental hazards of 1-BP using reasonably
available data for the chemical. As EPA was unable to obtain the full studies reports of the
environmental hazard summaries in the ECHA database, the studies that reported these endpoints
were not evaluated using the systematic review process. As such, there is uncertainty regarding the
study quality of the data behind these summaries. Regardless, as no additional data were identified
following the publication of the problem formulation so, these studies were used to help
characterize the environmental hazards and risks of 1-BP to aquatic receptors.
           4.3.4.2      Human Health Characterization
The non‐cancer acute or chronic evaluations were expressed in terms of MOEs. MOEs are obtained
by comparing the hazard values (i.e., HEC) for various 1-BP-related health effects with the
exposure concentrations for the specific use scenarios. Given that the MOE is the ratio of the
hazard value divided by the exposure, the confidence in the MOEs is directly dependent on the
uncertainties in the hazard/dose‐response and exposure assessments that supported the hazard and
exposure estimates used in the MOE calculations.

Overall uncertainties in the exposure estimates used in the MOE calculations include uncertainties
in the exposure monitoring and modeling. In the occupational exposure monitoring data for

                                           Page 250 of 406
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 149 of 854

                      PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

workers, the sites used to collect 1-BP were not selected randomly; therefore, the reported data
may not be representative of all occupational exposure scenarios. The exposure modeling
approaches used for both occupational and consumer scenarios employed knowledge-based
assumptions that may not apply to all occupational- and consumer-use scenarios.

The benchmark MOE used to evaluate risks for each use scenario represents the product of of all
UFs used for each non‐cancer POD. These UFs accounted for various uncertainties including:

 1. Animal‐to‐human extrapolation (UFA): The UFA accounts for the uncertainties in
     extrapolating from rodents to humans. In the absence of data, the default UFA of 10 is
     adopted which breaks down to a factor of 3 for toxicokinetic variability and a factor of 3 for
     pharmacodynamic variability. There is no PBPK model for 1-BP to account for the
     interspecies extrapolation using rodent pharmacokinetic data in order to estimate internal
     doses for a particular dose metric.
 2. Inter‐individual variation (UFH): The UFH accounts for the variation in sensitivity within
     the human population. In the absence of data, the default UFH of 10 is adopted which breaks
     down to a factor of 3 for toxicokinetic variability and a factor of 3 for pharmacodynamic
     variability. Since there is no PBPK model for 1-BP to reduce the human
     toxicokinetic/toxicodynamic variability, the total UFH of 10 was retained
 3. Extrapolation from subchronic to chronic (UFS): The UFS accounts for the uncertainty in
     extrapolating from a subchronic to a chronic POD. Typically, a UFS of 10 is used to
     extrapolate a POD from a less‐than‐chronic study to a chronic exposure. The same is true for
     a developmental toxicity study because the developmental period is recognized as a
     susceptible life stage where exposure during certain time windows is more relevant to the
     induction of developmental effects than lifetime exposure (2016). Thus, a UFS of 10 was
     retained for all of the HECs discussed in the OPPT’s risk assessment.
4. LOAEL‐to‐NOAEL extrapolation (UFL): The UFL accounts for the uncertainty in
    extrapolating from a LOAEL to a NOAEL. A value of 10 is the standard default UFL value,
    although lower values (e.g., 3) can be used if the effect is considered minimally adverse at the
    LOAEL or is an early marker for an adverse effect (U.S. EPA, 2002). Typically, UFL ranging
    from 3 to 30 (i.e., 3, 10, or 30) are used in the HECs. For one of the reproductive PODs
    (Yamada et al., 2003), a UFL value of 10 was used based on a minimally adverse effect, which
    resulted in a total UF of 1000.

The human populations considered in this draft risk evaluation include individuals of both sexes (>
16 and older, including pregnant females) for occupational and consumer settings. Although
exposures to younger non-users may be possible, the margins of exposure calculated for women of
reproductive age are expected to be protective of this sensitive subpopulation. Currently there are
insufficient data regarding specific genetic and/or lifestage differences that could impact 1-BP
metabolism and toxicity for further refinement of the risk assessment.

The chronic risks for the occupational scenarios assumed that the non‐cancer human health effects
are constant for a working lifetime based on the exposure assumptions used in the occupational
exposure assessment. However, the risks could be under‐ or over‐estimated depending on the
variations to the exposure profile of the workers and occupational non-users using 1-BP‐containing
adhesives, dry cleaning and spot cleaners, vapor degreasing, cold cleaning, and aerosol degreasers.

                                          Page 251 of 406
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 150 of 854

                      PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

Confidence in the PBPK model predictions for 1-BP concentrations in blood and tissues are limited
by the lack of comparison of model predictions with measured data. The PBPK model was further
extended to simulate human exposures by scaling the physiological parameters to humans,
assuming the partition coefficients are the same in rats and humans and scaling metabolic
parameters by BW3/4. Cross species and route to route extrapolations with the Garner et al. (2015)
model are precluded by the lack of data to inform a model of a species other than rat and a route
other than inhalation.

Limited toxicological data is available by the oral route, and no repeated-dose toxicity studies by
the dermal route were identified on 1-BP. However, although the toxicological data via the oral
route is insufficient for quantitative dose-response assessment, data from these studies were used
for qualitative support in the weight of the scientific evidence for nervous system effects (see
Section 3.2.8.2 and Appendix I), suggesting that, at least for the nervous system endpoint, the
delivery of 1-BP via the inhalation- (i.e., pulmonary/systemic circulation) and oral- (i.e., portal
circulation) routes of exposure results in comparable toxic endpoints. EPA chose to derive dermal
HEDs for dermal exposures by extrapolating from other routes for systemic endpoints (i.e. not
point of contact effects) and none of the key endpoints for 1-BP (liver, kidney, reproductive,
developmental and nervous system effects) were considered point of contact therefore all were
used for route-to-route extrapolation. The route-to-route extrapolations enabled EPA to estimate
applied dermal PODs. Since physiologically based pharmacokinetic/ pharmacodynamic
(PBPK/PD) models that would facilitate route-to-route extrapolation have not been identified, there
is no relevant kinetic or metabolic information for 1-BP that would facilitate development of
dosimetric comparisons, and the stuies by the oral route were insufficient for quntiative dose-
response assessment, EPA chose to derive dermal HEDs for dermal exposures by extrapolating
from the inhalation PODs. However, the inhalation studies were performed by whole body
exposure, rather than nose only exposure, which may have led to additional dosing by the oral and
dermal routes of exposure, due to deposition on fur and the grooming behavior of rodents, resulting
in uncertainty of actual dose received. It should be noted that EPA was unable to conclude with
certainty that comparable toxic endpoints would be associated with the dermal route of exposure,
considering the expected quantitative ADME differences and the absence of an adequate PBPK
model. Notwithstanding these uncertainties, EPA considered this approach appropriate considering
the comparable toxic endpoints identified in the available repeated-dose oral/inhalation toxicity
studies and the uncertainty with the putative toxicant (i.e., 1-BP or a metabolite(s)).

As discussed previously, the estimates for extra cancer risk were based on the assumption of
linearity in the relationship between 1-BP exposure and probability of cancer. Uncertainties are
introduced in the cancer risks when there is limited information justifying the linear cancer dose‐
response model when compared to other available models. In the case of 1-BP, the cancer IUR was
based on reliable data supporting a mutagenic mode of action for at least 1-BP‐induced lung
tumors (NTP, 2011a).

   4.4 Other Risk Related Considerations
               Potentially Exposed or Susceptible Subpopulations
TSCA requires that a risk evaluation “determine whether a chemical substance presents an
unreasonable risk of injury to health or the environment, without consideration of cost or other
non-risk factors, including an unreasonable risk to a potentially exposed or susceptible

                                          Page 252 of 406
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 151 of 854

                      PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

subpopulation (PESS) identified as relevant to the risk evaluation by the Administrator, under the
conditions of use.” TSCA § 3(12) states that “the term ‘potentially exposed or susceptible
subpopulation’ means a group of individuals within the general population identified by the
Administrator who, due to either greater susceptibility or greater exposure, may be at greater risk
than the general population of adverse health effects from exposure to a chemical substance or
mixture, such as infants, children, pregnant women, workers, or the elderly.”
            4.4.1.1     Exposure Considerations
In developing the exposure assessment for 1-BP, EPA analyzed reasonably available information
to ascertain whether some human receptor groups may have greater exposure or susceptibility than
the general population to the hazard posed by 1-BP. Exposures of 1-BP would be expected to be
higher amongst groups with 1-BP containing products in their homes, and workers who use 1-BP
as part of typical processes.

EPA identified potentially exposed or susceptible subpopulations for further analysis during the
development and refinement of the life cycle, conceptual models, exposure scenarios, and analysis
plan. In Section 2.4, EPA addressed the potentially exposed or susceptible subpopulations
identified as relevant based on greater exposure in occupational settings. In Section 2.3.2, EPA
addresses the potentially exposed or susceptible subpopulations for consumer users between the
ages of 11-21 as well as adults. EPA also addresses potentially exposed or susceptible
subpopulations for bystanders within residences where a consumer product containing 1-BP may
be used. Bystanders, for purposes of this risk evaluation, can be any age group (infant to elderly).

Of the human receptors identified in the previous sections, EPA identifies the following as
potentially exposed or susceptible subpopulations due to their greater exposure and considered
them in the risk evaluation:
    • Workers and occupational non-users. EPA assessed exposure to these subpopulations using
       a combination of personal exposure monitoring data (measured data) and modeling
       approaches. The exposure estimates were applicable to both male and female workers of
       reproductive age, including adolescents. Section 2.4 provides more details on these
       subpopulations across various industry sectors that are likely to use 1-BP.
    • Consumer users and bystanders associated with consumer use. 1-BP has been identified as
       being used in products available to consumers; however, only some individuals within the
       general population may use these products. Therefore, those who do use these products are
       a potentially exposed or susceptible subpopulation due to greater exposure. A description of
       the exposure assessment for consumers is available in Section 2.3.2.

There are some exposure scenarios where greater exposure from multiple sources may occur and
individuals who may have greater potential for exposure to 1-BP. For example, some workers and
occupational non-users may also use consumer products containing 1-BP, and have additional
exposure outside of the workplace.
            4.4.1.2    Aggregate and Sentinel Exposures
Section 2605(b)(4)(F)(ii) of TSCA requires EPA, as a part of the risk evaluation, to describe
whether aggregate or sentinel exposures under the conditions of use were considered and the basis
for their consideration. EPA has defined aggregate exposure as “the combined exposures to an
individual from a single chemical substance across multiple routes and across multiple pathways.”

                                          Page 253 of 406
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 152 of 854

                      PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

As part of this risk evaluation, EPA considered aggregate exposures by evaluating exposure and
risk from both the inhalation and dermal routes for workers and consumers in scenarios where such
exposures are expected. EPA expects workers to be exposed via both inhalation of 1-BP vapor and
dermal contact with liquid containing 1-BP. Similarly, EPA expects certain consumer users to be
exposed via both the inhalation of 1-BP vapor and dermal contact with liquid containing 1-BP.

EPA defines sentinel exposure as “the exposure to a single chemical substance that represents the
plausible upper bound of exposure relative to all other exposures within a broad category of similar
or related exposures.” In terms of this risk evaluation, EPA considered sentinel exposures by
considering exposures to populations who may have upper bound exposures – for example,
workers who perform activities with higher exposure potential, or consumers who have higher
exposure potential (e.g., those involved with do-it-yourself projects) or certain physical factors like
body weight or skin surface area exposed. EPA characterized high-end exposures in evaluating
exposure using both monitoring data and modeling approaches. Where statistical data are available,
EPA typically uses the 95th percentile value of the available dataset to characterize high-end
exposure for a given condition of use.




                                           Page 254 of 406
       Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 153 of 854

                          PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


5 RISK DETERMINATION

     5.1 Unreasonable Risk
                Overview
In each risk evaluation under TSCA section 6(b), EPA determines whether a chemical substance
presents an unreasonable risk of injury to health or the environment, under the conditions of use.
The determination does not consider costs or other non-risk factors. In making this determination,
EPA considers relevant risk-related factors, including, but not limited to: the effects of the
chemical substance on health and human exposure to such substance under the conditions of use
(including cancer and non-cancer risks); the effects of the chemical substance on the environment
and environmental exposure under the conditions of use; the population exposed (including any
potentially exposed or susceptible subpopulations); the severity of hazard (including the nature of
the hazard, the irreversibility of the hazard); and uncertainties. EPA takes into consideration the
Agency’s confidence in the data used in the risk estimate. This includes an evaluation of the
strengths, limitations and uncertainties associated with the information used to inform the risk
estimate and the risk characterization. This approach is in keeping with the Agency’s final rule,
Procedures for Chemical Risk Evaluation Under the Amended Toxic Substances Control Act (82
FR 33726) 28.

Under TSCA, conditions of use are defined as the circumstances, as determined by the
Administrator, under which the substance is intended, known, or reasonably foreseen to be
manufactured, processed, distributed in commerce, used, or disposed of. TSCA §3(4).

An unreasonable risk may be indicated when health risks under the conditions of use are identified
by comparing the estimated risks with the risk benchmarks and where the risks affect the general
population or certain potentially exposed or susceptible subpopulations (PESS), such as
consumers. For other PESS, such as workers, an unreasonable risk may be indicated when risks are
not adequately addressed through expected use of workplace practices and exposure controls,
including engineering controls or use of personal protective equipment (PPE). An unreasonable
risk may also be indicated when environmental risks under the conditions of use are greater than
environmental risk bench marks.

EPA uses the terms “indicates unreasonable risk relative to the Agency’s risk benchmarks” to
indicate EPA concern for potential unreasonable risk. For non-cancer endpoints, “less than MOE
benchmark” is used to indicate potential unreasonable risk; this occurs if an MOE value is less than
the benchmark MOE (e.g., MOE 0.3 < benchmark MOE 30). EPA uses the term “greater than risk
benchmark” to indicate potential unreasonable risk for cancer endpoints, this occurs if the lifetime
cancer risk value is greater than 1 in 10,000 (e.g., cancer risk value is 5x10-2 which is greater than
the standard range of acceptable cancer risk benchmarks of 1x10-4 to 1x10-6). For environmental
endpoints, to indicate potential unreasonable risk EPA uses a risk quotient (RQ) value “greater
than 1” (e.g. RQ >1). Conversely, this risk determination uses the term “does not indicate

28
  This risk determination is being issued under TSCA section 6(b) and the terms used, such as unreasonable risk, and
the considerations discussed are specific to TSCA. Other statutes have different authorities and mandates and may
involve risk considerations other than those discussed here.
                                                 Page 255 of 406
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 154 of 854

                      PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

unreasonable risk relative to risk benchmarks” to indicate no EPA concern for potential
unreasonable risk. More details are described below.

The degree of uncertainty surrounding the MOEs, cancer risk or RQs are a factor in determining
whether or not unreasonable risk is present. Where uncertainty is low, and EPA has high
confidence in the hazard and exposure characterizations (for example, the basis for the
characterizations is measured or monitoring data or a robust model and the hazards identified for
risk estimation are relevant for conditions of use), the Agency has a higher degree of confidence in
its risk determination. EPA may also consider other risk factors, such as severity of endpoint,
reversibility of effect, or exposure-related considerations such as magnitude or number of
exposures, in determining that the risks are unreasonable under the conditions of use. Where EPA
has made assumptions in the scientific evaluation, whether or not those assumptions are protective,
will also be a consideration. Additionally, EPA considers the central tendency and high-end
scenarios when determining the unreasonable risk. High-end risk estimates (e.g. 95th percentile)
are generally intended to cover individuals or sub-populations with greater exposure and central
tendency risk estimates are generally estimates of average or typical exposure.

Conversely, EPA may make a no unreasonable risk determination for conditions of use where the
substance’s hazard and exposure potential, or where the risk-related factors described previously,
lead EPA to determine that the risks are not unreasonable.
               Risks to Human Health

            5.1.2.1     Determining Non-Cancer Risks
Margins of exposure (MOEs) are used in EPA’s risk evaluations as a starting point to estimate non-
cancer risks for acute and chronic exposures. The non-cancer evaluation refers to potential adverse
health effects associated with health endpoints other than cancer, including to the body’s organ
systems, such as reproductive/developmental effects, cardiac and lung effects, and kidney and liver
effects. The MOE is the point of departure (an approximation of the no-observed adverse effect
level (NOAEL) or benchmark concentration / dose level (BMCL/BMDL)) for a specific health
endpoint divided by the exposure concentration for the specific scenario of concern. The
benchmark for the MOE that is used accounts for the total uncertainty in a point of departure,
including, as appropriate: (1) the variation in sensitivity among the members of the human
population (i.e., intrahuman/intraspecies variability); (2) the uncertainty in extrapolating animal
data to humans (i.e., interspecies variability); (3) the uncertainty in extrapolating from data
obtained in a study with less-than-lifetime exposure to lifetime exposure (i.e., extrapolating from
subchronic to chronic exposure); and (4) the uncertainty in extrapolating from a lowest observed
adverse effect level rather than from a NOAEL. MOEs can provide a non-cancer risk profile by
presenting a range of estimates for different non-cancer health effects for different exposure
scenarios and are a widely recognized point estimate method for evaluating a range of potential
non-cancer health risks from exposure to a chemical.

A calculated MOE that is less than the benchmark MOE indicates the possibility of risk to human
health. Whether EPA those risks ae unreasonable will depend upon other risk-related factors, such
as severity of endpoint, reversibility of effect, exposure-related considerations (e.g. duration,
magnitude, frequency of exposure, population exposed), and the confidence in the information
used to inform the hazard and exposure values. If the calculated MOE is greater than the
benchmark MOE, generally it is less likely that there is risk.
                                            Page 256 of 406
       Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 155 of 854

                          PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


Uncertainty factors also play an important role in the risk estimation approach and in determining
unreasonable risk. A lower benchmark MOE (e.g. 30) indicates greater certainty in the data
(because fewer of the default uncertainty factors are relevant to a given point of departure as
described above were applied). A higher benchmark MOE (e.g. 1000) would indicate more
uncertainty in risk estimation and extrapolation for the MOE for specific endpoints and scenarios.
However, these are often not the only uncertainties in a risk evaluation.
           5.1.2.2    Determining Cancer Risks
EPA estimates cancer risks by determining the incremental increase in probability of an individual
in an exposed population developing cancer over a lifetime (excess lifetime cancer risk (ELCR))
following exposure to the chemical under specified use scenarios. Standard cancer benchmarks
used by EPA and other regulatory agencies are an increased cancer risk above benchmarks ranging
from 1 in 1,000,000 to 1 in 10,000 (i.e., 1x10-6 to 1x10-4) depending on the subpopulation exposed.
Generally, EPA considers 1 x 10-6 to 1x 10-4 as the appropriate benchmark for the consumer users,
and non-occupational potentially exposed or susceptible subpopulations (PESS). 29

For 1-BP, EPA, consistent with case law and 2017 NIOSH guidance 30, used 1 x 10-4 as the
benchmark for the purposes of this risk determination for individuals in industrial and commercial
work environments subject to Occupational Safety and Health Act (OSHA) requirements. It is
important to note that 1x10-4 is not a bright line and EPA has discretion to make risk
determinations based on other benchmarks as appropriate based on analysis. It is important to note
that exposure related considerations (duration, magnitude, population exposed) can affect EPA’s
estimates of the ELCR.
                Environmental Risk
To assess environmental risk, EPA identifies and evaluates environmental hazard data for aquatic,
sediment-dwelling, and terrestrial organisms exposed under acute and chronic exposure conditions.
The environmental risk includes any risks that exceed benchmarks to the aquatic environment from
levels of the evaluated chemical found in the environment (e.g., surface water, sediment, soil,
biota) based on the fate properties, relatively high potential for release, and the availability of
environmental monitoring data and hazard data.

Environmental risks are estimated by calculating a risk quotient (RQ). The RQ is defined as:


29
   As an example, when EPA’s Office of Water in 2017 updated the Human Health Benchmarks for Pesticides, the
benchmark for a “theoretical upper-bound excess lifetime cancer risk” from pesticides in drinking water was identified
as 1 in 1,000,000 to 1 in 10,000 over a lifetime of exposure (EPA. Human Health Benchmarks for Pesticides: Updated
2017 Technical Document. January 2017. https://www.epa.gov/sites/production/files/2015-10/documents/hh-
benchmarks-techdoc.pdf). Similarly, EPA’s approach under the Clean Air Act to evaluate residual risk and to develop
standards is a two-step approach that includes a “limit on maximum individual lifetime [cancer] risk (MIR) of
approximately 1 in 10 thousand” (54 FR 38045, September 14, 1989) and consideration of whether emissions
standards provide an ample margin of safety to protect public health “in consideration of all health information,
including the number of persons at risk levels higher than approximately 1 in 1 million, as well as other relevant
factors” (54 FR 38045, September 14, 1989).
30
  NIOSH [2017]. Current intelligence bulletin 68: NIOSH chemical carcinogen policy, available at
https://www.cdc.gov/niosh/docs/2017-100/pdf/2017-100.pdf.

                                                 Page 257 of 406
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 156 of 854

                      PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

                         RQ = Environmental Concentration / Effect Level

An RQ equal to 1 indicates that the exposures are the same as the concentration that causes effects.
If the RQ exceeds 1, the exposure is greater than the effect concentration and there is potential for
risk presumed. If the RQ does not exceed 1, the exposure is less than the effect concentration and
there is no risk presumed. The Concentrations of Concern or hazard value for certain aquatic
organisms, sediment-dwelling or terrestrial organisms are used to calculate RQs for acute and
chronic exposures. For environmental risk, EPA is more likely to determine that there is
unreasonable risk if the RQ exceeds 1 for the conditions of use being evaluated. Consistent with
EPA’s human health evaluations, the RQ is not always treated as a bright line and other risk-based
factors may be considered (e.g., exposure scenario, uncertainty, severity of effect) for purposes of
making a risk determination.

   5.2 Risk Determination for 1-Bromopropane
EPA’s determinations of unreasonable risk for the conditions of use of 1-BP listed below are based
on health risks to: workers during occupational exposures; occupational non-users exposed to 1-BP
indirectly by being in the same work area of the building; consumers users; bystanders or non-
users exposed indirectly by being in the house where consumer or where commercial residential
uses are carried out. As described below, EPA did not find unreasonable risks to the environment
for the conditions of use of 1-BP listed below.

Environmental risks: EPA integrated relevant pathways of environmental exposure with available
hazard data to estimate risk to environmental receptors. The high volatility, high water solubility
and low Log Koc of 1-BP suggest that 1-BP will only be present at low concentrations in the
sediment and terrestrial environmental compartments, so these pathways were not further analyzed
in this risk evaluation since risk from these exposure pathways are not expected.

In this risk evaluation, EPA calculated risk to the aquatic organisms. For all conditions of use, EPA
did not identify any exceedances of benchmarks to aquatic organisms from exposures to 1-BP in
surface waters. The RQ values for acute and chronic risks are <0.01 and 0.12, respectively based
on the best available science, and 0.02 and 0.32 based on the lowest-bound ECHA summary data,
respectively (Table 4-2). An RQ that does not exceed 1 indicates that the exposure concentrations
of 1-BP are less than the concentrations that would cause an effect to organisms in the aquatic
pathways. Because the RQ values do not exceed 1, and because EPA used a conservative screening
level approach, these values indicate there are no unreasonable risks of 1-BP to the aquatic
pathways. As a result, EPA does not find unreasonable risks to the environment from the
conditions of use for 1-BP.

General population: As part of the problem formulation for 1-BP, EPA identified general
population exposures via surface water, drinking water, and sediment as pathways for no further
analysis in the risk evaluation. In addition, OCSPP understands from OAR that the Agency is
finishing review of comments on this draft notice to add 1-BP to the list of HAPs under Section
112 of the Clean Air Act, 42 U.S.C. 7412 and intends to finalize an action before the end of 2019.
OCSPP works closely with the offices within EPA that administer and implement the regulatory
programs under these statutes. In some cases, EPA has determined that chemicals present in
various media pathways (i.e., air, water, land) fall under the jurisdiction of existing regulatory
programs and associated analytical processes carried out under other EPA-administered statutes
                                          Page 258 of 406
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 157 of 854

                      PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

and have been assessed and effectively managed under those programs. EPA believes that the
TSCA risk evaluation should focus on those exposure pathways associated with TSCA uses that
are not subject to the regulatory regimes discussed above because these pathways are likely to
represent the greatest areas of concern to EPA. Exposures to 1-BP receptors (i.e., general
population) may occur from industrial and/or commercial uses; industrial releases to air, water or
land; and other conditions of use. As described above, no futher analysis was needed for exposures
via surface water, drinking water and sediment, or other environmental statutes administered by
EPA would adequately assess and would effectively manage these exposures. Therefore, EPA did
not evaluate hazards or exposures to the general population in this risk evaluation, and there is no
risk determination for the general population.

In the Table 5-1 below, EPA identifies a single human health adverse effect as the “unreasonable
risk driver” for a particular condition of use. This is the effect that is most sensitive, and it is
expected that managing risks for this effect will address other identified risks. As described in
Section 4, additional significant risks associated with more than one adverse effect (e.g.
developmental, reproductive, liver, kidney, nervous system) were identified for many conditions of
use.




                                          Page 259 of 406
                     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 158 of 854

                                   PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

Table 5-1. Unreasonable Risk Determination
                  Condition of Use
                                                                        Unreasonable Risk Determination1
 Life Cycle Stage    Category      Sub-Category
 Manufacturing     Domestic        Domestic       Section 6(b)(4)(A) unreasonable risk determination for domestic manufacture
                   Manufacturing Manufacturing    of 1-BP:
                                                  - Does not present an unreasonable risk of injury to health (workers and
                                                  occupational non-users).
                                                  - Does not present an unreasonable risk of injury to the environment
                                                  (aquatic, sediment dwelling and terrestrial organisms).
                                                  Exposure scenario with highest risk estimate: Worker:
                                                  - Developmental adverse effects from acute inhalation exposure.
                                                  - Cancer resulting from chronic inhalation exposure.
                                                  Benchmark:
                                                  - Developmental adverse effects: MOE 100.
                                                  - Cancer: 10-4.
                                                  Risk estimate: Workers:
                                                  - Developmental adverse effects: MOE = 63 for workers using no PPE (high-
                                                    end estimate) (Table 4-6).Table 4-6). Note: There is no unreasonable risk
                                                    when PPE (APF=10) is used.
                                                  - Cancer: 5.54E-04 for workers using no PPE (high-end estimate) (Table
                                                    4-47).Table 4-47). Note: There is no unreasonable risk when PPE
                                                    (APF=10) is used.
                                                  Systematic Review confidence rating (hazard): High.
                                                  Systematic Review confidence rating (inhalation exposure): High.
                                                  Risk considerations: For workers, non-cancer MOEs from acute and chronic
                                                  dermal exposures were greater than the MOE benchmark indicating no
                                                  unreasonable risk (Table 4-48).Table 4-48). And, while other risk estimates
                                                  from other exposure scenarios from acute and chronic inhalation and dermal
                                                  exposures indicate risk relative to the Agency’s risk benchmarks in the
                                                  absence of PPE, risk estimates for these scenarios do not indicate risk relative


                                                      Page 260 of 406
                    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 159 of 854

                                  PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

                 Condition of Use
                                                                      Unreasonable Risk Determination1
Life Cycle Stage    Category      Sub-Category
                                                 to those benchmarks when expected use of PPE was considered (Table 4-27
                                                 and Table 4-53).Table 4-27 and Table 4-53).
                                                 Based on the process and work activity description, exposure to occupational
                                                 non-users was expected to be negligible (Table 4-6Table 4-6 and Table
                                                 4-27Table 4-27).
                                                 Estimated exposed population: 35 to 73 workers.
Manufacturing    Import         Import           Section 6(b)(4)(A) unreasonable risk determination for import of 1-BP:
                                                 - Does not present an unreasonable risk of injury to health (workers and
                                                 occupational non-users).
                                                 - Does not present an unreasonable risk of injury to the environment (aquatic,
                                                 sediment dwelling and terrestrial organisms).
                                                 Exposure scenario with highest risk estimate: Workers: Cancer resulting from
                                                 chronic dermal exposure.
                                                 Benchmark: Cancer: 10-4.
                                                 Risk estimate: Workers: Cancer: Dermal: 1.38E-04 for workers using no PPE
                                                 (Table 4-53). Note: There is no unreasonable risk when PPE (gloves PF=5)
                                                 are used.
                                                 Systematic Review confidence rating (health hazard): High.
                                                 Systematic Review confidence rating (health dermal exposure): Medium.
                                                 Risk estimates derived using the EPA Dermal Exposure to Volatile Liquids
                                                 model.
                                                 Risk considerations: For workers, non-cancer MOEs from acute and chronic
                                                 inhalation and dermal exposures were greater than the MOE benchmark
                                                 indicating no unreasonable risk (Table 4-7, Table 4-28 and Table 4-48). And,
                                                 while cancer risk estimates from chronic inhalation and dermal exposures
                                                 indicate risk relative to the Agency’s risk benchmarks in the absence of PPE,
                                                 risk estimates for these scenarios do not indicate risk relative to those
                                                 benchmarks when expected use of PPE was considered (Table 4-47 and Table
                                                 4-53).
                                                 For occupational non-users, exposures were expected to be negligible (Table
                                                 4-7 and Table 4-28).
                                                 Estimated exposed population: 30 to 94 workers.
                                                    Page 261 of 406
                     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 160 of 854

                                    PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

                 Condition of Use
                                                                         Unreasonable Risk Determination1
Life Cycle Stage     Category      Sub-Category
Processing        Processing as a Intermediate in   Section 6(b)(4)(A) unreasonable risk determination for processing of 1-BP as
                  reactant        all other basic   a reactant:
                                  inorganic         - Does not present an unreasonable risk of injury to health (workers and
                                  chemical          occupational non-users).
                                  manufacturing,    - Does not present an unreasonable risk of injury to the environment (aquatic,
                                  all other basic   sediment dwelling and terrestrial organisms).
                                  organic           Exposure scenario with highest risk estimate: Workers: Cancer resulting from
                                  chemical          chronic dermal exposure.
                                  manufacturing,    Benchmark: Cancer: 10-4.
                                  and pesticide,    Risk estimate: Workers: Cancer: Dermal: 1.38E-04 for workers using no PPE
                                  fertilizer and    (Table 4-53). Note: There is no unreasonable risk when PPE (gloves PF=5)
                                  other             are used.
                                  agricultural      Systematic Review confidence rating (health hazard): High.
                                  chemical          Systematic Review confidence rating (health dermal exposure): Medium.
                                  manufacturing     Risk estimates derived using the EPA Dermal Exposure to Volatile Liquids
                                                    model.
                                                    Risk considerations: For workers, non-cancer MOEs from acute and chronic
                                                    inhalation and dermal exposures were greater than the MOE benchmark
                                                    indicating no unreasonable risk (Table 4-7, Table 4-28 and Table 4-48). And,
                                                    while cancer risk estimates from chronic inhalation and dermal exposures
                                                    indicate risk relative to the Agency’s risk benchmarks in the absence of PPE,
                                                    risk estimates for these scenarios do not indicate risk relative to those
                                                    benchmarks when expected use of PPE was considered (Table 4-47 and Table
                                                    4-53).
                                                    For occupational non-users, exposures were expected to be negligible (Table
                                                    4-7 and Table 4-28).
                                                    Estimated exposed population: 30 to 72 workers.




                                                       Page 262 of 406
                Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 161 of 854

                               PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

Processing   Processing –    Solvents for     Section 6(b)(4)(A) unreasonable risk determination for processing of 1-BP
             incorporating   cleaning or      into a formulation, mixture, or reaction product:
             into            degreasing in    - Presents an unreasonable risk of injury to health (workers and occupational
             formulation,    manufacturing    non-users).
             mixture or      of:              - Does not present an unreasonable risk of injury to the environment (aquatic,
             reaction        - all other      sediment dwelling and terrestrial organisms).
             product         chemical         Unreasonable risk driver: Workers and occupational non-users:
                             product and       - Developmental adverse effects resulting from acute and chronic inhalation
                             preparation         exposures.
                             - computer and    - Cancer resulting from chronic inhalation exposures.
                             electronic       Benchmarks: Workers and occupational non-users:
                             product           - Developmental adverse effects: MOE 100.
                             - electrical      - Cancer: 10-4.
                             equipment,       Risk estimates:
                             appliance and    Workers:
                             component         - Developmental adverse effects: Acute inhalation MOEs 224 and 45 (central
                             - soap,             tendency and high-end) with respiratory protection (an APF=50) (Table
                             cleaning            4-8). Chronic inhalation MOEs 317 and 63 (central tendency and high-end)
                             compound and        with respiratory protection (an APF=50) (Table 4-29).
                             toilet            - Cancer: Inhalation: 1.E-04 and 7.75E-04 (central tendency and high-end)
                             preparation         with respiratory protection (an APF = 50) (Table 4-47).
                             - services       Occupational non-users:
                                               - Developmental adverse effects: Acute inhalation MOEs 52 and 11 (central
                                                 tendency and high-end) (Table 4-8). Chronic inhalation MOEs 74 and 15
                                                 (central tendency and high-end (Table 4-29).
                                               - Cancer: Inhalation: 5.17E-04 and 3.26E-03 (central tendency and high-end)
                                                 (Table 4-47).
                                              Systematic Review confidence rating (hazard): High.
                                              Systematic Review confidence rating (inhalation exposure): Medium. High
                                              for the monitoring data.
                                              Risk considerations: The assessment of inhalation exposure from this type of
                                              processing is based on monitoring data, however, the data may not be
                                              representative of exposures across the range of facilities that formulate
                                              products containing 1-BP.

                                                 Page 263 of 406
                    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 162 of 854

                                   PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

                 Condition of Use
                                                                        Unreasonable Risk Determination1
Life Cycle Stage    Category      Sub-Category
                                                 For workers, non-cancer MOEs from acute and chronic dermal exposures
                                                 were greater than the MOE benchmark indicating no unreasonable risk (Table
                                                 4-48).Table 4-48). And, while cancer risk estimates from chronic dermal
                                                 exposures indicate risk relative to the Agency’s risk benchmarks in the
                                                 absence of PPE, risk estimates for these scenarios do not indicate risk relative
                                                 to those benchmarks when expected use of PPE was considered (Table
                                                 4-53).Table 4-53).
                                                 Estimated exposed population: 220 to 1,046 including both workers and
                                                 occupational non-users.
Processing       Processing -    Solvents        Section 6(b)(4)(A) unreasonable risk determination for processing of 1-BP for
                 incorporating   (which become incorporation into articles:
                 into articles   part of product - Does not present an unreasonable risk of injury to health (workers and
                                 formulation or occupational non-users).
                                 mixture) in     - Does not present an unreasonable risk of injury to the environment
                                 construction    (aquatic, sediment dwelling and terrestrial organisms).
                                                 Exposure scenario with highest risk estimate: Workers: Cancer resulting from
                                                 chronic dermal exposure.
                                                 Benchmark: Cancer: 10-4.
                                                 Risk estimate: Workers: Cancer: Dermal: 1.38E-04 for workers using no PPE
                                                 (Table 4-53). Note: There is no unreasonable risk when PPE (gloves APF=5)
                                                 are used.
                                                 Systematic Review confidence rating (health hazard): High.
                                                 Systematic Review confidence rating (health dermal exposure): Medium.
                                                 Risk estimates derived using the EPA Dermal Exposure to Volatile Liquids
                                                 model.
                                                 Risk considerations: For workers, non-cancer MOEs from acute and chronic
                                                 inhalation and dermal exposures were greater than the MOE benchmark
                                                 indicating no unreasonable risk (Table 4-7, Table 4-28 and Table 4-48). And,
                                                 while cancer risk estimates from chronic inhalation and dermal exposures
                                                 indicate risk relative to the Agency’s risk benchmarks in the absence of PPE,
                                                 risk estimates for these scenarios do not indicate risk relative to those


                                                      Page 264 of 406
                    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 163 of 854

                                  PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

                 Condition of Use
                                                                       Unreasonable Risk Determination1
Life Cycle Stage    Category      Sub-Category
                                                  benchmarks when expected use of PPE was considered (Table 4-47 and Table
                                                  4-53).
                                                  For occupational non-users, exposures were expected to be negligible (Table
                                                  4-7 and Table 4-28).
                                                  Estimated exposed population: 15 workers.
Processing       Repackaging    Solvent for       Section 6(b)(4)(A) unreasonable risk determination for repackaging of 1-BP
                                cleaning or       as a solvent for cleaning or degreasing in all other basic organic chemical
                                degreasing in     manufacturing:
                                all other basic   - Does not present an unreasonable risk of injury to health (workers
                                organic           andoccupational non-users).
                                chemical          - Does not present an unreasonable risk of injury to the environment
                                manufacturing     (aquatic, sediment dwelling and terrestrial organisms).
                                                  Exposure scenario with highest risk estimate: Workers: Cancer resulting from
                                                  chronic dermal exposure.
                                                  Benchmark: Cancer: 10-4.
                                                  Risk estimate: Workers: Cancer: Dermal: 1.38E-04 for workers using no PPE
                                                  (Table 4-53). Note: There is no unreasonable risk when PPE (gloves PF=5)
                                                  are used.
                                                  Systematic Review confidence rating (health hazard): High.
                                                  Systematic Review confidence rating (health dermal exposure): Medium.
                                                  Risk estimates derived using the EPA Dermal Exposure to Volatile Liquids
                                                  model.
                                                  Risk considerations: For workers, non-cancer MOEs from acute and chronic
                                                  inhalation and dermal exposures were greater than the MOE benchmark
                                                  indicating no unreasonable risk (Table 4-7, Table 4-28 and Table 4-48). And,
                                                  while cancer risk estimates from chronic inhalation and dermal exposures
                                                  indicate risk relative to the Agency’s risk benchmarks in the absence of PPE,
                                                  risk estimates for these scenarios do not indicate risk relative to those
                                                  benchmarks when expected use of PPE was considered (Table 4-47 and Table
                                                  4-53).
                                                  For occupational non-users, exposures were expected to be negligible (Table
                                                  4-7 and Table 4-28).
                                                     Page 265 of 406
                    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 164 of 854

                                  PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

                 Condition of Use
                                                                       Unreasonable Risk Determination1
Life Cycle Stage    Category      Sub-Category
                                                 Estimated exposed population: 30 to 94 workers.
Processing       Recycling      Recycling        Section 6(b)(4)(A) unreasonable risk determination for recycling of 1-BP:
                                                 - Does not present an unreasonable risk of injury to health (workers and
                                                 occupational non-users).
                                                 - Does not present an unreasonable risk of injury to the environment
                                                 (aquatic, sediment dwelling and terrestrial organisms).
                                                 Exposure scenario with highest risk estimate: Workers: Cancer resulting from
                                                 chronic dermal exposure.
                                                 Benchmark: Cancer: 10-4.
                                                 Risk estimate: Cancer: Dermal: 1.38E-04 for workers using no PPE (Table
                                                 4-53). Note: There is no unreasonable risk when PPE (gloves PF=5) are used.
                                                 Systematic Review confidence rating (health hazard): High.
                                                 Systematic Review confidence rating (health dermal exposure): Medium.
                                                 Risk estimates derived using the EPA Dermal Exposure to Volatile Liquids
                                                 model.
                                                 Risk considerations: For workers, non-cancer MOEs from acute and chronic
                                                 inhalation and dermal exposures were greater than the MOE benchmark
                                                 indicating no unreasonable risk (Table 4-25Table 4-25, Table 4-46Table 4-46
                                                 and Table 4-48). And, while cancer risk estimates from chronic inhalation and
                                                 dermal exposures indicate risk relative to the Agency’s risk benchmarks in the
                                                 absence of PPE, risk estimates for these scenarios do not indicate risk relative
                                                 to those benchmarks when expected use of PPE was considered (Table 4-47
                                                 and Table 4-53).
                                                 For occupational non-users, exposures were expected to be negligible (Table
                                                 4-25Table 4-25 and Table 4-46Table 4-46).
                                                 Estimated exposed population: over 49 workers and 18 occupational non-
                                                 users.




                                                     Page 266 of 406
                     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 165 of 854

                                    PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

                 Condition of Use
                                                                          Unreasonable Risk Determination1
Life Cycle Stage    Category      Sub-Category
Distribution in   Distribution in Distribution in    Section 6(b)(4)(A) unreasonable risk determination for distribution in
commerce          commerce        commerce           commerce of 1-BP: Does not present an unreasonable risk of injury to health
                                                     (workers, occupational non-users, consumers and bystanders ) or to the
                                                     environment (aquatic, sediment dwelling and terrestrial organisms).
                                                     Other risk considerations: A quantitative evaluation of the distribution of 1-
                                                     BP was not included in the risk evaluation because exposures and releases
                                                     from distribution were considered within each condition of use.
Industrial/       Solvent (for    Batch vapor        Section 6(b)(4)(A) unreasonable risk determinations for industrial and
commercial use    cleaning or     degreaser (e.g.,   commercial use of 1-BP as a solvent for degreasing in batch vapor degreasers
                  degreasing)     open-top)          (open-top) and in-line vapor degreaser (e.g., conveyorized, web cleaner):
                                  In-line vapor      - Presents an unreasonable risk of injury to health (workers and occupational
                                  degreaser (e.g.,   non-users).
                                  conveyorized,      - Does not present an unreasonable risk of injury to the environment (aquatic,
                                  web cleaner)       sediment dwelling and terrestrial organisms).
                                                     Unreasonable risk driver: Workers and occupational non-users:
                                                     - Developmental adverse effects resulting from acute inhalation exposure.
                                                     - Cancer resulting from chronic inhalation exposure.
                                                     Benchmarks:
                                                     - Developmental adverse effects: MOE 100.
                                                     - Cancer: 10-4.
                                                     Risk estimates:
                                                     Workers:
                                                     - Developmental adverse effects: Acute inhalation MOEs 127 and 17 (central
                                                       tendency and high-end) with respiratory protection (APF=50) (Table 4-9).
                                                       Chronic inhalation MOEs 179 and 24 (central tendency and high-end) with
                                                       respiratory protection (APF=50) (Table 4-30Table 4-30).
                                                     - Cancer: Chronic inhalation 2.E-04 and 2.03E-03 (central tendency and
                                                       high-end, open-top) with respiratory protection (APF=50) (Table 4-47).
                                                     Occupational non-users:
                                                     - Developmental adverse effects: Acute inhalation MOEs 171 and 13
                                                       (central tendency and high-end) with expected workplace engineering
                                                       controls (Table 4-11). Chronic inhalation MOEs 242 and 18 (central

                                                        Page 267 of 406
                    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 166 of 854

                                  PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

                 Condition of Use
                                                                       Unreasonable Risk Determination1
Life Cycle Stage    Category      Sub-Category
                                                    tendency and high-end) with expected workplace engineering controls
                                                    (Table 4-32).
                                                 - Cancer: Chronic inhalation 1.49E-04 and 2.09E-03 (central tendency and
                                                    high-end) with expected workplace engineering controls (Table 4-47).
                                                 Systematic Review confidence rating (hazard): High.
                                                 Systematic Review confidence rating (inhalation exposure): High.
                                                 Risk considerations: EPA obtained monitoring data for workers and
                                                 occupational non-users from several sources. In addition, EPA conducted a
                                                 near-field/far-field model for vapor degreasing (to identify risks to the worker
                                                 using the chemical and to the occupational non-user who may be nearby or in
                                                 the same facility). Also, EPA was able to model open top degreasing
                                                 operations using two scenarios: pre-engineering control (which was generally
                                                 comparable to the exposures reported in literature) and post-engineering
                                                 control.
                                                 For workers, non-cancer MOEs from acute and chronic dermal exposures
                                                 were greater than the MOE benchmark indicating no unreasonable risk (Table
                                                 4-49). And, while cancer risk estimates from chronic dermal exposures
                                                 indicate risk relative to the Agency’s risk benchmarks in the absence of PPE,
                                                 risk estimates for these scenarios do not indicate risk relative to those
                                                 benchmarks when expected use of PPE was considered (Table 4-53).
                                                 Estimated exposed population: 4,712 to 23,558 workers and occupational
                                                 non-users. These estimates likely cover a range of degreasing operations and
                                                 are not specific to batch vapor degreasers.




                                                     Page 268 of 406
                    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 167 of 854

                                  PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

Industrial/      Solvent (for   Batch vapor        Section 6(b)(4)(A) unreasonable risk determinations for industrial and
commercial use   cleaning or    degreaser (e.g.,   commercial use of 1-BP as a solvent for degreasing in batch vapor degreasers
                 degreasing)    closed-loop)       (e.g., closed loop):
                                                   - Presents an unreasonable risk of injury to health (occupational non-users).
                                                   - Does not present an unreasonable risk of injury to the environment (aquatic,
                                                   sediment dwelling and terrestrial organisms).
                                                   Unreasonable risk driver: Occupational non-users:
                                                   - Developmental adverse effects resulting from acute inhalation exposure.
                                                   - Cancer resulting from inhalation exposure.
                                                   Benchmarks:
                                                   - Developmental adverse effects: MOE 100.
                                                   - Cancer: 10-4.
                                                   Risk estimates: Occupational non-users:
                                                    - Developmental adverse effects: Acute inhalation MOEs 856 and 63 (central
                                                      tendency and high-end) (Table 4-12). Chronic inhalation MOEs 1,208 and
                                                      89 (central tendency and high-end) (Table 4-33).
                                                    - Cancer: Chronic inhalation 2.97E-05 and 4.19E-04 (central tendency and
                                                      high-end) (Table 4-47).
                                                   Systematic Review confidence rating (health hazard): High.
                                                   Systematic Review confidence rating (inhalation exposure): Medium.
                                                   Modeled data.
                                                   Risk considerations: There are no 1-BP monitoring data specific to closed-
                                                   loop degreasers. A NEWMOA study states air emissions can be reduced by
                                                   98 percent or more when a closed-loop degreaser is used instead of an open-
                                                   top vapor degreaser. This reduction factor was applied to the vapor
                                                   degreasing model results of the open-top vapor degreasers to estimate
                                                   exposure to batch closed-loop vapor degreasers.
                                                   Occupational non-users unreasonable risk determination reflects potential
                                                   severity of effect associated with exposures to 1-BP and the expected absence
                                                   of PPE. While risk estimates for other pathways of occupational exposure for
                                                   this condition of use (such as chronic inhalation and dermal exposures)
                                                   indicate risk relative to the Agency’s risk benchmarks in the absence of PPE,
                                                   risk estimates for these pathways do not indicate risk relative to those


                                                      Page 269 of 406
                    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 168 of 854

                                  PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

                 Condition of Use
                                                                      Unreasonable Risk Determination1
Life Cycle Stage    Category      Sub-Category
                                                 benchmarks when expected use of PPE was considered (Table 4-12, Table
                                                 4-33, Table 4-47Table 4-47, Table 4-49 and Table 4-53).
                                                 Estimated exposed population: 5,192 (workers) and 2,346 (occupational non-
                                                 users).
Industrial/      Solvent (for   Cold cleaner     Section 6(b)(4)(A) unreasonable risk determination for industrial and
commercial use   cleaning or                     commercial use of 1-BP as a solvent for degreasing in cold cleaning:
                 degreasing)                     - Presents an unreasonable risk of injury to health (workers and occupational
                                                 non-users).
                                                 - Does not present an unreasonable risk of injury to the environment (aquatic,
                                                 sediment dwelling and terrestrial organisms).
                                                 Unreasonable risk driver:
                                                 Workers: Cancer resulting from chronic inhalation exposure.
                                                 Occupational non-users:
                                                 - Developmental adverse effects resulting from acute and chronic inhalation
                                                   exposures.
                                                 - Cancer resulting from chronic inhalation exposures.
                                                 Benchmarks: Workers and occupational non-users:
                                                 - Developmental adverse effects: MOE 100.
                                                 - Cancer: 10-4.
                                                 Risk estimates:
                                                 Workers:
                                                 - Cancer: Inhalation: 1.E-04 and 3.04E-04 (central tendency and high-end)
                                                   with respiratory protection (APF=50) (Table 4-47).
                                                 Occupational non-users:
                                                 - Developmental adverse effects: Acute inhalation MOEs 7 (central tendency
                                                   and high-end) (Table 4-13). Chronic inhalation MOEs 9 (central tendency
                                                   and high-end) (Table 4-34).
                                                 - Cancer: Inhalation: 4.13E-03 and 5.33E-03 (central tendency and high-end)
                                                   (Table 4-47).
                                                 Systematic Review confidence rating (hazard): High.
                                                 Systematic Review confidence rating (inhalation exposure): High.


                                                    Page 270 of 406
                    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 169 of 854

                                  PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

                 Condition of Use
                                                                      Unreasonable Risk Determination1
Life Cycle Stage    Category      Sub-Category
                                                 Risk considerations: EPA utilized OSHA data for two facilities. However,
                                                 due to the low number of available data points, the assessed exposure may not
                                                 be representative of the full range of cold cleaning exposure scenarios.
                                                 Additionally, a cold cleaning model was used to confirm the risk estimates
                                                 based on emission factors derived using VOC data; however, it is not known
                                                 if such emision factors are representative of 1-BP emissions.
                                                 For workers, non-cancer MOEs from acute and chronic dermal exposures
                                                 were greater than the MOE benchmark indicating no unreasonable risk (Table
                                                 4-49). While risk estimates for other pathways of occupational exposure for
                                                 this condition of use (such as acute and chronic inhalation and chronic dermal
                                                 exposures) indicate risk relative to the Agency’s risk benchmarks in the
                                                 absence of PPE, risk estimates for these pathways do not indicate risk relative
                                                 to those benchmarks when expected use of PPE was considered (Table
                                                 4-13Table 4-13, Table 4-334-34 and Table 4-53).
                                                 Estimated exposed population: There is no information to determine the
                                                 number of workers and occupational non-users potentially exposed to 1-BP
                                                 during cold cleaning. Based on literature search to date, EPA does not know
                                                 how many facilities currently use 1-BP in cold cleaning. It is possible that
                                                 some degreasing facilities utilizing batch vapor degreasers also use 1-BP as a
                                                 cold cleaning solvent.
Industrial/      Solvent (for   Aerosol spray    Section 6(b)(4)(A) unreasonable risk determination for industrial and
commercial use   cleaning or    degreaser/       commercial use of 1-BP as a solvent for degreasing in the form of aerosol
                 degreasing)    cleaner          spray degreaser or cleaner:
                                                 - Presents an unreasonable risk of injury to health (workers and occupational
                                                 non-users).
                                                 - Does not present an unreasonable risk of injury to the environment (aquatic,
                                                 sediment dwelling and terrestrial organisms).
                                                 Unreasonable risk driver:
                                                 Workers:
                                                 - Developmental adverse effects resulting from acute and chronic inhalation
                                                    exposures.
                                                 - Cancer resulting from chronic inhalation exposures.
                                                    Page 271 of 406
                    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 170 of 854

                                  PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

                 Condition of Use
                                                                       Unreasonable Risk Determination1
Life Cycle Stage    Category      Sub-Category
                                                 Occupational non-users:
                                                 - Developmental adverse effects resulting from acute and chronic inhalation
                                                    exposures.
                                                 - Cancer resulting from chronic inhalation exposures.
                                                 Benchmarks: Workers and occupational non-users:
                                                 - Developmental adverse effects: MOE 100.
                                                 - Cancer: 10-4.
                                                 Risk estimates:
                                                 Workers:
                                                 - Developmental adverse effects: Acute inhalation MOEs 133 and 38
                                                    (central tendency and high-end) with respiratory protection (APF=50)
                                                    (Table 4-17). Chronic inhalation MOEs 188 and 53 (central tendency and
                                                    high-end) with respiratory protection (APF=50) (Table 4-38).
                                                 - Cancer: Inhalation: 2.E-04 and 7.24E-04 (central tendency and high-end)
                                                    with respiratory protection (APF=50) (Table 4-47).
                                                 Occupational non-users:
                                                 - Developmental adverse effects: Acute inhalation MOEs 155 and 18
                                                    (central tendency and high-end) (Table 4-17). Chronic inhalation MOEs
                                                    218 and 26 (central tendency and high-end) (Table 4-38).
                                                 - Cancer: Inhalation: 1.60E-04 and 1.44E-03 (central tendency and high-end)
                                                    (Table 4-47).
                                                 Systematic Review confidence rating (hazard): High.
                                                 Systematic Review confidence rating (inhalation exposure): High.
                                                 Risk considerations: EPA considered two studies with monitoring data. In
                                                 addition, EPA modeled workers and occupational non-users exposures to 1-
                                                 BP during brake servicing as a representative exposure scenario.
                                                 For workers, non-cancer MOEs from acute and chronic dermal exposures
                                                 were greater than the MOE benchmark indicating no unreasonable risk (Table
                                                 4-52).Table 4-52). And, while cancer risk estimates from chronic dermal
                                                 exposures indicate risk relative to the Agency’s risk benchmarks in the
                                                 absence of PPE, risk estimates for these scenarios do not indicate risk relative
                                                 to those benchmarks when expected use of PPE was considered (Table 4-53).

                                                     Page 272 of 406
                    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 171 of 854

                                   PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

                 Condition of Use
                                                                        Unreasonable Risk Determination1
Life Cycle Stage    Category      Sub-Category
                                                  Estimated exposed population: 2,465 to 12,329 workers and occupational
                                                  non-users. This is based on 2002 market data; it is unclear whether the
                                                  number of establishments using 1-BP-based aerosol solvents has changed
                                                  substantially since 2002.
Industrial/      Adhesives and   Adhesive         Section 6(b)(4)(A) unreasonable risk determination for industrial and
commercial use   sealants        chemicals –      commercial use of 1-BP as an adhesive and sealant, including the spray
                                 spray adhesive   adhesive for foam cushion manufacturing:
                                 for foam         - Presents an unreasonable risk of injury to health (workers and occupational
                                 cushion          non-users).
                                 manufacturing    - Does not present an unreasonable risk of injury to the environment (aquatic,
                                 and other uses   sediment dwelling and terrestrial organisms).
                                                  Unreasonable risk driver:
                                                  Workers (for sprayer and non-sprayer):
                                                  - Developmental adverse effects resulting from acute and chronic inhalation
                                                    exposures.
                                                  - Cancer resulting from chronic inhalation exposure.
                                                  Occupational non-users:
                                                  - Developmental adverse effects resulting from acute and chronic inhalation
                                                    exposures.
                                                  - Cancer resulting from chronic inhalation exposures.
                                                  Benchmarks: Workers and occupational non-users:
                                                  - Developmental adverse effects: MOE 100.
                                                  - Cancer: 10-4.
                                                  Risk estimates:
                                                  Workers (for sprayer and non-sprayer):
                                                  - Developmental adverse effects: Acute inhalation MOEs 48 and 20 (central
                                                    tendency and high-end, for sprayer) and 47 and 29 (central tendency and
                                                    high-end, for non-sprayer) with expected workplace engineering controls
                                                    and respiratory protection (APF=50) (Table 4-24). Chronic inhalation
                                                    MOEs 67 and 29 (central tendency and high-end, for sprayer) and 67 and 42
                                                    (central tendency and high-end, non-sprayer) with expected workplace
                                                    engineering controls and respiratory protection (APF=50) (Table 4-40).
                                                      Page 273 of 406
                    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 172 of 854

                                  PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

                 Condition of Use
                                                                       Unreasonable Risk Determination1
Life Cycle Stage    Category      Sub-Category
                                                 - Cancer: Inhalation: 6.E-04 and 1.72E-03 (central tendency and high-end, for
                                                   sprayer) and 6.E-04 and 1.18E-03 (central tendency and high-end, for non-
                                                   sprayer), with expected workplace engineering controls and respiratory
                                                   protection (APF=50) (Table 4-47).
                                                 Occupational non-users:
                                                 - Developmental adverse effects: Acute inhalation MOEs 9 and 3 (central
                                                   tendency and high-end) with expected workplace engineering controls
                                                   (Table 4-24). Chronic inhalation MOEs 12 and 4 (central tendency and
                                                   high-end) with expected workplace engineering controls (Table 4-40).
                                                 - Cancer: Inhalation: 3.18E-03 and 1.12E-02 (central tendency and high-end)
                                                   with expected workplace engineering controls (Table 4-47).
                                                 Systematic Review confidence rating (hazard): High.
                                                 Systematic Review confidence rating (inhalation exposure): High.
                                                 Risk considerations: Monitoring data for this condition of use were identified
                                                 in several sources, including journal articles, NIOSH HHEs, and OSHA
                                                 CEHD database.
                                                 For workers, non-cancer MOEs from acute and chronic dermal exposures
                                                 were greater than the MOE benchmark indicating no unreasonable risk (Table
                                                 4-50).Table 4-50). And, while cancer risk estimates from chronic dermal
                                                 exposures indicate risk relative to the Agency’s risk benchmarks in the
                                                 absence of PPE, risk estimates for these scenarios do not indicate risk relative
                                                 to those benchmarks when expected use of PPE was considered (Table 4-53).
                                                 Estimated exposed population: 551 to 1,543 workers, and 952 to 2,666
                                                 occupational non-users, for a total maximum of 4,209 individuals.




                                                     Page 274 of 406
                     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 173 of 854

                                    PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

Industrial/      Cleaning and     Dry cleaning   Section 6(b)(4)(A) unreasonable risk determination for industrial and
commercial use   furniture care   solvent        commercial use of 1-BP as a cleaning and furniture care product in the form
                 products                        of dry-cleaning solvent:
                                                 - Presents an unreasonable risk of injury to health (workers and occupational
                                                 non-users).
                                                 - Does not present an unreasonable risk of injury to the environment (aquatic,
                                                 sediment dwelling and terrestrial organisms).
                                                 Unreasonable risk driver:
                                                 Workers (for spot cleaner and machine and finish):
                                                 - Developmental adverse effects resulting from acute and chronic inhalation
                                                   exposures.
                                                 - Cancer resulting from chronic inhalation exposures.
                                                 Occupational non-users:
                                                  - Developmental adverse effects resulting from acute and chronic inhalation
                                                    exposures.
                                                  - Cancer resulting from chronic inhalation exposures.
                                                 Benchmarks:
                                                 - Developmental adverse effects: MOE 100.
                                                 - Cancer: 10-4.
                                                 Risk estimates:
                                                 Workers (for spot cleaner and machine and finish):
                                                 - Developmental adverse effects: Acute inhalation MOEs 5 and 2 (central
                                                    tendency and high-end, for spot cleaner and machine and finish,) when
                                                    using 4th generation machines (Table 4-20). Chronic inhalation MOEs 7
                                                    and 3 (central tendency and high-end, for spot cleaner and machine and
                                                    finish,) when using 4th generation machines (Table 4-43).
                                                 - Cancer: Inhalation: 1.28E-03 and 3.29E-03 (central tendency and high-end,
                                                    for spot cleaner) and 1.26E-03 and 3.74E-03 (central tendency and high-
                                                    end, for machine and finish), when using 4th (Table 4-47).
                                                 Occupational non-users:
                                                 - Developmental adverse effects: Acute inhalation MOEs 9 and 3 (central
                                                    tendency and high-end) when using 4th generation machines (Table 4-20).


                                                     Page 275 of 406
                     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 174 of 854

                                    PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

                 Condition of Use
                                                                        Unreasonable Risk Determination1
Life Cycle Stage    Category      Sub-Category
                                                     Chronic inhalation MOEs 12 and 4 (central tendency and high-end) when
                                                     using 4th generation machines (Table 4-43).
                                                  - Cancer: Inhalation: 6.94E-04 and 2.39E-03 (central tendency and high-end)
                                                     when using 4th generation machines (Table 4-47).
                                                  Systematic Review confidence rating (hazard): High.
                                                  Systematic Review confidence rating (inhalation exposure): High.
                                                  Risk considerations: EPA considered two studies of dry-cleaning
                                                  establishments in New Jersey.
                                                  Modeling allowed EPA to estimate exposures for multiple workers within the
                                                  dry-cleaning facility, including workers performing different tasks and to
                                                  account for the use of 4th generation dry cleaning machines. Monitoring data
                                                  for this condition of use were identified in several sources, including journal
                                                  articles and NIOSH HHEs.
                                                  For workers, non-cancer MOEs from acute and chronic dermal exposures
                                                  were greater than the MOE benchmark indicating no unreasonable risk (Table
                                                  4-51).Table 4-51). And, while cancer risk estimates from chronic dermal
                                                  exposures indicate risk relative to the Agency’s risk benchmarks in the
                                                  absence of PPE, risk estimates for these scenarios do not indicate risk relative
                                                  to those benchmarks when expected use of PPE was considered (Table 4-53).
                                                  Estimated exposed population: 92 workers and occupational non-users.
Industrial/      Cleaning and     Spot cleaner,   Section 6(b)(4)(A) unreasonable risk determination for industrial and
commercial use   furniture care   stain remover   commercial use of 1-BP as a cleaning and furniture care product in the form
                 products                         of spot cleaner and stain remover:
                                                  - Presents an unreasonable risk of injury to health (workers and occupational
                                                  non-users).
                                                  - Does not present an unreasonable risk of injury to the environment (aquatic,
                                                  sediment dwelling and terrestrial organisms).
                                                  Unreasonable risk driver:
                                                  Workers:
                                                  - Developmental adverse effects resulting from acute and chronic inhalation
                                                    exposures.
                                                  - Cancer resulting from chronic inhalation exposures.
                                                      Page 276 of 406
                    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 175 of 854

                                  PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

                 Condition of Use
                                                                       Unreasonable Risk Determination1
Life Cycle Stage    Category      Sub-Category
                                                 Occupational non-users:
                                                 - Developmental adverse effects resulting from acute and chronic inhalation
                                                   exposures.
                                                 - Cancer resulting from chronic inhalation exposures.
                                                 Benchmarks: Workers and occupational non-users:
                                                 - Developmental adverse effects: MOE 100.
                                                 - Cancer: 10-4.
                                                 Risk estimates:
                                                 Workers:
                                                 - Developmental adverse effects: Acute inhalation MOEs 19 and 4 (central
                                                   tendency and high-end) (Table 4-21). Chronic inhalation MOEs 27 and 5
                                                   (central tendency and high-end) (Table 4-44).
                                                 - Cancer: Inhalation: 1.43E-03 and 9.69E-03 (central tendency and high-end)
                                                   (Table 4-47).
                                                 Occupational non-users:
                                                 - Developmental adverse effects: Acute inhalation MOEs 10 and 4 (modeled
                                                   central tendency and high-end) (Table 4-22). Chronic inhalation MOEs 62
                                                   and 22 (modeled central tendency and high-end) (Table 4-45).
                                                 - Cancer: Inhalation: 5.82E-04 and 1.78E-03 (modeled central tendency and
                                                   high-end) (Table 4-47).
                                                 Systematic Review confidence rating (hazard): High.
                                                 Systematic Review confidence rating (inhalation exposure): High.
                                                 Risk considerations: EPA utilized monitoring data from OSHA for three
                                                 facilities where spot cleaning is performed. EPA also developed a spot
                                                 cleaning model.
                                                 For workers, non-cancer MOEs from acute and chronic dermal exposures
                                                 were greater than the MOE benchmark indicating no unreasonable risk (Table
                                                 4-51).Table 4-51). And, while cancer risk estimates from chronic dermal
                                                 exposures indicate risk relative to the Agency’s risk benchmarks in the
                                                 absence of PPE, risk estimates for these scenarios do not indicate risk relative
                                                 to those benchmarks when expected use of PPE was considered (Table 4-53).


                                                     Page 277 of 406
                     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 176 of 854

                                    PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

                 Condition of Use
                                                                           Unreasonable Risk Determination1
Life Cycle Stage    Category      Sub-Category
                                                     Estimated exposed population: 92 workers and occupational non-users are
                                                     exposed to 1-BP in dry cleaning, which includes estimates of individuals
                                                     exposed during spot cleaning and stain removing.
Industrial/      Cleaning and     Liquid cleaner     Section 6(b)(4)(A) unreasonable risk determinations for industrial and
commercial use   furniture care   (e.g., coin and    commercial use of 1-BP as a cleaning and furniture care product in the form
                 products         scissor cleaner)   of liquid cleaner (e.g., coin and scissor cleaner) and liquid spray or aerosol
                                  Liquid             cleaner, as well as other industrial and commercial uses (arts, crafts and
                                  spray/aerosol      hobby materials – adhesive accelerant; automotive care products – engine
                                  cleaner            degreaser, brake cleaner; anti-adhesive agents – mold cleaning and release
                 Other uses       Arts, crafts and   product; building/construction materials not covered elsewhere – insulation;
                                  hobby              electronic and electronic products and metal products; functional fluids
                                  materials -        (closed systems)-refrigerant; functional fluids (open system) - cutting oils;
                                  adhesive           asphalt extraction; laboratory chemicals; temperature indicator – coatings):
                                  accelerant         - Presents an unreasonable risk of injury to health (workers and occupational
                                  Automotive         non-users).
                                                     - Does not present an unreasonable risk of injury to the environment (aquatic,
                                  care products –
                                                     sediment dwelling and terrestrial organisms).
                                  engine
                                                     Unreasonable risk driver:
                                  degreaser,
                                  brake cleaner      Workers:
                                                     - Developmental adverse effects resulting from acute and chronic inhalation
                                  Anti-adhesive
                                                        exposures.
                                  agents – mold
                                                     - Cancer resulting from chronic inhalation exposures.
                                  cleaning and
                                                     Occupational non-users:
                                  release product
                                                     - Developmental adverse effects resulting from acute and chronic inhalation
                                  Building/constr       exposures.
                                  uction             - Cancer resulting from chronic inhalation exposures.
                                  materials not      Benchmarks: Workers and occupational non-users:
                                  covered            - Developmental adverse effects: MOE 100.
                                  elsewhere –        - Cancer: 10-4.
                                  insulation



                                                         Page 278 of 406
                      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 177 of 854

                                      PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

                 Condition of Use
                                                                       Unreasonable Risk Determination1
Life Cycle Stage    Category       Sub-Category
                                  Electronic and Risk estimates:
                                  electronic      Workers:
                                  products and    - Developmental adverse effects: Acute inhalation MOEs 133 and 38
                                  metal products     (central tendency and high-end) with respiratory protection (APF=50)
                                  Functional         (Table 4-17). Chronic inhalation MOEs 188 and 53 (central tendency and
                                  fluids (closed     high-end) with respiratory protection (APF=50) (Table 4-38).
                                  systems) –      - Cancer: Inhalation: 2.E-04 and 7.24E-04 (central tendency and high-end)
                                  refrigerant        with respiratory protection (APF=50) (Table 4-47).
                                  Functional      Occupational   non-users:
                                  fluids (open    -  Developmental   adverse effects: Acute inhalation MOEs 155 and 18
                                  system) –          (central tendency and high-end) (Table 4-17). Chronic inhalation MOEs
                                  cutting oils       218 and 26 (central tendency and high-end) (Table 4-38).
                                  Other – asphalt - Cancer: Inhalation: 1.60E-04 and 1.44E-03 (central tendency and high-end)
                                  extraction         (Table 4-47).
                                                  Systematic Review confidence rating (hazard): High.
                                  Other –         Systematic Review confidence rating (inhalation exposure): High.
                                  laboratory      Risk considerations: Based on products identified in EPA’s preliminary data
                                  chemicals       gathering and information received in public comments, a variety of other
                                  Temperature     aerosol and non-aerosol uses may exist for 1-BP. EPA expects the majority of
                                  indicator –     these conditions of use to be niche uses. EPA has not identified exposure data
                                  coatings        associated with these conditions of use. The worker activity, use pattern, and
                                                  associated exposure will vary for each condition of use. For conditions of use
                                                  where 1-BP is used in an aerosol application, the exposure levels may be as
                                                  high as those presented for aerosol spray degreaser and cleaner. Actual
                                                  exposure levels for each condition of use will likely vary depending on the
                                                  use volume, engineering control, and PPE.
                                                  For aerosol spray degreaser and cleaner, EPA considered two studies with
                                                  monitoring data. In addition, EPA modeled worker exposure to 1-BP during
                                                  brake servicing as a representative exposure scenario to include occupational
                                                  non-users.
                                                  For workers, non-cancer MOEs from acute and chronic dermal exposures
                                                  were greater than the MOE benchmark indicating no unreasonable risk (Table

                                                        Page 279 of 406
                    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 178 of 854

                                  PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

                 Condition of Use
                                                                       Unreasonable Risk Determination1
Life Cycle Stage    Category      Sub-Category
                                                 4-52Table 4-52)Table 4-49. And, while cancer risk estimates from chronic
                                                 dermal exposures indicate risk relative to the Agency’s risk benchmarks in the
                                                 absence of PPE, risk estimates for these scenarios do not indicate risk relative
                                                 to those benchmarks when expected use of PPE was considered (Table 4-53).
                                                 Estimated exposed population: EPA has not identified information on the
                                                 number of potentially exposed workers associated with this condition of use.
Consumer use     Solvent (for   Aerosol spray    Section 6(b)(4)(A) unreasonable risk determination for consumer use of 1-BP
                 cleaning or    degreaser/       as a solvent (for cleaning or degreasing) in the form of aerosol spray
                 degreasing)    cleaner          degreaser or cleaner:
                                                  - Presents an unreasonable risk of injury to health (consumers and
                                                    bystanders).
                                                  - Does not present an unreasonable risk of injury to the environment
                                                    (aquatic, sediment dwelling and terrestrial organisms).
                                                 Unreasonable risk driver:
                                                 Consumers: Developmental adverse effects resulting from acute inhalation
                                                 and dermal exposures.
                                                 Bystanders: Developmental adverse effects resulting from acute inhalation
                                                 exposures
                                                 Benchmark: Consumers and bystanders: Developmental adverse effects MOE
                                                 100.
                                                 Risk estimate:
                                                 Consumers: Developmental adverse effects: Acute inhalation MOE 0.3
                                                 (moderate intensity use) (general cleaner/degreaser) (Table 4-26). Acute
                                                 dermal MOE 3 (adult, moderate intensity use) (Table 4-54Table 4-54).
                                                 Bystanders: Developmental adverse effects: Acute inhalation MOE 1
                                                 (moderate intensity use) (general cleaner/degreaser) (Table 4-26).
                                                 Systematic Review confidence rating (hazard): High.
                                                 Systematic Review confidence rating (exposure): High to high-medium.
                                                 Risk considerations: Modeling was used to evaluate consumer exposure
                                                 resulting from the use of consumer products containing 1-BP. Inputs for this
                                                 modeling approach relied on default values (based on experimental data)
                                                 within the models used, survey information, and various assumptions. As
                                                     Page 280 of 406
                     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 179 of 854

                                    PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

                 Condition of Use
                                                                        Unreasonable Risk Determination1
Life Cycle Stage    Category      Sub-Category
                                                  with any approach to risk evaluations, there are uncertainties associated with
                                                  the assumptions, data used, and approaches used, including: the consumer
                                                  products identified in 2016 and 2017, the national survey information related
                                                  to use of household products contained solvents compiled in 1987, the weight
                                                  fractions identified for consumer products based on SDSs, the physical
                                                  chemical properties of 1-BP used in the models, and the volumes and air
                                                  exchange rates values used from U.S. EPA’s Exposure Factors Handbook.
                                                  Estimated exposed population: There is some general uncertainty regarding
                                                  the nature and extent of the consumer use of 1-BP for the products within the
                                                  scope of this evaluation.
Consumer use     Cleaning and     Spot cleaner,   Section 6(b)(4)(A) unreasonable risk determination for consumer use of 1-BP
                 furniture care   stain remover   as a cleaning and furniture care product in the form of spot cleaner or stain
                 products                         remover:
                                                  - Presents an unreasonable risk of injury to health (consumers and
                                                    bystanders).
                                                  - Does not present an unreasonable risk of injury to the environment (aquatic,
                                                    sediment dwelling and terrestrial organisms).
                                                  Unreasonable risk driver: Consumers and bystanders: Developmental adverse
                                                  effects resulting from acute inhalation exposures.
                                                  Benchmark: Consumers and bystanders: Developmental adverse effects MOE
                                                  100.
                                                  Risk estimates:
                                                  Consumers: Developmental adverse effects: Acute inhalation MOE 2
                                                  (moderate intensity use) (Table 4-26).
                                                  Bystanders: Developmental adverse effects: Acute inhalation MOE 9
                                                  (moderate intensity use) (Table 4-26).
                                                  Systematic Review confidence rating (hazard): High.
                                                  Systematic Review confidence rating (exposure): High to high-medium.
                                                  Risk considerations: Modeling was used to evaluate consumer exposure
                                                  resulting from the use of consumer products containing 1-BP. Inputs for this
                                                  modeling approach relied on default values (based on experimental data)
                                                  within the models used, survey information, and various assumptions. As
                                                      Page 281 of 406
                     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 180 of 854

                                    PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

                 Condition of Use
                                                                         Unreasonable Risk Determination1
Life Cycle Stage    Category      Sub-Category
                                                   with any approach to risk evaluations, there are uncertainties associated with
                                                   the assumptions, data used, and approaches used, including: the consumer
                                                   products identified in 2016 and 2017, the national survey information related
                                                   to use of household products contained solvents compiled in 1987, the weight
                                                   fractions identified for consumer products based on SDSs, the physical
                                                   chemical properties of 1-BP used in the models, and the volumes and air
                                                   exchange rates values used from U.S. EPA’s Exposure Factors Handbook.
                                                   Estimated exposed population: There is some general uncertainty regarding
                                                   the nature and extent of the consumer use of 1-BP for the products within the
                                                   scope of this evaluation.
Consumer use     Cleaning and     Liquid cleaner Section 6(b)(4)(A) unreasonable risk determinations for consumer use of 1-
                 furniture care   (e.g., coin and BP as a cleaning and furniture care product in the form of liquid cleaner (e.g.,
                 products         scissor cleaner) coin and scissor cleaner):
                                                   - Presents an unreasonable risk of injury to health (consumers and
                                                      bystanders).
                                                   - Does not present an unreasonable risk of injury to the environment (aquatic,
                                                   sediment dwelling and terrestrial organisms).
                                                   Unreasonable risk driver:
                                                   Consumers: Developmental adverse effects resulting from acute inhalation
                                                   and dermal exposures.
                                                   Bystanders: Developmental adverse effects resulting from acute inhalation
                                                   exposures.
                                                   Benchmark: Consumers and bystanders: Developmental adverse effects MOE
                                                   100.
                                                   Risk estimate:
                                                   Consumers: Developmental adverse effects: Acute inhalation MOE 2
                                                   (moderate intensity use) (Table 4-26). Acute dermal MOE 8 (adult, moderate
                                                   intensity) (Table 4-54Table 4-54)
                                                   Bystanders: Developmental adverse effects: Acute inhalation MOE 10
                                                   (moderate intensity use) (Table 4-26).
                                                   Systematic Review confidence rating (hazard): High.
                                                   Systematic Review confidence rating (exposure): High to high-medium.
                                                       Page 282 of 406
                     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 181 of 854

                                    PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

                 Condition of Use
                                                                       Unreasonable Risk Determination1
Life Cycle Stage    Category      Sub-Category
                                                  Risk considerations: Modeling was used to evaluate consumer exposure
                                                  resulting from the use of consumer products containing 1-BP. Inputs for this
                                                  modeling approach relied on default values (based on experimental data)
                                                  within the models used, survey information, and various assumptions. As
                                                  with any approach to risk evaluations, there are uncertainties associated with
                                                  the assumptions, data used, and approaches used, including: the consumer
                                                  products identified in 2016 and 2017, the national survey information related
                                                  to use of household products contained solvents compiled in 1987, the weight
                                                  fractions identified for consumer products based on SDSs, the physical
                                                  chemical properties of 1-BP used in the models, and the volumes and air
                                                  exchange rates values used from U.S. EPA’s Exposure Factors Handbook.
                                                  Estimated exposed population: There is some general uncertainty regarding
                                                  the nature and extent of the consumer use of 1-BP for the products within the
                                                  scope of this evaluation.
Consumer use     Cleaning and     Liquid          Section 6(b)(4)(A) unreasonable risk determinations for consumer use of 1-
                 furniture care   spray/aerosol   BP as a cleaning and furniture care product in the form of liquid spray or
                 products         cleaner         aerosol cleaner:
                                                  - Presents an unreasonable risk of injury to health (consumers and
                                                  bystanders).
                                                  - Does not present an unreasonable risk of injury to the environment (aquatic,
                                                  sediment dwelling and terrestrial organisms).
                                                  Unreasonable risk driver: Consumers and bystanders: Developmental adverse
                                                  effects resulting from acute inhalation exposures.
                                                  Benchmark: Consumers and bystanders: Developmental adverse effects MOE
                                                  100.
                                                  Risk estimates:
                                                  Consumers: Developmental adverse effects: Acute inhalation MOE 0.4
                                                  (moderate intensity use) (general spray cleaner) (Table 4-26).
                                                  Bystanders: Developmental adverse effects: Acute inhalation MOE 2
                                                  (moderate intensity use) (general spray cleaner) (Table 4-26).
                                                  Systematic Review confidence rating (hazard): High.
                                                  Systematic Review confidence rating (exposure): High to high-medium.
                                                     Page 283 of 406
                    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 182 of 854

                                  PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

                 Condition of Use
                                                                       Unreasonable Risk Determination1
Life Cycle Stage    Category      Sub-Category
                                                 Risk considerations: Modeling was used to evaluate consumer exposure
                                                 resulting from the use of consumer products containing 1-BP. Inputs for this
                                                 modeling approach relied on default values (based on experimental data)
                                                 within the models used, survey information, and various assumptions. As
                                                 with any approach to risk evaluations, there are uncertainties associated with
                                                 the assumptions, data used, and approaches used, including: the consumer
                                                 products identified in 2016 and 2017, the national survey information related
                                                 to use of household products contained solvents compiled in 1987, the weight
                                                 fractions identified for consumer products based on SDSs, the physical
                                                 chemical properties of 1-BP used in the models, and the volumes and air
                                                 exchange rates values used from U.S. EPA’s Exposure Factors Handbook.
                                                 Estimated exposed population: There is some general uncertainty regarding
                                                 the nature and extent of the consumer use of 1-BP for the products within the
                                                 scope of this evaluation.
Consumer use     Other uses     Arts, crafts and Section 6(b)(4)(A) unreasonable risk determination for consumer use of 1-BP
                                hobby            as arts, crafts and hobby materials in the form of adhesive accelerant:
                                materials -      - Presents an unreasonable risk of injury to health (consumers and
                                adhesive           bystanders).
                                accelerant       - Does not present an unreasonable risk of injury to the environment (aquatic,
                                                   sediment dwelling and terrestrial organisms).
                                                 Unreasonable risk driver: Consumers and bystanders : Developmental adverse
                                                 effects resulting from acute inhalation exposures.
                                                 Benchmark: Consumers and bystanders: Developmental adverse effects MOE
                                                 100.
                                                 Risk estimates:
                                                 Consumers: Developmental adverse effects: Acute inhalation MOE 5
                                                 (moderate intensity use) (Table 4-26).
                                                 Bystanders: Developmental adverse effects: Acute inhalation MOE 28.00
                                                 (moderate intensity use) (Table 4-26).
                                                 Systematic Review confidence rating (hazard): High.
                                                 Systematic Review confidence rating (exposure): High to high-medium.


                                                     Page 284 of 406
                    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 183 of 854

                                  PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

                 Condition of Use
                                                                       Unreasonable Risk Determination1
Life Cycle Stage    Category      Sub-Category
                                                  Risk considerations: Modeling was used to evaluate consumer exposure
                                                  resulting from the use of consumer products containing 1-BP. Inputs for this
                                                  modeling approach relied on default values (based on experimental data)
                                                  within the models used, survey information, and various assumptions. As
                                                  with any approach to risk evaluations, there are uncertainties associated with
                                                  the assumptions, data used, and approaches used, including: the consumer
                                                  products identified in 2016 and 2017, the national survey information related
                                                  to use of household products contained solvents compiled in 1987, the weight
                                                  fractions identified for consumer products based on SDSs, the physical
                                                  chemical properties of 1-BP used in the models, and the volumes and air
                                                  exchange rates values used from U.S. EPA’s Exposure Factors Handbook.
                                                  Estimated exposed population: There is some general uncertainty regarding
                                                  the nature and extent of the consumer use of 1-BP for the products within the
                                                  scope of this evaluation.
Consumer use     Other uses     Automotive        Section 6(b)(4)(A) unreasonable risk determination for consumer use of 1-BP
                                care products –   as automotive care products in the form of refrigerant flush:
                                refrigerant       - Presents an unreasonable risk of injury to health (consumers and
                                flush               bystanders).
                                                  - Does not present an unreasonable risk of injury to the environment (aquatic,
                                                    sediment dwelling and terrestrial organisms).
                                                  Unreasonable risk driver:
                                                  Consumers: Developmental adverse effects resulting from acute inhalation
                                                  and dermal exposures.
                                                  Bystanders: Developmental adverse effects resulting from acute inhalation
                                                  exposures.
                                                  Benchmark: Consumers and bystanders: Developmental adverse effects MOE
                                                  100.
                                                  Risk estimates:
                                                  Consumers: Developmental adverse effects: Acute inhalation MOE 4
                                                  (moderate intensity use) (Table 4-26). Acute dermal MOE 0.1 (adult,
                                                  moderate intensity use) (Table 4-54Table 4-54).


                                                     Page 285 of 406
                    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 184 of 854

                                  PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

                 Condition of Use
                                                                       Unreasonable Risk Determination1
Life Cycle Stage    Category      Sub-Category
                                                Bystanders: Developmental adverse effects: Acute inhalation MOE 19
                                                (moderate intensity use) (Table 4-26).
                                                Systematic Review confidence rating (hazard): High.
                                                Systematic Review confidence rating (exposure): High to high-medium.
                                                Risk considerations: Modeling was used to evaluate consumer exposure
                                                resulting from the use of consumer products containing 1-BP. Inputs for this
                                                modeling approach relied on default values (based on experimental data)
                                                within the models used, survey information, and various assumptions. As
                                                with any approach to risk evaluations, there are uncertainties associated with
                                                the assumptions, data used, and approaches used, including: the consumer
                                                products identified in 2016 and 2017, the national survey information related
                                                to use of household products contained solvents compiled in 1987, the weight
                                                fractions identified for consumer products based on SDSs, the physical
                                                chemical properties of 1-BP used in the models, and the volumes and air
                                                exchange rates values used from U.S. EPA’s Exposure Factors Handbook.
                                                Estimated exposed population: There is some general uncertainty regarding
                                                the nature and extent of the consumer use of 1-BP for the products within the
                                                scope of this evaluation.
Consumer use     Other uses     Anti-adhesive   Section 6(b)(4)(A) unreasonable risk determinations for consumer use of 1-
                                agents - mold   BP as anti-adhesive agents in the form of mold cleaning and release product:
                                cleaning and    - Presents an unreasonable risk of injury to health (consumers and
                                release product   bystanders).
                                                - Does not present an unreasonable risk of injury to the environment (aquatic,
                                                  sediment dwelling and terrestrial organisms).
                                                Unreasonable risk driver: Consumers and bystanders: Developmental adverse
                                                effects resulting from acute inhalation exposures.
                                                Benchmark: Consumers and bystanders: Developmental adverse effects MOE
                                                100.
                                                Risk estimates:
                                                Consumers: Developmental adverse effects: Acute inhalation MOE 4
                                                (moderate intensity use) (Table 4-26).


                                                     Page 286 of 406
                    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 185 of 854

                                  PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

                 Condition of Use
                                                                       Unreasonable Risk Determination1
Life Cycle Stage    Category      Sub-Category
                                                Bystanders: Developmental adverse effects: Acute inhalation MOE 22
                                                (moderate intensity use) (Table 4-26).
                                                Systematic Review confidence rating (hazard): High.
                                                Systematic Review confidence rating (exposure): High to high-medium.
                                                Risk considerations: Modeling was used to evaluate consumer exposure
                                                resulting from the use of consumer products containing 1-BP. Inputs for this
                                                modeling approach relied on default values (based on experimental data)
                                                within the models used, survey information, and various assumptions. As
                                                with any approach to risk evaluations, there are uncertainties associated with
                                                the assumptions, data used, and approaches used, including: the consumer
                                                products identified in 2016 and 2017, the national survey information related
                                                to use of household products contained solvents compiled in 1987, the weight
                                                fractions identified for consumer products based on SDSs, the physical
                                                chemical properties of 1-BP used in the models, and the volumes and air
                                                exchange rates values used from U.S. EPA’s Exposure Factors Handbook.
                                                Estimated exposed population: There is some general uncertainty regarding
                                                the nature and extent of the consumer use of 1-BP for the products within the
                                                scope of this evaluation.
Consumer use     Other uses     Building/constr Section 6(b)(4)(A) unreasonable risk determination for consumer use of 1-BP
                                uction          as building/construction materials not covered elsewhere in the form of
                                materials not   insulation:
                                covered         - Does not present an unreasonable risk of injury to health (consumers or
                                elsewhere -     bystanders) or to the environment (aquatic, sediment dwelling and terrestrial
                                insulation      organisms).
                                                Exposure scenario with highest risk estimate: Consumers: Developmental
                                                adverse effects resulting from acute inhalation exposures.
                                                Benchmark: Developmental adverse effects MOE 100.
                                                Risk estimate: Developmental adverse effects: Acute inhalation MOE 277
                                                (crawlspace) (Table 4-26).
                                                Systematic Review confidence rating (hazard): High.
                                                Systematic Review confidence rating (exposure): High to high-medium.


                                                     Page 287 of 406
                    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 186 of 854

                                  PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

                 Condition of Use
                                                                      Unreasonable Risk Determination1
Life Cycle Stage    Category      Sub-Category
                                                 Risk considerations: Modeling was used to evaluate consumer exposure
                                                 resulting from the use of consumer products containing 1-BP. Inputs for this
                                                 modeling approach relied on default values (based on experimental data)
                                                 within the models used, survey information, and various assumptions. As
                                                 with any approach to risk evaluations, there are uncertainties associated with
                                                 the assumptions, data used, and approaches used, including: the consumer
                                                 products identified in 2016 and 2017, the national survey information related
                                                 to use of household products contained solvents compiled in 1987, the weight
                                                 fractions identified for consumer products based on SDSs, the physical
                                                 chemical properties of 1-BP used in the models, and the volumes and air
                                                 exchange rates values used from U.S. EPA’s Exposure Factors Handbook.
                                                 Estimated exposed population: There is some general uncertainty regarding
                                                 the nature and extent of the consumer use of 1-BP for the products within the
                                                 scope of this evaluation.
Disposal         Disposal       Municipal        Section 6(b)(4)(A) unreasonable risk determination for the disposal of 1-BP:
                                waste            - Does not present an unreasonable risk of injury to health (workers and
                                incinerator      occupational non-users).
                                Off-site waste   - Does not present an unreasonable risk of injury to the environment
                                transfer         (aquatic, sediment dwelling and terrestrial organisms).
                                                 Exposure scenario with highest risk estimate: Workers: Cancer resulting from
                                                 chronic dermal exposure.
                                                 Benchmark: Cancer: 10-4.
                                                 Risk estimate: Workers: Cancer: Dermal: 1.38E-04 for workers using no PPE
                                                 (Table 4-53). Note: There is no unreasonable risk when PPE (gloves APF=5)
                                                 are used.
                                                 Systematic Review confidence rating (health hazard): High.
                                                 Systematic Review confidence rating (health dermal exposure): Medium.
                                                 Risk estimates derived using the EPA Dermal Exposure to Volatile Liquids
                                                 model.
                                                 Risk considerations: non-cancer MOEs from acute and chronic inhalation
                                                 and dermal exposures were greater than the MOE benchmark indicating no
                                                 unreasonable risk (Table 4-25Table 4-25, Table 4-46Table 4-46, and Table
                                                    Page 288 of 406
                             Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 187 of 854

                                                PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

                     Condition of Use
                                                                                          Unreasonable Risk Determination1
    Life Cycle Stage    Category      Sub-Category
                                                                  4-48). And, while cancer risk estimates from chronic inhalation and dermal
                                                                  exposures indicate risk relative to the Agency’s risk benchmarks in the
                                                                  absence of PPE, risk estimates for these scenarios do not indicate risk relative
                                                                  to those benchmarks when expected use of PPE was considered (Table 4-47
                                                                  and Table 4-53).
                                                                  For occupational non-users, exposures were expected to be negligible (Table
                                                                  4-25Table 4-25 and Table 4-46Table 4-46).
                                                                  Estimated exposed population: over 49 workers and 18 occupational non-
                                                                  users.
1
  EPA expects there is compliance with federal and state laws, such as worker protection standards, unless case-specific facts indicate otherwise, and therefore
existing OSHA regulations for worker protection and hazard communication will result in use of appropriate PPE consistent with the applicable SDSs in a manner
adequate to protect them.




                                                                       Page 289 of 406
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 188 of 854




                      Exhibit 9
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 189 of 854

            PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

                                                             EPA Document# EPA-740-R1-8007
                                                                                       June 2019
          United States                       Office of Chemical Safety and Pollution Prevention
          Environmental Protection Agency




                   Draft Risk Evaluation for
                          1,4-Dioxane

                         CASRN: 123-91-1




                                  June 2019
        Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 190 of 854

                     PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

acute PODs for inhalation and dermal exposures based on acute liver toxicity observed in rats (Mattie et
al., 2012). The chronic POD for inhalation exposures are based on effects on nasal tissue in rats (Kasai
et al., 2009). EPA provided chronic PODs for dermal exposure that extrapolated from effects on liver
following exposure through inhalation (Mattie et al., 2012) and exposure through drinking water (Kano
et al., 2009; NCI, 1978; Kociba et al., 1974). EPA also considered the current evidence for two potential
modes of action that would support either a threshold approach or a linear non-threshold approach for
estimating cancer risk. The risk evaluation ultimately calculated cancer risk with a linear model using
cancer slope factors based on evidence of increased risk of cancer in rats exposed to 1,4-dioxane through
air or drinking water (Kano et al., 2009; Kasai et al., 2009). The results of these analyses are described
in section 4.2.

Uncertainties: 1,4-Dioxane is a multi-site carcinogen and may have more than one MOA. There was a
high degree of uncertainty in each of the MOA hypotheses considered in this evaluation (e.g., mutagenic
mode of action or threshold response to cytotoxicity and regenerative hyperplasia for liver tumors).
Chronic non-cancer risk estimates from inhalation exposures were based on portal of entry effects in the
respiratory tract. These effects are relevant to inhalation exposures and are more sensitive than the
observed systemic effects.

Dermal extrapolation and dermal absorption were also sources of uncertainty in the dermal risk
assessment for both dermal cancer and noncancer estimates of risk. Inhalation to dermal and oral to
dermal route-to-route extrapolations were compared for relevance to dermal exposures. Metabolism
occurs in both oral and dermal routes and portal of entry effects from inhalation are not as relevant to
dermal exposures.

Risk Characterization

For environmental risk, EPA estimated risks based on a qualitative assessment of the physical-chemical
properties and fate of 1,4-dioxane in the environment for sediment and land-applied biosolids, and a
quantitative comparison of hazards and exposures for aquatic organisms. EPA utilized a risk quotient
(RQ) to compare the environmental concentration to the effect level to characterize the risk to aquatic
organisms. Table 5-2 in this draft risk evaluation summarizes the RQs for acute and chronic risks of 1,4-
dioxane for aquatic organisms. EPA included a qualitive assessment describing 1,4-dioxane exposure in
sediments and land-applied biosolids.1,4-Dioxane is not expected to accumulate in sediments and is
expected to be mobile in soil and to migrate to water or volatilize to air. The results of the risk
characterization are in section 5.1.

EPA used a Margin of Exposure (MOE) approach to identify potential non-cancer human health risks
and allow for a range of risk estimates. EPA estimated potential inhalation cancer risk from chronic
exposures to 1,4-dioxane by using a range of inhalation unit risk values multiplied by the chronic
exposure to workers and ONUs for each COU. For dermal cancer risk, EPA used the cancer slope factor
multiplied by the chronic exposure to workers and ONUs for each COU. In section 5.2, EPA presents 8
tables which describe risk estimates: for acute/short-term and chronic exposures via inhalation (non-
cancer) to workers and ONUs; chronic exposures via inhalation (cancer) to workers and ONUs; and
acute and chronic dermal exposure (non-cancer) and chronic dermal exposure (cancer) to workers. The
results of these analyses are presented in section 5.2.



                                                 20 of 407
        Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 191 of 854

                     PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

Potentially Exposed Susceptible Subpopulations

TSCA § 6(b)(4) requires that EPA conduct a risk evaluation to “determine whether a chemical
substance presents an unreasonable risk of injury to health or the environment, without consideration of
cost or other non-risk factors, including an unreasonable risk to a potentially exposed or susceptible
subpopulation identified as relevant to the risk evaluation by the Administrator, under the conditions of
use.” TSCA § 3(12) states that “the term ‘potentially exposed or susceptible subpopulation’ means a
group of individuals within the general population identified by the Administrator who, due to either
greater susceptibility or greater exposure, may be at greater risk than the general population of adverse
health effects from exposure to a chemical substance or mixture, such as infants, children, pregnant
women, workers, or the elderly.”

In developing the risk evaluation, the EPA analyzed the reasonably available information to ascertain
whether some human receptor groups may have greater exposure or greater susceptibility than the
general population to the hazard posed by a chemical. The results of the available human health data for
all routes of exposure evaluated (i.e., dermal and inhalation) indicate that there is no evidence of
increased susceptibility for any single group relative to the general population. For consideration of the
most highly exposed groups, EPA considered 1,4-dioxane exposures to be higher amongst workers and
ONUs using 1,4-dioxane as compared to the general population.

Risk Determination

In each risk evaluation under TSCA section 6(b), EPA determines whether a chemical substance
presents an unreasonable risk of injury to health or the environment, under the conditions of use. In
making this determination, EPA considered relevant risk-related factors, including, but not limited to:
the effects of the chemical substance on health and human exposure to such substance under the
conditions of use (including cancer and non-cancer risks); the effects of the chemical substance on the
environment and environmental exposure under the conditions of use; the population exposed (including
any potentially exposed or susceptible subpopulations); the severity of hazard (including the nature of
the hazard, the irreversibility of the hazard); and the uncertainties. EPA considered the confidence in the
data used in the risk estimates and whether estimates might be overestimates or underestimates of risk.
The rationale for the risk determination is located in section 6.2.

Environmental Risks: For all conditions of use, EPA did not identify any exceedances of benchmarks to
aquatic vertebrates, aquatic invertebrates, and aquatic plants from exposures to 1,4-dioxane in surface
waters. Because the RQ values do not exceed 1, and because EPA used a conservative screening level
approach, these values indicate there are no risks of 1,4-dioxane to the aquatic pathways. As a result,
EPA does not find unreasonable risks to the environment for any of the conditions of use for 1,4-
dioxane.

Occupational Non-Users (ONUs): For all conditions of use, inhalation exposure scenarios for
occupational non-users resulted in calculated MOEs and cancer risk levels that did not indicate risk
relative to the respective benchmarks. As a result, EPA does not find unreasonable risks to the health of
occupational non-users from the conditions of use for 1,4-dioxane.

Workers: For the following conditions of use: manufacturing (domestic), processing, industrial use -
(intermediates, processing aids, laboratory chemicals, adhesives and sealants, professional film cement,

                                                21 of 407
         Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 192 of 854

                      PEER REVIEW DRAFT, DO NOT CITE OR QUOTE

printing and printing compositions), and disposal, EPA assessed inhalation and/or dermal exposure
scenarios that resulted in MOEs and/or cancer risk estimates that indicate risks relevant to the respective
benchmarks. EPA considered those risk estimates; confidence in the data used in the risk estimates and
uncertainties associated with the risk estimates; and relevant risk-related factors described above and has
preliminarily concluded that the aforementioned conditions of use present an unreasonable risk of injury
to health, as set forth in the risk determination section of this draft risk evaluation. This draft document’s
preliminarily determination of unreasonable risk does not mean that this is EPA’s final conclusion. EPA
will consider further input through scientific and public review.

For the following conditions of use: manufacturing (import), processing (repackaging), distribution, and
industrial use (functional fluids in open and closed systems, spray polyurethane foam, dry film
lubricant), EPA assessed inhalation and/or dermal exposure scenarios that resulted in MOEs and/or
cancer risk estimates that do not indicate risk relevant to the respective benchmarks. As a result, EPA
finds that the aforementioned conditions of use do not present an unreasonable risk of injury to health.


2 INTRODUCTION
This document presents for comment the draft risk evaluation for 1,4-dioxane under the Frank R.
Lautenberg Chemical Safety for the 21st Century Act. The Frank R. Lautenberg Chemical Safety for the
21st Century Act amended the Toxic Substances Control Act, the Nation’s primary chemicals
management law, in June 2016.

The Agency published the Scope of the Risk Evaluation for 1,4-dioxane (U.S. EPA, 2017d) in June
2017, and the problem formulation in June, 2018 (U.S. EPA, 2018c), which represented the analytical
phase of risk evaluation in which “the purpose for the assessment is articulated, the problem is defined,
and a plan for analyzing and characterizing risk is determined” as described in Section 2.2 of the
Framework for Human Health Risk Assessment to Inform Decision Making. The EPA received
comments on the published problem formulation for 1,4-dioxane and has considered the comments
specific to 1,4-dioxane, as well as more general comments regarding the EPA’s chemical risk evaluation
approach for developing the draft risk evaluations for the first 10 chemicals the EPA is evaluating.

The problem formulation identified the conditions of use and presented two conceptual models and an
analysis plan. In this risk evaluation, EPA evaluated the risk to workers from inhalation and dermal
exposures by comparing the estimated occupational exposures to acute and chronic human health
hazards. While 1,4-dioxane is present in various environmental media such as groundwater, surface
water, and air, EPA determined during problem formulation that no further analysis of the
environmental release pathways for ambient water exposure to aquatic organisms, sediments, and land-
applied biosolids needed to be conducted based on a qualitative assessment of the physical chemical
properties and fate of 1,4-dioxane in the environment and a quantitative comparison of hazards and
exposures for aquatic organisms. Risk determinations were not made as part of problem formulation;
therefore, the results from these analyses are presented in this risk evaluation and used to inform the risk
determination section of this draft risk evaluation.

EPA used reasonably available information consistent with best available science for physical and
chemical properties, environmental fate properties, occupational exposure, environmental hazard, and
human health hazard studies according to the systematic review process. For human exposure pathways,
                                                  22 of 407
    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 193 of 854

                     PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


4.2.6.2.1 Acute/Short-term POD for Inhalation Exposures
EPA identified Mattie et al. (2012) as the highest quality study and most relevant for use in
deriving an acute inhalation point of departure (POD). Mattie et al. (2012) reported a LOAEC of
100 ppm (360 mg/m3) for liver effects in male/female rats exposed to 1,4-dioxane for 6-hour/day
for 5 days/week for 2 weeks. EPA assumed that the selection of this endpoint for dose-response
analysis and risk characterization would be protective of potential acute/short-term effects to the
nasal cavity, lungs, and brain, based on the lower concentration at which liver effects were
reported by Mattie et al. (2012). EPA applied a duration adjustment to the LOAEC to normalize
the concentration from the exposure conditions used by Mattie et al. (2012) to that of workers
(i.e., 8 hours/day, 5 days/week). The duration adjusted POD (PODADJ) was calculated as follows:

                                                          6 hours
                                     PODADJ = POD ×
                                                          8 hours

Where,

PODADJ = the duration adjusted LOAECADJ

POD = the LOAEC

Following EPA’s Methods for Derivation of Inhalation Reference Concentrations and
Application of Inhalation Dosimetry (U.S. EPA, 1994), EPA converted the PODADJ value of 75
ppm (270 mg/m3) to a human equivalent concentration (PODHEC) using the regional gas dose
ratio (RGDR) approach for extrarespiratory effects by calculating a dosimetric adjustment factor
(DAF), which is based on the ratio between the animal and human blood:air partition
coefficients, as shown below:

                                                  (𝐻𝐻𝐻𝐻/𝑔𝑔)𝐴𝐴
                                          DAF =
                                                  (𝐻𝐻𝐻𝐻/𝑔𝑔)𝐻𝐻


where:

(Hb/g)A = the animal blood:air partition coefficient, and

(Hb/g)H = the human blood:air partition coefficient

Sweeney et al. (2008) measured the blood:air partition coefficients in rats (i.e., (Hb/g)A = 1861)
and humans (i.e., (Hb/g)A = 1666). The resulting DAF equates to 1.117; however, when the
DAF is greater than 1, EPA applies a default value of 1 (U.S. EPA, 1994) (see Table 4-8).

The resulting acute inhalation PODHEC is 75 ppm (270 mg/m3) and was considered protective of
liver effects from short-term worker exposures.

EPA applied a composite uncertainty factor (UF) of 300 for the acute inhalation benchmark
MOE for short-term/acute effects, based on the following considerations:
  • An interspecies uncertainty/variability factor of 3 (UFA) was applied for animal-to-human
      extrapolation to account for toxicodynamic differences between species. This uncertainty
                                        Page 109 of 407
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 194 of 854

                     PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


previously stated, an RQ below 1, indicates that the exposure concentrations of 1,4-dioxane are
less than the concentrations that would cause an effect to organisms in the aquatic pathways.

Table 5-2. Calculated Risk Quotients (RQs) for 1,4-Dioxane
                            Concentrations of       Maximum Concentration                  RQ
                             Concern (CoC)
Acute Risk Scenario               247,200 µg/L                   11,500 µg/L              0.046
Chronic Risk                      14,500 µg/L                    5,762 µg/L               0.397
Scenario

For environmental release pathways, EPA quantitatively evaluated surface water exposure to
aquatic vertebrates, invertebrates and aquatic plants and included a qualitative assessment of
risks to sediment organisms and exposure to 1,4-dioxane in land-applied biosolids.

1,4-Dioxane is expected to be present in the aqueous fraction of biosolids and the pore water
within soil and sediment due to its water solubility (> 800 g/L) and low partitioning to organic
matter (log KOC = 0.4). Biosolids produced by wastewater treatment plants (WWTP) may
contain 1,4-dioxane and aquatic organisms may be exposed to 1,4-dioxane via runoff when
biosolids are applied to land. Although 1,4-dioxane is expected in biosolids, the mass of 1,4-
dioxane in biosolids are expected to be low compared to effluent water (<2% of influent 1,4-
dioxane in biosolids versus ~97>95% of influent 1,4-dioxane in effluent water) due to the water
solubility, partitioning coefficient and volatility of 1,4-dioxane. When 1,4-dioxane is released in
the environment, including with land-applied biosolids, it is expected to be mobile in soil and to
migrate to surface waters and groundwater or volatilize to air. 1,4-Dioxane is expected to
volatilize readily from dry soil and surfaces due to its vapor pressure (40 mm Hg). 1,4-Dioxane
has demonstrated low toxicity to aquatic organisms (acute COC >247 mg/L, chronic COC >14
mg/L), and overall the exposures to surface water from biosolids are estimated to be low.
Therefore, there would be no additional expected risk to aquatic organisms from biosolids.

Limited sediment monitoring data for 1,4-dioxane that are available suggest that 1,4-dioxane is
present in sediments, but just as 1,4-dioxane in biosolids is expected to be in the aqueous phase,
1,4-dioxane in sediment is expected to be in the pore water rather than adsorbed to the sediment
solids. 1,4-Dioxane concentrations in pore water are expected to be similar to the concentrations
in the overlying water. Overall, because 1,4-dioxane is not expected to accumulate in sediments,
sediment-dwelling organisms are not expected to be exposed to a greater concentration of 1,4-
dioxane than aquatic organisms and sediment is not expected to be a source of 1,4-dioxane to
overlying surface water.

        5.2                      Human Health Risk
              Human Health Risk Estimation Approach
Development of the 1,4-dioxane hazard and dose-response assessments considered EPA,
National Research Council (NRC), and European Chemicals Agency (ECHA) risk assessment
guidance. Studies conducted via the inhalation and oral routes of exposure were evaluated in this
assessment. The dose-response assessment used for selection of PODs for non-cancer and cancer
                                        Page 131 of 407
    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 195 of 854

                     PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


endpoints and the benchmark dose analyses used in the risk characterization are found in Section
4.2.6.

The use scenarios, populations of interest and toxicological endpoints that were selected for
determining potential risks from acute and chronic exposures presented in Table 5-3.

Table 5-3. Summary of Parameters for Risk Characterization
Populations and                Occupational Exposure Scenarios for 1,4-Dioxane Uses at
Toxicological Approach         Industrial or Commercial Facilities (see Section G.6)
                               Users:
                               Acute- Healthy female and male adult workers (>16 years old)
                               exposed to 1,4-dioxane for a single 8‐hour exposure

                           Chronic- Healthy female and male adult workers (>16 years old)
Population of Interest and exposed to 1,4-dioxane for the entire 8‐hour workday for 260
Exposure Scenario:         days per year for 40 working years
                               Occupational Non-User:
                               Acute or Chronic- Healthy female and male adult workers (>16
                               years old) exposed to 1,4-dioxane indirectly by being in the same
                               work area of the building
                               Acute/Short-term POD:
                               • Short-term inhalation HEC is 75 ppm (270 mg/m3)
                               • 2-Week duration of study is relevant to typical short-term
                                  worker exposures
                           Non‐Cancer PODs:
Health Effects of Concern, • Inhalation 8-hour HEC: 1.67 mg/m3 (olfactory epithelium
Concentration and Time        effects (i.e., metaplasia and atrophy) from Table 4-13)
Duration
                           • Dermal 8-hour HEC: 80 mg/kg-d
                           • Applied the oral 8-hour HEC: 2.56 mg/kg-d [based on
                              NOAEL for Degeneration and necrosis of renal tubular cells
                              and hepatocytes (Kociba et al., 1974)] adjusted for dermal
                              absorption (3.2%)




                                         Page 132 of 407
       Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 196 of 854

                         PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


    Health Effects of Concern, Cancer Health Effects:
    Concentration and Time        • Inhalation Unit Risk (from Table 4-9):
    Duration (cont.)                 - MS-Combo portal of entry + systemic (including liver)
                                     1.18E-6 (µg/m3)-1
                                     - MS-Combo portal of entry + systemic (excluding liver)
                                     1.0E-6 (µg/m3)-1

                                         •    Dermal cancer slope factor (from Table 4-12):1
                                              Extrapolated from oral studies:
                                              - MS-Combo, male, including liver: 6.7E-4 (mg/kg-d)-1
                                              - MS-Combo, female, including liver: 3.2E-4 (mg/kg-d)-1
                                              - MS-Combo, male, excluding liver: 4.2E-4 (mg/kg-d)-1
                                              - MS-Combo, female, excluding liver: 1.7E-4 (mg/kg-d)-1
                                              Extrapolated from inhalation studies:
                                              - MS-Combo, male, including liver: 4.3E-4 (mg/kg-d)-1
                                              - MS-Combo, male, excluding liver: 3.8E-4 (mg/kg-d)-1

                                     Acute/Short-term Inhalation Benchmark MOE = 300
                                        • UFA = 3; UFH = 10; UFL= 10
     Non‐Cancer Margin of Chronic Inhalation Benchmark MOE = 30
       Exposure (MOE)         • UFA = 3; UFH = 10
    Uncertainty Factors (UF)2
                                     Chronic Dermal Benchmark MOE = 30
                                        • UFA = 3; UFH = 10

                                     Inhalation and Dermal:
       Cancer Benchmark
                                        • 1 in 10-4 excess cancer risk for worker populations
1
  A route-to-route extrapolation was performed on the oral and inhalation cancer slope factors as described above in
Section 4.2.6.2.
2
  UFA=interspecies uncertainty/variability; UFH=intraspecies uncertainty/variability; UFL=LOAEL-to-NOAEL
uncertainty.

EPA used a Margin of Exposure (MOE) approach to identify potential non-cancer risks. The
MOE is the ratio of the non-cancer POD divided by a human exposure dose, which is then
compared to a benchmark MOE. If the calculated MOE is less than the benchmark MOE, this
indicates potential risk to human health, whereas if the calculated MOE is equal to or greater
than the benchmark MOE, it suggests that the risks are negligible.

The acute and chronic MOE (MOEacute or MOEchronic) for non-cancer inhalation and dermal risk
were calculated using Equation 5-1.




                                                Page 133 of 407
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 197 of 854

                         PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


Equation 5-1 Equation to Calculate Margin of Exposure for Non‐Cancer Risks Following
Acute or Chronic Exposures

                                                          𝑵𝑵𝑵𝑵𝑵𝑵 − 𝒄𝒄𝒄𝒄𝒄𝒄𝒄𝒄𝒄𝒄𝒄𝒄 𝑯𝑯𝑯𝑯𝑯𝑯𝑯𝑯𝑯𝑯𝑯𝑯 𝒗𝒗𝒗𝒗𝒗𝒗𝒗𝒗𝒗𝒗 (𝑷𝑷𝑷𝑷𝑷𝑷)
                 𝑴𝑴𝑴𝑴𝑴𝑴𝒂𝒂𝒂𝒂𝒂𝒂𝒂𝒂𝒂𝒂 𝒐𝒐𝒐𝒐 𝒄𝒄𝒄𝒄𝒄𝒄𝒄𝒄𝒄𝒄𝒄𝒄𝒄𝒄 =
                                                                      𝑯𝑯𝑯𝑯𝑯𝑯𝑯𝑯𝑯𝑯 𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬𝑬

Where:
MOE                                                             = Margin of exposure (unitless)
Hazard value (POD)                                              = HEC (mg/m3) or HED (mg/kg-d)
Human Exposure                                                  = Exposure estimate (in mg/m3 or mg/kg-d) from
                                                                occupational exposure assessment

The Acute Exposure Concentration (AEC) was used to estimate acute/short-term inhalation risks,
whereas the Average Daily Concentration/Dose (ADC)/D) was used to estimate chronic non‐
cancer inhalation/dermal.

EPA used MOEs 9 to estimate acute and chronic risks for non‐cancer based on the following:
 1. the HECs/HEDs identified for the highest quality studies within each health effects domain;
 2. the endpoint/study‐specific UFs applied to the HECs/HEDs per the review of the EPA
    Reference Dose and Reference Concentration Processes (U.S. EPA, 2002); and
 3. the exposure estimates calculated for 1,4-dioxane conditions under the conditions of use
    (see EXPOSURES Section 3).

MOEs allow for the presentation of a range of risk estimates. The occupational exposure
scenarios considered both acute and chronic exposures. Different adverse endpoints were used
based on the expected exposure durations. For occupational exposure calculations, the 8-hour
TWA was used to calculate MOEs for risk estimates for acute and chronic exposures. For acute
and chronic (non‐cancer) effects, potential risks for adverse effects were based on liver toxicity
for both acute and chronic exposures to 1,4-dioxane.

Risk estimates were calculated for liver effects from studies that were rated under the data
quality criteria as “Medium” or “High”. Liver toxicity was chosen as the basis from which to
estimate risks because of its human relevance, as discussed in the available acute/short-term
human exposure studies under Section 4.2.3.1.

EPA estimated potential cancer risks from chronic exposures to 1,4-dioxane using probabilistic
approaches, which consisted of calculating the extra cancer risk. Each of these approaches is
discussed below.

Extra cancer risks for repeated exposures to 1,4-dioxane were estimated using Equation 5-2.
Estimates of extra cancer risks are interpreted as the incremental probability of an individual
developing cancer over a lifetime following exposure to 1,4-dioxane (i.e., incremental or extra
individual lifetime cancer risk).

9
 Margin of Exposure (MOE) = (Non‐cancer hazard value, POD) ÷ (Human Exposure). Equation 5-1. The
benchmark MOE is used to interpret the MOEs and consists of the total UF shown in Table 5-3.
                                                          Page 134 of 407
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 198 of 854

                       PEER REVIEW DRAFT, DO NOT CITE OR QUOTE



               Risk Estimation for Non-Cancer Effects Following Acute/Short-term Dermal
               Exposures
1,4-Dioxane exposure is associated with acute effects. Based on the weight of the scientific
evidence analysis of the reasonably available toxicity studies from humans and animals, the key
acute/short-term exposure effect is liver toxicity (i.e., single cell necrosis).

The study that serves as the basis for acute/short-term health concerns from dermal exposures is
an inhalation study (Mattie et al., 2012) extrapolated to dermal exposures. Risk estimates for
acute dermal exposures to 1,4-dioxane were determined for the occupational exposure scenarios.
Based on the POD reported by Mattie et al. (2012) (i.e., LOAEC = 378 mg/m3), EPA calculated
an acute dermal HED of 1055 mg/kg/day and an acute dermal benchmark MOE of 300.

Comparing the 8-hour acute retained dose (ARD) for the use scenarios to the acute/short-term
HED for liver effects gives the calculated MOEs shown in Table 5-9. The calculated MOEs for
import/repackaging, industrial use, film cement, and disposal were below the benchmark MOE
for both the central tendency and high-end exposures. The calculated MOEs for manufacturing,
laboratory chemicals, and dry film lubricants were below the benchmark MOE for the high-end
exposures. The results are shown in Table 5-9.

Table 5-9. Dermal Exposure Risk Estimates to Workers: for Acute/Short-term Exposures
Non-Cancer; Benchmark MOE = 300
                                                               Protective Gloves,   Protective Gloves,
 Condition of Use /      No Gloves         Protective Gloves
                                                               Commercial Users      Industrial Users
        Bin               (PF = 1)             (PF = 5)
                                                                   (PF = 10)            (PF = 20)
Manufacturing               48                   240                  480                  960
Import/Repackaging          48                   240                  480                  960
(Bottle/Drum)
Industrial Use              48                   240                  N/A                  960
Functional Fluids         47,980               239,902                N/A                959,608
(Open System)
Lab Chemical Use            44                   219                  439                 N/A
Use of Printing Inks        11                   219                  439                 N/A
(3D)
Spray Foam                43,860               219,298              438,596               N/A
Application
Film Cement                 88                   439                  877                 N/A
Dry Film Lubricant          48                   240                  N/A                  960
Disposal                      48                 240                  N/A                  960
Bold: The MOE is below the benchmark MOE




                                           Page 142 of 407
    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 199 of 854

                     PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


                Risk Estimation for Non-Cancer Effects Following Chronic Dermal
                Exposures
The dermal 8-hour HEC is extrapolated from the oral 8-hour HEC of 2.56 mg/kg-d based on
degeneration and necrosis of renal tubular cells and hepatocytes were calculated using route-to-
route extrapolation from the oral POD (Kociba et al., 1974). The POD for hepatocellular effects
of 2.56 mg/kg/day for oral exposures was extrapolated to estimate a dermally applied dose by
adjusting for the differences in absorption between the oral and dermal routes. Oral absorption
was estimated to be nearly complete by Young et al. (1978a, b) in a study in rats, no data are
available in humans and so 100% oral absorption was used. Dermal absorption was estimated in
a human in vitro skin assay described in Section 4.2.2 (Bronaugh, 1982) measured penetration of
1,4-dioxane through excised human skin to be 3.2% of the applied dose for occluded skin, and
0.3% for unoccluded skin. The occluded absorption value is also consistent with another
unoccluded measured absorption value in monkeys in vivo (2-3%) (Marzulli et al., 1981).
Considering the uncertainties in the oral-to-dermal extrapolation, EPA chose to use 3.2% for the
dermal absorption factor. The actual absorption could be ten-fold lower based on the Bronaugh
in vitro study (Bronaugh, 1982). Therefore, the applied human equivalent dose was calculated as
follows: oral POD of 2.56 mg/kg/day X 100% oral absorption / 3.2% dermal absorption = 80
mg/kg/day.

The skin is a very complex and dynamic human organ composed of an outer epidermis and inner
dermis with functions well beyond that of just a barrier to the external environment. Dermal
absorption depends largely on the barrier function of the stratum corneum, the outermost
superficial layer of the epidermis, and is modulated by factors such as skin integrity, hydration,
density of hair follicles and sebaceous glands, thickness at the site of exposure assessment,
physiochemical properties of the substance, chemical exposure concentration, and duration of
exposure. The workplace protection factor for gloves is based on the ratio of uptake through the
unprotected skin to the corresponding uptake through the hands when protective gloves are worn.
Assessments using the mass loading of chemical on the skin and glove surface could be
undertaken by the mass or area of skin contamination with and without gloves would indicate a
reduction of mass loading or area exposure rather than protection. The exposure assessments
were conducted considering vapor pressure and other physical-chemical properties. of 1,4-
dioxane. Due to increased area of contact and reduced skin barrier properties, and repeated skin
contact with chemicals could have even higher than expected exposure if evaporation of the
carrier occurs and the concentration in contact with the skin increases. In the workplace the
wearing of gloves could have important consequences for dermal uptake. If worker is handling a
chemical without any gloves, a splash of the liquid or immersion of the hand in the chemical may
overwhelm the skin contamination layer so that the liquid chemical essentially comprises the
skin contamination layer. If the material is undiluted, then uptake could proceed rapidly as there
will be a large concentration difference between the skin contamination layer and the peripheral
blood supply. Conversely, if the contaminant material is in a dilute form, there will be relatively
slow uptake. If the worker is wearing a glove the situation will be different. In case the chemical
comes into contact with the outer glove surface, there will be no flux into the inner glove
contamination layer until the chemical breaks through. The chemical could partition into the
glove and then diffuse towards the inner glove surface; then it could partition into the skin
contamination layer. Diffusion through the stratum corneum is dependent on the concentration.

                                         Page 143 of 407
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 200 of 854

                       PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


The glove protection factor is unlikely to be constant for a glove type but could be influenced by
the work situation and the duration of the exposure.

Table 5-10 outlines the non-cancer dermal risk estimates to workers for endpoints with and
without gloves.

Table 5-10. Dermal Exposure Risk Estimates to Workers: Non-Cancer;
Benchmark MOE = 30
                                                               Protective Gloves,   Protective Gloves,
 Condition of Use /      No Gloves         Protective Gloves
                                                               Commercial Users      Industrial Users
        Bin               (PF = 1)             (PF = 5)
                                                                   (PF = 10)            (PF = 20)
Manufacturing               3.8                   19                  N/A                  76
Import/Repackaging         30/16                148/82                N/A                591/326
(Bottle/Drum)
Industrial Use              3.8                   19                  N/A                  76
Functional Fluids          3784                 18919                 N/A                 75677
(Open System)
Lab Chemical Use            3.5                   17                  35                  N/A
Use of Printing Inks        3.5                   17                  35                  N/A
(3D)
Spray Foam                 3437                 17294                34589                N/A
Application
Film Cement                 6.9                   35                  69                  N/A
Dry Film Lubricant          17                    85                  N/A                  338
Disposal                      3.8                 19                  N/A                  76
Bold: The MOE is below the benchmark MOE

                 Risk Estimation for Cancer Effects Following Dermal Exposures

To estimate cancer risks from dermal exposure, EPA considered the exposure in all use scenarios
for dermal exposure: manufacturing/industrial setting, functional fluids, spray foam application,
and film cement. For each of the five scenarios, exposure under conditions with varying levels of
PPE were used. Dermal exposure is assumed to decrease after volatilization of 1,4-dioxane from
the skin. The degree of volatilization was predicted to be 22% based on the physical chemical
properties of 1,4-dioxane. EPA also accounted for dermal absorption as described above in the
risk estimates for chronic non-cancer effects following dermal exposures. The results of the
cancer risk analysis for dermal exposures is presented in Table 5-11.




                                           Page 144 of 407
    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 201 of 854

                     PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


account the conditions of use, the severity of the adverse outcome, and the existence of a
potentially exposed or susceptible subpopulation in determining whether the risk is unreasonable.
For occupational scenarios where risks are less than benchmark for noncancer MOE for high-end
exposures but not for central tendency exposures, EPA will take into account the conditions of
use, the severity of the adverse outcome, and the existence of a potentially exposed or
susceptible subpopulation in determining whether the risk is unreasonable. Where risks greater
than the acceptable benchmarks are identified for high-end exposures, but not for central
tendency exposures, and where EPA determines that a potentially exposed or susceptible
subpopulation is not expected to be affected under the conditions of use, EPA may determine
that while some risk exists, the risk is not unreasonable for the occupational conditions of use.


        5.5 Aggregate and Sentinel Exposures

Section 2605(b)(4)(F)(ii) of TSCA requires the EPA, as a part of the risk evaluation, to describe
whether aggregate or sentinel exposures under the conditions of use were considered and the
basis for their consideration. The EPA has defined aggregate exposure as “the combined
exposures to an individual from a single chemical substance across multiple routes and across
multiple pathways (40 CFR § 702.33).” As a result of the limited nature of all routes of exposure
to individuals (i.e., occupational) resulting from the conditions of use of 1,4-dioxane, a
consideration of aggregate exposures of 1,4-dioxane was deemed not to be applicable for this
risk evaluation. The EPA defines sentinel exposure as “the exposure to a single chemical
substance that represents the plausible upper bound of exposure relative to all other exposures
within a broad category of similar or related exposures (40 CFR § 702.33).” In terms of this risk
evaluation, the EPA considered sentinel exposure the highest exposure given the details of the
conditions of use and the potential exposure scenarios.


   6 RISK DETERMINATION

   6.1 Unreasonable Risk

               Overview

In each risk evaluation under TSCA section 6(b), EPA determines whether a chemical substance
presents an unreasonable risk of injury to health or the environment, under the conditions of use.
The determination does not consider costs or other non-risk factors. In making this
determination, EPA considers relevant risk-related factors, including, but not limited to: the
effects of the chemical substance on health and human exposure to such substance under the
conditions of use (including cancer and non-cancer risks); the effects of the chemical substance
on the environment and environmental exposure under the conditions of use; the population
exposed (including any potentially exposed or susceptible subpopulations); the severity of hazard
(including the nature of the hazard, the irreversibility of the hazard); and uncertainties. EPA
takes into consideration the Agency’s confidence in the data used in the risk estimate. This
                                           Page 152 of 407
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 202 of 854

                         PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


includes an evaluation of the strengths, limitations and uncertainties associated with the
information used to inform the risk estimate and the risk characterization. This approach is in
keeping with the Agency’s final rule, Procedures for Chemical Risk Evaluation Under the
Amended Toxic Substances Control Act (82 FR 33726). 10

Under TSCA, conditions of use are defined as the circumstances, as determined by the
Administrator, under which the substance is intended, known, or reasonably foreseen to be
manufactured, processed, distributed in commerce, used, or disposed of. TSCA §3(4).

An unreasonable risk may be indicated when health risks under the conditions of use are greater
than the risk benchmarks and where the risks affect the general population or certain potentially
exposed or susceptible subpopulations (PESS), such as consumers. For other PESS, such as
workers, an unreasonable risk may be indicated when health risks under the conditions of use are
greater than the risk benchmarks and where risks are not adequately addressed through expected
use of workplace practices and exposure controls, including engineering controls or use of
personal protective equipment (PPE). An unreasonable risk may also be indicated when
environmental risks under the conditions of use are greater than ecological risk benchmarks.

Throughout TSCA risk evaluation documents, EPA uses the terms “greater than risk
benchmarks” or “exceeds risk benchmarks” to indicate EPA concern for potential unreasonable
risk. For non-cancer endpoints, this occurs if an MOE value is less than the benchmark MOE
(e.g., MOE is .3 and benchmark MOE is 30); for cancer endpoints, this occurs if the lifetime
cancer risk value is greater than 1 in 10,000 (e.g., cancer risk value is 5x10-2 which is greater
than the standard range of acceptable cancer risk benchmarks of 1x10-4 to 1x10-6); for ecological
endpoints, this occurs if the risk quotient (RQ) value is >1. Conversely, this risk determination
uses the term “below risk benchmarks” to indicate no EPA concern for potential unreasonable
risk. More details are described below.

The degree of uncertainty surrounding these indications is a factor in determining whether or not
unreasonable risk is present. Where uncertainty is low and EPA has high confidence in the
hazard and exposure characterizations (for example, the basis for the characterizations is
measured or monitoring data or a robust model and the hazards identified for risk estimation are
relevant for conditions of use), the Agency has a higher degree of confidence in its risk
determination. EPA may also consider other risk factors, such as severity of endpoint,
reversibility of effect, or exposure-related considerations such as magnitude or number of
exposures, in determining that the risks are unreasonable under the conditions of use. Where
EPA has made assumptions in the scientific evaluation, whether or not those assumptions are
protective will also be a consideration. Additionally, EPA considers the central tendency and
high-end scenarios when determining the unreasonable risk. High-end risk estimates (e.g. 95th
percentile) are generally intended to cover the most exposed individuals or sub-populations and
central tendency risk estimates are generally estimates of average or typical exposure.



10
  This risk determination is being issued under TSCA section 6(b) and the terms used, such as unreasonable risk,
and the considerations discussed are specific to TSCA. Other statutes have different authorities and mandates and
may involve risk considerations other than those discussed here.
                                                Page 153 of 407
    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 203 of 854

                      PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


Conversely, EPA may make a no unreasonable risk determination for conditions of use where
the substance’s hazard and exposure potential, or where the risk-related factors described
previously, lead EPA to determine that the risks are not unreasonable.


               Risks to Human Health


            6.1.2.1   Determining Non-Cancer Risks

Margins of exposure (MOEs) are used in EPA’s risk evaluations as a starting point to estimate
non-cancer risks for acute and chronic exposures. The non-cancer evaluation refers to potential
adverse health effects associated with health endpoints other than cancer, including to the body’s
organ systems, such as reproductive/developmental effects, cardiac and lung effects, kidney and
liver effects. The MOE is the point of departure (an approximation of the no-observed adverse
effect level (NOAEL) or benchmark dose level (BMDL)) for a specific health endpoint divided
by the exposure concentration for the specific scenario of concern. The benchmark MOE that is
used accounts for the total uncertainty in a point of departure, including, as appropriate: (1) the
variation in sensitivity among the members of the human population (i.e., intrahuman/
intraspecies variability); (2) the uncertainty in extrapolating animal data to humans (i.e.,
interspecies variability); (3) the uncertainty in extrapolating from data obtained in a study with
less-than-lifetime exposure to lifetime exposure (i.e., extrapolating from subchronic to chronic
exposure); and (4) the uncertainty in extrapolating from a lowest observed adverse effect level
rather than from a NOAEL. MOEs provide a non-cancer risk profile by presenting a range of
estimates for different non-cancer health effects for different exposure scenarios and are a widely
recognized point estimate method for evaluating a range of potential non-cancer health risks
from exposure to a chemical.

A calculated MOE value that is under the benchmark MOE indicates the possibility of risk to
human health. Whether those risks are unreasonable will depend upon other risk-related factors,
such as severity of endpoint, reversibility of effect, exposure-related considerations (e.g.
duration, magnitude, frequency of exposure, population exposed), and the confidence in the
information used to inform the hazard and exposure values. If the calculated MOE is greater than
the benchmark MOE, generally it is less likely that there is risk.

Uncertainty factors also play an important role in the risk estimation approach and in
determining unreasonable risk. A lower benchmark MOE (e.g. 30) indicates greater certainty in
the data (because fewer of the default uncertainty factors are relevant to a given point of
departure as described above were applied). A higher benchmark MOE (e.g. 1000) would
indicate more uncertainty in risk estimation and extrapolation for the MOE for specific endpoints
and scenarios. However, these are often not the only uncertainties in a risk evaluation.


            6.1.2.2   Determining Cancer Risks

EPA estimates cancer risks by determining the incremental increase in probability of an individual
in an exposed population developing cancer over a lifetime (excess lifetime cancer risk (ELCR))
                                       Page 154 of 407
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 204 of 854

                         PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


following exposure to the chemical under specified use scenarios. Standard cancer benchmarks
used by EPA and other regulatory agencies are an increased cancer risk above benchmarks ranging
from 1 in 1,000,000 to 1 in 10,000 (i.e., 1x10-6 to 1x10-4) depending on the subpopulation exposed.
Generally, EPA considers 1 x 10-6 to 1x 10-4 as the appropriate benchmark for the general
population, consumer users, and non-occupational potentially exposed or susceptible
subpopulations (PESS). 11

For 1,4-dioxane, EPA, consistent with 2017 NIOSH guidance 12, used 1 x 10-4 as the benchmark for
the purposes of this risk determination for individuals in industrial and commercial work
environments subject to Occupational Safety and Health Act (OSHA) requirements. It is important
to note that 1x10-4 is not a bright line and EPA has discretion to find unreasonable risks based on
other benchmarks as appropriate based on analysis. It is important to note that exposure related
considerations (duration, magnitude, population exposed) can affect EPA’s estimates of the ELCR.


                  Determining Environmental Risk

To assess environmental risk, EPA identifies and evaluates environmental hazard data for aquatic,
sediment-dwelling, and terrestrial organisms exposed under acute and chronic exposure
conditions. The environmental risk includes any risks that exceed benchmarks to the aquatic
environment from levels of the evaluated chemical found in the environmental (e.g., surface
water, sediment, soil, biota) based on the fate properties, relatively high potential for release, and
the availability of environmental monitoring data and hazard data.

Environmental risks are estimated by calculating a risk quotient (RQ). The RQ is defined as:

                            RQ = Environmental Concentration / Effect Level

An RQ equal to 1 indicates that the exposures are the same as the concentration that causes
effects. If the RQ exceeds 1, the exposure is greater than the effect concentration and there is
potential for risk presumed. If the RQ does not exceed 1, the exposure is less than the effect
concentration and there is no risk presumed. The Concentrations of Concern or hazard value for
certain aquatic organisms are used to calculate RQs for acute and chronic exposures. For
environmental risk, EPA is more likely to determine that there is unreasonable risk if the RQ
11
   As an example, when EPA’s Office of Water in 2017 updated the Human Health Benchmarks for Pesticides, the
benchmark for a “theoretical upper-bound excess lifetime cancer risk” from pesticides in drinking water was
identified as 1 in 1,000,000 to 1 in 10,000 over a lifetime of exposure (EPA Human Health Benchmarks for
Pesticides: Updated 2017 Technical Document. January 2017. https://www.epa.gov/sites/production/files/2015-
10/documents/hh-benchmarks-techdoc.pdf). Similarly, EPA’s approach under the Clean Air Act to evaluate residual
risk and to develop standards is a two-step approach that includes a “limit on maximum individual lifetime [cancer]
risk (MIR) of approximately 1 in 10 thousand” (54 FR 38045, September 14, 1989) and consideration of whether
emissions standards provide an ample margin of safety to protect public health “in consideration of all health
information, including the number of persons at risk levels higher than approximately 1 in 1 million, as well as other
relevant factors” (54 FR 38045, September 14, 1989).
12
   International Union, UAW v. Pendergrass, 878 F.2d 389 (D.C. Cir. 1989), citing Industrial Union Department,
AFL-CIO v. American Petroleum Institute, 448 U.S. 607 (“Benzene decision”), in which a lifetime cancer risk of 1
in 1,000 was found to be clearly significant; and NIOSH [2017]. Current intelligence bulletin 68: NIOSH chemical
carcinogen policy, available at https://www.cdc.gov/niosh/docs/2017-100/pdf/2017-100.pdf.
                                                 Page 155 of 407
    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 205 of 854

                     PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


exceeds 1 for the conditions of use being evaluated. Consistent with EPA’s human health
evaluations, the RQ is not always treated as a bright line and other risk-based factors may be
considered (e.g., exposure scenario, uncertainty, severity of effect) for purposes of making a risk
determination.

   6.2 Risk Determination for 1,4-Dioxane

EPA’s determination of unreasonable risk for the conditions of use of 1,4-dioxane listed below is
based on health risks to workers during occupational exposures. As described below, risks to the
environment, general population, consumers, and occupational non-users either were not relevant
for these conditions of use or were evaluated and not found to be unreasonable.

   •    Environmental risks: For all conditions of use, EPA did not identify any exceedances of
        benchmarks to aquatic vertebrates, aquatic invertebrates, and aquatic plants from
        exposures to 1,4-dioxane in surface waters. The RQ values for acute and chronic risks are
        0.046 and 0.397, respectively (See Table 5-2). An RQ that does not exceed 1 indicates
        that the exposure concentrations of 1,4-dioxane are less than the concentrations that
        would cause an effect to organisms in the aquatic pathways. Because the RQ values do
        not exceed 1, and because EPA used a conservative screening level approach, these
        values indicate there are no risks of 1,4-dioxane to the aquatic pathways. As a result, EPA
        does not find unreasonable risks to the environment from the conditions of use for 1,4-
        dioxane.

    •   General population: As part of the problem formulation for 1,4-dioxane, EPA
        identified exposure pathways under other environmental statutes, administered by EPA,
        which adequately assess and effectively manage exposures and for which long-standing
        regulatory and analytical processes already exist, i.e., the Clean Air Act (CAA), the Safe
        Drinking Water Act (SDWA), the Clean Water Act (CWA) and the Resource
        Conservation and Recovery Act (RCRA). OCSPP works closely with the offices within
        EPA that administer and implement the regulatory programs under these statutes. In
        some cases, EPA has determined that chemicals present in various media pathways (i.e.,
        air, water, land) fall under the jurisdiction of existing regulatory programs and associated
        analytical processes carried out under other EPA-administered statutes and have been
        assessed and effectively managed under those programs. EPA believes that the TSCA
        risk evaluation should focus on those exposure pathways associated with TSCA uses that
        are not subject to the regulatory regimes discussed above because these pathways are
        likely to represent the greatest areas of concern to EPA. Exposures to 1,4-dioxane to
        receptors (i.e., general population) may occur from industrial and/or commercial uses;
        industrial releases to air, water or land; and other conditions of use. As described above,
        other environmental statutes administered by EPA adequately assess and effectively
        manage these exposures. Therefore, EPA did not evaluate hazards or exposures to the
        general population in this risk evaluation, and there is no risk determination for the
        general population. [Problem Formulation of the Risk Evaluation for 1,4-Dioxane, (U.S.
        EPA, 2018c)]


                                         Page 156 of 407
              Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 206 of 854

                              PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


          •     Consumers: EPA did not identify any expected consumer uses from the conditions of
                use of 1,4-dioxane. Therefore, EPA did not evaluate hazards or exposures to consumers
                in this risk evaluation, and there is no risk determination for this population.


          •     Occupational non-users: EPA evaluated inhalation risks for acute and chronic
                exposures for occupational non-users. Dermal exposures were not evaluated because
                occupational non-users do not typically directly handle the 1,4-dioxane nor are they in
                the immediate proximity of 1,4-dioxane. For all conditions of use, inhalation exposure
                scenarios for occupational non-users resulted in calculated MOEs and cancer risk levels
                did not indicate risk relative to the respective benchmarks (Tables 5-7 and 5-9). As a
                result, EPA does not find unreasonable risks to the health of occupational non-users from
                the conditions of use for 1,4-dioxane.

      Table 6-1. Risk Determination by Conditions of Use
Condition of Use
                           Sub-Category Unreasonable Risk Determination
                                                                       1
Life Cycle    Category
Stage
                                               “Exceeds Agency risk benchmarks” = indicates
                                               potential risk
                                                  • Human Health
                                                           o Non-cancer MOE value < MOE
                                                             benchmark (e.g., MOE=0.3;
                                                             benchmark=30)
                                                           o Cancer value >1.0E-04 to 1.0E-06 cancer
                                                             benchmark (e.g., cancer value=1x10-3;
                                                             benchmark=1x10-6)
                                                   •   Environmental
                                                           o RQ value >1 (e.g., RQ=5; benchmark=1)

Manufacture     Domestic       Domestic        Section 6(b)(4)(A) unreasonable risk determination for
                Manufacture    Manufacture     domestic manufacture of 1,4-dioxane:
                                               - Presents an unreasonable risk of injury to health
                                               (workers)
                                               - Does not present an unreasonable risk of injury to health
                                               (occupational non-users) or to aquatic vertebrates, aquatic
                                               invertebrates, and aquatic plants from exposures to 1,4-
                                               dioxane in surface waters.
                                               Unreasonable risk driver: Cancer resulting from chronic
                                               dermal occupational exposure and noncancer portal of entry



                                                Page 157 of 407
             Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 207 of 854

                          PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


Condition of Use
                           Sub-Category Unreasonable Risk Determination
                                                                       1
Life Cycle     Category
Stage
                                         effects resulting from chronic inhalation occupational
                                         exposure.
                                         Driver benchmarks: 1.0E-04 to 1.0E-06 for cancer. For this
                                         evaluation, the Agency is using 1.0E-04 for occupational
                                         exposures. MOE = 30 for noncancer portal of entry effects.
                                         Risk estimates: 3.6E-04 with workers using PPE (gloves
                                         where PF = 20) (see Table 5-11); MOE = 11 with workers
                                         using PPE (respirator where APF = 50) (see Table 5-5).
                                         (High-end estimates)
                                         Systematic Review confidence rating (hazard): High
                                         Systematic Review confidence rating (dermal exposure): N/A
                                         (risks estimates derived using the EPA Dermal Exposure to
                                         Volatile Liquids model).
                                         Systematic Review confidence rating (inhalation exposure):
                                         High
                                         Risk Considerations: The modeling used to calculate dermal
                                         risk estimates has some uncertainties that could overestimate
                                         risk. For example, to address the uncertainty due to lack of
                                         monitoring data, the model considered a thin film of product
                                         on a defined skin area. A multiplicative factor was
                                         incorporated to the model to include the proportion of 1,4-
                                         dioxane remaining on the skin after wiping. In order to be
                                         protective, the value used for the amount of 1,4-dioxane
                                         remaining on the skin is a default high-end value of a limited
                                         dataset. The dermal absorption value, a critical input used to
                                         calculate risk, is based on human in vitro and primate data
                                         rather than default assumptions. Considering the uncertainties
                                         in the oral-to-dermal extrapolation, EPA chose to use 3.2%,
                                         the higher value, for the dermal absorption factor. The actual
                                         absorption could be ten-fold lower based on the Bronaugh in
                                         vitro study (Bronaugh, 1982). For this pathway, EPA expects
                                         that the risks are not underestimated.
                                         The hazard data used to calculate chronic noncancer
                                         inhalation risk estimates could overestimate risk. Chronic
                                         noncancer inhalation risks for workers were estimated based
                                         on portal of entry effects from a two-year inhalation study in
                                         rats (Kasai et al., 2009). This study used whole body
                                         exposures, introducing uncertainty with respect to the actual
                                         doses the animals received such that the effect levels reported
                                         may overestimate the potential inhalation toxicity. For this
                                         pathway, EPA expects that the risks are not underestimated.


                                         Page 158 of 407
              Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 208 of 854

                           PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


Condition of Use
                            Sub-Category Unreasonable Risk Determination
                                                                        1
Life Cycle      Category
Stage
                                          For a detailed discussion of the uncertainties related to the
                                          risk evaluation see the section 5.3.
                                          While risk estimates for other pathways of occupational
                                          exposure for this condition of use (such as chronic cancer
                                          inhalation exposures and noncancer dermal exposures)
                                          exceed the Agency’s risk benchmarks in the absence of PPE
                                          (indicating risk), risk estimates for these pathways do not
                                          indicate risk when PPE was considered (see Tables 5-8, 5-
                                          10).
                                          Estimated exposed population: 78 workers, 36 occupational
                                          non-users

Manufacture     Import      Import        Section 6(b)(4)(A) unreasonable risk determination for
                                          import of 1,4-dioxane:
                                          - Does not present an unreasonable risk of injury to health
                                          (workers and occupational non-users) or to aquatic
                                          vertebrates, aquatic invertebrates, and aquatic plants from
                                          exposures to 1,4-dioxane in surface waters.

                                          Exposure scenario with highest risk estimate: Noncancer
                                          portal of entry effects resulting from chronic inhalation
                                          occupational exposure.

                                          Benchmark: MOE = 30 for noncancer portal of entry effects.
                                          Risk estimate: MOE = 25 with workers using PPE (respirator
                                          where APF = 50) (see Table 5-5). (High-end estimate)
                                          Systematic Review confidence rating (hazard): High
                                          Systematic Review confidence rating (inhalation exposure):
                                          N/A (risks estimates derived using the EPA AP-42 Loading
                                          Model and the EPA Mass Balance Inhalation Model).
                                          Risk Considerations: The hazard data used to calculate
                                          chronic noncancer inhalation risk estimates have
                                          uncertainties that could overestimate risk. Chronic noncancer
                                          inhalation risks for workers were estimated based on portal of
                                          entry effects from a two-year inhalation study in rats (Kasai
                                          et al., 2009). This study used whole body exposures,
                                          introducing uncertainty with respect to the actual doses the
                                          animals received such that the effect levels reported may
                                          overestimate the potential inhalation toxicity.
                                          The modeling used to calculate inhalation risk estimates has
                                          some uncertainties that could overestimate risk. EPA
                                          assumed certain process details, such as container sizes and
                                          Page 159 of 407
             Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 209 of 854

                             PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


Condition of Use
                              Sub-Category Unreasonable Risk Determination
                                                                          1
Life Cycle     Category
Stage
                                               loading and unloading frequency. Additionally, EPA
                                               assumed that the process steps associated with this scenario
                                               occur indoors, without engineering controls, and in an open-
                                               system environment where vapors freely escape. In the
                                               absence of industry-specific information, these assumptions
                                               provide for conservative estimates for exposures. Actual
                                               exposures may be less due to various factors including
                                               closed-system loading and unloading, the use of vapor
                                               recovery systems, or the automation of various process steps.
                                               For this pathway, EPA expects that the risks are not
                                               underestimated. For a detailed discussion of the uncertainties
                                               related to the risk evaluation see the section 5.3.
                                               EPA considered the uncertainties described above for both
                                               hazard and exposure, the expected use of PPE, the fact that
                                               the risk estimates using central tendency exposure
                                               assumptions are below the benchmark, and the proximity of
                                               the calculated risk estimate using high-end exposure
                                               assumptions to the benchmark to determine that this
                                               condition of use does not present an unreasonable risk via
                                               this pathway.
                                               While risk estimates for other pathways of occupational
                                               exposure for this condition of use (such as chronic cancer
                                               inhalation exposures and chronic cancer and noncancer
                                               dermal exposures) exceed the Agency’s risk benchmarks in
                                               the absence of PPE, risk estimates for these pathways do not
                                               indicate risk relative to those benchmarks when PPE was
                                               considered (see Tables 5-8, 5-10, 5-11).
                                               Estimated exposed population: 18 workers, 198 occupational
                                               non-users

Processing     Repackaging    Bulk to          Section 6(b)(4)(A) unreasonable risk determination for
                              packages, then   processing of 1,4-dioxane by repackaging: Section 6(b)(4)(A)
                              Distribute       unreasonable risk determination for processing of 1,4-
                                               dioxane by repackaging:
                                               ‐ Does not present an unreasonable risk of injury to health
                                               (workers and occupational non-users) or to aquatic
                                               vertebrates, aquatic invertebrates, and aquatic plants from
                                               exposures to 1,4-dioxane in surface waters.
                                               Exposure scenario with highest risk estimate: Noncancer
                                               portal of entry effects resulting from chronic inhalation
                                               occupational exposure.
                                               Benchmark: MOE = 30 for noncancer portal of entry effects.

                                               Page 160 of 407
             Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 210 of 854

                          PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


Condition of Use
                           Sub-Category Unreasonable Risk Determination
                                                                       1
Life Cycle     Category
Stage

                                         Risk estimate: MOE = 25 with workers using PPE (respirator
                                         where APF = 50) (see Table 5-5). (High-end estimate)

                                         Systematic Review confidence rating (hazard): High

                                         Systematic Review confidence rating (inhalation exposure):
                                         N/A (risks estimates derived using the EPA AP-42 Loading
                                         Model and the EPA Mass Balance Inhalation Model).

                                         Risk Considerations: The hazard data used to calculate
                                         chronic noncancer inhalation risk estimates have
                                         uncertainties that could overestimate risk. Chronic noncancer
                                         inhalation risks for workers were estimated based on portal of
                                         entry effects from a two-year inhalation study in rats (Kasai
                                         et al., 2009). This study used whole body exposures,
                                         introducing uncertainty with respect to the actual doses the
                                         animals received such that the effect levels reported may
                                         overestimate the potential inhalation toxicity.

                                         The modeling used to calculate inhalation risk estimates has
                                         some uncertainties that could overestimate risk. EPA
                                         assumed certain process details, such as container sizes and
                                         loading and unloading frequency. Additionally, EPA
                                         assumed that the process steps associated with this scenario
                                         occur indoors, without engineering controls, and in an open-
                                         system environment where vapors freely escape. In the
                                         absence of industry-specific information, these assumptions
                                         provide for conservative estimates for exposures. Actual
                                         exposures may be less due to various factors including
                                         closed-system loading and unloading, the use of vapor
                                         recovery systems, or the automation of various process steps.
                                         For this pathway, EPA expects that the risks are not
                                         underestimated. For a detailed discussion of the uncertainties
                                         related to the risk evaluation see the section 5.3.

                                         EPA considered the uncertainties described above for both
                                         hazard and exposure, the expected use of PPE, the fact that
                                         the risk estimates using central tendency exposure
                                         assumptions are not below the benchmark, and the proximity
                                         of the calculated risk estimate using high-end exposure
                                         assumptions to the benchmark to determine that this
                                         condition of use does not present an unreasonable risk via
                                         this pathway.


                                         Page 161 of 407
             Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 211 of 854

                               PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


Condition of Use
                                Sub-Category Unreasonable Risk Determination
                                                                            1
Life Cycle     Category
Stage
                                                 While risk estimates for other pathways of occupational
                                                 exposure for this condition of use (such as chronic cancer
                                                 inhalation exposures and chronic cancer and noncancer
                                                 dermal exposures) exceed the Agency’s risk benchmarks in
                                                 the absence of PPE, risk estimates for these pathways do not
                                                 indicate risk relative to those benchmarks when PPE was
                                                 considered (see Tables 5-8, 5-10, 5-11).

                                                 Estimated exposed population: 18 workers, 198 occupational
                                                 non-users

Processing     Processing as    Pharmaceutical   Section 6(b)(4)(A) unreasonable risk determinations for 1,4-
               a reactant       intermediate     dioxane for processing as a reactant, non-incorporative
                                                 processing, and recycling:
                                Polymerization
                                catalyst         - Presents an unreasonable risk of injury to health
                                                 (workers)
                                                  - Does not present an unreasonable risk of injury to health
               Non-             Pharmaceutical (occupational non-users) or to aquatic vertebrates, aquatic
               incorporative    and               invertebrates, and aquatic plants from exposures to 1,4-
                                medicine          dioxane in surface waters.
                                manufacturing
                                (process solvent) Unreasonable risk driver: Cancer resulting from chronic
                                                  dermal occupational exposure and noncancer portal of entry
                                Basic organic     effects resulting from chronic inhalation occupational
                                chemical          exposure.
                                manufacturing     Driver benchmarks: 1.0E-04 to 1.0E-06 for cancer. For this
                                (process solvent) evaluation, the Agency is using 1.0E-04 for occupational
                                                  exposures. MOE = 30 for noncancer portal of entry effects.
               Recycling        Recycling
                                                  Risk estimates: 3.6E-04 with workers using PPE (gloves
                                                  where PF=20) (see Table 5-11); MOE = 4 with workers using
                                                  PPE (respirator where APF = 50) (see Table 5-5). (High-end
                                                  estimates)
                                                 Systematic Review confidence rating (hazard): High
                                                 Systematic Review confidence rating (dermal exposure): N/A
                                                 (risks estimates derived using the EPA Dermal Exposure to
                                                 Volatile Liquids model).
                                                 Systematic Review confidence rating (inhalation exposure):
                                                 High
                                                 Risk Considerations: The modeling used to calculate dermal
                                                 risk estimates has some uncertainties that could overestimate
                                                 risk. For example, to address the uncertainty due to lack of
                                                 monitoring data, the model considered a thin film of product

                                                  Page 162 of 407
             Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 212 of 854

                          PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


Condition of Use
                           Sub-Category Unreasonable Risk Determination
                                                                       1
Life Cycle     Category
Stage
                                         on a defined skin area. A multiplicative factor was
                                         incorporated to the model to include the proportion of 1,4-
                                         dioxane remaining on the skin after wiping. To be protective,
                                         the value used for the amount of 1,4-dioxane remaining on
                                         the skin is a default high-end value of a limited dataset. The
                                         dermal absorption value, a critical input used to calculate
                                         risk, is based on human in vitro and primate data rather than
                                         default assumptions. Considering the uncertainties in the
                                         oral-to-dermal extrapolation, EPA chose to use 3.2%, the
                                         higher value, for the dermal absorption factor. The actual
                                         absorption could be ten-fold lower based on the Bronaugh in
                                         vitro study (Bronaugh, 1982). For this pathway, EPA expects
                                         that the risks are not underestimated.
                                         The hazard data used to calculate chronic noncancer
                                         inhalation risk estimates could overestimate risk. Chronic
                                         noncancer inhalation risks for workers were estimated based
                                         on portal of entry effects from a two-year inhalation study in
                                         rats (Kasai et al., 2009). This study used whole body
                                         exposures, introducing uncertainty with respect to the actual
                                         doses the animals received such that the effect levels reported
                                         may overestimate the potential inhalation toxicity. For this
                                         pathway, EPA expects that the risks are not underestimated.
                                         For a detailed discussion of the uncertainties related to the
                                         risk evaluation see the section 5.3.
                                         While risk estimates for other pathways of occupational
                                         exposure for this condition of use (such as chronic cancer
                                         inhalation exposures and noncancer dermal exposures)
                                         exceed the Agency’s risk benchmarks in the absence of PPE,
                                         risk estimates for these pathways do not indicate risks relative
                                         to those benchmarks when PPE was considered (see Tables
                                         5-8, 5-10).
                                         EPA developed risk estimates for a single processing use
                                         scenario, with the exception of repackaging. The results of
                                         this scenario are intended to broadly address the potential
                                         exposures associated with each of the sub-categories for this
                                         condition of use.
                                         Estimated exposed population: 1,400 workers, 545
                                         occupational non-users. The assumption for number of
                                         workers and occupational non-users covers multiple
                                         categories and sub-categories across processing of 1,4-
                                         dioxane.




                                         Page 163 of 407
             Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 213 of 854

                                PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


Condition of Use
                                 Sub-Category Unreasonable Risk Determination
                                                                             1
Life Cycle       Category
Stage
Industrial use   Intermediate    Agricultural       Section 6(b)(4)(A) unreasonable risk determinations for 1,4-
                 use             chemical           dioxane for intermediate use and processing aids, not
                                 intermediate       otherwise listed:
                                                    - Presents an unreasonable risk of injury to health
                                 Plasticizer
                                                    (workers)
                                 intermediate
                                                    - Does not present an unreasonable risk of injury to health
                                 Catalysts and
                                                    (occupational non-users) or to aquatic vertebrates, aquatic
                                 reagents for
                                                    invertebrates, and aquatic plants from exposures to 1,4-
                                 anhydrous acid
                                                    dioxane in surface waters.
                                 reactions,
                                 brominations       Unreasonable risk driver: Cancer resulting from chronic
                                 and sulfonations   dermal occupational exposure and noncancer portal of entry
                                                    effects resulting from chronic inhalation occupational
                 Processing      Wood pulping
                                                    exposure.
                 aids, not
                                 Extraction of      Driver benchmarks: 1.0E-04 to 1.0E-06 for cancer. For this
                 otherwise
                                 animal and         evaluation, the Agency is using 1.0E-04 for occupational
                 listed
                                 vegetable oils     exposures. MOE = 30 for noncancer portal of entry effects.
                                 Wetting and        Risk estimates: 3.6E-04 with workers using PPE (gloves
                                 dispersing agent   where PF=20) (see Table 5-11); MOE = 4 with workers using
                                 in textile         PPE (respirator where APF = 50) (see Table 5-5). (High-end
                                 processing         estimates)

                                 Polymerization     Systematic Review confidence rating (hazard): High
                                 catalyst           Systematic Review confidence rating (dermal exposure): N/A
                                                    (risks estimates derived using the EPA Dermal Exposure to
                                 Purification of    Volatile Liquids model).
                                 pharmaceuticals
                                                    Systematic Review confidence rating (inhalation exposure):
                                                    High
                                                    Risk Considerations: The modeling used to calculate dermal
                                                    risk estimates has some uncertainties that could overestimate
                                                    risk. For example, to address the uncertainty due to lack of
                                                    monitoring data, the model considered a thin film of product
                                                    on a defined skin area. A multiplicative factor was
                                                    incorporated to the model to include the proportion of 1,4-
                                                    dioxane remaining on the skin after wiping. To be protective,
                                                    the value used for the amount of 1,4-dioxane remaining on
                                                    the skin is a default high-end value of a limited dataset. The
                                                    dermal absorption value, a critical input used to calculate
                                                    risk, is based on human in vitro and primate data rather than
                                                    default assumptions. Considering the uncertainties in the
                                                    oral-to-dermal extrapolation, EPA chose to use 3.2%, the
                                                    higher value, for the dermal absorption factor. The actual
                                                    absorption could be ten-fold lower based on the Bronaugh in

                                                    Page 164 of 407
             Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 214 of 854

                               PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


Condition of Use
                                Sub-Category Unreasonable Risk Determination
                                                                            1
Life Cycle       Category
Stage
                                                   vitro study (Bronaugh, 1982). For this pathway, EPA expects
                                                   that the risks are not underestimated.
                                                   The hazard data used to calculate chronic noncancer
                                                   inhalation risk estimates could overestimate risk. Chronic
                                                   noncancer inhalation risks for workers were estimated based
                                                   on portal of entry effects from a two-year inhalation study in
                                                   rats (Kasai et al., 2009). This study used whole body
                                                   exposures, introducing uncertainty with respect to the actual
                                                   doses the animals received such that the effect levels reported
                                                   may overestimate the potential inhalation toxicity. For this
                                                   pathway, EPA expects that the risks are not underestimated.
                                                   For a detailed discussion of the uncertainties related to the
                                                   risk evaluation see the section 5.3.
                                                   While risk estimates for other pathways of occupational
                                                   exposure for this condition of use (such as chronic cancer
                                                   inhalation exposures and noncancer dermal exposures)
                                                   exceed the Agency’s risk benchmarks in the absence of PPE,
                                                   risk estimates for these pathways do not indicate risk relative
                                                   to those benchmarks when PPE was considered (see Tables
                                                   5-8, 5-10).
                                                   EPA developed risk estimates for a single processing use
                                                   scenario. The results of this scenario are intended to broadly
                                                   address the potential exposures associated with each of the
                                                   sub-categories for this condition of use.
                                                   Estimated exposed population: 1,400 workers, 545
                                                   occupational non-users. The assumption for number of
                                                   workers and occupational non-users covers multiple
                                                   categories and sub-categories across processing of 1,4-
                                                   dioxane.

Distribution in Distribution    Distribution       Section 6(b)(4)(A) unreasonable risk determination for
commerce                                           distribution of 1,4-dioxane: Does not present an unreasonable
                                                   risk of injury to health (workers and occupational non-users)
                                                   or to aquatic vertebrates, aquatic invertebrates, and aquatic
                                                   plants from exposures to 1,4-dioxane in surface waters.
                                                   Risk Considerations: A quantitative evaluation of distribution
                                                   of 1,4-dioxane was not included in the risk evaluation
                                                   because chemicals are packaged in closed-system containers
                                                   during distribution in commerce and no exposures or releases
                                                   to the environment are expected.

Industrial Use                  Polyalkylene -
                                glycol lubricant

                                                   Page 165 of 407
             Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 215 of 854

                              PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


Condition of Use
                               Sub-Category Unreasonable Risk Determination
                                                                           1
Life Cycle     Category
Stage
               Functional      Synthetic         Section 6(b)(4)(A) unreasonable risk determination for the
               fluids (open    metalworking      industrial use of 1,4-dioxane in functional fluids (open
               system);        fluid             systems):
                               Cutting and       - Does not present an unreasonable risk of injury to health
                               tapping fluid     (workers and occupational non-users) or to aquatic
                                                 vertebrates, aquatic invertebrates, and aquatic plants from
                               Hydraulic fluid
                                                 exposures to 1,4-dioxane in surface waters.
                                                 Risk assessment: Human health risk estimates for all
                                                 pathways are not below Agency benchmarks. Environmental
                                                 risk estimates for all pathways do not exceed the benchmark.
                                                 Exposure scenario with highest risk estimate: Cancer
                                                 resulting from chronic inhalation occupational exposure.
                                                 Driver benchmark: 1.0E-04 to 1.0E-06. For this evaluation,
                                                 the Agency is using 1.0E-04 for occupational exposures.
                                                 MOE = 30 for noncancer portal of entry effects.
                                                 Risk estimate: 1.5E-06 with workers using no PPE (see Table
                                                 5-8) (High-end estimate)
                                                 Systematic Review confidence rating (hazard): High
                                                 Systematic Review confidence rating (exposure): N/A (risks
                                                 estimates derived using the EPA AP-42 Loading Model and
                                                 the EPA Mass Balance Inhalation model.
                                                 Risk Considerations: The modeling used to calculate
                                                 inhalation risk estimates has some uncertainties that could
                                                 overestimate risk. EPA assumed certain process details, such
                                                 as container sizes and loading and unloading frequency.
                                                 Additionally, EPA assumed that the process steps associated
                                                 with this scenario occur indoors, without engineering
                                                 controls, and in an open-system environment where vapors
                                                 freely escape. In the absence of industry-specific information,
                                                 these assumptions provide for conservative estimates for
                                                 exposures. Actual exposures may be less due to various
                                                 factors including closed-system loading and unloading, the
                                                 use of vapor recovery systems, or the automation of various
                                                 process steps. For this pathway, EPA expects that the risks
                                                 are not underestimated. For a detailed discussion of the
                                                 uncertainties related to the risk evaluation see the section 5.3.

                                                 EPA developed risk estimates for a single open system
                                                 functional fluid use scenario. The results of this scenario are
                                                 intended to broadly address the potential exposures



                                                 Page 166 of 407
             Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 216 of 854

                                 PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


Condition of Use
                                  Sub-Category Unreasonable Risk Determination
                                                                              1
Life Cycle       Category
Stage
                                                   associated with each of the sub-categories for this condition
                                                   of use.
                                                   Estimated exposed population: over 4 million workers,
                                                   178,000 occupational non-users.

Industrial use   Functional                        Due to the lack of evidence supporting its use in closed
                 fluid, closed                     system functional fluids, EPA has determined that this is not
                 system                            a condition of use and therefore did not assess occupational
                                                   exposures for functional fluid use in closed systems.
Industrial use, Laboratory        Chemical         Section 6(b)(4)(A) unreasonable risk determination for the
potential       chemicals         reagent          industrial use and potential commercial use of 1,4-dioxane as
commercial                                         a laboratory chemical:
                                  Reference
use
                                  material         - Presents an unreasonable risk of injury to health
                                                   (workers)
                                  Spectroscopic
                                  and photometric - Does not present an unreasonable risk of injury to health
                                  measurement     (occupational non-users) or to aquatic vertebrates, aquatic
                                                  invertebrates, and aquatic plants from exposures to 1,4-
                                  Liquid
                                                  dioxane in surface waters.
                                  scintillation
                                  counting        Unreasonable risk driver: Cancer resulting from chronic
                                  medium          dermal occupational exposure and noncancer portal of entry
                                                  effects resulting from chronic inhalation occupational
                                  Stable reaction exposure.
                                  medium
                                                  Driver benchmarks: 1.0E-04 to 1.0E-06. For this evaluation,
                                  Cryoscopic      the Agency is using 1.0E-04 for occupational exposures.
                                  solvent for     MOE = 30 for noncancer portal of entry effects.
                                  molecular mass
                                  determinations Risk estimate: 4.0E-04 with workers using PPE (gloves
                                                  where PF=20) (see Table 5-11); MOE = 15 with workers
                                  Preparation of  using PPE (respirator where APF = 50) (see Table 5-5).
                                  histological    (High-end estimates)
                                  sections for
                                  microscopic     Systematic Review confidence rating (hazard): High
                                  examination     Systematic Review confidence rating (exposure): High
                                                   Risk Considerations: The modeling used to calculate dermal
                                                   risk estimates has some uncertainties that could overestimate
                                                   risk. For example, to address the uncertainty due to lack of
                                                   monitoring data, the model considered a thin film of product
                                                   on a defined skin area. A multiplicative factor was
                                                   incorporated to the model to include the proportion of 1,4-
                                                   dioxane remaining on the skin after wiping. In order to be
                                                   protective, the value used for the amount of 1,4-dioxane
                                                   remaining on the skin is a default high-end value of a limited
                                                   dataset. The dermal absorption value, a critical input used to
                                                    Page 167 of 407
             Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 217 of 854

                           PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


Condition of Use
                             Sub-Category Unreasonable Risk Determination
                                                                         1
Life Cycle     Category
Stage
                                            calculate risk, is based on human in vitro and primate data
                                            rather than default assumptions. Considering the uncertainties
                                            in the oral-to-dermal extrapolation, EPA chose to use 3.2%,
                                            the higher value, for the dermal absorption factor. The actual
                                            absorption could be ten-fold lower based on the Bronaugh in
                                            vitro study (Bronaugh, 1982). For this pathway, EPA expects
                                            that the risks are not underestimated.
                                            The hazard data used to calculate chronic noncancer
                                            inhalation risk estimates could overestimate risk. Chronic
                                            noncancer inhalation risks for workers were estimated based
                                            on portal of entry effects from a two-year inhalation study in
                                            rats (Kasai et al., 2009). This study used whole body
                                            exposures, introducing uncertainty with respect to the actual
                                            doses the animals received such that the effect levels reported
                                            may overestimate the potential inhalation toxicity. For a
                                            detailed discussion of the uncertainties related to the risk
                                            evaluation see the section 5.3.
                                            While risk estimates for other pathways of occupational
                                            exposure for this condition of use (such as chronic cancer
                                            inhalation exposures and noncancer dermal exposures)
                                            exceed the Agency’s risk benchmarks in the absence of PPE,
                                            risk estimates for these pathways do not indicate risk relative
                                            to those benchmarks when PPE was considered (see Tables
                                            5-8, 5-10).

                                            EPA developed risk estimates for a single laboratory use
                                            scenario. The results of this scenario are intended to broadly
                                            address the potential exposures associated with each of the
                                            sub-categories for this condition of use.

                                            Estimated exposed population: 89 workers, 11 occupational
                                            non-users.

Industrial use, Adhesives and Film cement   Section 6(b)(4)(A) unreasonable risk determination for the
potential       sealants                    industrial use and potential commercial use of 1,4-dioxane in
commercial                                  adhesives and sealants:
use
                                            - Presents an unreasonable risk of injury to health
                                            (workers)
                                            - Does not present an unreasonable risk of injury to health
                                            (occupational non-users) or to aquatic vertebrates, aquatic
                                            invertebrates, and aquatic plants from exposures to 1,4-
                                            dioxane in surface waters.


                                            Page 168 of 407
             Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 218 of 854

                          PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


Condition of Use
                           Sub-Category Unreasonable Risk Determination
                                                                       1
Life Cycle     Category
Stage
                                         Unreasonable risk driver: Cancer resulting from chronic
                                         dermal occupational exposure.
                                         Driver benchmark: 1.0E-04 to 1.0E-06. For this evaluation,
                                         the Agency is using 1.0E-04 for occupational exposures.
                                         MOE = 30 for noncancer portal of entry effects.
                                         Risk estimate: 2.0E-04 with workers using PPE (gloves
                                         where PF=20) (See table 5-11) (High-end estimate)
                                         Systematic Review confidence rating (hazard): High
                                         Systematic Review confidence rating (exposure): N/A (risks
                                         estimates derived using the EPA Dermal Exposure to Volatile
                                         Liquids model.
                                         Risk Considerations: The modeling used to calculate dermal
                                         risk estimates has some uncertainties that could overestimate
                                         risk. For example, to address the uncertainty due to lack of
                                         monitoring data, the model considered a thin film of product
                                         on a defined skin area. A multiplicative factor was
                                         incorporated to the model to include the proportion of 1,4-
                                         dioxane remaining on the skin after wiping. In order to be
                                         protective, the value used for the amount of 1,4-dioxane
                                         remaining on the skin is a default high-end value of a limited
                                         dataset. The dermal absorption value, a critical input used to
                                         calculate risk, is based on human data rather than default
                                         assumptions. The Agency chose to use the upper end of the
                                         range of possible values derived from the data for a worst-
                                         case scenario. For this pathway, EPA expects that the risks
                                         are not underestimated. For a detailed discussion of the
                                         uncertainties related to the risk evaluation see the section 5.3.
                                         The risk estimate for noncancer effects via chronic inhalation
                                         exposure to occupational non-users is below (MOE =17) the
                                         Agency benchmark (MOE = 30). However, this estimate was
                                         based on a monitoring study that provided a single area
                                         sample point. This value was a non-detect (Okawa and Coye,
                                         1982). EPA cannot determine the statistical
                                         representativeness of the values given the limited sample size
                                         and reliance on non-detect measurements at the LOD
                                         introduces significant conservatism into this risk estimate.
                                         EPA considered the uncertainties described above and the
                                         proximity of the calculated risk estimate to the benchmark to
                                         determine that this condition of use does not present an
                                         unreasonable risk for occupational non-users.
                                         While risk estimates for other pathways of occupational
                                         exposure for this condition of use (such as chronic cancer

                                         Page 169 of 407
             Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 219 of 854

                             PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


Condition of Use
                              Sub-Category Unreasonable Risk Determination
                                                                          1
Life Cycle     Category
Stage
                                             inhalation exposures and noncancer dermal exposures)
                                             exceed the Agency’s risk benchmarks in the absence of PPE,
                                             risk estimates for these pathways do not indicate risk relative
                                             to those benchmarks when PPE was considered (see Tables
                                             5-8, 5-10).

                                             Estimated exposed population: 30 workers, 10 occupational
                                             non-users

Industrial use, Other uses    Spray          Section 6(b)(4)(A) unreasonable risk determination for the
potential                     polyurethane   industrial use and potential commercial use of 1,4-dioxane
commercial                    foam           for other uses, including spray polyurethane foam
use                           compositions   compositions:
                                             -Does not present an unreasonable risk of injury to health
                                             (occupational non-users) or to aquatic vertebrates, aquatic
                                             invertebrates, and aquatic plants from exposures to 1,4-
                                             dioxane in surface waters.
                                             Risk assessment: Human health risk estimates for all
                                             pathways are not below Agency benchmarks. Environmental
                                             risk estimates for all pathways do not exceed the benchmark.
                                             Exposure scenario with highest risk estimate: Cancer
                                             resulting from chronic inhalation occupational exposure.
                                             Benchmark: 1.0E-04 to 1.0E-06. For this evaluation, the
                                             Agency is using 1.0E-04 for occupational exposures. MOE =
                                             30 for noncancer portal of entry effects.
                                             Risk estimate: 5.3E-06 with workers using no PPE (see Table
                                             5-8) (High-end estimate)
                                             Systematic Review confidence rating (hazard): High
                                             Systematic Review confidence rating (exposure): N/A (risks
                                             estimates derived using the EPA AP-42 Loading model, the
                                             EPA Mass Balance Inhalation model and the EPA Total
                                             PNOR PEL-Limiting model.
                                             Risk Considerations: Due to a lack of data specific to 1,4-
                                             dioxane for this use, EPA used assumptions and surrogate
                                             data to estimate inhalation exposures during container
                                             unloading, spray foam application, thickness verification, and
                                             trimming. The estimate for exposures during application did
                                             not account for the potential evaporation of 1,4-dioxane from
                                             the mist particulates and the potential inhalation exposure of
                                             the evaporated vapors. EPA assumed that this is not a
                                             significant exposure given that the partial pressure of 1,4-

                                             Page 170 of 407
             Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 220 of 854

                             PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


Condition of Use
                              Sub-Category Unreasonable Risk Determination
                                                                          1
Life Cycle     Category
Stage
                                             dioxane is likely very low due to the low concentration of
                                             1,4-dioxane in the mixed spray foam. EPA also estimated
                                             exposures during thickness verification using surrogate data.
                                             The models also assume that the unloading of fluid
                                             containing 1,4-dioxane occurs indoors, without engineering
                                             controls, and in an open-system environment where vapors
                                             freely escape. In the absence of industry-specific information,
                                             these assumptions provide for conservative estimates for
                                             exposures during this unloading operation. Actual exposures
                                             may be less due to various factors including closed-system
                                             unloading or the use of vapor recovery systems. For this
                                             pathway, EPA expects that the risks are not underestimated.
                                             For a detailed discussion of the uncertainties related to the
                                             risk evaluation see the section 5.3.

                                             Estimated exposed population: 162,520 workers; 15,260
                                             occupational non-users

Industrial use, Other uses    Printing and   Section 6(b)(4)(A) unreasonable risk determination for the
potential                     printing       industrial use and potential commercial use of 1,4-dioxane
commercial                    compositions   for other uses, including printing and printing compositions:
use
                                             - Presents an unreasonable risk of injury to health
                                             (workers)
                                             - Does not present an unreasonable risk of injury to health
                                             (occupational non-users) or to aquatic vertebrates, aquatic
                                             invertebrates, and aquatic plants from exposures to 1,4-
                                             dioxane in surface waters.
                                             Unreasonable risk driver: Cancer resulting from chronic
                                             dermal occupational exposure
                                             Benchmark: 1.0E-04 to 1.0E-06. For this evaluation, the
                                             Agency is using 1.0E-04 for occupational exposures. MOE =
                                             30 for noncancer portal of entry effects.
                                             Risk estimate: 4.0E-04 with workers using PPE (gloves
                                             where PF=20) (see Table 5-11) (High-end estimate)
                                             Systematic Review confidence rating (hazard): High
                                             Systematic Review confidence rating (exposure): N/A (risks
                                             estimates derived using the EPA Dermal Exposure to Volatile
                                             Liquids model.
                                             Risk Considerations: The modeling used to calculate dermal
                                             risk estimates has some uncertainties that could overestimate
                                             risk. For example, to address the uncertainty due to lack of

                                             Page 171 of 407
             Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 221 of 854

                             PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


Condition of Use
                              Sub-Category Unreasonable Risk Determination
                                                                          1
Life Cycle     Category
Stage
                                            monitoring data, the model considered a thin film of product
                                            on a defined skin area. A multiplicative factor was
                                            incorporated to the model to include the proportion of 1,4-
                                            dioxane remaining on the skin after wiping. In order to be
                                            protective, the value used for the amount of 1,4-dioxane
                                            remaining on the skin is a default high-end value of a limited
                                            dataset. The dermal absorption value, a critical input used to
                                            calculate risk, is based on human data rather than default
                                            assumptions. The Agency chose to use the upper end of the
                                            range of possible values derived from the data for a worst-
                                            case scenario. For this pathway, EPA expects that the risks
                                            are not underestimated. For a detailed discussion of the
                                            uncertainties related to the risk evaluation see the section 5.3.
                                            While risk estimates for other pathways of occupational
                                            exposure for this condition of use (such as chronic noncancer
                                            inhalation exposures and noncancer dermal exposures) are
                                            exceed the Agency’s risk benchmarks in the absence of PPE,
                                            risk estimates for these pathways do not indicate risk relative
                                            to those benchmarks when PPE was considered (see Tables
                                            5-8, 5-10).
                                            Estimated exposed population: 60,000 workers, 20,430
                                            occupational non-users.

Industrial use, Other uses    Dry film      Section 6(b)(4)(A) unreasonable risk determination for the
potential                     lubricant     industrial use and potential commercial use of 1,4-dioxane
commercial                                  for other uses including as a dry film lubricant:
use
                                            - Does not present an unreasonable risk of injury to health
                                            (workers and occupational non-users) or to aquatic
                                            vertebrates, aquatic invertebrates, and aquatic plants from
                                            exposures to 1,4-dioxane in surface waters.
                                            Risk assessment: Human health risk estimates for all
                                            pathways do not indicate risk relative to Agency benchmarks.
                                            Environmental risk estimates for all pathways do not indicate
                                            risk relative to the benchmark.
                                            Exposure scenario with highest risk estimate: Cancer
                                            resulting from chronic dermal occupational exposure.
                                            Benchmark: 1.0E-04 to 1.0E-06. For this evaluation, the
                                            Agency is using 1.0E-04 for occupational exposures. MOE =
                                            30 for noncancer portal of entry effects.
                                            Risk estimate: 8.1E-05 with workers using PPE (gloves
                                            where PF=20) (see Table 5-11) (High-end estimate)


                                            Page 172 of 407
             Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 222 of 854

                          PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


Condition of Use
                           Sub-Category Unreasonable Risk Determination
                                                                       1
Life Cycle     Category
Stage
                                             Systematic Review confidence rating (hazard): High
                                             Systematic Review confidence rating (exposure): N/A (risks
                                             estimates derived using the EPA Dermal Exposure to Volatile
                                             Liquids model.
                                             Risk Considerations: The modeling used to calculate dermal
                                             risk estimates has some uncertainties that could overestimate
                                             risk. For example, to address the uncertainty due to lack of
                                             monitoring data, the model considered a thin film of product
                                             on a defined skin area. A multiplicative factor was
                                             incorporated to the model to include the proportion of 1,4-
                                             dioxane remaining on the skin after wiping. In order to be
                                             protective, the value used for the amount of 1,4-dioxane
                                             remaining on the skin is a default high-end value of a limited
                                             dataset. The dermal absorption value, a critical input used to
                                             calculate risk, is based on human data rather than default
                                             assumptions. The Agency chose to use the upper end of the
                                             range of possible values derived from the data for a worst-
                                             case scenario. For this pathway, EPA expects that the risks
                                             are not underestimated. For a detailed discussion of the
                                             uncertainties related to the risk evaluation see the section 5.3.
                                             Estimated exposed population: 16 workers, 64 occupational
                                             non-users
Disposal       Disposal    Industrial pre-   Section 6(b)(4)(A) unreasonable risk determination for
                           treatment         disposal of 1,4-dioxane:
                           Industrial        -Presents an unreasonable risk of injury to health
                           wastewater        (workers)
                           treatment
                                           -Does not present an unreasonable risk of injury to health
                           Publicly owned (workers and occupational non-users) or to aquatic
                           treatment works vertebrates, aquatic invertebrates, and aquatic plants from
                           (POTW)          exposures to 1,4-dioxane in surface waters.
                           Underground       Unreasonable risk driver: Cancer resulting from chronic
                           injection         dermal occupational exposure and noncancer portal of entry
                                             effects resulting from chronic inhalation occupational
                           Municipal         exposure
                           landfill
                                             Benchmark: 1.0E-04 to 1.0E-06. For this evaluation, the
                           Hazardous         Agency is using 1.0E-04 for occupational exposures. MOE =
                           landfill          30 for noncancer portal of entry effects.
                           Other land        Risk estimate: 3.6E-04 with workers using PPE (gloves
                           disposal          where PF=20) (see Table 5-11) (High-end estimate) MOE =
                           Municipal waste
                           incinerator

                                             Page 173 of 407
             Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 223 of 854

                          PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


Condition of Use
                           Sub-Category Unreasonable Risk Determination
                                                                       1
Life Cycle     Category
Stage
                           Hazardous waste 21 with workers using PPE (respirator where APF = 50) (see
                           incinerator     Table 5-5).
                           Off-site waste   Systematic Review confidence rating (hazard): High
                           transfer
                                            Systematic Review confidence rating (exposure): N/A (risks
                                            estimates derived using the EPA Dermal Exposure to Volatile
                                            Liquids model.
                                            Risk Considerations: The modeling used to calculate dermal
                                            risk estimates has some uncertainties that could overestimate
                                            risk. For example, to address the uncertainty due to lack of
                                            monitoring data, the model considered a thin film of product
                                            on a defined skin area. A multiplicative factor was
                                            incorporated to the model to include the proportion of 1,4-
                                            dioxane remaining on the skin after wiping. In order to be
                                            protective, the value used for the amount of 1,4-dioxane
                                            remaining on the skin is a default high-end value of a limited
                                            dataset. The dermal absorption value, a critical input used to
                                            calculate risk, is based on human data rather than default
                                            assumptions. The Agency chose to use the upper end of the
                                            range of possible values derived from the data for a worst-
                                            case scenario. For this pathway, EPA expects that the risks
                                            are not underestimated.
                                            The hazard data used to calculate chronic noncancer
                                            inhalation risk estimates could overestimate risk. Chronic
                                            noncancer inhalation risks for workers were estimated based
                                            on portal of entry effects from a two-year inhalation study in
                                            rats (Kasai et al., 2009). This study used whole body
                                            exposures, introducing uncertainty with respect to the actual
                                            doses the animals received such that the effect levels reported
                                            may overestimate the potential inhalation toxicity.

                                            The modeling used to calculate inhalation risk estimates has
                                            some uncertainties that could overestimate risk. EPA
                                            assumed certain process details, such as container sizes and
                                            loading and unloading frequency. Additionally, EPA
                                            assumed that the process steps associated with this scenario
                                            occur indoors, without engineering controls, and in an open-
                                            system environment where vapors freely escape. In the
                                            absence of industry-specific information, these assumptions
                                            provide for conservative estimates for exposures. Actual
                                            exposures may be less due to various factors including
                                            closed-system loading and unloading, the use of vapor
                                            recovery systems, or the automation of various process steps.
                                            For this pathway, EPA expects that the risks are not
                                            underestimated. For a detailed discussion of the uncertainties
                                            Page 174 of 407
             Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 224 of 854

                              PEER REVIEW DRAFT, DO NOT CITE OR QUOTE


Condition of Use
                                 Sub-Category Unreasonable Risk Determination
                                                                             1
Life Cycle     Category
Stage
                                                    related to the risk evaluation see the section 5.3.

                                                    While risk estimates for other pathways of occupational
                                                    exposure for this condition of use (such as chronic cancer
                                                    inhalation exposures and noncancer dermal exposures)
                                                    exceed the Agency’s risk benchmarks in the absence of PPE,
                                                    risk estimates for these pathways do not indicate risk relative
                                                    to those benchmarks when PPE was considered (see Tables
                                                    5-8, 5-10).
                                                    EPA developed risk estimates for a single disposal scenario.
                                                    The results of this scenario are intended to broadly address
                                                    the potential exposures associated with each of the sub-
                                                    categories for this condition of use.
                                                    Estimated exposed population: 124 workers, 45 occupational
                                                    non-users
      1
       EPA expects there is compliance with federal and state laws, such as worker protection standards, unless case-
      specific facts indicate otherwise, and therefore existing OSHA regulations for worker protection and hazard
      communication will result in use of appropriate PPE consistent with the applicable SDSs in a manner adequate to
      protect workers.




                                                     Page 175 of 407
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 225 of 854




                      Exhibit 10
 Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 226 of 854




                              30(b)(6)



                  FOOD & WATER WATCH

                                 VS

U.S. ENVIRONMENTAL PROTECTION AGENCY, ET AL.,



                     EDWARD OHANIAN

                        October 15, 2018
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 227 of 854



·1     · · · · IN THE UNITED STATES DISTRICT COURT

·2     · · · FOR THE NORTHERN DISTRICT OF CALIFORNIA

·3     · · · · · · · · ·AT SAN FRANCISCO

·4     - - - - - - - - - - - - x

·5     FOOD & WATER WATCH, et al.,

·6     · · · · · ·Plaintiffs,

·7     · · · v.· · · · · · · · · · · · · · · ·Civil No.:

·8 U.S. ENVIRONMENTAL PROTECTION· · · ·17-CV-02162-EMC
· · AGENCY, et al.,
·9
· · · · · · · ·Defendants.
10 - - - - - - - - - - - - x

11     · · · · · · · · · · · ·Monday, October 15, 2018

12     · · · · · · · · · · · ·Washington, D.C.

13     Videotaped Deposition of

14     · · · · · · · EDWARD OHANIAN, Ph.D.,

15     the 30(b)(6) corporate representative, called for

16     examination by counsel for the plaintiffs, pursuant

17     to notice, held at the Department of Justice, 601

18     D Street, N.W., Room 8502, Washington, D.C. 20579,

19     beginning at 10:09 a.m., before Kelly Susnowitz, a

20     Notary Public, when were present on behalf of the

21     respective parties:
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 228 of 854
                                     30(b)(6)                             14

·1     · · A.· Yes.

·2     · · Q.· And if I ask any questions today, that are

·3     in any way unclear to you, just let me know and

·4     I'll rephrase, to make it clear.· Okay?

·5     · · A.· Yes.

·6     · · Q.· So you are appearing today as a

·7     representative of the United States Environmental

·8     Protection Agency, correct?

·9     · · A.· Correct.

10     · · Q.· And we're here today to talk about EPA

11     safety standards for fluoride.· Do you understand

12     that?

13     · · A.· Yes.

14     · · Q.· And this includes the maximum contaminant

15     level goal that EPA established for fluoride in

16     1985, correct?

17     · · A.· Correct.

18     · · Q.· And this also includes the reference dose

19     that EPA established for fluoride in 2010,

20     correct?

21     · · A.· Correct.



                      Asbestos Reporters of California
                                888-779-9974
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 229 of 854
                                     30(b)(6)                             15

·1     · · · Q.· And we're here today to talk about the

·2     · health effects that these standards were designed

·3     · to protect against.· Do you understand that?

·4     · · · A.· I do, yes.

·5     · · · Q.· And EPA has designated you, as its

·6     · representative, to address questions about these

·7     · safety standards, correct?

·8     · · · A.· Correct.

·9     · · · Q.· So before discussing these standards, I'd

10     · like to start by asking you about your own

11     · personal background and what you did to prepare

12     · for today's deposition.· Okay?

13     · · · A.· Okay.

14     · · · Q.· So I see, and I'll introduce as Exhibit 1,

15     · your CV that we received today.

16     · · · · · (Deposition Exhibit Number 1 was marked

17     · for identification.)

18     BY MR. CONNETT:

19     · · · Q.· Which I will hand to you.

20     · · · A.· Okay.

21     · · · Q.· And in looking at your CV, I see that you



                      Asbestos Reporters of California
                                888-779-9974
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 230 of 854
                                     30(b)(6)                             81

·1     · right?

·2     · · · A.· Correct.

·3     · · · Q.· It was based on crippling skeletal

·4     · fluorosis, right?

·5     · · · A.· Correct.

·6     · · · Q.· Now, skeletal fluorosis is a disease of

·7     · the bones caused by too much fluoride, right?

·8     · · · A.· Crippling skeletal fluorosis.

·9     · · · Q.· Okay.· And skeletal fluorosis has various

10     · stages of severity, right?

11     · · · A.· Correct.

12     · · · Q.· And crippling skeletal fluorosis is the

13     · most severe form of skeletal fluorosis?

14     · · · A.· Correct.

15     · · · Q.· Just so that we are clear about what this

16     · disease is, I'm going to hand you an excerpt from

17     · a document I believe you have read before.

18     · · · · · (Deposition Exhibit Number 6 was marked

19     · for identification.)

20     BY MR. CONNETT:

21     · · · Q.· Which is a 1991 review by the Department



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 231 of 854
                                     30(b)(6)                             82

·1     of Health and Human Services, titled Review of

·2     Fluoride, Benefits and Risks.· First, am I correct

·3     that you are familiar with this document?

·4     · · A.· Yes, but I haven't read it lately.         I

·5     mean, not recently.

·6     · · Q.· So if you turn to the other side, you see

·7     here that it provides the various stages of

·8     skeletal fluorosis?

·9     · · A.· Correct.

10     · · Q.· There's a preclinical phase, a clinical

11     phase one, a clinical phase two, and then, phase

12     three, crippling -- crippling fluorosis, correct?

13     · · A.· Correct.

14     · · Q.· Okay.· So EPA's MCLG was designed to

15     prevent the phase three, crippling skeletal

16     fluorosis, right?

17     · · A.· Correct.

18     · · Q.· But not to prevent clinical phase two,

19     right?

20     · · A.· Correct.

21     · · Q.· And it wasn't designed to prevent clinical



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 232 of 854
                                     30(b)(6)                             83

·1     · phase one either, right?

·2     · · · A.· No.

·3     · · · Q.· Okay.· So I'd like to read what the

·4     · Department of Health and Human Services said about

·5     · clinical phase two fluorosis.· Okay?

·6     · · · · · MS. CARFORA:· Objection, it's not related

·7     · to EPA's findings.

·8     BY MR. CONNETT:

·9     · · · Q.· Okay.· The Department of Health and Human

10     · Services summarized clinical phase two fluorosis

11     · as having chronic joint pain, arthritic systems,

12     · slight calcification of ligaments, increased

13     · osteosclerosis cancellous bones, with or without

14     · osteoporosis of long bones.· Did I read that

15     · correctly?

16     · · · A.· Correct.

17     · · · Q.· But again, EPA's MCLG was not designed to

18     · prevent that effect; is that a no?

19     · · · A.· No.

20     · · · Q.· So the effect that the MCLG was designed

21     · to prevent, was crippling skeletal fluorosis,



                       Asbestos Reporters of California
                                 888-779-9974                                  YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 233 of 854
                                     30(b)(6)                             84

·1     · which I will read the summary here of what that

·2     · is.

·3     · · · · · MS. CARFORA:· Objection, as to form.

·4     BY MR. CONNETT:

·5     · · · Q.· According to the Department of Health and

·6     · Human Services, crippling fluorosis produces

·7     · limitation of joint movement, calcification of

·8     · ligaments, neck, vertebrae column, crippling

·9     · deformities of the spine and major joints, muscle

10     · wasting, neurologic defects, and compression of

11     · the spinal cord.· Did I read that correctly?

12     · · · A.· Correct.

13     · · · Q.· And according to EPA's MCLG, crippling

14     · skeletal fluorosis is the critical adverse effect

15     · of fluoride exposure, right?

16     · · · A.· Correct.

17     · · · Q.· Okay.· And critical adverse effect means

18     · the effect of a substance that occurs at the

19     · lowest dose, right?

20     · · · A.· Correct.

21     · · · Q.· Okay.· So according to EPA, the first



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 234 of 854
                                     30(b)(6)                            150

·1     · · · A.· That's the value that we have.

·2     · · · Q.· Right.

·3     · · · A.· Anything else that would come in, we have

·4     · to compare what it is.· Now, if, whatever is

·5     · coming in, if I will use a reference does, which

·6     · will be lower, that's a different story then.

·7     · · · Q.· Now, as a risk assessment scientist --

·8     · · · A.· Yes.

·9     · · · Q.· -- at the EPA, if you were asked to

10     · determine what the safe level is for neurotoxic

11     · effects of fluoride, you would need to do a new

12     · risk assessment, you couldn't rely upon the risk

13     · assessment that was done in the 1980s, for the

14     · MCLG, correct?

15     · · · · · MS. CARFORA:· Objection to form.

16     · · · · · THE WITNESS:· Can I go?· The endpoints

17     · are -- I'm sorry, maybe I'm not clear.· The

18     · endpoints are different that you're selecting your

19     · reference dose.

20     BY MR. CONNETT:

21     · · · Q.· And because they're different --



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 235 of 854
                                     30(b)(6)                            152

·1     · level is for neurotoxicity?

·2     · · · · · MS. CARFORA:· Objection as to form.

·3     · · · · · THE WITNESS:· Can I just correct one

·4     · thing?· The word safe does not apply.· It's not,

·5     · acceptable risk.

·6     BY MR. CONNETT:

·7     · · · Q.· Acceptable risk --

·8     · · · A.· Accept means without risk.

·9     · · · Q.· So in order to determine what the

10     · acceptable risk level is, for fluoride

11     · neurotoxicity, you couldn't just rely on the MCLG

12     · that's already in existence, you would need to do

13     · a new risk assessment, correct?

14     · · · A.· Correct.

15     · · · Q.· Okay.· Okay.· So in -- subsequent to the

16     · MCLG being enacted in 1985, as is often the case,

17     · there were a number of new studies that were

18     · published on fluoride toxicity over the years,

19     · correct?

20     · · · A.· Yeah, correct.

21     · · · Q.· And in order to assess those studies, the



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 236 of 854
                                     30(b)(6)                            172

·1     studies that it recommends being done, correct?

·2     · · A.· Excuse me?

·3     · · Q.· This page here identifies several studies

·4     that the NRC believes should be done, correct?

·5     · · A.· Correct.

·6     · · Q.· And the first study it talks about --

·7     well, strike that.· It starts by saying, "The

·8     possibility has been raised, by the studies

·9     conducted in China, that fluoride can lower

10     intellectual abilities; thus, studies of

11     populations, exposed to different concentrations

12     of fluoride, in drinking water, should include

13     measurements of reasonability, problem solving,

14     IQ, and short- and long-term memory."· Did I read

15     that correctly?

16     · · A.· Correct.

17     · · Q.· So NRC is recommending that studies be

18     done on fluoride and IQ?

19     · · A.· I'm sorry?

20     · · Q.· The NRC was recommending that studies be

21     done on fluoride and IQ, correct?



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 237 of 854
                                     30(b)(6)                            173

·1     · · · · · MS. CARFORA:· Objection.

·2     · · · · · THE WITNESS:· Yes.

·3     BY MR. CONNETT:

·4     · · · Q.· And in the next paragraph, "NRC recommends

·5     · that studies of populations exposed to different

·6     · concentrations of fluoride should be undertaken to

·7     · evaluate neurochemical changes that may be

·8     · associated with dementia."· Did I read that

·9     · correctly?

10     · · · A.· Correct.

11     · · · Q.· So NRC was recommending that studies be

12     · done to examine the relationship between fluoride

13     · and dementia, correct?

14     · · · · · MS. CARFORA:· Objection.

15     · · · · · THE WITNESS:· Correct.

16     BY MR. CONNETT:

17     · · · Q.· And sir, just to be clear, again, this

18     · is -- this report that NRC wrote was at the

19     · request of EPA, correct?

20     · · · A.· Correct.

21     · · · Q.· Okay.· So these recommendations that NRC



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 238 of 854
                                     30(b)(6)                            200

·1     to err on the side of caution to protect against

·2     what we don't know, correct?

·3     · · A.· To some extent, yes.

·4     · · Q.· Okay.· And you had mentioned one of the

·5     uncertainty factors that's used is the database

·6     uncertainty factor?

·7     · · A.· Correct.

·8     · · Q.· What is -- what is that?

·9     · · A.· Database uncertainty factor has to do if

10     there're some other effects that might be

11     important for you to be able to look at it, part

12     of your overall evaluation, and you don't have

13     that particular data available, then, you decide

14     to use a database uncertainty factor, to be able

15     to take that into account.

16     · · Q.· So if you had some evidence that there's a

17     potential adverse effect on some system, but you

18     don't yet have enough data to do any kind of

19     quantitative dose response assessment for that

20     effect, you would add some uncertainty factor for

21     the database?



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 239 of 854
                                     30(b)(6)                            201

·1     · · A.· Usually, the database uncertainty factor

·2     deals with any kind of reproductive developmental

·3     lack of the data that you might think, because

·4     it's lacking, that's something that needs to be

·5     considered, that's why you use the database

·6     uncertainty factor.

·7     · · Q.· You mentioned developmental studies --

·8     · · A.· Yes.

·9     · · Q.· -- and that would include developmental

10     neurotoxicity studies?

11     · · A.· Yes.

12     · · Q.· So if there was an identified potential

13     effect of neurotoxicity and the database was not

14     sufficient to quantify the dose response, you

15     would add a database uncertainty factor to account

16     for that, right?

17     · · A.· If you think that the particular chemical

18     has neurodevelopmental potential and you don't

19     have -- the data is not available at this time,

20     that's when you add the uncertainty factor.

21     · · Q.· And the uncertainty factor is, as you



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 240 of 854
                                     30(b)(6)                            202

·1     said, between a three and a ten?

·2     · · A.· Ten, correct.

·3     · · Q.· So with a database uncertainty factor,

·4     even when you are -- like, let's say you are

·5     regulating, you're issuing the reference dose,

·6     for let's say, liver disease, okay, if there was a

·7     potential risk of developmental neurotoxicity from

·8     that chemical, even though the reference dose is

·9     on liver disease, you would add an uncertainty

10     factor to the reference dose, right?

11     · · A.· If you feel there might be some

12     neurodevelopmental effects that might be

13     associated to that particular chemical that you're

14     dealing with.

15     · · Q.· Okay.· So let's now turn to what the EPA

16     did and what the EPA concluded with its risk

17     assessment.· The EPA established a reference dose

18     for fluoride of .08 milligrams, per kilograms, per

19     day, correct?

20     · · A.· Correct.

21     · · Q.· And the EPA concluded that is safe for the



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 241 of 854
                                     30(b)(6)                            206

·1     · · · · · THE WITNESS:· That, we -- to some extent,

·2     · we cannot really have a better handle until we get

·3     · some of the studies done on neurotox and to show

·4     · that the estimate might be some effect happening

·5     · in there, which might likely to be considered as

·6     · were are in the midst of developing our reference

·7     · dose, and that's what the academy told us too.

·8     BY MR. CONNETT:

·9     · · · Q.· Right.· The academy told you that there is

10     · some uncertainty now, with respect to fluoride's

11     · potential to cause developmental neurotoxicity,

12     · right?

13     · · · A.· Correct.

14     · · · Q.· And so, if you didn't have the caries

15     · prevention goal, you would apply some database

16     · uncertainty factor, to account for that potential

17     · development neurotoxicity, correct?

18     · · · · · MS. CARFORA:· Objection as to form.

19     · · · · · THE WITNESS:· Yes.

20     BY MR. CONNETT:

21     · · · Q.· Okay.



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 242 of 854
                                     30(b)(6)                            257

·1     · · · · · MR. CONNETT:· So we've been going a little

·2     · over five minutes now and, if you can't find it,

·3     · just let me know.

·4     · · · · · THE WITNESS:· I know I saw it.· I saw it.

·5     BY MR. CONNETT:

·6     · · · Q.· Okay.

·7     · · · A.· It was like a graph like this, on fluoride

·8     · concentration, and there were definitely the ages,

·9     · and I cannot now put my fingers on it.

10     · · · Q.· Okay.

11     · · · A.· Fine.

12     · · · Q.· Breast milk contains very little fluoride,

13     · right?

14     · · · A.· Yes.

15     · · · Q.· In fact, it contains about six micrograms

16     · of fluoride, right?

17     · · · · · MS. CARFORA:· Objection, form, foundation.

18     BY MR. CONNETT:

19     · · · Q.· Basically -- well, let me strike that.

20     · You would agree that a breastfed baby receives

21     · virtually no fluoride?



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 243 of 854
                                     30(b)(6)                            258

·1     · · · A.· Correct.

·2     · · · · · MS. CARFORA:· Objection, form, foundation.

·3     BY MR. CONNETT:

·4     · · · Q.· Well, to address the foundation objection,

·5     · let's look at what the EPA said about this in

·6     · their risk assessment.· So if you can turn to page

·7     · 32?

·8     · · · A.· Okay.· Thirty-two?

·9     · · · Q.· Thirty-two.· And the second paragraph,

10     · above the section titled Pathological Conditions.

11     · · · A.· Okay.

12     · · · Q.· And I'm looking here at the last sentence

13     · of that paragraph, which begins as an example; do

14     · you see that?

15     · · · A.· Uh-huh.

16     · · · Q.· An infant's fluoride intake, through

17     · consumption of 800 milliliters of breast milk,

18     · containing .4 micro mole fluoride per liter,

19     · would be 0.006 milligrams, correct?

20     · · · A.· Uh-huh.

21     · · · Q.· So according to Whitford, a breastfed baby



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 244 of 854
                                     30(b)(6)                            259

·1     would receive .006 milligrams of fluoride per day,

·2     right?

·3     · · A.· Correct.

·4     · · Q.· And .006 milligrams of fluoride equals six

·5     micrograms, correct?

·6     · · A.· Correct.

·7     · · Q.· Okay.· Now, Whitford contrasts that dose

·8     of what a baby would conceive, if consuming the

·9     same volume of liquids, but with formula prepared

10     with fluorinated water, correct?

11     · · A.· Correct.

12     · · Q.· Okay.· And Whitford provides a dose

13     estimate of .80 milligrams, per day, for the

14     formula-fed baby, correct?

15     · · A.· Correct.

16     · · Q.· And that amounts to 800 micrograms of

17     fluoride, correct?

18     · · A.· Eight hundred ML.

19     · · Q.· Well .08 milligrams is 800 micrograms,

20     correct?

21     · · A.· Correct.



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 245 of 854
                                     30(b)(6)                            260

·1     · · Q.· So according to Whitford's data, a baby

·2     that's formula-fed, with fluorinated water,

·3     receives over 100 times more fluoride than a

·4     breastfed baby?

·5     · · A.· Yeah, according to this, yes.

·6     · · Q.· And this is the data that the EPA has

·7     cited and relied upon in its risk assessment; is

·8     that correct?

·9     · · A.· Which risk -- I mean --

10     · · Q.· EPA has cited --

11     · · A.· Yeah.

12     · · Q.· -- risk data from Whitford, correct?

13     · · A.· Yes.

14     · · Q.· And it's fair to say, if it's citing this

15     data from Whitford, it's relying on it, correct?

16     · · A.· Not for the variation of the RFD.

17     · · Q.· But it's relying on it for --

18     · · A.· Informational purposes.

19     · · Q.· So did -- would you agree that, in light

20     of this information, it would be important to know

21     what percentage of the children in Dean's study



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 246 of 854
                                     30(b)(6)                            286

·1     · role that it plays, because some individual may

·2     · retain fluoride.· I mean, that's one of the --

·3     · will it retain that?· As you can see, it's almost

·4     · like a theory of risk assessment and that's why

·5     · the EPA focused on this particularly study and I

·6     · stand behind it.· I stand 100 percent -- actually

·7     · 150 percent behind the study.

·8     · · · · · MR. CONNETT:· I understand that and move

·9     · to strike the nonresponsive portions.

10     BY MR. CONNETT:

11     · · · Q.· So just so we're clear, EPA has cited data

12     · that African-American children suffer from higher

13     · rate of dental fluorosis, correct?

14     · · · A.· Yes.

15     · · · Q.· And yet, Dean's study did not look at a

16     · single African-American child, correct?

17     · · · A.· Correct.

18     · · · Q.· Okay.· EPA has cited data in its report

19     · showing that infants, who are breastfed, receives

20     · dramatically less fluoride than a formula-fed

21     · child drinking fluorinated water, correct?



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 247 of 854
                                     30(b)(6)                            287

·1     · · A.· Correct.

·2     · · Q.· And yet, you have no data -- EPA has no

·3     data, at all, as to the percentage of the children

·4     in Dean's study that were breastfed, correct?

·5     · · A.· Correct.

·6     · · Q.· Okay.· EPA has cited data in its report

·7     that children with kidney disease, diabetes

·8     insipidus, and genetic diabetes, and polio

·9     nephrites are more susceptible to the development

10     of dental fluorosis than healthy children,

11     correct?

12     · · A.· Correct.

13     · · Q.· And yet, you have no data, from Dean's

14     study, as to the percentage of children in that

15     study, that had any of those conditions, correct?

16     · · A.· Correct.

17     · · Q.· And you, yourself, admitted that you can

18     draw no conclusions, from Dean's study, as to the

19     risk of severe dental fluorosis, for children with

20     kidney disease, drinking water with less than two

21     parts per million, correct?



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 248 of 854
                                     30(b)(6)                            329

·1     appreciate that.

·2     · · A.· Yes.

·3     · · Q.· You made it clear that EPA can't apply

·4     uncertainty factors because they will put the

·5     reference dose below the so-called optimal dose

·6     for fluoride ingestion, right?

·7     · · A.· Correct.

·8     · · Q.· Okay.· So let's then talk about that

·9     so-called optimal dose and fluoride being

10     something that can prevent cavities.· Okay?

11     · · A.· Yes.

12     · · Q.· Okay.· Now, EPA recognizes, in its risk

13     assessment, that the National Academy of Sciences

14     does not consider fluoride to be an essential

15     nutrient, right?

16     · · A.· Well, adequate, that's what it's talking

17     about, not a nutrient itself, because adequate

18     means it has some sort of benefit associated with

19     that.

20     · · Q.· But my question is a little different.

21     · · A.· Yes.



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 249 of 854
                                     30(b)(6)                            378

·1     · · · · · · ·CERTIFICATE OF NOTARY PUBLIC

·2     · · ·I, Kelly Susnowitz, the officer before whom

·3     the foregoing deposition was taken, do hereby

·4     certify that the witness whose testimony appears

·5     herein was duly sworn by me; that the testimony of

·6     said witness was taken by me in shorthand and this

·7     transcript was typed under my direction; that said

·8     transcript is a true record of the testimony given

·9     by said witness; that I am neither counsel for,

10     related to, nor employed by any of the parties to

11     the action in which this deposition was taken;

12     and, further, that I am not a relative or employee

13     of any attorney or counsel retained by the parties

14     hereto, nor financially or otherwise interested in

15     the outcome of the action.

16     · · · · · ____________________________

17     · · · · · Notary Public in and for the

18     · · · · · State of Maryland

19

20     · · · · ·My commission expires:

21     · · · · ·June 13, 2020



                      Asbestos Reporters of California
                                888-779-9974
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 250 of 854




                      Exhibit 11
 Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 251 of 854




                  FOOD & WATER WATCH

                                 VS

U.S. ENVIRONMENTAL PROTECTION AGENCY, ET AL.,



                  JOHN WILLIAM HIRZY

                          May 31, 2019
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 252 of 854
                                                                            5

·1     · · · · · MR. CONNETT:· Good morning.· Michael

·2     Connett on behalf of the plaintiffs.

·3     · · · · · MS. CARFORA:· Debra Carfora from the

·4     Department of Justice on behalf of EPA.

·5     · · · · · MR. WILBER:· Eric Wilber on behalf

·6     of the EPA.

·7     · · · · · MR. DePASQUALE:· Daniel DePasquale,

·8     EPA.

·9     · · · · · MR. DO:· John Thomas Do with the

10     Justice Department for EPA.

11     · · · · · THE VIDEOGRAPHER:· Thank you.· Will

12     the court reporter now please administer the

13     oath and we can proceed.

14     Whereupon,

15     · · · · ·JOHN WILLIAM HIRZY, Ph.D.,

16     a witness herein, called for oral examination in

17     the matter pending, being first duly sworn to tell

18     the truth, the whole truth, and nothing but the

19     truth, testified as follows:

20     · · · · · · · · ·EXAMINATION

21     · · ·BY MR. CONNETT:

22     · · ·Q· · Good morning, Dr. Hirzy.

23     · · ·A· · Morning, Michael.

24     · · ·Q· · We're here today to talk about some

25     of the work you did as a scientist at the



                      Asbestos Reporters of California
                                888-779-9974                                    YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 253 of 854
                                                                            6

·1     Environmental Protection Agency on fluoride;

·2     do you understand that?

·3     · · ·A· · Yes.

·4     · · ·Q· · Before we get to that, though, I

·5     wanted to ask you some background questions

·6     about your own professional background, okay.

·7     · · ·A· · Okay.

·8     · · ·Q· · Can you summarize your educational

·9     background?

10     · · ·A· · Yes.· I went to the University of

11     Missouri, not to become a Ph.D. in chemistry.

12     I went on a regular Navy ROTC scholarship with

13     the idea of becoming an officer in the Marine

14     Corps and that was my career goal.

15     · · · · · White coat syndrome when they were

16     taking my blood pressure, however, caused me

17     to lose that appointment and so I stayed with

18     chemistry, earning a B.S. with honors at the

19     University of Missouri and continuing on there

20     for my Ph.D.

21     · · · · · B.S. was in 1958.· Ph.D. in '62.

22     Phi Beta Kappa, Sigma Psi and Phi Eta Sigma

23     were the honor societies that I ended up

24     getting into during that time.

25     · · ·Q· · So you have your Ph.D. in organic



                      Asbestos Reporters of California
                                888-779-9974                                    YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 254 of 854
                                                                            22

·1     · · · · · MS. CARFORA:· Objection, foundation.

·2     · · ·A· · Yes.

·3     · · ·BY MR. CONNETT:

·4     · · ·Q· · Well, based on your experience at

·5     EPA, when a new professional comes on board,

·6     what level do they generally start at, if you

·7     know?

·8     · · · · · MS. CARFORA:· Objection, foundation.

·9     · · ·BY MR. CONNETT:

10     · · ·Q· · You can answer.

11     · · ·A· · Around GS11.· Normally, the

12     progression through the ranks, people top out

13     often at GS13.· That's about the journeyman

14     level in the professional ranks.· At least it

15     was at EPA.· GS13 was the journeyman level.

16     GS14 gets into senior scientists in the

17     divisional level or so forth.· And here I was

18     a GS15 in OTS.

19     · · ·Q· · Okay.· So let's talk about your work

20     at EPA.· You start in 1981.· You stayed at EPA

21     until 2008.

22     · · ·A· · Yes.

23     · · ·Q· · And you were in the Office of Toxic

24     Substances.

25     · · ·A· · Yes.· And the subsequent -- there



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 255 of 854
                                                                            28

·1     supervisors, haven't you?"· I'd never had a

·2     woman supervisor before in my life.· "You

·3     always had trouble with this, blah, blah,

·4     blah.· Effective immediately, you're off this

·5     project."

·6     · · · · · So that is how that all came about.

·7     At least I didn't get fired right off the top.

·8     · · ·Q· · So you weren't able to do --

·9     · · ·A· · Yes, I wasn't able to do good

10     science in pursuit of the mission the way it

11     made sense to me and the way it ultimately

12     made sense to my division director and the

13     division director for the chemical control

14     division, who needed what I was trying to do.

15     It made perfect sense to all of us and I had

16     to really fight for that.

17     · · ·Q· · Okay.· So let's briefly here just go

18     through some of the rest of your work at EPA.

19     So you were a senior scientist at Office of

20     Toxic Substances, right?

21     · · ·A· · Yes.

22     · · ·Q· · And you stayed on until 2008, right?

23     · · ·A· · Yes.

24     · · ·Q· · And it says here that you were the

25     ranking chemist.



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 256 of 854
                                                                            29

·1     · · ·A· · Yes.· As it turned out, once we

·2     organized the union and won our

·3     representational election in 1984, Bill

·4     Coniglio, who was the president, did a survey

·5     of the bargaining unit, the professional

·6     bargaining unit.

·7     · · · · · He said, "Bill, you know you're the

·8     only GS15 chemist at headquarters?"· I said,

·9     "You've got to be kidding me."· He said, "No.

10     You are the only GS15 chemist at

11     headquarters."

12     · · · · · Well, that was kind of news to me

13     and that is why that business about the

14     ranking chemist -- there was no chemist at

15     equal rank to mine.· There were GM15s who

16     were -- like my branch chief was a GM15.

17     · · ·Q· · GM means manager?

18     · · ·A· · Yes, manager, yes.· GS is general

19     schedule.

20     · · ·Q· · So you were the ranking chemist for

21     all of the -- like not just for the Office of

22     Toxic Substances, but all offices at U.S. EPA

23     headquarters?

24     · · ·A· · There was no other chemist with a

25     GS15 rank at headquarters at that time.



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 257 of 854
                                                                            30

·1     · · ·Q· · And during your time at Office of

·2     Toxic Substances, as I see here in your

·3     resume, you authored risk assessments --

·4     · · ·A· · Yes.

·5     · · ·Q· · -- on a number of different

·6     chemicals.

·7     · · ·A· · Yes.· Well, let me talk about two of

·8     them that were special --

·9     · · ·Q· · And just briefly because we really

10     need to move this forward.

11     · · ·A· · Oh, okay.· The one that I'm most

12     proud of is -- other than the one that I had

13     to do some really innovative, kind of

14     out-of-the-box thinking on this CMA petition

15     thing was on 4,4'-methylenedianiline which was

16     the first chemical to trigger section 4(f) of

17     TSCA because of cancer concerns, and I was

18     given the job of doing risk assessment on

19     that.

20     · · · · · I worked closely with -- I can't

21     remember his name in NIOSH -- it turned out

22     that all -- virtually all the exposures to

23     this chemical were in the industrial setting,

24     and we set up a research program where people

25     handling this stuff had exposure-measuring



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 258 of 854
                                                                            31

·1     patches put on.· And we got exposure

·2     measurements and I developed, using interval

·3     calculus calculating what the rate of

·4     absorption was, based on the rate of

·5     absorption through other kinds of tissue

·6     that's normally -- anyway, it was a big deal

·7     and it's a risk assessment that's this thick,

·8     and I credited everybody who worked on that.

·9     All the people who worked in health and

10     environment review division.· Everybody who

11     worked in EETD and everybody -- I've never

12     seen an EPA document like that where everybody

13     who worked on it got credit for it.

14     · · · · · But I put my name on it, my branch

15     chief's name on it and then everybody else.

16     And it eventually turned out to be used by

17     OSHA to set -- negotiations between OSHA and

18     Labor to set industrial standards for

19     exposures to MDA.· It was a very big deal and

20     I was really happy with having done that.

21     · · ·Q· · And I see you won some awards.         A

22     silver medal award in 1983 and a bronze medal

23     award in 1987.

24     · · ·A· · Yes.· The silver medal was after I

25     got hammered by my branch chief for that CMA



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 259 of 854
                                                                            32

·1     thing, I got picked up by another branch

·2     chief, Jeanette Wiltse, and she was in charge

·3     of screening existing chemicals for toxicity.

·4     And we worked out a process for doing that and

·5     everybody who worked on that got a silver

·6     medal.

·7     · · · · · The bronze medal was for my work on

·8     establishing a daycare at EPA headquarters.         I

·9     worked with some other people and other union

10     people and management types and we set up a

11     daycare center there and got recognition for

12     that.

13     · · ·Q· · And after you left EPA, I see here

14     that you went on to do some teaching work at

15     American University.

16     · · ·A· · Yes, I started there as an adjunct

17     in 1995 and then I went on an IPA from 2004 --

18     interagency personnel agreement -- as a

19     full-time faculty person at AU teaching

20     chemistry.

21     · · · · · And then when I retired in '08, I

22     became a full-time employee of American

23     University on that chemistry faculty.· Taught

24     chemistry, environmental science.· And then an

25     honors course in ethics, law and rulemaking



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 260 of 854
                                                                            33

·1     which I thought was -- it was a lot of fun.

·2     · · · · · And then I retired from there

·3     in 2013.

·4     · · ·Q· · So let's go and talk -- you had

·5     mentioned that you worked for the EPA

·6     headquarters union.

·7     · · ·A· · Yes, I was an organizer and charter

·8     member and then served several terms as

·9     president.

10     · · ·Q· · By charter member, does that mean

11     you helped found the union?

12     · · ·A· · Yes, there eight of us on the

13     original charter for that Local 2050 I believe

14     NFFE and I'm one of them.· Bob Carton is

15     another one.

16     · · ·Q· · What is NFFE?

17     · · ·A· · National Federation of Federal

18     Employees.

19     · · ·Q· · And so the EPA headquarters union of

20     scientists and professionals.· What --

21     · · ·A· · Yes, we represented the professional

22     bargaining unit.· The professional unit is a

23     unit -- employees in which their job

24     description -- their work requires higher

25     education -- a degree in higher education,



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 261 of 854
                                                                            34

·1     basically.

·2     · · ·Q· · And that would include the

·3     toxicologists at EPA?

·4     · · ·A· · Toxicologists, chemists, attorneys

·5     and so forth.

·6     · · ·Q· · And how many professionals came

·7     within the EPA headquarters union?

·8     · · ·A· · At the time I think it was around

·9     1,200.

10     · · · · · MS. CARFORA:· Can I just very

11     quickly ask, Michael, that you give the

12     witness instructions about you two not talking

13     over each other.

14     · · ·BY MR. CONNETT:

15     · · ·Q· · Yes.· So, Dr. Hirzy, it's totally

16     common and natural to, in everyday speech, we

17     know what the question's going to be and so we

18     begin answering it because we predict where

19     it's going.

20     · · ·A· · Okay.

21     · · ·Q· · Happens all the time.· In a

22     deposition, it's problematic because the

23     attorney has a right to object after I ask the

24     question.

25     · · ·A· · Okay.· Gotcha.



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 262 of 854
                                                                            69

·1     what the union's position was on the fluoride

·2     MCLG?

·3     · · · · · MS. CARFORA:· Objection, foundation.

·4     · · ·A· · Well, over the years, as we looked

·5     into this and read the literature, we became

·6     aware that, for instance, there were many

·7     publications in Journal of American Medical

·8     Association, for instance, on increased hip

·9     fractures.· Became aware that there had been

10     some cancer studies done and there had been

11     mutagenicity studies.· And then by -- as time

12     rolled on, other issues arose.

13     · · · · · There were publications on

14     neurotoxicity became -- we became aware of

15     that.· We became aware of effects on the

16     thyroid gland, on the pineal gland and the

17     effect on premature maturation, especially in

18     young women, which was seen in one of the

19     famous Two Cities studies.· Became aware of

20     all of these kinds of effects that fluoride

21     had on tissues other than teeth.

22     · · ·BY MR. CONNETT:

23     · · ·Q· · So you have identified a number of

24     effects of fluoride on health.· Do you know

25     what the health effect was that EPA



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 263 of 854
                                                                            70

·1     established the safe drinking water standard

·2     around?

·3     · · ·A· · Yes.· It was crippling skeletal

·4     fluorosis.· Basically spinal fusion basically,

·5     that joints would be fused by the impact of

·6     fluoride on connective tissue.· That was

·7     alleged to be the most sensitive health

·8     effect, and EPA used that as their basis for

·9     setting their health-based standard.

10     · · ·Q· · Do you have any opinion based on

11     what you learned about fluoride as to whether

12     crippling skeletal fluorosis is appropriately

13     considered the most sensitive effect of

14     fluoride exposure?

15     · · ·A· · Yes, I do have an opinion and it's

16     not the most sensitive effect.

17     · · ·Q· · And what do you base that on?

18     · · ·A· · A plethora of research on effects on

19     other tissues beside connective tissue,

20     especially on the developing brain.· That is

21     one that has especially come to the fore.

22     Starting in the middle '90s, publications

23     started coming out of -- especially coming out

24     of China showing the impact of fluoride on

25     children's IQ.



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 264 of 854
                                                                            71

·1     · · ·Q· · What if we just limit the question

·2     to the skeleton, the bones.· Do you think

·3     crippling skeletal fluorosis is appropriately

·4     considered the most sensitive skeletal effect

·5     of fluoride?

·6     · · · · · MS. CARFORA:· Objection, foundation.

·7     · · ·A· · Common sense says it can't be.         I

·8     mean, you don't wake up one day and your spine

·9     is fused.· I mean, there are aches and pains

10     that develop as your connective tissue becomes

11     more and more calcified, more and more

12     inflexible, and those kinds of arthritic-type

13     symptoms clearly are adverse health effects.

14     · · · · · So, you know, it's crippling -- you

15     don't wake up one morning and suddenly your

16     spine is fused and say, oops, I've had too

17     much fluoride.

18     · · ·BY MR. CONNETT:

19     · · ·Q· · Have you ever heard of crippling

20     skeletal fluorosis being called stage three

21     skeletal fluorosis or phase three skeletal

22     fluorosis?

23     · · · · · MS. CARFORA:· Objection, compound.

24     · · ·A· · Yes.· I mean, there are stage one,

25     stage two.· Basically the joint pain and then



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 265 of 854
                                                                            72

·1     stiffness and progressing to severe

·2     arthritic-type symptoms and that kind of thing

·3     that you see in the exploitative photographs

·4     of people who -- especially in places where

·5     endemic fluorosis, bone fluorosis in places

·6     like India and China where the incredible

·7     distortions of the bones are taking place.

·8     · · ·BY MR. CONNETT:

·9     · · ·Q· · Have you seen, in your review of the

10     literature on fluoride, have you seen any

11     studies or evidence to indicate that the

12     earlier stages of skeletal fluorosis, stage

13     one or stage two, that those stages can be

14     associated with symptoms?

15     · · · · · MS. CARFORA:· Objection, assumes

16     facts not in the record.

17     · · ·A· · Yes.

18     · · ·BY MR. CONNETT:

19     · · ·Q· · What kind of symptoms have you seen

20     in the scientific literature being associated

21     with stage one and stage two skeletal

22     fluorosis?

23     · · · · · MS. CARFORA:· Objection, foundation,

24     leading.

25     · · ·A· · Basically joint pain.



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 266 of 854
                                                                            73

·1     · · ·BY MR. CONNETT:

·2     · · ·Q· · And is joint pain something that you

·3     would consider as a scientist who's been

·4     involved in risk assessment, is joint pain

·5     something that you would consider to be an

·6     adverse health effect?

·7     · · · · · MS. CARFORA:· Objection, foundation.

·8     · · ·A· · As someone who has four prosthetic

·9     joints, I would say definitely it's an adverse

10     health effect.

11     · · ·BY MR. CONNETT:

12     · · ·Q· · Now, were there -- did the union

13     have any -- strike that.

14     · · · · · We have been talking about the

15     skeletal effects.· What about dental effects?

16     Was there any controversy surrounding the safe

17     drinking water standard for fluoride with

18     respect to dental effects?

19     · · · · · MS. CARFORA:· Objection, foundation,

20     leading.

21     · · ·A· · Yes.· Based even on the 1993 I think

22     it was National Academy report, they mentioned

23     that moderate and severe dental fluorosis

24     incidence were elevated in places where there

25     were higher fluoride levels in the drinking



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 267 of 854
                                                                            89

·1     · · ·BY MR. CONNETT:

·2     · · ·Q· · I am going to hand you a document

·3     which I have marked as Exhibit Number 155.

·4     It's a letter dated July 25th, 1997, and I am

·5     not going to pronounce the name right but who

·6     wrote this -- well, let me back up.

·7     · · · · · Dr. Hirzy, have you ever seen this

·8     letter before?

·9     · · ·A· · Yes.

10     · · ·Q· · It's written -- who is the author of

11     this letter?

12     · · ·A· · This is Bob Perciasepe, who was the

13     assistant administrator for water at the time

14     this was written.

15     · · ·Q· · And it's on U.S. EPA letterhead?

16     · · ·A· · Yes.

17     · · ·Q· · And you're familiar with this

18     letter?

19     · · ·A· · Yes.

20     · · ·Q· · And what is -- can you tell us about

21     what this letter -- what basically this letter

22     is saying?

23     · · · · · MS. CARFORA:· Objection, foundation.

24     · · ·A· · It's -- in essence what it's saying

25     is that he promised to write to the American



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 268 of 854
                                                                            90

·1     Dental Association to ask them to address the

·2     error in their website in which they list EPA

·3     as an endorser of water fluoridation.

·4     · · · · · There is another letter like this

·5     in -- I don't know if you have a copy of it or

·6     how I could get it into the record, but it's a

·7     letter from Assistant Administrator Perciasepe

·8     to I think it's Senator Nelson where he is

·9     more adamant about it.· He's -- that he has

10     asked ADA to take EPA's name off the list of

11     endorsers of water fluoridation.

12     · · · · · MS. CARFORA:· I'm going to object to

13     that answer as hearsay.

14     · · ·BY MR. CONNETT:

15     · · ·Q· · What is -- so in this letter Robert

16     Perciasepe is asking the American Dental

17     Association to do what?

18     · · · · · MS. CARFORA:· Objection, foundation.

19     · · ·A· · In essence to take EPA's name off

20     the list of endorsers of water fluoridation.

21     · · ·BY MR. CONNETT:

22     · · ·Q· · And why is that?· Why did he ask ADA

23     to do that?

24     · · · · · MS. CARFORA:· Objection, foundation.

25     · · ·A· · Well, the basis on his analysis of



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 269 of 854
                                                                            91

·1     the Safe Drinking Water Act provisions that

·2     say that EPA may not require the addition of

·3     any substances for health protection to

·4     drinking water.

·5     · · ·BY MR. CONNETT:

·6     · · ·Q· · I see here in the letter he --

·7     Robert Perciasepe states, "You are correct in

·8     stating that the Safe Drinking Water Act

·9     prohibits EPA from requiring or supporting the

10     addition of any substance including fluoride

11     to drinking water for preventative healthcare

12     purposes."

13     · · · · · Did I read that correctly?

14     · · ·A· · Yes, indeed you did.

15     · · ·Q· · And is that consistent with your

16     understanding as well?

17     · · ·A· · Yes.

18     · · ·Q· · If you can set that aside.

19     · · · · · (Hirzy Deposition Exhibit Number 156

20     · · · · · was marked for identification.)

21     · · ·BY MR. CONNETT:

22     · · ·Q· · Dr. Hirzy, I am going to hand you

23     a document that I have marked as Exhibit

24     Number 156.· What are we looking at here,

25     Dr. Hirzy?



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 270 of 854
                                                                         100

·1     some critical biological function?· And there

·2     isn't any except the response that I got

·3     from -- I got no response about fluoride

·4     having any useful biological purpose except

·5     for mollusks, who some mollusks cannot form

·6     their shells if the fluoride concentration is

·7     too low.

·8     · · · · · So if you're a mollusk, you need the

·9     fluoride.· If you're anything else, you don't.

10     That's basically what I took from that, from

11     that survey.

12     · · ·Q· · And that was a survey of EPA

13     scientists?

14     · · ·A· · Yes.· Well, I went out to the union

15     leadership and asked them if they could, you

16     know, similarly ask people that they knew, and

17     that is the response -- I got the one response

18     back from the folks up at Margaressett

19     [phonetic] Research Lab and they said they're

20     aware that mollusks need fluoride in order to

21     form their shell.

22     · · ·Q· · Now, in this position paper that you

23     wrote back in 1999, do you at all discuss

24     neurotoxicity issues?

25     · · ·A· · Yes.· By that time there had been



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 271 of 854
                                                                            92

·1     · · ·A· · This is the culmination of my

·2     dealing with many inquiries from the public

·3     about what the union's position is.· Why are

·4     we against putting fluoride in drinking water.

·5     · · · · · In 1997, at a general meeting of the

·6     membership, we voted to support the

·7     Californians for safe drinking water action in

·8     attempting to ban the statewide mandate for

·9     fluoridation in California.· And we have had

10     many inquiries about why are you taking these

11     positions, and this was my summary of why we

12     have taken that position.

13     · · ·Q· · So it's dated May 1st, 1999?

14     · · ·A· · Yes.

15     · · ·Q· · And the title is, "Why EPA's

16     Headquarters Union of Scientists Opposes

17     Fluoridation."

18     · · ·A· · Yes.

19     · · ·Q· · So this -- does this document here

20     respect the official position of the EPA

21     headquarters union on fluoridation?

22     · · ·A· · Yes.

23     · · ·Q· · And looking here at the first

24     paragraph, it states that, "Our union is

25     comprised of and represents the approximately



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 272 of 854
                                                                         101

·1     several developments in that area, not least

·2     of which was the publication in

·3     Neurotoxicology and Teratology by Isaacson,

·4     et al., work group that included Karl Jensen,

·5     an EPA scientist.

·6     · · · · · And they exposed rats to one part

·7     per million fluoride as sodium fluoride or as

·8     aluminum fluoride and found that there was

·9     profound effects on the rat brain that was --

10     neuronal damage was the primary thing.· And

11     the fact that they saw this effect -- and the

12     aluminum fluoride was worse than the sodium

13     fluoride.

14     · · · · · The thing that's really significant

15     about that is that one ppm in the drinking

16     water for rats is not the same as one ppm in

17     drinking water for humans.

18     · · ·Q· · What do you mean by that?

19     · · · · · MS. CARFORA:· I'm going to object to

20     the witness's answer as foundation and

21     counsel's question for lack of foundation.

22     · · ·A· · From my training and experience in

23     toxicology, I understand that in order to

24     achieve the same serum levels of fluoride in

25     humans and rats, rats take about five times as



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 273 of 854
                                                                         102

·1     much fluoride on the intake side than humans

·2     do.· In other words, for rats to get the

·3     equivalent of a human drinking one ppm water,

·4     they would have to be drinking five ppm water.

·5     And here, we're seeing these profound brain

·6     effects in these rats with essentially one

·7     fifth of the amount of water that people are

·8     exposed to.

·9     · · · · · And the conclusion I drew from that

10     was whoa, we are way over anything like a

11     reasonable reference dose for humans just

12     drinking the so-called optimum level of

13     fluoride.

14     · · · · · (Hirzy Deposition Exhibit Number 157

15     · · · · · was marked for identification.)

16     · · ·BY MR. CONNETT:

17     · · ·Q· · And Dr. Hirzy, I'm going to hand you

18     a document that I have marked as 157.

19     · · ·A· · Yes, this is the one.

20     · · ·Q· · Is this the study that you were just

21     discussing?

22     · · ·A· · Yes.

23     · · ·Q· · And this was published in Brain

24     Research?

25     · · ·A· · Yes, this is Brain Research, yes.



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 274 of 854
                                                                         103

·1     · · ·Q· · And it was published in 1998?

·2     · · ·A· · Yes.

·3     · · ·Q· · It's titled "Chronic administration

·4     of aluminon fluoride or sodium fluoride to

·5     rats in drinking water: alterations in

·6     neuronal and cerebrovascular integrity."

·7     · · ·A· · Yes.

·8     · · ·Q· · And you had mentioned that

·9     Dr. Jensen.· I see here a Karl F. Jensen

10     listed as one of the authors.

11     · · ·A· · Yes.

12     · · ·Q· · And it lists him here as being in

13     the neurotoxicology division of the EPA.

14     · · ·A· · Yes.

15     · · ·Q· · So Dr. Jensen was a

16     neurotoxicologist at EPA?

17     · · ·A· · Yes.

18     · · ·Q· · Dr. Hirzy, are you aware of any

19     other EPA scientist ever doing an animal study

20     to investigate fluoride's effects on the brain

21     besides Dr. Jensen?

22     · · ·A· · No.· And if I may expound on that a

23     little bit, I asked him if they would do

24     further research on -- along this same line,

25     and Karl got back to me and said that they



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 275 of 854
                                                                         104

·1     were instructed that they weren't going to be

·2     doing any more research on fluoride toxicity.

·3     · · · · · MS. CARFORA:· I'm going to object to

·4     his answer as hearsay.

·5     · · ·BY MR. CONNETT:

·6     · · ·Q· · Do you believe, Dr. Hirzy, that this

·7     study that Dr. Jensen, an EPA scientist,

·8     coauthored which found effects on the brain at

·9     one ppm in animals, do you think this is a

10     study that warranted further research?

11     · · · · · MS. CARFORA:· Objection, foundation.

12     · · ·A· · Absolutely.

13     · · ·BY MR. CONNETT:

14     · · ·Q· · And you also discuss here,

15     Dr. Hirzy, on page two of the white paper, the

16     position paper on fluoridation, a study by

17     Mullenix.

18     · · ·A· · Yes.

19     · · ·Q· · And could you briefly describe that

20     study and what significance you drew and the

21     EPA union drew from it?

22     · · ·A· · Well, Dr. Mullenix was working at

23     the Forsyth Dental Research Institute at

24     Harvard and was asked to study fluoride

25     toxicity by Harold Hodge, who was the



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 276 of 854
                                                                         156

·1     · · ·A· · Yes.

·2     · · · · · MS. CARFORA:· Objection, calls for

·3     expert opinion.

·4     · · ·A· · Yes.

·5     · · ·BY MR. CONNETT:

·6     · · ·Q· · Now, Dr. Hirzy, based on all of the

·7     scientific literature on fluoride toxicity

·8     that you have reviewed during the course of

·9     your career, do you think it is reasonable for

10     citizens to take steps to minimize their

11     exposure to fluoridated water?

12     · · · · · MS. CARFORA:· Objection, calls for

13     an expert opinion.

14     · · ·A· · Yes, I do think it's reasonable to

15     do that.

16     · · ·BY MR. CONNETT:

17     · · ·Q· · And do you yourself take steps to

18     reduce your exposure to fluoridated water?

19     · · ·A· · Yes.· Since my son was born 29 years

20     ago, we have had a countertop water

21     distillation system and I distill all of our

22     drinking water, water for coffee, water for

23     cooking rice and pasta.· I don't mind drinking

24     bottled water or water at a restaurant or

25     using ice cubes from my refrigerator that are



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 277 of 854
                                                                         157

·1     made from city water.· I'm not a total

·2     flurophobe, but I do minimize my exposure.

·3     And that, among other reasons, is why I feel

·4     like I am a very healthy 82-year-old.

·5     · · ·Q· · And if you could, Dr. Hirzy, just

·6     turn briefly back to the position paper

·7     that that union published in 1999, Exhibit

·8     Number 156.

·9     · · ·A· · Well, I can't find it.· Just --

10     · · ·Q· · Well, I am looking at page 183 of

11     the position paper and it references --

12     · · ·A· · This is the white paper?

13     · · ·Q· · Yes.

14     · · ·A· · Carry on.

15     · · ·Q· · And it says that, "The EPA union

16     asked EPA to provide unfluoridated drinking

17     water to its employees"; is that correct?

18     · · ·A· · Yes.

19     · · ·Q· · And was that based on -- what health

20     outcome or health concern was that request

21     based on?

22     · · ·A· · Neurotoxicity.· I mean, that was

23     the -- that was our major concern was this

24     stuff is neurotoxic.

25     · · ·Q· · And that was -- you issued this



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 278 of 854
                                                                         158

·1     white paper about 20 years ago.

·2     · · ·A· · Yes.

·3     · · ·Q· · So already by 1999, EPA union had

·4     enough concern about neurotoxicity that it was

·5     asking for the provision of nonfluoridated

·6     water?

·7     · · ·A· · Absolutely.· With the Mullenix study

·8     and with the Jensen and Varner studies and the

·9     studies coming out of China, it was obvious to

10     us that neurotoxicity is a legitimate concern

11     for this stuff.

12     · · · · · If I may interject.· Measuring a

13     decrement of one or two or three IQ points

14     would be pretty tough, but anybody here who is

15     willing to sacrifice one or two or three IQ

16     points, please raise your hand.· I see no

17     hands raised.

18     · · ·Q· · And --

19     · · · · · MS. CARFORA:· I'm going to object to

20     his narrative.

21     · · · · · MR. CONNETT:· There were no hands

22     raised but --

23     · · · · · MS. CARFORA:· Sorry, is there a

24     question pending?

25     · · · · · MR. CONNETT:· I'm about to ask it,



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 279 of 854
                                                                         347

·1     STATE OF MARYLAND

·2     HOWARD COUNTY

·3     · · ·I, Dawn Michele Hyde, a Notary Public of the

·4     State of Maryland, Howard County, do hereby certify

·5     that the above-captioned proceeding took place

·6     before me at the time and place herein set out.

·7     · · ·I further certify that the proceeding was

·8     recorded stenographically by me and this transcript

·9     is a true record of the proceedings.

10     · · ·I further certify that I am not of counsel to

11     any of the parties, nor an employee of counsel, nor

12     related to any of the parties, nor in any way

13     interested in the outcome of the action.

14     · · ·As witness my hand and seal this 31st day of

15     May, 2019.

16

17     · · · · · · · ·Dawn M. Hyde, Notary Public

18     · · · · · · · ·My Commission Expires 10/7/2019

19

20

21

22

23

24

25



                      Asbestos Reporters of California
                                888-779-9974
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 280 of 854




                      Exhibit 12
 Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 281 of 854




                  FOOD & WATER WATCH

                                 VS

U.S. ENVIRONMENTAL PROTECTION AGENCY, ET AL.,



                      JOYCE DONOHUE

                          May 13, 2019
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 282 of 854



·1     · · ·IN THE UNITED STATES DISTRICT COURT

·2     · ·FOR THE NORTHERN DISTRICT OF CALIFORNIA

·3     · · · · · · · ·AT SAN FRANCISCO

·4     FOOD & WATER WATCH, et al.· · *

·5     · Plaintiffs· · · · · · · · · *· Civ. No.

·6     v.· · · · · · · · · · · · · · *· 17-CV-02162-EMC

·7     U.S. ENVIRONMENTAL PROTECTION *

·8     AGENCY, et al.· · · · · · · · *

·9     · Defendants· · · · · · · · · *

10     · · · · · · · *· ·*· ·*· ·*· ·*

11     · · · · · VIDEOTAPED DEPOSITION OF

12     · · · JOYCE MORRISSEY DONOHUE, Ph.D., RD

13     · · · · · · · · MAY 13th, 2019

14     · · · · · · · ·WASHINGTON, D.C.

15

16     · · · · · Reported by:· Dawn M. Hyde

17

18

19

20

21

22

23

24

25
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 283 of 854
                                                                            12

·1     and wouldn't reject it.· So that's why it was

·2     the National Defense Act that sponsored that

·3     research.

·4     · · ·Q· · Gotcha.· Okay.· And since your

·5     resume sort of fills in the gaps in terms of

·6     what you do after your Ph.D., I would like to

·7     kind of focus now on your work at EPA.· Okay?

·8     · · ·A· · Sure.

·9     · · ·Q· · And you started working at the EPA

10     in 1996.

11     · · ·A· · Correct.

12     · · ·Q· · And you have been -- your position

13     at the EPA since then has been senior health

14     scientist?

15     · · ·A· · No.· I came in as a health scientist

16     and I didn't become a senior health scientist

17     until a couple of years after I got there.

18     · · ·Q· · And what -- can you describe the

19     kind of work that you've done at EPA as a

20     health scientist?

21     · · ·A· · I have worked on both the Clean

22     Water Act and the Safe Drinking Water Act.

23     Most of my work on the Clean Water Act was

24     when the 2000 methodology was written.· It was

25     partially written when I joined EPA but I was



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 284 of 854
                                                                            38

·1     they retired.

·2     · · ·Q· · Would you -- you know who Karl

·3     Jensen is, right?

·4     · · ·A· · Well, he is one of the ones I am

·5     talking about.

·6     · · ·Q· · And Karl Jensen is a

·7     neurotoxicologist, right?

·8     · · ·A· · Yes, he is.

·9     · · ·Q· · And he's the only scientist at EPA

10     to actually have conducted an animal study

11     looking at fluoride's neurotoxic effect,

12     right?

13     · · ·A· · Yes.

14     · · · · · MS. CARFORA:· Objection, foundation.

15     · · ·BY MR. CONNETT:

16     · · ·Q· · Are you aware of that?

17     · · ·A· · I can't remember a published study.

18     He wasn't at EPA when he -- he wasn't a lead

19     author.

20     · · ·Q· · But he was an author of a study --

21     · · ·A· · You're talking about Varner, et al.?

22     · · ·Q· · Right.

23     · · ·A· · Yes.· He was a graduate student, I

24     believe, at the time.

25     · · ·Q· · And he was a coauthor of that animal



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 285 of 854
                                                                            88

·1     · · ·BY MR. CONNETT:

·2     · · ·Q· · And yet the MCLG for fluoride in the

·3     United States is still the same exact level

·4     that it was when the EPA set it in 1985,

·5     right?

·6     · · ·A· · That is a statement of fact.

·7     · · ·Q· · So the MCLG that we still have in

·8     place for fluoride in the year 2019 is a

·9     pretty crude standard?

10     · · ·A· · It's an out-of-date assessment.

11     · · ·Q· · So in the 1990s you come into the

12     EPA, and in the early 2000s you and the EPA

13     recognize that there's new toxicological data

14     on fluoride that needs to be considered,

15     right?

16     · · ·A· · That's why they considered it.

17     · · ·Q· · And the EPA asked, in the early

18     2000s, the National Research Council to review

19     this new toxicological data, right?

20     · · ·A· · That is correct.

21     · · ·Q· · And you yourself presented to the

22     National Research Council in 2003 to ask them

23     to do this review, right?

24     · · ·A· · Correct.

25     · · ·Q· · And I was there and we were talking.



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 286 of 854
                                                                            89

·1     · · ·A· · Yes, we talked, yes.

·2     · · ·Q· · I was at that meeting and you had,

·3     in your discussion explaining to the NRC why

·4     the EPA wanted the NRC to do this review, you

·5     had mentioned that there was new data on

·6     fluoride with respect to neurotoxicity; do you

·7     remember that?

·8     · · ·A· · Yes, I mean, it certainly is one of

·9     the areas that --

10     · · ·Q· · And --

11     · · · · · MS. CARFORA:· Did you have more?

12     Did you finish your answer there?· You just

13     ended with the word "that."

14     · · ·A· · That's just one of the areas where

15     there were new data, including the Varner

16     paper, several other papers.· So we -- in what

17     we charged the NRC to do, we didn't tell them

18     to just restrict themselves to dental

19     fluorosis and skeletal fluorosis.· The charge

20     to the National Research Council is broader

21     than that.· So Michael is correct.

22     · · ·BY MR. CONNETT:

23     · · ·Q· · And so there was -- in the 1990s and

24     early 2000s, there was new toxicological data

25     available on fluoride and neurotoxicity,



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 287 of 854
                                                                            90

·1     right?

·2     · · ·A· · Correct.

·3     · · ·Q· · And you, the EPA, wanted the NRC to

·4     review that data on neurotoxicity?

·5     · · ·A· · It was much broader than that.· We

·6     asked them to do a host of effects.

·7     · · ·Q· · Right.· But you wanted NRC to, as

·8     part of their review, to look at the new data

·9     on neurotoxicity?

10     · · ·A· · That was one of the topics, correct.

11     · · ·Q· · And you also wanted them, the NRC,

12     to look at new data on endocrine disruption,

13     right?

14     · · ·A· · Correct.

15     · · ·Q· · And in 2006 the NRC released its

16     review of the MCLG?

17     · · ·A· · Correct.

18     · · ·Q· · And the NRC concluded that the

19     four ppm MCLG is too high and needs to be

20     lowered, right?

21     · · ·A· · Unanimously.

22     · · ·Q· · And the NRC concluded that severe

23     dental fluorosis is an adverse health effect,

24     right?

25     · · ·A· · When it included the pitting of the



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 288 of 854
                                                                            95

·1     sentence.

·2     · · ·A· · "These changes have a bearing on the

·3     possibility that fluorides act to increase the

·4     risk of developing Alzheimer's disease."

·5     · · ·Q· · And that was a finding of the NRC,

·6     right?

·7     · · ·A· · On the possibility, yes, that was a

·8     finding.

·9     · · ·Q· · And can -- do you see the section

10     there titled "Anatomical changes in the

11     brain."

12     · · ·A· · In the same area.· Where is that?

13     Oh, okay, the section.· I'm sorry, I was

14     reading the paragraph.

15     · · ·Q· · And can you read the first sentence

16     there?

17     · · ·A· · That's Karl's paper.

18     · · ·Q· · And Karl is who?

19     · · ·A· · Karl Jensen.

20     · · ·Q· · An EPA scientist?

21     · · ·A· · He was.· He's retired now.

22     · · ·Q· · So this paragraph here is

23     summarizing Dr. Jensen's work?

24     · · ·A· · I know he found aluminum in both

25     cases in the brain.· We took a break at that



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 289 of 854
                                                                            96

·1     point.

·2     · · ·Q· · Right.· So can you read this summary

·3     of Karl Jensen's research.

·4     · · ·A· · "Studies of rats exposed to sodium

·5     fluoride and aluminum fluoride had reported

·6     distortion in cells in the outer and inner

·7     layers of the neocortex.· Neuronal

·8     deformations were also found in the

·9     hippocampus and to a smaller extent in the

10     amygdala" -- I always have trouble with

11     that -- "and cerebellum.· Aluminum was

12     detected in neurons and glia, as well as in

13     the lining and in the lumen of blood vessels

14     in the brain and kidney."

15     · · ·Q· · Can you read the next sentence.

16     · · ·A· · "The substantial enhancement of

17     reactive microglia, the presence of stained

18     intracellular neurofilaments and the presence

19     of IgM observed in rodents are related to

20     signs of dementia in humans."

21     · · ·Q· · So this was one of the findings

22     again of the NRC review, right?

23     · · ·A· · That one is a statement of fact.         I

24     mean, that's a statement of an outcome of a

25     study, not necessarily a finding.· That



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 290 of 854
                                                                            97

·1     finding was already published and available to

·2     the public at that time.

·3     · · ·Q· · Okay.· So what the NRC is doing is

·4     just they are summarizing Dr. Jensen's

·5     research?

·6     · · ·A· · Correct.

·7     · · ·Q· · And they are --

·8     · · ·A· · He wasn't the lead but he is the one

·9     who worked for EPA.

10     · · ·Q· · Right.· So before, I was asking you

11     whether Dr. Jensen had studied sodium fluoride

12     and he --

13     · · ·A· · Yes, I know, but what he found -- we

14     took a break then.· What he found was he found

15     aluminum in the brain in both cases.· So he

16     found that when he fed the aluminum fluoride

17     and the sodium fluoride and it was attributed,

18     maybe not in the paper, but since I worked

19     with Karl on this and we had a couple of

20     seminars where we brought in

21     neurotoxicologists, and good

22     neurotoxicologists, that aluminum fluoride

23     isn't terribly soluble.

24     · · · · · So if you -- like calcium fluoride,

25     they like to pair up and have low solubility



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 291 of 854
                                                                         100

·1     with the functions of the brain and the body

·2     by direct and indirect means."

·3     · · · · · Did I read that correctly?

·4     · · ·A· · Where are we?

·5     · · ·Q· · Right here.

·6     · · ·A· · Down here in Recommendations?

·7     · · ·Q· · Yes.

·8     · · ·A· · Okay.· That is "To determine the

·9     potential adverse effects, additional data are

10     needed."· See, I guess personally I would

11     target more on the indirect but they said

12     this.· I can't deny that they said that.· But

13     as a biochemist, I'd focus on the indirect.

14     · · ·Q· · But the NRC concluded, based on the

15     evidence available to it as of 2006, that

16     fluorides have the ability to interfere with

17     the functions of the brain.· That was NRC's

18     conclusion?

19     · · ·A· · That was their conclusion, correct.

20     · · ·Q· · So based on the -- according to the

21     NRC as of 2006, neurotoxicity is a hazard of

22     fluoride exposure at some level, right?

23     · · ·A· · That was their conclusion, correct.

24     · · ·Q· · So neurotoxicity, according to the

25     NRC, is a hazard of fluoride exposure?



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 292 of 854
                                                                         107

·1     · · ·A· · Yes.

·2     · · ·Q· · And if you look towards the end of

·3     page 267, last page, do you see there it says,

·4     "The effects of fluoride on various aspects of

·5     endocrine function should be examined further,

·6     particularly with respect to a possible role

·7     in the development of several diseases or

·8     mental states in the United States.· Major

·9     areas for investigation include the following:

10     thyroid disease especially in light of

11     decreasing iodine intake by the U.S.

12     population."

13     · · · · · Did I read that correctly?

14     · · ·A· · Correct.

15     · · ·Q· · So the NRC is suggesting -- is

16     recommending -- strike that.· I will withdraw

17     the question.

18     · · · · · Based on the concerns that the NRC

19     was expressing here, both in the neurotoxicity

20     review and the endocrine review, there were

21     some big potential problems from fluoride

22     exposure that needed to be investigated,

23     right?

24     · · ·A· · I would agree with you there.

25     · · ·Q· · And, I mean, based on what the NRC



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 293 of 854
                                                                         243

·1     · · ·Q· · Right.· And you have read this

·2     study?

·3     · · ·A· · I read it back when I sent it to

·4     Barbara.· I don't remember it anymore.

·5     · · ·Q· · Right.

·6     · · ·A· · I mean, I remember that it exists,

·7     yes.

·8     · · ·Q· · And do you -- this was -- this study

·9     here is a prospective birth cohort study,

10     right?

11     · · ·A· · Yes.

12     · · ·Q· · And it found that prenatal fluoride

13     exposure in the ELEMENT cohort is associated

14     with significant loss of IQ in the children,

15     right?

16     · · ·A· · It is one of the studies that finds

17     that, correct.· One of the post 2016 studies

18     that does that.

19     · · ·Q· · And you would agree that this is a

20     very well-conducted study, right?

21     · · ·A· · I would agree that it was well

22     conducted, yes.

23     · · ·Q· · And you would agree that this study

24     justifies a reassessment of the current MCLG

25     for fluoride, correct?



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 294 of 854
                                                                         254

·1     study I remember.

·2     · · ·Q· · But if you look at the abstract,

·3     you'd agree --

·4     · · ·A· · Yes, I now see the term ELEMENT.

·5     · · ·Q· · And it found that urinary fluoride

·6     levels in the pregnant mother were

·7     significantly associated with an increased

·8     risk of ADHD symptoms in the offspring, right?

·9     · · ·A· · Yes.

10     · · ·Q· · And if you look at the results

11     section, the mean maternal urinary fluoride

12     content was just 0.85 milligrams per liter,

13     right?

14     · · ·A· · I don't see that yet but --

15     · · ·Q· · If you look at the results section,

16     it's the first sentence.

17     · · ·A· · 0.85, correct.

18     · · ·Q· · So you would agree that this is an

19     important study here, prospective birth cohort

20     study which is finding a significant

21     relationship between low levels of fluoride in

22     the urine of pregnant women and ADHD symptoms

23     in children?

24     · · ·A· · Yes.

25     · · ·Q· · And you would agree that this study



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 295 of 854
                                                                         255

·1     further supports the need for reassessment of

·2     current safety standards of fluoride in the

·3     United States?

·4     · · ·A· · Yes, it is one of several.

·5     · · ·Q· · Okay.· And I am going to -- this --

·6     in Dr. Ohanian's e-mail he also included a

·7     study titled, "Till, EHP water and maternal

·8     urine," do you see that?

·9     · · ·A· · Where's that?

10     · · ·Q· · In the attachments.· If you look at

11     the description of the attachments in the

12     Ohanian e-mail.

13     · · ·A· · Bashash, Till, EHP, Fluoride.· Till

14     in Canada.

15     · · ·Q· · Right.

16     · · ·A· · Okay.· So yes, if he sent it to me,

17     I have it.· And I know Till I think has two

18     publications out where she's an author.

19     · · ·Q· · Okay.· So let's look at this Till

20     paper that Dr. Ohanian sent to you and the

21     others at EPA.· And do you see it?· It's in

22     that --

23     · · ·A· · Okay.

24     · · ·Q· · And you see it's titled, "Community

25     water fluoridation and urinary fluoride



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 296 of 854
                                                                         257

·1     · · ·Q· · So would you agree that this study

·2     here by Christine Till and colleagues provides

·3     significant and important new information that

·4     supports the reassessment of fluoride safety

·5     standards in the United States?

·6     · · ·A· · It's one of the others that I've

·7     already identified I had.· It's got Bruce

·8     Lanphear in there too.

·9     · · ·Q· · And what's the importance of seeing

10     Bruce Lanphear's name as a coauthor of this

11     study?

12     · · ·A· · He's an important lead person.

13     · · ·Q· · And you would agree that Bruce

14     Lanphear has done very important and reliable

15     research?

16     · · ·A· · Yes, I would.

17     · · ·Q· · So when you see Bruce Lanphear's

18     name on a study, that gives it an added stamp

19     of authoritativeness; would it be fair to say

20     that?

21     · · · · · MS. CARFORA:· Objection, form.

22     · · ·A· · I am not going to judge.· Name

23     recognition.

24     · · ·BY MR. CONNETT:

25     · · ·Q· · And so I'm not sure if you answered



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 297 of 854
                                                                         258

·1     my question, but you would agree that this

·2     study right here adds further reason why we

·3     need to do a reassessment of the fluoride

·4     safety standards in the United States?

·5     · · ·A· · I think it's a reason for doing not

·6     just the United States.· I think it's a reason

·7     for doing an update to the fluoride

·8     assessment.

·9     · · ·Q· · Everywhere?

10     · · ·A· · Well, for anybody who's interested

11     in fluoride and the need for regulation of

12     fluoride exposure.

13     · · ·Q· · Right.· Anyone interested in making

14     sure that fluoride is safe for consumption?

15     · · ·A· · That people are not overexposed,

16     yes.

17     · · ·Q· · And the other study that Dr. Ohanian

18     attached here in this e-mail is a study by

19     Malin, and Christine Till is a coauthor.

20     · · ·A· · I have that one too.

21     · · ·Q· · And it's titled, "Fluoride exposure

22     and thyroid function among adults living in

23     Canada: effect modification by iodine status,"

24     right?

25     · · ·A· · Yes.



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 298 of 854
                                                                         267

·1     evaluation of the new data.· An individual

·2     doesn't make those decisions.· Those decisions

·3     are made by a community that has all kinds of

·4     expertise.· So I have already agreed that I

·5     think these are new, good studies, that they

·6     need evaluation.· They need evaluation by

·7     experts and I wouldn't classify myself as an

·8     expert.

·9     · · ·Q· · But you are the chief expert on

10     fluoride at EPA's Office of Water, right?

11     · · ·A· · That's correct, but the Office of

12     Water deals only with water.· There is no

13     regulation for iodine, and the Office of Water

14     doesn't always listen to me.

15     · · ·Q· · I understand.· Do you -- I might

16     have asked you this before but I forget your

17     answer.· Can you think of any other scientist

18     at the EPA who knows more about fluoride than

19     you do?

20     · · ·A· · I mean, Kris Thayer led the NIH

21     study.· She's now at EPA.· I can't answer to

22     her knowledge in the Office of Water and I am

23     only in that office.· Ed's pretty

24     knowledgeable because he knows the past.

25     · · · · · Everybody else in the office --



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 299 of 854
                                                                         271

·1     · · ·BY MR. CONNETT:

·2     · · ·Q· · So I think -- oh, you know, one last

·3     document I meant to ask you about.· Oh, I

·4     forgot to mark it.· This will be Exhibit

·5     Number 92.· And you see this is an e-mail that

·6     you wrote to two individuals, and the subject

·7     is fluoride paper.

·8     · · ·A· · Oh, yes.

·9     · · · · · MS. CARFORA:· Hang on a second.         I

10     don't see that subject on here.· We're on

11     Exhibit Number 92?

12     · · · · · MR. CONNETT:· Yes.

13     · · · · · MS. CARFORA:· Thank you.· Sorry.

14     · · ·BY MR. CONNETT:

15     · · ·Q· · It's dated -- the e-mail is dated

16     August 29th, 2018.

17     · · ·A· · It would have been this year.

18     · · ·Q· · Last year.

19     · · ·A· · Last year.· Wow, it's already '19.

20     · · ·Q· · And you attach in this e-mail a

21     study by Yu on fluoride and IQ.

22     · · ·A· · That's another one of those studies

23     that deserves attention.

24     · · ·Q· · And the title of this e-mail is

25     "Threshold effects of moderately excessive



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 300 of 854
                                                                         272

·1     fluoride exposure on children's health: a

·2     potential association between dental fluorosis

·3     and loss of excellent intelligence," correct?

·4     · · ·A· · Correct.

·5     · · ·Q· · And this study again found an

·6     association between fluoride exposure and

·7     reduced IQ, correct?

·8     · · ·A· · Correct.

·9     · · ·Q· · And you believe this study was a

10     well-done study, correct?

11     · · ·A· · I thought they did a good job with

12     the confounding factors.

13     · · ·Q· · And you think this is an important

14     study to be considered in reassessing the

15     fluoride safety standards?

16     · · ·A· · Yes.

17     · · ·Q· · It adds to the evidence base that

18     fluoride is a neurotoxicant, correct?

19     · · ·A· · Correct.

20     · · ·Q· · And so based on all these studies

21     that we're looking at, based on the latest

22     science, do you agree that neurotoxicity is a

23     potential risk of water fluoridation?

24     · · ·A· · I can't agree.· You have to look at

25     the -- you have to evaluate these.



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 301 of 854
                                                                         282

·1     STATE OF MARYLAND

·2     HOWARD COUNTY

·3     · · ·I, Dawn Michele Hyde, a Notary Public of the

·4     State of Maryland, Howard County, do hereby

·5     certify that the above-captioned proceeding took

·6     place before me at the time and place herein set

·7     out.

·8     · · ·I further certify that the proceeding was

·9     recorded stenographically by me and this

10     transcript is a true record of the proceedings.

11     · · ·I further certify that I am not of counsel to

12     any of the parties, nor an employee of counsel,

13     nor related to any of the parties, nor in any way

14     interested in the outcome of the action.

15     · · ·As witness my hand and seal this 13th day of

16     May, 2019.

17

18     · · · · · · · ·Dawn M. Hyde, Notary Public

19     · · · · · · · ·My Commission Expires 10/7/2019

20

21

22

23

24

25



                      Asbestos Reporters of California
                                888-779-9974
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 302 of 854




                      Exhibit 13
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 303 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 304 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 305 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 306 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 307 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 308 of 854




                     Exhibit A
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 309 of 854




      Assessment of the Neurotoxicity of Fluoride




                    Kathleen M. Thiessen, Ph.D.
                           June 27, 2019



    Food & Water Watch et al. v. Environmental Protection Agency
                        No. 17-cv—02162




               Oak Ridge Center for Risk Analysis, Inc.
                          102 Donner Drive
                         Oak Ridge, TN 37830
       Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 310 of 854
Food and Water Watch v. EPA                                                                                                 Thiessen Report


                                                    TABLE OF CONTENTS


I.        Introduction ..........................................................................................................................3
          A.         Assignment ..............................................................................................................3
          B.         Qualifications ...........................................................................................................3
          C.         Summary of Opinions ..............................................................................................4
          D.         Updates and Reservation..........................................................................................4
          E.         Compensation and Prior Litigation Work ................................................................4
II.       Opinions ...............................................................................................................................5
          A.         Neurotoxicity is a hazard of fluoride exposure ........................................................5
          B.         Neurotoxicity is a more sensitive effect of fluoride exposure
                     than severe dental fluorosis ....................................................................................28
          C.         Identifiable subsets of the population have heightened susceptibility
                     to the risk of harm from fluoridation chemicals ....................................................33
          D.         The current EPA reference dose for fluoride is not
                     protective against neurotoxicity .............................................................................51
          E.         Fluoridation chemicals present an "unreasonable risk" of neurotoxicity,
                     as defined by EPA ..................................................................................................63
III.      Conclusions ........................................................................................................................69
IV.       References ..........................................................................................................................70


Appendix A: Recent animal studies of fluoride neurotoxicity (Tables A-1 and A-2) ..................99
Appendix B: Studies associating fluoride exposure with cognitive deficits in humans .............112
Appendix C: Figures ...................................................................................................................119
Appendix D: Adequacy of EPA's 2010 RfD with respect to the knowledge then
            available to EPA ....................................................................................................123
Appendix E: Lack of effectiveness of community water fluoridation in improving
            dental health ..........................................................................................................137
Appendix F: Resume of Kathleen M. Thiessen, Ph.D. ...............................................................144




                                                                                                                                                 2
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 311 of 854
Food and Water Watch v. EPA                                                                   Thiessen Report


I.      INTRODUCTION
A.      Assignment
        I was asked to apply risk assessment frameworks used by the Environmental Protection Agency
(EPA) to the current scientific literature on fluoride neurotoxicity to determine whether neurotoxicity is a
hazard of fluoride exposure, and whether this hazard is a risk at the levels of fluoride added to drinking
water for fluoridation (0.7 mg/L).


B.      Qualifications
         I am a risk assessment scientist at Oak Ridge Center for Risk Analysis in Oak Ridge, Tennessee.
For more than 30 years, I have been involved in the evaluation of exposures, doses, and risks to human
health from trace levels of contaminants in the environment, including fluoride, and in the use of uncertainty
analysis for environmental and health risk assessment. In the course of my work as a risk assessment
scientist, I have done work for the U.S. Environmental Protection Agency (EPA), the U.S. Department of
Energy, the Centers for Disease Control and Prevention, the U.S. Nuclear Regulatory Commission, the
National Cancer Institute, and the National Institute for Occupational Safety and Health, as well as a number
of other government and private clients.
        I have authored several reports for the EPA on the health effects of specific environmental
contaminants, including Health Issue Assessments of fluorides (hydrogen fluoride and related compounds)
and mercuric chloride. More recently, I served on two subcommittees of the National Research Council's
(NRC) Committee on Toxicology, one which was asked by EPA to review the toxicologic literature on
fluoride (which resulted in the 2006 publication Fluoride in Drinking Water: A Scientific Review of EPA’s
Standards), and one dealing with guidance levels for air contaminants (including hydrogen fluoride) in
submarines.
         As part of my work, I contributed to the development of a risk-based screening approach to
prioritize further investigation of chemical and radioactive contaminants and exposure situations in various
assessment contexts. I led in the application of risk-based screening techniques for the reconstruction of
doses and health risks associated with releases of chemicals and radionuclides from the U.S. Department
of Energy's Oak Ridge (Tennessee) facilities. I also led in the analysis of human exposures, doses, and
health risks to off-site individuals associated with historic releases of radionuclides to the Clinch River from
the Oak Ridge facilities.
         Currently, I lead the Working Group on Assessment of Exposures and Countermeasures in Urban
Environments for the International Atomic Energy Agency's (IAEA's) program on Development, Testing
and Harmonization of Models and Data for Radiological Impact Assessment (MODARIA II). In addition,
I currently serve on a committee for the revision of the IAEA's Safety Report Series No. 19, “Generic
Models for Use in Assessing the Impact of Discharges of Radioactive Substances to the Environment,” and
have been involved in the preparation of an IAEA guidance document on implementation of remediation
strategies following accidental releases of radioactivity.
         Throughout my career, I have authored or contributed to a number of open literature publications
in peer-reviewed journals such as Health Physics, Environmental Science and Technology, Environmental
Pollution, Atmospheric Environment, Journal of Environmental Radioactivity, and the International
Journal of Occupational and Environmental Health. I have also served as a peer reviewer for journals such
as American Journal of Preventive Medicine, Environment International, Environmental Pollution, Risk
Analysis, Science of the Total Environment, Environmental Health Perspectives, and Journal of

                                                                                                              3
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 312 of 854
Food and Water Watch v. EPA                                                                 Thiessen Report


Environmental Radioactivity, among others. My formal education is in biomedical sciences, with a
concentration in the field of genetics, and I remain interested in the effect of genetic background on
individual response to chemical or radiation exposures. A list of my publications and technical reports is
included in my resume, which is included herein as Appendix F.


C.      Summary of Opinions
        For the reasons described herein, I have reached the following conclusions to a reasonable degree
of scientific certainty:
        1. Based on the hazard identification principles set forth in EPA’s Guidelines for Neurotoxicity
           Risk Assessment, there is sufficient evidence to conclude that neurotoxicity is a hazard of
           fluoride exposure.
        2. Convergent data from experimental animal studies and epidemiological studies of human
           populations, alongside considerations of pharmacokinetics and biological plausibility, strongly
           indicate that neurotoxicity is a more sensitive effect of fluoride exposure than severe dental
           fluorosis.
        3. Identifiable subsets of the population have heightened susceptibility to the risk of harm from
           fluoridation chemicals. These populations include the fetus; bottle-fed infants; the elderly;
           individuals with nutrient deficiencies, kidney disease, and/or high-water intake; and
           populations with specific genotypes.
        4. The current EPA reference dose (RfD) for fluoride (0.08 mg/kg/day) is not protective against
           neurotoxicity, including loss of cognitive function.
        5. Fluoridation chemicals present an “unreasonable risk” of neurotoxic effects, including IQ loss,
           if assessed under the same analytical framework that EPA uses in its risk evaluations of other
           chemicals under the Toxic Substance Control Act (TSCA).


D.      Updates and Reservation
         The opinions expressed in this report are my own and are based on the data, documents, and facts
available to me at the time of writing. Should additional relevant or pertinent information become available,
I reserve the right to supplement the discussion and findings in my report.


E.      Compensation and Prior Litigation Work
         The hourly rate for my work in this case has been $225 to $300. I have not been deposed in the
last four years. My hourly rate for depositions is $300.




                                                                                                           4
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 313 of 854
Food and Water Watch v. EPA                                                                              Thiessen Report


II.      OPINIONS
A.       Neurotoxicity Is a Hazard of Fluoride Exposure
1. Historic Background
         The early epidemiological studies in the U.S. that claimed to establish the safety of waterborne
         1
fluoride (fluoride concentrations ranging from 1 to 8 mg/L in drinking water) did not address the potential
for fluoride to cause neurological effects, including IQ loss. 2 The primary focus of these early studies was,
instead, on skeletal health. Although largely overlooked, some of the early studies of occupationally
exposed workers, 3 as well as some of the early studies of fluoride-exposed animals, 4 reported central
nervous system effects from fluoride exposure. In a 1953 study of monkeys, Wadhwani and Ramasway
reported that monkeys with chronic fluorosis “did not conduct themselves with intelligence and agility of
mind normally associated with them. There was a significant lack of co-ordination in their behaviour.” 5
These early observations, some of which remained unpublished, 6 were largely ignored. In 1985, when EPA
proposed a Maximum Contaminant Level Goal (MCLG) for fluoride of 4 mg/L for fluoride, the Agency
did not consider this early literature on neurotoxicity and did not consider neurotoxicity to be a potential
hazard of fluoride exposure. 7
         The first known study of fluoride and intelligence in humans was published in 1989 by Ren and
colleagues in China. 8 A flurry of similar studies were published in China in the 1990s. 9 Most of these
studies were published in Chinese, and they remained largely unknown outside of China until English
translations started to become available after 2000.
2. NRC Report
        In 2006, the NRC concluded that “fluorides have the ability to interfere with the functions of the
brain and the body by direct and indirect means.” 10 The NRC reached this conclusion based on the

1
   This report deals with “fluoride” generally. For some epidemiological studies, this means naturally occurring
fluoride in drinking water, usually without discussion of other mineral content in the water. For laboratory studies in
rodents, this usually means NaF. For epidemiological studies in artificially fluoridated areas, this means “fluoridation
chemicals,” which usually include NaF, Na2SiF6, and H2SiF6 (NRC 2006, pp. 52-53; the latter two chemicals are
known as silicofluorides). Exposure to aluminum fluorides is also common (NRC 2006, pp. 51-52). For any
epidemiological studies, total fluoride exposure (which might or might not be addressed) includes exposure to fluoride
from drinking water, beverages or foods prepared with tap water, tea, toothpaste and other dentifrices, and other
sources. See Chapter 2 of NRC (2006) for more information on fluoride exposure. This report assumes that any effect
attributable to NaF (e.g., in animal studies) will also be a risk for exposure to “fluoridation chemicals” (including
silicofluorides) and aluminum fluorides; in addition, both silicofluorides and aluminum fluorides may pose risks
beyond those associated with NaF (NRC 2006, pp. 51-53).
2
  Call et al. (1965); Leone et al. (1954; 1955a; 1955b); McCauley and McClure (1954); McClure (1944); Schlesinger
et al. (1956a; 1956b); Stevenson and Watson (1957).
3
  Roholm (1937); Popov et al. (1974).
4
  Wadhwani and Ramasway (1953); Lu et al. (1961); Rice and Lu (1963); Sadilova et al. (1968).
5
  Wadhwani and Ramasway (1953).
6
  See, for example, a Manhattan Project memo by Ferry (1944).
7
   Neurotoxicity was not included in a 1985 draft Criteria Document prepared for the EPA (ICAIR 1985) or in the
proposed and final versions of EPA's National Primary Drinking Water Regulations for fluoride (Federal Register
1985a; 1985b).
8
  Ren et al. (1989).
9
  Qin et al. (1990); Chen et al. (1991); Guo et al. (1991); Lin et al. (1991); Sun et al. (1991); An et al. (1992); Li et al.
(1994); Xu et al. (1994); Yang et al. (1994); Duan et al. (1995); Li et al. (1995); Wang et al. (1996); Yao et al. (1996;
1997); Zhao et al. (1996).
10
   NRC (2006), p. 222.

                                                                                                                           5
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 314 of 854
Food and Water Watch v. EPA                                                                    Thiessen Report


histological, biochemical, and molecular findings from animal studies published in the 1990s and early
2000s. These findings included reduced protein and phospholipid content in the brains of fluoride-treated
animals; inhibition of acetylcholinesterase; interference with neurotransmitters; increased production of
free radicals in the brain (i.e., oxidative stress); neuronal deformations; increased uptake of aluminum; and
enhancement of reactive microglia. 11
        As part of its report, the NRC also reviewed the few studies on fluoride and intelligence that were
then available in English. 12 Various methodological limitations were identified with these studies, but the
NRC concluded that the consistency of the results (i.e., reduced intelligence among children exposed to
elevated fluoride) warranted further epidemiological research into the potential of fluoride to lower IQ. The
NRC also reviewed several behavioral studies in animals, including two that examined the impact of
fluoride on learning and memory, but the data were not yet sufficient to draw conclusions. 13 The NRC did,
however, recommend that additional animal studies be conducted to evaluate cognitive effects of fluoride
exposures. 14
        Of additional relevance to the neurotoxic potential of fluoride exposures, the NRC reviewed the
toxicologic literature on fluoride’s effects on the endocrine system, including the thyroid gland. The NRC
concluded that fluoride is an endocrine disrupting chemical which can alter thyroid function at estimated
average intakes as low as 0.01 to 0.03 mg/kg/day in individuals with iodine deficiency. 15 The NRC
recognized the potential relevance of fluoride’s endocrine effects to neurotoxicity, noting that depressed
thyroid function during pregnancy can lower the IQ of the offspring. 16
        The NRC’s findings on the neurotoxic potential of fluoride have been accepted as an accurate
summary of the hazard by the EPA and other federal agencies, including the CDC. 17 It is important to
recognize, however, that much additional research on fluoride’s neurotoxicity has been published since the
NRC’s report. As discussed below, the evidence of fluoride neurotoxicity is much stronger today than when
the NRC conducted its review.
3. Application of EPA’s Guidelines for Neurotoxicity Risk Assessment
          The EPA has established guidelines for neurotoxicity risk assessment (“Guidelines”) which the
Agency has stated it “will follow in evaluating data on potential neurotoxicity associated with exposure to
environmental toxicants.” 18 Under the Guidelines, the risk assessor must make a qualitative determination
as to whether a hazard for neurotoxicity “could exist.” 19 “A single adverse endpoint from a well-conducted
study” is “sufficient evidence” under the Guidelines to establish that “a hazard for neurotoxicity could
exist.” 20 If no individual study is sufficient to establish a hazard, “the total available data may support such
a conclusion.” 21



11
   NRC (2006), pp. 221-222.
12
   Li et al. (1995); Zhao et al. (1996); Lu et al. (2000); Xiang et al. (2003a; 2003b).
13
   NRC (2006), pp. 215-216, 221.
14
   NRC (2006), p. 223.
15
   NRC (2006), pp. 262-263, 266.
16
   NRC (2006), p. 263.
17
   EPA (2010b), p. i; Federal Register (2015), p. 24940; USDHHS Panel (2015), p. 322; Deposition of Casey Hannan
at 115:4-125:3 & 136:21-140:1.
18
   EPA (1998a), p. 1; Federal Register (1998), p. 26927.
19
   EPA (1998a), pp. 53, 55-56; Federal Register (1998), pp. 26945-26946.
20
   EPA (1998a), p. 55; Federal Register (1998), p. 26946.
21
   EPA (1998a), p. 56; Federal Register (1998), p. 26946.

                                                                                                               6
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 315 of 854
Food and Water Watch v. EPA                                                                    Thiessen Report


        Animal Studies – General Considerations
         Under the Guidelines, the hazard determination “can be based on either human or animal data.”22
EPA has a preference for using human data if suitable data exist; 23 in practice, however, animal data are
almost always used. 24 EPA has expressly applied the Guidelines in 10 risk assessments. 25 Based on these
assessments, EPA established reference doses (RfDs; summarized in Table 1) and/or reference
concentrations (RfCs) to protect against neurotoxicity for 9 chemicals or groups of chemicals. 26 In each of
these assessments, EPA relied on animal data to establish the RfD or RfC. One reason that EPA uses animal
studies is that they “provide more precise exposure information, and control environmental factors better.” 27
Another reason is that human data are rarely available: for 6 of the 9 chemicals for which EPA established
RfDs or RfCs based on neurotoxicity endpoints, there were no human data on neurotoxicity (Table 1).
        Neurotoxic endpoints in animal studies fall into several categories, including neuroanatomical (e.g.,
neuropathological), neurochemical, neurophysiological, behavioral and neurological, and developmental. 28
Neuroanatomical endpoints include gross changes to the brain, such as reduced brain weight, as well as
changes to brain cells that are detectable under a microscope (i.e., “histological”). 29 Neurochemical effects
include alterations in synthesis, release, uptake, or degradation of neurotransmitters; alterations in second-
messenger activities; and alterations or inhibition of enzymes or proteins. 30 Neurophysiological effects
include alterations in nerve conduction or electroencephalographic patterns. 31 Behavioral and neurological
changes include alterations to motor activity, changes in sensory abilities or motor coordination, seizures,
and impairments in learning, memory, and attention. 32 Developmental endpoints include both changes in
timing of the appearance of behaviors during development and changes in growth or organization of the
nervous system. 33 In its risk assessments to date, EPA has established reference doses based on both
neuroanatomical and behavioral effects, including axonal swelling in peripheral nerves (2-Hexanone), 34
reduced brain weight (Methanol), 35 reduced pain sensitivity (Trimethylbenzenes), 36 and impairment in



22
   EPA (1998a), p. 11; Federal Register (1998), p, 26931.
23
   EPA (2018a), p. 2-1.
24
   EPA (1998a), p. 20; Federal Register (1998), p. 26934.
25
   See EPA (2018b), pp. 4-5. These 10 risk assessments were performed for BDE-47 (EPA 2008a), BDE-99 (EPA
2008b), BDE-153 (EPA 2008c), BDE-209 (EPA 2008d), Chlorine Dioxide and Chlorite (EPA 2000b), 2-Hexanone
(EPA 2009c), Methanol (EPA 2013a), RDX (EPA 2018a), Trimethylbenzenes (EPA 2016), and Hydrogen Sulfide
(EPA 2003).
26
   Reference doses or reference concentrations were based on neurological endpoints for BDE-47 (EPA 2008a), BDE-
99 (EPA 2008b), BDE-153 (EPA 2008c), BDE-209 (EPA 2008d), Chlorine Dioxide and Chlorite (EPA 2000b), 2-
Hexanone (EPA 2009c), Methanol (EPA 2013a), RDX (EPA 2018a), and Trimethylbenzenes (EPA 2016). For
Hydrogen Sulfide, the risk assessment was based on a non-neurologic endpoint but was specifically expected to be
protective for the neurological endpoints (EPA 2003, pp. 45-46).
27
   EPA (1998a), p. 20; Federal Register (1998), p. 26934.
28
   EPA (1988a), pp. 20-21; Federal Register (1998), pp. 26934-26935.
29
   EPA (1998a), p. 21; Federal Register (1998), p. 26934.
30
   EPA (1998a), pp. 21, 30-32; Federal Register (1998), pp. 26934, 26938-26939.
31
   EPA (1998a), p. 21; Federal Register (1998), pp. 26934-26935.
32
   EPA (1998a), p. 21; Federal Register (1998), p. 26935.
33
   EPA (1998a), p. 21; Federal Register (1998), p. 26935.
34
   EPA (2009c), p. 60.
35
   EPA (2013a), pp. 5-6, 5-16, 5-17. The inhalation RfC for methanol was derived from a neurological endpoint. An
oral RfD for methanol was derived from the same inhalation studies, but was based on a non-neurological endpoint
(p. 5-28); therefore methanol is not included in Table 1.
36
   EPA (2016), pp. xxv, xxvi, 2-22, 2-23, 2-35.

                                                                                                               7
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 316 of 854
Food and Water Watch v. EPA                                                                   Thiessen Report


spontaneous motor activity, learning, memory, and habituation (BDE-47, BDE-99, BDE-153, and BDE-
209). 37
        In considering the relevance of these endpoints to humans, the Guidelines provide four default
assumptions. First, EPA assumes that “an agent that produces detectable adverse neurotoxic effects in
experimental animal studies will pose a potential hazard to humans.” 38 Second, EPA assumes that
neuroanatomical, neurochemical, neurophysiological, and behavioral changes “are of concern.” 39 Third,
EPA assumes that “the neurotoxic effects seen in animal studies may not always be the same as those
produced in humans” due to “species-specific differences in maturation of the nervous system, differences
in timing of exposure, metabolism, or mechanisms of action.” 40 Fourth, EPA assumes that “humans are as
sensitive as the most sensitive animal species tested.” 41 Each of these four assumptions is “plausibly
conservative,” meaning that “they are protective of public health and are also well founded in scientific
knowledge about the effects of concern.” 42
         Finally, the principal studies which EPA has used to establish RfDs or RfCs have not been “perfect”
studies. In fact, in most of the neurotoxicity risk assessments, EPA has identified a number of
methodological limitations with the studies. Some of the principal studies did not conform to EPA’s testing
guidelines for animal studies, some used relatively small numbers of animals (e.g., 10 per group), and the
principal studies that investigated effects from prenatal exposures did not control for litter effects. As a
result, EPA had “low” confidence in the principal study it used to set the RfD for BDE-209, 43 “low-to-
medium” confidence in the principal study for Trimethylbenzenes, 44 and “medium” confidence in the
principal studies for Chlorine Dioxide/Chlorite 45 and 2-Hexanone 46 (Table 1). This did not stop EPA from
establishing RfDs for these chemicals.
         In 2011 and 2014, the National Academy of Sciences (NAS) recommended that EPA implement
certain changes with respect to how its Integrated Risk Information System (IRIS) conducts risk
assessments—not with respect to neurotoxicity specifically, but risk assessments in general. The thrust of
the NAS recommendations was that EPA should implement more transparent and systematic procedures
for determining which studies and endpoints to consider. 47 The NAS also encouraged EPA to move away
from selection of a single principal study upon which to derive RfDs,48 and to make greater use of
physiologically based pharmacokinetic (PBPK) modelling data when extrapolating animal findings to
humans. 49




37
   EPA (2008a), p. 43; EPA (2008b), pp. 57-58; EPA (2008c), p. 32; EPA (2008d), pp. 51, 55.
38
   EPA (1998a), p. 6; Federal Register (1998), p. 26929.
39
   EPA (1998a), p. 6; Federal Register (1998), p. 26929.
40
   EPA (1998a), p. 7; Federal Register (1998), p. 26929.
41
   EPA (1998a), p. 7; Federal Register (1998), p. 26929.
42
   EPA (1998a), p. 7; Federal Register (1998), p. 26929.
43
   EPA (2008d), p. 66.
44
   EPA (2016), pp. 2-26, 2-36.
45
   EPA (2000b), p. 40.
46
   EPA (2009c), p. 79.
47
   NAS (2011), pp. 4, 164; NAS (2014), pp. 137-138.
48
   NAS (2014), p. 118.
49
   NAS (2014), p. 33.

                                                                                                           8
                                Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 317 of 854
Food and Water Watch v. EPA                                                                                                                                 Thiessen Report


Table 1. Chemicals with oral RfDs based on neurological endpoints, assessed according to EPA's Guidelines for Neurotoxicity Risk Assessment.a

                              Human Neurotoxicity          Principal          Confidence in          Known Mode of
    Name of Chemical               Data?b                   Study             Principal Study           Action?                         Effect                 Reference

    BDE-47                             No                   Animal               Not givenc           Inadequate data      Changes in spontaneous motor      EPA (2008a)
                                                                                                                              activity and habituation
    BDE-99                             No                   Animal               Not givend           Inadequate data             Neurobehavioral            EPA (2008b)
                                                                                                                               developmental effects;
                                                                                                                              changes in motor activity
    BDE-153                            No                   Animal               Not givene           Inadequate data           Spontaneous behavior,        EPA (2008c)
                                                                                                                                 learning and memory
    BDE-209                            No                   Animal                  Low               Inadequate data         Changes in spontaneous         EPA (2008d)
                                                                                                                              behavior and habituation
    Chlorine Dioxide                   No                   Animal                Medium                     No              Neurodevelopmental delay;       EPA (2000b)
    and Chlorite                                                                                                              lowered auditory startle
                                                                                                                                    amplitude
    2-Hexanone                         No                   Animal                Medium                    Yes             Axonal swelling in peripheral    EPA (2009c)
                                                                                                                                      nerves
    RDX                        One cross-sectional          Animal                  High                    Yes                       Convulsions            EPA (2018a)
                              study, 16 case reports
    Trimethylbenzenes         Occupational studies          Animal            Low to Medium          Tentative, based         Decreased pain sensitivity      EPA (2016)
                              of solvent mixtures,                                                    on structurally
                             controlled experiments                                                       similar
                               with healthy adults                                                     compounds
a
    EPA (1998a); Federal Register (1998).
b Human studies of neurotoxicity endpoints, based on oral exposure.

c Confidence in the principal study was not stated, but the "overall confidence in the RfD assessment of BDE-47 is low" (EPA 2008a, p. 48).

d Confidence in the principal study was not stated, but the "overall confidence in the RfD [for BDE-99] is low" (EPA 2008b, p. 67).

e Confidence in the principal study was not stated, but the "overall confidence in the RfD assessment for BDE-153 is low" (EPA 2008c, p. 37).




                                                                                                                                                                           9
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 318 of 854
Food and Water Watch v. EPA                                                                          Thiessen Report


         Subsequent to the NAS’s recommendations, EPA has issued two neurotoxicity risk assessments,
for trimethylbenzenes (2016) 50 and RDX (2018). 51 As with the prior risk assessments, both of these new
risk assessments utilized animal data as the basis for the respective RfDs, as there were few human data
available for either chemical. For trimethylbenzenes, EPA identified a small number of occupational
studies involving mixtures of solvents, as well as some controlled exposures of healthy adult volunteers
(which generally showed little or no nervous system effects); these human data were considered inadequate
for establishing an RfD. 52 Similarly, with RDX, EPA identified three small-scale occupational studies and
sixteen case reports of neurological effects associated with acute RDX exposures. The human data on RDX
were also considered inadequate to establish an RfD. 53
        For several of EPA’s neurotoxicity risk assessments, including the 2018 risk assessment for RDX,
EPA established an RfD despite a relatively small number of animal studies. In the RDX risk assessment,
EPA identified 16 (repeated dose) animal studies, only two of which had been published. EPA
characterized the animal studies as showing “consistent evidence” of neurotoxicity on the grounds that 11
of the 16 studies reported neurological effects, 54 and the effects were generally dose-related (although
inconsistencies existed across the studies in terms of the doses that produced the effects). 55 EPA’s risk
assessment of RDX highlights that “consistency” of the evidence is not synonymous with unanimity.
         Animal Studies on Fluoride Neurotoxicity
        The animal research on fluoride neurotoxicity was sufficient to permit the NRC to conclude, in
2006, that fluoride interferes with the functions of the brain. 56 Many animal studies have been published
since the NRC review, and the database is now stronger than it was when NRC issued its report.
         A search of the National Library of Medicine’s online database PubMed was conducted to identify
studies published since the NRC’s 2006 review. The following search terms were used: “fluoride and
brain,” “fluoride and learning,” and “fluoride and memory.” 57 The titles of all studies published since 2006
were reviewed to identify potentially relevant studies, and, among potentially relevant primary studies,
abstracts were reviewed to verify relevance. Reviews, studies in Chinese for which translations were not
available, and in vitro studies were excluded. Full-text copies of all relevant studies were obtained.
        In total, the search identified 110 papers. 58 Papers that appeared to be reporting effects from the
same underlying rodent experiment were treated as one study, 59 leaving 105 distinct studies. This is not an
exhaustive list of the studies published since 2006, as it does not reflect studies that were not indexed in
PubMed (e.g., studies published in the journal Fluoride or in certain Chinese-language journals such as the
Chinese Journal of Endemiology). In addition, the search terms probably did not identify all relevant studies
available on PubMed. Nevertheless, this list should provide a reasonably representative sample of the

50
   EPA (2016).
51
   EPA (2018a).
52
   EPA (2016), pp. xxiii-xxiv, 1-5 to 1-7, 1-66.
53
   EPA (2018a), pp. xxxix-xl, 1-13, 1-80.
54
   EPA (2018a), p. 1-23.
55
   EPA (2018a), pp. 1-12, 1-18.
56
   NRC (2006), p. 222.
57
   These search terms are expected to identify many neurotoxicity studies, but not necessarily all studies that examined
neurotoxic effects. For example, studies of neuroanatomical or neurochemical effects might not be identified with
these search terms.
58
   Summarized in Appendix A, with the exception of papers excluded for the reasons discussed below.
59
   Adedara et al. (2017a; 2017b); Akinrinade et al. (2015a; 2015b); Basha et al. (2011a; 2011b); Basha and Sujitha
(2012a; 2012b); and Zhu et al. (2011) and Zhang et al. (2011).

                                                                                                                     10
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 319 of 854
Food and Water Watch v. EPA                                                                            Thiessen Report


recent literature, and there is no apparent reason to believe that studies listed on PubMed would be skewed
towards finding adverse effects. According to the NAS, “PubMed searches are critical for identifying the
literature on risks to health.” 60
         Of the recent studies identified, all but 4 reported associations between fluoride exposure and
neurotoxic outcomes. 61 Table A-1 in Appendix A provides data from the 89 animal studies which
investigated “structural” (e.g., neuroanatomical and neurochemical) endpoints, and Table A-2 provides data
from the 37 animal studies which investigated the “functional” effects of learning and memory. Thirty
studies investigated both types of effects and are in both lists. To facilitate comparisons across these studies,
Tables A-1 and A-2 exclude 2 studies of non-rodents 62 as well as four studies in which the fluoride exposure
was part of a mixture involving other potentially neurotoxic chemicals, 63 one study involving exposure by
a route other than ordinary ingestion, 64 and two behavioral studies with endpoints that did not specifically
involve learning and memory. 65
        As can be seen in Table A-1, rodent studies published since the NRC review have continued to
document structural (e.g., neuroanatomical and neurochemical) changes in the brains of fluoride-treated
rodents. These changes include oxidative stress, neuronal degeneration, mitochondrial disturbances,
reductions in nicotinic receptors, impaired synaptic plasticity, and neuroinflammation.
          Among the recent studies that have investigated both structural and functional effects of fluoride,
the former have sometimes (but not always) occurred at lower exposures, suggesting that fluoride can cause
cellular and biochemical changes in the brain prior to the manifestation of outwardly demonstrable
deficits. 66 Put another way, deficits in learning and memory likely represent a relatively advanced stage of
fluoride neurotoxicity. Nevertheless, both structural and functional harms have repeatedly been observed
in rodents at water fluoride concentrations between 5 mg/L and 23 mg/L (corresponding to 10 to 50 mg/L
NaF). As with the RDX literature, 67 there are some inconsistencies across the studies in the reported doses
that can cause certain types of harm; these differences likely result, at least in part, from differences in study
design, including differences in timing of exposure, duration of exposure, and strain and sex of animal.
         Finally, it bears considering that most of the animal studies to date have used subchronic exposure
scenarios, which would tend to understate the effect from lifetime exposure. EPA’s testing guidelines
define a chronic exposure study in rodents as one that lasts at least 12 months.68 None of the recent learning
studies have lasted 12 months, and only 1 of the recent structural studies has lasted 12 months or more. 69

60 NAS (2011), p. 26.
61
   Negative results were reported by Whitford et al. (2009), Pulangan et al. (2018), McPherson et al. (2018), and Jia
et al. (2019). These studies are discussed later in this report.
62
   Khatun et al. (2018) used fruit flies (Drosophila melanogaster), and Mukhopadhyay et al. (2015) used zebrafish
(Danio rerio).
63
   Gui et al. (2010) used fluoride-polluted corn that had been dried by burning high-fluoride coal. Ranpariya et al.
(2011) used aluminum fluoride (AlF4-). Nalagoni and Karnati (2016) used a mixture of AlCl3 and NaF. Hussien et
al. (2018) used a mixture of aluminum, cadmium, and fluoride.
64
   Cao et al. (2019) used daily intragastric administration.
65
   Bartos et al. (2015) examined the effect of fluoride on the functional outcomes of anxiety and depression, but not
learning and memory. Kinawy and Al-Eidan (2018) used AlCl3, NaF, and a mixture of the two; disturbed locomotor
behavior and alterations in some hormone levels were observed in rats treated with fluoride alone or in combination
with aluminum.
66
   See, for example, Agustina et al. (2018); Ma et al. (2015); Niu et al. (2018a); Sun et al. (2018); Wang et al. (2018a);
Zhang et al. (2019); Zhao et al. (2019).
67 EPA (2018a).
68
   EPA (1998b), p. 1.
69
   Teng et al. (2018).

                                                                                                                       11
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 320 of 854
Food and Water Watch v. EPA                                                                         Thiessen Report


This takes on added interest when considering that, among studies that have tested animals at multiple
points in time, the effects have tended to worsen with time, with some effects not appearing at all until 3 to
6 months of chronic exposure. 70 Most of the studies on fluoride neurotoxicity have lasted no longer than 3
months (See Tables A-1 and A-2).
         NTP Reviews
         In 2015, the National Toxicology Program (NTP) completed a systematic review of the animal
literature on fluoride neurotoxicity and submitted a report to the Australian government. 71 The NTP limited
its review of the literature to the minority of studies that have measured learning, memory, and other
behavioral effects. 72 The NTP identified the studies through searches of PubMed, BIOSIS, EMBASE,
Scopus, Web of Science, PsycINFO, and several other specialized databases.73 In total, the NTP identified
44 studies of learning and memory, 14 of which were excluded due to risk of bias from lack of
randomization, lack of blinding at outcome assessment, or other design deficiencies. 74 From the remaining
30 studies, NTP concluded that there was “a moderate level-of-evidence for a pattern of findings suggestive
of an effect on learning and memory in rats treated during development or adulthood.” 75 Moderate level of
evidence is the second highest level of evidence under NTP’s 5-grade classification criteria. 76
         In 2016, the NTP published an updated version of its systematic review. 77 In the updated review,
NTP identified an additional four studies on learning and memory, two of which were excluded for bias,
resulting in a total of 32 studies for its analysis. 78 NTP maintained its conclusion that a “moderate” level
of evidence exists for learning and memory deficits in fluoride-treated adult animals, but downgraded its
conclusion for developmental exposures to “low.” 79 NTP had less confidence in the developmental studies
due to their general failure to control for litter effects, as well as the relatively few developmental studies
that used fluoride concentrations lower than 25 mg/L in drinking water. 80 Further, in contrast to NTP’s
2015 report, the 2016 updated report considered the absence of animal studies using 0.7 mg/L (the current
recommended fluoride concentration for human drinking water 81) to be an important limitation in the
research in terms of its relevance to human exposure levels. 82
         The NTP identified several common methodological limitations with the learning and memory
studies, including failure to rule out fluoride-induced motor effects as the cause of the apparent cognitive
deficits; failure to control for “litter effects” in the developmental studies; and lack of reported information
on the study conditions, including the purity of the fluoride added to the water and the concentrations of

70
   For example, Güner et al. (2016); Liu et al. (2011); Yang et al. (2018a); Zhang et al. (2015a).
71
   NTP (2015a).
72
   NTP (2015a), pp. 1, 28. "Studies assessing thyroid function or brain-related cellular, morphometric or histological
endoints were considered beyond the scope of this analysis" (p. 1). By limiting its review to studies investigating
learning and memory, the NTP did not consider the much larger number of studies that have investigated
neuroanatomical and neurochemical effects.
73
   NTP (2015a), pp. 1, 4.
74
   NTP (2015a), p. 1.
75
   NTP (2015a), p. 1.
76
   NTP (2015a), p. 11. Under NTP’s Hazard Identification Scheme, a chemical that has a moderate level of evidence
of neurotoxicity in animals and a moderate level of evidence of neurotoxicity in humans is a “presumed” neurotoxicant
(NTP 2015b, p. 67, Figure 8).
77
   NTP (2016).
78
   NTP (2016), p. vi.
79
   NTP (2016), p. 55.
80
   NTP (2016), p. 57.
81
   USDHHS (2015); Federal Register (2015).
82
   NTP (2016), pp. 55, 58.

                                                                                                                   12
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 321 of 854
Food and Water Watch v. EPA                                                                            Thiessen Report


fluoride in the rodent chow. Many of the limitations identified by the NTP (e.g., lack of information on the
purity of the fluoride compounds) would not be expected to skew the results in a consistent direction across
laboratories. Similarly, litter effects can produce false negatives as well as false positives, 83 and thus it is
questionable whether they would skew the results of multiple studies in a consistent direction. Moreover,
some of the limitations that NTP identified (e.g., lack of statistical power due to a small number of animals),
as well as limitations that NTP did not identify (e.g., in develomental studies, the absence of neonatal
exposures that are comparable to those experienced by formula-fed infants 84), would actually tend to bias
the results toward the null. Finally, the suggestion by NTP that rodent studies should use fluoride
concentrations of 0.7 mg/L in order to be relevant to human exposures is at odds with longstanding tenets
of risk assessment, 85 as explained later in this report; humans are considered much more sensitive to fluoride
(and other chemicals) than are rats and mice. 86
        NTP also expressed concern that effects on learning and memory could not be definitively
distinguished from effects on motor or sensory function that could have affected an animal's ability to
perform adequately on the learning and memory tests. 87 NTP did not mention that both kinds of effects are
adverse effects, even if the precise nature of the effect is not clear. In addition, as mentioned above, by
limiting its review to studies investigating learning and memory, the NTP did not consider the much larger
number of studies that have investigated neuroanatomical and neurochemical effects, endpoints that are
more sensitive and also potentially less susceptible to bias associated with outcome assessment.
          Subsequent to the NTP’s review, 11 additional developmental studies have reported learning and
memory outcomes. 88 Ten of these studies found deficits in the fluoride-treated groups. Notably, the Bartos
et al. studies, which controlled for litter effects, found impairments in learning and memory at a fluoride
concentration of just 5 mg/L. While the other studies (with the exception of McPherson et al.) did not
control for litter effects, this limitation does not preclude use of the research for setting an RfD. As noted
above, EPA has previously selected developmental studies that did not control for litter effects as principal
studies for establishing neurotoxicity-based RfDs for other chemicals.




83
   Zorrilla (1997), p. 144; Lazic and Essioux (2013), p. 3.
84
   Fluoride concentrations in mammalian milk are very low in comparison to the mother's fluoride intake, even when
the mother's fluoride intake is quite high (NRC 2006, pp. 33, 36; Drinkard et al. 1985). In the animal studies described
in this report that included maternal exposure to fluoride during lactation, the fluoride intake of the offspring during
that period would have been low or negligible. In contrast (as described later in this report), formula feeding of infants
produces some of the highest fluoride exposures experienced by humans. NTP (2016, p. 122) alludes to the difference
in fluoride intakes between formula-fed and breastfed infants, but is not up to date on the minimal effect of maternal
fluoride intake on the fluoride concentration in milk and does not discuss the reduced relevance of animal studies of
maternal fluoride exposure during lactation with respect to formula-fed human infants.
85
   The principal author of the NTP study, Kristina Thayer, testified at her deposition that she is no longer comfortable
with the assumption of a 1-to-1 equivalence between fluoride exposures in animals and humans; Thayer testified that
she would approach the issue differently today, with greater attention to the principles of toxicokinetics and
toxicodynamics. (Thayer Deposition at 151:9-152:3, 302:21-303:23).
86
   NTP (2016) discusses the differences in chronic fluoride exposure needed to reach similar fluoride concentrations
in bone or plasma (pp. 122-123), and they provide an estimate of the water fluoride concentrations (7-9 mg/L, p. 56,
footnote 14) needed to reach intakes in rats comparable to those in humans from 0.7 mg/L, allowing for allometric
scaling between humans and rats. Thus NTP should be aware that insisting on animal studies of exposures to 0.7
mg/L is inappropriate.
87
   NTP (2016), p. 55.
88
   Bartos et al. (2018; 2019); Chen et al. (2018a); Cui et al. (2017); Ge et al. (2018); McPherson et al. (2018); Sun et
al. (2018); Wang et al. (2018a); Zhao et al. (2019); Zhu et al. (2017); Zhou et al.(2019).

                                                                                                                       13
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 322 of 854
Food and Water Watch v. EPA                                                                   Thiessen Report


         No-effect Studies in Animals
         McPherson et al. (2018) is the one developmental study that did not find adverse effects on learning
and memory subsequent to NTP’s review. Several features of the study may help to explain this result. 89
For example, McPherson et al. used Long Evans Hooded rats. Elliott suggested as far back as 1967 that
the Long Evans Hooded rat may have lower sensitivity to fluoride than other strains, 90 and McPherson’s
study is consistent with this finding. In total, three studies have examined the effect of fluoride on learning
in Long Evans rats, and all three have failed to find an effect. 91 Other research has found that Long Evans
Hooded rats have different sensitivities to teratogenic substances in utero than Sprague-Dawley rats, 92
which adds plausibility to possible strain-specific differences between Long Evans Hooded rats and the rats
more commonly studied in fluoride studies to date. Secondly, in contrast to most of the other developmental
studies, McPherson et al. did not start the exposure until the 6th day of gestation. 93 As pregnancy in rats
lasts approximately 21 days, any effects due to exposures during the first trimester are unlikely to have been
detected by McPherson’s study design. Finally, as discussed above, although the mother rats were exposed
through the lactation period, and the offspring rats continued at the same level of exposure after weaning,
exposure of the offspring during most of the pre-weaning period would have been minimal, as the fluoride
content of rat milk (as with milk of other mammals) is very low in comparison to the mother's fluoride
intake. Thus the major exposure of the offspring rats was limited to the later gestational period and the
post-weaning period, and important periods of potential susceptibility (early gestation and the neonatal
period) were missed. As with most other developmental studies in rodents, exposures comparable to those
received by formula-fed human infants in fluoridated areas have been completely neglected.
         Three additional studies listed in Tables A-1 and A-2 also reported no neurotoxic effects from
fluoride exposure. 94 The studies by Whitford et al. study and Pulungan et al. started with adult animals,
and the study by Jia et al. started at gestational day 9; thus part or all of the gestational period was missed
in these studies. Jia et al. looked for an effect of fluoride in conjunction with intrauterine inflammation;
comparison of fluoride-treated vs. control groups without intrauterine inflammation was not provided for
most endpoints. 95 Pulungan et al. found non-significant effects on the prefrontal cortex, a part of the brain
not examined in very many other studies. 96 Whitford et al. did not specifically mention whether the
outcome assessment was blinded, although both the treatment allocation and the selection of animals for
tissue sampling were randomized. 97 As described in the Guidelines, four studies with aparent no effect, for
a small set of endpoints, cannot be expected to disprove a much larger number of studies and endpoints that
have shown a neurotoxic hazard from fluoride ingestion. “To judge that an agent is unlikely to pose a
hazard for neurotoxicity, the minimum evidence would include data from a host of endpoints that revealed
no neurotoxic effects.” 98
         Human Studies



89
   See also comments by Spencer and Limeback (2018).
90
   Elliott (1967).
91
   Elliott (1967); Varner et al. (1994); McPherson et al. (2018).
92
   Kang et al. (1986).
93
   McPherson et al. (2018).
94
   Whitford et al. (2009); Pulungan et al. (2018); Jia et al. (2019).
95
   Jia et al. (2019).
96
   Pulungan et al. (2018).
97
   Whitford et al. (2009).
98
   EPA (1998a), pp. 55-56; Federal Register (1998), p. 26946.

                                                                                                            14
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 323 of 854
Food and Water Watch v. EPA                                                                       Thiessen Report


        The Guidelines recognize several types of human studies that can inform the hazard identification
analysis, including case reports and epidemiological studies. 99 In contrast to the 9 chemicals for which
EPA has established RfDs or RfCs pursuant to the Guidelines (most of which did not have any human
studies available), both categories of human studies are available for fluoride, including the most reliable
kind of epidemiological study, prospective cohort studies.
         I have become familiar with the human epidemiological data on fluoride neurotoxicity, both
through my work for the National Research Council, and through my ongoing review of the literature. A
systematic review of the human literature was not considered necessary nor particularly helpful, since
systematic reviews have already been conducted, 100 and those few studies reporting no effects are well
known to people familiar with fluoride research. 101 As those familiar with the literature know, there are
many more studies reporting associations of fluoride exposure with neurotoxic outcomes than the reverse.
The number of studies reporting no association between fluoride and neurotoxic outcomes is quite small,
and, as such, a systematic review was not considered necessary to identify and address them. Each of these
“no effect” studies is addressed below. To ensure that there are no additional no-effect studies, I reviewed
the results of my PubMed searches for “fluoride and brain,” “fluoride and learning,” and “fluoride and
memory,” and conducted additional PubMed searches for “fluoride and intelligence” and “fluoride and IQ.”
These searches did not retrieve any additional no-effect studies, although they did retrieve additional studies
reporting adverse effects. Due to the sheer magnitude of studies reporting associations with neurotoxic
outcomes, I have not sought to review each of them. For purposes of completeness, however, I have
attached a reference list of all epidemiological studies of which I am aware that have reported associations
between fluoride exposure and cognitive deficits. 102
        Case Reports: As noted in the Guidelines, “the first type of human data available is often the case
report or case series,” including clinician observations of occupationally exposed workers. 103 This
statement holds true for fluoride. Decades before the first study of fluoride and IQ was published, case
reports and clinician surveys of occupationally exposed workers identified neurological symptoms among
fluoride-exposed individuals, including general malaise, fatigue, headaches, and difficulties with
concentration and memory. 104 As the NRC noted, “[t]here are numerous reports of mental and
physiological changes after exposure to fluoride from various routes (air, food, and water) and for various
time periods.” 105
        While case reports are generally not sufficient, by themselves, to establish a hazard, the Guidelines
consider them “useful when corroborating epidemiological data are available.” 106 Moreover, several of the
case reports could be characterized as “experimental studies,” since they involved “individuals who
underwent withdrawal from their source of fluoride exposure and subsequent re-exposures under ‘blind’
conditions. In most cases, the symptoms disappeared with the elimination of exposure to fluoride and




99
   EPA (1998a), p. 15; Federal Register (1998), p. 26932.
100
    See for example Tang et al. (2008); Choi et al. (2012); Duan et al. (2018).
101
    Aggeborn and Öhman (2017); Barberio et al. (2017); Broadbent et al. (2015); Morgan et al. (1998); Shannon et al.
(1986).
102
    Appendix B contains a list of 67 studies associating fluoride exposures with cognitive deficits in humans.
103
    EPA (1998a), p. 15; Federal Register (1998), p. 26932.
104
    Roholm (1937), pp. 138-140, 178; Spittle (1994).
105
    NRC (2006), p. 208.
106
    EPA (1998a), p. 15; Federal Register (1998), p. 26932.

                                                                                                                 15
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 324 of 854
Food and Water Watch v. EPA                                                                         Thiessen Report


returned when exposure was reinstated.” 107 The NRC recommended that further research be conducted to
follow up on these findings from the case study literature. 108
         Cross Sectional Studies: In cross-sectional studies, “both the disease and suspected risk factors are
ascertained at the same time, and the findings are useful in generating hypotheses.” 109 In the case of
fluoride, there are a large number of cross-sectional studies reporting neurotoxic outcomes, including
impaired performance on the neurobehavioral core test battery, 110 impaired performance in the Rey-
Osterreith Complex Figure Test, 111 and effects on infant neurodevelopment as measured by the Neonatal
Behavioral Neurological Assessment. 112 IQ is the primary neurological endpoint that has been studied, 113
but it bears considering that IQ is actually a relatively insensitive measurement of neurotoxicity, meaning
that other neurological effects can occur prior to a measurable reduction in IQ. 114
        While cross sectional studies do not “allow the investigator to determine whether the disease or the
exposure came first,” 115 this limitation is lessened when there is “a stable population where water supplies
and fluoride concentrations have remained unchanged for many years.” 116 Many of the cross-sectional
studies on fluoride and IQ have limited the study population to children who have lived in the same area
since birth. 117 In this context of stable populations and stable water fluoride levels, measurement of
exposure at the time of the study can be a reasonable, albeit imperfect, proxy for exposure from the prenatal
period onward.
         The NRC report discussed the first several English-language IQ papers to become available. 118
Each of the studies that NRC reviewed found significant associations between fluoride exposure and
reduced IQ. While the studies lacked sufficient detail for the NRC to draw conclusions, the NRC found
that “the consistency of the collective results warrant[s] additional research on the effects of fluoride on
intelligence.” 119
        In 2012, Choi et al. conducted a meta review of 27 studies, and found that “children in high fluoride
areas had significantly lower IQ scores than those who lived in low-fluoride areas.” 120 Children in the high-
fluoride areas had lower IQs by a standardized weighted mean difference of 7 IQ points (-0.45 SD). 121
Many of the studies included in the Choi review found reduced IQ at water fluoride levels between 2 and 4
mg/L, with one study reporting effects at 0.9 ppm among children with iodine deficiency. While
recognizing that some of the studies suffered from various deficiencies, including failure to report key
information and failure to control for potential confounders, Choi concluded that “our results support the

107
    NRC (2006), pp. 208-209.
108
    NRC (2006), p. 221.
109
    EPA (1998a), p. 16; Federal Register (1998), p. 26932.
110
    Guo et al. (2001); Yazdi et al. (2011).
111
    Rocha Amador et al. (2009).
112
    Li et al. (2004).
113
    NRC (2006); Choi et al. (2012).
114
    Rocha Amador et al. (2009), p. 1150.
115
    EPA (1998a), p. 16; Federal Register (1998), p. 26932.
116
    Choi et al. (2012), p. 1367.
117
    Chen et al. (1991); Choi et al. (2015); Ding et al. (2011), Karimzade et al. (2014a; 2014b); Khan et al. (2015); Lu
et al. (2000); Nagarajappa et al. (2013); Rocha Amador et al. (2007); Seraj et al. (2012); Sudhir et al. (2009); Wang
et al. (2007); Yao et al. (1996; 1997); Zhang et al. (2015b).
118
    Lin et al. (1991); Li et al. (1995); Zhao et al. (1996); Lu et al. (2000); Xiang et al. (2003a; 2003b). See NRC
(2006), pp. 205-208, 231.
119
    NRC (2006), p. 221.
120
    Choi et al. (2012), p. 1362.
121
    Choi et al. (2012; 2013).

                                                                                                                    16
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 325 of 854
Food and Water Watch v. EPA                                                                    Thiessen Report


possibility of an adverse effect of fluoride exposures on children’s neurodevelopment.” 122 Choi et al.
recommended that future research “formally evaluate dose-response relationships based on individual level
measures of exposure over time, including more precise prenatal exposure assessment.” 123 As discussed
below, several such studies have now been conducted, and these studies add substantial confidence to the
hazard assessment.
         A more recent meta-analysis by Duan et al. has also reported a significant association between
higher fluoride concentrations in water and lower intelligence in children, even allowing for country, sex,
age, fluoride concentration, and type of intelligence assessment used. 124 Duan et al. focused on studies
published through November 2016 that examined the effects of waterborne fluoride exposures and which
provided data on the water fluoride levels. Each of the 26 studies that met Duan’s inclusion criteria found
lower IQs in the high-fluoride community when compared against the control. 125 In a majority of these
studies, the high-fluoride community had less than 4 mg/L in the water, including three studies which found
significant effects at concentrations between 1 and 2 mg/L. 126 The authors concluded that “Greater
exposure to high levels of fluoride in water was significantly associated with reduced levels of intelligence
in children.” 127 Analysis of dose-response trends in the data suggested the possibility of a ceiling effect in
which effect sizes appeared to flatten at exposures above 4 mg/L. If this effect is real, the dose-response
curve for fluoride may be steeper at the lower end of the dose range, a possibility that gains further support
from the recent findings of Bashash et al., 128 discussed below.
          Recent Prospective Cohort Studies: EPA’s Guidelines recognize that prospective cohort studies
are “invaluable for determining the time course for development of dysfunction.” 129 In a prospective cohort,
“a healthy group of people is assembled and followed forward in time and observed for the development of
dysfunction.” 130 This study design “allows the direct estimate of risks attributed to a particular exposure,
since toxic incidence rates in the cohort can be determined.” 131 A “major strength” of the prospective cohort
design “is that it allows the calculation of rates to determine the excess risk associated with an exposure.” 132
Further, “biases are reduced by obtaining information before the disease develops.” 133 While bias can be
introduced into the design if either the subject or examiner is aware of the exposure status, this bias can be
eliminated through double-blinding. 134 In short, EPA’s Guidelines recognize that prospective cohort
studies are the strongest type of epidemiological study for identifying neurotoxicity hazards in humans.
The Director of EPA’s IRIS Division concurred with this assessment, explaining that prospective cohort
studies are the “ideal study design” for investigating the impact of environmental chemicals on human
health. 135



122
    Choi et al. (2012), p. 1367.
123
    Choi et al. (2012), p. 1367.
124
    Duan et al. (2018).
125
    Duan et al. (2018), Figure 2.
126
    Duan et al. (2018), Figure 2.
127
    Duan et al. (2018).
128
    Bashash et al. (2018).
129
    EPA (1998a), p. 17; Federal Register (1998), p. 26933.
130
    EPA (1998a), p. 17; Federal Register (1998), p. 26933.
131
    EPA (1998a), p. 17; Federal Register (1998), p. 26933.
132
    EPA (1998a), p. 17; Federal Register (1998), p. 26933.
133
    EPA (1998a), p. 17; Federal Register (1998), p. 26933.
134
    EPA (1998a), p. 17; Federal Register (1998), p. 26933.
135
    Thayer Deposition at 162:19-163:7.

                                                                                                              17
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 326 of 854
Food and Water Watch v. EPA                                                                         Thiessen Report


         Unfortunately, because prospective cohort studies “can be very time-consuming and costly,” they
are rarely available for neurotoxicity risk assessments.136 At the times of their respective assessments, none
of the 10 chemicals that EPA has assessed under the Guidelines had been studied using a prospective cohort.
In the case of fluoride, however, there are five prospective cohort studies, including four with individualized
measurements of fluoride exposure.137 Notably, each of the prospective studies that collected individual
measurements of fluoride exposure found that fluoride exposure predicted significant IQ loss. By contrast,
the one study that did not have individual measurements (Broadbent et al.), did not detect a measurable
effect on IQ. 138
         Several differences in study design may help to explain why the study by Broadbent et al. did not
detect an effect.139 First and foremost, in the Bashash and Green studies, fluoride exposure was measured
by testing the pregnant mother’s urine; 140 their analyses were thus focused on the impact of a likely
vulnerable age-specific window, the prenatal period. By contrast, Broadbent did not collect information on
prenatal exposures, focusing instead on exposures after birth. This is an important limitation, particularly
in a country like New Zealand, where adults consume large quantities of fluoride-containing tea. 141
Substantial overlap in the prenatal exposures in Broadbent’s fluoridated and “non-fluoridated” cohorts is
thus likely.
         Second, most of the children in the non-fluoridated area in Broadbent’s study used fluoride
supplements and fluoride toothpaste, and, as such, were not a true “control” population. In a follow-up
letter, Broadbent et al. estimated that the difference in average exposure between the fluoridated and “non-
fluoridated” population was just 0.3 mg/day. 142 Given this likely substantial overlap in childhood
exposures, the power of Broadbent’s study to detect statistically significant differences in outcome is thus
questionable, particularly given the relatively low number of children in the “non-fluoridated” group (n =
93).
         Finally, as EPA’s Guidelines recognize, bias may be introduced into prospective cohort studies if
the examiner is aware of the subject’s exposure status. 143 Because of this, the Guidelines provide that “more
credence should be given to those studies in which both observer and subject bias are carefully controlled
(e.g., double-blind studies).” 144 The Bashash and Green studies were both double-blinded studies, 145 but
the only blinding mentioned in the Broadbent paper is that the examiner at the age 38 exam was blind to
the subjects’ previous IQ scores. The lack of blinding in the Broadbent study is a potential source of bias,
because the principal measure of fluoride exposure in the study (community water fluoride concentration)
may have been available to the examiner.



136
    EPA (1998a), p. 17; Federal Register (1998), p. 26933.
137
    Bashash et al. (2017; 2018); Broadbent et al. (2015); Green (2018); Valdez Jiménez et al. (2017).
138
    Broadbent et al. (2015).
139
    See also Menkes et al. (2014).
140
    Bashash et al. (2017; 2018) and Green (2018) utilized spot urine samples, rather than first morning or 24 hour
collection. Spot samples are an imprecise metric of chronic exposure, and thus would have introduced some exposure
error into the study. This imprecision, however, would bias the results to the null.
141
    Waugh et al. (2017).
142
    Broadbent et al. (2016).
143
    EPA (1998a), pp. 17, 19; Federal Register (1998), pp. 26933-26934.
144
    EPA (1998a), pp. 17, 19; Federal Register (1998), pp. 26933-26934.
145
    In the Bashash et al. (2017; 2018) and Green (2018) studies, the cognitive tests were performed before the archived
urine samples had been tested for fluoride, and thus neither the examiner nor the subject could have known the fluoride
status.

                                                                                                                    18
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 327 of 854
Food and Water Watch v. EPA                                                                    Thiessen Report


        No-Effect Retrospective Studies: Two early and two recent retrospective studies have failed to
identify significant effects of fluoridated water on neurological parameters, including lost IQ, learning
disorders, and behavior problmes. 146
        The first epidemiological study to examine the effect of fluoridated water on behavior was
published by Shannon et al. in 1986. 147 The study used data from 1,028 children in the Christchurch Child
Development Study in New Zealand to investigate the relationship between residence in fluoridated
communities during the first 7 years of life and maternal and teacher ratings of childhood behavior. The
authors found that duration of residence in fluoridated areas had no effect on behavioral outcomes. Severe
shortcomings in the exposure assessment, however, limit the weight that can be given to this finding. The
authors had no individualized data on exposure, including no data on urinary or plasma fluoride levels, no
data on water intake patterns (including during gestation and infancy), and no data on non-water sources of
fluoride exposure, including toothpaste and supplements. The only metric of exposure that the authors had
was residence in a community with fluoridated water, which will result in substantial exposure
misclassification and thereby bias the results to the null. Timing of exposure to fluoridated water was not
examined, only the number of years resident in a fluoridated area. Prenatal exposures (e.g., residence of
the mother during pregnancy) and neonatal exposures (e.g., breastfeeding vs. formula feeding) were not
examined.
        Morgan et al. studied dental fluorosis and behavioral scores (from parent information) for a sample
of 197 children (ages 7-11) recruited in a suburb of Boston. 148 They reported no significant associations
between behavioral scores and fluorosis or fluoride exposure, except for an assocation of behavior problems
with both the use of topical fluoride betwen ages 3 and 6 years and the use of fluoride toothpaste between
ages 1 and 2 years. They also reported that an association between fluoride exposure and behavior problems
could not be definitively excluded by their study. The study sample had a high prevalence of fluorosis
(69%), and it seems likely that the children varied more in timing of fluoride exposure (e.g., timing of use
of fluoride toothpaste or other topical fluorides) than in total exposure. This could have produced
differences in fluorosis without producing differences in other endpoints, especially if the behavioral
endpoints might have been affected by prenatal or early postnatal fluoride exposures, which were not
addressed in this study. In particular, no information on breastfeeding vs. formula feeding was mentioned,
nor were differences in prenatal fluoride exposure addressed.
         In the study by Aggeborn and Öhman, the authors analyzed mental health data (both cognitive and
non-cognitive) from the military enlistment tests of a large number of Swedish military recruits (n =
80,000). 149 No consistent relationship was found between the results of the recruitment tests and the
recruits’ prior exposure to fluoride in drinking water. A strength of the study is that the authors had
complete residential history for each recruit. A major weakness, however, is that the authors had no
individualized data on actual exposure. The authors did not have data on the actual fluoride levels in the
recruits' water, nor did they have any individual data on water intake patterns, biomonitoring data (e.g.,
urinary fluoride, serum fluoride), or exposures to non-water sources of fluoride at any time point in life.
To estimate exposure, the authors used available data on water fluoride distribution in Sweden150 to
retrospectively estimate the water fluoride level for each subject. This analysis involved several

146
    Shannon et al. (1986); Morgan et al. (1998); Aggeborn and Öhman (2017); Barberio et al. (2017).
147
    Shannon et al. (1986).
148
    Morgan et al. (1998).
149
    Aggeborn and Öhman (2017).
150
    Water fluoride in Sweden is entirely natural (Aggeborn and Öhman, 2017); no information was provided on other
mineral content in the water that might have varied with the fluoride content.

                                                                                                              19
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 328 of 854
Food and Water Watch v. EPA                                                                        Thiessen Report


assumptions which could have introduced some degree of exposure misclassification as to water fluoride
level, especially given a fairly narrow total range of fluoride concentrations in drinking water. The study
had no data on individual exposure patterns during the in utero and infancy periods, and thus it provides no
information on the impact of fluoride exposures during the prenatal and early life period.
         A 2017 study by Barberio et al. analyzed the relationship between urinary fluoride levels and
reported learning disabilities among 3- to 12-year-old children from two cycles of the Canadian Health
Measures Survey (CHMS). 151 Unadjusted urinary fluoride was significantly correlated with an increased
incidence of learning disabilities, but the relationship was no longer significant after adjusting for creatinine
and specific gravity. The authors conclude: “Overall, there did not appear to be a robust association
between fluoride exposure and parental or self-reported diagnosis of a learning disability among Canadian
children.” As with Aggeborn, the Barberio study did not have data on the exposures during the in utero or
early infancy periods; the study thus provides no information about the impact of such exposures. The
authors themselves point out that “reported learning disability diagnosis could have preceded measured
fluoride exposure.” 152 An effect of prenatal or neonatal exposure to fluoride could have been missed given
a fluoride exposure based on a urine sample obtained between ages 3 and 12.
        Neuroendocrine Effects
          EPA’s Guidelines recognize the relevance of a chemical’s ability to alter the function of the thyroid
      153
gland.      According to the Guidelines, “the development of the nervous system is intimately associated
with the presence of circulating hormones such as thyroid hormone.” 154 A thyroid disturbance during a
specific developmental period may cause a “nervous system deficit, which could include cognitive
dysfunction, altered neurological development, or visual deficits, [depending] on the severity of the thyroid
disturbance and the specific developmental period when exposure to the chemical occurred.” 155 Elsewhere,
EPA has recognized that “thyroid hormones are essential for normal brain development in humans and that
hypothyroidism during fetal and early neonatal life may have profound adverse effects on the developing
brain.” 156 The NRC made a similar observation. 157 This admonition is significant in the context of fluoride,
as the NRC concluded that fluoride is an “endocrine disrupter” which may lower thyroid function. 158 The
NRC reported that fluoride can lower thyroid function at estimated average intakes of 0.05-0.13 mg/kg/day
in humans with adequate iodine intake, and at estimated average intakes as low as 0.01 to 0.03 mg/kg/day
in individuals with iodine deficiency. 159 Put differently, fluoride affects thyroid function at lower doses in
people with iodine deficiency than in those with optimal intake of iodine. Consistent with this, Malin et al.
reported a relationship between urinary fluoride and elevated TSH (thyroid stimulating hormone) among
iodine-deficient adults in Canada, but not in the general population as a whole (excluding those with known


151
    Barberio et al. (2017).
152
    Barberio et al. (2017).
153
    EPA (1998a), p. 50; Federal Register (1998), p. 26944.
154
    EPA (1998a), p. 50; Federal Register (1998), p. 26944.
155
    EPA (1998a), p. 50; Federal Register (1998), p. 26944.
156
    EPA (2008a), p. 40, citing Morreale de Escobar et al. (2000) and Haddow et al (1999). See also EPA (2008b), p.
54, citing Morreale de Escobar et al. (2000). EPA's Science Advisory Board in 2013 found that “the most sensitive
life stages are the fetus, neonates and infants because these are the stages when thyroid-dependent brain development
occurs” (EPA 2013b, cover letter, p. 2).
157
    NRC (2006), p. 263.
158
    NRC (2006), pp. 262-263. Fluoride has actually been used as a therapeutic agent for lowering thyroid activity in
cases of hyperthyroidism (Galletti and Joyet 1958), and fluoride exposure has been associated with hypothyroidism
in both animal and human studies (Hillman et al. 1979; Peckham et al. 2015; Yang et al. 2019).
159
    NRC (2006), pp. 262-263.

                                                                                                                  20
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 329 of 854
Food and Water Watch v. EPA                                                                            Thiessen Report


thyroid disease and excluding pregnant individuals). 160 Elevated TSH is indicative of a decrease in thyroid
function. Malin’s findings are of particular concern when considering that more than 10% of women of
child-bearing age in the US are iodine deficient. 161
         Mode of Action
        EPA’s Guidelines recognize that hazard identification is strengthened by, but not dependent upon,
an identifiable mechanism by which the chemical can exert neurotoxic effects.162 For most of the chemicals
for which EPA has established RfDs pursuant to the Guidelines, the mode of action has not been known
(see Table 1). As noted recently by the NAS, “solid conclusions about causality can be drawn without
mechanistic information, for example, when there is strong and consistent evidence from animal or
epidemiology studies.” 163 The NAS added that “mechanistic frameworks today could probably be
completed for only a few chemicals.” 164
         Several plausible mechanisms—both indirect and direct—have been identified that could help
explain the neurotoxicity of fluoride. Thyroid depression is likely a principal indirect mechanism and could
account for some of the neurotoxic effects reported in the literature. A thyroid mechanism is particularly
plausible as a cause of IQ loss among offspring born to women with suboptimal iodine intakes. Another
plausible indirect mechanism of fluoride neurotoxicity is the association of fluoride exposure with increased
exposure to lead (Pb), a known neurotoxic agent. Water fluoridation, and especially the use of
silicofluorides as the fluoridation chemical, is associated both with higher concentrations of lead in the
drinking water (due to increased leaching of lead from pipes and plumbing fixtures) and with higher blood
lead in children. 165 Rat studies have shown increased lead in blood and calcified tissues from coexposures
to lead and fluoride, as well as increased dental fluorosis due to combined exposure. 166
        In terms of direct mechanisms of fluoride neurotoxicity, a recent study by Zhao et al. provides in
vitro, in vivo, and epidemiological data that, together, suggest that disturbances in hippocampal
mitochondrial dynamics (marked by fission inhibition and fusion promotion) play an important role in
fluoride-induced cognitive loss. 167 The hippocampus is an important region in the brain for learning and
memory, and many of the studies investigating the neuroanatomical and neurochemical effects of fluoride
exposure have identified adverse effects in this region (see Table A-1). Other potential modes of action
have also been identified, including signaling disruption, oxidative stress, and selective reductions in
nicotinic receptors. 168
         Dose response
         The Guidelines recognize that “determining a hazard often depends on whether a dose-response
relationship is present,” 169 and thus “dose-response evaluation is a critical part of the qualitative
characterization of a chemical’s potential to produce neurotoxicity.” 170 Because “human studies covering

160
    Malin et al. (2018).
161
    CDC (2008), Chapter 4a, pp. 91-100; see also Pearce (2015); Caldwell et al. (2011).
162
    EPA (1998a), pp. 10, 53; Federal Register (1998), pp. 26930, 26945.
163
    NAS (2018), p. 9.
164
    NAS (2018), p. 9.
165
    Maas et al. (2007); Coplan et al. (2007).
166
    Sawan et al. (2010); Leite et al. (2011).
167
    Zhao et al. 2019.
168
    Bartos et al. (2018); Chen et al. (2003; 2018a); Gao et al. (2008); Liu et al. (2010); Long et al. (2002); Shan et al.
(2004); Zhang (2017b); Zhu et al. (2017).
169
    EPA (1998a), p. 2; Federal Register (1998), p. 26927.
170
    EPA (1998a), p. 50; Federal Register (1998), p. 26944.

                                                                                                                       21
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 330 of 854
Food and Water Watch v. EPA                                                                        Thiessen Report


a range of exposures are rarely available,” the Guidelines state that the dose-response evaluation will
typically be limited to animal data.171
         Unlike the case for numerous other chemicals, there is an abundant supply of dose-response data
for fluoride, from both animal and human data. While there are some inconsistencies, and while there is
some indication of a ceiling effect or nonlinearities, 172 and potentially a non-linear threshold effect for some
endpoints, 173 the data generally show that the incidence and/or severity of nervous system deficits increase
as fluoride exposure increases.
        In animal studies, a prerequisite for dose-response analysis is that there be multiple treatment
groups with different exposures to the test substance. Many of the animal studies on fluoride have used
multiple treatment doses, and thus permit evaluation of dose response. Of the studies published since the
NRC review (summarized in Table A-1), 1 used four treatment doses, 19 used three treatment doses, and
20 used two treatment doses. The vast majority of these studies show visually apparent dose-response
trends for at least one of the effects being investigated.
         In the human studies, dose-response trends have been observed in both the cross-sectional and
prospective cohort studies. In the cross-sectional studies, dose response trends have been reported for
analyses of IQ as a function of childhood urine and serum fluoride levels. 174 An important limitation with
the urine and serum data from the cross-sectional studies is that the levels are measured after the effect
(reduction in IQ) has occurred. The data, however, are not without value, as current exposures can be
reflective of developmental exposures in areas with stable populations and stable water fluoride
concentrations. While the Cui and Ding studies do not provide information on the residential history of the
subjects, most of the children in the Zhang study had been living in the same household and drinking from
the same wells since birth. 175 Similarly, in the studies by Xiang, children who had lived in another village
for more than 2 years of their lives were specifically excluded from the study. 176 In the Xiang and Zhang
studies, therefore, the dose response relationships found between current water/urine/blood levels and
reduced IQ could be seen as a rough but reasonable proxy of developmental exposures.
         More significant than the cross-sectional studies, however, are the dose-response trends observed
in the prospective cohort studies, because, for the reasons discussed above, prospective cohort studies
provide greater confidence in ascribing a causal relationship between the exposure and effect. As can be
readily seen in the published figures, significant linear relationships were found for maternal fluoride and
IQ at ages 3-4 in both the Bashash and Green studies, 177 while an apparent non-linear effect for IQ was
observed by Bashash et al. for the 6-12 year olds: i.e., a possible threshold of 0.8 ppm fluoride in the
maternal urine, followed by a significant linear reduction in IQ at maternal urinary fluoride concentrations
above 0.8 ppm. 178 In Bashash’s analysis of ADHD outcomes, a significant linear increase was found (with
no apparent threshold), although a possible ceiling effect was suggested at the higher concentrations. 179



171
    EPA (1998a), p. 50; Federal Register (1998), p. 26945.
172
    Bashash et al. (2018); Duan et al. (2018). See also Chen et al. (2018a), Figure 1d; Chouhan et al. (2008), Figure
3a; Wang et al. (2018a), Figure 4b,c; Yuan et al. (2019), Figure 3.
173 Bashash et al. (2017).
174
    Cui et al. (2018); Ding et al. (2011); Xiang et al. (2011); Zhang et al. (2015b).
175
    Zhang et al. (2015b), p. 4.
176
    Xiang et al. (2003a), p. 85.
177
    Bashash et al. (2017), Figure 2; Green (2018), Figures 5-6.
178
    Bashash et al. (2017), Figure 3.
179
    Bashash et al. (2018), Figure 2.

                                                                                                                  22
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 331 of 854
Food and Water Watch v. EPA                                                                         Thiessen Report


         Pharmacokinetics
        Under the Guidelines, consideration should be given to the pharmacokinetics of the compound with
“particular importance” given to the pharmacokinetics of the blood-brain barrier. 180 Studies of human
cadavers have found markedly elevated concentrations of fluoride in the pineal gland (a gland located
between the two hemispheres of the brain which is not protected by the blood-brain barrier). 181 Further,
recent radioactive tracer studies in humans, using radioactive sodium fluoride to identify metastatic
growths, have confirmed that fluoride can get past the blood-brain barrier and into the brain, 182 as as been
reported for several animal studies. 183
          The extent of fluoride uptake into brain remains unclear and likely depends on the route and timing
(acute or chronic) of administration; the timing of the measurements is probably important as well.
Whitford has postulated that the concentration of fluoride in brain tissue fluid will be approximately 20%
of the concentration in plasma, 184 but several studies, including one by Whitford himself, have found
substantially higher ratios. 185 Whitford’s early estimate was derived from short-term term exposures in
healthy animals; 186 his later data from a chronic study show brain-to-plasma ratios for fluoride of about 0.2
to 0.3. 187 In contrast, chronic exposure data from McPherson et al. would give brain-to-plasma ratios for
fluoride of about 10 to 200. 188 Data are lacking for uptake of fluoride into brain during life stages when the
blood-brain barrier has limited effectiveness (i.e., the prenatal period, infancy, and old age). 189
         Both the early and late stages of human life are characterized by an inadequate blood-brain barrier.
From EPA's risk assessment for 2-hexanone: “The developing brain is distinguished by the absence of a
blood-brain barrier. The development of this barrier is a gradual process, beginning in utero and complete
at approximately 6 months of age. Because the blood-brain barrier limits the passage of substances from
blood to brain, in its absence, toxic agents can freely enter the developing brain.” 190 Increased permeability
of the blood-brain barrier is associated with ordinary aging, as well as with diseases such as Alzheimer's
and Parkinson's, both of which are common among elderly people. 191 Passage of fluoride into the brain can
be expected to be higher when the blood-brain barrier is underdeveloped or impaired. There is also some
indication in the literature that different portions of the brain may retain different concentrations of
fluoride. 192 For example, a recent rodent study with radioactive fluoride ion found higher radioactivity in
the ventral hippocampus than in the whole brain, although the radioactivity was (predictably) much higher
in the skull than in the brain. 193



180
    EPA (1998a), p. 47; Federal Register (1998), p. 26943.
181
    Luke (2001).
182
    Gori et al. (2015); Jones and Iagaru (2014); Li et al. (2011); Salgarello et al. (2016); Sheth and Colletti (2012);
Thenkondar et al. (2017); Wu et al. (2013).
183
    For example, Whitford and Pashley (1979); Geeraerts et al. (1986); Mullenix et al. (1995); Zhang et al. (2013c);
Niu et al. (2015b).
184
    NRC (2006), p. 91.
185
    NRC (2006), p. 91; Whitford and Pashley (1979), pp. 203, 205-206.
186
    Carlson et al. (1960); Whitford and Pashley (1974).
187
    Whitford et al. (2009).
188
    McPherson et al. (2018).
189
    NRC (2006), p. 91; Rodier (1995); Zeevi et al. (2010).
190
    EPA (2009c), p. 58.
191
    For example, see Mooradian (1994); Zeevi et al. (2010); Rosenberg (2014); and Pan and Nicolazzo (2018).
192
    Mullenix et al. (1995).
193
    Tipre et al. (2006).

                                                                                                                    23
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 332 of 854
Food and Water Watch v. EPA                                                                           Thiessen Report


         A second important consideration with respect to the pharmacokinetics of fluoride is that the
placenta is not an effective barrier to fluoride transfer. A number of studies in humans have demonstrated
that fluoride crosses the placenta and reaches the fetus. 194 In general, measured concentrations of fluoride
in umbilical cord blood and in blood of neonates are similar to concentrations in maternal blood.195
However, with higher maternal intakes of fluoride, the placenta may act as a partial barrier, with a maximum
observed reduction of about 40%. 196 Fluoride is taken up by the bones of the developing fetus, with some
being excreted by the fetal kidney into the amniotic fluid. After birth, maternal fluoride intake no longer
contributes to exposure of the infant, apart from very small amounts in the milk. However, fluoride in the
infant’s bones can act as a continuing source of fluoride to the infant's blood and organs when intake of
fluoride from breast milk or formula is low. For example, a recent pharmacokinetics study by Zohoori et
al. found that breastfed infants had a negative fluoride balance, meaning that they were excreting more
fluoride (presumably of prenatal origin) than they were ingesting. 197
       Overall, there appears to be little question that fluoride gets through both the blood-brain barrier
and the placenta, and, while questions remain about the extent of the uptake, the greatest rates of
accumulation likely occur during the prenatal and early infancy stages of life, while the greatest net
accumulations (especially in bone) probably exist during old age.
         In Vitro Studies
         EPA’s Guidelines also provide guidance on how to consider in vitro data. While positive in vitro
data are not sufficient, by themselves, to demonstrate a neurotoxic hazard in humans, the existence of such
data helps enhance the reliability of in vivo data. 198 Fluoride’s ability to damage brain cells has been
documented in in vitro experiments. While most of these studies have used high concentrations that are
unlikely to be present in the human brain, several studies have examined environmentally realistic fluoride
concentrations. Gao et al. found increased lipid peroxidation and reduced α7 nicotinic acetylcholine
receptors in SY-SY57Y cells at fluoride concentrations from 0.5 µmol/L (9.5 µg/L) to 5 µmol/L [95
µg/L]), 199 and others have reported increases in inflammatory markers. 200 Under the Guidelines, these data
do not necessarily demonstrate a hazard in humans, but they do enhance the reliability of the animal studies,
as similar effects have been reported in fluoride-treated rodents. 201
         Validity of the Database
         Under the Guidelines, the validity of the database should be evaluated by assessing the content
validity, construct validity, concurrent validity, and predictive validity of the data.202



194
    See for example, Feltman and Kosel (1961); Gedalia et al. (1964); Blayney and Hill (1964); Armstrong et al.
(1970); Hanhijärvi et al. (1974); Forsman (1974); Shen and Taves (1974); Ron et al. (1986); Malhotra et al. (1993);
Gupta et al. (1993); Brambilla et al. (1994); Shimonovitz et al. (1995).
195
    Feltman and Kosel (1961); Gedalia et al. (1964); Hudson et al. (1967); Armstrong et al. (1970); Hanhijärvi et al.
(1974); Ron et al. (1986); Malhotra et al. (1993); Gupta et al. (1993); Shimonovitz et al. (1995).
196
    Gupta et al. (1993); Gedalia et al. (1964).
197
    Zohoori et al. (2019). Zohoori et al. also state that renal function in humans does not reach its full capacity until
about age 2 years, indicating that excretion of fluoride is likely less during infancy and early childhood, compared
with older ages.
198
    EPA (1998a), p. 49; Federal Register (1998), p. 26944.
199
    Gao et al. (2008), Figures 1A, 3A.
200
    Goschorska et al. (2018).
201
    Bartos et al. (2018); Dong et al. (2015); Yang et al. (2018a); Yan et al. (2016); Zhao et al. (2019).
202 EPA (1998a), pp. 10-11; Federal Register (1998), pp. 26930-26931.



                                                                                                                      24
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 333 of 854
Food and Water Watch v. EPA                                                                   Thiessen Report


          Content validity addresses “whether the effects result from exposure.” 203 This factor weighs
decisively in favor of a neurotoxicity hazard determination for fluoride. As explained by the Director of
EPA’s IRIS Division, “experimental animal studies are designed to let you draw causal inferences.” 204 The
large number of animal studies reporting neurotoxic effects (both structural and functional) following
fluoride exposure thus gives confidence in the content validity of the data. Based on the structural effects,
NRC concluded that fluoride interferes with the brain. 205 Similarly, Dr. Thayer, who served as the principal
author of the NTP systematic review on fluoride’s learning effects, agreed that the animal studies show that
“at some level of exposure fluoride can damage the brain.” 206 In addition to the animal studies, four
prospective birth cohort studies have associated prenatal fluoride exposure in humans with adverse
effects. 207 Prospective studies are the optimal form of epidemiological study for ascribing causality
between chemical and disease.208
         Construct validity addresses whether the neurologic effects that have been observed “are adverse
or toxicologically significant.” 209 This factor is satisfied in the fluoride database. Among other things, the
animal studies have linked fluoride to learning and memory deficits, which EPA has used as the adverse
effect upon which to establish reference doses for other chemicals (e.g., BDE-153). 210 Further, the human
epidemiological data have linked fluoride with IQ detriments, including an approximate 5 to 6 point drop
in IQ as maternal urinary fluoride increased from 0 to 1 mg/L. 211 EPA has recognized that a loss of a single
IQ point is associated with loss in lifetime earnings in the range of at least $8,760 to $12,512, 212 and has
stated that “an IQ loss on the order of one to two IQ points [should] be prevented in all but a small percentile
of the population.” 213
         Concurrent Validity addresses “whether there are correlative measures among behavioral,
physiological, neurochemical, and morphological endpoints. 214 Studies have correlated fluoride’s cognitive
effects in animals with various neurochemical and neuroanatomical changes,215 and a few studies have
correlated fluoride-associated cognitive loss in humans with increased TSH and alterations in mitochondrial
dynamics. 216 For example, Zhao et al. 217 reported lower circulating levels of a mitochondrial protein
(fission-related protein-1, Fis1) in children from high fluoride areas (compared with children in low fluoride
areas), and higher circulating levels of a second mitochondrial protein (mitofusin-2, Mfn2) in the same

203 EPA (1998a), pp. 10-11; Federal Register (1998), pp. 26930-26931.
204 Thayer Deposition at 270:23-25.
205
    NRC (2006), p. 222.
206
    Thayer Deposition at 225:8-15, 226:13-16.
207
    Bashash et al. (2017; 2018); Green (2018); Valdez Jiménez et al. (2017).
208
    While the prospective study from New Zealand (Broadbent et al. 2015) failed to detect an association between
fluoride and IQ, this can be explained by certain limitations with the study design, including the absence of
individualized exposure data and the failure to consider exposures during the prenatal period.
209
    EPA (1998a), pp. 10-11; Federal Register (1998), pp. 26930-26931.
210
    EPA (2008c), p. 36. Effects on memory were also noted in the RfD determination for BDE-99 (EPA 2008b, p.
27).
211
    Bashash et al. (2017); Green (2018).
212
    EPA (2008e), p. 5-28.
213
    Cited by a member of the CASAC Lead Review Panel in its peer review of the EPA’s Policy Assessment for the
Review of the Lead National Ambient Air Quality Standards (External Review Draft – January 2013), p. A-15.
[https://yosemite.epa.gov/sab/sabproduct.nsf/E2554E264EEF8CCB85257B80006B3014/$File/EPA-CASAC-13-
005+unsigned.pdf]
214
    EPA (1998a), pp. 10-11; Federal Register (1998), pp. 26930-26931.
215
    For example, see Bartos et al. (2018); Zhao et al. (2019); Zhou et al. (2019).
216
    For example, Zhang et al. (2015b); Zhao et al. (2019).
217
    Zhao et al. (2019).

                                                                                                             25
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 334 of 854
Food and Water Watch v. EPA                                                                 Thiessen Report


children. The levels of circulating Fis1 were positively associated with children's IQ scores, while the
levels of circulating Mfn2 were negatively associated with the IQ scores.
        Predictive validity addresses “whether the effects are predictive of what will happen under various
conditions.” 218 The condition of perhaps greatest interest with respect to prediction of fluoride
neurotoxicity is exposure during the prenatal period. Studies in both animals and humans have, with one
exception, 219 reported neurologic effects following prenatal exposure. The database, therefore, does have
some degree of predictive validity, although further research remains necessary to determine to what extent
other conditions (e.g., nutrition, genetics, neonatal exposure, and kidney function) may modify or predict
outcomes. Exposure during the early postnatal period also requires further research.
         Sufficiency of the Evidence
         Under the Guidelines, the purpose of the hazard identification analysis is to determine from the
collective data whether a neurotoxicity hazard “could exist” for the chemical.220 The Guidelines provide
that “the minimum evidence sufficient would be data on a single adverse endpoint from a well-conducted
study.” 221 In the case of fluoride, the toxicological evidence was sufficient as of 2006 to permit the NRC
to conclude that fluoride interferes with the brain. 222 Since that time many additional animal and
epidemiological studies have been published, including four prospective cohort studies correlating prenatal
fluoride exposure with adverse neurological outcomes in offspring. 223 Prospective cohort studies are
considered the ideal study design for determining the impact of environmental chemicals on human health,
and thus the four prospective cohort studies are arguably sufficient by themselves to reach the hazard
determination. The prospective studies are most compelling, however, when viewed in the context of the
animal data, the cross-sectional studies, the neuoroendocrine literature showing depression in thyroid
function, and the pharmacokinetic data showing placental transfer to the fetus. Taken together, these data
provide more than sufficient evidence of a neurotoxic hazard under EPA’s Guidelines, with a high degree
of confidence.
         The Guidelines go on to point out that, in contrast, to conclude that a chemical is unlikely to pose
a neurotoxic hazard, “the minimum evidence would include data from a host of endpoints that revealed no
neurotoxic effects,” 224 in particular, “human data from appropriate studies that could support a conclusion
of no evidence of a neurotoxic effect.” 225 As discussed elsewhere in this report, very few neurotoxicologic
studies of fluoride exposures in humans have reported no evidence of effects, while the vast majority report
a neurotoxic hazard to humans from exposure to fluoride.
         Data Gaps
        EPA’s Guidelines point to the need to address “significant data gaps.” 226 Although there are
enough data available to conclude that neurotoxicity is a hazard of fluoride exposure, certain data gaps do
remain. One of the major data gaps is the lack of research on the impact of fluoride during the neonatal
and early infancy period. EPA has recognized that the neonatal period represents a critical window of

218
    EPA (1998a), pp. 10-11; Federal Register (1998), pp. 26930-26931.
219
    McPherson et al. (2018).
220
    EPA (1998a), pp. 53, 55; Federal Register (1998), pp. 26945-26946.
221
    EPA (1998a), p. 55; Federal Register (1998), p. 26946.
222
    NRC (2006), p. 222.
223
    Bashash et al. (2017; 2018); Green (2018); Valdez Jiménez et al. (2017).
224
    EPA (1998a), p. 56; Federal Register (1998), p. 26946.
225
    EPA (1998a), p. 56; Federal Register (1998), p. 26946.
226
    EPA (1998a), p. 12; Federal Register (1998), p. 26931.

                                                                                                          26
        Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 335 of 854
Food and Water Watch v. EPA                                                                 Thiessen Report


vulnerability to neurotoxicants, 227 yet most developmental rodent studies do not address neonatal exposures
to fluoride (due to exclusive breastfeeding of the rat or mouse pups and absence of gavage exposures), and
no epidemiological study has yet investigated the impact of fluoridated water in infant formula on
neurologic outcomes. Other data gaps include the absence of long-term animal studies, and the scarcity of
epidemiological research into fluoride’s neurologic effects in the elderly. Data gaps also remain with
respect to how the dose which causes neurologic effects varies across susceptible subsets of the population,
including those with nutrient deficiencies, genetic polymorphisms, kidney disease, and the elderly. These
data gaps, and resulting uncertainties, are discussed further in later parts of this report.
           Summary
          As described above, the overwhelming body of evidence, from both animal studies and human
studies, supports the existence of neurotoxic effects from exposure to fluoride. This is especially important
for exposures during development, i.e., during gestation and the neonatal period. Of particular significance
is the lack of animal studies that include neonatal exposures comparable to those received by human infants
who are fed formula prepared with fluoridated water.




227
      See for example, EPA (2008a), p. 42.

                                                                                                          27
       Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 336 of 854
Food and Water Watch v. EPA                                                                          Thiessen Report


B.       Neurotoxicity Is a More Sensitive Effect of Fluoride than Severe Dental Fluorosis
         According to the Guidelines, “if data are considered sufficient for risk assessment, and if
neurotoxicity is the effect occurring at the lowest dose level (i.e., the critical effect), an oral or dermal RfD,
or an inhalation RfC, based on neurotoxic effects, is then derived.” 228 At present, EPA assumes severe
dental fluorosis to be the critical effect of fluoride exposure. 229 This assumption, however, has no
identifiable biological or empirical justification, and it is at odds with substantial animal and
epidemiological evidence.
      A) Background
         The EPA, in its 2010 report, established a Reference Dose (RfD) 230 of 0.08 mg/kg/day, based on
keeping the percentage of children with severe dental fluorosis below 0.5%.231 EPA considered this RfD
to also be protective against a fluoride-related increase in bone fractures in adults 232 and presumably also
of Stage II skeletal fluorosis. EPA stated that the “Office of Water (OW) accepted the NRC (2006) findings
as the summary of hazard for inorganic fluoride.” 233 However, the EPA ignored or failed to consider any
adverse health effects other than severe dental fluorosis, stage II skeletal fluorosis, or bone fractures, even
though the NRC (2006) discussed a number of additional adverse health effects due to fluoride exposure. 234
As discussed earlier, the NRC concluded that fluoride is an endocrine disruptor, 235 and it can interfere with
the brain by both direct and indirect means. 236 EPA’s representative in this litigation (Edward Ohanian)
recognized that NRC’s concerns about potential neurotoxicity in humans justified application of an
uncertainty factor to account for a “database deficiency.” 237 However, EPA did not apply any uncertainty
factors, due to concerns about interfering with caries-prevention programs. 238
      B) Biological Considerations
         In its risk assessment, EPA did not address the biological or empirical justification for assuming
that severe dental fluorosis is a more sensitive effect of fluoride exposure than neurotoxicity. Instead, EPA
treated the scarcity of quantitative dose response data on neurotoxicity as evidence that neurotoxicity is a
less sensitive effect. EPA's assumption ignores the different windows of susceptibility for fluoride-induced
neurotoxicity and fluorosis. As discussed earlier, there are distinct pharmacokinetics (e.g., known placental
transfer, lack of an effective blood-brain barrier) during the in utero period that will render the organism
more vulnerable to fluoride’s neurological effects than during the childhood years. Consistent with this,
recent prospective cohort studies, as well many animal studies, have identified the prenatal period as a

228
    EPA (1998a), p. 2; Federal Register (1998), p. 26928.
229
    EPA (2010b), pp. i, 87, 94.
230
    Reference Dose (RfD): An estimate (with uncertainty spanning perhaps an order of magnitude) of a daily oral
exposure to the human population (including sensitive subgroups) that is likely to be without an appreciable risk of
deleterious effects during a lifetime. It can be derived from a NOAEL, LOAEL, or benchmark dose, with uncertainty
factors generally applied to reflect limitations of the data used. Generally used in EPA's noncancer health assessments.
EPA (2009a).
231
    EPA (2010b), pp. xiv, 103.
232
    EPA (2010b), pp. xv, 105.
233
    EPA (2010b), p. i.
234
    NRC (2006), pp. 8, 12, 222-223, 266-267.
235
    NRC (2006), p. 266.
236
    NRC (2006), p. 222.
237
    Ohanian Deposition at pp. 200:4-202:2, 206:9-19.
238
    Ohanian Deposition at pp. 205:6-16, 206:14-19, 329:3-7. See also EPA (2010b), pp. 105-106: “the total
uncertainty factor applied was 1” (p. 105) and “1 is the chosen value for each of the following uncertainty factors used
in this estimate of the fluoride oral RfD: UFH, UFA, UFS, UFL. The composite UF is also equal to 1” (p. 106).

                                                                                                                     28
       Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 337 of 854
Food and Water Watch v. EPA                                                                             Thiessen Report


window of vulnerability for fluoride neurotoxicity. By contrast, prenatal fluoride exposure is not
considered a risk factor for dental fluorosis. 239 In its risk assessment, EPA considered the window of
vulnerability for severe dental fluorosis to be the period between 6 months and 14 years of age. 240 Severe
dental fluorosis thus has a later window of vulnerability than fluoride neurotoxicity, and EPA’s
representative has admitted that one cannot rely on the current reference dose for severe dental fluorosis
“to protect against potential effects that could occur in in utero.” 241
      C) Evidence from Animal Studies
         Animal studies provide some guidance as to the respective sensitivity of neurotoxicity and severe
dental fluorosis following fluoride exposure. Several of the studies that have investigated the neurological
effects of fluoride in rodents have examined the teeth for signs of fluorosis. 242 In these studies, measurable
nervous system deficits were identified in animals with only mild forms of fluorosis. Based on these
findings, Niu et al. concluded that fluoride “can influence spontaneous behaviors and lower the learning
ability of rats before the appearance of dental lesions.” 243 The applicability of these animal findings to
humans is complicated by the fact that, unlike in humans, rat incisors never stop growing. Nevertheless, the
results are consistent with what has been observed in human populations.
      D) Evidence from Prospective Cohort Studies
         A prospective cohort study by Green reported significant reductions in IQ among children born to
women living in fluoridated areas of Canada.244 In this study, each 1 mg/L of fluoride in the pregnant
mother’s water significantly correlated with a loss of 6.25 IQ points in young children. Notably, this would
include exposure levels below the concentration that can cause severe dental fluorosis, according to EPA.
In its 2010 risk assessment, EPA selected a threshold for severe dental fluorosis of approximately 1.87
mg/L. 245 The Green study thus indicates that fluoride exposure reduces IQ at levels that are lower than
those which can cause severe fluorosis. Bashash et al. reported similar findings for IQ 246 and for ADHD. 247
      E) Evidence from Cross Sectional Studies
        Consistent with the recent prospective cohort studies, many of the cross sectional studies have
reported fluoride-related IQ reductions among children without severe dental fluorosis. Some studies have
reported clear dose responses between fluoride exposure or dental fluorosis and IQ.




239
    Ohanian Deposition at pp. 339:2-340:11. EPA (2010b; p. 96) indicates that “the period of greatest sensitivity to
severe enamel fluorosis [is] the time from six months through 14 years of age” for their assessment.
240
    EPA (2010b), p. 96. EPA itself (EPA 2010b, p. 96) also states that mineralization of the permanent incisors begins
at about 6 ± 2 months, which means that their analysis of fluoride exposure should start no later than 4 months of age.
Dental fluorosis is, in fact, associated with fluoride exposures during the first 6 months of life as well as later periods
(Hong et al. 2006a; 2006b). Both Forsman (1977) and Walton and Messer (1981) report more fluorosis in children
who were bottle-fed rather than breastfed (with consequent higher fluoride ingestion) during their first few months of
postnatal life.
241
    Ohanian Deposition at p. 340:12-341:3.
242
    For example, Chioca et al. (2008); Liu et al. (2011); Niu et al. (2008); Pereira et al. (2011).
243
    Niu et al. (2008).
244
    Green (2018), p. 40.
245
    EPA (2010b), p. 90. A water fluoride concentration of 1.87 mg/L is the lower bound of the benchmark dose
(BMDL) predicted to correspond to a response of 0.5% severe dental fluorosis.
246
    Bashash et al. (2017).
247
    Bashash et al. (2018).

                                                                                                                        29
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 338 of 854
Food and Water Watch v. EPA                                                                 Thiessen Report


         A 1995 paper by Li et al. 248 reported significantly lower mean IQ in children (ages 8-13 years) in
areas with medium or severe dental fluorosis (dental fluorosis index = 2.5 and 3.2, respectively; see Figure
1 in Appendix C). In addition, the distributions of IQ were also different between areas with no or slight
dental fluorosis and areas with medium or severe dental fluorosis (Figure 2 in Appendix C): in areas with
either medium or severe dental fluorosis, significantly more children had low IQs (< 70 and 70-79) and
significantly fewer children had mid-range IQs (90-109). Thus, even from this early study, it was apparent
that protecting against severe dental fluorosis is inadequate to protect against neurotoxic effects.
        Khan et al. 249 have shown a clear dose response (a significant negative correlation) between dental
fluorosis category (normal to severe) in children ages 6-11 and both mean IQ score (Figure 3 in Appendix
C) and percentage of poor IQ grades (Figures 4-5 in Appendix C). As dental fluorosis increases in severity,
the IQ measure becomes significantly worse (lower mean IQ and higher IQ grade, where a higher IQ grade
corresponds to lower IQ). Children with normal teeth had a mean IQ score of 110.1; mean IQ decreased
consistently with increasing severity of dental fluorosis (Figure 3 in Appendix C), even for very mild dental
fluorosis. The shift in the distribution of IQ grade from mostly high IQ (IQ grades 1-2) with normal teeth,
to mostly average IQ (IQ grade 3) with very mild and mild fluorosis, to mostly low IQ (IQ grades 3-5 for
moderate fluorosis and grade 5 for severe fluorosis) is readily apparent (Figures 4-5 in Appendix C).
        Das and Mondal 250 reported significant negative correlations between IQ and both dental fluorosis
and urinary fluoride in children (ages 6-18). While children with normal teeth, questionable fluorosis, and
very mild fluorosis had mean IQ scores of 108.3, 103.2, and 107.7, respectively, children with mild,
moderate, and severe fluorosis had mean IQ scores of 92.83, 84.51, and 85.91, respectively.
        Ding et al. 251 reported a much higher percentage of children (ages 7-14) with IQ < 89 among
children with moderate fluorosis than among children with normal teeth, questionable fluorosis, very mild
fluorosis, or mild fluorosis (21.4% among children with moderate fluorosis vs. 5-16% in other groups). 252
Ding et al. also reported an inverse association of IQ with urinary fluoride (decreased IQ with increased
urinary fluoride) in a population with no severe dental fluorosis. Thus, even in the absence of severe dental
fluorosis, there was still a dose-dependent decrease in IQ with increased urinary fluoride concentration, and
moderate fluorosis was associated with a higher fraction of children with low IQ.
         Dong et al. 253 reported decreased IQ with increasing prevalence of dental fluorosis and with
increasing severity of dental fluorosis in children ages 8-12 years. Children in a non-endemic fluorosis
village (2% with dental fluorosis) had a mean IQ of 108.7, while children in endemic fluorosis villages
(prevalence 16.3%, 29.8%, and 61.0%) had mean IQs of 102.5, 101.7, and 93.5, respectively. Of the
children in the endemic fluorosis villages, children with normal teeth had a mean IQ of 105.9, while children
with suspected, slight, mild, moderate, and severe dental fluorosis had mean IQs of 102.9, 98.8, 93.3, 91.9,
and 90.5, respectively. In addition, the percentage of children with IQ < 89 increased from 2.3% (normal
teeth) to 21.4% (slight fluorosis), 30% (mild fluorosis), and 50-60% (moderate and severe fluorosis).
Deficits in IQ were apparent with even mild and moderate dental fluorosis.
        Shivaprakash et al. 254 reported a significantly lower IQ among children (ages 7-11) with dental
fluorosis (mild, moderate, or severe; considered separately and together) than among children with no

248
    Li et al. (1995).
249
    Khan et al. (2015).
250
    Das and Mondal (2016).
251
    Ding et al. (2011).
252
    Ding et al. (2011), Table 4.
253
    Dong et al. (2018), especially Tables 2 and 3.
254
    Shivaprakash et al. 2011.

                                                                                                          30
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 339 of 854
Food and Water Watch v. EPA                                                                       Thiessen Report


fluorosis. For even mild fluorosis, the mean IQ of the children was significantly lower than that of children
with no fluorosis. Among children with fluorosis, 72.5% had borderline or extremely low IQ (IQ = 70-79
or IQ < 70, respectively), only 1.25% had high average IQ (110-119), and none had superior IQ (IQ = 120-
129). Among children with no fluorosis, 47.5% had borderline or extremely low IQ, and 5% had high
average or superior IQ. Thus, the distribution of IQ scores was shifted toward the lower scores for children
with dental fluorosis, in comparison with children with no fluorosis (Figure 6 in Appendix C).
         Sudhir et al. 255 reported significantly more intellectually impaired children (ages 13-15) with
increased fluoride concentration in the drinking water used during ages 0-10. The distribution of IQ grades
(where grade 1 corresponds to the highest intelligence and grade 5 to the lowest intelligence; no children
in this study were in grade 1, and only 4 of 1000 were in grade 2) clearly shifted toward worse IQ (more
intellectual impairment) with increasing dental fluorosis index (increasing severity of dental fluorosis)
(Figures 7-8 (in Appendix C).
        Pang et al. 256 reported significantly lower IQ in children (ages 8-12 years) in an endemic fluorosis
area (dental fluorosis prevalence > 30%) than in a non-endemic fluorosis area (dental fluorosis prevalence
< 30%). In the non-endemic fluorosis area, mean IQs were 98.85 in males and 94.67 in females; in the
endemic fluorosis area, mean IQs were 93.24 in males and 91.75 in females. The overall distribution of
IQs was shifted to the left (more individuals with lower IQs) in the endemic fluorosis area, and the rate of
mental retardation (IQ < 69) was greater in the endemic fluorosis area.
         Yu et al. 257 reported that moderate levels of fluoride exposure were associated with increased
likelihood of dental fluorosis and negatively associated with intelligence scores. In particular, excellent
intelligence was less likely with increased fluoride exposure and with increased severity of dental fluorosis;
the odds ratio for developing excellent intelligence (IQ ≥ 130) decreased by 30% with each level of
increased severity of dental fluorosis.
         As part of a larger study of fluoride effects on mitochondrial function, Zhao et al. 258 compared
children in areas with “normal” and “high” fluoride concentrations 259 and found lower IQ scores in the
children from areas with high fluoride. In addition, Zhao et al. found lower circulating levels of a
mitochondrial protein (fission-related protein-1, Fis1) in the children from the high fluoride areas, and
higher circulating levels of a second mitochondrial protein (mitofusin-2, Mfn2) in the same children. The
levels of circulating Fis1 were positively associated with children's IQ scores, while the levels of circulating
Mfn2 were negatively associated with the IQ scores. The authors concluded that impairments of
mitochondrial fission and fusion were “associated with intellectual decline of children with long-term
fluoride exposure.”
        Evidence from Case Reports and Occupational Surveys
       Spittle reviewed case reports and occupational surveys of fluoride-exposed individuals, dating back
to Roholm’s seminal treatise on fluoride intoxication. 260 Many of the case reports and occupational surveys


255
    Sudhir et al. (2009), especially Tables 2 and 3.
256
    Pang et al. (2018).
257
    Yu et al. (2018).
258
    Zhao et al. (2019). This study included experiments with human neuroblastoma cells and with rats, as well as
observations in children with different fluoride exposures.
259
    Mean (standard deviation) fluoride concentrations were 0.50 (0.27) mg/L in areas with “normal” fluoride
concentrations and 2.00 (0.75) mg/L in areas with “high” fluoride concentrations, as summarized by Yu et al. (2018),
Table 1. (Personal communication from S. Zhang, June 11, 2019.)
260
    Spittle (1994).

                                                                                                                 31
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 340 of 854
Food and Water Watch v. EPA                                                                  Thiessen Report


identified mental problems, including “difficulties with concentration and memory.” The exposures in the
reports occurred during adulthood, and, as such, the neurological effects would have occurred in the absence
of dental fluorosis.
        Summary
         In summary, adverse effects of fluoride exposure on children's intelligence and other neurological
parameters are observed in the absence of severe dental fluorosis. In other words, protection against severe
dental fluorosis does not indicate protection against loss of IQ points or other neurological effects. The
collective data thus strongly support the conclusion that neurotoxicity is a more sensitive effect of fluoride
exposure than severe dental fluorosis.




                                                                                                           32
       Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 341 of 854
Food and Water Watch v. EPA                                                                     Thiessen Report


C.     Identifiable Subsets of the Population Have Heightened Susceptibility to the Risk of Harm
from Fluoridation Chemicals
        The EPA, in its Guidelines, says that an “important part of this [risk assessment] effort is a
description of the nature of the exposed population and the potential for sensitive, highly susceptible, or
highly exposed populations.” 261 EPA identifies pregnant or lactating women, infants, and children as
important subpopulations in terms of critical periods of exposure 262 (i.e., during development of the infants
and children), and the elderly as a population “at particular risk because of the limited ability of the nervous
system to regenerate or compensate to neurotoxic insult.” 263 The Guidelines also recognize that factors such
as nutrition, pre-existing disease (e.g., diabetes), and genetic polymorphisms “may predispose some
individuals to be more sensitive to the neurotoxic effects of specific agents.” 264
         Consistent with the general principles discussed in the Guidelines, there are identifiable subsets of
the population that will be more susceptible to the neurotoxic effects of fluoride than the general population.
The NRC identified several population subgroups that are generally at increased risk from the adverse
effects of fluoride. 265 These high-risk groups include people with higher than average exposures (e.g.,
bottle-fed infants, athletes, outdoor workers, people with high occupational or industrial exposures), people
with higher than average retention of fluoride (e.g., people with renal impairment), and people in vulnerable
stages of life (e.g., infants and children during the developmental period, elderly persons with long-term
accumulation of fluoride). Research published subsequent to the NRC report further supports the NRC’s
conclusions and confirms that the increased susceptibility to fluoride exposure extends to neurological
hazards.
        The data set that EPA used in deriving its RfD included only white children; 266 as I commented to
EPA in 2011, 267 the Centers for Disease Control and Prevention (CDC) reports higher rates of dental
fluorosis in the black population than the white population. 268 EPA itself described at least two studies that
reported higher rates of dental fluorosis among blacks than whites. 269 People with renal impairment and
consequent reduced clearance of fluoride from the body could be sensitive to adverse health effects at lower
levels of intake than typical,270 and these people are not known to have been included in the study
population.
      A) Developmental Period – General Considerations
        The developmental period (the period between conception and sexual maturity 271) is reasonably
expected to be a vulnerable stage for neurotoxicity in humans. 272 A variety of animal studies have shown
“functional deficits” at “dose levels below those at which other indicators of developmental toxicity are
evident” or that would be minimally toxic in adults,273 and therefore EPA requires testing for developmental


261
    EPA (1998a), p. 63; Federal Register (1998), p. 26948.
262
    EPA (1998a), p. 65; Federal Register (1998), p. 26949.
263
    EPA (1998a), p. 65; Federal Register (1998), p. 26949.
264
    EPA (1998a), p. 65; Federal Register (1998), p. 26949.
265
    NRC (2006), pp. 350-351. See also pp. 30-33.
266
    Dean (1942), pp. 28, 29, 31.
267
    Thiessen (2011).
268
    CDC (2005), Table 23.
269
    EPA (2010b), pp. 33-34.
270
    NRC (2006), p. 351.
271
    EPA (1998a), p. 44; Federal Register (1998), p. 26942.
272
    EPA (1998a), pp. 44, 65; Federal Register (1998), pp. 26942, 26949; Grandjean and Landrigan (2014).
273
    EPA (1998a), p. 44; Federal Register (1998), p. 26942.

                                                                                                             33
       Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 342 of 854
Food and Water Watch v. EPA                                                                          Thiessen Report


neurotoxicity when available information indicates that potential. 274 From EPA's Guidelines for
Neurotoxicity Risk Assessment: “It is a well-established principle that there are critical developmental
periods for the disruption of functional competence, which include both the prenatal and postnatal periods
to the time of sexual maturation, and the effect of a toxicant is likely to vary depending on the time and
degree of exposure.” 275 In its risk assessment for BDE-153, EPA based its Reference Dose (RfD) on a
neurotoxicity endpoint in neonates, stating that “there are a wide variety of brain structures that have very
limited critical windows during development. These short critical windows translate to susceptible periods
of exposure that can be very short.” 276 EPA considered it a demonstrated concept that exposure to a
neurotoxic chemical during critical periods of development “can induce functional neurological effects later
in development.” 277 In its risk assessment for BDE-47, EPA states that a “population subgroup is
susceptible if exposure occurs during a period of sensitivity” 278 and then describes the neonatal stage as “a
period of rapid development of the nervous system and . . . a critical window of development.” 279 In its
noncancer risk assessment for methanol, EPA stated that brain effects from postnatal exposure are relevant
to humans “given that, in humans, gross measures of brain growth increase for at least 2-3 years after birth,
with the growth rate peaking approximately 4 months after birth.” 280
      B) Fetus
         Evidence from both animal and human populations indicates that the fetal period is a critical period
of susceptibility to fluoride’s neurotoxic effects. First, it should be recognized that fluoride’s capacity to
harm the developing brain in utero is biologically plausible, and as described below, adverse effects have
been reported in both human and animal fetuses. As discussed earlier, fluoride crosses the placenta and
reaches the fetus. 281 Further, the fluoride that reaches the fetus will have ready access to the brain. As
noted by EPA, “The development of [the blood-brain barrier] is a gradual process, beginning in utero and
complete at approximately 6 months of age. Because the blood-brain barrier limits the passage of
substances from blood to brain, in its absence, toxic agents can freely enter the developing brain.” 282
Fluoride is known to cross the blood-brain barrier, 283 especially when concentrations of fluoride in blood
are transiently high, 284 and passage of fluoride into the brain can be expected to be higher when the blood-
brain barrier is underdeveloped or impaired. Thus, some of the fluoride ingested by the mother will make
its way into the brain of the fetus. Additionally, fluoride has the capacity to lower thyroid function,
particularly among individuals with low iodine intakes, and EPA has recognized that alterations to thyroid
function (e.g., reductions in thyroid hormone concentrations) during pregnancy can cause cognitive




274
    EPA (1998a), p. 45; Federal Register (1998), p. 26942.
275
    EPA (1998a), p. 46; Federal Register (1998), p. 26943.
276
    EPA (2008c), p. 33.
277
    EPA (2008c), p. 33.
278
    EPA (2008a), p. 42.
279
    EPA (2008a), p. 42.
280
    EPA (2013a), p. 5-4.
281
    See for example, Feltman and Kosel (1961); Gedalia et al. (1964); Blayney and Hill (1964); Hudson et al. (1967);
Armstrong et al. (1970); Hanhijärvi et al. (1974); Forsman (1974); Shen and Taves (1974); Ron et al. (1986); Malhotra
et al. (1993); Gupta et al. (1993); Brambilla et al. (1994); Shimonovitz et al. (1995).
282
    EPA (2009c), p. 58; Rodier (1995).
283
    Niu et al. (2015b); Geeraerts et al. (1986). See also Gori et al. (2015); Jones and Iagaru (2014); Li et al. (2011);
Salgarello et al. (2016); Sheth and Colletti (2012); Thenkondar et al. (2017); Wu et al. (2013).
284
    Mullenix et al. (1995).

                                                                                                                     34
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 343 of 854
Food and Water Watch v. EPA                                                                         Thiessen Report


disorders and other neurological harm to the child. 285 Of paramount concern are the many women of
childbearing age in the United States who have insufficient iodine intakes, as discussed further below.
         Prospective Cohort studies
        Four recent prospective cohort studies have found that prenatal fluoride exposure correlates with
adverse neurological effects in the offspring. 286 As part of a large study of maternal fluoride exposure and
child outcomes in Canada (assessed between ages 3 and 4 years), Green reported that higher maternal
urinary fluoride concentrations (average for all three trimesters) were significantly associated with lower
IQ scores in male children. 287 An increase in maternal urinary fluoride concentration by 1.0 mg/L
corresponded to a decrease in Full-Scale IQ (FSIQ) of 4 1/2 points. 288 Mean maternal urinary fluoride
concentrations were significantly higher in fluoridated areas than non-fluoridated areas. 289 For the mother-
child pairs for which drinking water information was available, higher fluoride concentration in drinking
water was associated with lower IQ scores in children of both sexes.290 An increase in water fluoride
concentration of 1 mg/L corresponded to a decrease of 6.25 IQ points in the children. 291 Higher estimated
maternal fluoride intake was also associated with lower IQ in children of both sexes.292 An increase in
maternal fluoride exposure of 1 mg/L corresponded to a decrease of about 4 IQ points in their children. 293
The study controlled for a number of covariates, 294 including various maternal and paternal characteristics,
sex of the child, and prenatal exposures to lead, mercury, and arsenic (assessed from maternal blood and
urine samples 295).
        Bashash et al., in a study in Mexico City, reported findings similar to those of Green in Canada: an
increase in maternal urinary fluoride of 0.5 mg/L corresponded to a decrease in the General Cognitive Index
(GCI) of 3.15 in 4-year-old children (with no threshold) and a decrease of 2.50 in Full-Scale IQ in 6- to 12-
year-old children (with a possible threshold of approximately 0.8 mg/L). 296 The mean maternal urinary
fluoride concentration was 0.90 mg/L. 297 In the same cohort, higher maternal urinary fluoride also
corresponded to significantly higher scores for inattention and attention deficit hyperactivity disorder
(ADHD) for 6- to 12-year-old children. 298 Thus, in this cohort in Mexico City, fluoride exposures during
the prenatal period are associated with both lower cognitive function and increased ADHD scores in
children some years later. The studies by Bashash et al. controlled for a large number of covariates,




285
    EPA (1998a), p. 50; ; Federal Register (1998), p. 26944; EPA (2008a), p. 40; EPA (2008b), p. 54; EPA (2013b),
cover letter, p. 2. See also Rodier (1995); Zoeller and Rovet (2004); Patel et al. (2011); Suárez-Rodríguez et al.
(2012); Modesto et al. (2015); Bellinger (2018).
286
    Green (2018), Bashash et al. (2017; 2018); Valdez Jiménez et al. (2017). The two papers by Bashash et al. (2017;
2018) describe separate neurodevelopmental endpoints measured in subsets of the same cohort.
287
    Green (2018), p. 29, Full-Scale IQ (FSIQ); p. 31, Performance IQ (PIQ); n = 512.
288
    Green (2018), p. 35.
289
    Green (2018), p. 27 (0.69 mg/L vs. 0.40 mg/L for n = 512); p. 32 (0.92 mg/L vs. 0.30 mg/L for n = 369). Fluoridated
drinking water was defined as 0.6-0.8 mg/L (p. 20).
290
    Green (2018), p. 33 (FSIQ); p. 34 (PIQ); n = 369.
291
    Green (2018), p. 40.
292
    Green (2018), p. 34 (FSIQ, PIQ); n = 369.
293
    Green (2018), p. 40.
294
    Green (2018), pp. 22-24.
295
    Green (2018), p. 28.
296
    Bashash et al. (2017).
297
    Bashash et al. (2017).
298
    Bashash et al. (2018).

                                                                                                                    35
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 344 of 854
Food and Water Watch v. EPA                                                                           Thiessen Report


including maternal characteristics, possible prenatal exposure to mercury and lead, and the possible
modification of fluoride effects by calcium supplementation. 299
         In a separate birth cohort in a different part of Mexico, Valdez Jiménez et al. evaluated the
neurodevelopment of 65 infants ages 3-15 months (average, 8 months). 300 Mothers were recruited early in
pregnancy, and maternal urinary fluoride measurements were made during each trimester (all 65 mothers
provided 1st trimester samples; 46 and 29 provided samples during the 2nd and 3rd trimesters, respectively).
Fluoride was also measured in samples of drinking water (bottled or tap water). An increase of 1 mg/L
fluoride in maternal urine corresponded to a decrease in Mental Development Index (MDI) of 19.5 points.
The average MDI in the cohort was 91.6 (range, 60-135), with 38.5% scoring less than 85, indicating
possible developmental delay. Corresponding testing for the Psychomotor Development Index found an
average of 90.9 (range, 54-131), with 20.9% of infants below a score of 85 (indicating possible
developmental delay); a correlation with maternal urine fluoride was not found. This study was carried out
in an area with relatively high water fluoride concentrations (at least 80% of tap water samples with fluoride
concentrations in excess of 1.5 mg/L); however, measured fluoride concentrations ranged as low as 0.5
mg/L for tap water and 0.01 mg/L for bottled water. Valdez Jiménez et al. also reported a significantly
higher rate of prematurity (births between 28 and 36 weeks gestation, with a birth weight < 2.5 kg) of
33.8%, compared with 7.3% for Mexico generally. 301
         Fetal Brain Studies
         Several Chinese studies of human fetuses exposed to fluoride via maternal intake of contaminated
food 302 have reported a variety of structural changes in fetal brains as well as alterations in neurotransmitters
and their receptors. Reported effects include significant alterations in subcellular structure in the cerebral
cortexes (e.g., swollen mitochondria, reduced synapses containing fewer mitochondria and microtubules,
and dilated rough endoplasmic reticulum), 303 changes that are consistent with retarded growth and cell
division in the cerebral cortex. Additional reported effects include changes in neuronal densities and
abnormal disorganization of Purkinje cells, 304 significant alterations in several neurotransmitters, 305 and
significant reduction in a neurotransmitter receptor (the α1-receptor) and alterations in that receptor's
affinity with its ligand. 306
          While the potential confounding of other chemicals in polluted air limits the conclusions that can
be drawn from the human fetal brain studies, prenatal studies of fluoride-treated rats have found similar
effects. 307 Table 2 summarizes several studies retrieved from PubMed that have investigated the
neuroanatomical and neurochemical effects of prenatal fluoride exposures. The vast majority of these
studies found changes in the brain of the treated animals.




299
    Bashash et al. (2017; 2018). Part of the cohort participated in a randomized study of the effect on blood lead levels
of calcium supplementation during pregnancy.
300
    Valdez Jiménez et al. (2017).
301
    Valdez Jiménez et al. (2017).
302
    Household use of coal in parts of China results in fluoride contamination of air and food, including corn roasted in
smoke from coal burning (Dong et al. 1997; He et al. 1989).
303
    He et al. (1989).
304
    Du et al. (1992).
305
    Yu et al. (1996); Dong et al. (1997).
306
    Yu et al. (1996).
307
    Basha et al. (2011a; 2011b); Jiang et al. (2014b); Dong et al. (2015); Zhang et al. (2017b); Bartos et al. (2018); Ge
et al. (2018); Zhao et al. (2019).

                                                                                                                      36
                              Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 345 of 854
 Food and Water Watch v. EPA                                                                                                                      Thiessen Report


 Table 2. Examples of reported neuroanatomical and neurochemical effects of prenatal fluoride exposures in animal studies.
                            Exposure     Concentration
   Species and strain                                         Exposure duration          Effects                                                      Reference
                            conditions   or dose
   Rats (Wistar albino)     Drinking     Group I (control),   Gestation of 1st           Overt toxicity (decreased feed and water consumption;        Basha et al.
                            water        < 1 ppm F; Group     generation through 3rd     decreased litter size, decreased birth weight and brain      (2011a)
                                         II, 100 ppm F;       generation; apparently     somatic index, increased mortality of pups) with
                                         Group III, 200       healthy animals used       increased dose and with each generation. Increased
                                         ppm F                to produce succeeding      levels of malondialdehyde; decreased activities of
                                                              generations;               catalase, superoxide dismutase, glutathione peroxidase,
                                                              measurements made at       and glutathione S-transferase; and decreased levels of
                                                              21 days old.               glutathione in brain regions, with increased dose and with
                                                                                         each generation.
   Rats (Wistar albino)     Drinking     Group I (control),   Gestation of 1st           Increased fluoride concentrations in brain regions with      Basha et al.
                            water        < 1 ppm F; Group     generation through 3rd     increased dose and with each generation; decreased           (2011b)
                                         II, 100 ppm F;       generation;                thyroid hormones with fluoride exposure; decreased
                                         Group III, 200       measurements made at       acetylcholinesterase activity with increased dose and with
                                         ppm F                1 month old. Possibly      each generation; histopathological changes (necrosis,
                                                              the same breeding          hyperchromasia, disintegrated cytoplasm, vacuoles,
                                                              animals and litters as     eosinophilia, decreased number of granular cells,
                                                              in Basha et al.            degenerating neurons) with increased dose and
                                                              (2011a), but not stated.   generation; poorer performance in memory and learning
                                                                                         test.
   Rats (Sprague-           Drinking     Control, 0.34        Gestation to 2 months      PET/CT and MRI done only in females. Reduced body            Jiang et al.
   Dawley)                  water        mg/L F; 25, 50,      old.                       weights and brain weights with increased dose. Poorer        (2014b)
                                         and 100 mg/L                                    performance on water maze test (damaged learning and
                                         NaF (11.3, 22.6,                                memory abilities). For MRI, differences in ventricles of
                                         and 45.2 mg/L F)                                rats in 100 mg/L group (probably due to
                                                                                         neurodegenerative changes or brain atrophy). Acute
                                                                                         degeneration of neurons in 50 and 100 mg/L groups, with
                                                                                         apparent interstitial edema and (in 100 mg/L group)
                                                                                         partial demyelination. Decreased glucose utilization and
                                                                                         increased brain-derived neutrophic factor (PET/CT).
Table continued next page




                                                                                                                                                                     37
                              Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 346 of 854
 Food and Water Watch v. EPA                                                                                                                  Thiessen Report


 Table 2. Examples of reported neuroanatomical and neurochemical effects of prenatal fluoride exposures in animal studies - Continued
                            Exposure     Concentration
   Species and strain                                        Exposure duration       Effects                                                      Reference
                            conditions   or dose
   Rats (Sprague-           Drinking     Control (< 0.5      10 months for initial   All treated rats showed dental fluorosis, but no controls    Dong et al.
   Dawley)                  water        ppm F); 50 ppm F    generation, plus time   did. For initial generation and offspring, decreases in M1   (2015)
                                                             for gestation and       and M3 muscarinic acetylcholinesterase receptors
                                                             lactation; up to 28     (mAChRs) and in M1 and M3 mAChR mRNAs in
                                                             days for offspring      brains. Increased reactive oxygen species (ROS),
                                                             (postnatal days 1, 7,   decreased superoxide dismutase and glutathione
                                                             14, 21, 28).            peroxidase in adult brains. Correlations of decreased M1
                                                                                     and M3 mAChR and increased ROS with worse
                                                                                     performance on learning and memory tests (adults and
                                                                                     28-d offspring).
   Rats (Sprague-           Drinking     Females: Control    Diets started at        Synaptic density significantly decreased for F group at      Zhang et al.
   Dawley)                  water        (< 0.2 ppm F;       weaning; mated 3        14 d (females) and 28 d (males and females) and for F +      (2017b)
                                         0.79% Ca in         months later; study     low Ca (F + LCa) group at birth, 14 d, and 28 d.
                                         feed); F (45 ppm    involved offspring at   Structural differences (decreased synaptic active zone,
                                         F; 0.79% Ca in      birth, 14 d, 28 d.      increased synaptic gap width, decreased thickness of
                                         feed); LCa (< 0.2                           postsynaptic density) for F group (significant in most
                                         ppm F; 0.063%                               cases) and F + LCa group (significant in all cases), at
                                         Ca in feed); F +                            birth, 14 d, and 28 d. Changes prevented or lessened in F
                                         LCa (45 ppm F;                              + high Ca (F + HCa) group.
                                         0.063% Ca in
                                         feed); F + HCa
                                         (45 ppm F; 7% Ca
                                         in feed). Males:
                                         < 0.2 ppm F;
                                         0.79% Ca in feed.
   Rats (Wistar)            Drinking     Control (filtered   Gestational day 0 to    Significant difference in 24-hour memory test for 5 mg/L     Bartos et al.
                            water        tap water); 5 and   postnatal day 21.       group; significant difference in 90-minute and 24-hour       (2018)
                                         10 mg/L F.          Female offspring        memory tests for 10 mg/L group. Significant decrease in
                                                             studied at postnatal     α7 nicotinic acetylcholinesterase receptor (nAChR)
                                                             day 90.                 mRNA in 10 mg/L group. Significant decrease in
                                                                                     catalase activity in both 5 mg/L and 10 mg/L groups.
Table continued next page




                                                                                                                                                                38
                         Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 347 of 854
Food and Water Watch v. EPA                                                                                                               Thiessen Report


Table 2. Examples of reported neuroanatomical and neurochemical effects of prenatal fluoride exposures in animal studies - Continued
                      Exposure     Concentration
 Species and strain                                     Exposure duration        Effects                                                        Reference
                      conditions   or dose
 Mice (ICR)           Drinking     Control (distilled   1 month before           Decreased spatial learning and memory capabilities of          Ge et al.
                      water        water); 50 and       pregnancy, through       offspring at 60 d in treated groups (Morris water maze         (2018)
                                   100 mg/L F.          gestation, to 90 days    test). Reduced body weights in treated groups.
                                                        after birth; offspring   Histopathological changes in brain (cerebral cortex) at 60 d
                                                        fed same                 and 90 d in treated groups (reduced number and size of
                                                        concentration of         pyramidal cells, karyorrhexis). Reduced expression
                                                        fluoride in water as     (mRNA and protein) of microtubule-associated protein 2
                                                        their parents            (MAP2), synaptophysin (SYP), developmentally regulated
                                                                                 brain protein (Dbn), and glutamate receptor (N-methyl-D-
                                                                                 aspartate receptor, NMDAR).
 Rats (Sprague-       Drinking     Control; 4.52,       2 months before          Impaired learning and memory in offspring (Morris water        Zhao et al.
 Dawley               water        22.6, and 45.2       pregnancy, through       maze test). Mitochondrial abnormalities in hippocampal         (2019)
                                   mg/L fluoride (10,   gestation, to 2 months   neurons of offspring. Decreased levels of mitochondrial
                                   50, and 100 mg/L     after birth (postnatal   fission-regulating molecules, increased levels of
                                   NaF).                day 60)                  mitochondrial fusion-regulating molecules, in
                                                                                 hippocampus of offspring, leading to disruption of
                                                                                 mitochondrial fission and fusion, defective autophagy, and
                                                                                 excessive apoptosis in the hippocampus. (Similar effects
                                                                                 on two mitochondrial regulating molecules with respect to
                                                                                 fluoride exposure were reported in children, correlated
                                                                                 with decreased IQ in fluoride exposed children.)
 Rats (Wistar)        Drinking     Control (filtered    Gestational day 0 to     Impaired short-term and long-term memory in female             Bartos et
                      water        tap water); 5 and    postnatal day 21.        offspring (both treatment groups) and in male offspring        al. (2019)
                                   10 mg/L F.           Offspring studied at     (lower treatment group), in a step-down inhibitory
                                                        postnatal day 45.        avoidance test. Altered biochemical markers of oxidative
                                                                                 damage in brain sections (prefrontal cortex, striatum,
                                                                                 hippocampus), including reduced catalase, glutamate
                                                                                 oxaloacetate transaminase, and glutamate pyruvate
                                                                                 transaminase, in both females and males.
 Rats (Sprague-       Drinking     Control (< 0.5       2 months before          Impaired learning and memory of offspring, decreased           Zhou et al.
 Dawley)              water        mg/L F); 10, 50,     pregnancy, through       neuronal number, suppressed autophagy and enhanced             (2019)
                                   and 100 mg/L         gestation, to 6 months   apoptosis in hippocampus.
                                   NaF)                 after birth.




                                                                                                                                                            39
       Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 348 of 854
Food and Water Watch v. EPA                                                                    Thiessen Report


         Most of the prenatal studies in rats involved fluoride exposures to the mothers during both gestation
and lactation (Table 2). However, since the fluoride concentrations in rat milk are substantially below the
concentrations in the mother's drinking water, 308 early postnatal fluoride exposure via the milk is unlikely
to have been important in comparison with prenatal exposure. In contrast, bottle-fed human infants, if their
formula is prepared with fluoridated water, are likely to have higher postnatal fluoride exposures than
prenatal exposures, and typical postnatal fluoride exposures from formula-feeding are among the highest
typical human exposures for a given water fluoride concentration (discussed below). I am not aware of any
studies of neurotoxicity in rats or mice that have attempted to reproduce the postnatal fluoride exposures
experienced by human infants through feeding of formula prepared with fluoridated water.
        Thus, both animal and human research on prenatal fluoride exposure supports the conclusion that
fluoride poses a significant neurological hazard during the in utero period.
      C) Bottle-fed infants
        EPA recognizes that susceptibility to a chemical may be “intrinsic” (biological, e.g., life stage) or
“extrinsic” (acquired, e.g., lifestyle). 309 A bottle-fed infant has both intrinsic and extrinsic susceptibility to
fluoridated water. The intrinsic factor is an early “life stage” of development which, as discussed above,
renders the infant more vulnerable to neurotoxic insults; 310 the extrinsic factor is a “lifestyle” (receiving
formula instead of breastmilk) that dramatically increases the infant's exposure to fluoridated water. The
combination of these two factors makes bottle-fed infants a clearly identifiable, highly susceptible subset
of the population.
        Infants have the highest intake of fluid per unit body weight of any age group among humans, given
their mostly liquid diet at that age. According to EPA's survey on water intakes, approximately 5% of
individuals less than 6 months old have a daily intake of water from community sources of at least 189 mL
per kg body weight, and approximately 5% of infants between 6 and 12 months old and of children < 2
years old have a daily intake of water from community sources of at least 126 mL per kg body weight. 311
The EPA did not distinguish between nursing (breastfed) infants, who typically have a low intake of water,
and non-nursing (bottle-fed) infants, who probably constitute the high end of EPA's distribution of water
intake. Consistent with the high fluoride intakes of many bottle-fed infants, development of dental fluorosis
in permanent teeth is associated with fluoride exposures before age 6 months as well as with exposure
during later periods of infancy and childhood. 312 For example, Forsman found that infants fed water-diluted
formula from an early age had more fluorosis than those who were breastfed at least their first few
months. 313 Walter and Messer reported that children who were formula-fed from birth or breastfed less
than 3 months had more fluorosis than children who were breastfed at least their first 3 months. 314
          According to the CDC, for U.S. children born in 2015, about 83% were ever breastfed, 58% were
still breastfed at 6 months old, and 25% were exclusively breastfed through the first 6 months. 315 Data vary
by ethnicity, with Hispanics, whites and Asians having breastfeeding rates similar to or greater than the
national averages and blacks having substantially lower rates. Breastfeeding rates in the U.S. tend to be

308
    Drinkard et al. (1985). Fluoride concentrations in rat milk were 0.044, 0.349, and 0.401 mg/L, compared with
fluoride concentrations in the mother's drinking water of 0, 50, and 100 mg/L, respectively.
309
    EPA (2017b).
310
    EPA (2008a), p. 42; EPA (2013a), p. 5-4.
311
    EPA (2004b), p. E-55; see also EPA (2000a) and NRC (2006), p. 426, Table B-8.
312
    Hong et al. (2006a; 2006b); Forsman (1977); Walton and Messer (1981); Fomon and Ekstrand (1999); Fomon et
al. (2000).
313
    Forsman (1977).
314
    Walton and Messer (1981).
315
    CDC (2018; n.d.).

                                                                                                                40
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 349 of 854
Food and Water Watch v. EPA                                                                   Thiessen Report


highest for higher family income and maternal education levels. Looked at from the opposite perspective,
close to 17% of U.S. infants in 2015 were never breastfed, 42% were not breastfed for their entire first 6
months, and 75% did not have exclusive breastfeeding for their entire first 6 months. Breastfeeding rates
in the U.S. have increased substantially in recent years from a low point in the early 1970s (less than 30%
of babies ever breastfed, and less than 10% breastfed for more than 3 months).316 While increased
breastfeeding rates are to be encouraged for a number of reasons, it is important to remember that for many
infants in the U.S., breastfeeding is not an option; these include cases of infant adoption or fostering, as
well as cases of death or illness of the mother.
         Fluoride concentrations in human milk, as with the milk of other mammals, are very low, regardless
of the fluoride intake of the mother. 317 Thus fluoride intakes by infants fed primarily breast milk are very
low, as are fluoride intakes by infants fed primarily cow's milk. 318 However, fluoride intakes by infants fed
commercially prepared formula reflect the fluoride concentrations in the water used to prepare the formula,
either at the manufacturing plant, in the home, or both, and fluoride intakes can be in excess of 0.1
mg/kg/day. 319 Since 1979, commercial producers of infant formula have used low fluoride water in the
manufacture of infant formula, even when this means removing fluoride from the local municipal water
before using it to make the formula. 320 The result is that ready-to-feed formula (no water added in the
home) is now much lower in fluoride content, but still higher than breast milk or cow's milk. 321 Other
commercial formulas, either in powder form or concentrated liquid form, still require addition of water
before they can be fed to infants, and therefore the fluoride concentration in the formula depends primarily
on the fluoride concentration of the water used to prepare the formula. 322 For infants fed formula prepared
with fluoridated tap water, the fluoride intake can be quite high, even for infants fed formula only as a
supplement to breastfeeding. 323 Fomon et al. recommended the use of low-fluoride water (< 0.3 mg/L) for
home-preparation of infant formula, as well as no fluoride supplementation for infants. 324
         Most commercial infant formula, historically and currently, has been in powder form, for which
the cost is approximately half that of ready-to-feed formula, per unit volume of formula as fed. 325 Fomon
(2000), based on industry data, indicated that approximately 80% of formula sales in 1998 were for powder
form, and 10% or less for ready-to-feed form. 326 Based on national data collected during 2005-2007, the
CDC reported that approximately 26% of neonates and 10-15% of infants ages 2-12 months are fed at least
some ready-to-feed formula, 7-12% of infants are fed formula prepared from liquid concentrate, 3-6% are
fed formula prepared from single serving packages of powder, and 83-93% are fed formula prepared from
powder from cans. 327 For approximately 70-78% of infants in the same national survey, formula is
reconstituted with tap water at least some of the time; for 46-52% of infants, formula is reconstituted with

316
    DHEW (1979), pp. 2-6, especially Tables A and B. See also Fomon and Ekstrand (1999), Figure 1.
317
    Reviewed by NRC (2006), pp. 33, 36. See also Fomon and Ekstrand (1999) and Fomon et al. (2000).
318
    Fomon et al. (2000), Table 2.
319
    Fomon et al. (2000).
320
    Fomon and Ekstrand (1999); Fomon et al. (2000).
321
    Fomon et al. (2000).
322
    Fomon and Ekstrand (1999); Fomon et al. (2000).
323
    Fomon et al. (2000).
324
    Fomon et al. (2000).
325
    O'Connor (2009).
326
    Fomon (2001), Figure 4.
327
    CDC (2017), Table 3.16. (Infants could be fed more than one type of formula, so the sum of the raw percentages
exceeds 100%.). Survey dates (May 2005-June 2007) are from Fein et al. (2008). Harriehausen et al. (2019) reported
use of powdered infant formula for 92.1% of formula-fed infants, based on a survey in Houston. (The date of the
Houston survey is not given, but appears to have been approximately 2015.)

                                                                                                               41
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 350 of 854
Food and Water Watch v. EPA                                                                     Thiessen Report


bottled water at least some of the time. 328 The CDC data are not considered representative of the U.S.
population; in particular, participation was likely biased toward women and infants with higher
socioeconomic status (who tend to have higher breastfeeding rates, as described above), and minority
groups were underrepresented. 329 Thus, the actual rates of formula feeding and use of tap water for formula
preparation may be higher than observed in the survey.
         Based on the available information, it can reasonably be assumed that the majority of formula-fed
infants in the U.S. are fed powdered formula reconstituted with water, often or usually tap water. Especially
for low-income homes (where breastfeeding is less likely), it is reasonable to assume that many or most
infants are fed formula prepared from powder using tap water, which in much of the country is fluoridated.
In addition, for approximately 20% of infants, tap water is boiled before it is used to prepare formula; 330 if
this tap water is fluoridated, the resulting fluoride concentration in the formula will be higher than if the
water had not been boiled. 331
        Fomon et al. estimated that infants consuming powdered formula prepared with fluoridated water
(1 mg/L) will ingest between 0.116 and 0.164 mg/kg/day. 332 If Fomon’s estimate is adjusted to account for
the lower concentration of fluoride now added to water (0.7 mg/L), the result is a daily intake of 0.08 to
0.115 mg/kg/day, which is 80 to 115 times higher than the amount that Fomon et al. estimated for breast-
fed infants (0.001 mg/kg/day). 333 Thus by Fomon's estimates, essentially all formula-fed infants will exceed
EPA's RfD for fluoride (0.08 mg/kg/day), if their formula is prepared with fluoridated tap water.
        Fomon’s estimates agree well with recent data from Harriehausen et al., who surveyed 114 parents
in Houston to determine brand and type of formula, total volume of formula consumed over 24 hours, and
infant weight. 334 Most of the parents in the study (corresponding to 92.1% of the infants) reported using
powdered formula, which is consistent with the literature described above. Fluoride content in various
brands of formula ranged from 0.035 to 0.175 mg/L when reconstituted with deionized water. 335
Harriehausen et al. estimated the total amount of fluoride that the infants would consume if fluoridated
water (0.7 mg/L) were to be used to reconstitute the formula (Table 3). Estimated average fluoride intakes
from formula would exceed 0.1 mg/kg/day during the first 4 months of life (0.110 mg/kg/day at 2 months;
0.112 mg/kg/day at 4 months), with more than 50% of infants estimated to have intakes exceeding 0.1
mg/kg/day (Table 3). At 6 months, the estimated average fluoride intake from formula would be 0.09
mg/kg/day, still above EPA's RfD (0.08 mg/kg/day), with one-third of infants estimated to have intakes
exceeding 0.1 mg/kg/day (Table 3). At 9 and 12 months, 14% and 9% of infants, respectively, would be
estimated to have intakes exceeding 0.1 mg/kg/day (Table 3).


328
    CDC (2017), Table 3.97. (Formula for a given infant could be prepared with more than one water source, so the
sum of the raw percentages exceeds 100%.) Harriehausen et al. (2019) indicate 70-75% of parents reconstituting
infant formula with tap water, based on the same CDC survey; their own survey in Houston reported only 3.5% of
infants fed formula reconstituted with tap water, suggesting that there may be regional or temporal variations in use
of tap water for reconstituting infant formula.
329
    Fein et al. (2008); Grummer-Strawn et al. (2008).
330
    CDC (2017), Table 3.98.
331
    For example, see Juárez-López et al. (2011).
332
    Fomon et al. (2000), Table 2. These estimates are based on intake volumes (amount of formula consumed) from
0.12 to 0.17 L/kg/day.
333
    Fomon et al. (2000), Table 2.
334
    Harriehausen et al. (2019). These estimates are based on intake volumes (amount of formula consumed) from 0.07
L/kg/day at 12 months to 0.154 L/kg/day at 2 months, with an overall average of 0.12 L/kg/day (calculated from data
in Table 1 of Harriehausen et al. 2019).
335
    Harriehausen et al. (2019), Table 2.

                                                                                                                  42
       Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 351 of 854
 Food and Water Watch v. EPA                                                                          Thiessen Report


          The estimates from both Harriehausen and Fomon are consistent with the findings from the Iowa
 Fluoride Study (IFS). 336 Estimates of fluoride intake (from all sources) were determined for more than 600
 infants at 1.5, 3, 6, 9, and 12 months of age, based on parental questionnaires. The IFS did not report
 fluoride intake data separately for formula-fed infants, and so does not represent the exposure distribution
 among formula-fed infants. Twenty-five per cent of the infants in the study ingested at most 0.002 to 0.007
 mg/kg/day at ages 1.5 and 3 months, respectively, 337 an exposure consistent with exclusively breastfed
 babies. However, the IFS data also confirm that many infants consume large amounts of fluoride.
 Approximately 25% of infants in the study consumed > 0.093 mg/kg/day at age 6 months of life, with 10%
 consuming > 0.127 mg/kg/day and 5% consuming > 0.147 mg/kg/day. 338 At age 1.5 months, 25% of infants
 in the study consumed at least 0.095 mg/kg/day, 10% at least 0.159 mg/kg/day, and 5% at least 0.188
 mg/kg/day; at age 3 months, 25% of infants consumed at least 0.099 mg/kg/day, 10% at least 0.142
 mg/kg/day, and 5% at least 0.166 mg/kg/day. 339 These intake estimates were obtained prior to the reduction
 in recommended fluoridation levels to the current 0.7 mg/L; however, even if these estimates are adjusted
 downward by approximately 30% to account for the change in fluoridation levels, many infants would still
 exceed the current RfD of 0.08 mg/kg/day.


Table 3. Estimated fluoride ingestion from infant formula, assuming fluoridated water at 0.7 mg/L.a
                                                                                   Age
                Category                     2 months        4 months         6 months     9 months    12 months

  Number of infants                                32            23                27        21           11

  Predicted fluoride intake

            Mean (mg/kg/day)                   0.110           0.112              0.090     0.066        0.053
            Variance                          0.0033          0.0016              0.0018    0.0012      0.0009
            Standard deviationb                0.057           0.040              0.042     0.035        0.03

  Distribution of fluoride intake
            > 0.1 mg/kg/day (%)                    59.4         56.5               33.3      14.3         9.1
            < 0.1 mg/kg/day (%)                    40.6         43.5               66.7      85.7        90.9
a Data from Harriehausen et al. (2019), Table 3.

b Calculated from the variance reported by Harriehausen et al. (2019), Table 3.




 336
     Appendix 2 of Levy et al. (2003).
 337
     Appendix 2 of Levy et al. (2003).
 338
     Appendix 2 of Levy et al. (2003).
 339
     Levy et al. (2003), Appendix 2. Maximum reported fluoride intakes were 0.401 mg/kg/day at age 1.5 months,
 0.346 mg/kg/day at age 3 months, and 0.343 mg/kg/day at age 6 months. For ages 9-72 months (9 months to 6 years),
 maximum intakes ranged from 0.136 to 0.307 mg/kg/day.

                                                                                                                    43
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 352 of 854
Food and Water Watch v. EPA                                                                     Thiessen Report


         Impacts of formula feeding on IQ
         While studies have not yet specifically addressed the impact on IQ of feeding formula prepared
with fluoridated water, reported associations of cognitive impairment or lower IQ with formula feeding
during infancy 340 are consistent with the high exposures of these infants to fluoride in the water used to
prepare the formula and consequent susceptibility of the formula-fed infants to neurotoxic effects of
fluoride. Specific differences in brain activation and regional volumes of gray matter have even been
reported, indicating developmental changes in formula-fed children in comparison with breastfed
children. 341 Such effects (and other adverse effects of formula-feeding compared with breastfeeding,
especially compared with exclusive breastfeeding for at least the first several months) could, in principle,
be due to loss of the enhanced mother-child bonding associated with breast-feeding, 342 to deficiency of an
essential nutrient (e.g., long-chain saturated fatty acids) in the formula,343 to the presence of a toxic
contaminant (e.g., fluoride, lead) in the water used to prepare the infant formula, 344 or to some combination
of these factors.
         In its Guidelines, EPA considers it important to include postnatal exposure that might involve an
interaction of a toxic agent with milk composition. 345 EPA's context is animal studies, but the principle
would apply to human studies: Replacement of the mother's milk with a substitute that contains a toxic
agent would be an extremely important source of postnatal exposure of infants and children to the toxic
agent. Few, if any, animal studies reproduce the effect of formula-feeding of human infants, in terms of a
water-based formula, together with any contaminants in the water, being substituted for the mother's milk;
thus this very important developmental period is routinely missed in most animal studies.
    D) Elderly
          The elderly have also been identified as an at-risk group for fluoride toxicity by both the NRC and
the EPA. 346 There are at least six factors which support an increased vulnerability to fluoride’s neurological
effects among the elderly. First, as would be expected, studies have found that water fluoridation
significantly increases the level of fluoride in bone, and these levels increase with age. 347 Second, the
fluoride that is taken into bone is not stored there forever; as bones begin to break down in the
postmenopausal and elderly years, some of the fluoride stored in the tissue is released back into the
bloodstream. 348 Third, renal function declines with age, and thus the elderly kidney can be expected to be
less efficient in clearing fluoride from the bloodstream. Fourth, the increased circulating fluoride will have
proportionally greater access to the brain due to age-related increases in the permeability of the blood-brain
barrier. 349 Fifth, the EPA has recognized that the elderly brain is at “particular risk” to neurotoxicants
“because of the limited ability of the nervous system to regenerate or compensate to neurotoxic insult.” 350


340
    For example, see Fomon (2001); Wolf 2003; Belfort et al. (2013); Horta et al. (2015; 2018); Victora et al. (2015;
2016); Kanazawa (2015); Boutwell et al. (2018). Many studies have controlled for possible confounders such as
maternal IQ, maternal education, and family income.
341
    Ou et al. (2016).
342
    Horta et al. (2018).
343
    Horta et al. (2018).
344
    Goyer (1995).
345
    EPA (1998a), p. 46; Federal Register (1998), p. 26943.
346
    NRC (2006), p. 351; EPA (1998a), p. 65; Federal Register (1998), p. 26949.
347
    Alhava et al. (1980); Arnala et al. (1985); Eble et al. (1992); Chachra et al. (2010).
348
    Itai et al. (2010).
349
    For example, see Mooradian (1994); Zeevi et al. (2010); Rosenberg (2014); and Pan and Nicolazzo (2018).
350
    EPA (1998a), p. 65; Federal Register (1998), p. 26943.

                                                                                                                  44
       Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 353 of 854
Food and Water Watch v. EPA                                                                     Thiessen Report


Sixth, the elderly have increased likelihood of co-morbidities and nutritional deficits, which can further
increase susceptibility to harm.
         While epidemiological data on fluoride and cognition in the elderly remains relatively sparse, Li
reported a very high rate of cognitive impairment (81.1%) in an endemic fluorosis area. 351 Li did not find
a linear relationship between urinary fluoride and the severity of cognitive impairment in the endemic
fluorosis area, but urinary fluoride levels among those with any form of cognitive impairment were
significantly higher than those with normal cognition. 352 Russ et al. described a longitudinal study
involving nearly all people born in Scotland in 1921, who were passively followed for diagnoses of
dementia after 2004. 353 Residential locations after age 60 (or at death or at time of diagnosis of dementia)
were used to estimate exposure to aluminum and fluoride (separately) in drinking water. The authors
concluded that “even these relatively low levels of aluminium and fluoride are associated with deleterious
effects on dementia risk” and suggested further research. 354
         The NRC has described the possible relationship of fluoride exposure, especially exposure to
aluminum fluoride complexes, to the development of Alzheimer's disease. 355 Goschorska et al. have
reviewed the likely role of fluoride in the initiation and progression of Alzheimer's disease.356 Consistent
with other findings, Cao et al., in a study of mice genetically prone to degenerative brain changes including
amyloid pathology, found that exposure of adult mice to fluoride for 3 months produced more severe
changes and earlier changes, including enhanced deficits in learning and memory. 357 “The result suggests
that prolonged exposure to fluoride may accelerate the neuropathological lesions that occur in such APP
mice.” 358
      E) Nutritional Deficiencies
        Nutritional deficiencies can contribute to increased susceptibility to fluoride toxicity. 359 Calcium
deficiency and iodine deficiency are expected to be particularly important in terms of vulnerability to
neurotoxic effects of fluoride, but deficiencies of magnesium, vitamin C, protein, and other nutrients have
also been associated with increased susceptibility to effects of fluoride exposure.
          Dairy product consumption and corresponding calcium intakes have decreased markedly in the last
several decades in the U.S. 360 Therefore, bioavailability of fluoride to infants and children is probably
higher now. 361 As discussed later in this section, lactose intolerance (real or perceived) in some minority
populations is associated with significantly lower calcium intake. 362 Substitution of tap water or tap water-
based beverages for milk in the diet may result in both decreased calcium intake and increased fluoride
intake. 363 Fluoride exposure also tends to exacerbate calcium deficiencies,364 which can lead to various

351
    Li et al. (2016), p. 59.
352
    Li et al. (2016), Figure 2, Table 3.
353
    Russ et al. (2019).
354
    Russ et al. (2019).
355
    NRC (2006), pp. 210-212.
356
    Goschorska et al. (2018).
357
    Cao et al. (2019).
358
    Cao et al. (2019).
359
    See for example, NRC (2006). p. 265; Pandit et al. (1940); Marier (1977).
360
    Fomon et al. (2000); Bayless et al. (2017).
361
    Fomon et al. (2000).
362
    Jackson and Savaiano (2001); Jarvis and Miller (2002); Byers and Savaiano (2005); Fulgoni et al. (2007); Nicklas
et al. (2009; 2011); Brown-Riggs (2016); Bayless et al. (2017).
363
    NRC (2006), p. 52.
364
    NRC (2006), pp. 250-251.

                                                                                                                 45
       Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 354 of 854
Food and Water Watch v. EPA                                                                     Thiessen Report


adverse health effects, including increased susceptibility to lead toxicity. 365 Zhang et al. reported that
effects of fluoride on synapse development in the hippocampus of rat pups were exacerbated by calcium
deficiency and reversed by high calcium intake. 366
         The NRC reported that high fluoride intake appears to exacerbate the effects on thyroid function of
low iodine intake in both animals and humans. 367 Stated differently, reduced thyroid function in humans
occurs at lower fluoride intakes in the presence of iodine deficiency. Malin et al. reported that among
iodine-deficient adults in Canada, an increase in urinary fluoride was associated with an increase in thyroid
stimulating hormone (TSH), indicating a decrease in thyroid function. 368 Of particular concern is that
impaired thyroid function (including hypothyroxinemia and subclinical hypothyroidism) in pregnant
women is associated with reduced IQ and other neurological effects in the offspring. 369 Lavado-Autric et
al. demonstrated in rats that proper migration of neurons does not occur in the developing offspring of
hypothyroid or hypothyroxinemic mothers, leading to permanent alterations of brain architecture. 370
Similarly, Auso et al. reported that “moderate and transient maternal hypothyroxinemia” during early
gestation causes “irreversible alterations of brain development” in the offspring. 371 The CDC considers the
average iodine status (median urinary iodine concentration) of women of childbearing age (12-19 years and
20-39 years) in the U.S. to be in the “adequate intake” range, but the 10th percentiles by ethnicity and for
the total population are in the “insufficient intake” range, indicating that more than 10% of women of
childbearing age in the U.S. are deficient in iodine. 372 Caldwell et al. report that 35% of pregnant women
and 38% of nonpregnant women in the U.S. have urinary iodine concentrations below the level considered
adequate. 373 In addition, the CDC notes that even higher intakes of iodine are required for pregnant and
lactating women; thus an even greater percentage of American women are likely to be deficient in iodine
with respect to the demands of pregnancy and lactation. 374 Pearce suggests that iodine deficiency in the
U.S. may be becoming more prevalent, especially among pregnant women. 375


      F) Kidney disease
        It is well recognized that people with renal impairment (kidney disease) are less able to excrete
fluoride, resulting in higher concentrations of fluoride in the body and greater susceptibility to adverse
health effects from fluoride exposure. 376 The World Health Organization states that it “is known that
persons suffering from certain forms of renal impairment have a lower margin of safety for the effects of
fluoride than the average person.” 377 In addition, a number of papers report an association between renal


365
    NRC (2006), pp. 250-251; Goyer (1995); Bruening et al. (1999).
366
    Zhang et al. (2017b).
367
    NRC (2006), pp. 227, 234, 262.
368
    Malin et al. (2018).
369
    For example, see Haddow et al. (1999); Pop et al. (1999; 2003); Morreale de Escobar et al. (2000; 2004); Klein et
al. (2001); Vermiglio et al. (2004); LaFranci et al. (2005); Kooistra et al. (2006); Roman (2007); Zoeller and Rovet
(2004); Patel et al. (2011); Suárez-Rodríguez et al. (2012); Modesto et al. (2015); Moleti et al. (2016).
370
    Lavado-Autric et al. (2003); Zoeller (2003).
371
    Ausó et al. (2004).
372
    CDC (2008), Chapter 4a, pp. 90-100.
373
    Caldwell et al. (2011).
374
    CDC (2008), Chapter 4a, pp. 90-100.
375
    Pearce (2015).
376
    For example, see Marumo and Iwanami (2001); NRC (2006), pp. 30, 292, 351; Ibarra-Santana (2007); Schiffl
(2008).
377
    WHO (2004), p. 6.

                                                                                                                  46
       Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 355 of 854
Food and Water Watch v. EPA                                                                       Thiessen Report


impairment and reduced IQ or other cognitive impairment, 378 which is consistent with higher fluoride
retention (and often higher water intake and consequent higher fluoride intake).


      G) Populations with High Water Intake
          The NRC identified population subgroups whose water intake “is likely to be substantially above
the national average for the corresponding sex and age group” as susceptible subpopulations with respect
to fluoride exposure. 379 According to the NRC, “these subgroups include people with high activity levels
(e.g., athletes, workers with physically demanding duties, military personnel); people living in very hot or
dry climates, especially outdoor workers; pregnant or lactating women; and people with health conditions
that affect water intake.” 380 Health conditions that affect water intake include “diabetes mellitus, especially
if untreated or poorly controlled; disorders of water and sodium metabolism, such as diabetes insipidus;
[and] renal problems resulting in reduced clearance of fluoride.” 381 The NRC estimated that athletes and
others with high physical activity and consequent high (but not upper bound) water consumption would
ingest 0.05 mg/kg/day of fluoride from drinking water with 0.7 mg/L fluoride. 382 Adults with diabetes
mellitus could have similar fluoride intakes (0.05 mg/kg/day, while children with diabetes mellitus could
have fluoride intakes of 0.07 mg/kg/day. 383 For children and adults with nephrogenic diabetes insipidus,
NRC estimated waterborne fluoride intakes of 0.11 mg/kg/day from water containing 0.7 mg/L. 384
Consistent with this, case reports have documented moderate to severe dental fluorosis among children with
diabetes insipidus who drank water with 0.5 to 1 mg/L. 385 Based on EPA's estimates of water consumption
by individuals who actually consume water from community sources and a water fluoride concentration of
0.7 mg/L, 10% of infants < 6 months old would be expected to have a fluoride intake of at least 0.12
mg/kg/day, 5% would have an intake of at least 0.14 mg/kg/day, and 1% would have a fluoride intake of at
least 0.17 mg/kg/day. 386


      H) Genetic susceptibility
         A number of studies have shown associations between specific genetic arrangements and a greater
susceptibility to effects of fluoride exposure, 387 including dental fluorosis, occupational fluorosis, 388 and
alterations to reproductive hormones. 389 Additional studies have identified differences in dental fluorosis
rates among ethnic subpopulations with similar fluoride exposures, consistent with genetic differences
among the subpopulations. 390 Genes for which associations with differing susceptibility to fluoride

378
    For example, see Madero et al. (2008); Mendley et al. (2015); Chen et al. (2018b).
379
    NRC (2006), p. 30.
380
    NRC (2006), p. 30.
381
    NRC (2006), p. 30.
382
    NRC (2006), p. 35, Table 2-4.
383
    NRC (2006), p. 35, Table 2-4.
384
    NRC (2006), p. 35, Table 2-4.
385
    NRC (2006), p. 33.
386
    NRC (2006), pp. 431-433, Tables B-12, B-12, and B-14, based on EPA (2000a).
387
    Reviewed by Pramanik and Saha (2017). See also Lavryashina et al. (2003); Tu et al. (2011); Liu et al. (2006);
Huang et al. (2008); Ba et al. (2011); Zhao et al. (2015); Zhou et al. (2016); Zhang et al. (2013b); Pei et al. (2017);
Jiang et al. (2015); Zhang et al. (2015b); Cui et al. (2018); Küchler et al. (2018); Bhagavatula Naga (2009).
388
    Tu et al. (2011) list clinical symptoms of occupational fluorosis as back and limb pain, neurasthenia syndrome,
gastrointestinal symptoms, joint movement limitation, bone deformities, and nerve compression symptoms.
389
    Zhao et al. (2015); Zhou et al. (2016); Ma et al. (2017); An et al. (2019).
390
    Wu et al. (2015); Yang et al. (2016); Pei et al. (2017); Li et al. (2017); Yang et al. (2018b).

                                                                                                                    47
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 356 of 854
Food and Water Watch v. EPA                                                                     Thiessen Report


exposure have been identified include various blood groups and leukocyte genes, group-specific
complement (Gc), calcitonin receptor (CTR), insulin-related growth factor 1 (IGF1), collagen type 1 alpha
2 (COL1A2), estrogen receptor (ESR or ERα), follicle stimulating hormone receptor (FSHR),
myeloperoxidase (MPO), vitamin D receptor (VDR), matrix metallopeptidase-2 (MMP-2), and various
genes involved in enamel formation. Most studies have examined particular genes considered to be
candidates with respect to differences in development of dental fluorosis or other possible fluoride effects,
while a few studies addressed larger panels of genes. In addition to different effects of fluoride on different
genetic variants, effects of fluoride on gene regulation or epigenetic mechanisms have also been reported.391
While a complete picture of the relationship between genes, gene regulation, and adverse effects of fluoride
exposure remains to be developed, it is already quite clear that some people or groups of people are
inherently more vulnerable than others to adverse effects of fluoride exposure and require a greater level of
protection from fluoride exposures. Two specific studies addressing genetics, fluoride exposure, and
impaired intelligence are discussed in more detail below.
         Zhang et al., in a study of 180 Chinese children ages 10-12 years, reported decreasing IQ scores
with increasing serum or urinary fluoride. 392 For each 1 mg/L increase in urinary fluoride, the IQ score
decreased by 2.42 points. As a group, the children with higher water fluoride concentrations had higher
levels of thyroid stimulating hormone (TSH, statistically significant) and lower levels of thyroxine (T4, not
quite statistically significant) than the children with lower water fluoride concentrations; 393 these are
indicators of impaired thyroid function, which, while probably subclinical, is nevertheless associated with
impaired neurodevelopmental outcomes. 394
         The study by Zhang et al. also examined the association of IQ scores with the genotype of catechol-
O-methyltransferase (COMT), a gene whose product controls degradation of dopamine. 395 Two functional
alleles are commonly found (rs4680 polymorphism), with either a valine (Val) or a methionine (Met) at
codon 158. The Met form of the gene product has lower enzymatic activity than the Val form, resulting in
slower degradation and corresponding higher availability of dopamine. Zhang et al. found that for children
with the Val/Val form of the enzyme (faster degradation and lower availability of dopamine), each 1 mg/L
increase in urinary fluoride was associated with a decrease of 9.67 IQ points, a statistically significant
finding after covariates were controlled for. 396 Thus, the genotype corresponding to the Val/Val form of
the COMT enzyme demonstrated a substantially higher susceptibility to fluoride with respect to decreased
IQ in children. Frequencies of this genotype range from 18% (Finland) to 58% (Africa); reported
frequencies of this genotype in U.S. populations include 46.6% for African Americans, 22.8% for European
Americans, 34.4% for people of Mexican ancestry living in Los Angeles, 35.6% for Puerto Ricans in Puerto
Rico, 30.3% for Utah residents with northern and western European ancestry, and 35.0% for Gujarati
Indians living in Houston. 397


391
    For example, Zhang et al. (2017a) report that gene methylation was inversely associated with fluoride exposure
(urinary fluoride concentration). Bone changes in the study group were associated with methylation status rather than
genotype, for the specific gene investigated.
392
    Zhang et al. (2015b). See Figure 1 and corresponding text.
393
    Zhang et al. (2015b). Given reduced T4 concentrations in the children, one suspects that maternal T4 was likely
to have been low as well. Reduced maternal T4 (thyroxine) is associated with impaired neurodevelopment in the
children (see discussion elsewhere in this report).
394
    Discussed elsewhere in this report.
395
    Zhang et al. (2015b).
396
    Zhang et al. (2015b).
397
    rs4680 (SNP) Population Genetics, Ensembl release 95 (January 2019). The genotype of rs4680 coding for the
Val/Val form of COMT is referred to as GG in this summary of gene and genotype frequencies.

                                                                                                                  48
       Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 357 of 854
Food and Water Watch v. EPA                                                                     Thiessen Report


         Cui et al., in a school-based study of Chinese children ages 7-12 years, reported a small but
significant decrease in IQ with an increase in urinary fluoride concentration. 398 This relationship held when
the results were adjusted for up to 30 covariates (e.g., age of the child, mother's education, mother's age at
delivery). For children with the TT genotype (homozygous for the variant allele) of the dopamine receptor
gene DRD2 Taq 1A polymorphism (rs1800497), 399 a strongly significant inverse relationship was seen,
while for the other genotypes (CC and CT, considered together), the relationship was still negative
(decreasing IQ with increasing urinary fluoride) but non-significant. Among the TT genotype subgroup,
individuals with urinary fluoride concentrations less than 1.1 mg/L had IQs 6 or 7 points (medians of the
1st and 2nd quintiles, approximately 1/2 the standard deviation) above the average of the whole subgroup
(mean IQ = 113.9; standard deviation = 12.4), while individuals with urinary fluoride concentrations above
1.5 mg/L had IQs 3 or 7 points (medians of the 4th and 5th quintiles, up to approximately half the standard
deviation) below the average of the whole subgroup.
        The fraction of the study group with the TT genotype was 13.6%. 400 Frequencies of the TT
genotype in various populations range from about 3% to about 24%; reported frequencies relevant to U.S.
populations include 11.1% for African Americans, 3.8% for European Americans, 15.6% for people of
Mexican ancestry living in Los Angeles, 5.8% for Puerto Ricans in Puerto Rico, 5.1% for Utah residents
with northern and western European ancestry, and 8.7% for Gujarati Indians living in Houston. 401
        The findings of Zhang et al. and Cui et al., together with the available information on genotype
frequencies, thus indicate that a substantial number of Americans, especially Americans belonging to some
minority populations, are expected to have a genotype shown to have a strong association between urinary
fluoride concentration and decreased IQ.


      I) Minority populations in the United States
         Various studies have documented an increased prevalence and severity of dental fluorosis among
African Americans, which is consistent with an increased extrinsic or intrinsic susceptibility to fluoride
during the developmental years. 402 As described above, several minority populations in the U.S. can be
expected to include a number of individuals with genotypes associated with decreased IQ in connection
with fluoride exposure. Many minority populations are also characterized by socioeconomic disparities,
which can often mean a higher likelihood of nutritional deficiencies as well as higher rates of formula use
for feeding infants. As described earlier, use of infant formula prepared with tap water, a common practice
in lower economic groups, can result in extremely high fluoride intakes by the infants if fluoridated tap
water is used to prepare the formula. Some minority populations also have elevated rates of kidney disease
and diabetes, which can also contribute to higher fluoride exposure or increased vulnerability to fluoride
exposure. 403


398
    Cui et al. (2018).
399
    Other sources indicate that the rs1800497 polymorphism is actually downstream of the DRD2 gene, in the ANKK1
(ankyrin repeat- and kinase domain-containing protein 1) gene, but very closely linked to the DRD2 gene. See Neville
et al. (2004) and OMIM (2018). However, the main finding remains, that an identifiable genetic subgroup shows a
very strong decrease in IQ with an increase in urinary fluoride concentration.
400
    Cui et al. (2018).
401
    rs1800497 (SNP) Population Genetics, Ensembl release 94 (October 2018). The TT genotype of rs1800497 in Cui
et al.'s paper is referred to as AA in this summary of gene and genotype frequencies.
402
    EPA (2010b), pp. 33-34; Exhibit 34 to Casey Hannan Deposition; CDC (2005), Table 23.
403
    NRC (2006), pp. 30-35, 292, 350-351.

                                                                                                                 49
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 358 of 854
Food and Water Watch v. EPA                                                                     Thiessen Report


        Some minority populations also have lower intakes of milk by children and adults (due in part to
higher rates of real or perceived lactose intolerance), with consequent lower calcium intake. 404 Substitution
of tap water or tap water-based beverages for milk in the diet may result in both decreased calcium intake
and increased fluoride intake. 405 Fluoride exposure tends to exacerbate calcium deficiencies, 406 which can
lead to various adverse health effects, including increased susceptibility to lead toxicity. 407 An estimated
12% of the U.S. population self-report lactose intolerance, including about 8% of European Americans,
20% of African Americans, and 9-10% of Hispanic Americans. 408 Jackson and Savaiano estimated 29%
lactose maldigesters in the U.S. population (based on 1990 census data), including 100% of Asian
Americans and Native Americans, 75% of African Americans, 60 % of Hispanic Americans, and 20% of
the U.S. white population. 409 Storhaug et al., in a review of reported prevalence data throughout the world,
estimated the prevalence of lactose malabsorption in the U.S. to be 33-39% of the population of adults and
children aged 10 years or older. 410 The review by Storhaug et al. included studies of lactose malabsorption
or lactase persistence identified by various objective tests and excluded studies of self-reported lactose
intolerance. 411


      J) Summary
       As described above, there are a number of identifiable subsets of the population that are expected to
be at higher risk of harm from fluoridation chemicals. This may be due to higher sensitivity due to life
stage, nutritional deficiency, or genetic factors. This may also be due to higher intake of water and
consequent higher intake of fluoride. High-risk population subgroups include unborn and newborn
children, especially infants fed formula prepared with fluoridated water; the elderly; people with nutritional
deficiencies; people with kidney disease; people with high water intake; people with genetic susceptibilities;
and members of minority populations.




404
    Jackson and Savaiano (2001); Jarvis and Miller (2002); Byers and Savaiano (2005); Fulgoni et al. (2007); Nicklas
et al. (2009; 2011); Brown-Riggs (2016); Bayless et al. (2017).
405
    NRC (2006), p. 52.
406
    NRC (2006), pp. 250-251.
407
    NRC (2006), pp. 250-251; Goyer (1995); Bruening et al. (1999).
408
    Nicklas et al. (2009; 2011).
409
    Jackson and Savaiano (2001).
410
    Storhaug et al. (2017).
411
    Storhaug et al. (2017).

                                                                                                                 50
           Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 359 of 854
Food and Water Watch v. EPA                                                                     Thiessen Report


      D.       The Current EPA Reference Dose for Fluoride Is Not Protective Against Neurotoxicity
       A) Background
         If a chemical is identified as posing a neurotoxic hazard, EPA’s Guidelines call for a quantitative
dose-response analysis to determine the reference dose (RfD). The RfD is “an estimate (with uncertainty
spanning perhaps an order of magnitude) of a daily exposure to the human population (including sensitive
subgroups) that is likely to be without an appreciable risk of deleterious effects during a lifetime.” 412 The
Guidelines provide that the RfD can be determined by either a LOAEL/NOAEL or BMD analysis. While
the Guidelines favor a BMD analysis, EPA used the NOAEL analysis for 3 of the oral RfDs that the Agency
established pursuant to the Guidelines (Chlorine Dioxide/Chlorite, BMD-153, and BMD-209). 413
         Consistent with EPA's general risk assessment procedures as described in its “Preamble to IRIS
Toxicological Reviews,” 414 the Guidelines indicate that “uncertainty factors” (UFs) should be applied to
the point of departure (POD) to ensure that the resulting RfD is protective of health. 415 Uncertainty factors
are applied to account for differences in susceptibility between animals and humans (UFA, interspecies
variability), variations in susceptibility among humans (UFH, intraspecies variability), and, where
applicable, differences in the length of exposure between the study and human conditions (UFS, subchronic
to chronic), research gaps in the overall database (UFD, database deficiency), and converting from a LOAEL
to a NOAEL. 416 These uncertainty factors are “typically multiples of 10,” although they can be reduced to
factors of 3 or 1 if warranted by the available information. 417, 418
          Intraspecies Variability (UFH): EPA recognizes that susceptibility to toxic substances is not
uniform across the human population, and that because of differences in toxicokinetics and/or
toxicodynamics, some subsets of the population will be more vulnerable to harm than others. 419
Toxicokinetics refers to the “processes which determine the extent and duration of exposure of the target
organ or site of toxicity to the active chemical species,” while toxicodynamics refers to the “processes
involved in the translation of such exposure of the target organ or site of action into the generation of a
toxic effect.” 420 Put more simply, toxicokinetics governs how much of the chemical gets to the target site
(i.e., access), while toxicodynamics governs how much of the chemical is necessary at the target site to
cause the adverse effect (i.e., sensitivity). If there are no chemical-specific data on toxicokinetics and
toxicodynamics, EPA uses a default UFH of 10. 421 This default factor of 10 is “considered to be appropriate
in the absence of convincing data to the contrary” 422 and is comprised of two co-equal factors of 3.16, one

412
    EPA (1998a), p. 57; Federal Register (1998), p. 26946. See also EPA (2009a).
413
    EPA (2000b; 2008c; 2008d).
414
    For the “Preamble to IRIS Toxicological Reviews,” see EPA (2018a), pp. xvii-xxiv; EPA (2016), pp. xv-xxi. See
especially Section 7, “Deriving Toxicity Values” (EPA 2018a, pp. xxi-xxii; EPA 2016, pp. xviii-xx).
415
    EPA (1998a), pp. 58-59; Federal Register (1998), p. 26947.
416
    EPA (1998a), p. 59; Federal Register (1998), p. 26947; EPA (2018a), p. xxii; EPA (2016), pp. xix-xx.
417
    EPA (1998a), p. 59; Federal Register (1998), p. 26947; EPA (2018a), p. xxii; EPA (2016), p. xix.
418
    Lehman and Fitzhugh (1954) proposed a factor of 100 (a 100-fold margin of safety) between the highest "safe
dose" of a chemical in animals and the maximum amount permitted for human exposure. This safety factor was
intended to allow for both higher sensitivity of humans than animals and also variation within the human population.
Martin et al. (2013) describe the history of uncertainty factors since the time of Lehman and Fitzhugh, pointing out
that the default factors do not represent worst-case situations; they cannot be safely assumed to be adequately
protective of the most exposed individuals or the most susceptible individuals, nor can they be safely assumed to be
protective for effects of mixtures of chemicals.
419
    EPA (2011b), p. 14; EPA (2016), p. 2-15; EPA (2018a), p. 2-12.
420
    Renwick (1993), p. 276.
421
    EPA (2018a), pp. 2-12, 2-13.
422
    EPA (2013a), p. 5-17.

                                                                                                                 51
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 360 of 854
Food and Water Watch v. EPA                                                                 Thiessen Report


for toxicokinetics and one for toxicodynamics. 423 Consistent with this, EPA has used a UFH of 10 in each
of the nine risk assessments where it has established an RfD or RfC pursuant to the Guidelines (Table 4).
        Interspecies Variability (UFA): EPA recognizes that susceptibility to toxic substances can differ
across species. As with intraspecies variability, interspecies variability is rooted in principles of both
toxicokinetics and toxicodynamics. With respect to the kinetics component, EPA has developed a
hierarchical framework of approaches that are geared towards ascertaining the “human equivalent dose”
(HED). 424 EPA’s “optimal” approach for determining the HED is to use a physiologically based
toxicokinetic model (PBTK). 425 Where a PBTK model is not available, the “intermediate” approach is to
use chemical-specific information that, while falling short of a full PBTK model, provides some reliable
guidance. 426 Where there is no reliable chemical-specific information on kinetics, EPA uses a default
allometric scaling method. 427
         Allometric scaling is “scaling of physiological rates or quantities to relative growth and size (mass
or volume) of one animal species relative to another species.” 428 Body weight scaling to the 3/4 power is
EPA’s default method for allometric scaling (hereafter referred to as the BW¾ Method). 429 As shown in
Table 5, the HED of a 10 mg/kg dose given to mice is 1.4 mg/kg, while the HED of the same dose given to
rats is 2.4 mg/kg. 430 Put another way, mice and rats need to be given 10 mg/kg of a chemical to achieve
the human equivalent of 1.4 and 2.4 mg/kg, respectively. The HED is thus 14% of the dose given to mice,
and 24% of the dose given to rats.
         The BW¾ Method “predominantly addresses factors involved in estimating toxicokinetics, as well
as some toxicodynamic factors.” 431 EPA thus maintains a residual default UF of 3 (3.16 rounded down to
3) to allow for residual uncertainty from either toxicokinetics or toxicodynamics, unless there is chemical-
specific information available.432 Under EPA’s default approach to interspecies variability, therefore, a
dose of 10 mg/kg/day in mice is treated as the equivalent of 0.47 mg/kg/day in humans, while a dose of 10
mg/kg/d in rats is treated as the equivalent of 0.8 mg/kg/day.
         Subchronic-to-Chronic (UFS): Where EPA bases an RfD on a study that does not investigate the
effect of long-term (chronic) exposure, EPA will use an uncertainty factor of 3 to 10. EPA defines a chronic
study in rodents as one which lasts “at least 12 months.” 433 If the study lasts less than 12 months, therefore,
an uncertainty factor is applied. In the derivation of the RfC for 2-Hexanone, for example, EPA applied an
uncertainty factor of 10 because the principal study lasted only six months. 434




423
    EPA (2016), p. 2-15.
424
    EPA (2011b), pp. 18-21; EPA (2018a), p. 2-10.
425
    EPA (2011b), p. 19.
426
    EPA (2011b), p. 19.
427
    EPA (2011b), p. 19.
428
    EPA (2011b), p. 1.
429
    EPA (2011b).
430
    EPA (2011b), p. 29, Table A-1; EPA (2018a), p. 2-12.
431
    EPA (2011b), p. 17.
432
    EPA (2011b), p. 21; EPA (2016), p. 2-15; EPA (2018a), pp. 2-12, 2-13.
433
    EPA (1998b), p. 1.
434
    EPA (2009c), p. 74.

                                                                                                             52
                               Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 361 of 854
 Food and Water Watch v. EPA                                                                                                                       Thiessen Report


 Table 4. Summary of RfDs or RfCs developed in compliance with EPA's Guidelines for Neurotoxicity Risk Assessment.
                                                                                           Uncertainty Factors
  Chemical                    LOAEL                NOAEL             UFH           UFA            UFS            UFD    Composite         RfD or RfCa      Reference
  BDE-47                    10.5 mg/kg            0.7 mg/kg           10            10             3             10        3000          0.1 µg/kg/day    EPA (2008a)
  BDE-99                     0.8 mg/kg            0.4 mg/kg           10            10             3             10        3000          0.1 µg/kg/day    EPA (2008b)
  BDE-153                    0.9 mg/kg           0.45 mg/kg           10            10             3             10        3000          0.2 µg/kg/day    EPA (2008c)
  BDE-209                   20.1 mg/kg           2.22 mg/kg           10            10             3              1         300           7 µg/kg/day     EPA (2008d)
  Chlorine Dioxide
                           6 mg/kg/day           3 mg/kg/day          10            10             1              1         100         0.03 mg/kg/day    EPA (2000b)
  and Chlorite
  2-Hexanone              143 mg/kg/day          Not observed         10            10             1             10        1000         0.005 mg/kg/day   EPA (2009c)
                             1000 ppm              500 ppm
  Methanol                                                            10             3             1              3         100            20 mg/m3       EPA (2013)
                           (1310 mg/m3)          (655 mg/m3)
                                                                                                                                                          EPA (2018a;
  RDX                      8 mg/kg/day           4 mg/kg/day          10             3             1             10         300         0.004 mg/kg/day
                                                                                                                                                            2018j)
  Trimethylbenzenes         492 mg/m3             123 mg/m3           10             3             3              3         300         0.01 mg/kg/day    EPA (2016)
a Where EPA established both an RfD (mg/kg/day) and an RfC (mg/m3) for a chemical, the RfD is presented.




 Table 5. Comparison of BW1/1 and BW3/4 in estimating oral exposure in humans from a 10 mg/kg exposure to rats, mice, and a dog.a

                                                                                   Scaling = BW1/1                                     Scaling = BW3/4
  Absolute animal intake
                              Species     BW(h)/BW(a)
  or administered dose                                              BW scaling           BW scaled human intake or     BW scaling        BW scaled human intake or
                                                                      factor                oral dose (mg/kg)            factor             oral dose (mg/kg)
                                                                                         (2800 × 0.25 mg = 700 mg)                         (385 × 0.25 mg = 96 mg)
  0.25 mg / 0.025 kg           mouse       70 / 0.025 = 2800      28001/1 = 2800                                       28003/4 = 385
                                                                                         700 mg / 70 kg = 10 mg/kg                        96 mg / 70 kg = 1.4 mg/kg
                                                                                          (280 × 2.5 mg = 700 mg)                          (68 × 2.5 mg = 170 mg)
  2.5 mg / 0.25 kg               rat        70 / 0.25 = 280         2801/1 = 280                                        2803/4 = 68
                                                                                         700 mg / 70 kg = 10 mg/kg                       170 mg / 70 kg = 2.4 mg/kg
                                                                                          (5.8 × 120 mg = 700 mg)                         (3.7 × 120 mg = 444 mg)
  120 mg / 12 kg                dog           70 / 12 = 5.8         5.81/1 = 5.8                                        5.83/4 = 3.7
                                                                                         700 mg / 70 kg = 10 mg/kg                       444 mg / 70 kg = 6.4 mg/kg
 a Taken from Table A-1 in EPA (2011b), p. 29.



                                                                                                                                                                 53
       Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 362 of 854
Food and Water Watch v. EPA                                                                Thiessen Report


        Database Deficiency (UFD): EPA regularly applies an uncertainty factor of 3 to 10 to account for
important research gaps in the literature, or when there are indications of other toxic effects that have not
been adequately studied. According to EPA, “If there is concern that future studies may identify a more
sensitive effect, target organ, population, or life stage, a database uncertainty factor reflects the nature of
the database deficiency.” 435 In the 2-Hexanone risk assessment, for example, EPA applied a UFD of 10
because of both (a) the absence of multigenerational and developmental studies, and (b) the existence of
studies which “suggest the possibility” of reproductive and immunological toxicity. 436
        Composite uncertainty factors: As summarized in Table 4, the composite uncertainty factors that
EPA has applied in its 9 neurotoxicity risk assessments under the Guidelines range from 100 to 3,000.
Three of these risk assessments (those for Methanol, RDX, and Trimethylbenzenes 437), were published after
EPA’s adoption (in 2011) of its current hierarchical framework for determining HEDs from animal data. 438
Prior to adoption of this method, UFA for interspecies variability had a value of 10 for each of the risk
assessments; thereafter it has had a value of 3. As a practical matter, however, the adjustment is similar
across the two periods of time, because the point of departure now starts at a lower dose under EPA’s
current approach, due to derivation of the HED prior to application of uncertainty factors.


      B) Identifying LOAEL/NOAELs for Fluoride Neurotoxicity from Animal Studies
         EPA prefers to use human data for identifying a POD in the rare instances where such data are
available. 439 The recent prospective cohort studies 440 with individual-level biomonitoring data provide
sufficient human data to establish a POD for fluoride neurotoxicity. I understand that Dr. Philippe
Grandjean has conducted an analysis of human data to establish a POD for fluoride neurotoxicity, and that
he has calculated a BMDL of 0.1 mg/L (maternal urinary fluoride during pregnancy) based on a Benchmark
Response (BMR) of 1 lost IQ point from prospective cohort data reported by Bashash et al. 441 I understand
that Dr. Grandjean has not attempted to establish an RfD, but a BMDL of 0.1 mg/L in maternal urine would
result in an RfD well below the intake levels in fluoridated communities, particularly after the application
of appropriate uncertainty factors.
        To avoid duplication of Dr. Grandjean's analysis, and to determine whether his BMDL is consistent
with potential RfDs derived from animal data, I sought to determine the range of RfDs that are supported
by the current animal experimental data. My purpose was not to derive a single value for the RfD, but to
assess the approximate range of RfD values that would be obtained if EPA's ordinary risk assessment
procedures are applied to examples selected from the fluoride database. Of primary interest to this analysis
is whether RfDs derived from neurotoxicity data would be greater than, equal to, or less than the current
RfD of 0.08 mg/kg/day.
         In light of the human data now available, animal data would no longer be the preferred source of
the POD for fluoride neurotoxicity. 442 However, several considerations could justify use of animal data to
establish an RfD for fluoride. First, EPA has used animal research as the principal study for each of the

435
    EPA (2018a), p. xxii.
436
    EPA (2009c), pp. 74-75.
437
    EPA (2013a; 2016; 2018a).
438
    EPA (2011b).
439
    EPA (2018a), p. 2-1.
440
    Bashash et al. (2017; 2018); Valdez-Jiménez et al. (2017); Green (2018).
441
    Bashash et al. (2017).
442
    EPA (2018a), p. 2-1.

                                                                                                            54
       Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 363 of 854
Food and Water Watch v. EPA                                                                        Thiessen Report


neurotoxicity risk assessments that it has thus far conducted under the Guidelines. Second, EPA has used
impairment in learning and memory in rodents as the adverse effect upon which to base the RfD for other
chemicals, 443 thus this is an accepted endpoint to use in deriving an RfD. Third, a substantial number of
animal studies of fluoride neurotoxicity have used 2 or 3 treatment groups, and EPA has found this to be
sufficient for establishing the POD in most of its Guideline-compliant risk assessments (BDE-47, BDE-
153, BDE-209, Chlorine Dioxide/Chlorite, and 2-Hexanone), 444 including animal studies with as few as 10
rats per group (2-Hexanone). 445
        For purposes of simplicity and clarity, I have selected the NOAEL/LOAEL method for example
RfD calculations. Although EPA now prefers using the BMD method, in this case either method will serve
because, as shown below, whatever point one chooses in the range of observations in the identified studies,
the resulting RfDs are each well below 0.08 mg/kg/d.
      C) Candidate PODs from the Animal Data on Fluoride Neurotoxicity
        In the literature review discussed earlier, 37 rodent studies were identified that have investigated
fluoride’s impact on learning and memory since the NRC report (Table A-2). All but 3 of these studies
found adverse effects in the fluoride-treated rodents, including 16 of the 17 studies that investigated prenatal
fluoride exposures. Since the prenatal period represents a point of heightened vulnerability to
neurotoxicants, the prenatal studies are a logical candidate for the point of departure.
        To avoid studies at high risk of bias, the three studies that did not specifically mention using a
randomization procedure were excluded from further consideration. 446 Further, in order to focus the
analysis on those studies best suited for a NOAEL/LOAEL analysis, four studies that only used one
treatment dose were excluded. 447
         Table 6 summarizes the 10 prenatal studies that remained for LOAEL/NOAEL consideration. Most
of the studies used a similar dosing regimen with 2 or 3 treatment groups, and at least 10 rodents per group,
which is consistent with several of the principal studies that EPA has previously used to establish an RfD.
Notably, 9 of the 10 studies found dose response trends for one or more effects, thus adding confidence to
a causative role of the fluoride treatment. 448 Additional confidence comes from the fact that the vast
majority of other rodent studies have found demonstrable affects on learning as well.




443
    For example, BDE-153 (EPA 2008c, p. 36).
444
    EPA (2000b; 2008a; 2008c; 2008d; 2009c).
445
    EPA (2009c).
446
    Bera et al. (2007); Basha et al. (2011b); Ge et al. (2018).
447
    Niu et al. (2014); Banala and Karnati (2015); Dong et al. (2015); Zhu et al. (2017).
448
    See for example, Jiang et al. (2014b), Table 3; Cui et al. (2017), Table 3; Chen et al. (2018a), Figure 1d,e; Sun et
al. (2018), Tables 2 and 3; Wang et al. (2018a), Figure 4b,c; Zhao et al. (2019), Figure 5e.

                                                                                                                     55
                                 Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 364 of 854
Food and Water Watch v. EPA                                                                                                                                  Thiessen Report


Table 6. Examples of rodent studies of prenatal exposure to fluoride that could provide LOAELs or NOAELs for neurotoxicity.

                                                                                                                                                    Neuroanatomical or
                                                                    [F-] in drinking       Number of            Learning and memory
                                                                                                                                                   neurochemical effects
        Study               Animal            Exposure period            watera            animals per
                                                                         (mg/L)             group (n)          LOAEL            NOAEL             LOAEL             NOAEL
                                                                                                               (mg/L)           (mg/L)            (mg/L)            (mg/L)

    Zhou et al.         Rats, Sprague-          Prenatalb + 6          4.5, 23, 45              6                 23               4.5               23                4.5
    (2019)                 Dawley                 months
    Zhao et al.         Rats, Sprague-         Prenatalb + 60          4.5, 23, 45              5                 23               4.5               4.5             None
    (2019)                 Dawley                  days
    Bartos et al.        Rats, Wistar          Prenatal + 21              5, 10               9-10                 5              None                5              None
    (2019)                (female)                 days
    Wang et al.           Mice, ICR            Prenatal (from          11, 23, 45               15                23               11                11              None
    (2018a)               (female)            day 7) + 21 days
    Sun et al.         Mice, Kunming           Prenatal + 21           11, 23, 45               6                 23               11                11              None
    (2018)                                         days
    McPherson et      Rats, Long Evans         Prenatal (from            10, 20c              11-23             None               20              None                20
    al. (2018)         Hooded (male)          day 6) + 90 days
    Chen et al.         Rats, Sprague-          Prenatalb + 6          4.5, 23, 45              6                 23               4.5               4.5             None
    (2018a)                Dawley                 months
    Bartos et al.        Rats, Wistar          Prenatal + 21              5, 10               9-10                 5              None                5              None
    (2018)                (female)                 days
    Cui et al.          Rats, Sprague-         Prenatalb + 60          4.5, 23, 45              12               4.5              None              N/A               N/A
    (2017)                 Dawley                  days
    Jiang et al.        Rats, Sprague-          Prenatalb + 2          11, 23, 45               12                11              None               11              None
    (2014b)                Dawley                 months
a
    Treatment groups in addition to the control group.
b Exposure of the mother began before pregnancy.
c Animals were given 0, 10, or 20 mg/L fluoride in drinking water, plus 3.24 ppm fluoride in feed.   An additional control group had 0 mg/L fluoride in drinking water plus 20.5
ppm fluoride in feed (McPherson et al. 2018).




                                                                                                                                                                              56
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 365 of 854
Food and Water Watch v. EPA                                                                          Thiessen Report


        While only three of the studies specifically mention controlling for litter effects, 449 the failure to
control for litter effects does not bias the results in any consistent direction and can lead to either a false
positive or a false negative in an individual study. 450 Thus it is questionable whether this would lead to a
consistent bias across several studies. Further, several of the principal studies that EPA has used to establish
an RfD in the past did not control for litter effects, 451 and thus this factor does not preclude selection of a
study as the principal study.
         LOAEL of 5 mg/L: The lowest observed adverse effect levels in the studies were fluoride
concentrations of 4.5 and 5 mg/L. Of the six studies that used this concentration, three found adverse effects
on learning at this concentration, 452 and two of the other three studies, which did not find statistically
significant effects on learning at this level, did find alterations in the brain.453 Other studies have also
found alterations in the brain at < 5 mg/L. 454 Further, since Bartos et al. specifically controlled for litter
effects, the failure to do so in other studies is unlikely to explain the findings of adverse effects at this level.
A reasonable case can be made, therefore, for selecting a 5 mg/L LOAEL as the Point of Departure (POD)
for learning impairment from prenatal fluoride exposure.
        LOAEL of 23 mg/L: Seven of the 10 studies used 23 mg/L as one of the treatment doses, and six
of these studies found both an adverse impact on learning and changes in the brain, either at this dose or a
lower dose. It is hard, therefore, to reach any other conclusion than that 23 mg/L is an “Observed Adverse
Effect Level,” particularly in light of the five studies discussed above, which found adverse effects at < 5
mg/L. While the McPherson study did not find an effect at 20 mg/L, McPherson et al. used Long Evans
Hooded Rats, and there is some indication in the earlier literature that this strain may be less sensitive to
behavioral effects from fluoride exposure. 455 Further, McPherson only tested males, and did not begin
exposure until the 6th day of gestation, thus limiting exposure to the rats during the first trimester. The
McPherson study is unlikely, therefore, to have captured the full potential sensitivity to prenatal fluoride
exposure and therefore does not provide a basis for negating a LOAEL of 23 mg/L as the POD.
         LOAEL of 45 mg/L: In this group of studies, 45 mg/L is unquestionably an “observed adverse
effect level,” as it has been in many other animal studies on fluoride neurotoxicity. However, it would not
be justified to use 45 mg/L from these data for derivation of an RfD, as it is the highest observed adverse
effect level, not the lowest. Nevertheless, for purposes of illustration, the RfD calculation below will
include an assumed LOAEL of 45 mg/L as one of the PODs.
         NOAEL of 11 mg/L: Four of the prenatal studies used 10 or 11 mg/L for the low-dose group. 456
The two studies of mice failed to find a significant effect on learning at this level, 457 and thus 11 mg/L could
conceivably be selected as a NOAEL. The fact that the two studies that did not find effects at 11 mg/L
found them at higher concentrations (23 and 45 mg/L) would be a factor weighing in favor of this choice,
as the animal models were sensitive enough to find an effect. However, the two studies finding no effects


449
    Bartos et al. (2018; 2019); McPherson et al. (2018).
450
    Zorrilla (1997), p. 144; Lazic and Essioux (2013), p. 3.
451
    See for example EPA (2008a), pp. 44, A-4; EPA (2008b), pp. 59, A-3; EPA (2008c), pp. 32, A-3.
452
    Cui et al. (2017); Bartos et al. (2018; 2019). In the Chen study (which had only six rats per group), there is some
indication of an effect on learning in the 4.5 mg/L group, albeit not statistically significant (Chen et al. 2018a, Figure
1).
453
    Chen et al. (2018a); Zhao et al. (2019).
454
    Liu et al. (2010; 2011); Zhang et al. (2015a); Niu et al. (2018a); Yu et al. (2019).
455
    Elliott (1967); Varner et al. (1994).
456
    Wang et al. (2018a); Sun et al. (2018); McPherson et al. (2018); Jiang et al. (2014b).
457
    Sun et al. (2018); Wang et al. (2018a).

                                                                                                                       57
       Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 366 of 854
Food and Water Watch v. EPA                                                                      Thiessen Report


on learning at 11 mg/L did find changes in the brain at this level, 458 consistent with 11 mg/L being a
LOAEL, rather than a NOAEL. But, for purposes of illustration, the RfD calculation below will include
an assumed NOAEL of 11 mg/L as one of the PODs.
         NOAEL of 20 mg/L: The highest possible NOAEL that could be selected from these prenatal
studies is the 20 mg/L no-effect finding from McPherson et al. 459 While it is difficult to justify reliance on
McPherson et al.'s study for the RfD analysis (due to strain of rat used, single sex, and lack of first-trimester
exposure 460), an RfD calculation will be done below using 20 mg/L as an assumed NOAEL, in order to
highlight the upper bound RfD that would be permitted by the current animal data.
         Conversion of fluoride concentration to intake per unit body weight
        Before RfDs can be calculated for the selected LOAELs or NOAELs, the unit of measurement has
to be converted from a water fluoride concentration (mg/L) to an intake rate or dose (mg/kg/day). The 2016
NTP review provides data that facilitate this analysis. 461 In its review, the NTP estimated the doses for
dozens of rodent studies by using EPA’s default water consumption rates and body weight data for the
species, strain, and sex of the animals studied. 462 A review of NTP’s data in Appendix 20 shows that the
average ratio of fluoride concentration (mg/L) to intake rate or dose (mg/kg/day) is 6.8, while a review of
NTP's data in Appendix 19 shows that the range of this ratio is generally higher for rats (typically 6 to 10)
than for mice (typically 3.8 to 5). For purposes of this analysis, I chose the low end of this range for each
species (6 for rats, 3.8 for mice); this results in probable overestimates of the actual intake rates of fluoride
by the animals, thereby overestimating the resulting PODs and inflating the RfDs derived from them. 463
      D) Selection of Uncertainty Factors
        The next step in deriving an RfD from animal data is to decide which uncertainty factors are
applicable and to determine what the value of each uncertainty factor should be.
         Intraspecies Variability (UFH): As noted earlier, EPA applies a UFH of 10 to account for variability
among humans unless there is “convincing data to the contrary.” 464 In the case of fluoride, the available
evidence (summarized in Section 2 above) confirms that susceptibility varies greatly across the population.
While the magnitude of the variability is difficult to quantify, the available evidence does not provide any
justification for using a lower value than the default of 10. Therefore, UFH was assigned a value of 10.
        Interspecies Variability (UFA): A full PBTK model has not yet been developed for fluoride that
would allow for the calculation of HEDs from doses given to animals. As such, EPA’s preferred approach
for controlling for interspecies toxicokinetics is not available. There is, however, some chemical-specific
information for fluoride that could support application of EPA’s intermediate approach. As discussed by
the NRC, rats require higher levels of fluoride in their water to achieve the same level of fluoride in their



458
    Sun et al. (2018); Wang et al. (2018a).
459
    McPherson et al. (2018).
460
    See also the review of McPherson et al. (2018) by Spencer and Limeback (2018).
461
    NTP (2016), Appendix 19.
462
    NTP (2016), p. 118.
463
    Using this method gives an intake rate of 0.83 mg/kg/day for rats for the 5 mg/L fluoride concentration (Table 7).
However, Bartos et al. (2018; 2019) give an estimate of 0.6 mg/kg/day for their rats and this fluoride concentration.
Using the same approach described below with Table 7 for a LOAEL of 5 mg/L, equivalent to an intake rate of 0.6
mg/kg/day, gives an RfD of 0.00005 (all four UFs) or 0.0005 (only UFH and UFA), compared with 0.00007 and 0.0007
in Table 7.
464
    EPA (2013a), pp. 5-17.

                                                                                                                   58
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 367 of 854
Food and Water Watch v. EPA                                                                 Thiessen Report


blood. 465 Dunipace estimated that rats require about 5 times more fluoride in water than humans to reach
the same plasma concentration of fluoride, 466 while Den Besten’s team has reported a larger margin for
mice, with a difference of about a factor of 10. 467 The data from Dunipace and Den Besten would thus
support a toxicokinetics adjustment of 5 for rats and 10 for mice. These adjustments are slightly higher,
but roughly consistent with, the adjustments under the default BW¾ Method (4.16 for rats, 7.14 for mice).
For purposes of this analysis, I have used the BW¾ Method.
         With respect to toxicodynamics, it has long been recognized that rodents are less susceptible (more
resistant) to toxic effects from fluoride ingestion than are humans. 468 Rats, for example, have been reported
to require 10 to 25 times more fluoride than humans to develop dental fluorosis. 469 Differences in kinetics
undoubtedly contribute to rodents being less sensitive to fluorosis, but the differences appear larger than
would be expected if they were due solely to kinetics. The fluorosis data thus support the existence of
differential toxicodynamics between rodents and humans. It is unclear, however, if this difference would
apply to neurotoxicity. Accordingly, I have used EPA’s default uncertainty factor of 3 for the
toxicodynamic component of UFA.
        Subchronic-to-Chronic (UFS): One of the limitations of the prenatal fluoride studies is that they
have relatively short postnatal exposures. The longest of the studies treated the rats for 6 months after birth;
the remainder lasted 21 days to 3 months. None of the studies, therefore, addresses the potential additive
impact of chronic exposure. (EPA defines a chronic exposure in rodents as one lasting at least 12
months.) 470 Studies that have tested animals at multiple points in time have found that the effects of fluoride
on the brain tend to worsen with time, with some effects not appearing at all until 3 to 6 months of
exposure. 471 By failing to reflect the real world “cradle-to-grave” exposure that humans living in
fluoridated areas experience, the prenatal studies likely do not account for the full potential risk. A
subchronic-to-chronic uncertainty factor would thus be justified. A non-conservative value of 3 was
therefore selected for UFS for the RfD calculations below.
         Database Deficiency (UFD): There are several significant research gaps in the current database.
First, none of the animal studies on fluoride and learning have attempted to reproduce the effect of formula-
feeding of human infants during what is likely a critical period of vulnerability and is definitely a period of
high fluoride intake for many infants. Specifically, in the fluoride and learning studies that have involved
the pre-weaning period, the rats or mice receive their caloric intake entirely from their mother’s milk, which
will have substantially lower fluoride concentrations than the mother’s drinking water. 472 The rodent
studies on learning thus do not provide any information on the potential impact of formula feeding. Second,
there is a dearth of chronic studies, with only one study on fluoride/learning lasting more than 12 months.473
The available studies thus do not reflect the risk to the elderly brain of lifetime fluoride intake and
accumulation. Taken together, these research gaps create uncertainty as to the applicability of current
animal data to two potentially critical life periods of vulnerability, neonates and the elderly. As such, it


465
    NRC (2006), pp. 98-99; pp. 442-446, Appendix D; NRC (2009), pp. 88-89.
466
    NRC (2006), pp. 98, 442.
467
    Zhang et al. (2014).
468
    Roholm (1937), pp. 265, 318; Lehman and Fitzhugh (1954), p. 33; Angmar-Mansson and Whitford (1982), p. 339.
469
    Roholm (1937), pp. 265, 318; Angmar-Mansson and Whitford (1982), p. 339.
470
    EPA (1998b), p. 1.
471
    For example, see Güner et al. (2016); Liu et al. (2011); Yang et al. (2018a); Zhang et al. (2015a).
472
    See Drinkard et al. (1985). Measured fluoride concentrations in rat milk were 0.044, 0.349, and 0.401 mg/L,
compared with fluoride concentrations in the mother's drinking water of 0, 50, and 100 mg/L, respectively.
473
    Teng et al. (2018).

                                                                                                             59
       Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 368 of 854
Food and Water Watch v. EPA                                                                     Thiessen Report


would be justified to add an uncertainty factor to account for deficiencies in the database. A non-
conservative UFD of 3 was chosen for the RfD calculations below.
      E) RfD Calculations from Animal Data
         Table 7 summarizes the RfD calculations for each of the five Points of Departure (POD) listed
above. Using all four uncertainty factors as described above (composite UF = 300) with the most sensitive
POD (LOAEL = 5 mg/L) gives a calculated RfD value (Column J of Table 7) of 0.00007 mg/kg/day, 3
orders of magnitude less than EPA's current RfD of 0.08 mg/kg/day for severe dental fluorosis. As can be
seen, even if the least conservative LOAEL (45 mg/L) or least conservative NOAEL (20 mg/L) is used as
the POD, the resulting RfDs (0.0007 and 0.003 mg/kg/day; Column J in Table 7) are still well below EPA’s
current RfD (0.08 mg/kg/day). Further, even if no uncertainty factors are used for UFS and UFD (composite
UF = 30 from UFH and UFA), the resulting RfDs (0.0007 to 0.03 mg/kg/day; Column I of Table 7) are all
still below the current RfD, even when using the least conservative POD. Thus, while reasonable debate
can be had as to which of these PODs would be most appropriate to use, the essential point is that, whatever
POD is used, the respective RfDs fall well below EPA’s current RfD. Accordingly, the animal data are
consistent with the human data (as analyzed by Grandjean) in showing that EPA's current RfD is not
protective against fluoride neurotoxicity. This in turn provides further evidence that neurotoxicity is a more
sensitive effect of fluoride exposure than severe dental fluorosis.
      F) Additional Considerations Regarding EPA’s Current Reference Dose
         As described above, EPA's current RfD is above (less protective than) the level that would be
necessary to protect against fluoride neurotoxicity. One of the reasons that the current RfD is so high is
that EPA made a policy decision to keep the RfD above the purported “adequate” (i.e., “optimal”) intake
of fluoride (0.05 mg/kg/day) for caries prevention. 474 There are two fundamental problems with this policy
decision: first, it improperly conflated risk assessment with risk management, and second, it relied upon an
outdated understanding of fluoride’s mechanism of action in preventing caries.
         Risk assessment vs. risk management
         In its risk assessment, EPA stated that “Any drinking water intakes (mean or percentile) that
resulted in doses that were less than or equal to the 0.05 mg/kg/day IOM AI value associated with optimal,
anticaries protection were eliminated from consideration as doses causing severe dental fluorosis.” 475
Moreover, EPA’s representative in this litigation, Edward Ohanian, testified that EPA did not apply any
uncertainty factors in its RfD calculations because doing so would have caused the RfD to be lower than
the purported optimal dose. 476
        By letting considerations of a perceived benefit shape its assessment of the risk, EPA
inappropriately inserted a risk management decision into a risk assessment—a violation of more than 25
years (at that time) of risk assessment guidance and practice. The National Research Council's 1983 risk
assessment report states that “Even the perception that risk management considerations are influencing the
conduct of risk assessment in an important way will cause the assessment and regulatory decisions based
on them to lack credibility.” 477 Later in the same report: “If risk management considerations (for example,

474
    Ohanian Deposition at pp. 203:19-205:16, 206:13-19, 329:3-7. See also EPA (2010b), pp. xv, 98, 101, 103.
475
    EPA (2010b), p. 98. See also p. 101, where an intake of 0.06 mg/kg/day was excluded from consideration. See
also p. 103, in reference to a “beneficial dose of 0.05 mg/kg/day.” See also p. xv in the Executive Summary: “Any
doses that were less than or equal to the 0.05 mg/kg/day were eliminated from consideration as the threshold dose for
severe dental fluorosis.”
476
    Ohanian Deposition at pp. 203:19-205:16, 206:13-19, 329:3-7.
477
    NRC (1983), p. 49. See pp. 18-19, 48-49, 151-153.

                                                                                                                  60
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 369 of 854
Food and Water Watch v. EPA                                                                     Thiessen Report


the economic or political effects of a particular control action for a particular chemical) are seen to affect
either the scientific interpretations or the choice of inference options in a risk assessment, the credibility of
the assessment inside and outside the agency can be compromised, and the risk management decision itself
may lose legitimacy.” 478 EPA's 1998 Guidelines, citing NRC (1983), recommend that Federal regulatory
agencies establish guidelines “to promote consistency and technical quality in risk assessment, and to ensure
that the risk assessment process is maintained as a scientific effort separate from risk management.” 479 One
of the reviewers of EPA's 2010 dose-response (RfD) report 480 specifically pointed out this shortcoming:
“the assumption that 0.05 mg/kg/day is a required amount of fluoride and that dose estimates must be above
this level could be considered a weakness because the purpose of U.S. EPA's analysis was to determine
risk, not to conduct risk benefit analyses.” 481
        Fluoride’s Mechanism of Action for Caries Prevention
         A second fundamental problem with EPA’s analysis is that it accepts the outdated premise that
fluoride needs to be ingested to prevent caries. CDC’s representative in this litigation, Casey Hannan,
agreed that “there is now overwhelming evidence that the primary caries-preventive mechanisms of action
of fluoride are post eruptive through topical effects for both children and adults.” 482 EPA actually
acknowledges this in its risk assessment, noting that fluoride’s “primary” benefit comes from topical contact
with the teeth.483 Despite this, EPA made no attempt to address research showing that the ingestion of
fluoride has no meaningful effect on caries prevention. Although EPA relied extensively on the Iowa
Fluoride Study (IFS) to understand the relationship between fluoride ingestion and dental fluorosis, 484 EPA
failed to consider IFS data showing that fluoride ingestion has no significant relationship to tooth decay. 485
         Ultimately, the most obvious problem with EPA’s assumption of a benefit is that it assumes that
all age groups in the population, including infants and adults, need to ingest fluoride to get the benefit.
This is at odds with current scientific understanding. As CDC’s Casey Hannan noted at his deposition,
the CDC is unaware of any evidence to indicate that fluoride ingestion provides any benefit to teeth
during the first 6 months of life. 486 Hannon further testified that CDC is unaware of any benefit from
prenatal fluoride exposure. 487 Further, any benefit from ingesting fluoride would be limited to the period
of time when the teeth are actually developing. 488 Despite this, EPA’s RfD operates on the premise that
both adults and children need to ingest 0.05 mg/kg/day for caries prevention. No biological justification
is provided for this premise of a systemic benefit in adults.




478
    NRC (1983), p. 152.
479
    EPA (1998a), p. v; Federal Register (1998), p. 26926.
480
    EPA (2010b).
481
    EPA (2010c), p. 20. This reviewer also pointed out that EPA's method assumed that severe dental fluorosis
occurred in children with excess exposure to fluoride, rather than possibly in children who were more susceptible to
adverse effects from fluoride intake. Also see pp. 11, A-13, A-14, and B-13 of the April 2009 Peer Review Report
that is included in the 2010 report (EPA 2010c).
482
    Hannan Deposition at p. 198:21-25.
483
    EPA (2010b), p. 3.
484
    EPA (2010b), pp. 21, 33, 102-103.
485
    For example, Warren et al. (2009). See also Appendix E of this report.
486
    Hannan Deposition at pp. 224:8-11, 233:12-17.
487
    Hannan Deposition at pp. 213:19-214:3, 217:3-19.
488
    Hannan Deposition at pp. 207:10-24, 209:5-22.

                                                                                                                 61
                                  Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 370 of 854
 Food and Water Watch v. EPA                                                                                                                                  Thiessen Report


 Table 7. Calculation of the RfD from the selected Points of Departure (POD), based on the studies summarized in Table 6.

          A                  B               C                 D                  E                 F                G                 H                I               J
  Observation           Intake rate       PODHED            NOAEL             UFH = 10          UFA = 3           UFS = 3           UFD = 3          RfD(1)          RfD(2)

  LOAEL or             Column A /      Column B ×         Column C /
  NOAEL from            6 (rats) or    0.24 (rats) or    10 (LOAEL)          Column D /      Column E / 3      Column F / 3       Column G /       Column F        Column H
  Table 6                               0.14 (mice)     or 1 (NOAEL)             10                                                   3
                       3.8 (mice)
  mg/L                 mg/kg/day        mg/kg/day          mg/kg/day         mg/kg/day         mg/kg/day         mg/kg/day        mg/kg/day        mg/kg/day       mg/kg/day
  5 mg/L,
  LOAEL (rats)             0.83             0.20             0.020             0.0020           0.00067           0.00022          0.000073          0.0007         0.00007
  23 mg/L,
  LOAEL (rats)              3.8             0.91             0.091             0.0091            0.0030            0.0010           0.00033           0.003          0.0003
  45 mg/L,
  LOAEL (rats)              7.5             1.8               0.18              0.018            0.0060            0.0020           0.00067           0.006          0.0007
  11 mg/L,
  NOAEL (mice)              2.9             0.41              0.41              0.041             0.014            0.0047           0.0016            0.01            0.002
  20 mg/L,
                            3.3             0.79              0.79              0.079             0.026            0.0087           0.0029            0.03            0.003
  NOAEL (rats)
Column A: The observed LOAEL or NOAEL from Table 6.
Column B: The observed LOAEL or NOAEL converted from mg/L to an intake rate (dose) in mg/kg/day. For rats, the LOAEL or NOAEL is divided by 6; for mice, the NOAEL is
divided by 3.8 (see explanation in text).
Column C: The intake rate for rats or mice converted to a human equivalent dose (HED) using the BW3/4 method (see explanation in text). The HED = 24% of the intake rate for rats
or 14% of the intake rate for mice.
Column D: NOAEL as already obtained (NOAEL / 1) or as estimated from a LOAEL (LOAEL / 10).
Column E: The estimated NOAEL after application of an intraspecies uncertainty factor (UFH), where UFH = 10. The NOAEL from Column D is divided by UFH (i.e., NOAEL /
10).
Column F: The estimated NOAEL after application of an additional uncertainty factor for interspecies variability (UFA), where UFA = 10. The adjusted NOAEL from Column E is
divided by UFA (i.e., NOAEL / 3).
Column G: The estimated NOAEL after application of an additional uncertainty factor for use of a subchronic study (UFS), where UFS = 3. The adjusted NOAEL from Column F is
divided by UFS (i.e., NOAEL / 3).
Column H: The estimated NOAEL after application of an additional uncertainty factor for database deficiencies (UFD), where UFD = 3. The adjusted NOAEL from Column G is
divided by UFD (i.e., NOAEL / 3).
Column I: The value of the Reference Dose (RfD) obtained with only UFH and UFA. RfD(1) = the NOAEL value in Column F, rounded to 1 significant digit.
Column J: The value of the Reference Dose (RfD) obtained with UFH, UFA, UFS, and UFD. RfD(2) = the NOAEL value in Column H, rounded to 1 significant digit.




                                                                                                                                                                              62
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 371 of 854
Food and Water Watch v. EPA                                                                  Thiessen Report


E. Fluoridation Chemicals Present an “Unreasonable Risk” of Neurotoxicity, as Defined by EPA
         In determining whether a chemical presents an “unreasonable risk” to human health 489 under the
Toxic Substances Control Act (TSCA), EPA considers (1) the human health hazard of the chemical, (2) the
extent of human exposure to the chemical, and (3) the estimated margin between the toxic effect level and
human exposure. 490 As discussed below, each of these three factors supports the conclusion that
fluoridation chemicals pose an unreasonable risk to human health. Some of the following discussion is
based on EPA's P2 Framework Manual, 491 which is intended to expedite the review of new industrial
chemicals proposed for manufacture or import. 492 The general approach is based on NRC's 1983 risk
assessment report 493 and is intended to identify chemicals not requiring regulation (e.g., they do not present
an unreasonable risk to human health or the environment) and chemicals that do require regulation (e.g.,
they may present an unreasonable risk to human health or the environment, or there may be substantial
human exposure). 494 “Low hazard chemicals are dropped from further review because by their nature they
will not result in risk,” 495 but a “complete risk assessment is necessary if the hazard concern is identified as
high or moderate.” 496
        A) Human Health Hazard of Fluoride
         According to EPA, “Human health hazard is relevant to whether a new chemical substance is likely
to present an unreasonable risk because the significance of the risk is dependent upon both the hazard (or
toxicity) of the chemical substance and the extent of exposure to the substance.” 497 EPA has established a
framework for determining whether a chemical substance has a “low,” “moderate,” or “high” human health
hazard. 498
        Under the EPA framework, a chemical “is considered to have low human health hazard if effects
are observed in animal studies with a No Observed Adverse Effect Level (NOAEL) equal to or greater than
1,000 mg/kg/day.” 499
        A chemical “is considered to have moderate human health hazard if effects are observed in animal
studies with a NOAEL less than 1,000 mg/kg/day.” 500
         Lastly, a chemical is “considered to have high human health hazard if there is evidence of adverse
effects in humans or conclusive evidence of severe effects in animal studies with a NOAEL of less than or
equal to 10 mg/kg/day.” 501
        Under this framework, fluoride has a “high human health hazard.” First, as discussed earlier,
adverse effects on IQ have been repeatedly observed in humans, including results from high-quality
prospective cohort studies. This is sufficient, by itself, to establish fluoride as a high human health hazard

489
    TSCA requires that EPA protect against unreasonable risks to “human health and the environment.” Since the
focus here is on human health, risk to the environment will not be addressed.
490 EPA (2018c; 2018d; 2018e; 2018f; 2018g; 2018h; 2019).
491
    EPA (2012b).
492
    EPA (2012b), p. 1-1.
493
    NRC (1983); see EPA (2012b), p. 2-2.
494
    EPA (2012b), pp. 1-6 to 1-7.
495
    EPA (2012b), p. 8-8.
496
    EPA (2012b), p. 8-8.
497
    See for example EPA (2018c; 2018d; 2018e; 2018f; 2018g; 2018h; 2019).
498
    EPA (2012b), pp. 8-7 and 13-9; also see, for example, EPA (2018c; 2018d; 2018e; 2018f; 2018g; 2018h; 2019).
499
    EPA (2012b), pp. 8-7 and 13-9; also see, for example, EPA (2018c; 2018d; 2018e; 2018f; 2018g; 2018h; 2019).
500
    EPA (2012b), pp. 8-7 and 13-9; also see, for example, EPA (2018c; 2018d; 2018e; 2018f; 2018g; 2018h; 2019).
501
    EPA (2012b), pp. 8-7 and 13-9; also see, for example, EPA (2018c; 2018d; 2018e; 2018f; 2018g; 2018h; 2019).

                                                                                                              63
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 372 of 854
Food and Water Watch v. EPA                                                                     Thiessen Report


under EPA’s criteria. Second, there is clear evidence of adverse neurotoxic effects in animals, with
LOAELs, not just NOAELs, below 10 mg/kg/day. As discussed above, the LOAELs for impairment in
learning and memory in rodents, and concurrent changes to the brain, range from 0.75 mg/kg/day to 6.1
mg/kg/day, 502 while the NOAELs range from 0.75 to 3.3 mg/kg/day. 503 Fluoride thus readily qualifies as a
“high human health hazard” by EPA's criteria.
         B) Human Exposure to Fluoridation Chemicals
          In its TSCA risk evaluations, EPA has recognized that “the significance of the risk is dependent
upon both the hazard (or toxicity) of the chemical substance and the extent of exposure to the substance.” 504
This second criterion weighs strongly in favor of an unreasonable risk finding for fluoridation chemicals,
as the extent of human exposure is nothing short of massive. Approximately 210 million Americans, or
nearly 3/4 of the population, have municipal water to which fluoridation chemicals have been added. 505
Further, most of the 73 million people living in “non-fluoridated” areas will routinely consume fluoridation
chemicals in processed beverages and foods, as many beverages and foods are produced in fluoridated
areas. 506
           Because of the massive reach of water fluoridation, millions of highly susceptible individuals are
being exposed. By way of example, there were approximately 3.9 million children born in the U.S. in
2017. 507 Of these children, approximately 2.9 million will have been exposed to fluoridation chemicals in
the womb. Further, since 42% of infants in the U.S. are exclusively formula-fed during the first 6 months
of life, 508 approximately 1.2 million infants each year will consume fluoridation chemicals every day for
their first six months. With such widespread exposure, even small risks can amount to widespread harm.
         C) Margin of Exposure (MOE)
         Finally, in assessing whether a chemical poses an unreasonable risk under TSCA (as well as under
the Guidelines 509), EPA uses the “margin of exposure” (MOE) method. 510 The MOE “is a ratio of the
toxicity effect level to the estimated exposure dose.” 511 “The lower the MOE (margin between the toxicity
effect level and the exposure dose), the more likely a chemical is to pose an unreasonable risk.” 512




502
    From Table 6, LOAELs for fluoride range from 4.5 to 23 mg/L in rat studies and from 11 to 23 mg/L in mouse
studies. As discussed in the previous section, these values correspond to ranges of 0.75 to 3.8 mg/kg/day in rats and
2.9 to 6.1 mg/kg/day in mice, with these values representing probable overestimates.
503
    From Table 6, NOAELs for fluoride range from 4.5 to 20 mg/L in rat studies and 11 mg/L in mouse studies, with
several studies having no NOAEL (effects were found at the lowest doses used). As discussed in the previous section,
these values correspond to a range of 0.75 to 3.3 mg/kg/day in rats and a value of 2.9 mg/kg/day in mice, with these
values representing probable overestimates.
504
    See for example EPA (2018c; 2018d; 2018e; 2018f; 2018g; 2018h; 2019). See also EPA (2012b), p. 8-8.
505
    CDC (2016).
506
    See, for example, Kiritsy et al. (1996); Turner et al. (1998); Heilman et al. (1999).
507
    Centers for Disease Control. Births and Natality. [Available at: https://www.cdc.gov/nchs/fastats/births.htm].
508
    CDC (2018; n.d.).
509
    EPA (1998a), pp. 65-66; Federal Register (1998), pp. 26949-26950.
510
    Although EPA has described the MOE method as “just one of several approaches to risk characterization” that may
be used under TSCA (Federal Register 2017, p. 33735), a review of its risk evaluations shows that, in practice, the
Agency almost always uses this method.
511
    EPA (2012b), p. 13-8.
512
    EPA (2012b), p. 13-8.

                                                                                                                  64
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 373 of 854
Food and Water Watch v. EPA                                                                     Thiessen Report


       An acceptable margin between toxicity and human exposure is called an “acceptable MOE” 513 or
a “benchmark MOE.” 514 If the calculated MOE “is equal to or exceeds the benchmark MOE, the new
chemical substance is not likely to present an unreasonable risk.” 515
        Benchmark MOE
         The benchmark (or acceptable) MOE is generally 100 for a risk assessment based on a NOAEL
from animal data and 1000 for a risk assessment based on a LOAEL from animal data. 516 The benchmark
MOE accounts for the variation in sensitivity among the human population (UFH = 10), extrapolation
between animals and humans (UFA = 10), and (for use of a LOAEL) the LOAEL-to-NOAEL extrapolation
(UFL = 10). 517 In other words, EPA will conclude that no risk exists if human exposure to the chemical is
at least 100 times lower than the NOAEL or at least 1000 times lower than the LOAEL. Where allometric
scaling is used to derive the effect level, UFH is reduced to 3, for a benchmark MOE of 30 or 300 (for
assessments based on a NOAEL or LOAEL, respectively). 518
        Exposure Assessment
         In estimating human exposure to a chemical, EPA’s Guidelines state that the assessment should
consider “highly exposed individuals or highly sensitive or susceptible individuals.” 519 Consistent with
this, EPA’s MOE analyses under TSCA generally consider the highest-exposed group in the population
(usually occupationally-exposed workers). 520 In addition, when dealing with chemicals that may be present
in drinking water, EPA’s MOE analyses under TSCA separately consider the exposure of members of the
public, both adults and infants. 521 The separate treatment of infants in the MOE analysis is supported by
the fact that infants have the highest intake of water, by body weight, of any age group in the population. 522
Finally, “EPA considers consumers of specific products to be a potentially exposed or susceptible
subpopulation on the basis of greater exposure potential compared to the general population who do not
use specific products.” 523
        Human Exposure to Fluoride
         Consistent with EPA’s risk evaluations under TSCA, the example exposure estimates described
here (summarized in Table 8) consider a range of exposures, representing the general adult population along
with highly exposed population subgroups, including bottle-fed infants and individuals with high water
intakes (for example, due to medical conditions or to physical exertion). All estimates are based on a water
fluoride concentration of 0.7 mg/L. For the general adult population, I have combined NRC’s estimates for
adult consumers of municipal water, ages 20-24 and 25-54 years (0.011 mg/kg/day). 524 As an example of
elderly adults (ages 65+), I have included the 90th percentile of adult consumers of municipal water (0.022

513
    EPA (2012b), p. 13-8.
514
    See for example EPA (2018c; 2018d; 2018e; 2018f; 2018g; 2018h; 2019).
515
    See for example EPA (2018c; 2018d; 2018e; 2018f; 2018g; 2018h; 2019).
516
    See for example EPA (2018c; 2018d; 2018e; 2018f; 2018g; 2018h; 2019); EPA (2012b), p. 13-8.
517
    See for example EPA (2018c; 2018d; 2018e; 2018f; 2018g; 2018h; 2019). The benchmark MOE does not include
the other two uncertainty factors that are typically used (UFS for subchronic-to-chronic studies and UFD for database
adequacy).
518 See for example EPA (2018c; 2018d; 2018e; 2018f; 2018g; 2018h; 2019).
519
    EPA (1998a), p. 3; Federal Register (1998), p. 26928.
520
    See for example EPA (2018c; 2018d; 2018e; 2018f; 2018g; 2018h; 2019).
521
    See for example EPA (2018c; 2018d; 2018e; 2018f; 2018g; 2018h; 2019).
522
    See for example EPA (2000a; 2004b).
523
    See for example EPA (2018c; 2018d; 2018e; 2018f; 2018g; 2018h; 2019).
524
    NRC (2006), p. 430, Table B-11.

                                                                                                                  65
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 374 of 854
Food and Water Watch v. EPA                                                                Thiessen Report


mg/kg/day). 525 To account for individuals with high water intakes, I have used the NRC’s waterborne
fluoride intake estimates (at 0.7 mg/L) for adult athletes and physical laborers (0.05 mg/kg/day), children
with diabetes mellitus (0.07 mg/kg/day), and individuals with nephrogenic diabetes insipidus (0.1
mg/kg/day). 526 For bottle-fed infants with high exposure, I have used the 95th percentile of infant
consumers of municipal water, ages < 6 months (0.14 mg/kg/day). 527 Note that none of these exposure
estimates, even those labeled “high,” can be considered an upper bound or maximum exposure.
          For infants, an estimate of typical exposure can be derived from Fomon et al. 528 and Harriehausen
et al. 529 As discussed above, based on estimates by Fomon et al., infants consuming powdered formula
prepared with fluoridated water (0.7 mg/L) will typically ingest between 0.08 to 0.115 mg/kg/day. 530
Consistent with this, Harriehausen et al. estimated that infants consuming formula reconstituted with
fluoridated water will ingest an average of 0.11 mg/kg/day at ages 2 and 4 months and 0.09 mg/kg/day at
age 6 months. 531 For purposes of this analysis, therefore, infant exposure to fluoridation chemicals is non-
conservatively placed at 0.1 mg/kg/day, the same value as used for children and adults with nephrogenic
diabetes insipidus. It is important to stress that this represents a typical exposure among bottle-fed infants,
it does not represent the upper bound.
          Table 8 provides the MOEs for the above-mentioned populations, for each of the LOAELs and
NOAELs previously considered (Tables 6 and 7). As can be seen, the observed MOEs are below the
benchmark MOE (300 for LOAELs and 30 for NOAELs) for each group and every POD, with the exception
of adults when using the NOAEL-based PODs (for which the benchmark MOE = 30). Under EPA’s own
criteria, therefore, a risk of fluoride neurotoxicity could exist for each and every one of these populations,
particularly infants. By way of comparison, Table 9 provides examples of recent EPA risk evaluations that
separately considered adults and infants in the MOE analysis. For these chemicals, the MOEs greatly
exceeded the benchmark MOEs in nearly all cases.
         D) Summary of Unreasonable Risk Analysis
        As demonstrated above, fluoridation chemicals qualify as an unreasonable risk under the criteria
that EPA has used in its TSCA risk evaluations. First, fluoride is a “high human health hazard” under
EPA’s framework for hazard classification, given both that observed LOAELs and NOAELs are very low
and that high-quality studies in humans have repeatedly shown neurotoxic effects. Second, there is
unquestionably widespread human exposure to fluoridation chemicals among both the general population
and susceptible subsets of the population. Third, the margins of exposure between the toxicity levels in
animals and the exposure levels in humans are far below the benchmark MOEs.
        Consistent with this analysis, recent prospective birth cohort studies have found significant
reductions in IQ at maternal urinary fluoride levels that are widely exceeded by pregnant women living in
fluoridated areas.532 Thus, the animal and human data are consistent in demonstrating a risk of neurotoxic
harm from current exposure levels to fluoridation chemicals.



525
    NRC (2006), p. 431, Table B-12.
526
    NRC (2006), p. 35, Table 2-4.
527
    NRC (2006), p. 432, Table B-13.
528
    Fomon et al. (2000).
529
    Harriehausen et al. (2019).
530
    Fomon et al. (2000), Table 2.
531
    Harriehausen et al. (2019).
532
    Bashash et al. (2017); Till et al. (2018); Green (2018).

                                                                                                            66
                               Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 375 of 854
Food and Water Watch v. EPA                                                                                                                                   Thiessen Report


Table 8. Calculated Margins of Exposure (MOEs)a for selected human population subgroups for the NOAELs and LOAELs for fluoride in
         Section 4.
                                                         Human
                                                     Equivalent Dose
         Observationb               Intake ratec         (HED)d                                               Estimated human exposurese

                                                                                                                                                  Bottle-fed
                                                                                               Elderly                                              infants
                                                                                                adults        Athletes and                         (typical)       Bottle-fed
                                     LOAEL               LOAEL                 Adults           (90th           laborers       DM patients       NDI patients       infants
     LOAEL or NOAEL                 or NOAEL            or NOAEL             (average)        percentile)        (high)          (high)             (high)           (high)
                                                                              0.011            0.022             0.05             0.07               0.1             0.14
 mg/L                               mg/kg/day           mg/kg/day            mg/kg/day        mg/kg/day        mg/kg/day        mg/kg/day         mg/kg/day        mg/kg/day
 5 mg/L, LOAEL (rats)                  0.83                 0.20                 18               9.1              4.0               2.9              2.0              1.4
 23 mg/L, LOAEL (rats)                  3.8                 0.91                 83               41                18               13               9.1              6.5
 45 mg/L, LOAEL (rats)                  7.5                 1.8                 163               82                36               26               18               13
 11 mg/L, NOAEL (mice)                  2.9                 0.41                 37               19               8.2               5.9              4.1              2.9
 20 mg/L, NOAEL (rats)                  3.3                 0.79                 72               36                16               11               7.9              5.6
a A Margin of Exposure (MOE) is equal to the LOAEL or NOAEL (mg/kg/day) divided by an estimated human exposure (mg/kg/day).              Usually, the benchmark MOE = 1000 for
   assessments based on a LOAEL and 100 for assessments based on an NOAEL. Since allometric scaling between animals and humans has been used to obtain the Human
   Equivalent Dose, the benchmark MOE is 300 for LOAELs and 30 for NOAELs. An MOE greater than the benchmark MOE indicates a significant chance that an exposure will
   reach the level associated with a toxic effect.
b These LOAEL and NOAEL values (mg/L) for fluoride are described in Section 4 (summarized in Table 6).
c The intake rates (mg/kg/day) in this column correspond to the LOAELs and NOAELs in the first column (mg/L), converted to intake rates (mg/kg/day) as described in Section 4

   (summarized in Table 7). For rats, the intake rate equals the LOAEL or NOAEL divided by 6. For mice, the intake rate equals the NOAEL divided by 3.8.
d The Human Equivalent Dose (HED) is calculated from the intake rate for rats or mice as described in Section 4 (summarized in Table 7). The HED = the intake rate for rats × 0.24

   or the intake rate for mice × 0.14.
e The estimated human exposures are for fluoride exposures from drinking water alone, assuming a fluoride concentration of 0.7 mg/L in the drinking water. Sources are as follows:

   Adults (average), NRC (2006), p. 430, Table B-11, average consumers ages 20-54;
   Elderly adults (90th percentile), NRC (2006), p. 431, Table B-12, 90th percentile consumers ages 65+;
   Athletes and laborers (high), NRC (2006), p. 35, Table 2-4, high consumers (but not upper bound);
   DM patients (high), NRC (2006), p. 35, Table 2-4, patients with diabetes mellitus, high consumers (but not upper bound);
   Bottle-fed infants (typical), based on Fomon et al. (2000) and Harriehausen et al. (2019); see details in the text.
   NDI patients (high), NRC (2006), p. 35, Table 2-4, patients with nephrogenic diabetes insipidus, high consumers (but not upper bound);
   Bottle-fed infants (high), NRC (2006), p. 432, Table B-13, infants < 0.5 years old, 95th percentile consumers (but not upper bound).




                                                                                                                                                                                67
                             Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 376 of 854
Food and Water Watch v. EPA                                                                                                  Thiessen Report


Table 9. Examples of MOE analyses from recent TSCA risk evaluations (Premanufacture Notices) for exposures of the general public
         from drinking water.

                                                               MOE        MOE            MOE
  Chemical                                                   Benchmark    Adults        Infants           Effect           Reference
  Alkylsilsesquioxane, ethoxy-terminated                        100      155,280         37,237       Developmental       EPA (2018c)
  Substituted carbomonocycle, polymer with alkyl               1,000     9,764,671     2,324,921      Reproductive/       EPA (2018d)
  alkenoate, alkenyl substituted carbomonocycle,                                                      Developmental
  substituted alkanediol, heteropolycycle, alkylene glycol
  and alkenoic acid, compd. with alkylamino alkanol
  Polysiloxane-polyester polyol carboxylate                     100       8,772          2,104        Developmental       EPA (2018e)
  Glycerides, soya mono- and di-, epoxidized, acetates          100       65,400         15,600        Kidney/Liver       EPA (2018f)
  (CASRN: 2097734-14-8)
  Glycerides, C16-18 and C18-unsatd. mono- and di-,             100       65,400         15,600        Kidney/Liver       EPA (2018f)
  epoxidized, acetates (CASRN: 2097734-15-9)
  Diisocyanate polymer blocked with alkoxyamine.                100      355,000         84,600       Kidney/Adrenal      EPA (2018g)
  Polyglycerol reaction product with acid anhydride,           1,000     170,000         42,000      Systemic toxicity    EPA (2018h)
  etherified
  Butanedioic acid, polymer with 2-ethyl-2-                     100       2,198           523         Reproductive/       EPA (2019)
  (hydroxymethyl)-1,3-propanediol, 2,5-furandione and 1,3-                                            Developmental
  propanediol, 3a,4,5,6,7,7a-hexahydro-4,7-methano-1H-
  inden-5(or 6)-yl ester




                                                                                                                                         68
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 377 of 854
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 378 of 854
Food and Water Watch v. EPA                                                                Thiessen Report


IV.     REFERENCES
ADA (American Dental Association). 2005. Fluoridation facts. Chicago, IL: American Dental Association.
[Available: http://www.ada.org/sections/professionalResources/pdfs/fluoridation_facts.pdf]
Adair, S.M., C.M. Hanes, C.M. Russell, and G.M. Whitford. 1999. Dental caries and fluorosis among
children in a rural Georgia area. Pediatr. Dent. 21(2):81-85.
Adebayo, O.L., Shallie, P.D., Salau, B.A., Ajani, E.O., and Adenuga, G.A. 2013. Comparative study on the
influence of fluoride on lipid peroxidation and antioxidants levels in the different brain regions of well-fed
and protein undernourished rats. Journal of Trace Elements in Medicine and Biology 27(4):370-4.
Adedara, I.A., Abolaji, A.O., Idris, U.F., Olabiyi, B.F., Onibiyo, E.M., Ojuade, T.D., and Farombi, E.O.
2017a. Neuroprotective influence of taurine on fluoride-induced biochemical and behavioral deficits in rats.
Chemico-Biological Interactions 261:1-10.
Adedara, I.A., Olabiyi, B.F., Ojuade, T.D., Idris, U.F., Onibiyo, E.M., and Farombi, E.O. 2017b. Taurine
reverses sodium fluoride-mediated increase in inflammation, caspase-3 activity, and oxidative damage
along the brain–pituitary–gonadal axis in male rats. Canadian Journal of Physiology and Pharmacology
95(9):1019-1029.
Aggeborn, L., and Öhman, M. 2017. The Effects of Fluoride in the Drinking Water. Institute for Evaluation
of Labour Market and Education Policy, Uppsala, Sweden (Working Paper 2017:20, ISSN 1651-1166).
Agustina, F., Sofro, Z.M., and Partadiredja, G. 2018. Subchronic administration of high-dose sodium
fluoride causes deficits in cerebellar Purkinje cells but not motor coordination of rats. Biological Trace
Element Research [Epub ahead of print].
Akinrinade, I.D., Memudu, A.E., Ogundele, O.M., and Ajetunmobi, O.I. 2015a. Interplay of glia activation
and oxidative stress formation in fluoride and aluminium exposure. Pathophysiology 22(1):39-48.
Akinrinade, I.D., Memudu, A.E., and Ogundele, O.M. 2015b. Fluoride and aluminium disturb neuronal
morphology, transport functions, cholinesterase, lysosomal and cell cycle activities. Pathophysiology
22(2):05-15.
Alarcón-Herrera, M.T., Martín-Domínguez, I.R., Trejo-Vázquez, R., and Rodriguez-Dozal, S. 2001. Well
water fluoride, dental fluorosis, and bone fractures in the Guadiana Valley of Mexico. Fluoride 34:139-149.
Alhava, E.M., Olkkonen, H., Kauranen, P., and Kari, T. 1980. The effect of drinking water fluoridation on
the fluoride content, strength and mineral density of human bone. Acta Orthopaedica Scandinavica
51(3):413-20.
Alvarez, J.O. 1995. Nutrition, tooth development, and dental caries. Am. J. Clin. Nutr. 61S:410S-416S.
Alvarez, J.O., and Navia, J.M. 1989. Nutritional status, tooth eruption, and dental caries: a review. Am.
J. Clin. Nutr. 49:417-426.
Ameeramja, J., Raghunath, A., and Perumal, E. 2018. Tamarind seed coat extract restores fluoride-induced
hematological and biochemical alterations in rats. Environmental Science and Pollution Research
International 25(26):26157-26166.
An, J., Mei, S., Liu, A., Fu, Y., Wang, Q., Hu, L., and Ma, L. 1992. The effects of high fluoride on the level
of intelligence of primary and secondary students. Chinese Journal of Control of Endemic Diseases 7(2):93-
94.
An, N., Zhu, J., Ren, L., Liu, X. Zhou, T., Huang, H., Sun, L., Ding, Z., Li, Z., Cheng, X., and Ba, Y. 2019.
Trends of SHBG and ABP levels in male farmers: Influences of environmental fluoride exposure and ESR
alpha gene polymorphisms. Ecotoxicology and Environmental Safety 172:40-44.


                                                                                                           70
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 379 of 854
Food and Water Watch v. EPA                                                              Thiessen Report


Angmar-Mansson, B., and Whitford, G.M. 1982. Plasma fluoride levels and enamel fluorosis in the rat.
Caries Research 16:334-339.
Armstrong, W.D., Singer, L., and Makowski, E.L. 1970. Placental transfer of fluoride and calcium. Am. J.
Obstet. Gynecol. 107(3):432-434.
Arnala, I., Alhava, E.M., and Kauranen, P. 1985. Effects of fluoride on bone in Finland. Histomorphometry
of cadaver bone from low and high fluoride areas. Acta Orthopaedica Scandinavica 56(2):161-6.
Atmaca, N., Atmaca, H.T., Kanici, A., and Anteplioglu, T. 2014. Protective effect of resveratrol on sodium
fluoride-induced oxidative stress, hepatotoxicity and neurotoxicity in rats. Food and Chemical Toxicology
70:191-97.
ATSDR (Agency for Toxic Substances and Disease Registry). 2003. Toxicological Profile for Fluorides,
Hydrogen Fluoride, and Fluorine. U.S. Department of Health and Human Services, Public Health Service,
Agency for Toxic Substances and Disease Registry, Atlanta, GA, September 2003.
ATSDR (Agency for Toxic Substances and Disease Registry). 2018. Minimal Risk Levels (MRLs) for
Professionals (June 21, 2018). (https://www.atsdr.cdc.gov/mrls/index.asp; accessed November 29, 2018).
Ausó, E., Lavado-Autric, R., Cuevas, E., Escobar del Rey, F., Morreale de Escobar, G., and Berbel, P. 2004.
A moderate and transient deficiency of maternal thyroid function at the beginning of fetal neocorticogenesis
alters neuronal migration. Endocrinology 145(9):4037-4047.
Ba, Y., Zhang, H., Wang, G., Wen, S., Yang, Y., Zhu, J., Ren, L., Yang, R., Zhu, C., Li, H., Cheng, X., and
Cui, L. 2011. Association of dental fluorosis with polymorphisms of estrogen receptor gene in Chinese
children. Biol. Trace Elem. Res. 143:87-96.
Balaji, B., Kumar, E.P., and Kumar, A. 2015. Evaluation of standardized Bacopa monniera extract in
sodium fluoride induced behavioural, biochemical, and histopathological alterations in mice. Toxicology
and Industrial Health 31(1):18-30.
Banala, R.R., and Karnati, P.R. 2015. Vitamin A deficiency: an oxidative stress marker in sodium fluoride
(NaF) induced oxidative damage in developing rat brain. International Journal of Developmental
Neuroscience 47(Pt B):298-303.
Banji, D., Banji, O.J., Pratusha, N.G., and Annamalai, A.R. 2013. Investigation on the role of Spirulina
platensis in ameliorating behavioural changes, thyroid dysfunction and oxidative stress in offspring of
pregnant rats exposed to fluoride. Food Chemistry 140(1-2):321-31.
Barberio, A., Quiñonez, C., Hosein, F.S., and McLaren, L. 2017. Fluoride exposure and reported learning
disability diagnosis among Canadian children: Implications for community water fluoridation. Can. J.
Public Health 108(3):e229-e239.
Barnes, D.G., and Dourson, M. 1988. Reference Dose (RfD): Description and use in health risk
assessments. Regulatory Toxicology and Pharmacology 8:471-486.
Bartos, M., Gumilar, F., Bras, C., Gallegos, C.E., Giannuzzi, L., Cancela, L.M., and Minetti, A. 2015.
Neurobehavioural effects of exposure to fluoride in the earliest stages of rat development. Physiol. Behav.
147:205-212.




                                                                                                         71
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 380 of 854
Food and Water Watch v. EPA                                                            Thiessen Report


Bartos, M., Gumilar, F., Gallegos, C.E., Bras, C, Dominguez, S., Mónaco, N., Esandi, M.D.C., Bouzat, C.,
Cancela, L.M., and Minetti, A. 2018. Alterations in the memory of rat offspring exposed to low levels of
fluoride during gestation and lactation: Involvement of the α7 nicotinic receptor and oxidative stress.
Reproductive Toxicology 81:108-114.
Bartos, M., Gumilar, F., Gallegos, C.E., Bras, C., Dominguez, S., Cancela, L.M., and Minetti, A. 2019.
Effects of perinatal fluoride exposure on short- and long-term memory, brain antioxidant status, and
glutamate metabolism of young rat pups. International Journal of Toxicology (doi:
10.1177/1091581819857558. [Epub ahead of print].
Basha, P.M., and Madhusudhan, N. 2010. Pre and post natal exposure of fluoride induced oxidative
macromolecular alterations in developing central nervous system of rat and amelioration by antioxidants.
Neurochemical Research 35(7):1017-28.
Basha, P.M., Rai, P., and Begum, S. 2011a. Evaluation of fluoride-induced oxidative stress in rat brain: a
multigeneration study. Biological Trace Element Research 142(3):623-37.
Basha, P.M., Rai, P., and Begum, S. 2011b. Fluoride toxicity and status of serum thyroid hormones, brain
histopathology, and learning memory in rats: a multigenerational assessment. Biological Trace Element
Research 144(1-3):1083-94.
Basha, P.M., and Sujitha N.S. 2012a. Combined influence of intermittent exercise and temperature stress
on the modulation of fluoride toxicity. Biological Trace Element Research 148(1):69-75.
Basha, P.M., and Sujitha, N.S. 2012b. Combined impact of exercise and temperature in learning and
memory performance of fluoride toxicated rats. Biological Trace Element Research 150(1-3):306-13.
Basha, P.M., and Saumya, S.M. 2013. Suppression of mitochondrial oxidative phosphorylation and TCA
enzymes in discrete brain regions of mice exposed to high fluoride: amelioration by Panax ginseng
(Ginseng) and Lagerstroemia speciosa (Banaba) extracts. Cellular and Molecular Neurobiology 33(3):453-
64.
Bashash, M., Thomas, D., Hu, H., Martinez-Mier, E.A., Sanchez, B.N., Basu, N., Peterson, K.E., Ettinger,
A.S., Wright, R., Zhang, Z., Liu, Y., Schnaas, L., Mercado-García, A., Téllez-Rojo, M.M., and Hernández-
Avila, M. 2017. Prenatal fluoride exposure and cognitive outcomes in children at 4 and 6-12 years of age
in Mexico. Environmental Health Perspectives (https://doi.org/10.1289/EHP655).
Bashash, M., Marchand, M., Hu, H., Till, C., Martinez-Mier, E.G., Sanchez, B.N., Basu, N., Peterson, K.E.,
Green, R., Schnaas, L., Mercado-García, A., Hernández-Avila, MN., and Téllez-Rojo, M.M. 2018. Prenatal
fluoride exposure and attention deficit hyperactivity disorder (ADHD) symptoms in children at 6-12 years
of age in Mexico City. Environment International 121:658-666.
Bassin, E.B., Wypij, D., Davis, R.B., and Mittleman, M.A. 2006. Age-specific fluoride exposure in drinking
water and osteosarcoma (United States). Cancer Causes Control. 17(4):421-428.
Bayless, T.M., Brown, E., and Paige, D.M. 2017. Lactase non-persistence and lactose intolerance. Curr.
Gastroenterol. Rep. 19:23.
Belfort, M.B., Rifas-Shiman, S.L., Kleinman, K.P., Guthrie, L.B., Bellinger, D.C., Taveras, E.M., Gillman,
M.W., and Oken, E. 2013. Infant feeding and childhood cognition at ages 3 and 7 years: Effects of
breastfeeding duration and exclusivity. JAMA Pediatr. 167(9):836-844.
Bellinger, D.C. 2018. Environmental chemical exposures and neurodevelopmental impairments in children.
Pediatric Medicine (http://dx.doi.org/10.21037/pm.2018.11.03).




                                                                                                       72
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 381 of 854
Food and Water Watch v. EPA                                                                Thiessen Report


Bera, I., Sabatini, R., Auteri, P., Flace, P., Sisto, G., Montagnani, M., Potenza, M.A., Marasciulo, F.L.,
Carratu, M.R., Coluccia, A., Borracci, P., Tarullo, A., and Cagiano, R. 2007. Neurofunctional effects of
developmental sodium fluoride exposure in rats. European Review for Medical and Pharmacological
Sciences 11(4):211-24.
Bhagavatula Naga, P. 2009. Fluorosis in the early permanent dentition: Evaluating gene-environment
interactions. Master of Science thesis, University of Iowa, Iowa City, Iowa.
Bharti, V.K., and Srivastava, R.S. 2009. Fluoride-induced oxidative stress in rat's brain and its amelioration
by buffalo (Bubalus bubalis) pineal proteins and melatonin. Biological Trace Element Research 130(2):131-
40.
Bharti, V.K., and Srivastava, R.S. 2011. Effect of pineal proteins at different dose level on fluoride-induced
changes in plasma biochemicals and blood antioxidants enzymes in rats. Biological Trace Element
Research 141(1-3):275-82.
Bharti, V.K., Srivastava, R.S., Anand, A.K., and Kusum, K. 2012. Buffalo (Bubalus bubalis) epiphyseal
proteins give protection from arsenic and fluoride-induced adverse changes in acetylcholinesterase activity
in rats. Journal of Biochemical and Molecular Toxicology 26(1):10-5.
Blayney, J.R., and Hill, I.N. 1964. Evanston Dental Caries Study. XXIV. Prenatal fluorides—value of
waterborne fluorides during pregnancy. J. Am. Dental Association 69:291-294.
Boutwell, B.B., Young, J.T.N., and Meldrum, R.C. 2018. On the positive relationship between
breastfeeding & intelligence. Developmental Psychology 54(8):1426-1433.
Brambilla, E., Belluomo, G., Malerba, A., Buscaglia, M., and Strohmenger, L. 1994. Oral administration
of fluoride in pregnant women, and the relation between concentration in maternal plasma and in amniotic
fluid. Archs. oral Biol. 39(11):991-994.
Broadbent, J.M., Thomson, W.M., Ramrakha, S., Moffitt, T.E., Zeng, J., Foster Page, L.A., and Poulton,
R. 2015. Community water fluoridation and intelligence: Prospective study in New Zealand. American.
Journal of Public Health 105(1):72-76.
Broadbent, J.M., Thomson, W.M., Moffitt, T.E., and Poulton R. 2016. Broadbent et al. Respond. American
Journal of Public Health 106(2):213-4.
Brown-Riggs, C. 2016. Nutrition and health disparities: The role of dairy in improving minority health
outcomes. International Journal of Environmental Research and Public Health 13:28.
Bruening, K., Kemp, F.W., Simone, N., Holding, Y., Louria, D.B., and Bogden, J.D. 1999. Dietary calcium
intakes of urban children at risk of lead poisoning. Environmental Health Perspectives 107(6):431-435
Byers, K.G., and Savaiano, D.A. 2005. The myth of increased lactose intolerance in African-Americans. J.
American College of Nutrition 24(6):569S-573S.
Caldwell, K.L., Makhmudov, A., Ely, E., Jones, R.L., and Wang, R.Y. 2011. Iodine status of the U.S.
population, National Health and Nutrition Examination Survey, 2005-2006 and 2007-2008. Thyroid
21(4):419-427.
Call, R.A., Greenwood, D.A., LeCheminant, W.H., Shupe, J.L., Nielsen, H.M., Olson, L.E., Lamborn, R.E.,
Mangelson, F.L., and Davis, R.V. 1965. Histological and chemical studies in man on effects of fluoride.
Public Health Reports 80(6):529-538.
Cao, K., Xiang, J., Dong, Y.T., Xu, Y., Song, H., Zeng, X.X., Ran, L.Y., Hong, W., and Guan, Z.Z. 2019.
Exposure to fluoride aggravates the impairment in learning and memory and neuropathological lesions in
mice carrying the APP/PS1 double-transgenic mutation. Alzheimer’s Research & Therapy 11:35.



                                                                                                           73
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 382 of 854
Food and Water Watch v. EPA                                                            Thiessen Report


Carlson, C.H., Singer, L., and Armstrong, W.D. 1960. Radiofluoride distribution in tissues of normal and
nephrectomized rats. Proceedings of the Society for Experimental Biology and Medicine 103:418-20.
CDC (Centers for Disease Control and Prevention). 1993. Fluoridation Census 1992. Atlanta, GA, U.S.
Department of Health and Human Services.
CDC (Centers for Disease Control and Prevention). 2001. Recommendations for Using Fluoride to Prevent
and Control Dental Caries in the United States. Morbidity and Mortality Weekly Report 50(RR-14).
Atlanta, GA: U.S. Department of Health and Human Services, Centers for Disease Control and Prevention.
CDC (Centers for Disease Control and Prevention). 2005. Surveillance for Dental Caries, Dental Sealants,
Tooth Retention, Edentulism, and Enamel Fluorosis—United States, 1988-1994 and 1999-2002. Morbidity
and Mortality Weekly Report 54(SS3):1-43. Atlanta, GA: U.S. Department of Health and Human Services,
Centers for Disease Control and Prevention.
CDC (Centers for Disease Control and Prevention). 2008. Trace Elements: Iodine. In: National Report on
Biochemical Indicators of Diet and Nutrition in the U.S. Population 1999-2002. National Center for
Environmental Health, NCEH Pub. No. 08-2982c (July 2008).
CDC (Centers for Disease Control and Prevention). 2016. Water Fluoridation Data & Statistics. Division
of Oral Health, September 7, 2016. (https://www.cdc.gov/fluoridation/statistics/index.htm; retrieved
December 15, 2018).
CDC (Centers for Disease Control and Prevention). 2017. Results: Breastfeeding and Infant Feeding
Practices: Infant Feeding Practices Study II and Its Year Six Follow-Up. Chapter 3. Infant Feeding.
(https://www.cdc.gov/breastfeeding/data/ifps/results.htm#ch3; last reviewed December 5, 2017; retrieved
February 11, 2019).
CDC (Centers for Disease Control and Prevention). 2018. Results: Breastfeeding Rates. Breastfeeding
among      U.S.    Children     born     2009-2015,      CDC       National   Immunization    Survey.
(https://www.cdc.gov/breastfeeding/data/nis_data/results.html; last reviewed August 1, 2018; retrieved
February 6, 2019).
CDC (Centers for Disease Control and Prevention). Not dated. Rates of Any and Exclusive Breastfeeding
by         Socio-demographics           among           Children          Born        in        2015.
(https://www.cdc.gov/breastfeeding/data/nis_data/rates-any-exclusive-bf-socio-dem-2015.htm; retrieved
February 6, 2019).
Chachra, D., Limeback, H., Willett, T.L., and Grynpas, M.D. 2010. The long-term effects of water
fluoridation on the human skeleton. Journal of Dental Research 89(11):1219-23.
Chauhan, S.S., Ojha, S., and Mahmood, A. 2013. Effects of fluoride and ethanol administration on lipid
peroxidation systems in rat brain. Indian Journal of Experimental Biology 51:249-55.
Chen, Y., Han, F., Zhou, Z., Zhang, H., Jiao, X., Zhang, S., Huang, M., Chang, T., and Dong, Y. 1991.
Research on the intellectual development of children in high fluoride areas. Chinese Journal of Control of
Endemic Diseases 6 Suppl. 99-100. (Republished in Fluoride 2008, 41(2):120-124.)
Chen, J., Shan, K.R., Long, Y.G., Wang, Y.N., Nordberg, A., and Guan, Z.Z. 2003. Selective decreases of
nicotinic acetylcholine receptors in PC12 cells exposed to fluoride. Toxicology 183(1-3):235-42.
Chen, J., Niu, Q., Xia, T., Zhou, G., Li, P., Zhao, Q., Xu, C., Dong, L., Zhang, S., and Wang, A. 2018a.
ERK1/2-mediated disruption of BDNF–TrkB signaling causes synaptic impairment contributing to
fluoride–induced developmental neurotoxicity. Toxicology 410:222-230.




                                                                                                       74
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 383 of 854
Food and Water Watch v. EPA                                                                Thiessen Report


Chen, K., Didsbury, M., van Zwieten, An., Howell, M., Kim, S., Tong, A., Howard, K., Nassar, N., Barton,
B., Lah, S., Lorenzo,m J., Strippoli, G., Palmer, S., Teixeira-Pinto, A., Mackie, F., McTaggart, S., Walker,
A., Kara, T., Craig, J.C., and Wong, G. 2018b. Neurocognitive and educational outcomes in children and
adolescents with CKD: A systematic review and meta-analysis. Clin. J. Am. Soc. Nephrol. 13(3):387-397.
Cheng, K.K., Chalmers, I., and Sheldon, T.A. 2007. Adding fluoride to water supplies. BMJ 335:699-
702.
Chioca, L.R., Raupp, I.M., Da Cunha, C., Losso, E.M., and Andreatini, R. 2008. Subchronic fluoride intake
induces impairment in habituation and active avoidance tasks in rats. European Journal of Pharmacology
579(1-3):196-201.
Choi, A.L., Sun, G., Zhang, Y., and Grandjean, P. 2012. Developmental fluoride neurotoxicity: A
systematic review. Environmental Health Perspectives 120(10):1362-1368.
Choi, A.L., Grandjean, P., Sun, G., and Zhang, Y. 2013. Developmental fluoride neurotoxicity: Choi et al.
respond. Environmental Health Perspectives 121(3): A70.
Choi, A.L., Zhang, Y., Sun, G., Bellinger, D.C., Wang, K., Yang, X.J., Li, J.S., Zheng, Q., Fu, Y., and
Grandjean, P. 2015. Association of lifetime exposure to fluoride and cognitive functions in Chinese
children: A pilot study. Neurotoxicology and Teratology 47:96-101.
Chouhan, A., and Flora, S.J.S. 2008. Effects of fluoride on the tissue oxidative stress and apoptosis in rats:
biochemical assays supported by IR spectroscopy data. Toxicology 254(1-2):61-7.
Chouhan, S., Lomash, V., and Flora, S.J. 2010. Fluoride-induced changes in haem biosynthesis pathway,
neurological variables and tissue histopathology of rats. Journal of Applied Toxicology 30(1):63-73.
Coplan, M.J., Patch, S.C., Masters, R.D., and Bachman, M.S. 2007. Confirmation of and explanations for
elevated blood lead and other disorders in children exposed to water disinfection and fluoridation chemicals.
NeuroToxicology 28:1032-1042.
Cote, S., P. Geltman, M. Nunn, K. Lituri, M. Henshaw, and R.I. Garcia. 2004. Dental caries of refugee
children compared with US children.                Pediatrics 114:e733–e740.         [Available at
www.pediatrics.org/cgi/doi/10.1542/peds.2004-049]
Cui, Y.S., Zhong, Q., Li, W.F., Liu, Z.H., Wang, Y, Hou CC. 2017. The influence of fluoride exposure on
the changes of thyroid hormone levels and the intellectual impairment of offspring rats. Zhonghua Lao
Dong Wei Sheng Zhi Ye Bing Za Zhi (Chinese Journal of Industrial Hygiene and Occupational Diseases)
35(12):888-892.
Cui, Y., Zhang, B., Ma, J., Wang, Y., Zhao, L., Hou, C., Yu, J., Zhao, Y., Zhang, Z., Nie, J., Gao, T., Zhou,
G., and Liu, H. 2018. Dopamine receptor D2 gene polymorphism, urine fluoride, and intelligence
impairment of children in China: A school-based cross-sectional study. Ecotoxicology and Environmental
Safety 165:270-277.
Das, K., and Mondal, N.K. 2016. Dental fluorosis and urinary fluoride concentration as a reflection of
fluoride exposure and its impact on IQ level and BMI of children of Laxmisagar, Simlapal Block of Bankura
District, W.G., India. Environ. Monit. Assess. 188:218.
Dean, H.T. (1942). The investigation of physiological effects by the epidemiological method. In: Fluorine
and Dental Health, Publication of the American Association for the Advancement of Science, No. 19
(Moulton, F.R., editor), pp. 23-31.




                                                                                                           75
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 384 of 854
Food and Water Watch v. EPA                                                             Thiessen Report


Dec, K., Łukomska, A., Skonieczna-Żydecka, K., Kolasa-Wołosiuk, A., Tarnowski, M., Baranowska-
Bosiacka, I., and Gutowska, I. 2019. Long-term exposure to fluoride as a factor promoting changes in the
expression and activity of cyclooxygenases (COX1 and COX2) in various rat brain structures.
Neurotoxicology 74:81-90.
Desai, V.K., Solanki, D.M., and Bansal, R.K. 1993. Epidemiological study on goitre in endemic fluorosis
district of Gujarat. Fluoride 26:187-190.
DHEW (Department of Health, Education, and Welfare). 1979. Trends in Breast Feeding Among American
Mothers. Data from the National Survey of Family Growth, Series 23, No. 3. Hyattsville, MD, DHEW
Publication No. (PHS) 79-1979.
Ding, Y., Gao, Y., Sun, H., Han, H., Wang, W., Ji, X., Liu, X., and Sun, D. 2011. The relationships between
low levels of urine fluoride on children's intelligence, dental fluorosis in endemic fluorosis areas in
Hulunbuir, Inner Mongolia, China. Journal of Hazardous Materials 186:1942-1946.
Dong, Z., Wan, C., Zhang, X., and Liu, J. 1997. Determination of the contents of amino acid and
monoamine neurotransmitters in fetal brains from a fluorosis endemic area. Journal of Guiyang Medical
College 18(4):241-245.
Dong, Y.-T., Wang, Y., Wei, N., Zhang, Q.-F., and Guan, Z.-Z. 2015. Deficit in learning and memory of
rats with chronic fluorosis correlates with the decreased expressions of M1 and M3 muscarinic
acetylcholine receptors. Archives of Toxicology 89(11):1981-1991.
Dong, L., Yao, P., Chen, W., Li, P., and Shi, X. 2018. Investigation of dental fluorosis and intelligence
levels of children in drinking water-related endemic fluorosis area of Xi'an. Chinese Journal of
Endemiology 37(1):45-48.
Drinkard, C.R., Deaton, T.G., and Bawden, J.W. 1985. Enamel fluoride in nursing rats with mothers
drinking water with high fluoride concentrations. J. Dent. Res. 64(6):877-880.
Du, L., Wan, C., Cao, X., and Liu, J. 1992. The effect of fluorine on the developing human brain. Chinese
Journal of Pathology 21(4):218-220. English translation (2008) in Fluoride 41(4):327-330.
Duan, J., Zhao, M., Wang, L., Fang, D., Wang, Y., and Wang, W. 1995. A comparative analysis of the
results of multiple tests in patients with chronic industrial fluorosis. Guizhou Medical Journal 18(3):179-
80.
Duan, Q., Jiao, J., Chen, X., and Wang, X. 2018. Association between water fluoride and the level of
children's intelligence: A dose-response meta-analysis. Public Health 154:87-97.
Eble, D.M., Deaton, T.G., Wilson, F.C. Jr., and Bawden, J.W. 1992. Fluoride concentrations in human and
rat bone. Journal of Public Health Dentistry 52(5):288-91.
Elliott, L. 1967. Lack of effect of administration of fluoride on the central nervous system of rats. Acta
pharmacol. et toxicol. 25:323-328.
Ensembl release 94. 2018. rs1800497 (SNP) Population Genetics, October 2018. (http://www.ensembl.org;
accessed December 27, 2018).
Ensembl release 95. 2018. rs4680 (SNP) Population Genetics, January 2019. (http://www.ensembl.org;
accessed January 30, 2019).
EPA (Environmental Protection Agency). 1987. Fluorine (Soluble Fluoride) (CASRN 7782-41-4).
Integrated Risk Information System, U.S. Environmental Protection Agency (last updated January 31,
1987). Retrieved May 26, 2009, from http://www.epa.gov/ncea/iris/subst/0053.htm. Retrieved November
20, 2018, from https://cfpub.epa.gov/ncea/iris2/chemicalLanding.cfm?&substance_nmbr=53.



                                                                                                        76
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 385 of 854
Food and Water Watch v. EPA                                                         Thiessen Report


EPA (Environmental Protection Agency). 1989. Risk Assessment Guidance for Superfund, Volume I,
Human Health Evaluation Manual (Part A), EPA/540/1-89/002 (December 1989).
EPA (Environmental Protection Agency). 1998a. Guidelines for Neurotoxicity Risk Assessment,
EPA/630/R-95/001F (April 1998). Also published as Federal Register (1998) 63(93):26926-26954.
EPA (Environmental Protection Agency). 1998b. Health Effects Tests Guidelines. OPPTS 870.4100
Chronic Toxicity, EPA 712-C-98-210 (August 1998).
EPA (Environmental Protection Agency). 2000a. Estimated Per Capita Water Ingestion and Body Weight
in the United States, EPA-822-R-00-008 (April 2000).
EPA (Environmental Protection Agency). 2000b. Toxicological Review of Chlorine Dioxide and Chlorite
(CAS Nos. 10049-04-4 and 7758-19-2), EPA/635/R-00/007 (September 2000).
EPA (Environmental Protection Agency). 2001a. Summary of Toxicity Information for Chemicals Listed
in IRIS. Fluorine (soluble fluoride). Date of screening-level review: 05/01/2001. (Retrieved from EPA-
IRIS website, July 24, 2003.)
EPA (Environmental Protection Agency). 2001b. Screening-level review of the IRIS Database Phase I.
Evaluation of the Recent Literature and Determination of Currency for: Fluorine (CAS No. 7782-41-4).
(Retrieved from EPA-IRIS website, July 24, 2003.)
EPA (Environmental Protection Agency). 2002. A Review of the Reference Dose and Reference
Concentration Processes, EPA/630/P-02/002F (December 2002).
EPA (Environmental Protection Agency). 2003. Toxicological Review of Hydrogen Sulfide (CAS No.
7783-06-4), EPA/635/R-03/005 (June 2003).
EPA (Environmental Protection Agency). 2004a. 2004 Edition of the Drinking Water Standards and Health
Advisories, EPA 822-R-04-005 (Winter 2004).
EPA (Environmental Protection Agency). 2004b. Estimated Per Capita Water Ingestion and Body Weight
in the United States—An Update, EPA-822-R-00-001 (October 2004).
EPA (Environmental Protection Agency) 2005. Perchlorate (ClO4-) and Perchlorate Salts. Chemical
Assessment Summary (February 18, 2005).
EPA (Environmental Protection Agency). 2006. 2006 Edition of the Drinking Water Standards and Health
Advisories, EPA 822-R-06-013 (August 2006).
EPA (Environmental Protection Agency). 2008a. Toxicological Review of 2,2',4,4'-Tetrabromodiphenyl
Ether (BDE-47) (CAS No. 5436-43-1), EPA/635/R-07/005F (June 2008).
EPA (Environmental Protection Agency). 2008b. Toxicological Review of 2,2',4,4',5-Pentabromodiphenyl
Ether (BDE-99) (CAS No. 60348-60-9), EPA/635/R-07/006F (June 2008).
EPA (Environmental Protection Agency). 2008c. Toxicological Review of 2,2',4,4',5,5'-
Hexabromodiphenyl Ether (BDE-153) (CAS No. 68631-49-2), EPA/635/R-07/007F (June 2008).
EPA (Environmental Protection Agency). 2008d. Toxicological Review of Decabromodiphenyl Ether
(BDE-209) (CAS No. 1163-19-5), EPA/635/R-07/008F (June 2008).
EPA (Environmental Protection Agency). 2008e. Proposed Lead NAAQS Regulatory Impact Analysis
(June 2008). [https://www3.epa.gov/ttnecas1/docs/ria/naaqs-lead_ria_proposal_2008-06.pdf]
EPA (Environmental Protection Agency). 2009a. Integrated Risk Information System (IRIS), IRIS
Glossary. (http://www.epa.gov/ncea/iris/help_gloss.htm, retrieved May 26, 2009).



                                                                                                   77
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 386 of 854
Food and Water Watch v. EPA                                                        Thiessen Report


EPA (Environmental Protection Agency). 2009b. 2009 Edition of the Drinking Water Standards and Health
Advisories, EPA 822-R-09-011 (October 2009).
EPA (Environmental Protection Agency). 2009c. Toxicological Review of 2-Hexanone (CAS No. 591-78-
6), EPA/635/R-09/008F (September 2009).
EPA (Environmental Protection Agency). 2010a. Fluoride: Exposure and Relative Source Contribution
Analysis. EPA-820-R-10-015. Office of Water, U.S. Environmental Protection Agency. December 2010.
EPA (Environmental Protection Agency). 2010b. Fluoride: Dose-Response Analysis for Non-cancer
Effects. EPA-820-R-10-019. Office of Water, U.S. Environmental Protection Agency. December 2010.
EPA (Environmental Protection Agency). 2010c. Comment-Response Summary Report for the Peer
Review of the Fluoride: Dose-Response Analysis for Non-cancer Effects Document. EPA-820-R-10-016.
Office of Water, U.S. Environmental Protection Agency. November 2010. [This document includes the
April 2009 Peer Review Report.]
EPA (Environmental Protection Agency). 2011a. 2011 Edition of the Drinking Water Standards and Health
Advisories, EPA 820-R-11-002 (January 2011).
EPA (Environmental Protection Agency). 2011b. Recommended Use of Body Weight3/4 as the Default
Method in Derivation of the Oral Reference Dose, EPA 100-R11-0001.
EPA (Environmental Protection Agency). 2011c. EPA to develop regulation for perchlorate and toxic
chemicals in drinking water. News Release (February 2, 2011).
EPA (Environmental Protection Agency). 2012a. 2012 Edition of the Drinking Water Standards and Health
Advisories, EPA 822-S-12-001 (April 2012).
EPA (Environmental Protection Agency). 2012b. Sustainable Futures/P2 Framework Manual, EPA-748-
B12-001. [https://www.epa.gov/sustainable-futures/sustainable-futures-p2-framework-manual]
EPA (Environmental Protection Agency). 2013a. Toxicological Review of Methanol (Noncancer) (CAS
No. 67-56-1), EPA/635/R-11/001Fa (September 2013).
EPA (Environmental Protection Agency). 2013b. SAB Advice on Approaches to Derive a Maximum
Contaminant Level Goal for Perchlorate, EPA-SAB-13-004 (May 29, 2013).
EPA (Environmental Protection Agency). 2016. Toxicological Review of Trimethylbenzenes: Executive
Summary (CASRNs 25551-13-7, 95-63-6, 526-73-8, and 108-67-8), EPA/635/R-16/161Fa (September
2016).
EPA (Environmental Protection Agency). 2017a. Technical Fact Sheet - Perchlorate, EPA 505F-17-003
(November 2017).
EPA (Environmental Protection Agency). 2017b. Exposure Assessment Tools by Lifestages and
Populations - Highly Exposed or Other Susceptible Population Groups (November 29, 2017).
[https://www.epa.gov/expobox/exposure-assessment-tools-lifestages-and-populations-highly-exposed-or-
other-susceptible]
EPA (Environmental Protection Agency). 2018a. Toxicological Review of Hexahydro-1,3,5-trinitro-1,3,5-
triazine (RDX) (CASRN 121-82-4), EPA/635/R-18/211Fa (August 2018).
EPA (Environmental Protection Agency). 2018b. Defendants' second supplemental response to plaintiffs'
first set of interrogatories (October 9, 2018).
EPA (Environmental Protection Agency). 2018c. TSCA Section 5(a)(3) Determination for Premanufacture
Notice (PMN) P-18-0137 (October 15, 2018).



                                                                                                  78
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 387 of 854
Food and Water Watch v. EPA                                                            Thiessen Report


EPA (Environmental Protection Agency). 2018d. TSCA Section 5(a)(3) Determination for Premanufacture
Notice (PMN) P-18-0212 (November 30, 2018).
EPA (Environmental Protection Agency). 2018e. TSCA Section 5(a)(3) Determination for Premanufacture
Notice (PMN) P-17-0281 (December 4, 2018).
EPA (Environmental Protection Agency). 2018f. TSCA Section 5(a)(3) Determination for Premanufacture
Notice (PMN) P-18-0007-0008 (December 11, 2018).
EPA (Environmental Protection Agency). 2018g. TSCA Section 5(a)(3) Determination for Premanufacture
Notice (PMN) P-19-0006 (December 20, 2018).
EPA (Environmental Protection Agency). 2018h. TSCA Section 5(a)(3) Determination for Premanufacture
Notice (PMN) P-18-0221 (December 21, 2018).
EPA (Environmental Protection Agency). 2018i.                   Perchlorate in Drinking Water
(https://www.epa.gov/dwstandardsregulations/perchlorate-drinking-water; retrieved November 2, 2018).
EPA (Environmental Protection Agency). 2018j. Toxicological Review of Hexahydro-1,3,5-trinitro-1,3,5-
triazine (RDX) (CASRN 121-82-4), Supplemental Information, EPA/635/R-18/211Fb (August 2018).
EPA (Environmental Protection Agency). 2019. TSCA Section 5(a)(3) Determination for Premanufacture
Notice (PMN) P-18-0020 (February 25, 2019).
Featherstone, J.D.B. 2000. The science and practice of caries prevention. JADA 131:887-899.
Federal Register. 1985a. Environmental Protection Agency, 40 CFR Part 141, National Primary Drinking
Water Regulations; Fluoride. [Proposed Rules.] Federal Register 50(93):20164-20175.
Federal Register. 1985b. Environmental Protection Agency, 40 CFR Part 141, National Primary Drinking
Water Regulations; Fluoride. [Rules and Regulations.] Federal Register 50(220):47142-47155.
Federal Register. 1998. Environmental Protection Agency, Guidelines for Neurotoxicity Risk Assessment.
Federal Register 63(93):26926-26954.
Federal Register. 2011. Proposed HHS Recommendation for Fluoride Concentration in Drinking Water
for Prevention of Dental Caries. Federal Register 76(9):2383-2388, January 13, 2011.
Federal Register. 2015. Department of Health and Human Services, Public Health Recommendation for
Fluoride Concentration in Drinking Water for Prevention of Dental Caries. Federal Register 80(84):24936-
24947.
Federal Register. 2017. Environmental Protection Agency, Procedures for Chemical Risk Evaluation Under
the Amended Toxic Substances Control Act. Federal Register 82(138):33726-33753.
Fein, S.B., Labiner-Wolfe, J., Shealy, K.R., Li, R., Chen, J., and Grummer-Strawn, L.M. 2008. Infant
Feeding Practices Study II: Study methods. Pediatrics 122:S28-S35.
Feltman, R., and Kosel, G. 1961. Prenatal and postnatal ingestion of fluorides—Fourteen years of
investigation. Final report. J. Dent. Med. 16:190-198.
Ferry, J.L. 1944. Memo to Col. Stafford L. Warren, U.S. Engineer Office, Oak Ridge, Tennessee (April 29,
1944).
Finn, S.B. 1952. Prevalence of dental caries. In: A Survey of the Literature of Dental Caries. Washington,
DC: National Academy of Sciences, Publication 225, pp. 117-173.
Finn, S.B., and R.C. Caldwell. 1963. Dental caries in twins. I. A comparison of the caries experience of
monozygotic twins, dizygotic twins and unrelated children. Archives of Oral Biology 8:571-585.



                                                                                                       79
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 388 of 854
Food and Water Watch v. EPA                                                                Thiessen Report


Flora, S.J., Mittal, M., and Mishra, D. 2009. Co-exposure to arsenic and fluoride on oxidative stress,
glutathione linked enzymes, biogenic amines and DNA damage in mouse brain. Journal of the Neurological
Sciences 285(1-2):198-205.
Flora, S.J., Mittal, M., Pachauri, V., and Dwivedi, N. 2012. A possible mechanism for combined arsenic
and fluoride induced cellular and DNA damage in mice. Metallomics 4(1):78-90.
Fomon, S.J. 2001. Infant feeding in the 20th century: Formula and beikost. J. Nutrition 131:409S-420S.
Fomon, S.J., and Ekstrand, J. 1999. Fluoride intake by infants. J. Public Health Dent. 59(4):229-234.
Fomon, S.J., Ekstrand, J., and Ziegler, E.E. 2000. Fluoride intake and prevalence of dental fluorosis: Trends
in fluoride intake with special attention to infants. J. Public Health Dent. 60(3):131-139.
Forsman, B. 1974. Dental fluorosis and caries in high-fluoride districts in Sweden. Community Dent. Oral
Epidemiol. 2:132-148.
Forsman, B. 1977. Early supply of fluoride and enamel fluorosis. Scand. J. Dent. Res. 85:22-30.
Fulgoni, V., III, Nicholls, J., Reed, A., Buckley, R., Kafer, K., Huth, P., DiRienzo, D., and Miller, G.D.
2007. Dairy consumption and related nutrient intake in African-American adults and children in the United
States: Continuing Survey of Food Intakes by Individuals 1994-1996, 1998, and the National Health and
Nutrition Examination Survey 1999-2000. J. American Dietetic Association 107:256-264.
Galetti, P.M., and Joyet, G. 1958. Effect of fluorine on thyroidal iodine metabolism in hyperthyroidism.
The Journal of Clinical Endocrinology and Metabolism 18(10):1102-10.
Gao, Q., Liu, Y.J., and Guan Z.Z. 2008. Oxidative stress might be a mechanism connected with the
decreased alpha 7 nicotinic receptor influenced by high-concentration of fluoride in SH-SY5Y
neuroblastoma cells. Toxicology in Vitro 22(4):837-43. Erratum in: Toxicology in Vitro 22(7):1814.
Ge, Y., Niu, R., Zhang, J., and Wang, J. 2011. Proteomic analysis of brain proteins of rats exposed to high
fluoride and low iodine. Archives of Toxicology 85(1):27-33.
Ge, Y., Chen, L., Yin, Z., Song, X., Ruan, T., Hua, L., Liu, J., Wang, J., and Ning, H. 2018. Fluoride-
induced alterations of synapse-related proteins in the cerebral cortex of ICR offspring mouse brain.
Chemosphere 201:874-883.
Gedalia, I., Brzezinski, A., Zukerman, H., and Mayersdorf, A. 1964. Placental transfer of fluoride in the
human fetus at low and high F-intake. J. Dent. Res. 43(5):669-671.
Geeraerts, F., Gijs, G., Finné, E., and Crokaert, R. 1986. Kinetics of fluoride penetration in liver and brain.
Fluoride 19(3):108-112.
Gori, S., Inno, A., Lunardi, G., Gorgoni, G., Malfatti, V., Severi, F., Alongi, F., Carbognin, G., Romano,
L., Pasetto, S., and Salgarello, M. 2015. 18F-Sodium fluoride PET-CT for the assessment of brain
metastasis from lung adenocarcinoma. Journal of Thoracic Oncology 10(8):e67-e68.
Goschorska, M., Baranowska-Bosiacka, I., Gutowska, I., Metryka, E., Skórka-Majewicz, M., and Chlubek,
D. 2018. Potential role of fluoride in the etiopathogenesis of Alzheimer's disease. Int. J. Molecular Sciences
19:3965.
Goyer, R.A. 1995. Nutrition and metal toxicity. Am. J. Clin. Nutr. 61(suppl):646S-650S.
Grandjean, P., and Landrigan, P.J. 2006. Developmental neurotoxicity of industrial chemicals. Lancet
368:2167-2178.
Grandjean, P., and Landrigan, P.J. 2014. Neurobehavioural effects of developmental toxicity. Lancet
Neurology 13:330-338.


                                                                                                            80
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 389 of 854
Food and Water Watch v. EPA                                                               Thiessen Report


Green, R. 2018. Prenatal fluoride exposure and neurodevelopmental outcomes in a national birth cohort.
Master of Arts thesis, York University, Toronto, Ontario.
Grummer-Strawn, L.M., Scanlon, K.S., and Fein, S.B. 2008. Infant feeding and feeding transitions during
the first year of life. Pediatrics 122:S36-S42.
Gui, C.Z., Ran, L.Y., Li, J.P., and Guan Z.Z. 2010. Changes of learning and memory ability and brain
nicotinic receptors of rat offspring with coal burning fluorosis. Neurotoxicology and Teratology 32(5):536-
41.
Güner, S., Uyar-Bozkurt, S., Haznedaroglu, E., and Mentes, A. 2016. Dental fluorosis and catalase
Immunoreactivity of the Brain Tissues in rats exposed to high fluoride pre-and postnatally. Biological Trace
Element Research 174(1):150-157.
Guo, X., Wang, R., Cheng, C., Wei, W., Tang, L., Wang, Q., Tang, D., Liu, G., He, G., and Li, S. 1991. A
preliminary investigation of the IQs of 7-13 year old children from an area with coal burning-related
fluoride poisoning. Chinese Journal of Endemiology 10(2):98-100 (republished in Fluoride 2008;
41(2):125–28).
Guo, Z., He, Y., and Zhu, Q. 2001. Research on the neurobehavioral function of workers occupationally
exposed to fluoride. Industrial Health and Occupational Diseases 27(6):36-8. (English translation published
in Fluoride 2008, 41(2):152-155.)
Gupta, S., Seth, A.K., Gupta, A., and Gavane, A.G. 1993. Transplacental passage of fluoride. The Journal
of Pediatrics 123(1):139-141.
Haddow, J.E., Palomaki, G.E., Allan, W.C., Williams, J.R., Knight, G.J., Gagnon, J., O'Heir, C.E., Mitchell,
M.L., Hermos, R.J., Waisbren, S.E., Faix, J.D., and Klein, R.Z. 1999. Maternal thyroid deficiency during
pregnancy and subsequent neuropsychological development of the child. NEJM 341(8):549-555.
Hamasha, A.A., J.J. Warren, S.M. Levy, B. Broffitt, and M.J. Kanellis. 2006. Oral health behaviors of
children in low and high socioeconomic status families. Pediatr. Dent. 28(4):310-315.
Hamza, R.Z., El-Shenawy, N.S. and Ismail, H.A. 2015. Protective effects of blackberry and quercetin on
sodium fluoride-induced oxidative stress and histological changes in the hepatic, renal, testis and brain
tissue of male rat. Journal of Basic and Clinical Physiology and Pharmacology 26(3):237-51.
Han, H., Du, W., Zhou, B., Zhang, W., Xu, G., Niu, R., and Sun, Z. 2014. Effects of chronic fluoride
exposure on object recognition memory and mRNA expression of SNARE complex in hippocampus of
male mice. Biological Trace Element Research 158:58–64.
Hanhijärvi, H., Kanto, J., and Ruponen, S. 1974. Human free ionized plasma fluoride concentrations during
pregnancy, toxemia, and lactation. Fluoride 7(3):143-146.
Harriehausen, C.X., Dosani, F.,Z., Chiquet, B.T., Barratt, M.S., and Quock, R.L. 2019. Fluoride intake of
infants from formula. J. Clinical Pediatric Dentistry. 43(1):34-41.
Hassan, H.A., and Abdel-Aziz, A.F. 2010. Evaluation of free radical-scavenging and anti-oxidant properties
of black berry against fluoride toxicity in rats. Food and Chemical Toxicology 48(8-9):1999-2004.
He, H., Cheng, Z., and Liu, W.Q. 1989. Effects of fluorine on the human fetus. Chinese Journal of Control
of Endemic Diseases 4(3):136-138. English translation (2008) in Fluoride (41(4):321-326.
Heilman, J.R., Kiritsy, M.C., Levy, S.M., and Wefel, J.S. 1999. Assessing fluoride levels of carbonated soft
drinks. JADA 130:1593-1599.
Heller, K.E., Eklund, S.A., and Burt, B.A. 1997. Dental caries and dental fluorosis at varying water fluoride
concentrations. J. Public Health Dentistry 57(3):136-143.


                                                                                                          81
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 390 of 854
Food and Water Watch v. EPA                                                               Thiessen Report


Hillman, D., Bolenbaugh, D.L., and Convey, E.M. 1979. Hypothyroidism and anemia related to fluoride in
dairy cattle. Journal of Dairy Science 62(3):416-23.
Hirtz, D., Campbell, C., and Lanphear, B. 2017. Targeting environmental neurodevelopmental risks to
protect children. Pediatrics Perspectives 139(2):e20162245.
Hodge, H.C. 1950. The concentration of fluorides in drinking water to give the point of minimum caries
with maximum safety. J. Am. Dental Association 40(4):436-439.
Hong, L., Levy, S.M., Broffitt, B., Warren, J.J., Kanellis, M.J., Wefel, J.S., and Dawson, D.V. 2006a.
Timing of fluoride intake in relation to development of fluorosis on maxillary central incisors. Community
Dent. Oral Epidemiol. 34:299-309.
Hong, L., Levy, S.M., Warren, J.J., Broffitt, B., and Cavanaugh, J. 2006b. Fluoride intake levels in relation
to fluorosis development in permanent maxillary central incisors and first molars. Caries Research 40:494-
500.
Horta, B.L., de Mola, C.L., and Victora, C.G. 2015. Breastfeeding and intelligence: A systematic review
and meta-analysis. Acta Paediatrica 104:14-19.
Horta, B.L., de Sousa, B.A., and de Mola, C.L. 2018. Breastfeeding and neurodevelopmental outcomes.
Curr. Opin. Clin. Nutr. Metab. Care 21(3):174-178.
Huang, H., Ba, Y., Cui, L., Cheng, X., Zhu, J., Zhang, Y., Yan, P., Zhu, C., Kilfoy, B., and Zhang, Y. 2008.
COL1A2 gene polymorphisms (Pvu II and Rsa I), serum calciotropic hormone levels, and dental fluorosis.
Community Dentistry and Oral Epidemiology 36:517-522.
Hudson, J.T., Stookey, G.K., and Muhler, J.C. 1967. The placental transfer of fluoride in the guinea pig.
Archives of Oral Biology 12(2):237-46.
Hussien, H.M., Abd-Elmegied, A., Ghareeb, D.A., Hafez, H.S., Ahmed, H.E.A., and El-Moneam, N.A.
2018. Neuroprotective effect of berberine against environmental heavy metals-induced neurotoxicity and
Alzheimer's-like disease in rats. Food and Chemical Toxicology 111:432-444.
Ibarra-Santan, C., Ruiz-Rodríguez, M. del S., Fonseca-Leal, M. del P., Gutiérrez-Cantú, F.J., and Pozos-
Guillén, A. de J. 2007. Enamel hypoplasia in children with renal disease in a fluoridated area. J. Pediatric
Dentistry 31(4):274-278.
ICAIR. 1985. Drinking water criteria document on fluoride. Preliminary draft prepared for the U.S.
Environmental Protection Agency, TR-832-5, October 21, 1985.
Iheozor-Ejiofor, Z., Worthington, H.V., Walsh, T., O'Malley, L., Clarkson, J.E., Macey, R., Alam, R.,
Tugwell, P., Welch, V., and Glenny, A.M. 2015. Water fluoridation for the prevention of dental caries.
Cochrane Database of Systematic Reviews Issue 6, Article No. CD-01856.
Iida, H., and Kumar, J.V. 2009. The association between enamel fluorosis and dental caries in U.S.
schoolchildren. JADA 140:855-862.
Inkielewicz-Stepniak, I., and Czarnowski, W. 2010. Oxidative stress parameters in rats exposed to fluoride
and caffeine. Food and Chemical Toxicology 48(6):1607-11.
Itai, K., Onoda, T., Nohara, M., Ohsawa, M., Tanno, K., Sato, T., Kuribayashi, T., and Okayama, A. 2010.
Serum ionic fluoride concentrations are related to renal function and menopause status but not to age in a
Japanese general population. Clinica Chimica Acta 411(3-4):263-6.
Jackson, K.A., and Savaiano, D.A. 2001. Lactose maldigestion, calcium intake and osteoporosis in
African-, Asian-, and Hispanic-Americans. J. American College of Nutrition 20(2):198S-2078S.



                                                                                                          82
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 391 of 854
Food and Water Watch v. EPA                                                                Thiessen Report


Jarvis, J.K., and Miller, G.D. 2002. Overcoming the barrier of lactose intolerance to reduce health
disparities. J. National Medical Association 94(2):55-66.
Jetti, R., Raghuveer, C.V., and Mallikarjuna, R.C. 2016. Protective effect of ascorbic acid and Ginkgo
biloba against learning and memory deficits caused by fluoride. Toxicology and Industrial Health
32(1):183-7.
Jia, B., Zong, L., Lee, J.Y., Lei, J., Zhu, Y., Xie, H., Clemens, J.L., Feller, M.C., Na, Q., Dong, J., McLane,
M.W., Jones-Beatty, K., and Burd, I. 2019. Maternal supplementation of low dose fluoride alleviates
adverse perinatal outcomes following exposure to intrauterine inflammation. Scientific Reports 9(1):2575.
Jiang, S., Su, J., Yao, S., Zhang, Y., Cao, F., Wang, F., Wang, H., Li, J., and Xi, S. 2014a. Fluoride and
arsenic exposure impairs learning and memory and decreases mGluR5 expression in the hippocampus and
cortex in rats. PLoS One 23;9(4):e96041.
Jiang, C., Zhang, S., Liu, H., Guan, Z., Zeng, Q., Zhang, C., Lei, R., Xia, T., Wang, Z., Yang, L., Chen, Y.,
Wu, X., Zhang, X., Cui, Y., Yu, L., and Wang, A. 2014b. Low glucose utilization and neurodegenerative
changes caused by sodium fluoride exposure in rat’s developmental brain. Neuromolecular Med. 16(1):94-
105.
Jiang, M., Mu, L., Wang, Y., Yan, W., Jiao, Y. 2015. The relationship between Alu I polymorphisms in the
calcitonin receptor gene and fluorosis endemic to Chongqing, China. Medical Principles and Practice 24:80-
83.
Jiang, P., Li, G., Zhou, X., Wang, C., Qiao, Y., Liao, D., and Shi, D. 2019. Chronic fluoride exposure
induces neuronal apoptosis and impairs neurogenesis and synaptic plasticity: Role of GSK-3β/β-catenin
pathway. Chemosphere 214:430-435.
Jones, R.P., and Iagaru, A. 2014. 18F NaF brain metastasis uptake in a patient with melanoma. Clinical
Nuclear Medicine 39(10):e448-50.
Jooste, P.L., Weight, M.J., Kriek, J.A., and Louw, A.J. 1999. Endemic goitre in the absence of iodine
deficiency in schoolchildren of the Northern Cape Province of South Africa. Eur. J. Clin. Nutr. 53:8-12.
Juárez-López, M.L.A., Huízar-Álvarez, R., Molina-Frechero, N., Murrieta-Pruneda, F., and Cortés-
Aguilera, Y. 2011. Fluorine in water and dental fluorosis in a community of Queretaro State Mexico. J.
Environ. Protection 2:744-749.
Kanazawa, S. 2015. Breastfeeding is positively associated with child intelligence even net of parental IQ.
Developmental Psychology 51(12):1683-1689.
Kang, Y.J., Zolina L., and Manson, J.M. 1986. Strain differences in response of Sprague-Dawley and Long
Evans Hooded rats to the teratogen Nitrofen. Teratology 34:213-23.
Karimzade, S., Aghaei, M., and Mahvi, A.H. 2014a. Investigation of intelligence quotient in 9-12-year-old
children exposed to high- and low-drinking water fluoride in West Azerbaijan province, Iran. Fluoride
47(1):9-14.
Karimzade, S., Aghaei, M., and Mahvi, A.H. 2014b. IQ of 9–12-year-old children in high- and low-drinking
water F areas in West Azerbaijan province, Iran: further information on the two villages in the study and
the confounding factors considered. Letter to the editor; Fluoride 47(3):266-271.
Kaur, T., Bijarnia, R.K., and Nehru, B. 2009. Effect of concurrent chronic exposure of fluoride and
aluminum on rat brain. Drug and Chemical Toxicology 32(3):215-21.
Khan, S.A., Singh, R.K., Navit, S., Chadha, D., Johri, N., Navit, P., Sharma, A., Bahuguna, R. 2015.
Relationship between dental fluorosis and Intelligence Quotient of school going children in and around
Lucknow District: A cross-sectional study. J. Clinical and Diagnostic Research 9(11):ZC10-ZC15.

                                                                                                            83
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 392 of 854
Food and Water Watch v. EPA                                                              Thiessen Report


Khan, A.M., Raina, R., Dubey, N., and Verma, P.K. 2018. Effect of deltamethrin and fluoride co-exposure
on the brain antioxidant status and cholinesterase activity in Wistar rats. Drug and Chemical Toxicology
41(2):123-127.
Khatun, S., Mandi, M., Rajak, P., and Roy, S. 2018. Interplay of ROS and behavioral pattern in fluoride
exposed Drosophila melanogaster. Chemosphere. 209:220-231.
Kim, F.M., Hayes, C., Williams, P.L., Whitford, G.M., Joshipura, K.J., Hoover, R.N., Douglass, C.W., and
the National Osteosarcoma Etiology Group. 2011. An assessment of bone fluoride and osteosarcoma. J.
Dent. Res. 90(10):1171-1176.
Kinawy, A.A. 2019. Synergistic oxidative impact of aluminum chloride and sodium fluoride exposure
during early stages of brain development in the rat. Environmental Science and Pollution Research
International [Epub ahead of print].
Kinawy, A.A., and Al-Eidan, A.A. 2018. Impact of prenatal and postnatal treatment of sodium fluoride and
aluminum chloride on some hormonal and sensorimotor aspects in rats. Biological Trace Element Research
186(2):441-448.
Kiritsy, M.C., Levy, S.M., Warren, J.J., Guha-Chowdhury, N., Heilman, J.R., and Marshall, T. 1996. JADA
127:895-902.
Klein, R.Z., Sargent, J.D., Larsen, P.R.,, Waisbren, S.E., Haddow, J.E., and Mitchell, M.L. 2001. Relation
of severity of maternal hypothyroidism to cognitive development of offspring. J. Med. Screen. 8:18-20.
Ko, L., and Thiessen, K.M. 2015. A critique of recent economic evaluations of community water
fluoridation. International Journal of Occupational and Environmental Health 21(2):91-120.
Komárek, A., Lesaffre, E., Härkänen, T., Declerck, D., and Virtanen, J.I. 2005. A Bayesian analysis of
multivariate doubly-interval-censored dental data. Biostatistics 6(1):145-155.
Kooistra, L., Crawford, S., van Baar, A.L., Brouwers, E.P., and Pop, V.J. 2006. Neonatal effects of maternal
hypothytroxinemia during early pregnancy. Pediatrics 117(1):161-167.
Küchler, E.C., Bruzamolin, C.D., Omori, M.A., Costa, M.C., Antunes, L.S., Pecharki, G.D., Trevilatto,
P.C., Vieira, A.R., and Brancher, J.A. 2018. Polymorphisms in nonamelogenin enamel matrix genes are
associated with dental fluorosis. Caries Research 52:1-6.
LaFranchi, S.H., Haddow, J.E., and Hollowell, J.G. 2005. Is thyroid inadequacy during gestation a risk
factor for adverse pregnancy and developmental outcomes? Thyroid 15(1):60-71.
Landrigan, P.J., Kimmel, C.A., Correa, A., and Eskenazi, B. 2004. Children's health and the environment:
Public health issues and challenges for risk assessment. Environmental Health Perspectives 112(2):257-
265.
Lanphear, B.P. 2015. The impact of toxins on the developing brain. Annu. Rev. Public Health 36:211-230.
Lanphear, B.P. 2017. Low-level toxicity of chemicals: No acceptable levels? PLoS Biol. 15(12):e2003066.
Lavado-Autric, R., Ausó, E., García-Velasco, J.V., Arufe, M.del C., Escobar del Rey, F., Berbel, P., and
Morreale de Escobar, G. 2003. Early maternal hypothyroxiniemia alters histogenesis and cerebral cortex
cytoarchitecture of the progeny. J. Clin. Invest. 111(7):1073-1082.
Lavryashina, M.B., Uljanova, M.V., Druzhinin, V.G., and Tolochko, T.A. 2003. A study of the genetic
basis of susceptibility to occupational fluorosis in aluminum industry workers of Siberia. Russian Journal
of Genetics 39(7):823-827.
Lazic, S.E., and Essioux, L. 2013. Improving basic and translational science by accounting for litter-to-
litter variation in animal models. BMC Neuroscience 22;14:37.

                                                                                                         84
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 393 of 854
Food and Water Watch v. EPA                                                                Thiessen Report


Lehman, A.J., and Fitzhugh, O.G. 1954. 100-fold margin of safety. Association of Food & Drug Officials
of the United States, Quarterly Bulletin XVIII(1):33-35.
Leite, G.A.S., Sawan, R.M.M., Teófilo, J.M., Porto, I.M., Sousa, F.B., and Gerlach, R.F. 2011. Exposure
to lead exacerbates dental fluorosis. Archives of Oral Biology 56(7):695-702.
Leone, N.C., Shimkin, M.B., Arnold, F.A., Stevenson, C.A., Zimmermann, E.R., Geiser, P.B., and
Lieberman, J.E. 1954. Medical aspects of excessive fluoride in a water supply. Public Health Reports
69(10):925-36.
Leone, N.C., Arnold, F.A. Jr.., Zimmermann E.R., Geiser P.B., and Lieberman, J.E. 1955a. Review of the
Bartlett-Cameron survey: a ten year fluoride study. Journal of the American Dental Association 50(3):277-
81.
Leone, N.C., Stevenson, C.A., Hilbish, T.F., and Sosman, M.C. 1955b. A roentgenologic study of a human
population exposed to high-fluoride domestic water; a ten-year study. The American Journal of
Roentgenology, Radium Therapy, and Nuclear Medicine 74(5):874-85.
Levy, S.M., Warren, J.J., and Broffitt, B. 2003. Patterns of fluoride intake from 36 to 72 months of age.
Journal of Public Health Dentistry 63(4):211-20.
Li, Y., Li, X., and Wei, S. 1994. Effects of high fluoride intake on child mental work capacity: Preliminary
investigation into the mechanisms involved. Journal of West China University of Medical
Sciences 25(2):188-91 (English translation in Fluoride 2008; 41:331-35).
Li, X.S., Zhi, J.L., and Gao, R.O. 1995. Effect of fluoride exposure on intelligence in children. Fluoride
28:189-192.
Li, J., Yao, L., Shao, Q.L., and Wu, C.Y. 2004. Effects of high fluoride level on neonatal neurobehavioral
development. Chinese Journal of Endemiology 23(5):463-5. English translation in Fluoride 41(2):165-170
(2008).
Li, Y., Tafti, B.A., Shaba, W., and Berenji, G.R. 2011. Extraosseus uptake of F-18 fluoride in the primary
malignancy and cerebral metastasis in a case of non-small-cell lung cancer. Clinical Nuclear Medicine
36(7):609-11.
Li, M., Gao, Y., Cui, J., Li, Y., Li, B., Liu, Y., Sun, J., Liu, X., Liu, H., Zhao, L., and Sun, D. 2016.
Cognitive impairment and risk factors in elderly people living in fluorosis areas in China. Biological Trace
Element Research 172(1):53-60.
Li, B.-Y., Yang, Y.-M., Liu, Y., Sun, J., Ye, Y., Liu, X.-N., Liu, H.-X., Sun, Z.-Q., Li, M., Cui, J., Sun, D.-
J., and Gao, Y.-H. 2017. Prolactin rs1341239 T allele may have protective role against the brick tea type
skeletal fluorosis. PLoS One 12(2):e0171011.
Li, X., Zhang, J., Niu, R., Manthari, R.K., Yang, K., and Wang, J. 2019. Effect of fluoride exposure on
anxiety- and depression-like behavior in mouse. Chemosphere 215:454-460.
Lin, F.F., Aihaiti, Zhao, H.X., Lin, J., Jiang, J.Y., Maimaiti, and Aiken. 1991. The relationship of a low-
iodine and high-fluoride environment to subclinical cretinism in Xinjiang. IDD Newsletter 7:24-25.
Liu, J., Xia, T., Zhang, M., He, W., He, P., Chen, X., Yang, K., and Wang, A. 2006. Screening of
environmental response genes related to dental fluorosis. Fluoride 39(3):195-201.
Liu, Y.J., Gao, Q., Wu, C.X., and Guan, Z.Z. 2010. Alterations of nAChRs and ERK1/2 in the brains of
rats with chronic fluorosis and their connections with the decreased capacity of learning and memory.
Toxicology Letters (3):324-329.




                                                                                                            85
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 394 of 854
Food and Water Watch v. EPA                                                             Thiessen Report


Liu, Y.J., Guan, Z.Z., Gao, Q., and Pei, J.J. 2011. Increased level of apoptosis in rat brains and SH-SY5Y
cells exposed to excessive fluoride–a mechanism connected with activating JNK phosphorylation.
Toxicology Letters 204(2-3):183-189.
Liu, F., Ma, J., Zhang, H., Liu, P., Liu, Y.P., Xing, B., and Dang, Y.H. 2014. Fluoride exposure during
development affects both cognition and emotion in mice. Physiology & Behavior 124:1-7.
Long, Y.-G., Wang, Y.-N., Chen, J., Jiang, S.-F., Nordberg, A., and Guan, Z.-Z. 2002. Chronic fluoride
toxicity decreases the number of nicotinic acetylcholine receptors in rat brain. Neurotoxicology and
Teratology 24:751-757.
Lou, D.D., Guan, Z.Z., Liu, Y.J., Liu, Y.F., Zhang, K.L., Pan, J.G., and Pei, J.J. 2013. The influence of
chronic fluorosis on mitochondrial dynamics morphology and distribution in cortical neurons of the rat
brain. Archives of Toxicology 87(3):449-57.
Lu, F.C., Mazurkiewicz, I.M., Grewal, R.S., Allmark, M.G., and Boivin, P. 1961. The effect of sodium
fluoride on responses to various central nervous system agents in rats. Toxicology and Applied
Pharmacology 3:31-8.
Lu, Y., Sun, Z.R., Wu, L.N., Wang, X., Lu, W., and Liu, S.S. 2000. Effect of high-fluoride water on
intelligence of children. Fluoride 33:74-78.
Luke, J. 2001. Fluoride deposition in the aged human pineal gland. Caries Research 35:125-128.
Luo, G., Niu, R., Sun, Z., Zhang, J., Wang, J., Wang, C., and Wang, J. 2011. Reduction of CAMKII
expression in the hippocampus of rats from ingestion of fluoride and/or lead. Fluoride 44(2):63–69.
Ma, J., Liu, F., Liu, P., Dong, Y.Y., Chu, Z., Hou, T.Z., and Dang, Y.H. 2015. Impact of early
developmental fluoride exposure on the peripheral pain sensitivity in mice. International Journal of
Developmental Neuroscience 47(Pt B):165-171.
Ma, Q., Huang, H., Sun, L., Zhou, T., Zhu, J., Cheng, X., Duan, L., Li, Z., Cui, L., and Ba, Y. 2017. Gene-
environment interaction: Does fluoride influence the reproductive hormones in male farmers modified by
ERa gene polymorphisms? Chemosphere 188:525-531.
Maas, R.P., Patch, S.C., Christian, A.-M., and Coplan, M.J. 2007. Effects of fluoridation and disinfection
agent combinations on lead leaching from leaded-brass parts. NeuroToxicology 28:1023-1031.
Madero, M., Gul, A., and Sarnak, M.J. 2008. Cognitive function in chronic kidney disease. Seminars in
Dialysis 21(1):29-37.
Malhotra, A., Tewari, A., Chawla, H.S., Gauba, K., and Dhall, K. 1993. Placental transfer of fluoride in
pregnant women consuming optimum fluoride in drinking water. J. Indian Soc. Pedo. Prev. Dent. 11:1-3.
Malin, A.J., Riddell, J., McCague, H., and Till, C. 2018. Fluoride exposure and thyroid function among
adults living in Canada: Effect modification by iodine status. Environment International 121:667-674.
Mansour, H.H., and Tawfik, S.S. 2012. Efficacy of lycopene against fluoride toxicity in rats.
Pharmaceutical Biology 50(6):707-11.
Marier, J.R. 1977. Some current aspects of environmental fluoride. The Science of the Total Environment
8:253-265.
Martin, O.V., Martin, S., and Kortenkamp, A. 2013. Dispelling urban myths about default uncertainty
factors in chemical risk assessment: Sufficient protection against mixture effects? Environmental Health
12:53.
Marumo, F., and Iwanami, S. 2001. High fluoride concentrations in the serum and bone of patients with
chronic renal failure [conference abstract]. Fluoride 34(3):213.

                                                                                                        86
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 395 of 854
Food and Water Watch v. EPA                                                             Thiessen Report


McCauley, H.B., and McClure, F.J. 1954. Effect of fluoride in drinking water on the osseous development
of the hand and wrist in children. Public Health Reports 69(7):671-83. EJ. 1944.
McClure, F.J. 1944. Fluoride domestic waters and systemic effects. 1. Relation to bone-fracture experience,
height, and weight of high school boys and young selectees of the armed forces of the United States. Public
Health Reports 59:1543-1558.
McDonagh, M., Whiting, P., Bradley, M., Cooper, J., Sutton, A., Chestnutt, I., Misso, K., Wilson, P.,
Treasure, E., and Kleijnen, J. 2000. A Systematic Review of Public Water Fluoridation. NHS Centre for
Reviews and Dissemination, University of York, York, UK.
McPherson, C.A., Zhang, G., Gilliam, R., Brar, S.S., Wilson, R., Brix, A., Picut, C., and Harry, G.J. 2018.
An evaluation of neurotoxicity following fluoride exposure from gestational through adult ages in Long-
Evans Hooded Rats. Neurotoxicity Research 34(4):781-798.
Mendley, S.R., Matheson, M.B., Shinnar, S., Lande, M.B., Gerson, A.C., Butler, R.W., Warady, B.A.,
Furth, S.L., and Hooper, S.R. 2015. Duration of chronic kidney disease reduces attention and executive
function in pediatric patients. Kidney International 87:800-806.
Menkes, D.B., Thiessen, K., and Williams, J. 2014. Health effects of water fluoridation: How "effectively
settled" is the science? NZMJ 127:1407:84-86.
Modesto, T., Tiemeier, H., Peeters, R.P., Jaddoe, V.W.V., Hofman, A., Verhulst, F.C., and Ghassabian, A.
2015. Maternal mild thyroid hormone insufficiency in early pregnancy and attention-deficit/hyperactivity
disorder symptoms in children. JAMA Pediatrics 169(9):838-845.
Moleti, M., Trimarchi, F., Tortorella, G., Longo, A.C., Giorgianni, G., Sturniolo, G., Alibrandi, A., and
Vermiglio, F. 2016. Effects of maternal iodine nutrition and thyroid status on cognitive development in
offspring: A pilot study. Thyroid 26(2):296-305.
Morgan, L., Allred, E., Tavares, M., Bellinger, D., and Needleman, H. 1998. Investigation of the possible
associations between fluorosis, fluoride exposure, and childhood behavior problems. Pediatric Dentistry
20(4):244-252.
Mooradian, A.D. 1994. Potential mechanisms of the age-related changes in the blood-brain barrier.
Neurobiology of Aging 15(6):751-755.
Morreale de Escobar, G., Obregón, M.J., and Escobar del Rey, F. 2000. Is neuropsychological development
related to maternal hypothyroidism or to maternal hypothyroxinemia? J. Clinical Endocrinology &
Metabolism 85(11):3975-3987.
Morreale de Escobar, G., Obregón, M.J., and Escobar del Rey, F. 2004. Maternal thyroid hormones early
in pregnancy and fetal brain development. Best Practice & Research Clinical Endocrinology & Metabolism
18(2):225-248.
Mukhopadhyay, D., Priya, P., and Chattopadhyay, A. 2015. Sodium fluoride affects zebrafish behaviour
and alters mRNA expressions of biomarker genes in the brain: Role of Nrf2/Keap1. Environmental
Toxicology and Pharmacology 40(2):352-9.
Mullenix, P.J., DenBesten, P.K., Schunior, A., and Kernan, W.J. 1995. Neurotoxicity of sodium fluoride in
rats. Neurotoxicology and Teratology 17(2):169-177.
Nabavi, S.F., Eslami, Sh., Moghaddum, A.H., and Nabavi S.M. 2011. Protective effects of curcumin against
fluoride-induced oxidative stress in the rat brain. Neurophysiology 43(4):287-91.
Nabavi, S.F., Nabavi, S.M., Latifi, A.M., Mirzaei, M., Habtemariam, S., and Moghaddam, A.H. 2012a.
Mitigating role of quercetin against sodium fluoride-induced oxidative stress in the rat brain.
Pharmaceutical Biology 50(11):1380-3.

                                                                                                        87
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 396 of 854
Food and Water Watch v. EPA                                                               Thiessen Report


Nabavi, S.F., Habtemariam, S., Jafari, M., Sureda, A., and Nabavi, S.M. 2012b. Protective role of gallic
acid on sodium fluoride induced oxidative stress in rat brain. Bulletin of Environmental Contamination and
Toxicology 89(1):73-7.
Nabavi SM, Sureda N, Nabavi SF, Latifi AM, Moghaddam AH, and Hellio C. 2012c. Neuroprotective
effects of silymarin on sodium fluoride-induced oxidative stress. Journal of Fluorine Chemistry 142:79-82.
Nabavi, S.F., Nabavi, S.M., Habtemariam, S., Moghaddam, A.H., Sureda, A., and Mirzaei, M. 2013.
Neuroprotective effects of methyl-3-O-methyl gallate against sodium fluoride-induced oxidative stress in
the brain of rats. Cellular and Molecular Neurobiology 33(2):261-7.
Nagarajappa, R., Pujara, P., Sharda, A.J., Asawa, K., Tak, M., Aapaliya, P., and Bhanushali, N. 2013.
Comparative assessment of intelligence quotient among children living in high and low fluoride areas of
Kutch, India: a pilot study. Iranian Journal of Public Health 2(8): 813–818.
Nalagoni, C.S.R., and Karnati, P.R. 2016. Protective effect of resveratrol against neuronal damage through
oxidative stress in cerebral hemisphere of aluminum and fluoride treated rats. Interdisciplinary Toxicology
9(2):78-82.
NAS (National Academies of Sciences, Engineering, and Medicine). 2011. Review of the Environmental
Protection Agency's Draft IRIS Assessment of Formaldehyde. Washington, DC: The National Academies
Press.
NAS (National Academies of Sciences, Engineering, and Medicine). 2014. Review of EPA's Integrated
Risk Information System (IRIS) Process. Washington, DC: The National Academies Press.
NAS (National Academies of Sciences, Engineering, and Medicine). 2018. Progress Toward Transforming
the Integrated Risk Information System (IRIS) Program: A 2018 Evaluation. Washington, DC: The
National Academies Press.
Neurath, C. 2005. Tooth decay trends for 12 year olds in nonfluoridated and fluoridated countries. Fluoride
38:324-325.
Neville, M.J., Johnstone, E.C., and Walton, R.T. 2004. Identification and characterization of ANKK1: A
novel kinase gene closely linked to DRD2 on chromosome band 11q23.1. Human Mutation 23:540-545.
Nicklas, T.A., Qu, H., Hughes, S.O., Wagner, S.E., Foushee, H.R., and Shewchuk, R.M. 2009. Prevalence
of self-reported lactose intolerance in a multiethnic sample of adults. Nutrition Today 44(5):222-227.
Nicklas, T.A., Qu, H., Hughes, S.O., He, M., Wagner, S.E., Foushee, H.R., and Shewchuk, R.M. 2011.
Self-perceived lactose intolerance results in lower intakes of calcium and dairy foods and is associated with
hypertesnion and diabetes in adults. Am. J. Clin. Nutr. 94:191-198.
Niu, R., Sun, Z., Wang, J., Cheng, Z., and Wang, J. 2008. Effects of fluoride and lead on locomotor behavior
and expression of Nissl body in brain of adult rats. Fluoride 4194):276-282.
Niu, R., Sun, Z., Cheng, Z., Li, Z., and Wang, J. 2009. Decreased learning ability and low hippocampus
glutamate in offspring rats exposed to fluoride and lead. Environmental Toxicology and Pharmacology
28(2):254-258.
Niu, R., Liu, S., Wang, J., Zhang, J., Sun, Z., and Wang, J. 2014. Proteomic analysis of hippocampus in
offspring male mice exposed to fluoride and lead. Biological Trace Element Research 162(1-3):227-33.
Niu, R., Xue, X., Zhao, Y., Sun, Z., Yan, X., Li, X., Feng, C., and Wang, J. 2015a. Effects of fluoride on
microtubule ultrastructure and expression of Tubα1a and Tubβ2a in mouse hippocampus. Chemosphere
133(1):71-82.
Niu, R., Zhang, Y., Liu, S., Liu, F., Sun, Z., and Wang, J. 2015b. Proteome alterations in cortex of mice
exposed to fluoride and lead. Biological Trace Element Research 164(1):99-105.

                                                                                                          88
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 397 of 854
Food and Water Watch v. EPA                                                              Thiessen Report


Niu, Q., Chen, J., Xia, T., Li, P., Zhou, G., Xu, C., Zhao, Q., Dong, L., Zhang, S., and Wang. A. 2018a.
Excessive ER stress and the resulting autophagic flux dysfunction contribute to fluoride-induced
neurotoxicity. Environmental Pollution 233:889-899.
Niu, R., Chen, H., Manthari, R.K., Sun, Z., Wang, J., Zhang, J., and Wang, J. 2018b. Effects of fluoride on
synapse morphology and myelin damage in mouse hippocampus. Chemosphere 194:628-633.
NRC (National Research Council). 1983. Risk Assessment in the Federal Government: Managing the
Process. Washington, National Academy Press.
NRC (National Research Council). 2006. Fluoride in Drinking Water: A Scientific Review of EPA’s
Standards. Washington, National Academy Press. [Available: http://www.nap.edu/catalog/11571.html]
NRC (National Research Council). 2009. Emergency and Continuous Exposure Guidance Levels for
Selected Submarine Contaminants: Volume 3. Washington, National Academy Press. [Available:
http://www.nap.edu/catalog.php?record_id=12741]
NTP (National Toxicology Program). 2015a. Systematic Review on the Neurobehavioral Toxicity of
Fluoride in Animal Studies. National Institute of Environmental Health Sciences, National Toxicology
Program Office of Health Assessment and Translation (June 2015).
NTP (National Toxicology Program). 2015b. Handbook for Conducting a LIterature-Based Health
Assessment Using OHAT Approach for Systematic Review and Evidence Integration. National Institute of
Environmental Health Sciences, National Toxicology Program, Office of Health Assessment and
Translation (January 2015).
NTP (National Toxicology Program). 2016. Systematic Literature Review on the Effects of Fluoride on
Learning and Memory in Animal Studies. NTP Research Report 1. Research Triangle Park, NC: National
Toxicology Program (July 2016).
O'Connor, N.R. 2009. Infant formula. American Family Physician 79(7):565-570.
OMIM (Online Mendelian Inheritance in Man). 2018. 608774, Ankyrin Repeat- and Kinase Domain-
Containing Protein 1; ANKK1 (https://www.omim.org/entry/608774; last updated May 24, 2018; accessed
December 27, 2018).
Ou, X., Andres, A., Pivik, R.T., Cleves, M.A., Snow, J.H., Ding, Z., and Badger, T.M. 2016. Voxel-based
morphometry and fMRI revealed differences in brain gray matter in breastfed and milk formula-fed
children. Am. J. Neuroradiol. 37:713-719.
Pal, S., and Sarkar, C. 2014. Protective effect of resveratrol on fluoride induced alteration in protein and
nucleic acid metabolism, DNA damage and biogenic amines in rat brain. Environmental Toxicology and
Pharmacology 38(2):684-699.
Pan, Y. and Nicolazzo, J.A. 2018. Impact of aging, Alzheimer's disease and Parkinson's disease on the
blood-brain barrier transport of therapeutics. Advanced Drug Delivery Reviews 135:62-74.
Pan, Y., Lü, P., Yin, L., Chen, K., and He, Y. 2015. Effect of fluoride on the proteomic profile of the
hippocampus in rats. Zeitschrift für Naturforschung C. 70(5-6):151-7.
Pandit, C.G., Raghavachari, T.N.S., Rao, D.S., and Krishnamurti, V. 1940. A study of the factors involved
in the production of mottled enamel in children and severe bone manifestations in adults. Ind. J. Med. Res.
28(2):533-558.
Pang, H., Yu, L., Lai, X., and Chen, Q. 2018. Relation between intelligence and COMT gene polymorphism
in children aged 8-12 in the endemic fluorosis area and non-endemic fluorosis area. Chinese Journal of
Control of Endemic Diseases 33(2):151-152.



                                                                                                         89
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 398 of 854
Food and Water Watch v. EPA                                                                Thiessen Report


Patel, J., Landers, K., Li, H., Mortimer, R.H., and Richard, K. 2011. Thyroid hormones and fetal
neurological development. Journal of Endocrinology 209:1-8.
Pearce, E.N. 2015. Is iodine deficiency reemerging in the United States? AACE Clinical Case Reports
1(1):e81-e82.
Peckham, S., Lowery, D., and Spencer S. 2015. Are fluoride levels in drinking water associated with
hypothyroidism prevalence in England? A large observational study of GP practice data and fluoride levels
in drinking water. Journal of Epidemiology and Community Health 69(7):619-24.
Pei, J., Li, B., Liu, Y., Liu, X., Li, M., Chu, Y., Yang, Q., Jiang, W., Chen, F., Darko, G.M., Yang, Y., and
Gao, Y. 2017. Matrix metallopeptidase-2 gene rs2287074 polymorphism is associated with brick tea
skeletal fluorosis in Tibetans and Kazaks, China. Scientific Reports 7:40086.
Pereira, M., Dombrowski, P.A., Losso, E.M., Chioca, L.R., Da Cunha, C., and Andreatini, R. 2011.
Memory impairment induced by sodium fluoride is associated with changes in brain monoamine levels.
Neurotoxicity Research 19(1):55-62.
Pop, V.J., Kuijjpens, J.L., van Baar, A.L., Verkerk, G., van Son, M.M., de Vijlder, J.J., Vulsma, T.,
Wiersinga, W.M., Drexhage, H.A., and Vader, H.L. 1999. Low maternal free thyroxine concentrations
during early pregnancyt are associated with impaired psychomotor developpment in infancy. Clinical
Endocrinology 50:149-155.
Pop, V.J., Brouwers, E.P., Vader, H.L., Vulsma, T., van Baar, A.L., and de Vijlder, J.J. 2003. Maternal
hypothyroxinaemia during early pregnancy and subsequent child development: A 3-year follow-up study.
Clinical Endocrinology 59:282-288.
Popov, L.I., Filatovas, R.I., and Shershever, A.S. 1974. Characterization of nervous system intoxication in
occupational fluorosis. Gigiena Truda i Professional’nye Zabolevaniia (5):25-27.
Pramanik, S., and Saha, D. 2017. The genetic influence in fluorosis. Environmental Toxicology and
Pharmacology 56:157-162.
Psoter, W.J., Reid, B.C., and Katz, R.V. 2005. Malnutrition and dental caries: A review of the literature.
Caries Res. 39:441-447.
Pulungan, Z.S.A., Sofro, Z.M., and Partadiredja, G. 2018. Sodium fluoride does not affect the working
memory and number of pyramidal cells in rat medial prefrontal cortex. Anatomical Science International
93(1):128-138.
Qian, W., Miao, K., Li, T., and Zhang, Z. 2013. Effect of selenium on fluoride-induced changes in synaptic
plasticity in rat hippocampus. Biological Trace Element Research 155(2):253–260.
Qin, L., Huo, S., Chen, R., Chang, Y., and Zhao, M. 1990. Using the Raven's Standard Progressive Matrices
to determine the effects of the level of fluoride in drinking water of the intellectual abilities of school-age
children. Chinese Journal of Control of Endemic Deseases 5(4):203-204. English translation in Fluoride
41(2):115-119 (2008).
Raghu, J., Raghuveer, V.C., Rao, M.C., Somayaji, N.S., and Babu, P.B. 2013. The ameliorative effect of
ascorbic acid and Ginkgo biloba on learning and memory deficits associated with fluoride exposure.
Interdisciplinary Toxicology 6(4):217-21.
Ranpariya, V.L., Parmar, S.K., Sheth, N.R., and Chandrashekhar, V.M. 2011. Neuroprotective activity of
Matricaria recutita against fluoride-induced stress in rats. Pharmaceutical Biology 49(7):696-701.
Rauh, V.A., and Margolis, A. 2016. Research Review: Environmental exposures, neurodevelopment and
child mental health - new paradigms for the study of brain and behavioral effects. J. Child Psychol.
Psychiatry 57(7):775-793.

                                                                                                            90
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 399 of 854
Food and Water Watch v. EPA                                                                Thiessen Report


Reddy, K.P., Sailaja, G., and Krishnaiah, C. 2009. Protective effects of selenium on fluoride induced
alterations in certain enzymes in brain of mice. Journal of Environmental Biology 30(5 Suppl):859-64.
Reddy, Y.P., Tiwari, S.K., Shaik, A.P., Alsaeed, A., Sultana, A., and Reddy, P.K. 2014. Effect of sodium
fluoride on neuroimmunological parameters, oxidative stress and antioxidative defenses. Toxicology
Mechanisms and Methods 24(1):31-6.
Ren, D., Li, K., and Liu, D. 1989. A study of the intellectual ability of 8-14 year-old children in high
fluoride, low iodine areas. Chinese Journal of Control of Endemic Diseases 4(4):251 (republished
in Fluoride 2008; 41:319-20).
Renwick, A.G. (1993) Data-derived safety factors for the evaluation of food additives and environmental
contaminants. Food Additives and Contaminants 10(3):275-305.
Rice, W.B., and Lu, F.C. 1963. The effect of sodium fluoride on the actions of succinylcholine, parathion
and demeton in Rats. Acta Pharmacologica et Toxicologica (Copenh). 20:39-42.
Rocha-Amador, D., Navarro, M.E., Carrizales, L., Morales R., and Calderón, J. 2007. Decreased
intelligence in children and exposure to fluoride and arsenic in drinking water. Cadernos de Saúde Pública
23 Suppl 4:S579-87.
Rocha-Amador, D., Navarro, M., Trejo-Acevedo, A., Carrizales, L., Pérez-Maldonado, I., Díaz-Barriga, F.,
and Calderón, J. 2009. Use of the Rey-Osterrieth Complex Figure Test for neurotoxicity evaluation of
mixtures in children. Neurotoxicology 30(6):1149-54.
Rodier, P.M. 1995. Developing brain as a target of toxicity. Environmental Health Perspectives
103(Supplement 6):73-76.
Rogalska, A., Kuter, K., Żelazko, A., Głogowska-Gruszka, A., Świętochowska, E., and Nowak, P. 2017.
Fluoride alteration of [3H]glucose uptake in Wistar rat brain and peripheral tissues. Neurotoxicity Research
31(3):436-443.
Roholm, K. 1937. Fluorine Intoxication. A Clinical-Hygienic Study. Publishers: NYT Nordisk Forlag,
Arnold Busck, Copenhagen and H.K. Lewis & Co. Ltd, 136, Gower Street, London.
Román, G.C. 2007. Autism: Transient in utero hypothyroxinemia related to maternal flavonoid ingestion
during pregnancy and to other environmental antithyroid agents. J. Nuerological Sciences 262:15-26.
Ron, M., Singer, L., Menczel, J., and Kidroni, G. 1986. Fluoride concentration in amniotic fluid and fetal
cord and maternal plasma. Eur. J. Obstet. Gynecol. Reprod. Biol. 21:213-218.
Rose, D., and Marier, J.R. 1977. Environmental Fluoride. National Research Council of Canada.
Rosenberg, G.A. 2014. Blood-brain barrier permeability in aging and Alzheimer's disease. J. Prev.
Alzheimers Dis. 1(3):138-139 (doi:10.14283/jpad.2014.25).
Russ, T.C., Killin, L.O.J., Hannah, J., Batty, G.D., Deary, I.J., and Starr, J.M. 2019. Aluminium and fluoride
in drinking water in relation to later dementia risk. British Journal of Psychiatry (doi:
10.1192/bjp.2018.287) [Epub ahead of print].
Sadilova, M.S., Plotko, E.G., and Yel’nichyykh, L.N.1968. New data for the validation of the mean daily
maximum permissible concentration of hydrogen fluoride in atmospheric air. From: Akademiya
Meditsinakikh Nauk SSSR. "Biologicheskoe deystvie I gigienicheskoe znachenie atmosfemykh
zagryaznertiy" .. Red. V. A. Ryazanova. Vypusk 11, Izdatel'stvo "Meditsina'~ Moskva, p. 5-15.
Salgarello, M., Lunardi, G., Inno, A., Pasetto, S., Severi, F., Gorgoni, G., and Gori, S. 2016. 18F-NaF
PET/CT Imaging of Brain Metastases. Clinical Nuclear Medicine 41(7):564-5.



                                                                                                           91
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 400 of 854
Food and Water Watch v. EPA                                                              Thiessen Report


Samanta, A., Chanda, S., Bandyopadhyay, B., and Das, N. 2016. Establishment of drug delivery system
nanocapsulated with an antioxidant (+)-catechin hydrate and sodium meta borate chelator against sodium
fluoride induced oxidative stress in rats. Journal of Trace Elements in Medicine and Biology 33:54-67.
Sarkar, C., Pal, S., Das, N., and Dinda, B. 2014. Ameliorative effects of oleanolic acid on fluoride induced
metabolic and oxidative dysfunctions in rat brain: experimental and biochemical studies. Food and
Chemical Toxicology 66:224–236.
Sawan, R.M.M., Leite, G.A.S., Saraiva, M.C.P., Barbosa, F. Jr., Tanus-Santos, J.E., and Gerlach, R.F. 2010.
Fluoride increases lead concentrations in whole blood and in calcified tissues from lead-exposed rats.
Toxicology 271:21-26.
Schiffl, H. 2008. Fluoridation of drinking water and chronic kidney disease: Absence of evidence is not
evidence of absence [letter]. Nephrol. Dial. Transplant. 23:411.
Schlesinger, E.R., Overton, D.E., Chase, H.C., and Cantwell, K.T. 1956a. Newburgh-Kingston caries-
fluorine study XIII. Pediatric findings after ten years. Journal of the American Dental Association
52(3):296-306.
Schlesinger, E.R., Overton, D.E., Chase, H.C., and Cantwell, K.T. 1956b. Study of children drinking
fluoridated and nonfluoridated water. Journal of the American Medical Association 160(1):21-4.
Seraj, B., Shahrabi, M., Shadfar, M., Ahmadi, R., Fallahzadeh, M., Frrokh Eslamlu, H., and Kharazifard,
M.J. 2012. Effect of high water fluoride concentration on the intellectual development of children in
Makoo/Iran. J. Dentistry (Tehran) 9(3):221-229.
Shalini, B., and Sharma, J.D. 2015. Beneficial effects of Emblica officinalis on fluoride-induced toxicity
on brain biochemical indexes and learning-memory in rats. Toxicology International 22(1):35-9.
Shan, K.R., Qi, X.L., Long, Y.G., Nordberg, A., and Guan, Z.Z. 2004. Decreased nicotinic receptors in
PC12 cells and rat brains influenced by fluoride toxicity--a mechanism relating to a damage at the level in
post-transcription of the receptor genes. Toxicology 200(2-3):169-77.
Shannon, F.T., Fergusson, D.M., and Horwood, L.J. 1986. Exposure to fluoridated public water supplies
and child health and behaviour. New Zealand Medical Journal 99:416-418.
Sharma, C., Suhalka, P., Sukhwal, P., Jaiswal, N., and Bhatnagar, M. 2014. Curcumin attenuates
neurotoxicity induced by fluoride: An in vivo evidence. Pharmacognosy Magazine 10(37):61-65.
Sharma, C., Suhalka, P., and Bhatnagar, M. 2018. Curcumin and resveratrol rescue cortical–hippocampal
system from chronic fluoride-induced neurodegeneration and enhance memory retrieval. International
Journal of Neuroscience13:1-15.
Shen, Y.-W., and Taves, D.R. 1974. Fluoride concentrations in the human placenta and maternal and cord
blood. Am. J. Obstet. Gynecol. 119(2):205-207.
Shen, Q.F., Xia, Y.P., and Xu, T.T. 2019. Matrix metalloproteinase-9 and p53 involved in chronic fluorosis
induced blood-brain barrier damage and neurocyte changes. Archives of Medical Science 2:457-66.
Sheth, S., and Colletti, P.M. 2012. Atlas of sodium fluoride PET bone scans: atlas of NaF PET bone scans.
Clinical Nuclear Medicine 37(5):e110-e116.
Shiboski, C.H., Gansky, S.A., Ramos-Gomez, F., Ngo, L., Isman, R., Pollick, H.F. 2003. The association
of early childhood caries and race/ethnicity among California preschool children. J. Public Health Dentistry
63:38-46.
Shimonovitz, S., Patz, D., Ever-Hadani, P., Singer, L., Zacut, D., Kidroni, G., and Ron, M. 1995. Umbilical
cord fluoride serum levels may not reflect fetal fluoride status. J. Perinat. Med. 23:279-282.


                                                                                                         92
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 401 of 854
Food and Water Watch v. EPA                                                                Thiessen Report


Shivaprakash, P.K., Ohri, K., and Noorani, HJ. 2011. Relation between dental fluorosis and intelligence
quotient in school children of Bagalkot district. Journal of Indian Society of Pedodontics and Preventive
Dentistry 29(2):117-120.
Short, E.M. 1944. Domestic water and dental caries: VI. The relation of fluoride domestic waters to
permanent tooth eruption. J. Dent. Res. 23:247-255.
Spencer, K.F., and Limeback, H. 2018. Blood is thicker than water: Flaws in a National Toxicology
Program study. Medical Hypotheses 121:160-163.
Spittle, B. 1994. Psychopharmacology of fluoride. a review. International Clinical Psychopharmacology.
9(2):79-82.
Stevenson, C.A., and Watson, A.R. 1957. Fluoride osteosclerosis. The American Journal of Roentgenology,
Radium Therapy, and Nuclear Medicine 78(1):13-8.
Storhaug, C.L., Fosse, S.K., and Fadnes, L.T. 2017. Country, regional, and global estimates for lactose
malabsorption in adults: A systematic review and meta-analysis. Lancet Gastroenterol. Hepatol. 2:738-746.
Suárez-Rodríguez, M., Azcona-San Julián, C., and Alzina de Aguilar, V. 2012. Hypothyroxinemia during
pregnancy: The effect on neurodevelopment in the child. International Journal of Developmental
Neuroscience 30:435-438.
Sudhir, K.M., Chandu, G.N., Prashant, G.M., Subba Reddy, V.V. 2009. Effect of fluoride exposure on
Intelligence Quotient (IQ) among 13-15 year old school children of known endemic area of fluorosis,
Nalgonda District, Andhra Pradesh. Journal of the Indian Association of Public Health Dentistry 1(13):88-
94.
Sun, M., Li, S., Wang, Y., and Li, F. 1991. Using drawing tests to measure intelligence in children from
areas impacted by combined Al-F endemic toxicosis (Shuicheng, Guizhou). Journal of Guiyang Medical
College 16(3):204-06.
Sun, Y., Ke, L., Zheng, X., Li, T., Ouyang, W., and Zhang, Z. 2017. Effects of different levels of calcium
intake on brain cell apoptosis in fluorosis rat offspring and its molecular mechanism. Biological Trace
Element Research 176(2):355-366.
Sun, Z., Zhang, Y., Xue, X., Niu, R., and Wang, J. 2018. Maternal fluoride exposure during gestation and
lactation decreased learning and memory ability, and glutamate receptor mRNA expressions of mouse pups.
Human & Experimental Toxicology 37(1):87-93.
Susheela, A.K., Bhatnagar, M., Vig, K., and Mondal, N.K. 2005. Excess fluoride ingestion and thyroid
hormone derangements in children living in Delhi, India. Fluoride 38:98-108.
Tang, Q., Du, J., Ma, H., Jiang, S., and Zhou, X. 2008. Fluoride and children's intelligence: A meta-analysis.
Biol. Trace Elem. Res. 126:115-120.
Teng, Y., Zhang, J., Zhang, Z., and Feng, J. 2018. The effect of chronic fluorosis on calcium ions and
CaMKIIα, and c-fos expression in the rat hippocampus. Biological Trace Element Research 182(2):295-
302.
Thenkondar, A., Jafari, L., Sooriash, R., Hajsadeghi, F., Berenji, G.R., and Li, Y. 2017. 18F-NaF PET
Demonstrating Unusual Focal Tracer Activity in the Brain. Clinical Nuclear Medicine 42(2):127-128.
Thiessen, K.M. 2011. Comments on EPA's Fluoride Risk Assessment and Relative Source Contribution
Documents. Submitted to EPA's Office of Water and to EPA's Office of Pesticide Programs (April 19,
2011).
Till, C., Green, R., Grundy, J.G., Hornung, R., Neufeld, R., Martinex-Mier, E.A., Ayotte, P., Muckle, G.,
and Lanphear, B. 2018. Environmental Health Perspectives 126(10):107001.

                                                                                                           93
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 402 of 854
Food and Water Watch v. EPA                                                                Thiessen Report


Tipre, D.N., Zoghbi, S.S., Liow, J.S., Green, M.V., Seidel, J., Ichise, M., Innis, R.B., and Pike, V.W. 2006.
PET imaging of brain 5-HT1A receptors in rat in vivo with 18F-FCWAY and improvement by successful
inhibition of radioligand defluorination with miconazole. Journal of Nuclear Medicine 47(2):345-53.
Trivedi, M.H., Verma, R.J., and Chinoy, N.J. 2007. Amelioration by black tea of sodium fluoride-induced
changes in protein content of cerebral hemisphere, cerebellum and medulla oblongata in brain region of
mice. Acta Poloniae Pharmaceutica 64(3):221-5.
Tu, J., Liu, K., Song, Y., Zhang, Y., Cui, C., and Lu, C. 2011. Interactive effect of fluoride burden with
calcitonin receptor gene polymorphisms on the risk of F bone injury. Int. Arch. Occup. Environ. Health
84:533-538.
Turner, S.D., Chan, J.T., and Li, E. 1998. Impact of imported everages on fluoridated and nonfluoridated
communities. General Dentistry 146(2):90-193.
Underwood, E.J. 1977. Fluorine, Chapter 13 in: Trace Elements in Human and Animal Nutrition, 4th
Edition. New York Academic Press, pp. 347-369.
USDHHS Panel (U.S. Department of Health and Human Services Federal Panel on community Water
Fluoridation). 2015. U.S. Public Health Service Recommendation for Fluoride Concentration in Drinking
Water for the Prevention of Dental Caries. Public Health Reports 130:318-331.
Valdez Jiménez, L., López Guzmán, O.D., Cervantes Flores, M., Costilla-Salazar, R., Calderón Hernández,
J., Alcaraz Contreras, Y., and Rocha-Amador, D.O. 2017. In utero exposure to fluoride and cognitive
development delay in infants. Neurotoxicology 59:65-70.
Varner, J.A., Horvath, W.J., Huie, C.W., Naslund, H.R., and Isaacson, R.L. 1994. Chronic aluminum
fluoride administration. I. Behavioral observations. Behavioral and Neural Biology 61:233-241.
Varner, J.A., Jensen, K.F., Horvath, W., and Isaacson, R.L. 1998. Chronic administration of aluminum
fluoride or sodium fluoride to rats in drinking water: Alterations in neuronal and cerebrovascular integrity.
Brain Research 784(1-2):284-298.
Vermiglio, F., Lo Presti, V.P., Moleti, M., Sidoti, M., Tortorella, G., Scaffidi, G., Castagna, M.G., Mattina,
F., Violi, M.A., Crisà, A., Artemisia, A., and Trimarchi, F. 2004. Attention deficit and hyperactivity
disorders in the offspring of mothers exposed to mild-moderate iodine deficiency: A possible novel iodine
deficiency disorder in developed countries. J. Clin. Endocrinol. Metab. 89:6054-6060.
Victora, C.G., Horta, B.L., Loret de Mola, C., Quevedo, L., Pinheiro, R.T., Gigante, D.P., Gonçalves, H.,
and Barros, F.C. 2015. Association between breastfeeding and intelligence, educational attainment, and
income at 30 years of age: A prospective birth cohort study from Brazil. Lancet Global Health 3:e199-e205.
Victora, C.G., Bahl, R., Barros, A.J.D., França, G.V.A., Horton, S., Krasevec, J., Murch, S., Sankar, M.J.,
Walker, N., and Rollins, N.C., for The Lancet Breastfeeding Series Group. 2016. Breastfeeding in the 21st
century: Epidemiology, mechanisms, and lifelong effect. Lancet 387:475-490.
Wadhwani, T.K., and Ramasway, A.S. 1953. Pathological changes in the tissues of rats (albino) and
monkeys (Macaca radiata) in fluorine toxicosis. Journal of the Indian Institute of Science, Section A.
35:223-230.
Walton, J.L., and Messer, L.B. 1981. Dental caries and fluorosis in breast-fed and bottle-fed children. Caries
Research 15:124-137.
Wang, G., Yang, D., Jia, F., and Wang, H. 1996. A study of the IQ levels of four- to seven-year-old children
in high fluoride areas. Endemic Diseases Bulletin 11(1):60-6 (English translation published
in Fluoride 2008; 41:340–43).



                                                                                                           94
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 403 of 854
Food and Water Watch v. EPA                                                                Thiessen Report


Wang, S.X., Wang, Z.H., Cheng, X.T., Li, J., Sang, Z.P., Zhang, X.D., Han, L.L., Qiao, X.Y., Wu, Z.M.,
and Wang, Z.Q. 2007. Arsenic and fluoride exposure in drinking water: children’s IQ and growth in Shanyin
county, Shanxi province, China. Environmental Health Perspectives 115(4):643-7.
Wang, J., Zhang, Y., Guo, Z., Li, R., Xue, X., Sun, Z., and Niu, R. 2018a. Effects of perinatal fluoride
exposure on the expressions of miR-124 and miR-132 in hippocampus of mouse pups. Chemosphere
197:117-122.
Wang, C., Liang, C., Ma, J., Manthari, R.K., Niu, R., Wang, J., Wang, J., and Zhang, J. 2018b. Co-exposure
to fluoride and sulfur dioxide on histological alteration and DNA damage in rat brain. Journal of
Biochemical and Molecular Toxicology 32(2).
Warren, J.J., Levy, S.M., Broffitt, B., Cavanaugh, J.E., Kanellis, M.J., and Weber-Gasparoni, K. 2009.
Considerations on optimal fluoride intake using dental fluorosis and dental caries outcomes—A
longitudinal study. J. Public Health Dentistry 69:111-115.
Waugh, D.T., Godfrey, M., Limeback, H., and Potter, W. 2017. Black tea source, production, and
consumption: Assessment of health risks of fluoride intake in New Zealand. Journal of Environmental and
Public Health 2017:5120504.
Wei, N., Dong, Y.T., Deng, J., Wang, Y., Qi, X.L., Yu, W.F., Xiao, Y., Zhou, J.J., and Guan, Z.Z. 2018.
Changed expressions of N-methyl-D-aspartate receptors in the brains of rats and primary neurons exposed
to high level of fluoride. Journal of Trace Elements in Medicine and Biology 45:31-40.
Whitford, G.M., and Pashley, D.H. 1974. Soft tissue distribution of fluoride. Journal of Dental Research
53: Special Issue, Abstract 705.
Whitford, G.M., and Pashley, D.H. 1979. The effect of body fluid pH on fluoride distribution, toxicity, and
renal clearance. In: Continuing Evaluation of the Use of Fluorides, Edited by Erling Johansen, Donald R.
Taves, and Thor O. Olson. Chapter 8. AAAS (American Association for the Advancement of Science)
Selected Symposium.
Whitford, G.M., Whitford, J.L., and Hobbs, S.H. 2009. Appetitive-based learning in rats: lack of effect of
chronic exposure to fluoride. Neurotoxicology and Teratology 31(4):210-15.
Wilson, P.M., and Sheldon, T.A. 2006. Muddy waters: evidence-based policy making, uncertainty and the
“York review” on water fluoridation. Evidence & Policy 2(3):321-331.
WHO (World Health Organization). 2004. Fluoride in drinking-water. Background document for
development of WHO Guidelines for Drinking-Water Quality. World Health Organization,
WHO/SDE/WSH/03.04/96.
Wolf, J.H. 2003. Low breastfeeding rates and public health in the United States. American Journal of Public
Health 93(12):2000-2010.
Wu, J., Zhu, H., and Ji, H. 2013. Unexpected detection of brain metastases by 18F-NaF PET/CT in a patient
with lung cancer. Clinical Nuclear Medicine 38(11):e429-32.
Wu, J., Wang, W., Liu, Y., Sun, J., Ye, Y., Li, B., Liu, X., Liu, H., Sun, Z., Li, M., Cui, J., Sun, D., Yang,
Y., and Gao, Y. 2015. Modifying role of GSTP1 polymorphism on the association between tea fluoride
exposure and the brick-tea type fluorosis. PLoS One 10(6):e0128280.
Xiang, Q., Liang, Y., Chen, L., Wang, C., Chen, B., Chen, X., and Zhou, M. 2003a. Effect of fluoride in
drinking water on children's intelligence. Fluoride 36(2):84-94.
Xiang, Q., Liang, Y., Zhou, M., and Zang, H. 2003b. Blood lead of children in Wamiao-Xinhuai intelligence
study [letter]. Fluoride 36(3):198-199.



                                                                                                           95
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 404 of 854
Food and Water Watch v. EPA                                                                Thiessen Report


Xiang, Q., Liang, Y., Chen, B., and Chen, L. 2011. Analysis of children's serum fluoride levels in relation
to intelligence scores in a high and low fluoride water village in China. Fluoride 44(4):191-194.
Xu, Y., Lu, C., and Zhang, X. 1994. The effect of fluorine on the level of intelligence in children. Endemic
Diseases Bulletin 9(2):83-84.
Yan, N., Liu, Y., Liu, S., Cao, S., Wang, F., Wang, Z., and Xi, S. 2016. Fluoride-induced neuron apoptosis
and expressions of inflammatory factors by activating microglia in rat brain. Molecular Neurobiology
53(7):4449–60.
Yang, Y., Wang, X., Guo, X., and Hu, P. 1994. The effects of high levels of fluoride and iodine on child
intellectual ability and the metabolism of fluoride and iodine. Chinese Journal of Epidemiology 15(4):296-
8. English translation in Fluoride 41(4):336-339 (2008).
Yang, D., Liu, Y., Chu, Y., Yang, Q., Jiang, W., Chen, F., Li, D., Qin, M., Sun, D., Yang, Y., Gao, Y. 2016.
Association between vitamin D receptor gene FokI polymorphism and skeletal fluorosis of the brick-tea
type fluorosis: A cross sectional, case control study. BMJ Open 6(11):e011980.
Yang, L., Jin, P., Wang, X., Zhou, Q., Lin, X., and Xi, S. 2018a. Fluoride activates microglia, secretes
inflammatory factors and influences synaptic neuron plasticity in the hippocampus of rats. Neurotoxicology
69:108-120.
Yang, Y., Zhao, Q., Liu, Y., Liu, X., Chu, Y., Yan, H., Fan, Y., Huo, S., Wang, L., Lou, Q., Guo, N., Sun,
D., and Gao, Y. 2018b. FRZB1 rs2242070 polymorphisms is associated with brick tea type skeletal
fluorosis in Kazakhs, but not in Tibetans, China. Archives of Toxicology 92:2217-2225.
Yang, H., Xing, H., Liu, S., Yu, H., and Li, P. 2019. Analysis of the protective effects of c-aminobutyric
acid during fluoride-induced hypothyroidism in male Kunming mice. Pharmaceutical Biology, 57(1): 29-
37.
Yao, Y., Zhou, J., Wang, X., Cui, Q., and Lin, F. 1996. Analysis on TSH and intelligence level of children
with dental Fluorosis in a high fluoride area. Literature and Information on Preventive Medicine 2(1):26-
27.
Yao, Y., Deng, Y., Yang, S., Zhou, J., Wang, X., and Cui, Z. 1997. Comparative assessment of the physical
and mental development of children in endemic fluorosis area with water improvement and without water
improvement. Literature and Information on Preventive Medicine 3(1):42-43.
Yazdi, S.M., Sharifian, A., Dehghani-Beshne, M., Momeni, V.R., and Aminian, O. 2011. Effects of fluoride
on psychomotor performance and memory of aluminum potroom workers. Fluoride 44(3):158-162.
Yu, Y., Yang, W., Dong, Z., Wan, C., Zhang, J., Liu, J., Xiao, K., Huang, Y., and Lu, B. 1996.
Neurotransmitter and receptor changes in the brains of fetuses from areas of endemic fluorosis. Chinese
Journal of Endemiology 15(5):257-259. English translation (2008) in Fluoride 41(2):134-138.
Yu, X., Chen, J., Li, Y., Liu, H., Hou, C., Zeng, Q., Cui, Y., Zhao, L., Li, P., Zhou, Z., Pang, S., Tang, S.,
Tian, K., Zhao, Q., Dong, L., Xu, C., Zhang, X., Zhang, S., Liu, L., and Wang, A. 2018. Threshold effects
of moderately excessive fluoride exposure on children's health: A potential association between dental
fluorosis and loss of excellent intelligence. Environment International 118:116-124.
Yu, Q., Shao, D., Zhang, R., Ouyang, W., and Zhang, Z. 2019. Effects of drinking water fluorosis on L-
type calcium channel of hippocampal neurons in mice. Chemosphere 220:169-175.
Yuan, J., Li, Q., Niu, R., and Wang, J. 2019. Fluoride exposure decreased learning ability and the
expressions of the insulin receptor in male mouse hippocampus and olfactory bulb. Chemosphere 224:71-
76.



                                                                                                           96
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 405 of 854
Food and Water Watch v. EPA                                                              Thiessen Report


Zeevi, N., Pachter, J., McCullough, L.D., Wolfson, L., and Kuchel, G.A. 2010. The blood-brain barrier:
Geriatric relevance of a critical brain-body interface. J. Am. Geriatr. Soc. 58(9):1749-1757.
Zhang, R., Niu, Y., Du, H., Cao, X., Shi, D., Hao, Q., and Zhou, Y. 2009. A stable and sensitive testing
system for potential carcinogens based on DNA damage-induced gene expression in human HepG2 cell.
Toxicology in Vitro 23:158-165.
Zhang, J., Zhu, W.J., Xu, X.H., and Zhang, Z.G. 2011. Effect of fluoride on calcium ion concentration and
expression of nuclear transcription factor kappa-B p65 in rat hippocampus. Experimental and Toxicologic
Pathology 63(5):407-11.
Zhang, J., and Zhang, Z. 2013. Effects of chronic fluorosis on CaMKIIα, c-fos, Bax, and Bcl-2 channel
signalling in the hippocampus of rats. Fluoride 46(3):135-141.
Zhang, C., Ren, C., Chen, H., Geng, R., Fan, H., Zhao, H., Guo, K., and Geng, D. 2013a. The analog of
Ginkgo biloba extract 761 is a protective factor of cognitive impairment induced by chronic fluorosis.
Biological Trace Element Research 153:229-36.
Zhang, T., Shan, K.-R., Tu, X., He, Y., Pei, J.-J., and Guan, Z.-Z. 2013b. Myeloperoxidase activity and its
corresponding mRNA expression as well as gene polymorphism in the population living in the coal-burning
endemic fluorosis area in Guizhou of China. Biol. Trace Elem. Res. 152(3):379-386.
Zhang, L., Lu, X., Wang, Z., Qin, L., Yuan, L., and Yin, X. 2013c. Evaluation of the toxicity of fluorine in
Antarctic krill on soft tisuues of Wistar rats. Advances in Polar Science 24(2):128-132.
Zhang, Y., Kim, J.-Y., Horst, O., Nakano, Y., Zhu, L., Radlanski, R., Ho, S., and Den Besten, P.K. 2014.
fluorosed mouse ameloblasts have increased SATB1 retention and Gαq activity. PLOS One 9(8):e103994.
Zhang, K.L., Lou, D.D., and Guan, Z.Z. 2015a. Activation of the AGE/RAGE system in the brains of rats
and in SH-SY5Y cells exposed to high level of fluoride might connect to oxidative stress. Neurotoxicology
& Teratology 48:49-55.
Zhang, S., Zhang, X., Liu H., Qu, W., Guan, Z., Zeng, Q., Jiang, C., Gao, H., Zhang, C., Lei, R., Xia, T.,
Wang, Z., Yang, L., Chen, Y., Wu, X., Cui, Y., Yu, L., and Wang, A. 2015b. Modifying effect of COMT
gene polymorphism and a predictive role for proteomics analysis in children's intelligence in endemic
fluorosis area in Tianjin, China. Toxicological Sciences 144(2):238-245.
Zhang, Y., Huang, H., Gong, B., Duan, L., Sun, L., He, T., Cheng, X., Li, Z., Cui, L., and Ba, Y. 2017a.
Do environmental fluoride exposure and ESRα genetic variation modulate methylation modification on
bone changes in Chinese farmers? Chemical Research in Toxicology 30:1302-1308.
Zhang, Z., Wang, X., Nian, W., Liao, Q., Zhang, R., and Ouyang, W. 2017b. Effects of calcium on drinking
fluorosis-induced hippocampal synaptic plasticity impairment in the offspring of rats. Translational
Neuroscience 8:191-200.
Zhang, C., Huo, S., Fan, Y., Gao, Y., Yang, Y., and Sun, D. 2019. Autophagy may be involved in fluoride-
induced learning impairment in rats. Biological Trace Element Research [Epub ahead of print].
Zhao, L.B., Liang, G.H., Zhang, D.N., and Wu, X.R. 1996. Effect of a high fluoride water supply on
children’s intelligence. Fluoride 29:190-192.
Zhao, M.X., Zhou, G.Y., Zhu, J.Y., Gong, B., Hou, J.X., Zhou, T., Duan, L.J., Ding, Z., Cui, L.X., and Ba,
Y. 2015. Fluoride exposure, follicle stimulating hormone receptor gene polymorphism and hypothalamus-
pituitary-ovarian axis hormones in Chinese women. Biomed. Environ. Sci. 28(9):696-700.
Zhao, Q., Niu, Q., Chen, J., Xia, T., Zhou, G., Li, P., Dong, L., Xu, C., Tian, Z., Luo, C., Liu, L., Zhang,
S., and Wang, A. 2019. Roles of mitochondrial fission inhibition in developmental fluoride neurotoxicity:


                                                                                                         97
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 406 of 854
Food and Water Watch v. EPA                                                             Thiessen Report


Mechanisms of action in vitro and associations with cognition in rats and children. Archives of Toxicology
93(3):709-726.
Zheng, X., Sun, Y., Ke, L., Ouyang, W., and Zhang, Z. 2016. Molecular mechanism of brain impairment
caused by drinking-acquired fluorosis and selenium intervention. Environmental Toxicology and
Pharmacology 43:134-139.
Zhou, G.-Y., Ren, L.-J., Hou, J.-X., Cui, L.-X., Ding, Z., Cheng, X.-M., Zhu, J.-Y., Cui, R.-R., and Ba, Y.
2016. Endemic fluorosis in Henan province, China: ERα gene polymorphisms and reproductive hormones
among women. Asia Pacific J. Clinical Nutrition 25(4):911-919.
Zhou, G., Tang, S., Yang, L., Niu, Q., Chen, J., Xia, T., Wang, S., Wang, M., Zhao, Q., Liu, L., Li, P.,
Dong, L., Yang, K., Zhang, S., and Wang, A. 2019. Effects of long-term fluoride exposure on cognitive
ability and the underlying mechanisms: Role of autophagy and its association with apoptosis. Toxicology
and Applied Pharmacology [Epub ahead of print].
Zhu, W., Zhang, J., and Zhang, Z. 2011. Effects of fluoride on synaptic membrane fluidity and PSD-95
expression level in rat hippocampus. Biological Trace Element Research 139(2):197-203.
Zhu, Y.P., Xi, S.H., Li, M.Y., Ding, T.T., Liu, N., Cao, F.Y., Zeng, Y., Liu, X.J., Tong, J.W., and Jiang,
S.F. 2017. Fluoride and arsenic exposure affects spatial memory and activates the ERK/CREB signaling
pathway in offspring rats. Neurotoxicology 59:56-64.
Zoeller, R.T. 2003. Transplacental thyroxine and fetal brain development. J. Clin. Invest. 111(7):954-957.
Zoeller, R.T., and Rovet, J. 2004. Timing of thyroid hormone action in the developing brain: Clinical
observations and experimental findings. Journal of Neuroendocrinology 16:809-818.
Zohoori, F.V., Omid, N., Sanderson, R.A., Valentine, R.A., and Maguire, A. 2019. Fluoride retention in
infants living in fluoridated and non-fluoridated areas: Effects of weaning. British Journal of Nutrition
121(1):74-81.
Zorrilla, E.P. 1997. Multiparous species present problems (and possibilities) to developmentalists. Dev.
Psychobiol. 30:141-150.




                                                                                                        98
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 407 of 854




                      Exhibit 14
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 408 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 409 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 410 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 411 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 412 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 413 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 414 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 415 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 416 of 854




                      Exhibit 15
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 417 of 854




 &EPA                                                       820-R-10-019




                   Fluoride:
             Dose-Response Analysis
             For Non-cancer Effects


                Health and Ecological Criteria Division
                           Office of Water




                               December, 2010




                     U.S. Environmental Protection Agency
                               Washington, D.C.

                                                             •    EXHIBIT
                                                                       15
                                                             110-\$-ll;}

                                                             1~~~
r
    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 418 of 854




                                                  PREFACE
      In March, 2006, the National Academy of Sciences National Research Council (NRC) released
      the Report: Fluoride in Drinking Water: A Scientific Review ofEPA 's Standards. The NRC
      (2006) noted that "in light of the collected evidence of various health endpoints and total
      exposure to fluoride, the committee concludes the EPA's MCLG of 4 mg/L should be lowered."
      They further suggested that, in order to develop an MCLG that is protective against severe
      enamel fluorosis, clinical stage II skeletal fluorosis and bone fractures, EPA should:

          •   Apply current approaches for quantifying dose-response where feasible,
          •   Consider susceptible populations,
          •   Characterize uncertainties and variability, and
          •   Provide better estimates of total exposure for individuals.

      The Office of Water (OW) accepted the NRC (2006) findings as the summary of hazard for
      inorganic fluoride and focused on the dose-response analysis as they had recommended. The
      OW collected available dose-response data for severe dental fluorosis, clinical stage II skeletal
      fluorosis and skeletal fractures as they relate to fluoride exposure expanding on the data retrieved
      by NRC (2006) to include studies identified by literature searches that covered the time period
      from 2000 to 2010. Current methodologies (categorical regression and benchmark dose
      modeling) were applied in evaluating dose-response in order to identify an appropriate point of
      departure for severe dental fluorosis as the critical effect. The NRC analysis determined that
      severe dental fluorosis appears to occur at a lower dose than stage II skeletal fluorosis and/or
      bone fractures. This document presents the results of the dose-response analysis requested by
      NRC.

      The objective of the OW effort was to identify a point of departure for the fluoride concentration
      in drinking water that would be protective for sensitive exposed populations (children) who are
      vulnerable to severe enamel fluorosis, and determine if that point of departure will also be
      protective against stage II skeletal fluorosis and bone fractures in adults. The OW analysis
      focused first on severe dental fluorosis based on the NRC analysis.

      This document provides a detailed review of available dose-response data from published and
      peer-reviewed studies for the following endpoints as they relate to fluoride exposure from
      drinking water:

         •    Dental fluorosis
         •    Skeletal fluorosis
         •    Skeletal fractures

      Detailed analyses of the suitability of studies that had been identified by NRC (2006) and those
      retrieved by the OW for dose-response analysis are included as separate documents to
      accompany this report. There are two separate collections of study evaluations, one covers dental
      effects (Dental Fluorosis: Evaluations ofKey Studies, EPA Report No. 820-R-l0-018) and the
      other skeletal effects (Fluoride-Related Skeletal Effects: Evaluations ofKey Studies, EPA Report
      No. 820-R-10-017).



                                                                                         December 2010
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 419 of 854




                      Exhibit 16
 Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 420 of 854




                              30(b)(6)



                  FOOD & WATER WATCH

                                 VS

U.S. ENVIRONMENTAL PROTECTION AGENCY, ET AL.,



                       CASEY HANNAN

                       November 06, 2018
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 421 of 854



·1   · · · · · IN THE UNITED STATES DISTRICT COURT
· · ·· · · ·FOR THE NORTHERN DISTRICT OF CALIFORNIA
·2   · · · · · · · · · ·AT SAN FRANCISCO

·3     ______________________________________________________

·4   FOOD & WATER WATCH, et al.,· ·|
· · ·· · · · · · · · · · · · · · · |
·5   · · · · · · · ·Plaintiffs,· · |· CIVIL ACTION
· · ·· · · · · · · · · · · · · · · |
·6   · · · · · ·vs.· · · · · · · · |· FILE NO.
· · ·· · · · · · · · · · · · · · · |
·7   U.S. ENVIRONMENTAL PROTECTION |· 17-cv-2162-EMC
· · ·AGENCY, et al.,· · · · · · · ·|
·8   · · · · · · · · · · · · · · · |
· · ·· · · · · · · ·Defendants.· · |
·9   ______________________________________________________

10

11   · · · · ·VIDEOTAPE RULE 30(b)(6)DEPOSITION OF
· · ·· · · ·CENTERS FOR DISEASE CONTROL & PREVENTION
12   · · · · · · · · · · · · THROUGH
· · ·· · · · · · · · · · ·CASEY HANNAN
13

14     · · · · · · · ·Tuesday, November 6, 2018

15     · · · · · · · · · · · 10:15 a.m.

16
· · ·· · · · · · · · · ·1600 Clifton Road
17   · · · · · · · ·Building 21, Suite 10000
· · ·· · · · · · · · · ·Atlanta, Georgia
18

19     · · · · · · · Linda C. Ruggeri, CCR-A-261

20

21

22

23

24

25
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 422 of 854
                                     30(b)(6)                             19

·1     interfacing with the American Dental Association, part

·2     of that would be about working together to promote

·3     community water fluoridation, correct?

·4     · · ·A.· · ·Yes.

·5     · · ·Q.· · ·Okay.· And CDC has taken an active role in

·6     promoting water fluoridation, correct?

·7     · · ·A.· · ·Yes.

·8     · · ·Q.· · ·Okay.· So you're still the acting

·9     director, correct?

10     · · ·A.· · ·Correct.

11     · · ·Q.· · ·What is there -- I mean, are you -- are

12     you going to be the director or what's the process of

13     going from acting director to director?

14     · · ·A.· · ·What's the process from going to acting --

15     at this point I wouldn't be eligible to apply.

16     · · ·Q.· · ·Okay.· We don't need to go into that.· So

17     now let's talk now about what you did to prepare for

18     today's deposition.· And, first, do you understand

19     that you are appearing today as a representative of

20     the CDC?

21     · · ·A.· · ·I do.

22     · · ·Q.· · ·And do you have an understanding as to

23     what this case is about?

24     · · ·A.· · ·I do.

25     · · ·Q.· · ·What is your understanding?



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 423 of 854
                                     30(b)(6)                            114

·1     · · ·Q.· · ·But as you look at it, it generally looks

·2     like the document you recall?

·3     · · ·A.· · ·Yes, generally it looks that way.

·4     · · ·Q.· · ·Okay.· So I see the date on here is

·5     October 11th, 2018, right?

·6     · · ·A.· · ·Correct.

·7     · · ·Q.· · ·And I'd like to direct your attention,

·8     first of all, to the third paragraph on the page.· You

·9     see the highlighted portion?

10     · · ·A.· · ·Uh-huh.

11     · · ·Q.· · ·It starts:· "This issue of community water

12     fluoridation as a neurotoxic risk was addressed by the

13     CDC in the May 1st, 2015, Federal Register notice

14     which relies on an extensive review of fluoride in

15     drinking water by the NRC.· Did I read that correctly?

16     · · ·A.· · ·Yes, you did.

17     · · ·Q.· · ·And the NRC is the National Research

18     Council, correct?

19     · · ·A.· · ·Correct.

20     · · ·Q.· · ·And you would agree that the NRC's review

21     of the toxicologic literature on fluoride was

22     extensive?

23     · · ·A.· · ·I'm told it is such, yes, the most

24     extensive review undertaken.

25     · · ·Q.· · ·Okay.· And that's a correct statement,



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 424 of 854
                                     30(b)(6)                            115

·1     right?· The statement that we just read, that's a

·2     correct statement?

·3     · · ·A.· · ·The first sentence of that paragraph, yes.

·4     · · ·Q.· · ·Okay.· And then the next sentence says:

·5     "The federal interdepartmental interagency panel of

·6     scientists, which included CDC, accepted the findings

·7     of the 2006 National Research Council report Fluoride

·8     in Drinking Water: A Scientific Review of EPA

·9     Standards, as the summary of hazard."· Did I read that

10     correctly?

11     · · ·A.· · ·Yes, you did.

12     · · ·Q.· · ·So this is the same -- this reference to

13     the federal interagency panel, that's the same federal

14     panel we've been talking about today that issued the

15     Federal Register notice in May 2015, right?

16     · · ·A.· · ·Correct.

17     · · ·Q.· · ·Okay.· And so the CDC along with this

18     federal panel accepted the findings of the NRC's

19     summary of the hazard of fluoride exposure, right?

20     · · ·A.· · ·That's correct.

21     · · ·Q.· · ·Including the hazards, potential hazards,

22     of neurotoxic effects, correct?

23     · · ·A.· · ·Those were included, yes.

24     · · ·Q.· · ·Okay.· So fair to say that the CDC would

25     defer to the NRC when it comes to the potential



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 425 of 854
                                     30(b)(6)                            120

·1     to their findings as to what the toxicologic

·2     literature shows but not necessarily with respect to

·3     their recommendations?

·4     · · ·A.· · ·I think that's a fair statement.

·5     · · ·Q.· · ·Okay.· So let's go and look at some of the

·6     other findings that the NRC had on fluoride and

·7     neurotoxicity.· You see towards the bottom of Page 221

·8     there is a section titled "Neurochemical and

·9     Biochemical Changes"?

10     · · ·A.· · ·Yes.

11     · · ·Q.· · ·Can you just read to yourself the first

12     sentence.

13     · · ·A.· · ·Okay.

14     · · ·Q.· · ·Okay.· So the NRC found that lipids and

15     phospholipids and protein content have been shown to

16     be reduced in the brains of laboratory animals

17     subsequent to fluoride exposure, correct?

18     · · ·A.· · ·That's what they're saying here, yes.

19     · · ·Q.· · ·And the CDC agrees with that finding?

20     · · ·A.· · ·Yes, as a summary of the hazard.

21     · · ·Q.· · ·Okay.· And if you look to the bottom of

22     Page 221, I'm going to read here.· It says:

23     "Fluorides also inhibit the activity of

24     cholinesterases including acetylcholinesterase.

25     Recently, the number of receptors for acetylcholine



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 426 of 854
                                     30(b)(6)                            121

·1     has been found to be reduced in regions of the brain

·2     thought to be most important for mental stability and

·3     for adequate retrieval of memories."· Did I read that

·4     correctly?

·5     · · ·A.· · ·Yes.

·6     · · ·Q.· · ·And, again, CDC agrees with that finding,

·7     correct?

·8     · · ·A.· · ·As stated, yeah, we agree with the

·9     summary, potential summary of the hazard.

10     · · ·Q.· · ·Okay.

11     · · ·A.· · ·Or potential hazard, excuse me.

12     · · ·Q.· · ·And the next sentence reads:· "It appears

13     that many of fluoride's effects and those of the

14     aluminofluoride complexes are mediated by activation

15     of Gp, a protein of the G family.· G proteins mediate

16     the release of many of the best known transmitters of

17     the central nervous system."· Did I read that

18     correctly?

19     · · ·A.· · ·Yes.

20     · · ·Q.· · ·And CDC agrees with that finding from the

21     NRC, correct?

22     · · ·A.· · ·As stated previously, yes.

23     · · ·Q.· · ·Okay.· And if you look at the last

24     sentence of that same paragraph, it reads:· "Aluminum

25     fluoride not only provides false messages throughout



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 427 of 854
                                     30(b)(6)                            122

·1     the nervous system, but at the same time diminishes

·2     the energy essential to brain function."· Did I read

·3     that correctly?

·4     · · ·A.· · ·Yes.

·5     · · ·Q.· · ·And CDC accepts that finding as a summary

·6     of the hazard, correct?

·7     · · ·A.· · ·I do.· I'm confused about whether they're

·8     talking about human subjects or lab animal subjects

·9     here.· And if it's lab animal studies, that's a

10     different impact of the weight of these studies versus

11     done in human populations.

12     · · ·Q.· · ·But, again, CDC accepts that this is an

13     accurate summary of the toxicological literature as of

14     that time, correct?

15     · · ·A.· · ·CDC and the rest of the federal

16     interagency group did, yes.

17     · · ·Q.· · ·Okay.· Now, you see there's the next

18     section down -- sorry.· Strike that.

19     · · · · · · The next paragraph begins:· "Fluorides

20     also increase the production of free radicals in the

21     brain through several different biological pathways.

22     These changes have a bearing on the possibility that

23     fluorides act to increase the risk of developing

24     Alzheimer's disease."· Did I read that correctly?

25     · · ·A.· · ·Yes.



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 428 of 854
                                     30(b)(6)                            123

·1     · · ·Q.· · ·And CDC agrees with that finding of the

·2     toxicologic literature?

·3     · · ·A.· · ·Yes.· And, again, I'm not clear if they're

·4     talking about as demonstrated in laboratory animals or

·5     in human studies.

·6     · · ·Q.· · ·Okay.· And you see the next section on

·7     this page is titled "Anatomical Changes in the Brain"?

·8     · · ·A.· · ·Yes.

·9     · · ·Q.· · ·And it begins:· "Studies of rats exposed

10     to sodium fluoride or aluminum fluoride have reported

11     distortion in cells in the outer and inner layers of

12     the neocortex.· Neuronal deformations were also found

13     in the hippocampus and to a smaller extent in the

14     amygdala and the cerebellum."· Did I read that

15     correctly?

16     · · ·A.· · ·Yes.

17     · · ·Q.· · ·And CDC agrees with that finding as a

18     summary of the hazard?

19     · · ·A.· · ·As it relates to rat studies, yes.

20     · · ·Q.· · ·Okay.· And you see the next highlighted

21     portion in that paragraph?

22     · · ·A.· · ·I do.

23     · · ·Q.· · ·It reads:· "The substantial enhancement of

24     reactive microglia, the presence of stained

25     intracellular neurofilaments, and the presence of IgM



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 429 of 854
                                     30(b)(6)                            124

·1     observed in rodents are related to signs of dementia

·2     in humans.· The magnitude of the changes was large and

·3     consistent among the studies."· Did I read that

·4     correctly?

·5     · · ·A.· · ·Yes.

·6     · · ·Q.· · ·And CDC agrees with the NRC that this is a

·7     correct summary of the hazard?

·8     · · ·A.· · ·Correct.

·9     · · ·Q.· · ·Now, you see under "Recommendations" on

10     that page?

11     · · ·A.· · ·Yes.

12     · · ·Q.· · ·The first sentence reads:· "On the basis

13     of information largely derived from histological,

14     chemical, and molecular studies, it is apparent that

15     fluorides have the ability to interfere with the

16     functions of the brain and the body by direct and

17     indirect means."· Did I read that correctly?

18     · · ·A.· · ·Yes.

19     · · ·Q.· · ·So CDC agrees with NRC that it is apparent

20     that fluorides have the ability to interfere with the

21     functions of the brain and the body by direct and

22     indirect means?

23     · · ·A.· · ·Yes, CDC in connection with the

24     intergovernmental work group.· I should also -- I'd

25     like to add here in these summaries they don't



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 430 of 854
                                     30(b)(6)                            125

·1     quantify the level of fluoride exposure, at what level

·2     are these changes being seen, so just the point that

·3     scientifically it is important to acknowledge.

·4     · · · · · · MR. CONNETT:· Okay.· I move to strike the

·5     · · ·nonresponsive portion.

·6     · · ·Q.· · ·(By Mr. Connett)· Now, if you turn to the

·7     next page, this is part of the recommendations that

·8     NRC provided in 2006 as to what research NRC believed

·9     should be done on the issue of fluoride neurotoxicity,

10     correct?

11     · · ·A.· · ·I didn't quite understand what you said,

12     if you would be kind enough to repeat.

13     · · ·Q.· · ·Absolutely.· And if you want to just

14     browse it over so you can assure yourself of this, but

15     you see how before we were looking at the section

16     titled "Recommendations" --

17     · · ·A.· · ·Yes.

18     · · ·Q.· · ·-- at the bottom of Page 222?· This

19     Page 223 provides NRC's recommendations as to the

20     research that should be done on fluoride

21     neurotoxicity.

22     · · ·A.· · ·Okay.· I understand now.· Thank you.

23     · · ·Q.· · ·And would you agree with that statement?

24     · · ·A.· · ·Let me read it.· Would it be possible to?

25     · · ·Q.· · ·Yes, please.· Take your time.



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 431 of 854
                                     30(b)(6)                            198

·1     attention to Page 32, and do you see that highlighted

·2     portion on the bottom left?

·3     · · ·A.· · ·Okay.· Now I do, yes.

·4     · · ·Q.· · ·Okay.· I'm just going to read that.

·5     Featherstone writes here:· "Until recently the major

·6     caries-inhibitory effect of fluoride was thought to be

·7     due to its incorporation in tooth enamel or tooth

·8     mineral during the development of the tooth prior to

·9     eruption.· This supposed mechanism of action was

10     behind the public health efforts and individual

11     caries-preventive regimens such as the use of fluoride

12     supplements prescribed for children to strengthen the

13     teeth during their development."· Did I read that

14     correctly?

15     · · ·A.· · ·Yes.

16     · · ·Q.· · ·And as I think we've already discussed,

17     CDC agrees that that is a correct assessment of the

18     history of fluoride?

19     · · ·A.· · ·Correct.

20     · · ·Q.· · ·Okay.· And then Featherstone writes:

21     "There is now overwhelming evidence that the primary

22     caries-preventive mechanisms of action of fluoride are

23     post eruptive through topical effects for both

24     children and adults."· Did I read that correctly?

25     · · ·A.· · ·Yes.



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 432 of 854
                                     30(b)(6)                            199

·1     · · ·Q.· · ·And the CDC agrees with that statement,

·2     correct?

·3     · · ·A.· · ·Yes, we do.

·4     · · ·Q.· · ·Okay.· And if I could direct your

·5     attention to Page 34.· Do you see the highlighted

·6     portion at the top right of the page?

·7     · · ·A.· · ·Uh-huh.

·8     · · ·Q.· · ·Featherstone writes:· "Very importantly,

·9     this means that fluoride incorporated during tooth

10     mineral development at normal levels of 20 to 100 ppm

11     even in fluoridated drinking water areas or with the

12     use of fluoride supplements does not alter the

13     solubility of the mineral.· Even at higher levels such

14     as 1000 ppm in the outer few micrometers of enamel,

15     there is no measurable benefit against acid-induced

16     dissolution."· Did I read that correctly?

17     · · ·A.· · ·Yes.

18     · · ·Q.· · ·And did CDC agree with that statement?

19     · · · · · · MR. DO:· I'm going to object there.· Until

20     · · ·you lay the foundation, I don't know if you're

21     · · ·asking in his personal capacity or --

22     · · · · · · MR. CONNETT:· This is in the CDC's

23     · · ·position --

24     · · · · · · MR. DO:· Okay.

25     · · · · · · MR. CONNETT:· -- with respect to Topic



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 433 of 854
                                     30(b)(6)                            280

·1     · · · · · · CERTIFICATE OF COURT REPORTER

·2

·3     STATE OF GEORGIA:

·4     COUNTY OF FULTON:

·5

·6   · · · · · · I hereby certify that the foregoing
· · ·transcript was reported as stated in the caption and
·7   the questions and answers thereto were reduced to
· · ·writing by me; that the foregoing 279 pages represent
·8   a true, correct, and complete transcript of the
· · ·evidence given on Tuesday, November 6, 2018, by the
·9   witness, Casey Hannan, who was first duly sworn by me.

10   · · · · · · I certify that I am not disqualified
· · ·for a relationship of interest under
11   O.C.G.A. 9-11-28(c); I am a Georgia Certified Court
· · ·Reporter here as an independent contractor of
12   JPA Reporting, LLC who was contacted by
· · ·Asbestos Reporters of California to provide court
13   reporting services for the proceedings; I will not be
· · ·taking these proceedings under any contract that is
14   prohibited by O.C.G.A. 15-14-37(a) and (b) or
· · ·Article 7.C. of the Rules and Regulations of the
15   Board; and by the attached disclosure form I confirm
· · ·that neither I nor JPA Reporting, LLC are a party to a
16   contract prohibited by O.C.G.A. 15-14-37(a) and (b) or
· · ·Article 7.C. of the Rules and Regulations of the
17   Board.

18     · · · · · · This 19th day of November, 2018.

19

20

21   · · · · · · · · · ·_________________________________
· · ·· · · · · · · · · ·LINDA C. RUGGERI
22   · · · · · · · · · ·CERTIFIED COURT REPORTER
· · ·· · · · · · · · · ·GEORGIA CERTIFICATE NO. CCR-A-261
23

24

25



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 434 of 854




                      Exhibit 17
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 435 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 436 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 437 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 438 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 439 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 440 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 441 of 854




                      Exhibit 18
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 442 of 854
                             Kathleen M. Thiessen , Ph.D.        August 27, 2019

                                                                    Page 1

1                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
2
3            FOOD & WATER WATCH, INC., et               )
             al.,                                       )
4                                                       )
                                                        )
5                                      Plaintiffs,      )
                                                        )    Case No.
6            vs.                                        )    3:17-cv-02162
                                                        )    -EMC
7            UNITED STATES ENVIRONMENTAL                )
             PROTECTION AGENCY, et al.,                 )
8                                                       )
                                                        )
9                                      Defendants.      )
                                                        )
10
11
12
13                      VIDEO RECORD & ORAL DEPOSITION OF
14                         Kathleen M. Thiessen, Ph.D.
15                          Tuesday, August 27, 2019
16                                   9:00 A.M.
17                            U.S. Attorney's Office
18                               800 Market Street
19                         Knoxville, Tennessee 37902
20
21
22
23
24
                            Georgette H. Mitchell
25                      Registered Professional Reporter
                                 LCR-55 (TN)

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 443 of 854
                             Kathleen M. Thiessen , Ph.D.        August 27, 2019

                                                                Page 297

1             A.        I know the name.      I'm not overly familiar

2      with any of that, no.

3             Q.        Do you know who his employer was?

4             A.        Not right off.

5             Q.        Okay.   Fine.     So let's -- you were asked

6      a lot of questions about changes going on in the brain

7      that the NRC identified.         So I'd like to go though and

8      talk with you in a little bit more detail what those

9      changes were, okay?      Make sense?

10                      So if you could turn to page -- sorry, to

11     Exhibit 255, and I'd like to direct your attention to

12     the findings section of the chapter.           And he starts on

13     page 220.

14                      Do you see that?

15            A.        Yes.

16            Q.        Now, counsel asked you some questions

17     about the first section which is dealing with the

18     then-existing epidemiological studies on IQ, right?

19            A.        Yes.

20            Q.        Okay.   Well, let's look at the findings

21     on the animal data, okay?

22            A.        Okay.

23            Q.        So if you turn to the next page, page

24     221.   You see the section at the bottom there, it's

25     entitled "Neurochemical and Biochemical Changes"?

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 444 of 854
                             Kathleen M. Thiessen , Ph.D.        August 27, 2019

                                                                Page 298

1             A.        Okay.   Yes.

2             Q.        Do you see that at the bottom?

3             A.        Yes.

4             Q.        Now, this is a section where NRC is

5      identifying its findings as to how fluoride causes

6      neurochemical and biochemical changes, correct?

7             A.        Yes.

8             Q.        Okay.   If you want to take a second and

9      just read that first paragraph.

10            A.        Okay.

11            Q.        Okay.   So these are some of the changes

12     that NRC had identified as occurring in animals

13     following fluoride exposure, correct?

14            A.        Yes.

15            Q.        Now, these changes include reduction in

16     lipid content in the brain?

17            A.        Yes.

18            Q.        And do these changes include reduction in

19     the protein content of the brain?

20            A.        Yes.

21            Q.        Do these changes incur -- include

22     reductions in the phospholipid content of the brain?

23            A.        Yes.

24            Q.        Do these changes incur inhibitions of

25     acetylcholinesterase?

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 445 of 854
                             Kathleen M. Thiessen , Ph.D.        August 27, 2019

                                                                Page 299

1             A.        Yes.

2             Q.        Do these changes include -- well, I'll

3      stop there.

4                       Dr. Thiessen, these -- are these changes

5      here that NRC is identifying known effects from

6      fluoride exposure in animals?

7             A.        Yes.

8             Q.        Okay.   So when we're talking about the

9      difference between a known effect and a potential

10     effect, these are potential effects when seeking to

11     extrapolate them to humans.

12                      Is that a fair -- fair summary?

13            A.        Yes.

14            Q.        Okay.   So they're -- these are known

15     effects in animals from fluoride exposure and they are

16     at this time, potential effects in humans.

17                      Is that a correct summary?

18            A.        Yes, there are actually a couple of

19     studies that show some of those effects in fetal brains

20     in mothers exposed to fluoride.

21            Q.        Okay.   So as of 2006, and based on the

22     NRC's conclusions, fluoride -- sorry, strike that.

23                      As of 2006, the NRC had enough

24     information available to it to conclude that

25     neurotoxicity is a known effect of fluoride exposure in

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 446 of 854
                             Kathleen M. Thiessen , Ph.D.        August 27, 2019

                                                                Page 301

1                       MS. CARFORA:     Thank you.

2      BY MR. CONNETT:

3             Q.        If you go to -- if you look at the third

4      sentence there in that paragraph it says that "fluoride

5      affects transmitter concentrations and functions."

6                       Do you see that?

7             A.        Yes.

8             Q.        So the NRC had enough information

9      available to it from the animal studies to conclude

10     that fluoride affects neurotransmitter concentrations

11     and functions; is that correct?

12            A.        Yes.

13            Q.        Would you consider alterations to

14     neurotransmitter concentrations and functions to be an

15     adverse effect?

16            A.        Yes.

17            Q.        Now, if you -- the last sentence of that

18     paragraph NRC writes that "aluminum fluoride, not only

19     provides false messages throughout the nervous system

20     but, at the same time, diminishes the energy essential

21     to brain function."

22                      Did I read that correctly?

23            A.        Yes.

24            Q.        So that was a finding from the NRC?

25            A.        Yes.

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 447 of 854
                             Kathleen M. Thiessen , Ph.D.        August 27, 2019

                                                                Page 302

1             Q.        Dr. Thiessen, do you -- would you

2      consider the diminishment of the energy -- sorry,

3      strike that.

4                       Dr. Thiessen, would you consider a

5      diminishment to the energy available to the brain to be

6      an adverse effect?

7                       MS. CARFORA:     Objection, leading.

8                       THE WITNESS:     Yes.

9      BY MR. CONNETT:

10            Q.        Now if you turn to the next paragraph,

11     Dr. Thiessen, you see the first sentence there?            And

12     I'll read it for you.

13                      NRC writes, "Fluorides also increase the

14     production of free radicals in the brain through

15     several different biological pathways."

16                      Did I read that correctly?

17            A.        Yes.

18            Q.        So the NRC as of 2006, had enough

19     information available to it from the animal literature

20     to conclude that fluoride increased the oxidative

21     stress in the brain of animals; is that correct?

22            A.        Yes.

23            Q.        Dr. Thiessen, do you consider the

24     increase of oxidative stress in the brain to be an

25     adverse effect?

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 448 of 854
                             Kathleen M. Thiessen , Ph.D.        August 27, 2019

                                                                Page 304

1                       MS. CARFORA:     Objection, leading.

2                       THE WITNESS:     Yes.

3      BY MR. CONNETT:

4             Q.        And so the NRC had enough information

5      available to it as of 2006 to conclude that fluoride

6      can cause neuronal deformations in the brains of

7      animals?

8                       MS. CARFORA:     Objection, leading.

9                       THE WITNESS:     Yes.

10     BY MR. CONNETT:

11            Q.        Is that -- is that correct, Dr. Thiessen?

12            A.        Yes.

13            Q.        Okay.   And further on in the paragraph

14     the NRC writes, "The substantial enhancement of

15     reactive microglia, the presence of stained

16     intracellular neurofilaments and the presence of IGM

17     observed in rodents are related to signs of dementia in

18     humans."

19                      Did I read that correctly?

20            A.        Yes.

21            Q.        So is it fair to say that the NRC looked

22     at some of these changes occurring in the brains of

23     fluoride-treated animals and saw those changes as

24     having a potential bearing on fluoride's ability to

25     cause dementia in humans?

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 449 of 854
                             Kathleen M. Thiessen , Ph.D.        August 27, 2019

                                                                Page 317

1             A.        That and the CDC report, the discussion

2      of that.

3             Q.        And you -- one of the questions that was

4      asked to you, I believe counsel stated that Dr.

5      Featherstone thought there was a systemic benefit of

6      fluoride.

7                       So I want to read to you a quote from Dr.

8      Featherstone's conclusions in his 1999 review, and then

9      ask you if you agree with Dr. Featherstone's

10     conclusion, okay?

11                      Dr. Featherstone wrote, "The systemic

12     benefits of fluoride are minimal."

13                      Would you agree with Dr. Featherstone?

14            A.        Yes.

15            Q.        Okay.   I know you weren't at Dr. Henry's

16     deposition and I know you haven't received a transcript

17     of her deposition, but in her deposition she testified

18     that you never discussed a document called The

19     Guidelines for Neurotoxicity Risk Assessment.

20                      Is that correct?

21            A.        That is not correct.

22            Q.        Is -- is there any point in your report

23     where you reference or discuss the Guidelines for

24     Neurotoxicity Risk Assessment?

25            A.        Starting on page six.

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 450 of 854
                             Kathleen M. Thiessen , Ph.D.        August 27, 2019

                                                                Page 318

1             Q.        And is it fair to say, Dr. Thiessen, that

2      you repeatedly reference and discuss the Guidelines for

3      Neurotoxicity Risk Assessment?

4             A.        Yes, I cited them many times.

5             Q.        So let me ask you, what role did the

6      EPA's guidelines for neurotoxicity risk assessment play

7      in your analysis?

8                       Can you explain that a little bit?

9             A.        That was sort of the -- the basis or

10     framework for my analysis.        What does EPA say about the

11     neurotoxicity risk assessment and here's what we know

12     about fluoride.

13            Q.        So did you assess the literature under

14     the framework presented or recommended by the

15     guidelines?

16            A.        Yes.

17            Q.        Do you know if these guidelines are still

18     relied upon and used by EPA?

19            A.        It's my understanding that they are.          The

20     -- the list of chemicals that have been assessed

21     according to those guidelines, two of them are in --

22     are recent reports.

23            Q.        And I think you were just pointing to one

24     of the tables in your reports?

25            A.        Yes.

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 451 of 854
                             Kathleen M. Thiessen , Ph.D.        August 27, 2019

                                                                Page 327

1                       THE WITNESS:     No, those are prospective

2             cohort studies with individual measures of

3             exposure, and they are not ecological.

4      BY MR. CONNETT:

5             Q.        And does the -- by the way, did EPA's

6      guidelines on neurotoxicity risk assessment, do they

7      have any discussion about the -- about prospective

8      cohort studies?

9                       MS. CARFORA:     Objection, foundation.

10                      THE WITNESS:     I think they list the types

11            of study and -- and that would be the best type to

12            have.

13     BY MR. CONNETT:

14            Q.        And that's the EPA's guidelines are

15     saying the prospective cohort studies are -- aren't as

16     strong as epidemiological studies to have; is that

17     correct?

18            A.        Yes.

19                      MS. CARFORA:     Objection.     Leading.

20     BY MR. CONNETT:

21            Q.        So Dr. Sugi's review, did you read that?

22            A.        Yes.

23            Q.        Did Dr. Sugi, did she identify any study

24     that found no effects from fluoride exposure in animals

25     that you did not identify or discuss?

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 452 of 854
                             Kathleen M. Thiessen , Ph.D.        August 27, 2019

                                                               Page 328

1                        MS. CARFORA:       Objection, scope, leading.

2                        THE WITNESS:       I don't think so.

3      BY MR. CONNETT:

4             Q.         Does -- what, if anything, does Dr.

5      Sugi's review of the scientific literature suggest

6      about the representativeness of the literature on

7      animal studies that you discuss in your report?

8                        MS. CARFORA:       Objection, scope, leading,

9             compound.

10                       THE WITNESS:       I was not missing anything

11            important.

12     BY MR. CONNETT:

13            Q.         Okay.    So let's talk about points of

14     departure, and if you could pull out your report,

15     Exhibit 259.      So I'm looking here at Table 7 on page

16     62.

17                       Dr. Thiessen, in this table you

18     identify -- is it fair to say, that you identify

19     multiple different points of departure?

20            A.         I listed several possible points of

21     departure.

22            Q.         Why did you do that?

23            A.         To show an example of the range of low

24     effect levels and -- and no effect levels that are in

25     the animal literature, and to show that with any of

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 453 of 854
                             Kathleen M. Thiessen , Ph.D.        August 27, 2019

                                                                Page 357

1      instance; isn't that right?

2             A.        That's what this says.        The paragraph I

3      was accidentally reading on the other page says you

4      need to be careful --

5             Q.        Okay.

6             A.        -- that they might not be reversible.

7             Q.        Okay.   And do you -- so just very

8      quickly.     Do you agree or disagree with that?

9             A.        The neurotoxicity is an adverse change in

10     the structural function?        Yes.

11            Q.        Okay.   So do you agree, I mean, it says,

12     "adverse effects include alterations from baseline or

13     normal conditions that diminish an organism's ability

14     to survive, reproduce or adapt to the environment."

15                      I mean, do you understand this to be

16     saying that there could be changes in structure or

17     function that are not necessarily adverse?

18            A.        It's conceivable, but the -- the brain

19     does not repair itself very well.

20            Q.        Okay.   And then at the very end of that

21     paragraph it's the second to last sentence in this

22     paragraph.

23                      It says, "In this case, the change in

24     motor activity could be considered adverse, but not

25     necessarily neurotoxic."

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 454 of 854
                             Kathleen M. Thiessen , Ph.D.        August 27, 2019

                                                               Page 380

1             Q.         If you can turn to page 25.           The first

2      line on the top of the page reads, "Alterations in the

3      structure of the nervous system", and it provides some

4      examples, "are regarded as evidence of a neurotoxic

5      effect."

6                        Do you see that?

7             A.         Yes.

8             Q.         Now, you've talked a lot today, Dr.

9      Thiessen, about neurochemical effects and

10     neuroanatomical effects.

11                       Are those sometimes called structural

12     effects?

13            A.         Yes.

14            Q.         So is it your understanding that EPA

15     considers structural effects on the nervous system to

16     be evidence of neurotoxicity?

17            A.         That's what it says.

18            Q.         Okay.    If you can turn to page 55.           If

19     you -- second paragraph, four lines down.

20            A.         Okay.

21            Q.         And I'll read it.         EPA states,

22     "Neurochemical and electrophysiological changes may be

23     regarded as adverse because of their known or presumed

24     relation to neuropathological and/or neurobehavioral

25     consequences."

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 455 of 854
                             Kathleen M. Thiessen , Ph.D.        August 27, 2019

                                                                Page 381

1                       Did I read that correctly?

2             A.        Yes.

3             Q.        So is it your understanding, Dr.

4      Thiessen, that EPA -- sorry.         Strike that.

5                       Is this consistent with your

6      understanding, Dr. Thiessen, about the effects of

7      neurochemical changes in the brain?

8             A.        Yes.

9             Q.        Does this then form your opinion that

10     you've offered today as to whether neurochemical

11     changes are likely to be adverse?

12            A.        Yes.

13            Q.        So if you could -- you were -- I've just

14     been showing you some quotes on structural effects and

15     whether structural effects are properly considered

16     adverse.

17                      I now want to ask you some questions

18     about functional effects on the nervous system, and

19     functional effects, am I correct in understanding,

20     include things like learning, learning impairments, and

21     memory impairments?

22            A.        Yes.

23            Q.        Okay.   So let's see how EPA has

24     considered whether learning effects and memory effects

25     are adverse.

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 456 of 854
                             Kathleen M. Thiessen , Ph.D.        August 27, 2019

                                                                Page 383

1             Q.        Okay.   And what was the effect that EPA

2      found to be adverse in the 2-Hexanone assessments?

3             A.        Axonal swelling in peripheral nerves.

4             Q.        Would those be structural effects?

5             A.        The swelling of the axons would be

6      structural effects.

7             Q.        Now, you were asked about animal studies

8      and whether the findings of neurotoxicity can be

9      explained by systemic toxicity.

10                      Do you recall that?

11            A.        Yes.

12            Q.        You have discussed today at several

13     points the studies by Bartos, right?

14            A.        Yes.

15            Q.        In the Bartos studies, can the effects on

16     learning and memory be explained by systemic toxicity?

17            A.        No.

18            Q.        And have you reviewed other animal

19     literature which has examined fluoride effects on

20     learning and memory to determine whether systematic

21     toxicity can explain the effects?

22            A.        There's several of them where it does not

23     explain the effects.

24            Q.        And -- now, you were asked about whether

25     it's more, you know, the difficulty of proving a

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 457 of 854
                             Kathleen M. Thiessen , Ph.D.        August 27, 2019

                                                                Page 388

1             Q.        So if a chemical has consistently been

2      associated with adverse effects in human beings at a

3      concentration of two parts per million, okay, and

4      humans are exposed to that chemical generally, at let's

5      say .7 parts per million, would that be -- would that

6      difference in exposure in a typical risk assessment be

7      considered a very large difference?

8             A.        No.

9             Q.        Would that difference in exposure in a

10     typical risk assessment where, for instance, politics

11     are not involved, would that be considered a very small

12     margin of difference?

13            A.        That would be considered very small.

14     It's less or close to or less than a factor of three.

15     The exposure range could -- could well exceed that.

16            Q.        If you can -- my last question, I'm going

17     to -- and if you could turn to the NTP report.            If you

18     could turn to page three?

19            A.        Page?

20            Q.        Page three.

21            A.        Three.   Okay.

22            Q.        And the -- you see in looking at the

23     middle paragraph there and it is one, two, three, four,

24     five, six lines down, you see there's a sentence

25     beginning "for fluoride endemic areas"?

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 458 of 854
                             Kathleen M. Thiessen , Ph.D.        August 27, 2019

                                                                Page 392

1                          C E R T I F I C A T E
2      STATE OF TENNESSEE
3      COUNTY OF KNOX
4                 I, Georgette H. Mitchell, Registered
5      Professional Reporter, Licensed Court Reporter #55 and
6      Notary Public, do hereby certify that I reported in
7      machine shorthand the deposition of KATHLEEN M.
8      THIESSEN, PH.D, called as a witness at the instance of
9      the Defendants, that the said witness was duly sworn by
10     me; that the reading and subscribing of the deposition
11     by the witness was waived; that the foregoing pages
12     were transcribed under my personal supervision and
13     constitute a true and accurate record of the deposition
14     of said witness to the best of my ability.
15                I further certify that I am not an attorney or
16     counsel of any of the parties, nor an employee or
17     relative of any attorney or counsel connected with the
18     action, nor financially interested in the action.
19                Witness my hand and seal this the 7th day of
20     September, 2019.
21
22                                     <%13780,Signature%>
                                       Georgette H. Mitchell
23                                     Registered Professional
                                       Reporter, Licensed Court
24                                     Reporter 55, LCR expires
                                       6-30-20 and Notary Public
25                                     My Commission Expires:
                                       February 2, 2020

                           www.CapitalReportingCompany.com
                                    202-857-3376
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 459 of 854




                      Exhibit 19
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 460 of 854
                                 Phillipe Grandjean           September 13, 2019

                                                                   Page 1

1                       UNITED STATES DISTRICT COURT
2                    NORTHERN DISTRICT OF CALIFORNIA
3
4      FOOD & WATER WATCH, INC., et al.,              ) Case No.
                                                      ) 3:17-CV-02162-EMC
5                   Plaintiffs,                       )
                                                      )
6            v.                                       )
                                                      )
7      UNITED STATES ENVIRONMENTAL                    )
       PROTECTION AGENCY, et al.,                     )
8                                                     )
                    Defendants.                       )
9      -----------------------------------)
10
11                                    - - -
12                          FRIDAY, SEPTEMBER 13, 2019
13                                    - - -
14
15           Videotaped deposition of PHILLIPE GRANDJEAN,
16     M.D., PH.D., taken at the offices of U.S. Department
17     of Justice, 4 Constitution Square, 150 M Street N.E.,
18     Room 5.1405, Washington, D.C., beginning at 9:10 a.m.,
19     before Nancy J. Martin, a Registered Merit Reporter,
20     Certified Shorthand Reporter.
21
       Job No. CS3520657
22

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 461 of 854
                                 Phillipe Grandjean           September 13, 2019

                                                                 Page 70

1                 And then we looked at the literature, and in

2      the Lancet paper from 2006, we concluded that fluoride

3      was a neurotoxicant.         We agreed with EPA, and that we

4      also said we didn't think the evidence was sufficient

5      to classify fluoride as a development neurotoxicant,

6      while we did classify lead and methylmercury and

7      arsenic and toluene and PCBs, I think those were the

8      five, as development toxicants.

9                 And what happened in the years up to that was

10     that, you know, using the experience with lead, and

11     lead can cause brain toxicity in adults, and we know

12     that very well.       It has been profusely documented.

13     And as the literature on lead exposure and children's

14     brain development developed over several decades with

15     people like Herbert Needleman, who recently deceased,

16     we realized that children's brain development is

17     incredibly, substantially more vulnerable to

18     neurotoxicants than the adult mature brain because all

19     the brain cells are there.           They're in the right

20     spots.    They have all the right connections already in

21     the mature brain, and that makes the brain much less

22     sensitive.




                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 462 of 854
                                 Phillipe Grandjean           September 13, 2019

                                                                  Page 71

1                 But the human brain during early development,

2      you know, the brain cells start like a tiny lit

3      sausage, and the cells have to find their way to their

4      final precision in the brain matter and line up.                 Some

5      of them have to line up on top of each other.                 They

6      have to send out projections, accents and dent rights,

7      to sort of wire the brain correctly.

8                 Those processes are very, very sensitive.                 So

9      with lead, it's like it requires perhaps a few percent

10     of the dose that's toxic to the adult compared to what

11     is toxic to the developing brain.

12                So we were worried, and that's why Richard

13     Horton said -- the editor of the Lancet said to me,

14     "Can you write this review for us?"              And I asked Phil

15     to, you know, co-author, and it's -- I don't know.                   It

16     has been cited more than 1,000 times.                 So it's very --

17     it's a standard reference, I would say --

18     BY MS. CARFORA:

19           Q.   Okay.     You said --

20                MR. CONNETT:       The witness is not finished

21     answering the question.

22     BY MS. CARFORA:




                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 463 of 854
                                 Phillipe Grandjean           September 13, 2019

                                                                 Page 75

1                 MR. CONNETT:       That --

2                 MS. CARFORA:       I'm withdrawing the question.

3      I'm going to ask a different question.

4            Q.   My question for you -- my new question for

5      you, sir, is do you know --

6                 MR. CONNETT:       Let the record reflect that

7      counsel has now interrupted the witness several times

8      when she's getting answers she doesn't like.                It's not

9      an appropriate thing to do in a deposition.                I'd ask

10     that you not do that again.

11                You can proceed.

12     BY MS. CARFORA:

13           Q.   Do you know, sitting here right now, at what

14     dose fluoride causes neurotoxic effect?

15                MR. CONNETT:       Overbroad.

16                THE WITNESS:       Sitting here right now, I have

17     a different answer than the answer I gave in 2006 and

18     the answer that was updated in 2014, and my answer

19     today is that yes, I know levels where developmental

20     neurotoxicity occurs in humans because now there is

21     substantially more information from high-quality

22     studies that have been conducted with objective,




                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 464 of 854
                                 Phillipe Grandjean           September 13, 2019

                                                                 Page 76

1      reliable methods and published in high-level

2      biomedical journals after peer review, and I think

3      that the unfortunate conclusion we have to accept

4      today is the conclusion that I have put in my report.

5                  And that is that fluoride exposures, as they

6      occur in America today, primarily from fluoridated

7      drinking water, are toxic to brain development in

8      humans.

9      BY MS. CARFORA:

10            Q.   So what is the dose?

11                 MR. CONNETT:      Asked and answered.

12                 THE WITNESS:      You know, you're asking me a

13     very simple question.         Let me phrase my answer in

14     terms that relate to EPA and then the rule making at

15     EPA.

16                 EPA, as a regulatory agency, requires, in

17     order to develop what they call a "reference dose,"

18     they recommend the use of a technique called

19     "benchmark dose calculation."            And so the point is

20     that thresholds of toxicity cannot be observed.                 So

21     the answer to your question at which dose, I have to

22     say, well, doses that are above a threshold, but the




                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 465 of 854
                                 Phillipe Grandjean           September 13, 2019

                                                                 Page 77

1      threshold cannot be observed -- I mean what we would

2      have to do is like dose pregnant women, you know, who

3      were devoid of fluoride exposure at different levels

4      of daily intakes to see what happened to the child's

5      brain development.

6                 We don't do those sort of things.             But in

7      fact, what's happening in modern America, we are

8      dosing the whole population with fluoride, and we are

9      now convinced that the levels of exposure that are

10     achieved are above what I have calculated as a

11     benchmark dose that EPA would normally require to

12     develop a reference dose.           And that reference dose has

13     not been updated for decades.

14                So I think the time has come for us to

15     address the current scientific knowledge and see how

16     we can best adjust public policy in this area.

17     BY MS. CARFORA:

18           Q.   Sir, my question is very simple and

19     straightforward.       And you just said yourself that I

20     asked a very simple question.

21                My question is do you, sitting here today,

22     have an opinion as to at what dose fluoride causes




                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 466 of 854
                                 Phillipe Grandjean           September 13, 2019

                                                                 Page 78

1      neurotoxic effect?

2                 MR. CONNETT:       Asked and answered.

3                 THE WITNESS:       I think I gave you the answer,

4      but let me just say that if I follow EPA's

5      recommendations, I would say any exposure above the

6      benchmark dose level, that is above about 0.2

7      milligrams per liter of drinking water, that means

8      that above that dose, developmental neurotoxicity will

9      increase in magnitude and in frequency.

10     BY MS. CARFORA:

11           Q.   Okay.     So your testimony is that, if I

12     understand correctly, fluoride causes neuro

13     developmental toxicity at a dose of 0.2 or at a

14     concentration of 0.2 in the drinking water?

15           A.   Okay.     You use the word "dose," and I talk

16     about exposure.       So I am referring to the fluoride

17     concentration in the water because that's what has

18     been used in the scientific studies, and they've also

19     used the fluoride concentration in the urine, and

20     that's what EPA is addressing because they are

21     obviously regulating fluoride and water.               They can't

22     regulate fluoride in urine, but they can regulate the




                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 467 of 854
                                 Phillipe Grandjean           September 13, 2019

                                                                  Page 89

1      look at, for example, the blood-lead concentrations

2      that CDC has accepted as safe in the past.                 They have

3      really gone down tremendously.             And, for example, the

4      European Commission has concluded that there is no

5      safe exposure to lead.

6                   And I think that's also the understanding

7      with CDC and at EPA nowadays, but look back a few

8      decades.      The safe dose has gone down by more than a

9      tenfold simply because we got better information and,

10     you know, more evidence.           And we published recently a

11     paper on benchmark dose calculations for lead which

12     are very much in agreement with EPA's current view on

13     lead as a developmental neurotoxicant.                 The benchmark

14     dose calculation is a tool that is used to integrate

15     the information available from one or from several

16     studies to get the best and valid evidence to act

17     upon.

18                  And so I've followed that recommendation, you

19     know, using the benchmark dose calculation, and

20     generated the numbers, and they are in my two reports.

21     BY MS. CARFORA:

22             Q.   Okay.   The benchmark dose calculation for




                            www.CapitalReportingCompany.com
                                     202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 468 of 854
                                 Phillipe Grandjean           September 13, 2019

                                                                 Page 90

1      lead that you -- you coauthored that paper; is that

2      right?

3            A.   That's correct.

4            Q.   And who was the lead author on that paper?

5            A.   I think my biostatistician colleague, Esben,

6      was the lead author.

7            Q.   Esben?

8            A.   Esben Budtz-Jorgensen.

9            Q.   Okay.     Can I just call him "Esben"?

10           A.   Yeah.     His name should be in my report.

11           Q.   It's certainly referenced --

12           A.   Yeah.

13           Q.   -- in the references.          What was your role on

14     the paper -- the benchmark dose calculations for lead,

15     what was your role on that?

16           A.   My role was to facilitate the collaboration

17     between my -- Esben Budtz-Jorgensen is chairman of

18     biostatistics at the University of Copenhagen, and he

19     has written learned papers in biometrics and

20     statistics in medicine and other journals like that on

21     benchmark dose, and the mathematics and the validity

22     of that concept and, you know, what happens when you




                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 469 of 854
                                 Phillipe Grandjean           September 13, 2019

                                                                 Page 91

1      have imprecise exposure assessment and all of that

2      sort of sophisticated aspect.            So he's really one of

3      the key experts in the world on that.

4                 So because of my background conducting

5      studies in children exposed to lead, I knew the

6      colleagues from Australia and New Zealand, the

7      United States and some European countries, and we

8      agreed we should do a joint analysis of all of the

9      data and come up with benchmark dose concentrations

10     that could be used by regulatory agencies.               And so we

11     wrote this joint paper.

12           Q.   And what was your role in writing that paper?

13           A.   Like I said, I was the one bridging between

14     my colleagues in other countries and the

15     biostatistician.

16           Q.   So you brought everyone together?

17           A.   I think I was listed as the senior author.

18     So I had the major responsibility for the writing.

19     This is several years ago.           I don't know the

20     percentage of the wording that I was responsible for,

21     but I was sort of the leading scientist on that

22     project that --




                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 470 of 854
                                 Phillipe Grandjean           September 13, 2019

                                                                  Page 92

1              Q.     Did you write that paper?

2              A.     I'm sorry.

3              Q.     Did you write that paper?         "BMD Calculations

4      for Lead," did you write that?

5              A.     I was the senior author.         I mean I can't say

6      I wrote every word because everybody -- all of the

7      authors contributed, but I was responsible for making

8      sure that we completed that project and that we, you

9      know, generated a scholarly manuscript and it was

10     submitted to an important journal.               It got published.

11             Q.     But you're not listed as the main author on

12     that paper?

13             A.     I'm saying I was senior author.

14             Q.     What does that mean?       How would I, looking at

15     that, know --

16             A.     We speak different languages.           Okay.   A

17     senior author -- and I think I was also corresponding

18     author.        A senior author is the one that's listed

19     last.        So usually the person who has been doing, you

20     know, the field work, or whatever it is, is listed

21     first -- and it could be a graduate student -- but

22     then the supervisor is listed last.               That's sort of




                            www.CapitalReportingCompany.com
                                     202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 471 of 854
                                 Phillipe Grandjean           September 13, 2019

                                                                 Page 93

1      the academic tradition.

2            Q.    Okay.    But I don't know if that answers my

3      question.     My question is did you write it?

4                  MR. CONNETT:      Asked and answered.

5                  THE WITNESS:      Okay.     I think it's the same

6      thing in legal practice, that if you produce a

7      document from the DOJ, it may be submitted on behalf

8      of the secretary but the secretary didn't write it,

9      but the secretary was the one responsible for the

10     thinking behind it and for the approach, and then

11     there were people contributing to various parts of it.

12                 And I don't remember how many percent of the

13     wording -- maybe it was 50 percent.              But in science

14     when you collaborate -- I mean as a journalist, I have

15     to say if the person is listed as an author, that

16     person must have contributed intellectually, not just

17     lending the colleagues an instrument or sending them a

18     useful reference.

19     BY MS. CARFORA:

20           Q.    Okay.    So what was your intellectual

21     contribution to the BMD calculations for lead?

22                 MR. CONNETT:      Asked and answered.        Overbroad.




                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 472 of 854
                                 Phillipe Grandjean           September 13, 2019

                                                                  Page 94

1                  THE WITNESS:      Let me explain -- I wrote my

2      doctoral thesis on lead.          I'm well versed in the

3      field.     I know the colleagues who have done studies.

4      I mean WHO sent me to Australia to participate on

5      their behalf in a meeting to coordinate efforts in

6      New Zealand and Australia in regard to controlling led

7      exposure in children.         I know these colleagues.

8                  And therefore I initiated this project so

9      that we could provide the best and highest quality

10     evidence as guidance for, you know, improved public

11     health in this field because lead is an ongoing hazard

12     to brain development even in America where we have

13     regulated lead in various ways and lead exposures have

14     decreased, but it's still a hazard.

15     BY MS. CARFORA:

16           Q.    Okay.    Did you do the BMD calculations in

17     that paper?

18           A.    No.

19           Q.    Okay.    Did you do the BMD calculations in

20     your expert report in this matter?

21           A.    I can do them, and I know how to do it.                 The

22     formula is here.       So it's easy to do.            I think you




                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 473 of 854
                                 Phillipe Grandjean           September 13, 2019

                                                                 Page 95

1      could do it.

2            Q.   But did you do it?

3            A.   No.     I decided I would rather have the

4      chairman of biostatistics be responsible for that

5      because he is a world expert on benchmark dose.                 I

6      wouldn't trust myself.

7            Q.   Okay.     So you sent Exben an E-mail and asked

8      him to do the benchmark dose analysis for your expert

9      report in this matter; is that right?

10           A.   That is correct.

11           Q.   Okay.     And then he responded to you and,

12     presumably, I'm pretty sure you cut-and-pasted what

13     was in his E-mail into your expert report; is that

14     right?

15           A.   As I explained in my report.

16           Q.   Just very quickly, you testified a little bit

17     earlier about not -- I think you said you didn't

18     understand exactly how all of EPA's processes went for

19     reference dose in BMD calculations.              And I guess my

20     question for you, then, is if you weren't sure how

21     they worked, why did you use them for your expert

22     report here?




                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 474 of 854
                                 Phillipe Grandjean           September 13, 2019

                                                                 Page 96

1                 MR. CONNETT:       Overbroad.       Argumentative.

2      Vague and ambiguous.

3                 THE WITNESS:       Okay.     So let me just be clear.

4      I have a reasonable understanding of what EPA does

5      because I mean I was working so closely with EPA on

6      methylmercury because EPA and the National Research

7      Council decided that my research should provide the

8      basis for a reference dose.           You know, that was in

9      2001, and I think the National Research Council report

10     was in 2000.

11                And we worked together on using the research

12     data that I had gathered so that EPA could do a proper

13     risk assessment and generate a reference dose for

14     methylmercury.       And this is now what's being updated

15     with the people.

16                So I do have a fair understanding of the

17     procedures and, you know, how risk assessments are

18     carried out in EPA.        I wouldn't say that I'm able to

19     give you a detailed explanation of all the details.

20     BY MS. CARFORA

21           Q.   Okay.     Does fluoride's toxicity depend on

22     root of exposure?




                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 475 of 854
                                 Phillipe Grandjean           September 13, 2019

                                                               Page 232

1                 An hour to review like I have provided here

2      was, to me, just as convincing because there is a

3      meta-analysis here with a P-value of below

4      0.000-something-1.        An extremely low P-value.           It is

5      very, very improbable that what we showed in 2012 is

6      an artifact or accidental.           We were on April -- we did

7      all sorts of stratifications to take into account

8      arsenic and lead and iron deficiency, those sorts of

9      things.

10                We took into account ages.            We took into

11     account the outcome scales used.             So we did everything

12     we could to show that fluoride is not causing this,

13     but it's something else and now we'll look at that,

14     and we failed every time.

15     BY MS. CARFORA:

16           Q.   Wait.     So that was 2012.         So just so I

17     understand, what process did you use, for the purposes

18     of your expert report, to assess the quality of the

19     studies from 2012 to today?

20           A.   Right.     First of all, I scanned the

21     literature.      I have been collecting that literature

22     over the years.       So, anyway, I got hold of the




                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 476 of 854
                                 Phillipe Grandjean           September 13, 2019

                                                                 Page 233

1      published peer reviewed literature in this field, and

2      then I assessed the quality and relevance -- you know,

3      I weighted the evidence.

4              Q.     But how?

5              A.     We talked about that already.           I looked at

6      the validity of the methods used.               I looked at the

7      biostatistics methods.           I looked at the, you know,

8      covariants and -- I mean like I explained before.                    And

9      then I wrote a narrative review here and -- anyway,

10     it's about Page 20, something like that.                 And I also

11     relied on Duan's.         He actually did a meta-analysis for

12     the studies with water levels below 4 milligrams per

13     liter and showed that, you know, essentially, the same

14     findings, but narrow down the concern about fluoride

15     exposures from higher levels to those that are below

16     EPA's MCGL.

17             Q.     But the Duan -- for example, the Duan was

18     2018; is that right?           The meta-analysis?

19             A.     I can look it up.      Duan should be -- well, at

20     least it's more recent than my own work from 2012.

21                    MR. CONNETT:     If you need to look, that's

22     fine.        Take your time.




                            www.CapitalReportingCompany.com
                                     202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 477 of 854
                                 Phillipe Grandjean           September 13, 2019

                                                               Page 307

1            A.   Yes.    Okay.     That's the number.

2            Q.   But the first sentence of that paragraph, you

3      write, "In natural waters, fluoride is omnipresent,

4      but the concentrations are generally low in surface

5      water such as rivers and lakes.             The concentrations

6      tend to be higher and more variable in ground water,

7      such as wells."       Do you see that?

8            A.   I see that, and that is well documented.

9            Q.   So in your background estimate that you were

10     talking about today, would that be more reflective of

11     groundwater such as wells, or would it --

12           A.   Yeah.     I was referring to groundwater

13     because, you know, that's a major source of drinking

14     water, and that's what's causing the problems in the,

15     you know, endemic areas in Asia and elsewhere.

16           Q.   So the background levels of fluoride in

17     rivers and streams and lakes, would they be lower

18     than --

19           A.   Oh, they're definitely lower, yeah, unless

20     there is industrial pollution.

21           Q.   Okay.     Does arsenic occur naturally?

22           A.   Arsenic, likewise, occurs naturally.




                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 478 of 854
                                 Phillipe Grandjean           September 13, 2019

                                                               Page 308

1            Q.   Does that mean that arsenic is not toxic?

2            A.   Well, you know, that was the traditional

3      misconception, that if something occurs naturally,

4      homosapiens would have developed metabolic defenses so

5      that it wouldn't interfere adversely with, you know,

6      human metabolism, but -- well, anyway, that was my

7      answer.

8            Q.   So is it -- am I correct in understanding

9      that the fact that arsenic occurs naturally does not

10     mean that arsenic is safe?           Is that a fair summary?

11           A.   That is very fair.         It's a very subtle

12     conclusion.

13           Q.   Okay.     Does lead occur naturally?

14           A.   Indeed.

15           Q.   Does cadmium occur naturally?

16           A.   Yes.

17           Q.   Does radon occur naturally?

18           A.   Absolutely.

19           Q.   Would you characterize lead, cadmium, and

20     radon as presenting certain health risks?

21           A.   Absolutely.

22           Q.   Okay.     You were asked some questions about




                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 479 of 854
                                 Phillipe Grandjean           September 13, 2019

                                                               Page 315

1            Q.    Now, you've previously -- you were asked some

2      questions about the analysis you did, I think back in

3      2013, on lead and creating a BMDL for lead?

4            A.    Right.

5            Q.    Did you use a human biomarker for the BMDL

6      for lead?

7            A.    Yeah.    For lead, it's appropriate to use the

8      blood -- the whole blood concentration of lead as the

9      exposure of parameters.

10           Q.    And that's called the benchmark dose?

11           A.    Benchmark dose, yeah.

12           Q.    Okay.    So and you were asked some questions

13     about, you know, whether certain findings in certain

14     studies, even if they were statistically significant,

15     can occur by chance.          Do you recall that line of

16     questioning?

17           A.    Yeah.

18           Q.    Dr. Grandjean, in your meta-analysis that you

19     did in 2012, you found what -- the vast majority of

20     the studies found effects of fluoride exposure on IQ?

21           A.    There were 27 studies, and 26 of them showed

22     that there was a tendency toward lower IQ points in




                            www.CapitalReportingCompany.com
                                     202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 480 of 854
                                 Phillipe Grandjean           September 13, 2019

                                                               Page 316

1      communities with higher fluoride levels in the water.

2            Q.   Do you find -- would you find it unlikely

3      that 26 of 27 studies would all find an association

4      between fluoride as a matter of chance?

5            A.   Very unlikely, and we actually calculated a

6      joint P-value which was very, very low.

7            Q.   I'd like to now shift and talk about the NRC

8      report.    And if you could get the neurotoxicity

9      chapter in front of you, which I believe is Chapter 7.

10           A.   Okay.     No, I just have my own report.

11           Q.   Do you have it in front of you?

12           A.   I have it.

13           Q.   If you could turn to Page 220.

14           A.   Okay.

15           Q.   And you see there's a section here called

16     "Findings"?

17           A.   Uh-huh.

18           Q.   Okay.     I'd like to now direct your attention

19     to Page 221.

20           A.   Okay.

21           Q.   Do you see there's a section there titled

22     "Neurochemical and Biochemical Changes"?




                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 481 of 854
                                 Phillipe Grandjean           September 13, 2019

                                                               Page 319

1      more recent papers that point to the same direction.

2            Q.   Okay.     So you've mentioned today several

3      times this notion of hazard assessment; right?

4            A.   Right.

5            Q.   And I think you testified earlier that what

6      the NRC is -- what this analysis is doing ultimately,

7      with respect to how fluoride affects the brain in

8      animals, is a hazard assessment; is that correct?

9            A.   Correct.

10           Q.   Okay.     So would it be fair to say that NRC is

11     stating, as of 2006, that neurotoxicity is a known

12     hazard in animals?

13           A.   Right.     And the hazard is -- means that there

14     is a potential risk.         We're not saying that there is a

15     risk but we're saying there is a potential because

16     it's a hazard.

17           Q.   And when you say, "potential risk," are you

18     talking about potential risk in humans?

19           A.   In humans as well and -- but, of course, that

20     is most likely dose dependent.

21           Q.   Right.     So if you can turn to the exhibit,

22     which is the Exhibit 256, which was Chapter 1, the




                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 482 of 854
                                 Phillipe Grandjean           September 13, 2019

                                                               Page 330

1      you know, about your decision to not do a

2      meta-analysis in this case or systematic review.

3            A.   Correct.

4            Q.   Did the existence of the Duan meta-analysis

5      have any effect on your decision in this case to do a

6      meta-analysis or not?

7            A.   It did.     And so there were two meta analyses,

8      and to me, it was more important that I, you know, use

9      my time to explore, you know, toxicokinetics and other

10     aspects rather than develop a meta-analysis that would

11     only be a minor contribution because there were two

12     contributions already.

13           Q.   You just mentioned toxicokinetics; right?

14           A.   Correct.

15           Q.   Now, you know in your report you did a

16     weight-of-the-evidence analysis; right?

17           A.   Correct.

18           Q.   In doing a weight-of-the-evidence analysis,

19     did you just limit your assessment to epidemiological

20     studies on fluoride and IQ?

21           A.   No.    That was my major focus because I think

22     that's where the most weight is of the evidence, but




                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 483 of 854
                                 Phillipe Grandjean           September 13, 2019

                                                                 Page 331

1      in regard to plausibility and cohesion, I mean it will

2      be better to do an integrated risk assessment that

3      took into account, for example, the toxicokinetics,

4      and, for example, the animal data on passage of

5      fluoride into the brain and to the extent there are

6      human data to review that occupational health, and,

7      you know, various aspects like that so that I could,

8      you know, elucidate aspects of fluoride exposure and

9      toxicity in a more comprehensive way.

10                But my main focus was on the human

11     developmental neurotoxicity.

12           Q.   So do you find toxicokinetic data, animal

13     data on neurochemical effects, occupational data on

14     exposed workers, do you find that kind of information

15     to be helpful and important to consider when examining

16     epidemiological data on human populations?

17                MS. CARFORA:       Objection.       Leading.    Compound.

18                THE WITNESS:       I find it's necessary to -- you

19     know, get the full picture in an integrated risk

20     assessment that you take into account all of these

21     aspects to the extent that they are available.

22     BY MR. CONNETT:




                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 484 of 854
                                 Phillipe Grandjean           September 13, 2019

                                                               Page 332

1            Q.   And available, do you -- Dr. Grandjean, did

2      you take steps in your report to rely upon the best

3      available science?

4            A.   I certainly did.

5            Q.   And would you -- in terms of the

6      epidemiological studies on fluoride and IQ,

7      Dr. Grandjean, what would be your best assessment as

8      to the best available science?

9            A.   Do I have an hour or two?

10           Q.   In summary form.

11           A.   So I think that we must realize that there

12     are now three prospective studies.              There's the first

13     Mexico study and element study and the MERIC study,

14     and they are all of high quality, particularly the two

15     later ones.      And I think the Canadian study that also

16     had data on total fluoride intake, in addition to

17     water, you know, where they considered tea, I think it

18     has advantages.

19                And that those three reports, when you look

20     at them together, leave very little doubt and very

21     little reason to question the developmental

22     neurotoxicity of fluoride at prevalent human exposures




                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 485 of 854
                                 Phillipe Grandjean           September 13, 2019

                                                                 Page 333

1      in North America.

2            Q.    Oh.   You know, I forgot to ask you, in your

3      meta review from 2012, counsel asked you some

4      questions about that statement where you -- I'll read

5      it.   You mentioned the results suggest that fluoride

6      may be a developmental neurotoxicant that affects

7      brain development at exposures much below those that

8      can cause toxicity in adults.

9                  Dr. Grandjean, going back to our discussion

10     on hazard and risk, are you referring here to whether

11     fluoride is a developmental neurotoxic in animals or

12     to whether fluoride is a developmental neurotoxicant

13     in humans?

14           A.    Well, this is a human study.              So it doesn't

15     say "human" in that sentence, but the whole report is

16     on human.     So we're talking about -- we say -- very

17     softly we suggest, but my personal opinion is that

18     hey, this is pretty -- I mean if you look at this

19     figure here, this is rather convincing (indicating).

20           Q.    So this statement here is focused on human --

21           A.    Human, yeah.

22           Q.    Broadbent.     Counsel asked you some questions




                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 486 of 854
                                 Phillipe Grandjean           September 13, 2019

                                                               Page 341

1                           C E R T I F I C A T E

2            I do hereby certify that the aforesaid testimony

3      was taken before me, pursuant to notice, at the time

4      and place indicated; that said deponent was by me duly

5      sworn to tell the truth, the whole truth, and nothing

6      but the truth; that the testimony of said deponent was

7      correctly recorded in machine shorthand by me and

8      thereafter transcribed under my supervision with

9      computer-aided transcription; that the deposition is a

10     true and correct record of the testimony given by the

11     witness; and that I am neither of counsel nor kin to

12     any party in said action, nor interested in the

13     outcome thereof.

14

15                  <%975,Signature%>

                          Nancy J. Martin, RMR, CSR

16

17     Dated:    September 18, 2019

18     (The foregoing certification of this transcript does

19     not apply to any reproduction of the same by any

20     means, unless under the direct control and/or

21     supervision of the certifying shorthand reporter.)

22



                           www.CapitalReportingCompany.com
                                    202-857-3376
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 487 of 854




                      Exhibit 20
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 488 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 489 of 854




                      Exhibit 21
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 490 of 854




     NTP RESEARCH
     REPORT

     SYSTEMATIC LITERATURE
     REVIEW ON THE
     EFFECTS OF FLUORIDE
     ON LEARNING AND
     MEMORY IN ANIMAL
     STUDIES

     NTP RR 1

     JULY 2016
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 491 of 854
Systematic Literature Review on the Effects of Fluoride on Learning and Memory in Animal Studies


potential confounding; selection of appropriate control subject populations in epidemiology
studies; demonstrated clinical significance of endocrine effects; and the biological relationship
between histological, biochemical, and molecular alterations with behavioral effects. Regarding
neurotoxicity and neurobehavioral effects, the main conclusions in the 2006 NRC report are:

        “Animal and human studies of fluoride have been published reporting adverse
        cognitive and behavioral effects. A few epidemiologic studies of Chinese populations
        have reported IQ deficits in children exposed to fluoride at 2.5 to 4 mg/L in drinking
        water. Although the studies lacked sufficient detail for the committee to fully assess
        their quality and relevance to U.S. populations, the consistency of the results
        appears significant enough to warrant additional research on the effects of fluoride
        on intelligence.” [p. 8] (NRC 2006)

        “A few animal studies have reported alterations in the behavior of rodents after
        treatment with fluoride, but the committee did not find the changes to be
        substantial in magnitude. More compelling were studies on molecular, cellular, and
        anatomical changes in the nervous system found after fluoride exposure, suggesting
        that functional changes could occur. These changes might be subtle or seen only
        under certain physiological or environmental conditions. More research is needed
        to clarify the effect of fluoride on brain chemistry and function.” [p. 8] (NRC 2006)

Since release of the 2006 NRC report, approximately 10 epidemiological studies of children’s IQ
have been published. A 2015 systematic analysis of the human literature conducted for the
Republic of Ireland’s Department of Health (Sutton et al. 2015) reviewed the new literature and
concluded no evidence of an association with lowered IQ was apparent in studies of community
water fluoridation. The authors based this conclusion primarily on an analysis of a prospective
cohort study conducted in New Zealand (Broadbent et al. 2015). For fluoride-endemic areas, there
was a strong suggestion that high levels of naturally occurring fluoride in water (>1.5 ppm) could
be associated with negative health effects, including lowering of IQ. Overall, these studies were
considered low quality, as they did not fully account for known confounding factors with regard to
IQ (e.g., nutritional status, socioeconomic status), nor other potential influencing factors (e.g., iodine
deficiency, chemical contaminants in the ground water such as arsenic and lead). The conclusions of
Sutton et al. (2015) are consistent with findings of a 2012 meta-analysis of 27 epidemiology studies
that supported the possibility of an adverse effect of “high” fluoride exposure3 on children’s
neurodevelopment, specifically for lowered IQ (Choi et al. 2012). The Choi et al. meta-analysis,
however, also identified study quality limitations, primarily related to reporting quality, that
limited the strength of the conclusions (Choi et al. 2012). More than 35 experimental animal studies
evaluating the neurobehavioral effects of fluoride have been published since release of the 2006
NRC report. A systematic review of experimental studies that focuses on the effects of fluoride on
learning and memory would help interpret the human literature on IQ and identify key
research/data gaps for additional study.

For cancer and endocrine disruption, the National Toxicology Program (NTP) is analyzing the
amount of evidence available and the merit of pursuing systematic reviews given factors such as the
extent of new research published since previous evaluations and whether these new reports
address or correct the deficiencies noted in the literature (NRC 2006; OEHHA 2011; SCHER 2011).


3 “High” was defined based on drinking water concentration, evidence of fluorosis, exposure related to coal-

burning activities, and urine levels.



                                                      3
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 492 of 854




                      Exhibit 22
 10/9/2019         Case 3:17-cv-02162-EMC
                                     ConductingDocument
                                               a Human Health120-1     Filed I10/18/19
                                                              Risk Assessment                 I US EPA
                                                                                           Page
                                                                              Risk Assessment       493 of 854


               An official website of the United States government.

                                                                                                                                             Close
               We've made some changes to EPA.gov. If the information you are
               looking for is not here, you may be able to find it on the EPA Web
               Archive or the January 19, 2017 Web Snapshot.




                      Conducting a Human Health Risk Assessment

                            Planning

                            Hazard Identification

                            Dose-Response

                            Exposure Assessment

                            Risk Characterization


                      Step 2
                      The objective of Step 2 is to document the relationship between dose and toxic
                      effect.

                                             The 4 Step Risk Assessment Process
                                   .    --    -- - -   ....
                                   Hazard                                 Dose-Response
                             Identification ·                              Assessment
                           What health!roblems                ={>          What are the health
                                                                                                      ' - .-
                            are cause by the                              problems at different
                       .               pollutant?                              exposures?                       -      . ·~
                               .              - .                                                     :      Risk
                                                                                                      · Characterization ,
                                                                                                       What is the extra risk of
                                                                   ·--...-.- ~-posure :.-             , health prnblnms in the I
                                                                                                       ·,-. exposed population? ,
                                                                                                      I. •.!_.~_, -:,... _ ._ _:.. • • ,,1
                                                                        , .Assessment         ·   ·
                                                               , How much of the pollutant
                                                                are people exposed to during
                                                               . a specific time period? How ,
                                                               0    n:ia!1y P';.~.P~=a!! e~posed? '



                      Step 2: Dose-response assessment is the second step of a human health risk
                      assessment.

                      A ~q~~.::r~.~P.9.~.~-~..r..~~-~!~9.~.~-~~P. describes how the likelihood and severity of
                      adverse health effects (the responses) are related to the amount and condition of
                      exposure to an agent (the dose provided). Although this webpage refers to the
                      "dose-response" relationship, the same principles generally apply for studies


https://www.epa.gov/risk/conducting-human-health-risk-assessment#tab-3                                                                               1/6
10/9/2019          Case 3:17-cv-02162-EMC ConductingDocument
                                                    a Human Health120-1          Filed I10/18/19
                                                                   Risk Assessment                         I US EPA
                                                                                                        Page
                                                                                           Risk Assessment       494 of 854
                     where the exposure is to a concentration of the agent (e.g., airborne
                     concentrations applied in inhalation exposure studies), and the resulting
                     information is referred to as the "22g£~~P.:.~.~!2P.::::~:'.~~P2!?:~.~-" relationship.

                      The term "exposure-response" relationship may be used to describe either a dose-
                      response or a concentration-response, or other specific exposure conditions.

                      Typically, as the dose increases, the measured response also increases. At low
                      doses there may be no response. At some level of dose the responses begin to
                      occur in a small fraction of the study population or at a low probability rate. Both
                      the dose at which response begin to appear and the rate at which it increases given
                      increasing dose can be variable between different pollutants, individuals, exposure
                      routes, etc.

                      The shape of the dose-response relationship depends on the agent, the kind of
                      response (tumor, incidence of disease, death, etc), and the experimental subject
                      (human, animal) in question. For example, there may be one relationship for a
                      response such as 'weight loss' and a different relationship for another response
                      such as 'death'. Since it is impractical to study all possible relationships for all
                      possible responses, toxicity research typically focuses on testing for a limited
                      number of adverse effects.



                           Typically, as the dose
                           increases, the measured
                           response also increases.
                      Upon considering all available studies, the response (adverse effect), or a measure
                      ofresponse that leads to an adverse effect (known as a 'precursor' to the effect),
                      that occurs at the lowest dose is selected as the critical effect for risk assessment.
                      The underlying assumption is that if the critical effect is prevented from
                      occurring, then no other effects of concern will occur.

                      As with hazard identification, there is frequently a lack of dose-response data
                      available for human subjects. When data are available, they often cover only a
                      portion of the possible range of the dose-response relationship, in which case
                      some extrapolation must be done in order to extrapolate to dose levels that are
                      lower than the range of data obtained from scientific studies. Also, as with hazard
                      identification, animal studies are frequently done to augment the available data.

                      Studies using animal subjects permit the use of study design to control the number
                      and composition (age, gender, species) of test subjects, the levels of dose tested,
                      and the measurement of specific responses. Use of a designed study typically
                      leads to more meaningful statistical conclusions than does an uncontrolled
                      observational study were additional confounding factors must also be considered
                      for their impact on the conclusions.

                     However, dose-response relationships observed from animal studies are often at
                     much higher doses that would be anticipated for humans, so must be extrapolated
                     to lower doses, and animal studies must also be extrapolated from that animal
https://www.epa.gov/risk/conducting-human-health-risk-assessmenl#tab-3                                                        2/6
 10/9/2019         Case 3:17-cv-02162-EMCConductingDocument
                                                   a Human Health120-1     Filed I10/18/19
                                                                  Risk Assessment                 I US EPA
                                                                                               Page
                                                                                  Risk Assessment       495 of 854
                     species to humans in order to predict the relationship for humans. These
                     extrapolations, among others, introduce uncertainty into the dose-response
                     analysis.

                      Basic Dose-Response Calculations & Concepts
                      As a component of the first step of the process discussed below, the scientific
                      information is evaluated for a better biological understanding of how each type of
                      toxicity or response (adverse effect) occurs; the understanding of how the toxicity
                      is caused is called the "mode of action" (which is defined as a sequence of key
                      events and processes, starting with interaction of an agent with a cell, proceeding
                      through operational and anatomical changes, and resulting in the effect, for
                      example, cancer formation).

                      Based on this mode of action, the Agency determines the nature of the
                      extrapolation used in the second step of the process discussed above, either
                      through non-linear or linear dose-response assessment.




                                                   A two-step process ...



                         Step 1: Take an assessment of all data that are available or can be gathered
                         through experiments. This is in order to document the dose-response
                         relationship(s) over the range of observed doses (i.e, the doses that are
                         reported in the data collected).

                         However, frequently this range of observation may not include sufficient
                         data to identify a dose where the adverse effect is not observed (i.e., the dose
                         that is low enough to prevent the effect) in the human population.

                         Step 2: This consists of extrapolation to estimate the risk (probably of
                         adverse effect) beyond the lower range of available observed data. This is in
                         order to make inferences about the critical region where the dose level
                         begins to cause the adverse effect in the human population.




                      Non-linear dose-response assessment

                     :tf.9.P.:::-.E!.':~~t.4.9.~~.X~~.P.9.~.~~- assessment has its origins in the threshold hypothesis,
                     which holds that a range of exposures from zero to some finite value can be
                     tolerated by the organism with essentially no chance of expression of the toxic
                     effect, and the threshold of toxicity is where the effects (or their precursors) begin
                     to occur. It is often prudent to focus on the most sensitive members of the
                     population; therefore, regulatory efforts are generally made to keep exposures
                     below the population threshold, which is defined as the lowest of the thresholds of
                     the individuals within a population.

https://www.epa.gov/risk/conducting-human-health-risk-assessment#tab-3                                                    3/6
 10/9/2019         Case 3:17-cv-02162-EMC ConductingDocument
                                                    a Human Health120-1     Filed I10/18/19
                                                                   Risk Assessment              Page
                                                                                   Risk Assessment       496 of 854
                                                                                                   I US EPA
                     If the "mode of action" information (discussed above) suggests that the toxicity
                     has a threshold, which is defined as the dose below which no deleterious effect is
                     expected to occur, then type of assessment is referred to by the Agency as a "non-
                     linear" dose-response assessment. The term "nonlinear" is used here in a narrower
                     sense than its usual meaning in the field of mathematics; a nonlinear assessment
                     uses a dose-response relationship whose slope is zero (i.e., no response) at (and
                     perhaps above) a dose of zero.

                      A No-Observed-Adverse-Effect Level (NOAEL) is the highest exposure level at
                      which no statistically or biologically significant increases are seen in the
                      frequency or severity of adverse effect between the exposed population and its
                      appropriate control population. In an experiment with several NOAELs, the
                      regulatory focus is normally on the highest one, leading to the common usage of
                      the term NOAEL as the highest experimentally determined dose without a
                      statistically or biologically significant adverse effect. In cases in which a NOAEL
                      has not been demonstrated experimentally, the term "lowest-observed-adverse-
                      effect level (LOAEL)" is used, which this is the lowest dose tested.

                      Mathematical modeling, which can incorporate more than one effect level (i.e.,
                      evaluates more data than a single NOAEL or LOAEL), is sometimes used to
                      develop an alternative to a NOAEL known as a Benchmark Dose (BMD) or
                      Benchmark Dose Lower-confidence Limit (BMDL). In developing the BMDL, a
                      predetermined change in the response rate of an adverse effect (called the
                      benchmark response or BMR; generally in the range of 1 to 10% depending on
                      the power of a toxicity study) is selected, and the BMDL is a statistical lower
                      confidence limit on the dose that produces the selected response. When the non-
                      linear approach is applied, the LOAEL, NOAEL, or BMDL is used as the point of
                      departure for extrapolation to lower doses.

                      The reference dose (RID) is an oral or dermal dose derived from the NOAEL,
                      LOAEL or BMDL by application of generally order-of-magnitude uncertainty
                      factors (UFs). These uncertainty factors take into account the variability and
                      uncertainty that are reflected in possible differences between test animals and
                      humans (generally 10-fold or lOx) and variability within the human population
                      (generally another lOx); the UFs are multiplied together: 10 x 10 = lOOx.

                      If a LOAEL is used, another uncertainty factor, generally 1Ox, is also used. In the
                      absence of key toxicity data (duration or key effects), an extra uncertainty
                      factor(s) may also be employed. Sometimes a partial UF is applied instead of the
                      default value of 1Ox, and this value can be less than or greater than the default.
                      Often the partial value is Yi log unit (the square root of 10) or 3.16 (rounded to 3-
                      fold in risk assessment). Note, that when two UFs derived from Yi log units are
                      multiplied together (3 x 3) the result is a 10 (equal to the full UF from which the
                      two partial factors were derived).

                      Thus, the RID is determined by use of the following equation: RID= NOAEL
                      (or LOAEL or BMDL) / UFs

                      In general, the RID is defined as an estimate (with uncertainty spanning perhaps
                      an order of magnitude) of a daily oral exposure to the human population
                      (including sensitive groups, such as asthmatics, or life stages, such as children or
                      the elderly) that is likely to be without an appreciable risk of deleterious effects
                      during a lifetime.


https://www.epa.gov/risk/conducting-human-health-risk-assessment#tab-3                                                4/6
10/9/2019          Case 3:17-cv-02162-EMC
                                        ConductingDocument
                                                  a Human Health120-1     Filed I10/18/19
                                                                 Risk Assessment                 I US EPA
                                                                                              Page
                                                                                 Risk Assessment       497 of 854
                     The RID is generally expressed in units of milligrams per kilogram of
                     bodyweight per day: mg/kg/day.

                      A similar term, know as reference concentration (Rf1 ...), is used to assess
                      inhalation risks, where concentration refers to levels in the air (generally
                      expressed in the units of milligrams agent per cubic meter of air: mg/m 3).

                           • For more information, please see A Review of the Reference Dose and
                             Reference Concentrntion Processes.

                      Linear dose-response assessment

                      If the "mode of action" information (discussed above) suggests that the toxicity
                      does not have a threshold, then this type of assessment is referred to by the
                      Agency as a "linear" dose-response assessment. In the case of carcinogens, if
                      "mode of action" information is insufficient, then linear extrapolation is typically
                      used as the default approach for dose-response assessment.

                           • For more detailed information, please see EPAs Guidelines for Carcinogen
                             Risk Assessment.

                      In this type of assessment, there is theoretically no level of exposure for such a
                      chemical that does not pose a small, but finite, probability of generating a
                      carcinogenic response. The extrapolation phase of this type of assessment does
                      not use UFs; rather, a straight line is drawn from the point of departure for the
                      observed data (typically the BMDL) to the origin (where there is zero dose and
                      zero response).

                      The slope of this straight line, called the slope factor or cancer slope factor, is use
                      to estimate risk at exposure levels that fall along the line. When linear dose-
                      response is used to assess cancer risk, EPA calculates excess lifetime cancer risk
                      (i.e., probability that an individual will contract cancer over a lifetime) resulting
                      from exposure to a contaminant by considering the degree to which individuals
                      were exposed, as compared to the slope factor.

                      Thus, the cancer risk is determined by use of the following equation: Cancer
                      Risk = Exposure x Slope Factor

                      Total cancer risk is calculated by adding the individual cancer risks for each
                      pollutant in each pathway of concern (i.e., inhalation, ingestion, and dermal
                      absorption), then summing the risk for all pathways.

                      A similar term, know as inhalation _unit..risk (IUR), is used to assess inhalation
                      risks, where the exposure-response relationship refers to concentrations in the air.

                      Note: When there are alternative procedures having significant biological support,
                      the Agency encourages assessments to be performed using these alternative
                      procedures, if feasible, in order to shed light on the uncertainties in the
                      assessment, recognizing that the Agency may decide to give greater weight to one
                      set of procedures than another in a specific assessment or management decision.




https://www.epa.gov/risk/conducting-human-health-risk-assessment#tab-3                                              5/6
 10/9/2019         Case 3:17-cv-02162-EMC
                                     ConductingDocument
                                               a Human Health120-1     Filed I10/18/19
                                                              Risk Assessment                 I US EPA
                                                                                           Page
                                                                              Risk Assessment       498 of 854

                      LAST UPDATED ON JUNE 20, 2017




https://www.epa.gov/risk/conducting-human-health-risk-assessment#tab-3                                           6/6
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 499 of 854




                      Exhibit 23
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 500 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 501 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 502 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 503 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 504 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 505 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 506 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 507 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 508 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 509 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 510 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 511 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 512 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 513 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 514 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 515 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 516 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 517 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 518 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 519 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 520 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 521 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 522 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 523 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 524 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 525 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 526 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 527 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 528 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 529 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 530 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 531 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 532 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 533 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 534 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 535 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 536 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 537 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 538 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 539 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 540 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 541 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 542 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 543 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 544 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 545 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 546 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 547 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 548 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 549 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 550 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 551 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 552 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 553 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 554 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 555 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 556 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 557 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 558 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 559 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 560 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 561 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 562 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 563 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 564 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 565 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 566 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 567 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 568 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 569 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 570 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 571 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 572 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 573 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 574 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 575 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 576 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 577 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 578 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 579 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 580 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 581 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 582 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 583 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 584 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 585 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 586 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 587 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 588 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 589 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 590 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 591 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 592 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 593 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 594 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 595 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 596 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 597 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 598 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 599 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 600 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 601 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 602 of 854




                      Exhibit 24
                         Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 603 of 854

                                                                                                                                                                        Exhibit 335
                                                                                                                                                                 P.    Grandjean, MD
 I Review                                                                                                                                                        N.
                                                                                                                                                                      Sept. 13, 2019
                                                                                                                                                                      Martin -Reporter
                                                                                                                                                                      Verhex Legal
                                                                                                                                                                        Solutions




              @%a Neurobehavioural effects of developmental toxicity
                            Gmo da&

                                        Philippe Grandjean, Philip J Landrigan


 Lancet Neurol 2014;13:330-38           Neurodevelopmental disabilities, including autism, attention- deficit hyperactivity disorder, dyslexia, and other
                   Published Online     cognitive impairments, affect millions of children worldwide, and some diagnoses seem to be increasing in frequency.
                    February 15, 2014   Industrial chemicals that injure the developing brain are among the known causes for this rise in prevalence. In 2006,
         http: / /dx.doi.org /101016/
           51474 -4422(13)70278-3
                                        we did a systematic review and identified five industrial chemicals as developmental neurotoxicants: lead,
                                        methylmercury, polychlorinated biphenyls, arsenic, and toluene. Since 2006, epidemiological studies have documented
  Department of Environmental
        Medicine, University of
                                        six additional developmental neurotoxicants-manganese, fluoride, chlorpyrifos, didllorodiphenyltrichloroethane,
   Southern Denmark, Odense,            tetrachloroethylene, and the polybrominated diphenyl ethers. We postulate that even more neurotoxicants remain
       Denmark (P Grandjean MD);        undiscovered. To control the pandemic of developmental neurotoxicity, we propose a global prevention strategy.
 Department of Environmental
                                        Untested chemicals should not be presumed to be safe to brain development, and chemicals in existing use and all
     Health, Harvard School of
Public Health, Boston, MA, USA          new chemicals must therefore be tested for developmental neurotoxicity. To coordinate these efforts and to accelerate
 (P Grandjean); and Icahn School        translation of science into prevention, we propose the urgent formation of a new international- clearinghouse.
      of Medicine at Mount Sinai,
                New York, NY, USA
                 (PJ Landrigan MD)
                                        Introduction                                                    to the nervous, system in adults, mostly in connection
                                         Disorders of neurobehavioural development affect 10-15%       with occupational exposures, poisoning incidents, or
                Correspondence to.
             Dr Philippe Grandjean,
                                         of all births,' and prevalence rates of autism spectrum        suicide attempts. Additionally, more than 1000 chemicals
 Environmental and Occupational          disorder and attention -deficit hyperactivity disorder seem   have been reported to be neurotoxic in animals in
       Medicine and Epidemiology,        to be increasing worldwide.' Subdinical decrements in         laboratory studies.
 Harvard School of Public Health,
                                         brain function are even more common than these
                                               -                                                          We noted that recognition of the risks of industrial
      401 Park Drive E -110, Boston,
                    MA 02215, USA        neurobehavioural developmental disorders. All these           chemicals to brain development has historically needed
       pgrand @hsph.harvard.edu          disabilities can have severe consequences' -they diminish     decades of research and scrutiny, as shown in the cases
                                         quality of life, reduce academic achievement, and disturb     of lead and methylmercury." In most cases, discovery
                                         behaviour, with profound consequences for the welfare         began with clinical diagnosis of poisoning in workers
                                         and productivity of entire societies.'                        and episodes of high -dose exposure. More sophisticated
                                           The root causes of the present global pandemic of           epidemiological studies typically began only much later.
                                         neurodevelopmental disorders are only partly                  Results from such studies documented developmental
                                        understood. Although genetic factors have a role: they         neurotoxicity at much lower exposure levels than had
                                         cannot explain recent increases in reported prevalence,       previously been thought to be safe. Thus, recognition of
                                        and none of the genes discovered so far seem to be             widespread subclinical toxicity often did not occur until
                                        responsible for more than a small proportion of cases.'        decades after the initial evidence of neurotoxicity. A
                                         Overall, genetic factors seem to account for no more than     recurring theme was that early warnings of subclinical
                                        perhaps 30-40% of all cases of neurodevelopmental              neurotoxicity were often ignored or even dismissed."
                                        disorders. Thus, non-genetic, environmental exposures          David P Rall, former Director of the US National Institute
                                        are involved in causation, in some cases probably by           of Environmental Health Sciences, once noted that "if
                                        interacting with genetically inherited predispositions.        thalidomide had caused a ten -point loss of intelligence
                                           Strong evidence exists that industrial chemicals widely     quotient (IQ) instead of obvious birth defects of the
                                        disseminated in the environment are important                  limbs, it would probably still be on the market"." Many
                                        contributors to what we have called the global, silent         industrial chemicals marketed at present probably cause
                                        pandemic of neurodevelopmental toxicity.`' The                 IQ deficits of far fewer than ten points and have therefore
                                        developing human brain is uniquely vulnerable to toxic         eluded detection so far, but their combined effects could
                                        chemical exposures,          and major windows of              have enormous consequences.
                                        developmental vulnerability occur in utero and during             In our 2006 review,' we expressed concern that
                                        infancy and early childhood.' During these sensitive life      additional developmental neurotoxicants might lurk
                                        stages, chemicals can cause permanent brain injury at          undiscovered among the 201 chemicals then known to be
                                        low levels of exposure that would have little or no adverse    neurotoxic to adult human beings and among the many
                                        effect in an adult.                                            thousands of pesticides, solvents, and other industrial
                                           In 2006, we did a systematic review of the published        chemicals in widespread use that had never been tested
                                        clinical and epidemiological studies into the neurotoxicity    for neurodevelopmental toxicity. Since our previous
                                        of industrial chemicals, with a focus on developmental         review, new data have emerged about the vulnerability of
                                        neurotoxicity.' We identified five industrial chemicals        the developing brain and the neurotoxicity of industrial
                                        that could be reliably classified as developmental             chemicals. Particularly important new evidence derives
                                        neurotoxicants: lead, methylmercury, arsenic, poly-            from prospective epidemiological birth cohort studies.
                                        chlorinated biphenyls, and toluene. We also noted                 In this Review, we consider recent information about
                                        201 chemicals that had been reported to cause injury           the developmental neurotoxicity of industrial chemicals


330                                                                                                                      www.thelancet corn/neurology Vol 13 March 2014
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 604 of 854




                      Exhibit 25
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 605 of 854




NIEHS/EPA Children's
Environmental Health and Disease
Prevention Research Centers
                                                           IMPACT REPORT
Protecting Children's Health
Where They Live, Learn, and Play                                      EPA/600/R-17/407
                  Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 606 of 854

                            Children’s Health Matters
                        The number
           35%          of children       8.4%
                        diagnosed
                        with                           8.4%     of
                                                                                         1 in 42
                        leukemia                       children
                                                                                         8-year-old
                        has                            in the U.S.
                                                                                         boys have
                        increased by                   have
                                                                                         autism.3
                                                       asthma.2
                        35%    over
                        the past
                        40 years.1


              Children in the U.S. are at high risk for chronic disease
             This may be a result of increasing exposures to environmental toxicants.


             Approximately
             16,000
             premature
             births per year
             in the U.S. are
             attributable to
             air pollution.4
                                                                           60% of acute
                                                                              respiratory
    Children in                                                                 infections
                                                                               in children
    4 million                                                                  worldwide
    U.S. households                                                         are related to
    may be exposed                                                         environmental
    to high levels of                                                         conditions.6
    lead.5

        Genetics were once thought
        to contribute 90% to autism,
        but are now thought to only
        contribute 41-56% in boys and
        13-16% in girls.
        The role of                                                                  Air pollution
        environmental                                                              contributes to

        factors in autism                                                             600,000
                                                                               deaths worldwide
        is greater than                                                         in children under
        previously thought.7                                                          5 years old.8



2
             Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 607 of 854

      Children are uniquely vulnerable to environmental risks

   Biology. Children’s brains, lungs, immune, and                Behavior. Children’s behavior patterns make
   other systems are rapidly developing. Their natural           them more susceptible to exposure. They crawl and
   defenses are less developed than adults; skin and             play close to the ground, putting them in contact
   blood–brain barriers are more permeable, and                  with dirt and dust. They put their hands, toys, and
   PHWDEROLFDQGGHWR[LȴFDWLRQSDWKZD\VDUHQRW\HW             other objects in their mouths. They eat, drink, and
   fully developed.                                              breathe more than adults relative to body mass.



&KLOGUHQȇVHQYLURQPHQWDOKHDOWKKDVDVLJQLȴFDQWLPSDFWRQVRFLHW\


                                                         $76.6
                                                         Billion
                                                     Annual cost of
                                                    environmentally
                                                   related diseases in
                                                     U.S. children.10
                    $2.2
                   Billion                                                         $833,000
                 Annual cost of
                                                         Diseases                 Total cost for one
               childhood asthma                                                   child with cancer
                                                                                   (medical costs
                                              a




                 that could be
                                                                         Ca
                                         Asthm




                 attributed to                                                    and lost parental
                                                                           ncer




                environmental                                                          wages).11
                    factors.10
                                                                         Au




                                                                tis
                                                  IQ               m
                           $11,500 –                                     ɈȂ
                            $15,600                                       Million
                           Lifetime earnings                              Lifetime cost
                           lost as a result of                            of supporting
                           the loss of one IQ                            one person with
                                 point.9                                     autism.12




              Environmental exposures in the earliest stages of human development – including before
              ELUWKȂLQȵXHQFHWKHRFFXUUHQFHRIGLVHDVHODWHULQOLIHΖPSURYLQJWKHXQGHUVWDQGLQJRI
              these developmental origins of health and disease is critical to reducing children’s
              health risks and improving the quality of life for children and their families.

                                                                                                                       3
                 Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 608 of 854
Acknowledgments
To the Children’s Centers investigators, listed on the right –
WKDQN\RX5HVHDUFKWDNHVWLPHDQGDOOWKHȴQGLQJVGRFXPHQWHG
in this report are a result of your unrelenting perseverance.         CHILDREN’S CENTERS INVESTIGATORS
Thank you for investing your careers and ingenuity to change          WHO CONTRIBUTED TO THIS REPORT
the landscape of children’s environmental health. Thank you,
DOVRIRU\RXUVLJQLȴFDQWFRQWULEXWLRQVWRWKLVGRFXPHQWΖWKDV
EHHQDZHLQVSLULQJWRZDWFK\RXSDLQWDSLFWXUHWKDWUHSUHVHQWV      Cincinnati: Bruce Lanphear, Kimberly Yolton
the extensive impact of your work.
                                                                      Columbia University: Frederica Perera,
ΖDPLQGHEWHGWR+D\OH\$MD (3$6WXGHQW&RQWUDFWRU DQG(PLO\       Kimberly Burke, Brittany Shea
6]ZLHF $VVRFLDWLRQRI6FKRROVDQG3URJUDPVRI3XEOLF+HDOWK
                                                                      Dartmouth College: Margaret Karagas, Carolyn
(3$ ZKRPDGHWUHPHQGRXVFRQWULEXWLRQVWRWKHUHSRUWZLWK            Murray
passion, dedication, and determination as both authors and
UHYLHZHUVΖDPWUXO\JUDWHIXOWR3DWULFN/DXIRUKLVVXSSRUW       Denver: Andrew Liu
expertise, and drive for excellence. The continued support and        Duke University: Susan Murphy, Ed Levin,
JXLGDQFHIURPWKH(3$FRPPXQLFDWLRQVVWD΍LQFOXGLQJ.HOO\           Jamie Wylie
:LGHQHU3UDGQ\D%KDQGDUL$DURQ)HUVWHUDQG$QQLH.DGHOL
were instrumental in preparing this report.
                                                                      Emory University: Linda McCauley, P. Barry
                                                                      Ryan, Nathan Mutic
.LPEHUO\*UD\ 1Ζ(+6 KDVEHHQDFRQVWDQWDQGGHWHUPLQHG
                                                                      The Johns Hopkins University: Greg Diette,
partner in documenting the success of the Children’s Centers          Nadia Hansel
program and this report would not be possible without her
FRQWULEXWLRQV$GGLWLRQDOVXSSRUWIURP1Ζ(+6ZDVSURYLGHGE\         Northeastern University: Akram Alshawabkeh
Christie Drew, Virginia Guidry, and Anne Thompson.                    UC Berkeley (CERCH): Brenda Eskenazi, Asa
                                                                      Bradman, Kim Harley, Nina Holland, Karen Huen,
7KHGHYHORSPHQWRIWKLVUHSRUWDOVREHQHȴWHGIURPWKH
                                                                      James Nolan
LQYDOXDEOHFRPPHQWVRIPRUHWKDQ(3$VWD΍DFURVVWKH
$JHQF\ OLVWHGLQ$SSHQGL[$ 9DOXDEOHLQSXWDQGFRQVWUXFWLYH       UC Berkeley (CIRCLE): Catherine Metayer,
UHFRPPHQGDWLRQVIURP0DUWKD%HUJHUDQGWKH(3$2ɝFHRI               Stephen Rappaport, Mark Miller, John Nides,
Children’s Health Protection, as well as the Children’s Health
                                                                      Joseph Wiemels, Todd Whitehead
Protection Advisory Committee, provided essential guidance on         UC Berkeley/Stanford University: Katharine
increasing the impact of the report.                                  S. Hammond, Jennifer Mann, Kari Nadeau, Mary
                                                                      Prunicki, Deborah Hussey Freeland
)LQDOO\VLQFHUHWKDQNVWRWKHLQGLYLGXDOVWKDWPDNHWKLVUHVHDUFK
possible. The American people who have entrusted us to                UC Davis: Judy Van de Water, Isaac Pessah, Irva
GLVFRYHUZD\VWREHWWHUSURWHFWRXUFKLOGUHQWKHGLOLJHQWVWD΍LQ
                                                                      Hertz-Picciotto
JUDQWVȴQDQFLDODQGOHJDORɝFHVDW(3$1Ζ(+6DQGWKHIXQGHG      UC San Francisco: 7UDFH\:RRGUX΍3DWULFH
LQVWLWXWLRQVWKRVHZKRKDYHRUJDQL]HGDQGSDUWLFLSDWHGLQSHHU      Sutton, Erin DeMicco
UHYLHZVWKHUHVHDUFKVXSSRUWVWD΍DWWKHFHQWHUVDQGWKH
                                                                      University of Illinois: Susan Schantz, Jodi Flaws
children and parents who invest their time to participate in this
research.                                                             University of Michigan: Karen Peterson,
                                                                      Vasantha Padmanabhan, Robin Lee, Dana
2YHUWKHODVWWZRGHFDGHVWKLVSURJUDPKDVEHHQVNLOOIXOO\          Dolinoy, Jacyln Goodrich, Deborah Watkins, Brisa
PDQDJHGE\YDULRXV(3$DQG1Ζ(+6VWD΍ȃΖWKDVEHHQP\               Sanchez, Wei Perng
privilege to capture a snapshot of the impact of this program.
                                                                      University of Southern California: Rob
With sincere gratitude,
                                                                      McConnell, Andrea Hricko, John Froines
1LFD/RXLH                                                            University of Washington: Elaine Faustman,
3URMHFW2ɝFHU&KLOGUHQȇV&HQWHUVSURJUDP                             Marissa Smith
1&(525'(3$
                                                                                                                          5
                  Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 609 of 854

Contents

Children's
Health Matters
Executive Summary
                                         2      Health
                                                Outcomes
                                           8 Asthma
                                                                                  18           Environmental
                                                                                               Exposures
                                                                                         20 Air Pollution
                                                                                                                                 36     38
ΖQMXVWDIHZSDJHVOHDUQDERXWWKHKLVWRU\   ([DPSOHVRIKRZH[SRVXUHVLQGL΍HUHQW         /HDUQKRZNLGV UHVSLUDWRU\KHDOWKLV
of the Children’s Centers, their unique         locations such as near roadways or             D΍HFWHGE\DLUSROOXWDQWV
research, and their groundbreaking work.        in rural settings could make asthma
                                                symptoms worse.                                Arsenic                                  42
Commonly Used acronyms        16                                                               /HDUQDERXWSUHQDWDOH[SRVXUHVWRDUVHQLF
                                 Birth Outcomes                    22                          DQGLPSDFWRQIHWDOJURZWK5LFHEDVHG
Center Names and Affiliations 16 0RWKHUVH[SRVHGWRVRPHHQYLURQPHQWDO                        products and drinking water may also be a
$OLVWWRKHOSFURVVUHIHUHQFHFHQWHU          chemicals while pregnant may be at             source of arsenic exposure.
QDPHVDQGDɝOLDWLRQV                           higher risk for babies with preterm birth,
                                                low birth weight, and birth defects.           Consumer Products
Reading Guide                            17                                                    Every day we use a variety of products that
How to navigate through this report,            Cancer                                   24    H[SRVHXVWRFKHPLFDOVWKDWPD\D΍HFW
whether you need a simple overview or a         The sharp increase in childhood leukemia       child development.
PRUHLQGHSWKORRNDWWKHVFLHQFH              RYHUWKHSDVW\HDUVPD\EHGXHWR
                                                environmental exposures.                          Consumer Products: BPA                44
                                                                                                  )RXQGLQWR\VEDE\ERWWOHVDQGwater
                                                Immune Function                          26       ERWWOHVELVSKHQRO$ %3$ FDQLPSDFW
                                                Environmental exposures can interfere             obesity and reproductive development.
                                                with the function and regulation of
                                                the immune system, causing other                  Consumer Products: PBDES 46
                                                health problems such as altered                   8VHGDVȵDPHUHWDUGDQWVLQIXUQLWXUH
                                                neurodevelopment and cancer.                      and other products, polybrominated
                                                                                                  GLSKHQ\OHWKHUV 3%'(V FDQLPSDLU
                                                Neurodevelopment: General                28       neurodevelopment.
                                                Exposures to environmental chemicals
                                                before birth and during childhood can             Consumer Products:
                                                KDYHGHWULPHQWDOH΍HFWVRQOHDUQLQJ             Phthalates                            48
                                                attention, memory, and behavior.                  Exposure to phthalates from shampoo,
                                                                                                  SHUIXPHVDQGPDNHXSFDQD΍HFW
                                                   Neurodevelopment: Autism                       neurodevelopment and reproductive
                                                   Spectrum Disorder        30                    health.
                                                   The rates of autism have risen in recent
                                                   \HDUV)LQGRXWWKHUROHRISUHQDWDODQG   Lead                                     50
                                                   parental environmental exposures in         While lead levels have greatly decreased,
                                                   urban or rural settings.                    PDQ\FKLOGUHQDUHVWLOODWULVN/HDG
                                                                                               exposure impacts brain structure and
                                                Obesity                                  32    function, contributes to ADHD, and can
                                                Environmental toxicants may play an            diminish school performance.
                                                LPSRUWDQWUROHLQREHVLW\)LQGLQJVWRGDWH
                                                IRFXVRQUHȴQLQJPHWKRGVIRUPHDVXULQJ        Pesticides                               52
                                                obesity.                                       .LGVDUHHVSHFLDOO\VXVFHSWLEOHWR
                                                                                               pesticides, and exposure before
                                                Reproductive Development                 35    birth or during childhood may result
                                                Exposure to environmental chemicals can        LQ$'+'ORZHUHGΖ4DQGRWKHU
                                                D΍HFWWKHWLPLQJRISXEHUW\IRUER\VDQG      neurodevelopmental disorders.
                                                girls.
                                                                                               Secondhand Tobacco Smoke                 56
                                                                                               /HDUQDERXWKRZERWKPDWHUQDODQG
                                                                                               paternal smoking before conception and
                                                                                               during pregnancy can cause asthma,
                                                                                               FDQFHUDQGQHXURGHYHORSPHQWDOH΍HFWV
6
                 Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 610 of 854




Hallmark
Features
Community Outreach and
                                  58 Appendices
                                             Index                         77
Research Translation                     60
The Children’s Centers have empowered        References                    80
communities by successfully translating
VFLHQWLȴFȴQGLQJVLQWRDFWLRQDEOHVROXWLRQV    Children's Health Matters 80
Exposure Assessment                      64     Health outcomes            81
New methods that more precisely
measure the environmental exposures for         Environmental Exposures 90
both mothers and children.
                                                Hallmark Features         101
Interdisciplinary Approaches 66
Examples of how leveraging the unique        Appendix A – List
H[SHUWLVHRIPDQ\ȴHOGVWRFRQGXFW          of EPA Reviewers            107
research provides evidence to protect our     /LVWRI(3$VWD΍ZKRSURYLGHGFRPPHQWV
children.                                     and recommendations for this report.

New Methods and                             Appendix B – Summary
Technologies                             68 of the Children’s Centers                108
/HDUQDERXWWKHSLRQHHULQJQHZ               /LVWRIWKHFXUUHQWDQGSUHYLRXVO\
approaches and technologies used              funded Children’s Centers, including
WRDGYDQFHWKHȴHOGRIFKLOGUHQȇV            environmental exposures and health
environmental health.                         outcomes studied by each center.

Population-based Studies                 70
6WXGLHVWKDWVWDUWEHIRUHELUWKDQGIROORZ
children up to young adulthood are
LQYDOXDEOHIRUWUDFNLQJWKHH΍HFWVRI
exposures over time.

Rodent Models                            72
Examples of how animal models inform
epidemiological studies to help explain
WKHH΍HFWVRIH[SRVXUHDQGUHGXFHWKH
burden of disease.

Sample Repository                        74
The collection and storage of biological
and environmental samples enable us to
answer questions about exposures over
long periods of time.




                                                                                           7
                 Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 611 of 854

Executive Summary
(QYLURQPHQWDOH[SRVXUHVLQWKHHDUOLHVWVWDJHVRIKXPDQGHYHORSPHQWȃLQFOXGLQJEHIRUHELUWKȃLQȵXHQFHWKHRFFXUUHQFHRIGLVHDVH
ODWHULQOLIH6LQFHWKH86(QYLURQPHQWDO3URWHFWLRQ$JHQF\ (3$ DQGWKH1DWLRQDOΖQVWLWXWHRI(QYLURQPHQWDO+HDOWK6FLHQFHV
 1Ζ(+6 KDYHSDUWQHUHGWRLQYHVWLJDWHQHZIURQWLHUVLQWKHȴHOGRIFKLOGUHQȇVHQYLURQPHQWDOKHDOWKUHVHDUFKE\VXSSRUWLQJUHVHDUFK
GHYRWHGWRFKLOGUHQȇVHQYLURQPHQWDOKHDOWKDQGGLVHDVHSUHYHQWLRQ(3$IXQGLQJKDVEHHQSURYLGHGXQGHUWKH6FLHQFHWR$FKLHYH
5HVXOWV 67$5 JUDQWSURJUDP67$5IXQGVUHVHDUFKRQWKHHQYLURQPHQWDODQGSXEOLFKHDOWKH΍HFWVRIDLUTXDOLW\HQYLURQPHQWDO
changes, ZDWHUTXDOLW\DQGTXDQWLW\KD]DUGRXVZDVWHWR[LFVXEVWDQFHVDQGSHVWLFLGHV

                                                                              The Children’s Environmental Health and Disease
                                                                              3UHYHQWLRQ5HVHDUFK&HQWHUV &KLOGUHQȇV&HQWHUV 
                                                                              program was established through this unique
                                                                              partnership, and continues to be successful in
                                                                              protecting children’s health. 46 grants have been
                                                                              awarded to 24 centers through a highly
                                                                              competitive process.

                                                                              EPA and NIEHS have together invested more
                                                                              than $300 million in the Children's Centers
                                                                              program to expand our knowledge on the
                                                                              exposures and health outcomes. The partnership
                                                                              has led to tangible results in communities across the
                                                                              country.

                                                                              This impact report highlights some of the progress the
                                                                              Children’s Centers have made toward reducing the
                                                                              burden of environmentally induced or exacerbated
                                                                              diseases placed on children.


    EXECUTIVE ORDER 13045 — PROTECTION OF CHILDREN FROM ENVIRONMENTAL HEALTH RISKS
    6LJQHGLQWKLV([HFXWLYH2UGHU requires federal agencies to ensure their policies, standards, and programs
    account for any disproportionate risks children might experience.:LWKWKLVLQFHQWLYH(3$DQG1Ζ(+6H[HFXWHG
    a memorandum of understanding to jointly fund and oversee a new and impactful research grant program
    focused on children’s health.




       Exemplifying the value of
       partnerships between
       federal agencies

8
                 Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 612 of 854



       Approaching the challenge
       of studying children’s
       environmental health                                                                              0DQ\&KLOGUHQȇV&HQWHUVIROORZ

       with a unique                                                                                     children from preconception
                                                                                                         through childhood, enabling

       perspective                                                                                       a deeper understanding of
                                                                                                         WKHH΍HFWVRIHQYLURQPHQWDO
                                                                                                         exposures on childhood
                                                                                                         diseases. This approach has
                                                                                                         also allowed for the collection
                                                                                                         of biological samples over
                                                                                                         time. These archives of
                                                                     Determining what chemical
                                                                                                         biological samples serve as a
                                                                     exposures are toxic to children
                                                                                                         resource for the future and
                                                                     requires a variety of research
                                                                                                         provide critical information on
                                                                     approaches. Each center
                                                                                                         the prenatal and childhood
                                                                     consists of three to four
                                                                                                         determinants of adult disease.
                                                                     unique but integrated research
                                                                     projects related to the center’s
                                                                     theme. Children’s Centers
                                                                                                                  WANT TO
                                                                     are supported by cores that
                                                                     provide infrastructure, services,
                                                                                                                LEARN MORE?
                                 The Children’s Centers
                                                                     and resources to the research           ΖI\RXDUHLQWHUHVWHG
                                 examine pressing questions
                                                                     projects to help them meet                in what makes the
                                 ZLWKDZLGHDQJOHOHQVQRW                                                  Children’s Centers
                                                                     their long–term goals. Each
                                 allowing the boundaries of                                                     program unique,
                                                                     center is structured with at
                                 DQ\SDUWLFXODUȴHOGWRUHVWULFW                                            see the Hallmark
                                                                     OHDVWWZRFRUHVRQHWKDW
                                 GHȴQHRUGHWHUPLQHWKH                                                      Features section.
                                                                     coordinates and integrates
                                 array of possible approaches.
                                                                     center activities, and one that
                                 They bring together experts
                                                                     engages with the community
                                 IURPPDQ\ȴHOGVLQFOXGLQJ
                                                                     DQGWUDQVODWHVVFLHQWLȴF
                                 clinicians, researchers,
A Children’s Center is not a                                         ȴQGLQJV$FRRUGLQDWHG
                                 engineers, social scientists, and
pediatric clinic or a physical                                       interrelationship exists
                                 others. Relying on a diverse set
EXLOGLQJȃLWLVWKHQDPH                                           between the projects and
                                 of disciplines has helped the
used to describe a research                                          cores that combine to form
                                 centers successfully bridge the
program investigating the                                            a cohesive center with a
                                 gap between environmental
impact of environmental                                              common theme.
                                 exposures and health
exposures on children’s
                                 outcomes.
KHDOWKΖQYHVWLJDWRUVPD\EH
located in one building or at
one university, however many
centers are located across
campuses in one or more
partnering institutions.
                                                                                                                                      9
                                   Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 613 of 854




Population–based studies

Background
Cohort studies follow a designated study population over time to establish risk factors for disease. Prospective cohort
studies that are designed to follow children from before birth into adolescence or adulthood can provide critical information
on prenatal and early childhood determinants of adult disease. The plasticity of the brain during puberty is the same as the
ȴUVWWKUHHPRQWKVRIOLIHDQGLWLVLPSRUWDQWWRREVHUYHFKLOGUHQGXULQJERWKWKHVHSKDVHVRIGHYHORSPHQW0DQ\&KLOGUHQȇV
Centers have initiated large observational, prospective cohort studies that start during pregnancy or immediately after
ELUWKWKHQIROORZWKHFKLOGUHQXSWR\RXQJDGXOWKRRG2WKHU&KLOGUHQȇV&HQWHUVKDYHXWLOL]HGFRKRUWVIXQGHGWKURXJKRWKHU
mechanisms, leveraging major investments that have already been made, such as examples shown below for the Duke
University and the 8QLYHUVLW\RI0LFKLJDQ&KLOGUHQ V&HQWHUV


                             6WDUWLQJLQWKH&ROXPELD8QLYHUVLW\&KLOGUHQȇV&HQWHUHQUROOHGPRUHWKDQ/DWLQDDQG$IULFDQ$PHULFDQZRPHQ
                             IURP1HZ<RUN&LW\IRULWV0RWKHUVDQG1HZERUQV 01 FRKRUW7KLVLQLWLDOVWXG\OHGWRWKHHQUROOPHQWRIVXEVHTXHQW
  Columbia University




                             FRKRUWVLQFOXGLQJ\RXQJHUVLEOLQJVRIWKH01FRKRUWSDUWLFLSDQWVDQGWKH)DLU6WDUWFRKRUWWKDWLVFXUUHQWO\HQUROOLQJ
                             pregnant women from the same neighborhoods. These prospective cohort studies are examining the impact of prenatal
                             DQGSRVWQDWDOH[SRVXUHWRDLUSROOXWLRQELVSKHQRO$ %3$ SKWKDODWHVȵDPHUHWDUGDQWVDQGSHVWLFLGHVRQFKLOGKRRG
                             KHDOWKDQGGHYHORSPHQW7KHVHVWXGLHVKDYHEHHQLQVWUXPHQWDOLQWKHȴHOGȴQGLQJDVVRFLDWLRQVEHWZHHQFHUWDLQ
                             HQYLURQPHQWDOH[SRVXUHVDQGPXOWLSOHDGYHUVHRXWFRPHVLQFOXGLQJUHGXFHGELUWKZHLJKWREHVLW\DWWHQWLRQGHȴFLW
                             K\SHUDFWLYLW\GLVRUGHU $'+' UHGXFHGΖ4DQGDQDWRPLFDOEUDLQFKDQJHV7KHUHVHDUFKKDVDOVRUHYHDOHGLQWHUDFWLRQV
                             between toxicant exposure and stressors related to poverty.



                             The University of Washington Children’s Center has enrolled and maintained a prospective cohort of farmworkers,
                             QRQIDUPZRUNHUVDQGWKHLUIDPLOLHVOLYLQJLQ<DNLPD9DOOH\:DVKLQJWRQ)DPLOLHVZHUHȴUVWHQUROOHGLQWKHVWXG\ZKHQWKH
  University of Washington




                             FKLOGUHQZHUHEHWZHHQDJHVDQG\HDUV2YHUWKHQH[W\HDUVUHVHDUFKHUVDVVHVVHGSHVWLFLGHH[SRVXUHLQPXOWLSOH
                             seasons by measuring levels of pesticides in dust, urine, and blood. The study has also assessed biological mechanisms
                             linked with toxicity and disease. A hallmark of this cohort is the frequency of samples, taken multiple times per season,
                             GXULQJPXOWLSOHVHDVRQVSHU\HDUDFURVVPXOWLSOH\HDUV7KLVVWUXFWXUHKDVDOORZHGUHVHDUFKHUVWRHYDOXDWHEHWZHHQDQG
                             ZLWKLQSHUVRQYDULDELOLW\DFURVVVHDVRQVDQG\HDUV2QHXQLTXHHOHPHQWRIWKLVVWXG\LVWKHH[WHQVLYHH[SRVRPHEDVHG
                             DVVHVVPHQWV1RWRQO\KDYHUHVHDUFKHUVPHDVXUHGRYHUSHVWLFLGHVLQGXVWWKH\KDYHDOVRDVVHVVHGSKWKDODWHV
                             metals, mold, and social stress exposures using biomarkers and questionnaires.




70
                 Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 614 of 854

                                                                                                        “The Children’s Centers have
                                                                                                        overcome many hurdles
                                                                                                        to understand the links
                                                                                                        between environmental
                                                                                                        exposures and health
                                                                                                        outcomes or social and
                                                                                                        cultural factors. Long-
                                                                                                        term studies [are critically
                                                                                                        important] to assess the
                                                                                                        full range of developmental
                                                                                                        FRQVHTXHQFHVȐDWGL΍HUHQW
                                                                                                        life stages.”
                                                                                                        – Excerpt from Lessons learned for
                                                                                                        the National Children’s Study.



The 'XNH8QLYHUVLW\&KLOGUHQȇV&HQWHUIROORZVDVXEVHWRIDSSUR[LPDWHO\FKLOGUHQIURPDSUHH[LVWLQJ1HZERUQ
(SLJHQHWLFV67XG\ 1(67 FRKRUW1(67LQFOXGHVUDFLDOO\GLYHUVHSUHJQDQWZRPHQLQFHQWUDO1RUWK&DUROLQDDQGZDV




                                                                                                                                            Duke University
VSHFLȴFDOO\GHVLJQHGWRDOORZIRULQGHSWKLQYHVWLJDWLRQRIHSLJHQHWLFPHFKDQLVPVWKDWOLQNWKHSUHQDWDOHQYLURQPHQWWR
FKLOGUHQȇVKHDOWKRXWFRPHV1(67KDVDVVHPEOHGDULFKUHSRVLWRU\RIELRORJLFDOVSHFLPHQVRYHUWLPHIURPWKHVHPRWKHUV
and their children as well as medical and epidemiological data that altogether have provided a strong foundation for
other studies, including the 'XNH8QLYHUVLW\&KLOGUHQȇV&HQWHU7KLVFHQWHULVVSHFLȴFDOO\LQYHVWLJDWLQJKRZVHFRQGKDQG
tobacco smoke exposure during early life increases the risk of developing ADHD during adolescence.



7KH(DUO\/LIH([SRVXUHVLQ0H[LFRWR(QYLURQPHQWDO7R[LFDQWV (/(0(17 FRKRUWFRQVLVWVRIFKLOGUHQHQUROOHGDW
ELUWKLQ0H[LFR&LW\EHJLQQLQJLQDQGIROORZHGIRUPRUHWKDQ\HDUV7KHSUHYLRXVO\IXQGHGFRKRUWLVQRZ
part of the 8QLYHUVLW\RI0LFKLJDQ&KLOGUHQȇV&HQWHUZKLFKLQYHVWLJDWHVWKHLQȵXHQFHRIOHDGH[SRVXUHRQIHWDODQG
LQIDQWGHYHORSPHQW)LQGLQJVIURP(/(0(17KDYHIRXQGUHODWLRQVKLSVEHWZHHQSUHQDWDOOHDGDQGORZELUWKZHLJKW




                                                                                                                                            University of Michigan
lower weight and higher blood pressure in young girls, cognition, and ADHDȴQGLQJVKDYHDOVRVKRZQWKDW
FDOFLXPVXSSOHPHQWDWLRQGXULQJSUHJQDQF\FDQEOXQWWKHPRELOL]DWLRQRIOHDGVWRUHGLQERQHWKHUHE\UHGXFLQJIHWDO
exposure.2YHUWKHORQJIROORZXSSHULRGUHVHDUFKHUVKDYHEHHQDEOHWRVWXG\H[SRVXUHVWRPHWDOVRWKHUWKDQOHDG
LQFOXGLQJȵXRULGH cadmium, mercury, BPA, and phthalates.6WXGLHVRQDGGLWLRQDOKHDOWKRXWFRPHVVXFKDV
cognition, behavior, dental health, sexual maturation, adiposity, and cardiometabolic risk have also
EHHQSRVVLEOH(YLGHQFHIURP(/(0(17KDVLQIRUPHG86DQG0H[LFDQOHDGH[SRVXUHJXLGHOLQHVLQFOXGLQJWKH
&'&Ȋ*XLGHOLQHVIRUWKHΖGHQWLȴFDWLRQDQG0DQDJHPHQWRI/HDG([SRVXUHLQ3UHJQDQWDQG/DFWDWLQJ:RPHQȋDPRQJ
others.



ΖQDGGLWLRQWRWKH&+$5*(VWXG\WKHUC Davis Children’s Center launched a second epidemiologic study of autism
VSHFWUXPGLVRUGHU $6' LQ7KH0DUNHUVRI$XWLVP5LVNLQ%DELHVȂ/HDUQLQJ(DUO\6LJQV 0$5%/(6 VWXG\
                                                                                                                                            UC Davis




IROORZVPRWKHUVZLWKDWOHDVWRQHFKLOGZLWK$6'EHIRUHGXULQJDQGDIWHUWKHLUSUHJQDQF\7KLVDOORZVUHVHDUFKHUV
WRREWDLQLQIRUPDWLRQDERXWEDELHV SUHQDWDODQGSRVWQDWDOH[SRVXUHVΖQIDQWVDUHHQUROOHGDWELUWKDQGDVVHVVHGIRU
QHXURGHYHORSPHQWDOVWDWXVXQWLO\HDUVROG0$5%/(6KDVHQUROOHGRYHUPRWKHUFKLOGSDLUVDQGKDVFRQGXFWHG
longitudinal biological and environmental sampling.




                                                                                                                                                                71
                Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 615 of 854

                                                                                                        Appendix A
                                                            List of EPA Reviewers
Dan Axelrad2ɝFHRI3ROLF\ 23                             Christopher Lau25'1DWLRQDO+HDOWKDQG(QYLURQPHQWDO
                                                            (΍HFWV5HVHDUFK/DERUDWRU\ 1+((5/
Martha Berger2ɝFHRI&KLOGUHQȇV+HDOWK3URWHFWLRQ 2&+3
                                                            Patrick Lau25'1&(5
Elaine Cohen-Hubal2ɝFHRI5HVHDUFKDQG'HYHORSPHQW
25'                                                         Sylvana Li25'1&(5

-H΍HU\'DZVRQ2ɝFHRI&KHPLFDO6DIHW\DQG3ROOXWLRQ       Danelle Lobdell25'1+((5/
3UHYHQWLRQ 2&633 2ɝFHRI3HVWLFLGH3URJUDPV 233
                                                            Sarah Mazur25'ΖPPHGLDWH2ɝFHRIWKH$VVLVWDQW
Andrew Geller25'                                          Administrator

Angela Hackel2&+3                                         Jacquelyn Menghrajani5HJLRQ

Aaron Ferster25'                                          Jacqueline Moya25'1DWLRQDO&HQWHUIRU(QYLURQPHQWDO
                                                            $VVHVVPHQW 1&($
James Gentry25'1DWLRQDO&HQWHUIRU(QYLURQPHQWDO
5HVHDUFK 1&(5                                              Linda Phillips25'1&($

Intaek Hahn25'1&(5                                      Patrick Shanahan25'1&(5

Kaythi Han2&633233                                      Maryann Suero5HJLRQ

James H. Johnson, Jr.25'1&(5                            Nicolle Tulve25'1DWLRQDO([SRVXUH5HVHDUFK/DERUDWRU\

Annie Kadeli2ɝFHRI(QYLURQPHQWDOΖQIRUPDWLRQ 2(Ζ        Kelly Widener25'1&(5

Rick Keigwin2&633233




                                                                                                                       107
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 616 of 854




                      Exhibit 26
 Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 617 of 854




                  FOOD & WATER WATCH

                                 VS

U.S. ENVIRONMENTAL PROTECTION AGENCY, ET AL.,



                     KRISTINA THAYER

                          May 17, 2019
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 618 of 854



·1     · · · ·IN THE UNITED STATES DISTRICT COURT

·2     · · ·FOR THE NORTHERN DISTRICT OF CALIFORNIA

·3     · · · · · · · · ·AT SAN FRANCISCO

·4     FOOD & WATER WATCH, et al.· · *

·5     · Plaintiffs· · · · · · · · · *· Civ. No.

·6     v.· · · · · · · · · · · · · · *· 17-CV-02162-EMC

·7     U.S. ENVIRONMENTAL PROTECTION *

·8     AGENCY, et al.· · · · · · · · *

·9     · Defendants· · · · · · · · · *

10     · · · · · · · · *· ·*· ·*· ·*· ·*

11     · · · · · · VIDEOTAPED DEPOSITION OF

12     · · · · · · KRISTINA A. THAYER, Ph.D.

13     · · · · · · · · · MAY 17th, 2019

14     · · · · · · · · ·WASHINGTON, D.C.

15

16     · · · · · · Reported by:· Dawn M. Hyde

17

18

19

20

21

22

23

24

25
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 619 of 854
                                                                            11

·1     · · ·A· · Yes.

·2     · · ·Q· · And your field of study was

·3     psychology?

·4     · · ·A· · Yes, and biology.· Kind of

·5     biological psychology.

·6     · · ·Q· · Cool.· And you got a Ph.D. in 1999.

·7     · · ·A· · Uh-huh.

·8     · · ·Q· · From the University of Missouri.

·9     · · ·A· · Yes.

10     · · ·Q· · And that was your field of study

11     there was biological sciences?

12     · · ·A· · Uh-huh.

13     · · ·Q· · And you worked with Theo Colborn?

14     · · ·A· · Yes.

15     · · ·Q· · And then I see that in 2003 you

16     became a staff scientist at the National

17     Toxicology Program.

18     · · ·A· · Yes.

19     · · ·Q· · And you stayed on as a scientist at

20     the National Toxicology Program until the

21     beginning of 2017?

22     · · ·A· · Yes.

23     · · ·Q· · And then you went to EPA?

24     · · ·A· · Correct.

25     · · ·Q· · And your current -- what's your



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 620 of 854
                                                                            12

·1     current position at EPA?

·2     · · ·A· · I am the division director for the

·3     Integrated Risk Information System, IRIS.

·4     · · ·Q· · So let's -- I would like to ask you

·5     a little bit about some of the background

·6     about what IRIS is, okay?

·7     · · ·A· · Uh-huh.

·8     · · · · · (Thayer Deposition Exhibit Number 101

·9     · · · · · was marked for identification.)

10     · · ·BY MR. CONNETT:

11     · · ·Q· · And I will go ahead and mark this

12     document as Exhibit Number 101.· And I just

13     printed this out from the EPA website and it's

14     the "About IRIS" page and it says -- starts by

15     saying, "EPA's mission is to protect human

16     health and the environment."

17     · · · · · That's a correct statement, right?

18     · · ·A· · Correct.

19     · · ·Q· · And it said that the "EPA's IRIS

20     program supports this mission by identifying

21     and characterizing the health hazards of

22     chemicals found in the environment."

23     · · · · · And that's a correct statement?

24     · · ·A· · Correct.

25     · · ·Q· · And the way that IRIS goes about



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 621 of 854
                                                                            77

·1     you're interested in, so you have to minimize

·2     your opportunity for extrapolation.

·3     · · ·Q· · Right.· So what NTP is focused on --

·4     strike that.

·5     · · · · · What NTP was focused on in this

·6     systematic review was is neurotoxicity,

·7     specifically effects on learning and memory, a

·8     hazard of fluoride exposure?

·9     · · ·A· · Right.· And again, it's been -- one

10     time in 2015 I was intimately familiar with

11     all these studies but at this point, if I

12     remember correctly, in many cases the evidence

13     base -- I think there were a lot of single or

14     double dose level studies.

15     · · · · · So again, in terms of dose-response,

16     not ideal for that next step.

17     · · ·Q· · So you, when you're looking at an

18     animal study, if you're interested in

19     potentially deriving a reference dose from the

20     animal studies, you want to see more dose

21     groups; is that --

22     · · ·A· · Right.· Because then you have more

23     opportunities to do things like benchmark dose

24     modeling, yes.· You want multiple dose levels.

25     It gives you more confidence in your ability



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 622 of 854
                                                                         104

·1     wildly off the mark, it would have been

·2     caught.· That's what I'll say.

·3     · · ·BY MS. CARFORA:

·4     · · ·Q· · And goes on to say, "Because the

·5     blood brain barrier limits the passage of

·6     substances from blood to brain, in its absence

·7     toxic agents can freely enter the developing

·8     brain."· And I believe you already stated

·9     something to that effect.

10     · · ·A· · Yes.

11     · · ·Q· · You would agree with that statement?

12     · · ·A· · I would agree with that statement.

13     The part that I'm fuzzy on are the actual

14     windows of maturity when the blood brain

15     barrier matures.

16     · · ·Q· · So then it goes on to say -- and I

17     don't want to get into the details of the

18     evidence --

19     · · ·A· · Thank you.· Thank you.

20     · · ·Q· · -- on hexanone but it says, "Since

21     Purkinje cell degeneration has been observed

22     with adult rats exposed to this chemical,

23     infants may be at an increased risk for this

24     type of damage at lower levels of exposure due

25     to the incomplete maturation of the blood



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 623 of 854
                                                                         109

·1     question about this document for you.· If you

·2     can turn to page 42.

·3     · · ·A· · Okay.

·4     · · ·Q· · And you see there is a section there

·5     at the top called "Susceptible populations and

·6     life stages."

·7     · · ·A· · Yes.

·8     · · ·Q· · And it starts by saying, "A

·9     population subgroup is susceptible if exposure

10     occurs during a period of sensitivity."

11     · · ·A· · Yes.

12     · · ·Q· · And you would agree with that

13     statement?

14     · · · · · MS. CARFORA:· Objection, foundation.

15     · · ·A· · Yes.

16     · · ·BY MR. CONNETT:

17     · · ·Q· · And it goes on to say that, "The

18     neonatal stage is a period of rapid

19     development of the nervous system and is

20     considered a critical window of development."

21     · · · · · Did I read that correctly?

22     · · ·A· · Yes.

23     · · ·Q· · Do you agree with that statement?

24     · · ·A· · Yes.

25     · · · · · MS. CARFORA:· Objection, foundation.



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 624 of 854
                                                                         162

·1     · · ·A· · Right.· I suspect, when we look at

·2     fluoride, it won't be the same scenario.

·3     · · ·Q· · Because with fluoride we have far

·4     more human data on fluoride neurotoxicity than

·5     we have on RDX neurotoxicity.

·6     · · ·A· · Right.· And what I'm talking about

·7     in terms of the same data is you mentioned

·8     that there were case reports, a case study,

·9     cross-sectional, right?

10     · · ·Q· · Right.

11     · · ·A· · What I'm talking about with fluoride

12     is I know we have more cohort kind of studies,

13     right.

14     · · ·Q· · Right.

15     · · ·A· · So it's not that I know those

16     studies but I know that the collection of

17     studies is much more rich for fluoride than

18     RDX.

19     · · ·Q· · Right.· And so let's talk about

20     cohort studies, and you'd agree that

21     prospective cohort studies -- well, first of

22     all are you familiar with the phrase

23     prospective cohort studies?

24     · · ·A· · Yes.

25     · · ·Q· · Do you agree that that's basically



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 625 of 854
                                                                         163

·1     the gold standard epidemiological study for

·2     determining the relationship between an

·3     environmental chemical and the human health

·4     effect?

·5     · · · · · MS. CARFORA:· Objection, foundation.

·6     · · ·A· · It's an ideal study design in our

·7     field.· It's not an experimental study but we

·8     don't often see those in environmental health

·9     for a variety of reasons.

10     · · ·BY MR. CONNETT:

11     · · ·Q· · So for purposes of environmental

12     health epidemiology, a prospective cohort

13     study is the ideal study design?

14     · · ·A· · It is, but beyond that -- beyond

15     that, you also have to think about the way

16     that the exposure was measured.· Was it

17     actually measured and reflective of the time

18     periods that you want.· And then you have to

19     think about the outcome.· So it's an ideal

20     study design, but that study design on its own

21     does not mean that every prospective cohort

22     study is going to automatically be high

23     quality.

24     · · ·Q· · Right.

25     · · · · · MS. CARFORA:· Can we take a break?



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 626 of 854
                                                                         164

·1     · · · · · MR. CONNETT:· Yes, this is a good

·2     time.

·3     · · · · · THE VIDEOGRAPHER:· Okay.· We're

·4     going off the record here at 12:47 p.m.

·5     · · · · · (Lunch recess taken from 12:47 p.m.

·6     · · · · · until 1:24 p.m.)

·7     · · · · · THE VIDEOGRAPHER:· We are going back

·8     on the record here at 1:24 p.m.· This is tape

·9     number four of the videotaped deposition of

10     Kristina Thayer.

11     · · ·BY MR. CONNETT:

12     · · ·Q· · Okay.· I would like to for the next

13     hour talk with you about animal studies, okay.

14     Just joking.

15     · · ·A· · I was practicing my -- how did I do?

16     · · ·Q· · Very good.· Very good.

17     · · · · · So just sort of wrapping up our

18     discussion on animal studies, would you agree

19     that the animal evidence that exists today on

20     fluoride impairing learning and memory in

21     animals supports the biologic plausibility of

22     fluoride reducing IQ in humans?

23     · · · · · MS. CARFORA:· Objection, foundation.

24     · · ·A· · I would say supports a biological

25     plausibility of something neurological, but I



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 627 of 854
                                                                         165

·1     think we still have this issue about being

·2     able to sort of separate potential motor

·3     impairment from learning and memory more

·4     specifically.

·5     · · ·BY MR. CONNETT:

·6     · · ·Q· · Okay.· So if I understand what

·7     you're saying, you would agree that the animal

·8     evidence on fluoride and learning and memory

·9     supports the biologic plausibility of fluoride

10     causing neurological effects in humans?

11     · · ·A· · I would say that the indications of

12     neurological effects in animals, which may be

13     motor, may be learning behavior, may be a

14     combination, support the biological

15     plausibility of further analysis of the human

16     literature.

17     · · ·Q· · Okay.· So at the end you said

18     further analysis of the human literature.

19     · · ·A· · Yes, and in part what you're talking

20     about is -- and this is from outside my area

21     of expertise -- can I extrapolate what the

22     Morris water maze means in terms of a human

23     counter -- a human measurement of IQ.· So a

24     lot of it's that extrapolation from the animal

25     models of measuring learning behavior to what



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 628 of 854
                                                                         167

·1     causes neurologic effects in animals, supports

·2     the biologic plausibility of fluoride causing

·3     neurologic effects in humans, right?

·4     · · · · · MS. CARFORA:· Objection, foundation.

·5     · · ·A· · Can support, but again, would need

·6     to be further analyzed, right.

·7     · · ·BY MR. CONNETT:

·8     · · ·Q· · Right.· And I'm not asking you to

·9     tell me in this question that I know that

10     fluoride does this, this or this.· I'm just

11     saying you would agree that the evidence on

12     fluoride neurotoxicity in animals supports the

13     biologic plausibility of fluoride causing

14     neurologic effects --

15     · · ·A· · Yes, when we do our structured

16     frameworks for evidence integration at the NTP

17     at the IRIS program, that would be an

18     indication of biological plausibility, yes.

19     · · ·Q· · And you would agree -- remember we

20     looked at that RDX summary of the animal

21     literature and it said that there was

22     consistent evidence of neurotoxicity in the

23     animal studies for RDX?

24     · · ·A· · Yes.

25     · · ·Q· · And they referenced 11 of 16 studies



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 629 of 854
                                                                         248

·1     · · · · · So you try to focus on unexplainable

·2     inconsistency and you also think about

·3     direction of the effect magnitude -- the

·4     overall quality of the studies, and then you

·5     reach judgment of how confident you are in the

·6     association.

·7     · · · · · And so that's an expert judgment

·8     process and it is what it is.· That is the

·9     nature of the beast.· And so what systematic

10     review does is it doesn't disguise that as

11     being expert judgment.· It tries to make it

12     more transparent:· What factors did you think

13     about.

14     · · · · · And so if you look in the report,

15     there's a section that tries to sort of be

16     clear about what factors drove -- gave a sort

17     of more confidence or less confidence in those

18     collection of studies and then all that gets

19     converted into this overall confidence

20     conclusion.

21     · · ·Q· · Okay.· Now, you were the author of

22     this systematic review.· Is that the

23     appropriate way to explain that?

24     · · ·A· · Lead author but, I mean, at the end

25     of the day, it's an NTP report which actually



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 630 of 854
                                                                         249

·1     means NTP is the author.· I wrote the words.

·2     I did project management.· I did some of the

·3     work, but you don't do systematic review on

·4     your own.· It's inherently a team-based

·5     activity.

·6     · · · · · So you have -- at a minimum you have

·7     other people help you screen studies.· In a

·8     case like this, you make sure that you have

·9     experts who understand animal studies, animal

10     behavioral studies.

11     · · · · · We also had to sort of reach out to

12     chemists to make sure -- to think about some

13     of the fluoride exposure information and how

14     we might convert.· So you have a team of

15     experts who work on this.

16     · · ·Q· · So if there is a -- for example, you

17     said that you had two experts read or screen

18     reports for relevancy.· I think that is how

19     you put it, right?

20     · · ·A· · Yes, relevancy to our PECO, right.

21     · · ·Q· · Okay.· Now, if there is a dispute

22     between the two experts determining whether

23     the study meets the criteria set forth in

24     PECO, who resolves that dispute?

25     · · ·A· · They discuss it.· Typically, it's



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 631 of 854
                                                                         289

·1     June 2008 and today, 2019?

·2     · · ·A· · Yes.

·3     · · ·Q· · So let me just confirm that.

·4     Exhibit Number 109.

·5     · · ·A· · Uh-huh.

·6     · · ·Q· · That was an IRIS assessment that was

·7     completed in June 2008; is that correct?

·8     · · ·A· · Correct.· And also again, the

·9     systematic review processes that we're using

10     now would not have been implemented.· That's

11     actually on the assessments that are occurring

12     very recently.

13     · · ·Q· · Okay.

14     · · · · · MS. CARFORA:· Let me just state for

15     the record that the interruptions you hear on

16     the video are opposing counsel playing with

17     his binder and his papers.

18     · · · · · MR. CONNETT:· Sorry about that.

19     · · · · · MS. CARFORA:· I would also like to

20     say for the record while we're on the record

21     that Judge Chen's standing order does confirm

22     that one attorney start and finish the

23     deposition.

24     · · · · · MR. NIDEL:· No, that's not what it

25     says.· It says one attorney conduct the



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 632 of 854
                                                                         307

·1     STATE OF MARYLAND

·2     HOWARD COUNTY

·3     · · ·I, Dawn Michele Hyde, a Notary Public of the

·4     State of Maryland, Howard County, do hereby certify

·5     that the above-captioned proceeding took place

·6     before me at the time and place herein set out.

·7     · · ·I further certify that the proceeding was

·8     recorded stenographically by me and this transcript

·9     is a true record of the proceedings.

10     · · ·I further certify that I am not of counsel to

11     any of the parties, nor an employee of counsel, nor

12     related to any of the parties, nor in any way

13     interested in the outcome of the action.

14     · · ·As witness my hand and seal this 17th day of

15     May, 2019.

16

17     · · · · · · · ·Dawn M. Hyde, Notary Public

18     · · · · · · · ·My Commission Expires 10/7/2019

19

20

21

22

23

24

25



                      Asbestos Reporters of California
                                888-779-9974
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 633 of 854




                      Exhibit 27
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 634 of 854
                                   Howard Hu                  September 24, 2019

                                                                   Page 1

1                         UNITED STATES DISTRICT COURT

2                 FOR THE NORTHERN DISTRICT OF CALIFORNIA

3      ___________________________________________________________

4       FOOD & WATER WATCH, INC., et al.,         )

                                                  )

5       Plaintiff,                                )

                                                  )

6                 vs.                             )No. 3:17-cv-02162-EMC

                                                  )

7       US ENVIRONMENTAL PROTECTION AGENCY,       )

       et al.,                                    )

8                                                 )

        Defendant.                                )

9      ___________________________________________________________

10                    Deposition Upon Oral Examination Of

11                                 HOWARD HU

12     ___________________________________________________________

13

14

15

16

17                                 9:15 a.m.

18                             September 24, 2019

19                             700 Stewart Street

20                            Seattle, Washington

21

22

23

24     Job No. CS3560042

25     REPORTED BY:     Yvonne A. Gillette, CCR No. 2129.

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 635 of 854
                                   Howard Hu                  September 24, 2019

                                                                 Page 15

1      Q            Is this a document you prepared as part of

2      your preparation for this deposition?

3      A            Yes.

4      Q            Okay.     Could you read the studies cited in

5      your notes, please, for the record?

6      A            Yeah.     Sure.    These are in alphabetical

7      order.    The first one is Bartos, et al.              Alterations

8      in the memory of rat offspring exposed to low levels

9      of fluoride during gestation and lactation, colon,

10     involvement of the alpha7 nicotinic receptor and

11     oxidative stress, published in Reproductive

12     Toxicology, 2018.         Chen -- that's C-H-E-N -- et al.,

13     ERK 1/2 mediated disruption of BDNF-TRKB signaling

14     causes synaptic impairment contributing to

15     fluoride-induced developmental neurotoxicity,

16     published in Toxicology 2018.

17                  McPherson, et al., An evaluation of

18     neurotoxicity following fluoride exposure from

19     gestational through adult ages in Long-Evans hooded

20     rats, published in Neurotoxicology Research, 2018.

21     Wang et al., Effects of perinatal fluoride exposure on

22     the expression of -- I guess you should read it --

23     miR-124 and miR-132 in hippocampus of mouse pups,

24     published in Chemosphere, 2018.              Sun -- that's

25     S-U-N -- et al., Maternal fluoride exposure during

                            www.CapitalReportingCompany.com
                                     202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 636 of 854
                                   Howard Hu                  September 24, 2019

                                                                 Page 31

1      A            My opinion is that there's research that

2      suggests that fluoride is a neurodevelopmental

3      toxicant.

4      Q            Now, do you have an opinion on whether

5      fluoride is a neurodevelopmental toxicant at a

6      particular level of exposure?

7                   MR. CONNETT:       Vague and ambiguous.

8      A            I do.

9      Q            And what's your opinion?

10     A            My opinion is that the most recent evidence

11     suggests that population level exposure to fluoride

12     includes a range of exposure that seems to be

13     associated with decrements in neurodevelopmental

14     function.

15     Q            What is the range of exposure you're

16     referring to?

17     A            I mean the range of exposures that were

18     associated with the ELEMENT study as well as the MIREC

19     study.

20     Q            Can you put any numbers to those ranges?

21     A            May I look at my papers?

22     Q            Sure.

23     A            Well, the ELEMENT study, just characterizing

24     it in a fairly simplistic way, I had prenatal maternal

25     urinary fluoride levels, creatinine corrected, that

                            www.CapitalReportingCompany.com
                                     202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 637 of 854
                                   Howard Hu                  September 24, 2019

                                                                  Page 32

1      ranged somewhere around 0.25 to 2 milligrams per liter

2      as can be seen from Figure 2 in our 2018 paper.                   And

3      actually, I didn't bring a copy of the Till, et al.,

4      Journal of Pediatric paper, but their earlier paper in

5      2018 demonstrated that the maternal urinary fluoride

6      levels, creatinine corrected, were in a similar range.

7      Q            So when you -- when you say range of

8      exposure that seems to be associated with neurological

9      decrements, you're referring to prenatal fluoride

10     concentrations in pregnant mothers' urine?

11     A            That's correct.

12     Q            Okay.     I think you said Till, et al.'s most

13     recent study in Journal of Pediatrics.                 Were you

14     referring to -- I think it's Rifka Green is the first

15     author; is that correct?

16     A            Correct.

17     Q            You prefaced your answer to my question as

18     saying, most -- the most recent evidence suggests.

19     And then you referred to, I believe it was -- was it

20     Bashash 2018 and Till 2018, those two studies?

21     A            I think Bashash 2017.

22     Q            And Till 2018.        Are there any other facts

23     that you relied upon in formulating this opinion?

24                  MR. CONNETT:       Overbroad.       Vague and

25     ambiguous.

                            www.CapitalReportingCompany.com
                                     202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 638 of 854
                                   Howard Hu                  September 24, 2019

                                                                 Page 33

1      A            Not materially, no.

2      Q            And what methodologies have you used to

3      arrive at your opinion regarding fluoride's potential

4      association with neurological decrements?

5                   MR. CONNETT:       Overbroad.

6      A            Yeah.     It's a pretty broad question, but in

7      general, it's the entire research enterprise that I

8      understand is the subject of this inquiry, that is our

9      ELEMENT research program looking at fluoride exposure

10     among the ELEMENT mothers and offspring and

11     measurements of neurobehavior development.

12     Q            So it's comparing prenatal urinary

13     concentrations in pregnant mothers with neurological

14     testing of the offspring of those mothers later in

15     life; is that correct?

16     A            Well, I guess that's a very simplistic

17     characterization, but it's looking at the longitudinal

18     association of prenatal and postnatal biomarkers of

19     fluoride exposure in the pregnant mothers and

20     offspring children and relating that to

21     neurobehavioral measures of development, while also

22     adjusting for a number of other covariants that could

23     be potentially confounding that relationship.

24     Q            Okay.     Do you have an opinion regarding the

25     effects of prenatal exposure to fluoride with respect

                            www.CapitalReportingCompany.com
                                     202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 639 of 854
                                   Howard Hu                  September 24, 2019

                                                                 Page 34

1      to intelligence?

2      A            Yes.

3      Q            And what's your opinion?

4      A            Well, our 2017 paper, just to quote it,

5      basically concluded that higher prenatal fluoride

6      exposure in the general range of exposures reported

7      for other general population samples of pregnant women

8      and non-pregnant adults was associated with lower

9      scores on tests of cognitive function, IE, cognition,

10     in the offspring at age 4 and 6 to 12 years.                That

11     remains my opinion based on our research.               And I will

12     simply note that the results of the Rifka Green, et

13     al. paper demonstrates some similarities.

14     Q            Okay.     What paper are you reading from?

15     A            From our team's 2017 paper, Bashash, et al.

16     Q            And do you have an opinion regarding the

17     effects of prenatal exposure to fluoride with respect

18     to ADHD symptoms?

19                  MR. CONNETT:       By the way, just for the

20     record, did you refer to that as a 2018 study or 2017?

21                  THE WITNESS:       2017, yes.

22     A            Okay.     Again, so I am consistent, I'm

23     reading from the Bashash, et al. 2018 paper, which

24     concluded that higher levels of fluoride exposure

25     during pregnancy were associated with global measures

                            www.CapitalReportingCompany.com
                                     202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 640 of 854
                                   Howard Hu                  September 24, 2019

                                                                 Page 35

1      of attention deficit hyperactivity disorder, otherwise

2      known as ADHD, and more symptoms of inattention as

3      measured by the -- and this is the Conners Rating

4      Scaled, Revised in the offspring.              And that were the

5      results of our study in this area.              I stand by those

6      conclusions.

7      Q            You're pre-empting my next question.              When I

8      asked whether you had an opinion regarding the effects

9      of prenatal exposure to fluoride with respect to

10     intelligence, you referred to the conclusion written

11     in Bashash 2017.       So is your opinion with respect to

12     the effects of prenatal exposure to fluoride on

13     intelligence any different from the stated conclusion

14     in Bashash 2017 with respect to that topic?

15     A            No.

16                  MR. CONNETT:      Vague and ambiguous.

17     Q            And similarly, is your opinion regarding the

18     effects of prenatal exposure with respect -- of

19     fluoride with respect to ADHD any different from the

20     conclusions stated in Bashash 2018?

21                  MR. CONNETT:      Vague and ambiguous.

22     Overbroad.

23     A            Not materially, no.

24     Q            Do you have an opinion regarding the

25     applicability of the findings in your research of the

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 641 of 854
                                   Howard Hu                  September 24, 2019

                                                                      Page 97

1      with a population that has one distribution of

2      internalized fluoride based on maternal urinary

3      fluoride and the other population's internalized

4      fluoride, I guess you could say, burden based on their

5      particular exposure source.             And I think because

6      you're looking at a biomarker, the interpretation

7      would be essentially about fluoride internalized

8      exposure.     I think that's all the inference you can

9      make.

10     Q            Okay.

11     A            Was I missing something?

12     Q            No.     It's a complicated question.              I

13     appreciate the answer.          Can we take a break?

14                  MR. CONNETT:       Yeah.

15                  (Lunch recess taken.)

16                  (Exhibit No. 342 marked for identification.)

17     Q            Dr. Hu, the court reporter's now handed you

18     what's been marked as Exhibit 342.               Have you seen this

19     study before?

20     A            Yes.

21     Q            Okay.     This is a document entitled, Prenatal

22     Fluoride Exposure and Cognitive Outcomes in Children

23     at 4 and 6 through 12 years of age in Mexico.                      I will

24     refer to this study as Bashash 2017.                   Okay?

25     A            Okay.

                            www.CapitalReportingCompany.com
                                     202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 642 of 854
                                   Howard Hu                  September 24, 2019

                                                                 Page 98

1      Q            Were you a coauthor of Bashash 2017?

2      A            Yes.

3      Q            What were your responsibilities with respect

4      to the research being reported in Bashash 2017?

5      A            I was the principal investigator.             I was the

6      senior author responsible for design of the study,

7      conduct of the study, the drafting of the manuscript,

8      the interpretation of the results.               Basically every

9      aspect of the study.

10     Q            What was your responsibility with respect to

11     writing Bashash 2017?

12     A            Dr. Bashash drafted this manuscript.              I was

13     the first person to look at it and make suggestions,

14     do editing before it was then distributed to the other

15     coauthors for their input.            And then I looked at all

16     subsequent drafts and signed off on the final draft.

17     Q            Bashash 2017 was published in the Journal of

18     Environmental Health Perspectives, correct?

19     A            Correct.

20     Q            Is that a reliable authority?

21     A            It sure is.       It's the number one

22     environmental health journal in the world.

23     Q            Okay.     So please turn to page 2, the first

24     paragraph on that page.           I'll read from the paragraph.

25     Most epidemiologic studies demonstrating associations

                            www.CapitalReportingCompany.com
                                     202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 643 of 854
                                   Howard Hu                  September 24, 2019

                                                               Page 108

1      version, so I can't give you an informative response,

2      sorry.

3      Q            Did Bashash 2017 analyze the results of the

4      CANTAB test with respect to fluoride exposure?

5      A            It's in progress.

6      Q            No published results on that analysis yet?

7      A            No.

8      Q            When do you expect to submit that article

9      for review?

10     A            Somewhere in the next six months.

11     Q            Do you have an idea of when you will submit

12     it?   Well, strike the question.

13                  Have you submitted the research for review

14     by any publications yet?

15     A            No, not yet.

16     Q            Were there other subtests of the WASI test,

17     W-A-S-I, that were administered but not reported in

18     Bashash 2017?

19     A            Not that I'm aware of.

20     Q            Okay.     Bashash 2017 reported that there were

21     299 mother child pairs with data on all covariants

22     tested and data on either the GCI or IQ tests,

23     correct?

24     A            Correct.

25     Q            There were 997 total mothers from the two

                            www.CapitalReportingCompany.com
                                     202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 644 of 854
                                   Howard Hu                  September 24, 2019

                                                               Page 125

1      environmental contamination; is that correct?

2      A            Correct.

3      Q            Bashash 2017 did not conclude that fluoride

4      causes neurodevelopmental harm; is that correct?

5      A            No.     And we would never do so.         You cannot

6      make a conclusion like that based on a single

7      epidemiological study in my opinion.

8      Q            And to be fair, Bashash 2017 concluded that

9      the research shows a potential for neurodevelopmental

10     harm; is that correct?

11     A            Correct.

12                  MR. ADKINS:       So why don't we take a break.

13                  (Recess taken.)

14                  (Exhibit No. 343 marked for identification.)

15     Q            The court reporter is handing you what's

16     been marked as Exhibit 343.            This is a study titled

17     Prenatal Fluoride Exposure and Attention Deficit

18     Hyperactivity Disorder, ADHD, Symptoms in Children at

19     6 to 12 Years of Age in Mexico City by Bashash, et al.

20     Published in the journal, Environment International in

21     2018.    I will refer to this study as Bashash 2018.

22     Okay?

23     A            Okay.

24     Q            You were a coauthor of Bashash 2018,

25     correct?

                            www.CapitalReportingCompany.com
                                     202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 645 of 854
                                   Howard Hu                  September 24, 2019

                                                               Page 126

1      A            Correct.

2      Q            What were your responsibilities with respect

3      to the research being reported in Bashash 2018?

4      A            Same as Bashash 2017.

5      Q            And what were your responsibilities with

6      respect to the writing of Bashash 2018?

7      A            Same as in Bashash 2017.

8      Q            Is the -- Bashash 2018 was published in the

9      journal Environment International, correct?

10     A            Yes.

11     Q            Is that a reliable authority?

12     A            It's probably the number two environmental

13     health journal based on impact factors.

14     Q            The procedure for analyzing maternal urine

15     samples was identical in Bashash 2018 compared to

16     Bashash 2017 and Thomas 2016, correct?

17     A            It's the same data.

18     Q            And were the procedures used to analyze that

19     data the same across those three studies?

20     A            More or less.

21     Q            In what ways were they different?

22     A            Well, the data was a little bit different in

23     terms of the sample sizes.           And we had our

24     neurobehavioral collaborator, Dr. Christine Till,

25     weighing heavily on the analysis and interpretation of

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 646 of 854
                                   Howard Hu                  September 24, 2019

                                                               Page 165

1      rephrase the statement?

2      Q            Sure.     Do you agree with this statement, the

3      levels of fluoride exposure found in the ELEMENT

4      cohort are presumptively applicable to the levels

5      likely to be found in communities with artificial

6      water fluoridation?

7                   MR. CONNETT:       Incomplete hypothetical.

8      A            Well, based on our previous discussion of

9      how I believe that the maternal urinary fluoride

10     levels in ELEMENT are roughly similar to those of the

11     Canadian women participating in the MIREC study who

12     live in water fluoridated communities, then yes.

13     There is a first order -- what's the right word --

14     first order implication that what you just said is

15     true.

16     Q            Is there a second order implication that

17     what I said is not true?

18     A            No, but I think that -- when I say first

19     order, I mean that is the -- that is the apparent

20     implication of our research and their research.

21     Q            Okay.     So you're of the opinion that the

22     rough comparison of urinary fluoride values in the

23     ELEMENT studies and the MIREC study in Till 2018 -- I

24     know Till has published other work -- those are

25     roughly comparable.         And that is a basis for -- a

                            www.CapitalReportingCompany.com
                                     202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 647 of 854
                                   Howard Hu                  September 24, 2019

                                                               Page 180

1      weren't -- you did not see such reports in the text.

2      You would need to confirm by looking at the

3      supplemental material to see whether any such

4      differences were reported.

5                   So why don't you take a second to look at

6      the supplemental material for Bashash 2017.                And when

7      you're done, if you could answer whether Bashash 2017

8      reported whether there were any differences between

9      neurodevelopmental outcomes between the subjects with

10     and without complete data in that study?

11     A            As far as I can tell, it did not.

12                  MR. ADKINS:      Okay.     I have no further

13     questions.     I pass the witness.

14                  MR. CONNETT:      Okay.

15                                    EXAMINATION

16     BY MR. ADKINS:

17     Q            Thank you for your patience, Dr. Hu.              Okay.

18     You were asked about some of your opinions based on

19     your own studies.        And I just want to follow up on

20     that briefly.      And to do so, I would like to ask you

21     if you agree or disagree with the following

22     statements, okay.        The first statement is, the ELEMENT

23     prospective cohort studies of fluoride's

24     neurodevelopmental effects are methodologically

25     rigorous studies that provide scientifically reliable

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 648 of 854
                                   Howard Hu                  September 24, 2019

                                                               Page 181

1      and robust results.         Do you agree with that, Dr. Hu,

2      or not?

3      A            I agree with the elaboration that, by

4      reliable, I mean accurate and precise.

5      Q            Okay.     And do you agree with the following

6      statement:     The results of the ELEMENT prospective

7      cohort studies are consistent with and support the

8      conclusion that fluoride is a developmental

9      neurotoxicant at levels of exposure seen in the

10     general population in artificially fluoridated

11     communities?

12     A            I agree.

13     Q            Okay.     Now, I'm going to read you a

14     statement from a document written by both the EPA and

15     the National Institute of Environmental Health

16     Sciences.     And the statement reads, archives of

17     biological samples from birth cohort studies provide

18     critical information on the prenatal and childhood

19     determinants of adult disease.             Do you agree with the

20     EPA on that statement?

21                  MR. ADKINS:       Objection to the extent it

22     misstates the document or EPA's position.

23     A            I agree.

24     Q            And in that same EPA document, it discusses

25     the ELEMENT study.         By the way, the EPA is one of the

                            www.CapitalReportingCompany.com
                                     202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 649 of 854
                                   Howard Hu                  September 24, 2019

                                                               Page 182

1      funders of the ELEMENT study; is that correct?

2                   MR. ADKINS:       Objection.       Compound.

3      A            It was at its origins.           I do believe it does

4      not currently support the research.

5      Q            Okay.     In this document that the EPA

6      coauthored with the National Institute of

7      Environmental Health Sciences, it states that,

8      evidence from ELEMENT has informed US and Mexican lead

9      exposure guidelines, including the 2010 CDC guidelines

10     for the identification and management of lead exposure

11     in pregnant and lactating women.              Is that consistent

12     with your understanding, Dr. Hu?

13     A            Yes.

14                  MR. ADKINS:       Objection to the extent it

15     misstates the document.

16     Q            Now, you were asked a lot of questions about

17     limitations in your studies.             And I would just like to

18     follow up on that.         First, I believe you've already

19     addressed this, but I'll just ask it again.                 Dr. Hu,

20     are you aware of any epidemiology study that does not

21     have limitations?

22     A            No.

23     Q            Could the limitations associated with

24     epidemiology studies be minimized if we conducted

25     randomized controlled trials where we intentionally

                            www.CapitalReportingCompany.com
                                     202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 650 of 854
                                   Howard Hu                  September 24, 2019

                                                                Page 183

1      dose humans with environmental chemicals to see if

2      adverse effects result?

3                   MR. ADKINS:       Objection.       Vague.   Incomplete

4      hypothetical.

5      A            Theoretically, yes, but obviously

6      practically impossible.

7      Q            And when you say practically impossible, why

8      is that something that's not done?               Why don't we

9      intentionally dose human beings to see if chemicals

10     cause adverse effects?

11     A            Completely unethical.

12     Q            Now, you were asked a lot of -- so you were

13     asked about a lot of limitations -- strike that.

14                  You were asked about limitations in your

15     studies.     I would like to now ask you, if you could --

16     I know it's sort of late in the day, but could you

17     describe sort of in an outline form what the

18     methodological strengths of your studies on fluoride

19     and neurodevelopment are.

20     A            Sure.     This is a study that is among the

21     first to use biological markers to measure individual

22     exposures to fluoride, one of the first studies to use

23     a longitudinal design to address the temporality

24     between the sequence of exposure and the

25     neurobehavioral outcomes.            It was one of the largest

                            www.CapitalReportingCompany.com
                                     202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 651 of 854
                                   Howard Hu                  September 24, 2019

                                                               Page 185

1      potential confounders, which increased the rigor of

2      the study and the interpretation of the study's

3      results.

4      Q            Briefly, you were asked some questions about

5      your understanding of prenatal development.                And I

6      would like to read for you a statement from the EPA.

7      And I would like to ask if you agree with the

8      statement.     Okay?

9      A            Okay.

10     Q            The EPA wrote, quote, the development of the

11     blood-brain barrier is a gradual process, beginning in

12     utero and complete at approximately six months of age.

13     Because the blood-brain barrier limits the passage of

14     substances from blood to brain, in its absence, toxic

15     agents can freely enter the developing brain.                Dr. Hu,

16     do you agree with the EPA on that?

17     A            More or less.

18                  MR. ADKINS:       Objection to the extent it

19     misstates the document.

20     A            More or less, yes.

21     Q            Is there anything you would clarify about

22     that statement?

23     A            Before toxicants have the opportunity to go

24     from mother to the fetal brain, they also have to

25     cross the placental barrier, which offers some -- has

                            www.CapitalReportingCompany.com
                                     202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 652 of 854
                                   Howard Hu                  September 24, 2019

                                                               Page 186

1      barrier qualities.           But once it's in fetal

2      circulation, the only thing that protects the fetal

3      brain is the fetal blood-brain barrier, which as you

4      noted, is not fully formed until six months of age.

5      Q            Do you have an understanding as to whether

6      fluoride passes the placenta?

7      A            It does according to the research that has

8      been focused on that topic.

9      Q            Now, you were asked some questions about

10     this 2014 WHO document.           Do you recall that?

11     A            Yes.

12     Q            I don't have the full document here because

13     this is an excerpt.           But I'm going to read from you

14     two statements from pages that were not included in

15     this excerpt.        Okay?

16     A            Okay.

17     Q            On page 9 of this document, the World Health

18     Organization states, quote, ingested fluoride from all

19     sources, whether deliberately or unintentionally

20     ingested, is excreted primarily in the urine.                Thus

21     studies of urinary fluoride levels are ideal for

22     assessing the intake of fluoride in populations.

23     Doctor Hu, is that consistent with your own

24     understanding?

25     A            Yes.

                            www.CapitalReportingCompany.com
                                     202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 653 of 854
                                   Howard Hu                  September 24, 2019

                                                               Page 196

1      covariants that's identified is maternal smoking.

2      A            Yes.

3      Q            So did you control for maternal smoking in

4      the Bashash 2018 study?

5      A            I believe we did.

6      Q            So you were obviously asked a lot of

7      questions today about the comparability of fluoride

8      exposures between the Mexico City cohort and Canada --

9      and the Canadian cohort.          So I would like to follow up

10     on that briefly.        If you can turn to page 663 of this

11     study, this -- your 2018 study.

12                  On the top right of the column here, you

13     talk about how the Mexico City cohort was exposed to

14     optimal levels of fluoride; is that correct?

15     A            Well, optimal was in quotes for a reason.

16     And that's because that's optimal in the views of the

17     authorities who introduced fluoride into either water

18     or salt.

19     Q            So in Mexico City, they add fluoride to salt

20     to bring about an optimal, so-called optimal intake of

21     fluoride; is that correct?

22     A            Correct.

23     Q            And is it your understanding that salt

24     fluoridation programs are designed to produce similar

25     intakes of fluoride as occurs with water fluoridation?

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 654 of 854
                                   Howard Hu                  September 24, 2019

                                                               Page 197

1      A            Correct.

2      Q            Okay.     And in the last sentence of that

3      paragraph, you state that, the mean concentration of

4      maternal urinary fluoride in our study is in the range

5      of the Canadian cohort.           And then in parentheses, you

6      state, in review.         What Canadian cohort study were you

7      referring to there, Dr. Hu?

8      A            The MIREC study.

9      Q            Is that the same Till 2018 study that we

10     have been discussing today?

11     A            Yes.

12     Q            Okay.     So is it correct then, Dr. Hu, to say

13     that in your study, you did make a comparison between

14     the exposures in your Mexico City cohort with the

15     exposures in the Canadian cohort?

16     A            Yes, in the 2018 Bashash study, but not in

17     the 2017 Bashash study, because at that time, we were

18     unaware of the MIREC study results.

19     Q            Okay.     Now you were asked questions about

20     the impact of the age of the mother on urinary

21     fluoride levels.        And so I would like to follow up on

22     that by asking you a question about the Thomas 2016

23     study, which is Exhibit 339.

24     A            Okay.

25     Q            And if you could turn to page 493.             And

                            www.CapitalReportingCompany.com
                                     202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 655 of 854
                                   Howard Hu                  September 24, 2019

                                                               Page 203

1      collected and published in this study provide

2      additional information about source apportionment of

3      fluoride exposure in the Mexico City cohort?

4      A            It does.      The limitation is that we didn't

5      specify the -- or rather, we didn't directly connect

6      the sources of food and beverage with our subject

7      population.      So that is a limitation that needs to be

8      acknowledged.        But to the extent that it does

9      represent the typical sources of food and water for a

10     population, it is possible to conclude that our

11     population likely is not exposed to fluoride

12     significantly through water.

13     Q            Okay.     And would the higher levels of

14     fluoride that you found in some of the food products,

15     would that be consistent with the use of fluoridated

16     salt in the Mexico City population?

17     A            In many cases, yes.

18     Q            So moving on, you talked about the -- some

19     of the analysis you did in your 2017 study.                And I

20     think you stated something to the effect of, we did

21     not assume linearity; is that correct?

22     A            That's correct.

23     Q            Now, did -- and I think you talked about

24     doing spline analyses.

25     A            Yes.

                            www.CapitalReportingCompany.com
                                     202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 656 of 854
                                   Howard Hu                  September 24, 2019

                                                                  Page 204

1      Q            Did your spline analyses support the

2      existence of a linear dose response relationship

3      between prenatal fluoride exposure and General

4      Cognitive Index in 4 year olds?

5      A            Yes.

6      Q            And did your spline analyses support the

7      existence of a linear dose response relationship

8      between prenatal fluoride exposure and IQ in the 6 to

9      12 year olds?

10     A            For the most part, yes.            Although as we

11     commented in the paper, there was just the hint of a

12     possible flattening of the curve at the lower exposure

13     levels.    But we -- the data was too sparse for us to

14     draw any conclusions about that.

15     Q            Okay.     So does your research then, Dr. Hu,

16     support the existence of a linear dose response

17     relationship between prenatal fluoride exposure and

18     neurodevelopmental harm?

19     A            Yes.

20                  MR. ADKINS:       Objection.       Leading.

21     A            For the most part, yes.

22     Q            Okay.     So I'm looking here at your 2017

23     study, and I'm looking at page 9.

24     A            Okay.

25     Q            Sorry.     You know what.        I'll strike the

                            www.CapitalReportingCompany.com
                                     202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 657 of 854
                                   Howard Hu                  September 24, 2019

                                                                Page 205

1      question.     And let's go and look at the abstract.

2                   And I'm reading the last sentence of the

3      results section where you wrote, in multivariant

4      models, we found that an increase in maternal urine

5      fluoride of 0.5 milligrams per liter predicted 3.15

6      and 2.5 lower offspring GCI and IQ scores

7      respectively.        Is that what you found, Dr. Hu?

8      A            Yes.

9      Q            Okay.     So would you consider that -- let me

10     translate that and see if I'm correct here.                Does that

11     mean for every increase of 0.5 milligrams per liter in

12     the urine of the mother, 4 year children had on

13     average 3.15 less GCI points?

14                  MR. ADKINS:       Objection.       Vague.   Leading.

15     A            Yes.

16     Q            And does it also mean that for every 0.5

17     milligrams per liter increase in the maternal urinary

18     fluoride, the 6 to 12 year olds had on average 2.5

19     less IQ points?

20                  MR. ADKINS:       Same objections.

21     A            Yes.

22     Q            Are you familiar, Dr. Hu, with the effect

23     sizes of other neurotoxicants on IQ outcomes?

24     A            Yes.

25     Q            In the context of your knowledge as to the

                            www.CapitalReportingCompany.com
                                     202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 658 of 854
                                   Howard Hu                  September 24, 2019

                                                               Page 206

1      effects of other neurotoxicants like lead and mercury

2      on IQ, would you consider this effect size to be

3      small, large?      How would you characterize the effect

4      size that you found?

5                   MR. ADKINS:      Objection.       Misstates

6      testimony.     Compound.

7      A            I would characterize this as being of a

8      similar magnitude as lead or mercury.

9      Q            Now, in this case, the defense

10     epidemiologist, named Dr. Ellen Chang, she's of the

11     opinion that if a chemical causes an average reduction

12     in IQ less than the standard deviation of 15 IQ

13     points, that it's a relatively weak effect on IQ.

14     Would you agree with Dr. Chang on that?

15     A            No.

16                  MR. ADKINS:      Objection.       Misstates

17     testimony.

18     Q            What was your answer, Dr. Hu?

19     A            No.

20     Q            Dr. Hu, are you aware of any neurotoxicant

21     that causes an average reduction in IQ based on the

22     exposures seen in general population of more than 15

23     IQ points?

24     A            No.

25     Q            Does it surprise you, Dr. Hu, that an

                           www.CapitalReportingCompany.com
                                    202-857-3376
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 659 of 854

                                                           Page 214
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 660 of 854




                      Exhibit 28
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 661 of 854
                                 Bruce Lanphear               September 25, 2019

                                                                        Page 1

1                    IN THE UNITED STATES DISTRICT COURT
2                 FOR THE NORTHERN DISTRICT OF CALIFORNIA
3       _______________________________________________________
4
           FOOD & WATER WATCH, INC., et             )
5          al.,                                     )
                                                    )
6                                                   )        Case No.
                         Plaintiffs,                )
7                                                   )        3:17-cv-02162-
               vs.                                  )        EMC
8                                                   )
           U.S. ENVIRONMENTAL PROTECTION            )
9          AGENCY, et al.,                          )
                                                    )
10                                                  )
                         Defendants.                )
11                                                  )
12      _____________________________________________________
13
14                   DEPOSITION OF BRUCE LANPHEAR, M.D.
15                            September 25, 2019
16                         Bellingham, Washington
17
18
19
20
21     Reported by:
22     Connie Recob, CCR, RMR, CRR
23     CCR No. 2631
24     Job No. 3524414
25

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 662 of 854
                                 Bruce Lanphear               September 25, 2019

                                                                 Page 40

1                         THE WITNESS:    You said, do I have an

2      opinion on the comparability?

3       BY MR. ADKINS:

4            Q.   Of the findings.

5            A.   Yes.

6            Q.   What is your opinion on that?

7            A.   In short, they're consistent.

8            Q.   Do you have an opinion regarding the

9      applicability of the findings of your research of the

10     MIREC project in populations in the United States?

11           A.   Yes.

12           Q.   What is your opinion?

13           A.   That they are applicable.

14           Q.   Do you have an opinion regarding whether the

15     neurotoxic effects of fluoride exposure differ

16     depending on the source of fluoride exposure?

17           A.   Do I have an opinion?       Yes.

18           Q.   What is your opinion?

19           A.   My opinion is that it's likely it does not

20     differ based upon their source.

21           Q.   Okay.    When studying the neurotoxic effects of

22     fluoride, what in your view are the most important

23     confounding variables to consider?

24           A.   They would be the same, largely the same ones

25     we do for all these other types of chemicals that we're

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 663 of 854
                                 Bruce Lanphear               September 25, 2019

                                                                 Page 58

1            Q.   Okay.     Similarly, what methodologies, if any,

2      did you employ in coming to an opinion regarding the

3      applicability of the MIREC study findings to the United

4      States?

5                          MR. CONNETT:    Overbroad.

6                          THE WITNESS:    Well, Americans and

7      Canadians, both humans.

8       BY MR. ADKINS:

9            Q.   Did you say MIRECans?

10           A.   MIRECans, no, I did not say that.

11           Q.   Well, I assume maybe you meant M-I-R-E-C-ans?

12           A.   No.

13           Q.   MIREC.

14           A.   So generally when we do these studies whether

15     it's lead or PBDEs, we tend to find that humans,

16     regardless of their nationality, generally respond the

17     same way, even though in some countries like Australia

18     they felt like they needed to do their own research

19     before they could say low-level lead is toxic to

20     Australians.       That's just silly.

21                So generally speaking, there's no reason to

22     suspect biologically speaking that Canadians and

23     Americans are different.         We certainly know from the

24     research we've done and the levels, the optimal levels

25     that the Americans adopted which originally were from

                            www.CapitalReportingCompany.com
                                     202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 664 of 854
                                 Bruce Lanphear               September 25, 2019

                                                                     Page 59

1      Canada, that the levels of exposure are very consistent

2      and similar.       So there really isn't any reason other

3      than, I guess, methodologic purity to say that we must

4      replicate this in the United States.            It likely will be

5      done, but do we know enough?          Probably.

6            Q.   Okay.     And with respect to your opinion

7      regarding whether the neurotoxic effects of fluoride

8      exposure differ depending on the source of fluoride

9      exposure, are there any scientific texts that you're

10     relying on for your opinion that it likely does not

11     differ?

12                         MR. CONNETT:    Overbroad.

13                         THE WITNESS:    No.    And when I said I

14     have an opinion, it's probably -- my opinion is it

15     probably doesn't matter.

16      BY MR. ADKINS:

17           Q.   Right.

18           A.   But it's a probably.        I haven't seen specific

19     studies where in this case it was from fluoridated

20     pesticides or in this case it's from PFAS chemicals

21     which may or may not break down, right.                There's those

22     kinds of questions, but generally speaking when we see

23     similar levels of exposure in the Canadian study among

24     women who live in cities with fluor -- water

25     fluoridation and then we've got fluoridated salt with

                            www.CapitalReportingCompany.com
                                     202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 665 of 854
                                 Bruce Lanphear               September 25, 2019

                                                                 Page 62

1                         THE WITNESS:    Yeah, not that I can

2      recall.    Nothing specific.

3                         MR. ADKINS:    Okay.    Can we take a break?

4                         THE WITNESS:    Yeah.

5                         (Recess 10:19-10:26.)

6                         (Exhibit No. 348 marked

7                          for identification.)

8

9                   E X A M I N A T I O N (Continuing)

10      BY MR. ADKINS:

11           Q.   Dr. Lanphear, the court reporter has handed

12     you what's been marked as Exhibit 348.           This is a study

13     entitled Community Water Fluoridation in Urinary

14     Fluoride Concentrations in a National Sample of

15     Pregnant Women in Canada published in Environmental

16     Health Perspectives, October 2018.

17                I will refer to this study as Till 2018, okay?

18           A.   Okay.

19           Q.   You were a coauthor of Till 2018, correct?

20           A.   Correct.

21           Q.   What were your responsibilities with respect

22     to the research being reported in Till 2018?

23           A.   Well, this would be consistent for all the

24     studies we'll talk about so maybe we can summarize that

25     and get out by 12.

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 666 of 854
                                 Bruce Lanphear               September 25, 2019

                                                                   Page 63

1                  So my job was really kind of as the senior

2      investigator, and Christine approached me to ask if I'd

3      be willing to do research on fluoride and children's

4      health.     I said yes, and then I identified the MIREC

5      study as a likely study we could tap into.              I had

6      already been involved in the MIREC study.              And then we

7      wrote a proposal together with Christine taking the

8      lead in writing it to NIH and to CIHR for funding, and

9      we submitted it and then we got funding.              And then we

10     got approval from the MIREC study to open up the

11     biobank and get some urine and then we identified the

12     lab.

13                 Originally we were going to use a lab in

14     Canada, and I said I don't think that's a good idea; we

15     should use a laboratory that does fluoride assays all

16     the time.     And so we reached out to at that point

17     Angeles and we measured the fluoride and then we

18     started to look at the values we got.           We tested for

19     creatinine.     We had to get creatinine, and then we

20     looked at municipal fluoride levels, Christine and

21     Rivka and some others I think got those from the water

22     authorities, and then we did these analyses that led up

23     to the paper.

24            Q.   And so what were your responsibilities in

25     doing the analyses that led up to the paper?

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 667 of 854
                                 Bruce Lanphear               September 25, 2019

                                                                 Page 64

1            A.   So mostly as I said, I was the senior

2      investigator.      Christine and Rivka would do the

3      original analyses along with Rick Hornung who was a

4      colleague that I brought into the team, and so I was

5      not doing the actual statistical analysis but rather

6      helping to interpret it, design the tables, how to

7      present it, what kind of creatinine corrections to use.

8      So almost all the decisions we did as a team, but I

9      wasn't directly doing the statistical analyses.

10           Q.   When you said Angeles, were you referring to

11     Dr. Angeles Martinez-Mier?

12           A.   Yes.

13           Q.   Did she weigh in on what creatinine

14     corrections to use in this study?

15           A.   I'm pretty sure she was involved in that, yes.

16           Q.   Was -- did you make a final decision on what

17     creatinine adjusted?

18           A.   We did most of them, most all that you could

19     do, so that they were very comparable with any other

20     study you wanted to use.

21           Q.   Sure.    What responsibilities, if any, did you

22     have with respect to writing Till 2018?

23           A.   So what we typically did for most of these

24     papers is that Christine and/or Rivka took the lead in

25     writing the first draft and then we'd go through an

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 668 of 854
                                 Bruce Lanphear               September 25, 2019

                                                                Page 120

1      clarification.

2                        MR. ADKINS:     I can strike and restate.

3                        MR. CONNETT:     Yeah, because I wasn't

4      sure which cohort you were talking about.

5                        MR. ADKINS:     Sure.    Of course.

6       BY MR. ADKINS:

7            Q.   So was the conclusion of Till 2018 that

8      research is urgently needed to determine whether

9      prenatal exposure to fluoride contributes to

10     neurodevelopmental outcomes in the offspring of the

11     women studied in the MIREC cohort?

12           A.   Yes.

13                       MR. ADKINS:     Can we go off the record?

14                       (Recess 12:00-1:00.)

15                        (Exhibit No. 351 marked

16                        for identification.)

17

18                  E X A M I N A T I O N (Continuing)

19      BY MR. ADKINS:

20           Q.   Dr. Lanphear, the court reporter has handed

21     you what's been marked as Exhibit 351.

22           A.   Yes.

23           Q.   This is a paper entitled Association Between

24     Maternal Fluoride Exposure During Pregnancy and IQ

25     Scores in Offspring in Canada published in the American

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 669 of 854
                                 Bruce Lanphear               September 25, 2019

                                                                Page 121

1      Medical Association JAMA Pediatrics journal in

2      August 2019.

3                 Are you familiar with this study?

4            A.   Yes.

5            Q.   Okay.   I will refer to this study as Green

6      2019, okay?

7            A.   All right.

8            Q.   Now, with respect to Till 2018 you said

9      that -- I asked you about your responsibilities in the

10     research done in that paper and the writing done in

11     that paper, and you said that to shortcut some of this

12     your responsibilities you were about to describe were

13     the same for the other MIREC studies.

14                Would your answer with respect to the

15     questions that I asked about your responsibilities on

16     the research and the writing done in Till 2018 the same

17     with respect to Green 2019?

18           A.   Yes.

19           Q.   Is JAMA Pediatrics a reliable authority in

20     your opinion?

21           A.   Yes.

22           Q.   Green 2019 analyzed whether there was an

23     association between the fluoride exposure of certain

24     mothers who participated in the MIREC study and the IQ

25     of those mothers' offspring at ages three to four

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 670 of 854
                                 Bruce Lanphear               September 25, 2019

                                                                Page 124

1      measure, the one we relied on most was the biomarker

2      exposure urinary fluoride.         The second one was fluoride

3      intake.    The third one was just water fluoride where we

4      didn't try to take into account black tea, it was just

5      the water fluoride.

6            Q.   And how did you measure water fluoride in

7      Green 2019?

8            A.   As we talked about in the Till 2018 paper, it

9      was based upon the reported measures from the water

10     plants that supplied water to the addresses of the

11     women in the study.

12           Q.   Right.    Did the methodology differ --

13           A.   No.

14           Q.   -- in any way from Till 2018?

15           A.   The methodology did not deliver -- did not

16     differ but not -- it wasn't always the same women based

17     upon the questions we were asking.

18           Q.   Right.    Understood.

19                So urine samples for the 512 women who

20     provided samples for all three trimesters in Green 2019

21     and who had a child with IQ data were analyzed; is that

22     correct?

23           A.   That's correct.

24           Q.   Okay.    Could you turn to table -- E Table 1 of

25     Green 2019?

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 671 of 854
                                 Bruce Lanphear               September 25, 2019

                                                                Page 157

1            A.   Not fluoride exposure.       Well, not human

2      studies and not fluoride exposures, no.

3            Q.   Now, at the beginning of this deposition, you

4      did mention another study regarding animals?

5            A.   Right.

6            Q.   What study was that?       Could you refresh my

7      recollection?

8            A.   Yeah, that was a 19- -- I think it was a 1994

9      study in NeuroTox and I think we cited it here.            It's

10     Neurotoxicity of Sodium Fluoride in Rats,

11     Neurotoxicology Teratology 1995.

12           Q.   This is the Mullinex, M-U-L-L-E-N-I-X, study?

13           A.   Yes, right.

14           Q.   Great.     Green 2019 also reported a

15     statistically significant association among fluoride

16     intake based on a question -- based on questionnaire

17     responses in full-scale IQ scores among boys and girls;

18     is that correct?

19           A.   Correct.

20           Q.   Green 2019 did not report separate results for

21     the boys and girls studied as it did with respect to

22     the results relating to maternal urinary fluoride

23     concentrations; is that right?

24           A.   Yes.

25           Q.   Is there a reason why?

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 672 of 854
                                 Bruce Lanphear               September 25, 2019

                                                                Page 165

1      is?

2            A.   An E value?

3            Q.   Uh-huh.

4            A.   It's not something in my terminology.

5            Q.   It's a statistical measure.          Does that refresh

6      your recollection at all?

7            A.   No.

8            Q.   Okay.

9                         MR. ADKINS:     Why don't we take a break

10     and we'll move on to the third study.            Is that okay?

11                        MR. CONNETT:      Okay.

12                        (Recess 2:04-2:13.)

13                        (Exhibit No. 352 marked

14                          for identification.)

15

16                  E X A M I N A T I O N (Continuing)

17      BY MR. ADKINS:

18           Q.   The court reporter has handed you what's been

19     marked as Exhibit 352.        This is a document entitled

20     Fluoride Exposure From Infant Formula in Child IQ in a

21     Canadian Birth Cohort by Christine Till, et al.

22                Are you familiar with this document?

23           A.   Yes.

24           Q.   Okay.     What is this?

25           A.   This is a study looking at fluoride exposure

                            www.CapitalReportingCompany.com
                                     202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 673 of 854
                                 Bruce Lanphear               September 25, 2019

                                                                Page 166

1      in infancy of the same cohort, the MIREC birth cohort.

2            Q.   Do you have any reason to think that

3      Exhibit 352 is not an accurate reproduction of a copy

4      of this study that you submitted with -- that plaintiff

5      submitted with your expert report in this case?

6            A.   It's an accurate -- well, as far as I can

7      gather, it's an accurate representation of what was

8      submitted back then.      It has been since modified.

9            Q.   In what ways has this report been modified?

10           A.   I couldn't tell you exactly when this was

11     shared.    It looks like it was shared when we submitted

12     it to Pediatrics.      Pediatrics did not accept it.        We

13     revised it and submitted it to a different journal and

14     made some changes based on some reviewer comments and

15     resubmitted it, I think, just in the last couple days.

16           Q.   Okay.   When did you submit -- well, first of

17     all, I'm going to refer to this as Till in press, okay?

18           A.   Okay.

19           Q.   When did you submit Till in press to The

20     Journal of Pediatrics?

21           A.   Two months ago, three months ago, maybe

22     generally.

23           Q.   Are you aware of why Pediatrics rejected Till

24     in press for publication?

25           A.   I've only got my perception but I don't know

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 674 of 854
                                 Bruce Lanphear               September 25, 2019

                                                                Page 193

1      or go away once we adjust for maternal urinary

2      fluoride?

3                  So the maternal urinary fluoride, that is the

4      prenatal fluoride, was really just a secondary analysis

5      and not a primary focus.

6            Q.    Okay.   And with respect to infant fluoride

7      exposure, did Till in press find an inverse association

8      between infant fluoride exposure and full-scale IQ and

9      performance IQ?

10           A.    So in the paper that we have here as I recall

11     and in the final one, we do see an association of

12     infant fluoride intake among breastfed infants with

13     full-scale IQ.      When we excluded two influential points

14     on our recent resubmission, we no longer see a

15     significant reduction in full-scale IQ even among the

16     breastfed kids, that is only after we excluded the two

17     influential points.

18           Q.    What were the two influential points?

19           A.    There are two points, two children out of all

20     of the children who appeared different and they're

21     influential in the sense that if we remove those two

22     kids, the association of infant formula intake among

23     breastfed kids is no longer significantly associated

24     with full-scale IQ.

25                 Now, that doesn't mean we shouldn't include

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 675 of 854
                                 Bruce Lanphear               September 25, 2019

                                                                  Page 194

1      them, but we should be transparent and include it both

2      ways so people know what happens when you exclude

3      influential points.      They're real points, but they may

4      be influential and so it's important to recognize that.

5                  So that's the difference between the -- the

6      main difference between this in press copy you have and

7      the one that was just recently submitted.

8                  For infant fluoride intake, we still see a

9      significant inverse association of infant fluoride

10     intake and performance IQ in both the breastfed and

11     formula-fed kids.      So not full-scale IQ but performance

12     IQ, nonverbal IQ.

13           Q.    Would you characterize the two influential

14     endpoints as outliers?

15           A.    That would be one way to do it.           They are in

16     fact outliers but more important than that, they're

17     influential.     That is, if you take them out of the

18     model, they change things, you know, however much,

19     maybe by 10 percent or more or from significant to

20     nonsignificant.     So they're both influential and

21     outliers.     There's a lot of outliers that aren't very

22     influential.

23           Q.    Till in press found that infant fluoride

24     exposure was not associated with verbal IQ scores in

25     the breastfeeding and formula-fed group; is that

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 676 of 854
                                 Bruce Lanphear               September 25, 2019

                                                               Page 209

1            Q.    What are you basing that opinion on there,

2      Dr. Lanphear?

3            A.    The study we did in 2018, Till 2018.

4            Q.    Okay.    And your second opinion that you've

5      listed here is that "the average urinary fluoride

6      concentration for the MIREC pregnant women living in

7      Canadian communities with fluoridated drinking water

8      was almost the same as those of the ELEMENT pregnant

9      women living in Mexico City where fluoride is added to

10     salt."

11                 You stand by that opinion, Dr. Lanphear?

12           A.    Yes.

13           Q.    And what are you basing that opinion on?

14           A.    The two studies, Till 2018 and Bashash 2017.

15           Q.    Okay.    And the third opinion that you've

16     listed here is that "Our MIREC study, Green, et al. in

17     press:     Significantly enhances the quality of data

18     related to the neurotoxicity of fluoride because it

19     employs a prospective design that includes multiple

20     measures of fluoride exposure during pregnancy

21     including biomonitoring data and IQ outcomes that have

22     been evaluated in one of the world's most

23     comprehensively characterized and geographically

24     diverse birth cohorts."

25                 Did I read that correctly?

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 677 of 854
                                 Bruce Lanphear               September 25, 2019

                                                                Page 210

1            A.   Yes.

2            Q.   And do you stand by that opinion,

3      Dr. Lanphear?

4            A.   Yes.

5            Q.   Okay.    And the fourth opinion that you've

6      listed here is:      "As with the ELEMENT study, Bashash,

7      et al. 2017, we found that prenatal fluoride exposure

8      was significantly associated with lower intellectual

9      abilities in three- to four-year-old children.            These

10     associations remain large and significant in

11     controlling for relevant covariates."

12                Do you stand by that opinion, Dr. Lanphear?

13           A.   Yes, I do.

14           Q.   Now, you say here that the associations

15     remained large.      Can you explain that a little bit more

16     when you say -- is it your opinion that the effect size

17     that you found in the MIREC cohort was a large effect?

18           A.   Yes.

19                        MR. ADKINS:    Objection.     Compound.

20     Leading.

21                        THE WITNESS:    These are -- these effects

22     are large even though occasionally for individual

23     children people may say, Well, it's only 3 to 4 IQ

24     points, and I suppose if it was only your child -- or

25     it's not your child and somebody else's child, maybe

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 678 of 854
                                 Bruce Lanphear               September 25, 2019

                                                                Page 211

1      it's not a big deal, but when you have hundreds of

2      thousands or millions of children who can lose up to 4

3      to 5 IQ points, it has a huge impact on the population

4      distribution of children who are no longer gifted or

5      who might be intellectually challenged, that is, have

6      an IQ less than 70 points.        And I would imagine that if

7      we asked parents, they would care quite a bit about

8      their child losing 4 to 5 IQ points.

9       BY MR. CONNETT:

10           Q.   Now, I'm going to ask you a few questions

11     later on some of your research on lead, but

12     Dr. Lanphear, am I correct in understanding that you

13     have published quite prolifically on lead's effects on

14     IQ?

15           A.   Yes.

16           Q.   Okay.   How would you compare the effect size

17     that you found for fluoride in IQ with the effect size

18     of general population exposures to lead?

19           A.   Well, if we look at -- I mean, the metrics we

20     use are very different.       One, we're using parts per

21     billion and the other we're using -- well, one's in

22     blood, one's in urine.       But if we look at the impact

23     across the range of exposures, let's say in the pooled

24     analysis, it was as much as 9, but that was because we

25     had -- 9 IQ points.

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 679 of 854
                                 Bruce Lanphear               September 25, 2019

                                                                Page 212

1            Q.    For lead?

2            A.    For lead -- but that included children in

3      various cities that had extraordinarily high levels of

4      exposure.

5                  In this population in this MIREC study, we

6      intentionally focused on exposures that were largely

7      below what's considered the optimal level of

8      fluoridation plus other measures, and so the range of

9      exposures is not quite as great, and yet for what we

10     think of as lead as being low to high, let's say less

11     than 1 microgram per deciliter to 10 microgram per

12     deciliter, we see a 6 to 7 IQ point decrement.

13                 For the full range of exposure here, if we

14     just focus on maternal urinary fluoride for a moment

15     with boys, we see about a 4 to 5 IQ point decrement

16     across the range of exposure we see in Canadian boys in

17     the MIREC study.

18                 So they're a little different metric, but

19     basically we see an effect across the range of

20     exposures that's comparable.

21           Q.    Okay.    And when you say "the full range of

22     exposure," are you referring to going from, say, zero

23     milligrams per liter fluoride in maternal urine to

24     1 milligram per liter of fluoride?

25                         MR. ADKINS:    Objection.     Leading.

                            www.CapitalReportingCompany.com
                                     202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 680 of 854
                                 Bruce Lanphear               September 25, 2019

                                                                       Page 213

1                             THE WITNESS:    Yeah, it's roughly that

2      range of exposure.          Of course, there are no children

3      with undetectable levels of fluoride.               We're all

4      exposed to some extent and up to I think 85th

5      percentile is one -- 1 milligram per liter, so we still

6      see 15 percent of the population with exposures above

7      that.        So in some cases, it might even be greater

8      than 5 IQ point decrement.

9       BY MR. CONNETT:

10             Q.     Okay.    Now, in this case did the fact that

11     EPA's epidemiologist that they have retained to provide

12     testimony on the epidemiological literature on fluoride

13     and IQ, Dr. Ellen Chang from Exponent, she has provided

14     the testimony in this case that in order for a

15     chemical's effect on IQ to be large enough to have

16     confidence that there's a causal association, she would

17     like to see an average IQ difference of 15 IQ points.

18                    Do you have an opinion on that testimony,

19     Dr. Lanphear?

20                            MR. ADKINS:    Objection.

21     Mischaracterizes the testimony.

22                            THE WITNESS:    15 IQ points is huge.           If

23     we saw a 15-point decrease let's say in the population

24     of American children -- well, even let's just focus on

25     some stats that I'm very familiar with.                   Even if we

                               www.CapitalReportingCompany.com
                                        202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 681 of 854
                                 Bruce Lanphear               September 25, 2019

                                                                Page 215

1      extremes but not the average.

2            Q.   Okay.    Does it surprise you to hear that EPA

3      would retain an epidemiologist that would have that

4      opinion?

5                         MR. ADKINS:    Objection.

6      Mischaracterizes testimony.        Argumentative.

7                         THE WITNESS:    I was really quite

8      troubled and shocked when I saw that EPA was using what

9      many chemical industries use, private rented white

10     coats as their expert.       I've interacted with them a

11     lot, and they're really -- they're scientists for hire.

12     They're scientists of uncertainty.

13                 If you go back and look at the reports in the

14     past, time and again they've turned out to be wrong.

15     They've been on the wrong side of history.            They are

16     there to protect industry.        And for the EPA to retain

17     experts from Gradient or Exponent, it sickens me.             It

18     just sickens me.

19      BY MR. CONNETT:

20           Q.   So let's go back to your expert report, and

21     I'm looking here at your fifth opinion where you write,

22     "Based on the convergent results from the MIREC and

23     ELEMENT cohorts, the in utero period appears to be a

24     susceptible period of life vis-à-vis fluoride toxicity.

25     In light of these findings, I believe it is advisable

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 682 of 854
                                 Bruce Lanphear               September 25, 2019

                                                                Page 216

1      and prudent for pregnant women to begin taking steps to

2      reduce their fluoride intake, including but not limited

3      to reducing their consumption of fluoridated water."

4                 Dr. Lanphear, do you stand by that opinion?

5            A.   I do.

6            Q.   Now, you wrote this report on June 27th, 2019,

7      or you finished it on that date, correct?

8            A.   Yes.

9            Q.   Okay.    Subsequent to writing this report, the

10     Green 2019 study was published in JAMA Pediatrics?

11           A.   Correct.

12           Q.   Okay.    When the JAMA Pediatrics study was

13     published, did you ever have an opportunity to listen

14     to a podcast by the JAMA Pediatrics editors?

15           A.   Yes.

16           Q.   Did any of the JAMA Pediatrics editors express

17     an opinion that relates to what you have written here

18     as Opinion No. 5?

19           A.   Yes, they did.

20           Q.   Can you explain?

21                        MR. ADKINS:    Objection.     Narrative.

22                        THE WITNESS:    Yeah, so the editor in

23     chief of JAMA Pediatrics, Dimitri Christakis, who's

24     very bright, one of the leading experts in pediatrics

25     in the United States, not the world, did a podcast and

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 683 of 854
                                 Bruce Lanphear               September 25, 2019

                                                                  Page 217

1      I think the podcast was important because in contrast

2      to his role, strict role as the editor where they go

3      through a copyediting, he was very free with his

4      recommendations.

5                  And I think the key thing that stood out --

6      well, there are two or three key things.              First of all,

7      he was completely shocked that so many countries in

8      Europe didn't fluoridate.        How could that be?        Doesn't

9      everybody fluoridate?       And that there were cities in

10     Canada that didn't fluoridate.         How could that be?

11     Doesn't everybody fluoridate?

12                 And he initially started out by talking about

13     how anybody that would talk about fluoride as harmful

14     he thought of as akin to the anti vaccines.              But this

15     study convinced him otherwise.

16                 And while, of course, he, like any good

17     epidemiologist, raised some questions and some possible

18     limitations, in the end, his advice he would not advise

19     women who were pregnant to drink fluoridated water.

20     And I think most pediatricians would come to that same

21     conclusion despite the fact that these studies are not

22     definitive.    There's still questions.         There's still

23     some limitations.      It's a vast improvement over

24     previous studies and there's no benefit of fluoride

25     until the teeth erupt.

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 684 of 854
                                 Bruce Lanphear               September 25, 2019

                                                                   Page 218

1                  And so in contrast with this whole idea that

2      well, maybe there's some -- maybe there's some toxicity

3      to some fluoride, but it protects our teeth, but that's

4      not true for the developing fetus or for the

5      six-month-old infant.       And so the equation changes

6      dramatically at that point.        And then as Dimitri talked

7      about, it raises a lot of complexities.               Maybe it was

8      Fred Rivara, his colleague, that raises a lot of

9      complexity.     What do you do, tell pregnant women to buy

10     bottled water?     Pregnant women shouldn't rely on the

11     public water source?      These are real complexities.

12     These are real problems.        And it's something that's

13     troubled me also is that also how can we be at this

14     point where for whatever reason, whether it's because

15     you live in Newark, New Jersey and lead contamination

16     or whether it's because we're now going to be

17     recommending, we have recommended that pregnant women

18     avoid fluoride during pregnancy and they can't rely on

19     the public water source, the most basic public health

20     good that we share or should share.          And what do we

21     tell women?

22                 My guess is that most pediatricians will say

23     the same thing that Dimitri, once they stop and look at

24     the evidence.     That will take some time, by the way.

25     It won't happen overnight.

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 685 of 854
                                 Bruce Lanphear               September 25, 2019

                                                                Page 223

1      studies I think you mentioned the Choi review earlier,

2      what does -- what role, if any, do those studies play

3      in your assessment?

4            A.   Yeah.   So some of the early cross-sectional

5      studies I know we tend to diminish them because they

6      were ecologic, in most cases they were ecologic and

7      those are pretty limited, but they're not

8      uninformative.     I mean, herd immunity is an ecologic

9      study and it's very useful when we're thinking about

10     protecting kids from measles, but by themselves,

11     they're pretty limited.       But it's also equally

12     important that it's the collective evidence including

13     the ecologic data, including some of the laboratory

14     studies, including now the three prospective cohort

15     studies that showed very similar associations even

16     though there's different ranges of exposure for one of

17     the three, but collectively they are beginning to tell

18     a pretty consistent story, recognizing again there will

19     always be limitations.

20           Q.   Okay.   Now, I'm just looking at the sixth

21     opinion you have identified here in your expert report,

22     and you write, "In the MIREC cohort, exposure to

23     fluoridated water in infancy, particularly among

24     formula-fed infants, was associated with diminished

25     intellectual abilities in young children, Till, et al.

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 686 of 854
                                 Bruce Lanphear               September 25, 2019

                                                                Page 224

1      in review.     This association remained significant after

2      controlling for fetal fluoride exposure in other

3      relevant covariates suggesting that the susceptibility

4      to fluoride's adverse neurological effects may extend

5      into infancy."

6                  Dr. Lanphear, do you stand by that opinion?

7            A.    I stand by that.     I might clarify it to say

8      that we particularly saw impacts on performance for

9      visual spacial abilities in kids which isn't to say we

10     should dismiss entirely the study, the analysis that

11     included the two outliers, but I think that -- I think

12     that's important to put that out transparently.

13           Q.    Okay.   And if you could -- I want to just ask

14     you a quick question about the Till in press study,

15     which is Exhibit 352, and if you could turn to Page 15?

16           A.    Okay.

17           Q.    And the last sentence here of your paper, you

18     write, "In the absence of any benefit from fluoride

19     consumption in the first six months, it is prudent to

20     limit the fluoride exposure by using nonfluoridated

21     water or water with lower fluoride content as a formula

22     diluent."

23           A.    Diluent.

24           Q.    Diluent, okay.     And is that -- you stand by

25     that assessment, Dr. Lanphear?

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 687 of 854
                                 Bruce Lanphear               September 25, 2019

                                                                Page 258

1                          REPORTER'S CERTIFICATE

2

3              I, CONNIE A. RECOB, the undersigned Certified

4      Court Reporter, pursuant to RCW 5.28.010 authorized to

5      administer oaths and affirmations in and for the State

6      of Washington, do hereby certify that the sworn

7      testimony and/or proceedings, a transcript of which is

8      attached, was given before me at the time and place

9      stated therein; that any and/or all witness(es) were

10     duly sworn to testify to the truth; that the sworn

11     testimony and/or proceedings were by me

12     stenographically recorded and transcribed under my

13     supervision, to the best of my ability; that the

14     foregoing transcript contains a full, true, and

15     accurate record of all the sworn testimony and/or

16     proceedings given and occurring at the time and place

17     stated in the transcript; that a review of which was

18     not requested; that I am in no way related to any party

19     to the matter, nor to any counsel, nor do I have any

20     financial interest in the event of the cause.

21             WITNESS MY HAND and SIGNATURE this 1st day of

22     October, 2019.

23

        <%20134,Signature%>

24      CONNIE A. RECOB, RMR, CRR

        Washington Certified Court Reporter, CCR 2631

25      c.recob@gmail.com

                           www.CapitalReportingCompany.com
                                    202-857-3376
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 688 of 854




                      Exhibit 29
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 689 of 854



Fluoride Concentrations in Urine, Serum and Amniotic fluid in 2nd Trimester Pregnant
Women in Northern California

Abstract

Background: Previous studies have shown a direct correlation between fluoride levels in urine
and community water fluoride levels. Some studies have shown a relationship between maternal
urine fluoride concentrations and neurodevelopmental effects on offspring. However, there are no
studies of the relationship between community water fluoridation, urine, serum, and aminiotic fluid
fluoride levels in pregnant women in the US.

OBJECTIVE: The aim of this study was to determine the relationship between maternal urinary
fluoride, adjusted for specific gravity (MUF), maternal serum fluoride (MSF), amniotic fluid fluoride
(AFF) levels during pregnancy, and community water fluoridation in Northern California.

METHODS: Archived samples of urine, serum and amniotic fluid collected from second trimester
pregnant women in Northern California from 47 different communities in Northern California and
one from Montana (n=48), were analyzed for fluoride using an ion specific electrode following
acid diffusion. Women’s addresses were matched to publicly reported water fluoride levels. We
examined whether fluoride levels in biospecimens differed by fluoridation status of the community
water, and determined the association between water fluoride concentrations and biospecimen
fluoride levels using linear regression models adjusted for maternal age, smoking, and BMI.

RESULTS: Fluoride levels in the community water supplies ranged from 0.02 to 1.00 ppm.
Maternal urinary, serum and amniotic fluoride were significantly higher in pregnant women living
in optimally fluoridated communities (0.7 to 1.0 ppm), as compared with communities with less
than 0.7 ppm fluoride in drinking water. A 0.1 ppm increase in community water fluoride levels
was positively associated with higher levels of maternal urinary fluoride levels (B = 0.040, 95%
CI: 0.007, 0.072), maternal serum fluoride levels (B = 0.001, 95% CI: 0.000, 0.002) and amniotic
fluoride levels (B = 0.001, 95% CI: 0.000, 0.002).

CONCLUSION: Fluoride levels in urine, serum, and amniotic fluid from women are positively
correlated to public records of community water fluoridation. Community water fluoridation
remains the major source of fluoride exposure for pregnant women living in Northern California.
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 690 of 854



Introduction

In the United States (US), water and water-based beverages contribute to approximately 75% of
the total fluoride intake among adults living in communities that fluoridate their water supply (U.S.
EPA 2010). Current estimates, posted by the US Center for Disease Control and Prevention
(CDC) are that nearly three-fourths of the U.S. population with access to community water
systems receive water adjusted to an optimal level of                           0.7 ppm fluoride
https://www.cdc.gov/fluoridation/statistics/2014stats.htm).      This level of community water
fluoridation in the US is higher than in Canada, where approximately one-third of Canadian
communities fluoridate their water supply, and Europe, where only 3% of Europeans have
fluoridated water (Canada 2017; Till et al. 2018). Recent studies of the potential effects of fluoride
on neurodevelopment from prenatal exposures (Bashash et al. 2017; Bashash et al. 2018; Ding
et al. 2011; Liu et al. 2019), and onset of puberty in boys(Liu et al. 2019), suggest the need to
evaluate fluoride levels in communities in the US and their relationship to fluoride levels in
pregnant women.

Enamel fluorosis, which is a bioindicator for systemic fluoride exposure during times of tooth
enamel formation, has been increasing in the US. In 1986–1987, 22.6% of adolescents aged 12–
15 were reported to have dental fluorosis, whereas in 1999–2004, 40.7% of adolescents aged
12–15 had dental fluorosis (Beltran-Aguilar et al. 2010). In adolescents aged 16 and 17 years,
fluorosis prevalence was reported to increase 31.6% in 2012–2011, as compared to 2002–2001
(Wiener et al. 2018). This increase in enamel fluorosis has lead to concerns that overall systemic
fluoride exposure is increasing, and in 2015 the CDC recommended levels for fluoride in drinking
water be reduced from 1 ppm fluoride to 0.7 ppm fluoride (Health and Human Services Federal
Panel on Community Water 2015). However, the US Environmental Protection Agency has
continued to allow fluoride levels of up to 4 ppm in drinking water (https://www.epa.gov/ground-
water-and-drinking-water/national-primary-drinking-water-regulations).

There are no contemporary measurements of fluoride in adult humans in the United States and
its relationship to water fluoridation. Additionally, there are no contemporary studies of fluoride
levels in pregnant women in optimally fluoridated communities in the US, nor in fetal related
tissues, despite recent concerns about effects on neurodevelopment.

To address this, we measured fluoride concentrations in urine, serum and amniotic fluid of second
trimester pregnant women in Northern California. We used publicly available information of
fluoride levels in their water systems to evaluate the relationship between reported fluoride levels
and biomonitoring measurements, to assess the contribution of water fluoridation to measured
fluoride levels in biological samples.

Methods

Study Sample
Maternal urine, serum, and amniotic fluid were collected, between 2014 and 2016, from a total of
138 second trimester pregnant women with uncomplicated pregnancies from Northern California
seeking care at Zuckerberg San Francisco General Hospital, UCSF. Women stayed 1 to 2 days
in San Francisco, which is fluoridated, and fasting urine samples were collected on day 2. Specific
gravity of the urine samples was measured at time of collection. Samples were labeled with a
unique identification and barcode and then aliquoted into smaller Cryovials® and stored at -80oC.
Of these samples, 49 were selected from women residing in different communities across
Northern California, and one residing in Montana. Two of the samples were excluded from
analysis due to the unavailability of water fluoride levels. One sample was further excluded from
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 691 of 854



amniotic fluid fluoride analysis due to sample unavailability, leaving a final study population of 48
for urine and maternal serum analysis and 47 for those with amniotic fluid. Women’s addresses
were abstracted from the medical record. We were only able to obtain zip codes and not full
addresses for four women.

The women were racially and ethnically diverse, with an average age of 25.7 years (Table 1). The
majority had a high school education or less, and more than a third had no children at the time of
sample collection (Table 1). More than two-thirds of the participants reported smoking in the past
year. This study was approved by the University of California, San Francisco Committee on
Human Research.

Fluoride measurements

Fluoride concentrations were determined using a modification of the hexamethyldisiloxane
(HMDS; Sigma Chemical Co.) micro- diffusion procedure of Taves (1968), as modified by
Martínez- Mier et al. (2011). Fluoride levels were determined by comparing the millivolt reading
of each sample to standard curves, covering the range of the samples’ values, prepared from the
data for standard solutions of diffused fluoride determined at the time the samples were analyzed.
Fluoride concentrations in urine were adjusted for specific gravity. Water fluoride levels in the
communities in which women lived at the time samples were collected were obtained from the
California                        Water                         Board                       website
https://www.waterboards.ca.gov/drinking_water/certlic/drinkingwater/Fluoridation.html, or from
the water quality report of the individual city of residence using the participant addresses.

Statistical analyses

We evaluated the correlation between biological measures of fluoride (serum, urine, amniotic
fluid) and the community fluoride levels using Pearson’s correlation. We used linear regression to
evaluate the relationship between each of the biological measures of fluoride and levels of fluoride
in community water. We controlled for the following potential confounders: age (Husdan et al.
1976; Torra et al. 1998) smoking status (Going et al. 1980; Yadav et al. 2007), and BMI (Del
Carmen et al. 2016).

The regression model took the form Y=β0+β1X1 + β2X2 + β3X3 + β4X4 + ɛ, where Y is the dependent
variable (the measures of fluoride in each of the biospecimens); X1 is community water fluoride
level, X2 is maternal age; X3 is a maternal smoking status (coded as 0 if the subject reported not
smoking and 1 if the subject reported smoking in the past year); X4 is maternal BMI at the time of
sample collection, and ε is the individual-specific error.

We then used Welch’s t tests to compare biological measurements of fluoride between optimally
fluoridated (=> 0.7 ppm) and less than optimally fluoridated water supplies (<0.7 ppm). Three
samples were associated with community water fluoride levels of 0.69 ppm, and this value was
rounded up and therefore included in the group with optimally fluoridated water (= >0.7 pppm).
All data analyses were conducted using R version 3.6.0.

Results

Participants primarily resided in communities across Northern and Central California, and fluoride
levels recorded for the community water samples ranged from 0.02 to 1.00 (Figure 1 and
Supplemental Table 1). One participant lived in Montana but is not shown in Figure 1 for map
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 692 of 854



clarity. Fluoride could be measured within the linear range of the fluoride electrode in all patient
samples. Maternal serum fluoride (MSF) and amniotic fluid fluoride (AFF) concentrations were
similar to one another, but an order of magnitude lower than the levels observed in community
water and maternal urine fluoride (MUF) concentrations (Table 1).

Mean MUF concentration in the optimally fluoridated communities were similar to the mean water
fluoride concentration, whereas in communities with less than 0.7 ppm fluoride, MUF levels were
higher than the mean community water fluoride concentrations (see Table 2). While there is a
clear correlation between MUF and community water fluoridation, there is also much variability in
the individual MUF, particularly as fluoride levels in the drinking water increase (Figure 2 and
Table 3).

A 0.1 ppm increase in the community water fluoride level was associated with an increase of
0.040 (95% CI 0.007, 0.072) in MUF, after adjusting for covariates (Table 4, Figure 2). The
associations between community fluoride levels and MSF and AFF were the same: a 0.1 ppm
increase in community water fluoride was associated with increases of 0.001 (95% CI 0.000,
0.002) in both MSF and AFF. The unadjusted associations were similar for all biospecimen types.
We did not find any effect of the potential co-founders, including smoking, which in adolecents
has been reported to be associated with increased plasma fluoride levels (Jain 2018).

In a previous study of community water fluoride levels and associated MUF in Canda, (Till et al.
2018), fluoridated communities had fluoride levels greater than 0.3 ppm fluoride in drinking water,
and non-fluoridated communities had 0.3 ppm fluoride or less in drinking water. To compare our
results with those found in the Canadian study, we compared MUF levels of pregnant women
across communities with less than or greater than 0.3 ppm fluoride in drinking water. We found
the mean urine fluoride levels were similar in our Northern California sample to those in Canada
(Table 5).

Discussion

We measured fluoride concentrations in urine, serum, and amniotic fluid from 47 second trimester
pregnant women primarily living in Northern California between 2014 and 2016. To our knowledge
this is the first time this type of data has been reported in the US. In our study, which used
archived biological samples, community water fluoride samples from the time of collection were
not available. Therefore, we used public records to determine the water fluoride concentrations
for each community the year that the samples were collected.

Our approach to assess community water fluoride levels through public records, showed in similar
urine fluoride levels relative to community water fluoride concentrations for pregnant women, as
those reported by Till and co-workers in a much larger sample of 1,566 Canadian women living
in 10 cities across Canada (Till et al. 2018). In both our and Till and co-worker’ study (Till et al.
2018), urine fluoride concentrations were measured in spot samples rather than 24 urine samples.
Urine spot sampes have been shown to be an accurate assessment of fluoride ingestion on a
population basis (Zipkin et al. 1956). The similarity in MUF concentrations for pregnant women
in both studies, supports the validity of our findings, and the usefulness of MUF as a biomarker to
compare study outcomes from different regions and countries.

We found that similar to previous reports in the US done in the 1950s, that the concentration of
fluoride in drinking water was closely correlated to urine fluoride levels in areas with optimally
fluoridated water (Smith et al. 1950; Zipkin et al. 1956). Urine fluoride concentrations, which were
monitored when drinking water was first fluoridated to a level of 1 ppm in Grand Rapids,
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 693 of 854



Michiganin 1945, fluctuated some with age, but within 4 years of fluoridation, urine fluoride levels
for all ages were between 0.7 and 1 ppm (Zipkin et al. 1956). When Montgomery County
Maryland was fluoridated to a level of 1 ppm in 1951 the average urine fluoride levels for adults
reached 1 ppm after 6 weeks (Zipkin et al. 1956). However, for less than optimally fluoridated
communities, unlike the reports by Smith et al. (Smith et al. 1950), ours and Till’s study of Candian
women (Till et al. 2018) found that in communities with lower fluoride concentrations, MUF
concentrations were 2 to 3 times the concentration of fluoride in drinking water. It is possible that
in our study higher urine levels relative to community water fluoride levels in the low fluoride
communities was due to the overnight stay in fluoridated San Francisco. However, because our
values we found were similar to those reported by Till et al, it is also possible that the relateive
increase in urinary fluoride concentrations in low water fluoride communities may be due to
increase fluoride exposure to women in these communities through additional consumption of
bottled drinks made in areas with higher fluoride concentrations, and consumed in the lower
fluoride in drinking water areas. This so called “halo” effect of fluoride exposure (Lewis and
Banting 1994; Whitford 1994) would not have been present in previous times when most
community water, including that used for manufacturing of food and beverages, was at
concentrations less than 1.0 ppm fluoride.

The importance of fluoride sources other than those obtained in community water, is shown in
studies of urinary fluoride levels of a cohort of pregnant women in Mexico, exposed to fluoride
through salt fluoridation (Bashash et al. 2018). In that study, the mean urine fluoride levels were
0.91 ppm, ranging from 0.02–3.67, and a reduction of 5 IQ points in offspring of the women was
associated with each additional ppm of fluoride in maternal urine.

We found mean serum fluoride concentrations of 0.022 ppm in optimally fluoridated areas. Our
fluoride measurements were done using the more accurate fluoride diffusion method, as
compared to methods used to measure fluoride in blood in the 1950’s. However, our
measurements of serum fluoride concentrations were within the range previously reported by
Smith et al (Smith et al. 1950); between the 0.014 ppm mean blood fluoride concentration
measured in a community with 0.6 ppm fluoride in drinking water, and 0.04 ppm mean blood
fluoride in a community with 1.3 ppm fluoride in drinking water.

In our study the highest serum fluoride concentration recorded in an optimally fluoridated
community was 0.059 ppm. The mean and maxium fluoride concentrations for pregnant women
in our study are higher than those recently reported for children aged 6 though 19, where the
highest reported plasma fluoride levels were 0.017 ppm fluoride, with an average of around
0.0076 ppm fluoride (Jain 2018). The lower plasma fluoride levels in children and adolescents are
likely due to the fact that fluoride is taken up into growing bone, resulting in lower blood fluoride
levels (Whitford 1994).

We found that fluoride concentrations in amniotic fluid were similar to maternal serum fluoride
concentrations, and also correlated to community water fluoride levels. The relationship we
observed between maternal amniontic fluid fluroid levels and community water fluoride levels
show that fetal exposure to fluoride is related to fluoride concentrations in drinking water.

Ron et al. measured maternal plasma, cord plasma and amniotic fluid from 50 women at various
weeks in pregnancy (Ron et al. 1986). These measurements were done directly with an ion
specific electrode, without diffusion, and therefore are more likely to be affected by proteins in the
plasma and amniotic fluoride. They found relatively higher fluoride in maternal plasma as
compared to amniotic fluid between 16 and 30 weeks of gestation, whereas we found similar
mean maternal serum fluoride and amniotic fluid fluoride concentrations. Our findings are
    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 694 of 854



consistent with previous studies showing similar concentrations of fluoride in maternal serum and
fetal cord blood (Gedalia et al. 1964; Shen and Taves 1974), and support previous findings that
fluoride readily passes through the placenta. Interestingly, Ron et al found in the older fetal age
groups, cord plasma fluoride concentration to be significantly lower than maternal plasma levels,
whereas amniotic fluid fluoride levels were significantly higher. It may be that plasma fluoride
levels decrease later during fetal development due to increased bone formation, whereas amniotic
fluid fluoride may increase through continued recycling of fluoride through the fetal urine. The
relative importance of fluoride in amniotic fluid relative to brain development remains to be
understood.

In summary, this study shows that while fluorosis prevalence is increasing in children, mean
maternal fluoride exposure remains similar to previous reports. However, it does appear that
fluoride exposure is increasing in nonfluoridated communities, perhaps through the consumption
of fluoride through diet and bottled drinks. These studies support the use of urinary fluoride as a
biomarker for systemic fluoride exposure in pregnant women, and suggest the need for further
studies of fluoride risk relative to individual levels of exposure.


References:

Bashash M, Thomas D, Hu H, Martinez-Mier EA, Sanchez BN, Basu N, et al. 2017. Prenatal
fluoride exposure and cognitive outcomes in children at 4 and 6-12 years of age in mexico.
Environmental health perspectives 125:097017.
Bashash M, Marchand M, Hu H, Till C, Martinez-Mier EA, Sanchez BN, et al. 2018. Prenatal
fluoride exposure and attention deficit hyperactivity disorder (adhd) symptoms in children at 6-
12years of age in mexico city. Environ Int 121:658-666.
Beltran-Aguilar ED, Barker L, Dye BA. 2010. Prevalence and severity of dental fluorosis in the
united states, 1999-2004. NCHS Data Brief:1-8.
Canada PHAo. 2017. The state of community water fluoridation across canada.
Del Carmen AF, Javier FH, Aline CC. 2016. Dental fluorosis, fluoride in urine, and nutritional
status in adolescent students living in the rural areas of guanajuato, mexico. J Int Soc Prev
Community Dent 6:517-522.
Ding Y, YanhuiGao, Sun H, Han H, Wang W, Ji X, et al. 2011. The relationships between low
levels of urine fluoride on children's intelligence, dental fluorosis in endemic fluorosis areas in
hulunbuir, inner mongolia, china. Journal of hazardous materials 186:1942-1946.
Gedalia I, Brzezinski A, Zukerman H, Mayersdorf A. 1964. Placental transfer of fluoride in the
human fetus at low and high f-intake. J Dent Res 43:669-671.
Going RE, Hsu SC, Pollack RL, Haugh LD. 1980. Sugar and fluoride content of various forms of
tobacco. J Am Dent Assoc 100:27-33.
Health USDo, Human Services Federal Panel on Community Water F. 2015. U.S. Public health
service recommendation for fluoride concentration in drinking water for the prevention of dental
caries. Public health reports (Washington, DC : 1974) 130:318-331.
Husdan H, Vogl R, Oreopoulos D, Gryfe C, Rapoport A. 1976. Serum ionic fluoride: Normal range
and relationship to age and sex. Clin Chem 22:1884-1888.
Jain RB. 2018. Observed differentials in the levels of selected environmental contaminants among
mexican and other hispanic american children, adolescents, adults, and senior citizens. Environ
Sci Pollut Res Int 25:4524-4543.
Lewis DW, Banting DW. 1994. Water fluoridation: Current effectiveness and dental fluorosis.
Community Dent Oral Epidemiol 22:153-158.
Liu Y, Tellez-Rojo M, Hu H, Sanchez BN, Martinez-Mier EA, Basu N, et al. 2019. Fluoride
exposure and pubertal development in children living in mexico city. Environ Health 18:26.
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 695 of 854



Ron M, Singer L, Menczel J, Kidroni G. 1986. Fluoride concentration in amniotic fluid and fetal
cord and maternal plasma. Eur J Obstet Gynecol Reprod Biol 21:213-218.
Shen YW, Taves DR. 1974. Fluoride concentrations in the human placenta and maternal and
cord blood. Am J Obstet Gynecol 119:205-207.
Smith FA, Gardner DE, Hodge HC. 1950. Investigations on the metabolism of fluoride. Ii. Fluoride
content of blood and urine as a function of the fluorine in drinking water. Journal of dental research
29:596-600.
Till C, Green R, Grundy JG, Hornung R, Neufeld R, Martinez-Mier EA, et al. 2018. Community
water fluoridation and urinary fluoride concentrations in a national sample of pregnant women in
canada. Environmental health perspectives 126:107001.
Torra M, Rodamilans M, Corbella J. 1998. Serum and urine ionic fluoride: Normal range in a
nonexposed population. Biological trace element research 63:67-71.
U.S. EPA. 2010. “ Fluoride: Relative source contribution analysis “. (US Environmental Protection
Agency) 820-R-10-015.
Whitford GM. 1994. Intake and metabolism of fluoride. Advances in dental research 8:5-14.
Wiener RC, Shen C, Findley P, Tan X, Sambamoorthi U. 2018. Dental fluorosis over time: A
comparison of national health and nutrition examination survey data from 2001-2002 and 2011-
2012. J Dent Hyg 92:23-29.
Yadav AK, Kaushik CP, Haritash AK, Singh B, Raghuvanshi SP, Kansal A. 2007. Determination
of exposure and probable ingestion of fluoride through tea, toothpaste, tobacco and pan masala.
Journal of hazardous materials 142:77-80.
Zipkin I, Likins RC, McClure FJ, Steere AC. 1956. Urinary fluoride levels associated with use of
fluoridated waters. Public Health Rep 71:767-772.
         Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 696 of 854



    Table 1. Descriptive statistics.


                                         Mean (SD)

      Fluoride concentrations
        Maternal urine fluoride (ppm)    0.63 (0.38)
        Maternal serum fluoride (ppm)    0.016 (0.014)
        Amniotic fluid fluoride (ppm)    0.017 (0.011)
      Demographics
        Age                              25.7 (4.9)
        BMI                              28.0 (6.2)

                                         N (%)
      Race/ethnicity
        Latina                           9 (18.8)
        Black                            12 (25.0)
        White                            20 (41.7)
        Asian/Pacific Islander           7 (14.6)
      Educational attainment
        Less than high school            3 (6.3)
        High school/GED                  21 (43.8)
        Some college                     17 (35.4)
        College grad or postgrad         6 (12.5)
        Missing                          1 (2.1)
      Smoked in the past year
        No                               14 (29.2)
        Yes                              34 (70.8)


    Table 2. Levels of fluoride in maternal urine, serum, and amniotic fluid by community water
    fluoridation level


                        Non-optimally            fluoridated Optimally                       fluoridated
                        (<=0.7 ppm)                          (>0.7 ppm)

N                       24                                  24

                        Mean ± SD       Min, Max            Mean ± SD             Min, Max

Water fluoride          0.20 ± 0.18     0.02, 0.60          0.80 ± 0.092      *   0.69, 1.00
Maternal urine (MUF)    0.52 ± 0.28     0.12, 1.25          0.74 ± 0.44       *   0.060, 1.70
        Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 697 of 854




Maternal serum (MSF)   0.011 ± 0.0086     0.0040, 0.040       0.021 ± 0.015          0.0038, 0.059
Amniotic fluid (AFF)   0.013 ± 0.0052     0.0061, 0.023       0.021 ± 0.014      *   0.0063, 0.058


    * The optimally fluoridated mean concentration is significantly different from the non-optimall
    fluoridated mean concentration at the 0.05 level using Welch’s t-test.
    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 698 of 854



Table 3. Correlation matrix between fluoride levels in community water, maternal urine, maternal
serum, and amniotic fluid.


                          Community     Maternal urine    Maternal serum    Amniotic     fluid
                          water         (MUF)             (MSF)             (AFF)
 Community water          1.00          0.33              0.36              0.40
 Maternal urine (MUF)     0.33          1.00              0.24              0.34
 Maternal serum (MSF)     0.36          0.24              1.00              0.51
 Amniotic fluid (AFF)     0.40          0.34              0.51              1.00
    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 699 of 854



Table 4. Adjusted and unadjusted linear associations of 0.1 ppm increase in community water
fluoride levels with fluoride levels in maternal urine, serum, and amniotic fluid.

                           Linear association with 0.1 ppm increase in
                           community water fluoride
                           Unadjusted (95% CI)     Adjusted* (95% CI)
 Maternal urine (MUF)      0.037 (0.006, 0.069)    0.040 (0.007, 0.072)
 Maternal serum (MSF)      0.001 (0.000, 0.003)    0.001 (0.000, 0.002)
 Amniotic fluid (AFF)      0.001 (0.000, 0.002)    0.001 (0.000, 0.002)

* Adjusted for maternal age, smoking status, and BMI. Likelihood ratio tests indicated no
significant differences between the adjusted and non adjusted models.
    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 700 of 854



Table 5. Comparison of fluoride concentrations in ppm across fluoridated and non-fluoridated
areas in Northern California and Canada.


                                   Nonfluoridated    (<=0.3    ppm) Fluoridated        (>0.3        ppm)
                                   (Mean ± SD)                       (Mean ± SD)

                                                 Northern                             Northern
                                   Canada                            Canada
                                                 California                           California

 Water fluoride concentrations     0.12 ± 0.06   0.099 ± 0.076       0.61 ± 0.11      0.71 ± 0.18      *

 Maternal urine (MUF)              0.41 ± 0.28   0.46 ± 0.20         0.71 ± 0.38      0.72 ± 0.43      *


* The Northern California fluoridated mean concentration is significantly different from the
Northern California non-fluoridated mean concentration at the 0.05 level using Welch’s t-test.
    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 701 of 854



Figure   1.   Map   of   participant   location   and   community    water   fluoridation   levels.




Note: One participant lived in Billings, MT at the time of sample collection but was excluded from
this map for clarity.
    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 702 of 854



Figure 2. Scatter plots of community water fluoride levels with fluoride levels in maternal urine,
maternal serum, and amniotic fluid.
    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 703 of 854



Supplemental Table 1. Participant city of residence and year at time of sample collection and
community water levels.


                                                                  Community water
 Participant   City                                  Year         fluoride level
 1             Loleta, CA                            2014         0.02
 2             Denair, CA                            2014         0.12
 3             San Francisco, CA                     2015         0.9
 4             San Francisco, CA                     2014         0.9
 5             Salida, CA                            2014         0.45
 6             Calistoga, CA                         2014         0.13
 7             Santa Cruz, CA                        2014         0.2
 8             Davis, CA                             2014         0.34
 9             Chowchilla, CA                        2016         0.21
 10            San Anselmo, CA                       2014         0.9
 11            Petterson, CA                         2014         0.02
 12            Davis, CA*                            2014         0.34
 13            Newark, CA                            2014         0.9
 14            Oakland, CA                           2014         0.8
 15            Rohnert Park, CA                      2014         0.041
 16            Concord, CA                           2015         1
 17            Vacaville, CA                         2014         0.8
 18            Eureka, CA                            2015         0.69
 19            Sebastopol, CA                        2015         0.16
 20            Santa Rosa, CA                        2014         0.2
 21            Fairfield, CA                         2015         0.8
 22            Antioch, CA                           2015         0.8
 23            San Leandro, CA                       2015         0.8
 24            Billings, MT                          2015         0.37
 25            Newark, CA*                           2014         0.9
 26            Vallejo, CA*                          2015         0.8
 27            San Francisco, CA                     2015         0.8
 28            Eureka, CA                            2015         0.69
 29            San Francisco, CA                     2015         0.8
 30            Willits, CA                           2015         0.35
 31            Cupertino, CA                         2015         0.13
 32            Sacramento, CA                        2015         0.9
 33            Avenal, CA                            2016         0.05
 34            Visalia, CA                           2015         0.02
 35            Stockton, CA                          2016         0.02
 36            San Francisco, CA                     2016         0.6
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 704 of 854




 37            Sacramento, CA                            2016         0.69
 38            Watsonville, CA                           2016         0.2
 39            San Francisco, CA                         2016         0.6
 40            San Carlos, CA                            2016         0.7
 41            Antioch, CA                               2016         0.7
 42            Oakland, CA                               2016         0.7
 43            San Jose, CA                              2016         0.7
 44            Merced, CA                                2016         0.13
 45            Oakland, CA                               2016         0.7
 46            Stockton, CA                              2016         0.02
 47            Mariposa, CA                              2016         0.02
 48            San Rafael, CA                            2016         0.71


* Note: For these participants only zip code at the time of sample collection was available.
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 705 of 854




                      Exhibit 30
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 706 of 854


                                                          EPA/635/R-07/005F
                                                         www.epa.gov/iris




        TOXICOLOGICAL REVIEW

                                OF

  2,2',4,4'-TETRABROMODIPHENYL
             ETHER (BDE-47)
                        (CAS No. 5436-43-1)


         In Support of Summary Information on the
         Integrated Risk Information System (IRIS)




                             June 2008




                  U.S. Environmental Protection Agency
                            Washington, DC
    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 707 of 854


                                      DISCLAIMER



This document has been reviewed in accordance with U.S. Environmental Protection Agency
policy and approved for publication. Mention of trade names or commercial products does not
constitute endorsement or recommendation for use.




                                              ii
    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 708 of 854


4.7. SUSCEPTIBLE POPULATIONS AND LIFE STAGES
4.7.1. Possible Childhood Susceptibility
       A population subgroup is susceptible if exposure occurs during a period of sensitivity as
observed in Eriksson et al. (2001) with adult mice exhibiting effects following neonatal exposure
to BDE-47. The neonatal stage is a period of rapid development of the nervous system and is
considered a critical window of development. The animal model indicates a potential for
concern for early lifetime exposure (i.e., fetal or infant exposure) to the chemical. The evidence
of cerebellar and neocortical neuron BDE-47 accumulation in newborn rats (Kodavanti et al.,
2005; Mundy et al., 2004) as well as the identification of BDE-47 in human maternal and cord
serum, milk, and children’s serum (Mazdai et al., 2003; Schecter et al., 2003; Thomsen et al.,
2002) implies animals and humans are exposed to and accumulate BDE-47 during a period of
rapid development of the brain. This is a critical window of development and indicates a
potential for susceptibility. Whether such exposure constitutes a health risk for adverse
neurodevelopmental effects in infants and children is not known at this time because of the
limited toxicological database for BDE-47. An association between prenatal or neonatal
exposures to BDE-47 and neurobehavioral dysfunction in humans has not been established.


4.7.2. Possible Gender Differences
       Studies on BDE-47 are not available to determine whether susceptibility to BDE-47
differs in male and female humans or experimental animals. A major urinary protein has been
identified in male mice, which facilitates excretion of BDE-47 once the pathway for its synthesis
becomes operational. This decreases retention of BDE-47 in juvenile and mature males
compared to females but is not functional during the early postnatal period of development.




                                                42
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 709 of 854




                      Exhibit 31
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 710 of 854


                                                         EPA/635/R-09/008F
                                                           www.epa.gov/iris




        TOXICOLOGICAL REVIEW

                                OF

                     2-HEXANONE
                        (CAS No. 591-78-6)



          In Support of Summary Information on the
          Integrated Risk Information System (IRIS)



                          September 2009




                  U.S. Environmental Protection Agency
                            Washington, DC
    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 711 of 854


                                      DISCLAIMER


       This document has been reviewed in accordance with U.S. Environmental Protection
Agency policy and approved for publication. Mention of trade names or commercial products
does not constitute endorsement or recommendation for use.




                                              ii
    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 712 of 854




                                                                                 Protein




            Protein


       Figure 4-1. Proposed mechanism for 2,5-hexanedione-induced axonopathy.

       Note: γ-Diketones, such as 2,5-hexanedione, react with amino groups in all tissues to form
       pyrroles. The pyrrole moiety can undergo further oxidation reactions with amino or sulfhydryl
       groups. This results in the development of neurofilament aggregates (in the distal, subterminal
       axon), which, as they grow larger, form massive swellings of the axon.

       Source: Adapted from DeCaprio et al. (1988, 1982).


4.7. WEIGHT-OF-EVIDENCE EVALUATION AND CANCER CHARACTERIZATION
4.7.1. Summary of Overall Weight of Evidence
        Under EPA’s Guidelines for Carcinogen Risk Assessment (U.S. EPA, 2005a), there is
“inadequate information to assess the carcinogenic potential” of 2-hexanone. Specifically, there
are no animal carcinogenicity studies available that examine exposure to 2-hexanone, and there
are no studies available that assert a mutagenic potential of 2-hexanone. The available
occupational studies do not present evidence for carcinogenic action of 2-hexanone, although
these are limited by frequent co-exposure to other chemicals (e.g., MEK).

4.8. SUSCEPTIBLE POPULATIONS AND LIFE STAGES
4.8.1. Possible Childhood Susceptibility
        The susceptibility of the developing brain is based on the timing of neuronal
development, the rapid growth that occurs in the third trimester and early infancy, and the lack of
a protective barrier early in life (Costa et al., 2004). In the cerebellum, Purkinje cells develop
early, weeks 5–7 in humans, whereas granule cells are generated much later, gestational

                                                       57
    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 713 of 854


weeks 24–40 in humans. The developing brain is distinguished by the absence of a blood-brain
barrier. The development of this barrier is a gradual process, beginning in utero and complete at
approximately 6 months of age. Because the blood-brain barrier limits the passage of substances
from blood to brain, in its absence, toxic agents can freely enter the developing brain. Since
Purkinje-cell degeneration has been observed with adult rats exposed to high levels of
2,5-hexanedione, infants may be at an increased risk for this type of damage at lower levels of
exposures, due to the incomplete maturation of the blood-brain barrier (Hernandez-Viadel et al.,
2002). However, this would depend on the capacity of infants and small children to bioactivate
2-hexanone to 2,5-hexanedione.
        Metabolism of 2-hexanone may vary between children and adults due to differences in
the development and maturity of phase I and phase II enzymes (Johnsrud et al., 2003). Studies
indicate that the mode of action of 2-hexanone toxicity involves the metabolism to a more toxic
metabolite, namely, 2,5-hexanedione. Several enzymes, such as CYP2E1, CYP2B1/2, and
CYP2C6/11, are inducible following administration of 2-hexanone in animal models (Imaoka
and Funae, 1991; Nakajima et al., 1991); however, the individual isoforms involved in
2-hexanone metabolism have not been fully elucidated. Toftgard et al. (1986) found that the
formation of 2,5-hexanediol from 2-hexanol was catalyzed by a CYP450 isozyme different from
CYP2B and present in liver but not in lung microsomes. The authors concluded that 2-hexanol
must be transported to the liver before the neurotoxic metabolite 2,5-hexanedione can be formed.
Because of this, changes in CYP450 protein levels and phase II enzymes during development
may have an impact on susceptibility to 2-hexanone. As mentioned above, the possible
susceptibility of 2-hexanone may be influenced by life stage, but there are few studies to confirm
the impact and severity of such exposure. The available information suggests that young animals
and children could more susceptible to 2-hexanone; however, the evidence of possible childhood
susceptibility is inconclusive.


4.8.2. Possible Gender Differences
        Evaluations of human occupational exposures have not provided evidence that
2-hexanone acts in a gender-specific way. Most animal studies also have not brought forth
strong evidence for a sex-specific action of 2-hexanone. However, it should be mentioned that in
a few rat studies 2-hexanone appeared to affect the male reproductive system (Katz et al., 1980;
Krasavage et al., 1980; O’Donoghue et al., 1978).




                                               58
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 714 of 854




                      Exhibit 32
 Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 715 of 854




                  FOOD & WATER WATCH

                                 VS

U.S. ENVIRONMENTAL PROTECTION AGENCY, ET AL.,



                         JOYCE TSUJI

                       September 11, 2019
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 716 of 854



·1     · · · THE UNITED STATES DISTRICT COURT

·2     · ·FOR THE NORTHERN DISTRICT OF CALIFORNIA

·3     · · · · · · · AT SAN FRANCISCO

·4     FOOD & WATER WATCH, et al.· · *

·5     · Plaintiffs· · · · · · · · · *· Civ. No.

·6     v.· · · · · · · · · · · · · · *· 17-CV-02162-EMC

·7     U.S. ENVIRONMENTAL PROTECTION *

·8     AGENCY, et al.· · · · · · · · *

·9     · Defendants· · · · · · · · · *

10     · · · · · · · *· ·*· ·*· ·*· ·*

11     · · · · · VIDEOTAPED DEPOSITION OF

12     · · · · ·JOYCE S. TSUJI, Ph.D., DABT

13     · · · · · · SEPTEMBER 11th, 2019

14     · · · · · · · WASHINGTON, D.C.

15

16     · · · · ·Reported by:· Dawn M. Hyde

17

18

19

20

21
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 717 of 854
                                                                            5

·1     · · · · · THE VIDEOGRAPHER:· This deposition

·2     is taking place at M Street, Washington, D.C.

·3     Would the court reporter please administer the

·4     oath and we can proceed.

·5     Whereupon,

·6     · · · · · JOYCE TSUJI, Ph.D., DABT,

·7     a witness herein, called for oral examination in

·8     the matter pending, being first duly sworn to tell

·9     the truth, the whole truth, and nothing but the

10     truth, testified as follows:

11     · · · · · · · · EXAMINATION

12     · · ·BY MR. CONNETT:

13     · · ·Q· · Good morning, Dr. Tsuji.

14     · · ·A· · Good morning.

15     · · ·Q· · Have you ever conducted or published

16     any studies on fluoride?

17     · · ·A· · I have not published any studies on

18     fluoride but I have conducted studies on

19     fluoride or co-authored reports on fluoride.

20     · · ·Q· · What reports are you referring to?

21     · · ·A· · The 2009 NRC.· I think it was called



                      Asbestos Reporters of California
                                888-779-9974                                    YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 718 of 854
                                                                            6

·1     Emergency and Continuous Exposure Levels on

·2     Submarines.· That report had a chapter on

·3     hydrogen fluoride and that included systemic

·4     effects of fluoride.

·5     · · ·Q· · Did you write that chapter?

·6     · · ·A· · I did not write that chapter but I

·7     reviewed the chapter, as all committee members

·8     did.

·9     · · ·Q· · Did you agree with the contents set

10     forth in that chapter?

11     · · ·A· · As I recall in general at that time,

12     yes.

13     · · ·Q· · Is there anything in that chapter

14     that you said I disagree with and it should be

15     changed?

16     · · · · · MR. ADKINS:· Objection, foundation.

17     · · ·A· · I guess it would depend on -- in

18     general I agreed with everything in there.         I

19     haven't read it recently so now I may not

20     agree with some of the things in there.

21



                      Asbestos Reporters of California
                                888-779-9974                                    YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 719 of 854
                                                                            15

·1     projects.

·2     · · ·Q· · Okay.· Prior to your work in this

·3     case, did you consider yourself an expert on

·4     the neurotoxicity of fluoride?

·5     · · ·A· · No.

·6     · · ·Q· · What is your area of expertise?

·7     · · ·A· · My area of expertise is physiology;

·8     toxicology; the environmental effects of

·9     various stressors on physiology and

10     toxicology; risk assessment; biomonitoring,

11     particularly of certain metals, dioxin,

12     certain organic chemicals.

13     · · ·Q· · So you are a toxicologist?

14     · · ·A· · Yes.

15     · · ·Q· · A certified toxicologist?

16     · · ·A· · Yes.

17     · · ·Q· · Are you an epidemiologist?

18     · · ·A· · I am not an epidemiologist, but that

19     is a field I have a good working knowledge of

20     because most of the literature on metals is

21     based on epidemiology and I publish in that



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 720 of 854
                                                                         130

·1     learning or not.

·2     · · ·Q· · Okay.· If you look at an animal

·3     study or animal studies and are convinced that

·4     the chemical causes an impairment in learning,

·5     would you agree that that's an adverse effect?

·6     · · · · · MR. ADKINS:· Asked and answered.

·7     · · ·BY MR. CONNETT:

·8     · · ·Q· · For hazard assessment purposes.

·9     · · ·A· · For assessing a hazard at any dose,

10     yes.

11     · · ·Q· · Okay.· And if you looked at animal

12     data and you were convinced that the chemical

13     causes alterations in spontaneous behavior,

14     would you agree that that's an adverse effect

15     for purposes of hazard assessment?

16     · · · · · MR. ADKINS:· Objection, vague.

17     · · ·A· · I guess I would like see the study.

18     It kind of depends on what the investigators

19     were noting.

20     · · ·BY MR. CONNETT:

21     · · ·Q· · Okay.· And you see for 2-Hexanone,



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 721 of 854
                                                                         150

·1     · · · · · MR. ADKINS:· Objection.

·2     · · ·A· · Very limited.

·3     · · ·BY MR. CONNETT:

·4     · · ·Q· · Well, my question is did you

·5     identify any studies that failed to find

·6     neurotoxic effects from fluoride exposure that

·7     Dr. Thiessen did not discuss in some capacity

·8     in her report?

·9     · · · · · MR. ADKINS:· Objection, vague.

10     · · ·A· · Yes.

11     · · ·BY MR. CONNETT:

12     · · ·Q· · Which studies?

13     · · ·A· · The studies within McPherson,

14     et al., she did not describe.

15     · · ·Q· · So besides the McPherson study, any

16     other studies that you found -- sorry, strike

17     that.· Besides the McPherson study, did you

18     find any other animal studies which failed to

19     find neurotoxic effects from fluoride exposure

20     that Dr. Thiessen did not discuss?

21     · · · · · MR. ADKINS:· Objection, misstates



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 722 of 854
                                                                         151

·1     testimony, vague.

·2     · · ·A· · I think she probably -- I think she

·3     probably captured all the studies that I

·4     looked at.· Whether she identified NOAELs and

·5     LOAELs and study quality and consistency of

·6     where you see NOAELs and LOAELs, that's

·7     another issue.

·8     · · ·BY MR. CONNETT:

·9     · · ·Q· · Okay.· So for the McPherson study,

10     just to quickly follow up on your testimony

11     about it being multiple studies.· By that, you

12     know, the McPherson study conducted a number

13     of different functional tests, correct?

14     · · ·A· · Yes.

15     · · ·Q· · For instance, it did a Morris water

16     maze and it did a Y maze test, right?

17     · · ·A· · Yes.· Passive avoidance, startle,

18     reflex, hot plate latency.

19     · · ·Q· · Would you consider each of those

20     tests to be effectively a separate study?

21     · · ·A· · They are like separate studies



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 723 of 854
                                                                         180

·1     effects.

·2     · · ·BY MR. CONNETT:

·3     · · ·Q· · Okay.· Fair enough.· Do you agree

·4     that the brain is more vulnerable to the

·5     harmful effects of neurotoxicants when it does

·6     not have the protection of the blood-brain

·7     barrier?

·8     · · ·A· · Certainly it's more likely to have

·9     exposure.

10     · · ·BY MR. CONNETT:

11     · · ·Q· · Okay.· And if it's more likely to

12     have exposure, would you agree that the brain

13     is more vulnerable to the harmful effects of

14     neurotoxicants when it does not have the

15     protection of the blood-brain barrier?

16     · · ·A· · Yes.

17     · · ·Q· · Do you dispute that fluoride gets

18     past the placenta?

19     · · · · · MR. ADKINS:· Objection, foundation.

20     · · ·A· · I do not dispute that.

21



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 724 of 854
                                                                         181

·1     · · ·BY MR. CONNETT:

·2     · · ·Q· · Do you dispute that fluoride gets

·3     into the fetal brain?

·4     · · · · · MR. ADKINS:· Objection, foundation.

·5     · · ·A· · I don't dispute that.

·6     · · · · · (Tsuji Deposition Exhibit Number 322

·7     · · · · · was marked for identification.)

·8     · · ·BY MR. CONNETT:

·9     · · ·Q· · I'm going to hand you a document

10     which I will mark as Exhibit Number 322.· And

11     this document states, "Due to the absence of a

12     blood-brain barrier, the fetus may be at

13     greater risk than the general population of

14     experiencing neurotoxic effects from

15     fluoridated water."

16     · · · · · Dr. Tsuji, do you agree with that

17     statement or disagree with it?

18     · · · · · MR. ADKINS:· Objection, vague and

19     ambiguous, lacks foundation.

20     · · ·A· · I guess as a hypothetical I would

21     agree with that supposition as a hazard and



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 725 of 854
                                                                         182

·1     which population is most susceptible.· As I

·2     say in my report, I think the appropriate

·3     focus is on early life stages.

·4     · · ·BY MR. CONNETT:

·5     · · ·Q· · In your report you state that -- if

·6     you turn to page 37 of your report.

·7     · · ·A· · Oh, 37.

·8     · · ·Q· · And I'm looking at the last

·9     paragraph before section 4.6.5; do you see

10     that?

11     · · ·A· · Yes, okay.

12     · · ·Q· · You say, "Although developmental

13     toxicology studies in animals have limitations

14     for assessing exposure equivalent to

15     bottle-fed infants, as noted by Dr. Grandjean

16     based on the associations from epidemiological

17     studies, the in utero period appears to be a

18     critical period for fluoride exposure."

19     · · · · · And so, Dr. Tsuji, you would agree

20     with Dr. Grandjean in that assessment?

21     · · ·A· · Yes, and that's primarily because



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 726 of 854
                                                                         183

·1     this also is commenting on associations in the

·2     epidemiological studies with maternal exposure

·3     and fetal outcomes, which is different from

·4     lead where you don't have associations so much

·5     with in utero versus later IQ tests.

·6     · · ·BY MR. CONNETT:

·7     · · ·Q· · Okay.· Now, are you aware of any

·8     evidence from human studies that support the

·9     neurological safety of prenatal exposure of

10     fluoride?

11     · · · · · MR. ADKINS:· Objection, vague.

12     · · ·A· · Safety.· So this is not something I

13     was really asked to look at.· I was mainly

14     looking at animal studies, and certainly the

15     most well-conducted animal study is not

16     finding functional effects from in utero

17     exposures.

18     · · · · · So we do have a very well-conducted

19     animal study looking at that endpoint and

20     functional equivalence.

21



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 727 of 854
                                                                         233

·1     whether -- in fact at 0.7 the -- I don't think

·2     that that level for a neonate drinking as much

·3     water or exposed to as much fluoride as in

·4     some of these studies or even EPA's own

·5     calculations in 2010 would suggest that the

·6     reference dose currently is not protective of

·7     certainly the dental fluorosis and therefore

·8     there is also a concern potentially for other

·9     health effects.

10     · · ·BY MR. CONNETT:

11     · · ·Q· · Okay.· So you recognize that infants

12     drinking formula made with fluoridated water

13     can exceed EPA's proposed reference dose of

14     0.08 milligrams per kilogram per day?

15     · · ·A· · Yes.

16     · · ·Q· · And so -- and you recognize -- are

17     you familiar with the in press study by Till,

18     et al.?

19     · · ·A· · Yes.

20     · · ·Q· · And the study looked at the

21     association between neonatal exposure to



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 728 of 854
                                                                         259

·1     · · ·Q· · And so fair to say that you agree

·2     that 20 milligrams per liter would be a

·3     reasonable NOAEL for EPA to use in a risk

·4     assessment on fluoride neurotoxicity?

·5     · · · · · MR. ADKINS:· Objection, vague, lack

·6     of foundation.

·7     · · ·A· · It would depend on what other

·8     information they had.· If they had human

·9     data -- my role here was mainly to look at

10     what is that -- what does the current animal

11     evidence suggest regarding plausibility in

12     humans.· And I'm seeing some disconnects here.

13     · · ·BY MR. CONNETT:

14     · · ·Q· · Okay.· But if EPA is doing a risk

15     assessment and they are just looking at the

16     animal data on fluoride neurotoxicity, you

17     would agree 20 milligrams per liter would be a

18     reasonable NOAEL to use?

19     · · · · · MR. ADKINS:· Objection, vague.

20     · · ·A· · Well, with the exception that the

21     animals also had some dental fluorosis.



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 729 of 854
                                                                         377

·1     anyway -- the results.

·2     · · ·Q· · So they tested the levels of arsenic

·3     in the urine of the mothers at gestational

·4     week eight and gestational week 30, correct?

·5     · · ·A· · Yes.

·6     · · ·Q· · And there -- you agree that the

·7     method that they used for testing the arsenic

·8     in urine by controlling for specific gravity

·9     was an appropriate method to use, correct?

10     · · ·A· · Right.· It would have been better if

11     they had done first morning voids or were able

12     to do 24-hour urines or duplicate two-day

13     consecutive-day first morning voids.

14     · · ·Q· · Now, in your risk assessment or the

15     RfD derivation that you did in your 2015

16     review, you picked one IQ point as the

17     benchmark response, correct?

18     · · ·A· · Yes.

19     · · ·Q· · And that means that the reference

20     dose that you ultimately calculated was

21     designed to protect against the loss of one IQ



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 730 of 854
                                                                         378

·1     point, right?

·2     · · ·A· · Yes.· We were trying to duplicate

·3     what the State of California did.

·4     · · ·Q· · And in using and selecting one IQ

·5     point as the appropriate benchmark response,

·6     you cited the EPA -- the federal EPA, correct?

·7     · · ·A· · We may have done that as well.

·8     · · ·Q· · And so would you agree then that it

·9     is reasonable to use one IQ point as the

10     benchmark response for a reference dose

11     derivation?

12     · · · · · MR. ADKINS:· Objection, vague,

13     misstates testimony.

14     · · ·A· · Well, for the example that we're

15     doing here with arsenic, which was more

16     screening to do a worst case evaluation and

17     compare it to the existing EPA reference dose.

18     · · ·BY MR. CONNETT:

19     · · ·Q· · Well, do you have any reason to --

20     do you disagree with using one IQ point as the

21     benchmark response for an RfD calculation?



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 731 of 854
                                                                         403

·1     · · ·A· · If a -- I think the advice to

·2     pregnant women would be if you have concerns,

·3     you can reduce your fluoride intake since

·4     it -- again assuming it has no benefit, CDC

·5     has recommendations for bottle-fed infants to

·6     not use fluoridated water.· So that's already

·7     there.

·8     · · · · · So EPA and the federal agencies will

·9     have to determine whether additional

10     recommendations need to be made at this point

11     along with their continued evaluation of the

12     evidence.

13     · · ·BY MR. CONNETT:

14     · · ·Q· · Do you think the CDC's

15     recommendation or do you think -- strike that.

16     · · · · · Do you think the recommendation to

17     avoid the use of fluoridated water in infant

18     formula is a reasonable and sound

19     recommendation?

20     · · · · · MR. ADKINS:· Objection, vague, lacks

21     foundation.



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 732 of 854
                                                                         404

·1     · · ·A· · Well, it certainly is a -- appears

·2     to be reasonable given that the dose to

·3     infants is potentially greater than reference

·4     dose for enamel -- dental fluorosis.· And it

·5     provides no benefit at that stage.

·6     · · ·BY MR. CONNETT:

·7     · · ·Q· · And in this case I deposed a

·8     representative of the Centers for Disease

·9     Control and I asked him if the CDC believes

10     prenatal fluoride exposure provides a benefit

11     to the offspring in terms of caries

12     prevention, and he testified that no, the CDC

13     is not aware of evidence to suggest a prenatal

14     benefit to the teeth.· Is that consistent with

15     your understanding?

16     · · · · · MR. ADKINS:· Objection, misstates

17     testimony.

18     · · ·A· · Again, I haven't -- I was speaking

19     mainly to the infant formula situation and I

20     haven't prepared to look at the dental

21     fluorosis or the caries prevention, that part



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 733 of 854
                                                                         416

·1     with exposures at the limit level."

·2     · · · · · Did I read that correctly?

·3     · · ·A· · Yes.

·4     · · ·Q· · Okay.· And so this was your -- those

·5     two sources were your basis for using one IQ

·6     point as your benchmark response, correct?

·7     · · ·A· · Right, in our worst case analysis.

·8     · · ·Q· · And your reference to the revised

·9     U.S. National Ambient Air Quality standard has

10     a footnote attached to it, right?

11     · · ·A· · Yes.

12     · · ·Q· · And the footnote references the

13     Federal Register, correct?

14     · · ·A· · Right.

15     · · ·Q· · So you were referencing the U.S.

16     Environmental Protection Agency as a source

17     for your use of one IQ point for the benchmark

18     response, correct?

19     · · ·A· · Right.· I remember the California

20     use of the one IQ point because that was done

21     for arsenic and so that's why my memory was of



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 734 of 854
                                                                         417

·1     California.

·2     · · ·Q· · And EPA had used the one IQ point as

·3     a benchmark response for the lead regulation,

·4     right?

·5     · · ·A· · Yes.

·6     · · ·Q· · Now, am I correct in understanding

·7     that any fluoride neurotoxicity studies that

·8     you read and considered for this case, the

·9     animal studies --

10     · · ·A· · Okay.

11     · · ·Q· · -- are identified in Appendix C to

12     your report?

13     · · ·A· · Well, there were earlier studies

14     that are not listed in Appendix C that I may

15     have reviewed, along with reviewing statements

16     in NTP 2016 and other references that were

17     cited back to the earlier literature.

18     · · ·Q· · So --

19     · · · · · MR. ADKINS:· Are you finished?

20     · · · · · THE WITNESS:· Sorry, yes.

21



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 735 of 854
                                                                         420

·1     you mean on the BEST?

·2     · · ·Q· · Yes.

·3     · · ·A· · Board on Environmental -- sorry,

·4     it's late in the day.· I think it's the Board

·5     on Environmental Studies and Toxicology.

·6     · · ·Q· · Okay.· And so you're familiar -- are

·7     you familiar in a general way with how the

·8     National Research Council selects scientists

·9     to be part of its -- part of the panels that

10     write NRC reports?

11     · · ·A· · I don't understand completely their

12     selection process but I have observed who --

13     the people I serve with on panels depending on

14     topic.

15     · · ·Q· · Based on your experience, does the

16     NRC take care to ensure that only qualified

17     scientists are selected to serve as panelists

18     on NRC reports?

19     · · ·A· · They certainly try to make sure that

20     those who serve have the necessary expertise.

21     · · ·Q· · Okay.· And are you -- we've talked



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 736 of 854
                                                                         421

·1     about today the NRC report on fluoride that

·2     was published in 2006, right?

·3     · · ·A· · Yes.

·4     · · ·Q· · And we also talked about the NRC

·5     report that was published in 2009 that you

·6     were a part of that also had a chapter on

·7     fluoride, correct?

·8     · · ·A· · Yes.

·9     · · ·Q· · Are you aware of any other NRC

10     reports published since 2006 or since 2000

11     that have addressed fluoride toxicity besides

12     those two reports?

13     · · ·A· · I'd have to go back and look to see

14     if there is a AEGLs, or acute air quality

15     guideline level document or -- which is

16     usually EPA but reviewed by -- sometimes by

17     NRC or a spacecraft chapter on hydrogen

18     fluoride or fluoride.

19     · · ·Q· · But as you sit here today, is it

20     fair to say that the only two NRC reports that

21     you are aware of that have been published



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 737 of 854
                                                                         422

·1     since 2000 which have addressed and examined

·2     fluoride toxicity are the 2006 and 2009

·3     reports that we've talked about today?

·4     · · ·A· · Yes, to the best of my knowledge

·5     right now.

·6     · · ·Q· · And in both of those reports,

·7     Dr. Kathleen Thiessen was selected to be a

·8     panelist for the report, correct?

·9     · · ·A· · Yes.

10     · · ·Q· · And in both of those reports

11     published by the National Research Council,

12     Dr. Thiessen co-authored the review of

13     fluoride toxicity, correct?

14     · · ·A· · Yes.· As far as I know.

15     · · · · · MR. CONNETT:· Those are all the

16     questions I have right now.

17     · · · · · What do we have for the running

18     time?

19     · · · · · THE VIDEOGRAPHER:· Six hours, 43

20     minutes.

21     · · · · · MR. ADKINS:· Are you going to pass



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 738 of 854
                                                                         456

·1     STATE OF MARYLAND

·2     HOWARD COUNTY

·3     · · ·I, Dawn Michele Hyde, a Notary Public of the

·4     State of Maryland, Howard County, do hereby certify

·5     that the above-captioned proceeding took place

·6     before me at the time and place herein set out.

·7     · · ·I further certify that the proceeding was

·8     recorded stenographically by me and this transcript

·9     is a true record of the proceedings.

10     · · ·I further certify that I am not of counsel to

11     any of the parties, nor an employee of counsel, nor

12     related to any of the parties, nor in any way

13     interested in the outcome of the action.

14     · · ·As witness my hand and seal this 11th day of

15     September, 2019.

16

17     · · · · · · · ·Dawn M. Hyde, Notary Public

18     · · · · · · · ·My Commission Expires 10/7/2019

19

20

21



                      Asbestos Reporters of California
                                888-779-9974
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 739 of 854




                      Exhibit 33
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 740 of 854




                                                         EPA/635/R-11/001Fa
                                                          www.epa.gov/iris




        TOXICOLOGICAL REVIEW

                                OF

        METHANOL (NONCANCER)
                         (CAS No. 67-56-1)

         In Support of Summary Information on the
          Integrated Risk Information System (IRIS)




                          September 2013




                  U.S. Environmental Protection Agency
                            Washington, DC
    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 741 of 854




                                      DISCLAIMER

       This document has been reviewed in accordance with U.S. Environmental Protection
Agency policy and approved for publication. Mention of trade names or commercial products
does not constitute endorsement or recommendation for use.




                                             ii
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 742 of 854




dinoseb, supernumerary ribs were consistently associated with increases in the length of the 13th
rib (Branch et al., 1996). This relationship was present in all fetal ages examined in the study.
The authors concluded that these findings are consistent with supernumerary ribs being one
manifestation of a basic alteration in the differentiation of the thoraco-lumbar border of the axial
skeleton. The biological significance of this endpoint is further strengthened by the association of
supernumerary ribs with adverse health effects in humans. The most common effect associated
with the presence of extra cervical ribs is thoracic outlet disease (Nguyen et al., 1997; Fernandez
Noda et al., 1996; Henderson, 1914). Thoracic outlet disease is characterized by numbness
and/or pain in the shoulder, arm, or hands. Vascular effects associated with this syndrome include
cerebral and distal embolism (Bearn et al., 1993; Connell et al., 1980; Short, 1975), while
neurological symptoms include extreme pain, migraine, and symptoms similar to Parkinson’s
disease (Evans, 1999; Saxton et al., 1999; Fernandez Noda et al., 1996). Furthermore,
Schumacher et al. (1992) observed 242 rib anomalies in 218 children with tumors (21.8%) and
11 (5.5%) in children without malignancy, a statistically significant (p < 0.001) difference that
suggests an association between the presence of extra cervical ribs and childhood cancers. In
conclusion, the mouse cervical rib endpoint is biologically significant and potentially relevant to
humans, and thus appropriate for use in the derivation of a human health toxicity value (RfC or
RfD).


                 5.1.1.2.2. Developmental Neurotoxicity

        NEDO (1987) reported reduced brain, pituitary, and thymus weights in F1 and F2
generation Sprague-Dawley rats exposed to 1,000 ppm methanol. In a follow-up study of the F1
generation brain weight effects, NEDO (1987) reported decreased brain, cerebellum, and
cerebrum weights in F1 males exposed to 1,000 ppm methanol from GD0 through the F1
generation. 50 The methanol exposure levels used in these studies are difficult to interpret because
dams were exposed prior to gestation, as well as during gestation and lactation, while pups were
exposed during gestation (in utero) and lactation. However, the results from NEDO (1987)
clearly show that postnatal methanol exposure increases the magnitude of brain weight
reduction. In another experiment by NEDO (1987) referenced in the previous section, rats
exposed to methanol only during organogenesis (GD7-GD17) exhibited decreases in brain
weights in offspring at 8 weeks of age that were less severe than in rat pups in the studies in
which methanol exposure was continued postnatally. This finding is not unexpected, given that
the brain undergoes tremendous growth beginning early in gestation and continuing into the
50
  For the interpretation of the dose-response data, EPA did not rely on the statistics reported by NEDO (1987)
which were based on inappropriate t-test methods but, instead, relied on the results of the benchmark dose analyses
described in Appendix D.


                                                        5-3
    Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 743 of 854




postnatal period. Rats are considered altricial (i.e., born at a relatively underdeveloped stage),
and thus many of their neurogenic events occur postnatally (Clancy et al., 2007). Brain effects
from postnatal exposure are also relevant to humans given that, in humans, gross measures of
brain growth increase for at least 2-3 years after birth, with the growth rate peaking
approximately 4 months after birth (Rice and Barone, 2000).
        Change in brain weight is considered to be a biologically significant effect (U.S. EPA,
1998a). This holds true regardless of whether changes in body weight occur simultaneously
because brain weight is generally conserved even during malnutrition or weight loss, unlike
many other organs or tissues (U.S. EPA, 1998a). Thus, change in absolute brain weight is an
appropriate measure of effects on this critical organ. Decreases in brain weight have been
associated with simultaneous deficits in neurobehavioral and cognitive parameters in animals
exposed during gestation to various solvents, including toluene and ethanol (Gibson et al., 2000;
Coleman et al., 1999; Hass et al., 1995). NEDO (1987) reported that brain, cerebellum, and
cerebrum weights decreased in a dose-dependent manner in male rats exposed to methanol
throughout gestation and the F1 generation. While brain weight reduction has been observed in
adult rats exposed to methanol (TRL, 1986), it has not been observed in other developmental
bioassays of methanol. This lack of consistency across developmental studies may be due to the
fact that brain weight is not an endpoint that has been extensively measured in other
developmental studies of methanol [e.g., Rogers et al. (1993b)].
        Developmental neurobehavioral effects associated with methanol inhalation exposure
have also been investigated in monkeys. Burbacher et al. (2004a; 2004b; 1999a; 1999b) exposed
M. fascicularis monkeys to 0, 200, 600, or 1,800 ppm (0, 262, 786, and 2,359 mg/m3) methanol,
2.5 hours/day, 7 days/week during premating/mating and throughout gestation (approximately
168 days). There appeared to be neurotoxicological deficits in methanol-exposed offspring. VDR
was significantly reduced in the 600 ppm (786 mg/m3) methanol group for males and in the
1,800 ppm (2,359 mg/m3) methanol group for both sexes. However, a dose-response trend for
this endpoint was only exhibited for females. In fact, the VDR response in females is the only
effect reported in the Burbacher et al. (2004a; 2004b; 1999a; 1999b) studies for which a
significant dose-response trend is evident. As discussed in Section 4.4.2, confidence in these
results may have been increased by statistical analyses that adjusted for multiple comparisons
(NTP-CERHR, 2004). However, the dose-response trend for VDR in females remained
significant both with (p = 0.009) and without (p = 0.0265) an adjustment for the shortened
gestational periods. In addition, VDR is a measure of functional deficits in sensorimotor
development that is consistent with other early developmental CNS effects (i.e., brain weight
changes discussed above) that have been observed in rats exposed to methanol.




                                               5-4
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 744 of 854




                      Exhibit 34
          Case     3:17-cv-02162-EMC
          The British Journal of Psychiatry (2018) Document 120-1 Filed 10/18/19 Page 745 of 854
           Page 1 of 6. doi: 10.1192/bjp.2018.287




      Aluminium and fluoride in drinking water
      in relation to later dementia risk
      Tom C. Russ, Lewis O. J. Killin, Jean Hannah, G. David Batty, Ian J. Deary and John M. Starr

      Background                                                            1.09, 95% CI 1.03–1.15, P < 0.001) and men (1.12, 95% CI 1.03–
      Environmental risk factors for dementia are poorly understood.        1.21, P = 0.004). A dose-response pattern of association was
      Aluminium and fluorine in drinking water have been linked with        observed between mean fluoride levels and dementia in women
      dementia but uncertainties remain about this relationship.            (1.34, 95% CI 1.28–1.41, P < 0.001) and men (1.30, 95% CI 1.22–
                                                                            1.39, P < 0.001), with dementia risk more than doubled in the
      Aims                                                                  highest quartile compared with the lowest. There was no stat-
      In the largest longitudinal study in this context, we set out to      istical interaction between aluminium and fluoride levels in
      explore the individual effect of aluminium and fluoride in drinking   relation with dementia.
      water on dementia risk and, as fluorine can increase absorption
      of aluminium, we also examine any synergistic influence on            Conclusions
      dementia.                                                             Higher levels of aluminium and fluoride were related to dementia
                                                                            risk in a population of men and women who consumed relatively
      Method                                                                low drinking-water levels of both.
      We used Cox models to investigate the association between
      mean aluminium and fluoride levels in drinking water at their         Declaration of interest
      residential location (collected 2005–2012 by the Drinking Water       None.
      Quality Regulator for Scotland) with dementia in members of the
      Scottish Mental Survey 1932 cohort who were alive in 2005.
                                                                            Keywords
      Results                                                               Dementia; epidemiology; neuropathology.
      A total of 1972 out of 6990 individuals developed dementia by the
      linkage date in 2012. Dementia risk was raised with increasing        Copyright and usage
      mean aluminium levels in women (hazard ratio per s.d. increase        © The Royal College of Psychiatrists 2019.



Dementia is a major, growing public health problem and, with disap-
                                                                                                           Method
pointing results from treatment-orientated studies, identifying risk
factors for primary prevention is key.1 Whereas genetic risk and life-
style factors are important in the development of dementia, there is        Study sample
evidence that environmental factors may also play a role.2–5 One            This study used data from the Scottish Mental Survey 1932
potentially important environmental risk factor is drinking water           (SMS1932); in this almost all people born in 1921 and at school in
quality. Aluminium can occur naturally in water but is also widely          Scotland in June 1932 took part in a comprehensive national intelli-
used in water treatment, including in Scotland.6,7 Aluminium has a          gence test at a mean age of 11 years, as previously described in
wide variety of neurotoxic effects and there is some evidence support-      detail11; 5.6% of participants did not take part in the test because
ing aluminium influencing β-amyloid oligomerization;8 it has not            they were absent from school but were still recorded in the test
been linked with other health outcomes.7 In terms of epidemiological        ledgers without a test score. The intelligence test was the Moray
evidence, only one longitudinal study has investigated aluminium in         House Test no. 12, from which an IQ score was derived, corrected
drinking water and dementia,9 although a number of cross-sectional          for age in days at the time of testing. Participants have been passively
studies – many small in size – make up a complex literature:4 seven         followed up into later life by anonymised probabilistic record linkage
studies found a positive association between aluminium levels in            to hospital admissions and death certificate data, as described in detail
drinking water and dementia and five found no association or con-           in a previous report.2 Approximately 43% of the 86 250 test partici-
flicting findings. Furthermore, fluorine can increase aluminium             pants (apart from those living in the counties of Angus, Fife and
absorption from drinking water because aluminium fluoride has               Wigtown; SMS1932 ledgers for these locations have been lost) were
greater bioavailability.10 Fluoride occurs naturally in water and is        identified in later life. Dementia cases were identified by any
not added in Scotland.6 High levels of fluoride affects skeletal            mention of ICD-9 codes 290.0–290.4, 290.8, 290.9, 291.1, 291.2,
tissues and possible links with cancer have been identified, but low        294.1, 294.2, 294.8, 294.9, and 331.0–331.912 and ICD-10 codes
levels of intake protect against dental caries.7 Accordingly, the           F00-F05.1, F09, G30, and G3113 recorded on electronic medical
present study aims to explore the association between aluminium             records or death certificates after 2004. A subsample was also identi-
and fluoride levels in drinking water with dementia in a large longi-       fied from primary care records, specifically the Greater Glasgow &
tudinal study in Scotland where such levels are below levels consid-        Clyde Nursing Homes Medical Practice, which exclusively treated
ered acceptable according to guidelines (the mean aluminium level           residents of nursing homes. An individual’s residential location (post-
in Scotland is 37.4 µg/L compared to regulatory limits in Scotland,         code sector) was recorded from the record that first mentioned
which are <200 µg/L; the mean fluoride [F−] level in Scotland is            dementia for those who developed this condition. For those who
53.4 µg/L compared to the World Health Organization fluoride [F]            did not develop dementia, their residential location was recorded
guideline value, which is <1500 µg/L). This is the largest longitudinal     from the first record after the age of 60 years (the earliest possible
study on the topic to date, and the first to explore aluminium and          because of the electronic medical records), which may have been at
fluoride together.                                                          death. We excluded individuals who died before the exposure


                                                                                                                                                        1
Russ et al             Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 746 of 854




             period, which began in 2005. This study received ethical approval          with dementia risk in this cohort.15 We made the decision to
             from the Scotland A Research Ethics Committee (10/S1103/6).                analyse separately by gender, despite preliminary analyses suggesting
             Collecting individual informed consent from participants was not           there was no statistical interaction by gender (P > 0.5), because of evi-
             feasible as this was a retrospective study design.                         dence that the pattern of geographical variation in dementia risk
                                                                                        varies between men and women (Supplementary Fig. 2).2 We con-
             Environmental data                                                         ducted a sensitivity analysis, additionally adjusting the above
             Water quality data were obtained from the Drinking Water Quality           models for SIMD rank. We additionally constructed a joint model
             Regulator for Scotland (DWQR) for the years 2005–2014. The                 investigating for a statistical interaction between aluminium and
             DWQR is responsible for regulating public water supplied by                fluoride. Maps were produced in R, using the ggplot2 package.
             Scottish Water. Prior to the establishment of Scottish Water in
             2002, monitoring water quality was the responsibility of separate
             local authorities. Aluminium and fluoride levels in drinking water                                         Results
             (micrograms per litre) were extracted from the database.
                  Sampling sites were identified by longitude and latitude and          The sample comprised 19 272 men and 18 325 women, but 4408 men
             were widely distributed across Scotland, particularly where the            and 3446 women were missing residential location in later life. Men
             population is more concentrated (Supplementary Fig. 1 available            were overrepresented in those missing residential location (χ1 = 93.8,
             at https://doi.org/10.1192/bjp.2018.287). Of 50 378 aluminium and          P < 0.001) but, although statistically significant because of to the large
             15 808 fluoride sampling sites, the precise location of the site was       sample size, individuals with missing residential location scored only
             missing for 1128 and 556 locations, respectively. These sites              0.9 IQ points lower than those who had location data (P < 0.001).
             were assigned the location from the closest row above in the data-         Given the known effect size of IQ in relation to dementia, a difference
             base. Supplementary Table 1 shows the number of sampling sites             of 0.06 s.d. is unlikely to be important.15 A further 9536 men and 7984
             for aluminium and fluoride in each year (2005–2012) and sum-               women died before the monitoring period began in 2005, and 2600
             marises the levels of these substances in drinking water in Scotland.      men and 2633 women were missing childhood IQ. This resulted in
                  We used the idw() function from the gstat package for R for           an analytic sample of 2728 men and 4262 women alive in 2005, of
             Windows, version 3.4.3, to interpolate values for aluminium and            whom 622 men and 1350 women were identified as having subse-
             fluoride, using inverse distance weighting across a spatial grid with      quently developed dementia. All participants were approximately
             spacing of 0.1 degrees of longitude or latitude for each year separ-       84 years old at the start of the exposure period and were followed
             ately. This allowed us to estimate values for areas where no measure-      up for a mean of 2.7 (s.d. 2.1, range 0–7) years.
             ments had been made. The mean values for each grid area within                  Levels of aluminium and fluoride in drinking water derived
             every postcode sector in Scotland were then calculated (again for          from DWQR data are shown in Supplementary Table 1 and
             each year separately), which were assigned to each individual              Fig. 1. Mean aluminium levels in drinking water in participants
             based on their residential location. We used each individual’s age         were 37.4 µg/L (s.d. 10.0, range 10.5–92.8) and mean fluoride
             to create dummy variables indicating whether they were alive for           levels were 53.4 µg/L (s.d. 16.0, range 23.8–181.1).
             any of each of the years from 2005 to 2012. These dummy variables               Table 1 and Fig. 2 show the results of the Cox proportional hazards
             were then used to calculate a ‘personal’ mean value for aluminium          models. Higher mean aluminium levels in drinking water were asso-
             and fluoride, using only data from the years in which the individual       ciated with an increased risk of dementia in women (adjusted hazard
             was alive to be exposed. For example, an individual who died at 88         ratio per s.d. increase 1.09, 95% CI 1.03–1.15, P < 0.001) and men
             years of age would have been alive in the years 2005–2009 inclusive;       (adjusted hazard ratio per s.d. increase 1.12, 95% CI 1.03–1.21, P =
             data from 2010–2012 would be ignored for this person. These ‘per-          0.004). Dementia risk was increased in all quartiles compared with
             sonal’ mean values were standardised and centred on zero such that a       the lowest, but Fig. 2 suggests no dose-response pattern of association.
             unit increase indicated 1 s.d. increase in the original scale (10.0 µg/L   Higher mean fluoride levels in drinking water were associated with
             for aluminium and 16.0 mg/L for fluoride). We also calculated quar-        an increased risk of dementia in women (adjusted hazard ratio per
             tiles of aluminium and fluoride values to allow us to examine the          s.d. increase 1.34, 95% CI 1.28–1.41, P < 0.001) and men (adjusted
             shape of any association identified.                                       hazard ratio per s.d. increase 1.30, 95% CI 1.22–1.39, P < 0.001) in a
                                                                                        stepwise pattern. Dementia risk was more than doubled in this
             Socioeconomic data                                                         highest fluoride quartile compared with the lowest. Similar to our pre-
                                                                                        vious report linking early-life cognition with dementia, the alumin-
             To account for socioeconomic position, we obtained Scottish Index          ium-adjusted hazard ratio of dementia per one s.d. decrease in IQ at
             of Multiple Deprivation (SIMD), which provides a relative measure          age 11 years was 1.10 (95% CI 1.04–1.16) in women and 1.00 (95%
             of deprivation by small area (datazone, of which there are 6505 in         CI 0.92–1.08) in men.16 Living in the most deprived 15% of areas
             Scotland in the 2012 data we used) and incorporates the following          (in late-middle age or later life) was not associated with an increased
             domains: employment; income; health; education, skills and train-          risk of dementia compared with the least deprived 85% in women (alu-
             ing; geographic access to services; crime; and housing.14 Each indi-       minium-adjusted hazard ratio 0.99, 95% CI 0.86–1.14, P = 0.89) or
             vidual was assigned a rank based on the data-zone in which they            men (aluminium-adjusted hazard ratio 0.93, 95% CI 0.75–1.16, P =
             lived, either at the time dementia was first mentioned or the first        0.53). Adjusting for SIMD rank in addition to IQ at age 11 years did
             record after the age of 60 years.                                          not alter our conclusions (Supplementary Table 2). There was no stat-
                                                                                        istical interaction between aluminium and fluoride levels when both
             Statistical modelling                                                      were included in a model together.
             After confirming that the proportional hazards assumption was valid
             using the cox.zph() function from the survival package in R (all P >
             0.1), we constructed Cox proportional hazards models for the associ-                                    Discussion
             ation between aluminium and fluoride levels in drinking water with
             dementia in men and women separately. Age in years over the age            We observed an association between the mean levels of aluminium
             of 84 years was the timescale and all models were additionally             and fluoride in drinking water and risk of dementia in women and
             adjusted for IQ at age 11 years because this has also been linked          men, but found no evidence for an interaction between the two. The


2
         Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Aluminium
                                                               Page 747        of 854
                                                                        and fluoride in relation to dementia risk




                  Aluminium drinking water (mg/L)                                        Fluoride in drinking water (mg/L)

                   20    30    40   50    60    70                                         50        100        150




  Fig. 1 Maps indicating mean levels of aluminium (left) and fluoride (right) in drinking water in Scotland, 2005–2012. Lower panel shows an
  enlarged view of the Central Belt of Scotland including Glasgow and Edinburgh.



pattern of association was different with evidence of a dose-response    the whole, the positive relationship between aluminium in drinking-
association for fluoride in women and men, but a flatter association     water and Alzheimer’s disease, which was demonstrated in several
of raised risk in all quartiles compared with the lowest quartile of     epidemiological studies, cannot be totally dismissed’ (p. 312).7
aluminium concentrations. Further adjusting for area-level depriv-       This report highlighted confounding and aluminium intake from
ation did not affect our results.                                        other sources (aluminium from drinking water is only about 5%
                                                                         of total intake) as being important factors not frequently dealt
                                                                         with in the literature. We recently reviewed the literature on envir-
Comparison with the literature                                           onmental risk factors for dementia, including aluminium in a
The link between aluminium and dementia has a long and contro-           variety of forms.4 This review identified one cohort study and 12
versial history. The World Health Organization has stated that ‘[o]n     cross-sectional analyses investigating the relationship between


                                                                                                                                                 3
Russ et al                                                   Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 748 of 854




                          Table 1 Adjusted hazard ratios and accompanying 95% confidence intervals for the association between mean aluminium and fluoride levels in drinking
                          water and dementia in men and women

                                                                                                                Hazard ratiob (95% CI)                                                                       Hazard ratiob (95% CI)          Ptrend
                                                                    Na     Dementia N   Q1 (low)          Q2                                                            Q3                   Q4 (high)         per s.d. increase

                              Aluminium
                                 Women                             4262         1350     1 (ref.)   1.37 (1.17–1.60)           1.30 (1.11–1.51)                                           1.41 (1.20–1.64)      1.09 (1.03–1.15)            <0.001
                                 Men                               2728          622     1 (ref.)   1.28 (1.01–1.61)           1.25 (0.99–1.57)                                           1.48 (1.18–1.85)      1.12 (1.03–1.21)             0.004
                              Fluoride
                                 Women                             4262         1350     1 (ref.)   0.92 (0.79–1.07)           1.15 (0.99–1.34)                                           2.32 (2.01–2.68)      1.34 (1.28–1.41)            <0.001
                                 Men                               2728          622     1 (ref.)   1.05 (0.84–1.32)           1.49 (1.19–1.86)                                           2.65 (2.14–3.29)      1.30 (1.22–1.39)            <0.001
                          Cut-off points for aluminium quartiles (Q) were 30.8, 35.5 and 41.1 µg/L. Cut-off points for fluoride quartiles were 44.4, 48.7 and 56.3 µg/L.
                          a. Scottish Mental Survey 1932 participants who survived to 2005 (the start of the exposure period).
                          b. Hazard ratio adjusted for age 11 mental ability.



                                                             Aluminium (women)                                                                                               Aluminium (men)

                                                       2.0                                                                                                          2.0
              Hazard ratio (95% confidence interval)




                                                                                                                           Hazard ratio (95% confidence interval)
                                                       1.5                                                                                                          1.5




                                                       1.0                                                                                                          1.0




                                                       0.5                                                                                                          0.5




                                                       0.0                                                                                                          0.0

                                                                   Q1            Q2        Q3            Q4                                                                         Q1                Q2           Q3                Q4
                                                                 (low)                                 (high)                                                                     (low)                                            (high)

                                                             Fluoride (women)                                                                                                Fluoride (men)




                                                       3                                                                                                            3
              Hazard ratio (95% confidence interval)




                                                                                                                           Hazard ratio (95% confidence interval)




                                                       2                                                                                                            2




                                                       1                                                                                                            1




                                                       0                                                                                                            0

                                                                  Q1            Q2        Q3             Q4                                                                       Q1                 Q2            Q3                Q4
                                                                (low)                                  (high)                                                                   (low)                                              (high)


                        Fig. 2 IQ-adjusted hazard ratios and accompanying 95% confidence intervals for the association between mean aluminium and fluoride levels
                        in drinking water and dementia in men and women. Q, quartile.



             aluminium in drinking water and dementia. The only study                                                       day doubled an individual’s risk of dementia (n = 461) and tripled
             assigned a high quality rating (1925 participants) found that con-                                             their risk of Alzheimer’s disease (n = 364).9 With 6990 participants,
             sumption of aluminium in drinking water in excess of 0.1 mg per                                                of whom 1972 developed dementia, our study is substantially larger.


4
          Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Aluminium
                                                                Page 749        of 854
                                                                         and fluoride in relation to dementia risk




The remaining studies (all cross-sectional) showed varying results         with Lewy bodies, etc.) because so many records use generic demen-
(seven positive, five no effect), but a trend was noted that larger        tia codes rather than disease-specific ones.
studies were more likely to observe a positive association between              Third, water data were only available for the period 2005–2012.
aluminium levels and dementia risk. The four studies identified in         Thus, the sample who had survived to the start of the exposure
the review that examined occupational exposure to aluminium                period was substantially reduced from baseline. The sample sites
were generally small and gave mixed results. Accidental contamin-          were distributed widely across Scotland (Supplementary Fig. 1)
ation of drinking water with aluminium sulphate caused cerebral            and the number of sites was approximately constant each year
dysfunction which adds weight to the possibility that lower levels         (Supplementary Table 1). The spatial interpolation used to estimate
of aluminium may carry a health risk.17                                    values for areas where no measurement occurred introduces uncer-
     Only one study was identified which investigated the association      tainty but, in fact, few participants would live far from a sampling
between fluoride and dementia.18 This cross-sectional US study             site because samples were coterminous with areas of population
linked annual county-level incidence of dementia (calculated from          density. Related to this exposure period is that we know nothing of
160 hospital case records) to fluoride concentrations in public            the participants’ exposure to drinking water before 2005, i.e. for the
water supplies. In contrast to the direction of our findings, the          first 84 years of their lives. It seems reasonable to assume a low
county with the highest levels of fluoride in drinking water (4.18         level of exposure to aluminium and fluoride during this period, but
mg/L) had the lowest annual incidence of dementia.                         we cannot provide further justification for this assumption. Given
     The levels of both aluminium and fluoride measured in Scotland        that neurodegeneration starts decades before the clinical onset of
are relatively low compared to the guidelines set by the World Health      dementia symptoms, it may be exposure many years before dementia
Organization. Therefore, the fact that we nevertheless observed a          diagnosis that is important, but we have no information about this.
dose-response association between aluminium and fluoride levels in              Fourth, levels of aluminium and fluoride in drinking water vary
drinking water and dementia risk that was not explained by child-          substantially over the exposure period (Supplementary Table 1 and
hood IQ or area-level deprivation is particularly interesting. This sug-   Supplementary Fig. 3). Aluminium levels show a general decline
gests that there may be no safe levels of these substances when it         over the whole period. Indeed, this fact, combined with our findings,
comes to dementia risk.                                                    might suggest that a decline in levels of aluminium in drinking water
     The mechanisms of aluminium-related neurotoxicity are mul-            could be a further partial explanation for the decrease in dementia
tiple and complex, but oxidative stress has been highlighted as            rates observed in Europe and North America.24 Fluoride levels are
being of particular importance.19                                          higher at the start and end of the exposure period; the mean value
                                                                           represents a cumulative exposure but the variability of measure-
                                                                           ments over time highlights a limitation of the present analyses.
                                                                           Within postcode sectors, there was similar variation. The within-
Limitations and strengths of the study                                     area correlation between 2005 and 2012 values is r = 0.49 (P <
There are a number of limitations to this study that must be borne in      0.001) for aluminium and r = 0.012 (P < 0.001) for fluoride. In add-
mind, several of which have been discussed previously.2,15 First, the      ition, participants were only located at one point in time and it was
linkage to electronic medical and mortality records was incomplete         assumed that they did not move during the study period, which may
because of emigration, death before the start of the electronic            not be valid. However, our study was longitudinal in design, which
records, and the probabilistic methodology used; less than half of         is more robust than a cross-sectional study, particularly when con-
the original 87 498 participants in the SMS1932 were identified in         sidering Bradford Hill’s temporality criterion when considering
later life (43%). However, this compares favourably with the response      whether the observed association might be causal.25
in similar studies, for example 56% in Cognitive Function and Ageing            Finally, a criticism of much of the literature in this area is a lack
Study-II.20 Comparing IQ scores – the only baseline data available –       of consideration of confounding. There were very few data recorded
in those who were traced and those who were not revealed only trivial      at baseline in the SMS1932. We adjusted for childhood IQ because
differences.                                                               this has previously been linked with dementia.15,26–28 Furthermore,
     Second, the dementia outcome is open to criticism. It was not         higher fluoride concentrations in water have been linked with lower
feasible to follow up thousands of participants across the whole of        childhood intelligence in multiple studies.29 We were additionally
Scotland and so ‘passive’ anonymised follow-up by record linkage           able to adjust models for SIMD to take into account relative depriv-
was used. However, this relies on the accuracy and completeness            ation, albeit at an area level. On the other hand, the fact that this is a
of the records used and we have examined these in these Scottish           narrow age cohort (all born in 1921) means that the sample will be
data. The mortality data alone missed approximately 28% of                 more homogenous than a broader-aged sample. For example, there
people with a robust diagnosis of dementia from a tertiary-referral        will be no cohort effects complicating our findings.
memory clinic21 and the hospital admission data missed about
46% of people with a robust dementia diagnosis agreed by con-
sensus.22 In the former study, there were also no differences in           Implications
area-level deprivation or premorbid IQ (estimated by the National          Aluminium is widely used in water treatment to reduce organic
Adult Reading Test) at baseline between people who had dementia            matter and to improve other water parameters and is also influenced
correctly recorded and those who did not (unpublished results avail-       by water acidity.7 Low fluoride levels in drinking water are beneficial
able from the author on request), suggesting that there was no bias        for teeth but high levels are harmful.7 Thus, both these substances
in reporting related to socioeconomic position or intelligence.            are widely present in drinking water, albeit at levels considered
Combining multiple sources, as in this study, will reduce the              acceptable. However, our findings suggest that even these relatively
chance of missing individuals.2 Furthermore, when examining asso-          low levels of aluminium and fluoride are associated with deleterious
ciations between putative risk factors and outcomes, missing some          effects on dementia risk, which should be weighed against their
cases should not alter an observed association, and indeed, this is        beneficial uses. We must be circumspect in the conclusions we
the approach to follow-up being taken by the UK Biobank study              draw from this study, not least because only limited account
(N = 500 000).23 However, this methodology does not easily allow           could be taken of potential confounders. However, this is clearly
disaggregation of dementia into the individual diseases that cause         an area which deserves further investigation, given the substantial
this syndrome (Alzheimer’s dementia, vascular dementia, dementia           and growing global public health impact of dementia.


                                                                                                                                                        5
Russ et al                Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 750 of 854




                                                                                                             8 Kawahara M, Kato-Negishi M. Link between aluminum and the pathogenesis of
               Tom C. Russ, PhD, MRCPsych          , Co-Director, Alzheimer Scotland Dementia Research         Alzheimer’s disease: the integration of the aluminum and amyloid cascade
               Centre, University of Edinburgh; Member, Centre for Cognitive Ageing and Cognitive              hypotheses. Int J Alzheimer’s Dis 2011; 2011: 276393.
               Epidemiology, University of Edinburgh; Honorary Clinical Senior Lecturer, Centre for
               Dementia Prevention, University of Edinburgh; Honorary Clinical Senior Lecturer, Division     9 Rondeau V, Jacqmin-Gadda H, Commenges D, Helmer C, Dartigues J-F.
               of Psychiatry, Centre for Clinical Brain Sciences, University of Edinburgh; and Principal       Aluminum and silica in drinking water and the risk of Alzheimer’s disease or
               Investigator, Scottish Neuroprogressive and Dementia Network, NHS Scotland, UK;                 cognitive decline: findings from 15-year follow-up of the PAQUID cohort. Am J
               Lewis O. J. Killin, PhD, Scottish Dementia Informatics Platform Project Manager, Centre         Epidemiol 2008; 169(4): 489–96.
               for Dementia Prevention, University of Edinburgh; and Clinical Studies Officer, Scottish
               Neuroprogressive and Dementia Network, NHS Scotland, UK; Jean Hannah, MSc,                   10 Lubkowska A, Zyluk B, Chlubeka D. Interactions between fluorine and alumi-
               DRCOG, FRCGP, University of Stirling, UK; G. David Batty, DSc        , Member, Alzheimer        num. Fluoride 2002; 35(2): 73–7.
               Scotland Dementia Research Centre, University of Edinburgh; Member, Centre for               11 Deary IJ, Whalley LJ, Starr JM. A Lifetime of Intelligence: Follow-Up Studies of
               Cognitive Ageing and Cognitive Epidemiology, University of Edinburgh; and Professor of
                                                                                                               the Scottish Mental Surveys of 1932 and 1947. American Psychological
               Epidemiology, Department of Epidemiology and Public Health, University College London,
                                                                                                               Association, 2009.
               UK; Ian J. Deary, PhD, Director, Centre for Cognitive Ageing and Cognitive Epidemiology,
               University of Edinburgh, UK; John M. Starr, PhD, FRCPEd, Director, Alzheimer Scotland        12 World Health Organization. Manual of the International Classification of
               Dementia Research Centre, University of Edinburgh; and Co-Director, Centre for                  Diseases, Injuries, and Causes of Death, Ninth Revision (ICD-9). WHO, 1977.
               Cognitive Ageing and Cognitive Epidemiology, University of Edinburgh, UK
                                                                                                            13 World Health Organization. The ICD-10 Classification of Mental and Behavioural
               Correspondence: Dr Tom Russ, Alzheimer Scotland Dementia Research Centre,                       Disorders: Clinical Descriptions and Diagnostic Guidelines. WHO, 1992.
               University of Edinburgh, 7 George Square, Edinburgh EH8 9JZ, Scotland.
                                                                                                            14 SIMD. 2012 Technical Notes. Scottish Government, 2012 (https://www2.gov.
               Email: T.C.Russ@ed.ac.uk
                                                                                                               scot/Resource/0050/00504822.pdf).
               First received 12 Jul 2018, final revision 7 Nov 2018, accepted 22 Nov 2018                  15 Doubal FN, Ali M, Batty GD, Charidimou A, Eriksdotter M, Hofmann-Apitius M,
                                                                                                               et al. Big data and data repurposing - using existing data to answer new
                                                                                                               questions in vascular dementia research. BMC Neurol 2017; 17(1): 72.
                                                                                                            16 Russ TC, Hannah J, Batty GD, Booth CC, Deary IJ, Starr JM. Childhood cognitive
                                                                                                               ability and incident dementia: the 1932 Scottish Mental Survey Cohort into their
                                                                                                               10th Decade. Epidemiology 2017; 28(3): 361–4.
                                       Supplementary material                                               17 Altmann P, Cunningham J, Dhanesha U, Ballard M, Thompson J, Marsh F.
             Supplementary material is available online at https://doi.org/10.1192/bjp.2018.287.               Disturbance of cerebral function in people exposed to drinking water con-
                                                                                                               taminated with aluminium sulphate: retrospective study of the Camelford
                                                                                                               water incident. BMJ 1999; 319(7213): 807–11.
                                                                                                            18 Still CN, Kelley P. On the incidence of primary degenerative dementia vs. water
                                                     Funding                                                   fluoride content in South Carolina. Neurotoxicology 1980; 1(4): 125–31.
             This work was supported by Alzheimer Scotland through the Marjorie MacBeath bequest,           19 Verstraeten SV, Aimo L, Oteiza PI. Aluminium and lead: molecular mechanisms
             which funded T.C.R.’s salary for 1 year from 2015–2016.                                           of brain toxicity. Arch Toxicol 2008; 82(11): 789–802.
                                                                                                            20 Matthews FE, Arthur A, Barnes LE, Bond J, Jagger C, Robinson L, et al. A two-
                                                                                                               decade comparison of prevalence of dementia in individuals aged 65 years and
                                           Acknowledgements                                                    older from three geographical areas of England: results of the Cognitive
                                                                                                               Function and Ageing Study I and II. Lancet 2013; 382(9902): 1405–12.
             We are grateful to David Grzybowski at the Drinking Water Quality Regulator for Scotland for
                                                                                                            21 Russ TC, Batty GD, Starr JM. Cognitive and behavioural predictors of survival in
             providing the water data. Syntax to produce the maps in R was adapted from that posted on
             Timo Grossenbacher’s website (https://timogrossenbacher.ch/).
                                                                                                               Alzheimer disease: results from a sample of treated patients in a tertiary-
                                                                                                               referral memory clinic. Int J Geriatr Psychiatry 2012; 27(8): 844–53.
                                                                                                            22 Russ TC, Parra MA, Lim AE, Law E, Connelly PJ, Starr JM. Prediction of general
                                                                                                               hospital admission in people with dementia: cohort study. Br J Psychiatry 2015;
                                                  References                                                   206(2): 153–9.
                                                                                                            23 Sudlow C, Gallacher J, Allen N, Beral V, Burton P, Danesh J, et al. UK biobank: an
                                                                                                               open access resource for identifying the causes of a wide range of complex
               1 Livingston G, Sommerlad A, Orgeta V, Costafreda SG, Huntley J, Ames D,
                                                                                                               diseases of middle and old age. PLoS Med 2015; 12(3): e1001779.
                 et al. Dementia prevention, intervention, and care. Lancet; 390(10113):
                 2673–734.                                                                                  24 Wu Y-T, Fratiglioni L, Matthews FE, Lobo A, Breteler MM, Skoog I, et al.
                                                                                                               Dementia in western Europe: epidemiological evidence and implications for
               2 Russ TC, Gatz M, Pedersen NL, Hannah J, Wyper G, Batty GD, et al. Geographical
                                                                                                               policy making. Lancet Neurol 2016; 15(1): 116–24.
                 variation in dementia: examining the role of environmental factors in Sweden
                 and Scotland. Epidemiology 2015; 26(2): 263–70.                                            25 Bradford Hill A. The environment and disease: association or causation? Proc R
                                                                                                               Soc Med 1965; 58: 295–300.
               3 Mokry LE, Ross S, Morris JA, Manousaki D, Forgetta V, Richards JB. Genetically
                 decreased vitamin D and risk of Alzheimer disease. Neurology 2016; 87(24):                 26 Calvin CM, Batty GD, Der G, Brett CE, Taylor A, Pattie A, et al. Childhood intel-
                 2567–74.                                                                                      ligence in relation to major causes of death in 68 year follow-up: prospective
                                                                                                               population study. BMJ 2017; 357: j2708.
               4 Killin LO, Starr JM, Shiue IJ, Russ TC. Environmental risk factors for dementia: a
                 systematic review. BMC Geriatr 2016; 16(1): 175.                                           27 McGurn B, Deary IJ, Starr JM. Childhood cognitive ability and risk of late-onset
                                                                                                               Alzheimer and vascular dementia. Neurology 2008; 71(14): 1051–6.
               5 Cacciottolo M, Wang X, Driscoll I, Woodward N, Saffari A, Reyes J, et al.
                 Particulate air pollutants, APOE alleles and their contributions to cognitive              28 Whalley LJ, Starr JM, Athawes R, Hunter D, Pattie A, Deary IJ. Childhood mental
                 impairment in older women and to amyloidogenesis in experimental models.                      ability and dementia. Neurology 2000; 55(10): 1455–9.
                 Transl Psychiatry 2017; 7: e1022.                                                          29 Duan Q, Jiao J, Chen X, Wang X. Association between water fluoride and the
               6 Scottish Water. Your Water Quality Explained. Scottish Water, 2015                            level of children’s intelligence: a dose–response meta-analysis. Public Health
                 (https://www.scottishwater.co.uk/assets/domestic/files/you%20and%20your                       2018; 154: 87–97.
                 %20home/water%20quality/swyourwaterquality2015.pdf).
               7 World Health Organization. Guidelines for Drinking-Water Quality (4th edn).
                 World Health Organization, 2011.




6
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 751 of 854




                      Exhibit 35
      Q,%D ^ V ^ N
Case 3:17-cv-02162-EMC   ^ ^ ' .120-1
                       Document  ^ VFiled
                                      l^*    * , 15
                                          10/18/19  -1 752 of 85
                                                   Page
                      8
         ^ s S T          }    HOUSE OF REPRESENTATIVES         {   ^ t o ^ m




                    TOXIC SUBSTANCES CONTROL ACT



                                     REPORT
                                         BY T H E

                    COMMITTEE ON INTERSTATE AND
                         FOREIGN COMMERCE
                                      together with
                    SUPPLEMENTAL AND MINORITY VIEWS
            (Including cost estimate of the Congressional Budget Office)
                               [To accompany H.R. 14032]




             JULY 14, 1976.—Committed to the Committee of the Whole House
                  on the State of the Union and ordered to be printed

                              U.S. GOVERNMENT PRINTING OFFICE
           74-031                    WASHINGTON : 1976




                                              393
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 753 of 854
          9 4 T H CONGRESS )    HOUSE OF EEPEESENTATIVES              i      REPORT
             2d Session    J                                          ( No. 94-1341




                      TOXIC SUBSTANCES CONTROL ACT


                               JULY 14, 1976.—Ordered to be printed


              Mr. STAGGERS, from the Committee on Interstate and Foreign
                         Commerce, submitted the following

                                          REPORT
                                         together with

                   SUPPLEMENTAL AND MINORITY V I E W S

              (Including cost estimate of the Congressional Budget Office)
                                    [To accompany H.E. 14032 j

             The Committee on Interstate and Foreign Commerce, to whom was
          referred the bill (H.R. 14032) to regulate commerce and protect
          health and the environment by requiring testing and necessary restric-
          tions on certain chemical substances and mixtures, and for other pur-
          poses, having considered the same, report favorably thereon with an
          amendment and recommend that the bill as amended do pass.
             The amendment strikes out all after the enacting clause of the bill
          and inserts a new text which appears in italic type in the reported
          bill.
                                 PURPOSE OF THE LEGISLATION
      I

             The Committee bill takes a major step forward in providing urgently
          needed authority to protect health and the environment from danger-
          ous chemicals. I t accomplishes this in a number of ways. F o r example,
          through its testing and premarket notification provisions, the bill pro-
          vides for the evaluation of the hazard-causing potential of new chem-
          icals before commercial production begins. Thus, in addition to the
          authority to take action against a chemically-caused harm after its oc-
          currence, there will be authority to prevent such harm from occurring.
          Further, manufacturers and processors of potentially hazardous chem-
          icals already on the market may be required to test them to determine
          their effects on health and the environment, and action can be taken
          against chemicals discovered to be unreasonably hazardous. I n addi-
          tion, the bill provides for the collection of information regarding
          commercially produced chemicals so that the total exposure to a chemi-
                                               (1)



                                           395
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 754 of 854
                                         2
      cal and its total effect on health and the environment can be monitored
      and evaluated.
                                 B R I E F SUMMARY

        Briefly, the bill will—
          —Require manufacturers and processors of potentially harmful
          chemical substances and mixtures to test the substances or mix-
          tures, as required by rules issued by the Administrator of the
          Environmental Protection Agency, so that their effect on health
          and the environment may be evaluated.
          —Eequire manufacturers of new chemical substances and manu-
          facturers and processors of existing chemical substances for sig-
          nificant new uses to notify the Administrator ninety days in ad-
          vance of commercial production.
          —Authorize delays or restrictions on the manufacture of a new
          chemical substance if there is inadequate information to evaluate
          the health or environmental effects of the substance and if in the
          absence of such information, the substance may cause or signifi-
          cantly contribute to an unreasonable risk to health or the
          environment.
          —Authorize the Administrator to adopt rules to prohibit the
          manufacture, processing, or distribution of a chemical substance
          or mixture, to require labeling, or to regulate the manner of dis-
          posal of a chemical substance or mixture for which there is a rea-
          sonable basis to conclude that it causes or significantly contributes
          to an unreasonable risk to health or environment.
          —Authorize the Administrator to obtain injunctive relief from a
          United States district court to protect the public and the environ-
          ment from an imminently hazardous chemical substance or
          mixture.
          —Authorize the Administrator to require manufacturers and
          processors to submit reports and maintain records respecting their
          commercially produced chemical substances and mixtures, to
          maintain records respecting adverse health or environmental
          effects of such substances and mixtures, and to provide available
          health and safety data on them.
          —Require manufacturers and processors of chemical substances
          and mixtures to immediately notify the Administrator of in-
          formation indicating that one of their substances or mixtures
          causes or contributes to a substantial risk to health or environ-
          ment.
          —Permit administrative inspections to enforce the bill and au-
          thorize court actions for seizures of chemical substances and mix-
          tures which have been manufactured or distributed in violation
          of the requirements of the bill or of rules and orders promulgated
          under it.
          —Permit citizens to bring suits to obtain compliance with the
          bill.
          —Permit Federal district courts to order the Administrator to
          initiate rulemaking proceedings in response to citizen petitions.
          —Set up procedural mechanisms to insure that all interested per-
          sons have an opportunity to participate in the agency rulemaking
          proceedings.




                                                 396
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 755 of 85
                                                      3
                —Provide protection for employees who cooperate in the en-
                forcement of the bill.
                —Provide for evaluation on a continuing basis of the effects on
                employment of actions taken under the bill.

                                    BASIS FOR THE LEGISLATION

            Chemicals have become a pervasive and enduring part of our en-
         vironment. They are in our air, our water, and our soil. They are used
         in our manufacturing processes, and they are essential components for
         consumer and industrial goods. Production and use of chemicals have
         surged in the recent past. F o r example, in the past ten years, the pro-
         duction of synthetic organic chemicals has expanded by 233 percent, 1
         and over 9,000 synthetic chemical compounds are eacn now in com-
         mercial use annually in amounts in excess of 1,000 pounds each. 2 I n
         1973, production of the top 50 chemicals alone totaled 410 billion
         pounds. 3 Society reaps enormous benefits from chemicals. However, it
         is generally accepted that as the number of chemicals in commercial use
         is greatly increased, the risk of producing chemicals that can cause
         grave and irreversible environmental damage or health problems is
         also increased.
            This vast volume of chemicals have, for the most part, been re-
         leased into the environment with little or no knowledge of their long-
         term health or environmental effects. As a result, chemicals currently
         in commercial and household use are now being found to cause or
         contribute to health or environmental hazards unknown at the time
         commercial use of the chemical began. For example, vinyl chloride
         was the 23rd most produced chemical when it was discovered to cause
         cancer, and the chemical has now been implicated as causing birth de-
         fects as well.4 Asbestos, widely used in items ranging from talcum
         powder to brake linings to wallboard, is now known to cause cancer
         and other debilitating illnesses. However, such effects were not dis-
         covered until hundreds of workers had developed a rare form of
         lung cancer as a result of exposure to the substance. 5 Polychlori-
         nated biphenyls (PCBs) had been used for forty years and approxi-
         mately 390,000 tons had been released into the environment before
         they were recognized as an enduring environmental poison. 6 Unfortu-
      .+ nately, such recognition came too late to prevent contamination of such
         major water systems as the Great Lakes and the Hudson Eiver.
            As the preceding examples indicate, it is often many years after
       v exposure to a harmful chemical before the effects of its harm become
         visible. By that time it may be too late to reverse those effects. As
         indicated, hundreds of people may have been exposed to a carcinogen
         or an entire river system may have been polluted.
            The experience "with chemicals over the past few years has con-
         tributed to a growing realization that many of the major health prob-
            1
               Sixth Annual Report, Council on Environmental Policy, p. 23 (1975).
            3-Toxic    Substances, Council on Environmental Quality, p. 3 (1975).
               Activities of Federal Agencies Concerning Selected High Volume Chemicals, U.S. Envi-
          ronmental Protection Atrency. EPA-S60-4-7o~001, o. il (1975).
             * Infante. Peter F.. "Oncogenic and Mutagenic Risks in Communities with Polyvinyl
          Chloride
             5
                      Product Facilities," 271 New York Academy of Science Annals, pp. 49-57 (1976).
               Sellcoff. I. J.. "Asbestos Criteria Document Highlights," American Society o£ Safety
          Engineers
             6
                       Journal, p. 26 (March, 1974).
               "Effects of Chronic Exposure to Low-Level Pollutants In the Environment," Congres-
          sional Research Service, p. 2 (1975).
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 756 of 85
                                                   4
      lems are caused by environmental factors. F o r example, approxi-
      mately 60 to 90 per cent of all cancer is believed to be environmentally
      caused. 1 The National Foundation for the March of Dimes estimates
      that about 20% of all birth defects as caused by environmental in-
      fluences, including chemicals, on the unborn child, and another 60% of
      birth defects are believed to be due to a combination of environmental
      and hereditary factors. 2
         Because diseases caused by environmental factors such as chemicals
      are often not susceptible to direct medical cure, there is an urgent need
      to prevent such chemically caused harm. The Department of Health,
      Education, and Welfare's Forward Health Plan stresses such preven-
      tion, stating:
              I n recent years, it has become clear that only by preventing
           disease from occurring, rather than treating it late, can we
            hope to achieve any major improvement in the nation's
           health . . . [Heart disease, cancer, and stroke] are caused by
           factors (e.g., the environment and individual behavior) that
           are not susceptible to direct medical solution.
              . . . I t is therefore, a basic premise of the prevention
           strategy that much greater attention and resources must be
           directed at preventing the underlying causes of disease rather
           than at the disease itself—at controlling cigarette smoking,
           alcohol abuse, and exposures to toxic chemicals in the environ-
           ment than at the diseases which they cause.3
         Similarly, the environmental harm caused by chemicals, like health
      effects, may be irreversible, and prevention of such harm is also
      urgently needed.                                       > ;
         Toxic Substances, a 1971 report by the Council on Environmental
      Quality, reviewed the problems presented by toxic chemicals and con-
      cluded that present authorities for protecting against hazardous
      chemicals are fragmented and inadequate. According to the report,
      authority is needed to require testing of chemicals to determine their
      health and environmental effects, to impose use and distribution re-
      strictions on chemicals where necessary to protect the public health
      and environment, and to collect information on chemicals and estab-
      lish a system for classifying and using such information.
         The recommendations of the report provided the original basis for
      the toxic substances control legislation. However, subsequent events
      have dramatically illustrated the urgent need for the legislation. F o r
      example, a major epidemiological study by the National Cancer Insti-
      tute indicates that industrial chemical use and activity have produced
         1
           "Sixth Annual Report," Council on Environmental Quality, p. 17 (1975). Chemieals
      are not, of course, the only environmental factors linked to cancer. Others include the large
      component of lung cancer attributable to cigarette smoking and natural agents such as
      solar radiation.
         The costs to society from cancer are tremendous. The American Cancer Society esti-
      mates that 25 percent pt the 213 million people now living in the United States will ulti-
      mately develop some form of cancer. "Cancer Facts and Figures." American Cancer
      Society, p. 3 (1975). Cancer killed an estimated 364,000 Americans in 1975. Ibid.
         The economic costs of cancer are staggering. An estimated $3 billion is spent annually
      for hospital care, physician fees, nurses, drugs and other treatment. If the direct and in-
      direct costs (e.g., loss of nroductivity, earning power) are added, the annual costs of
      cancer
         2
              jump to $15 billion. Id. at 31.
         3 "Effects of Chronic Exposure to Low-Level Pollutants in the Environment, p. 135.
           "Forward Plan for Health;" fiscal years 1977-81, U.S. Department of Health, Educa-
      tion, and Welfare, Public Health Service, pp. 12, 13, 15, 16, 17 (June 1975).




                                                   ^ 398
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 757 of 85
                                                  5
         striking geographic concentrations of cancer deaths. 1 An unusually
         high rate of lung cancer among workers in a plant where bis chloro-
         methyl ether ( B C M E ) was produced as a by-product of a manufactur-
         ing process has led to the conclusion that B C M E is a highly potent car-
         cinogen. B C M E may form spontaneously in ordinary humid air
         whenever formaldehyde and hydrochloric acid are present together.
         These two chemicals are widely used in processes such as the treat-
         ment of permanent press fabrics, in the manufacture of water repel-
         lants, and in the manufacture of ion exchange resins and dispersing
         agents. Further, tris 2, 3-dibromopropyl phosphate, a fire retardant
         widely used in such items as children's pajamas, has been shown to
         have mutagenic effects in microbial systems. And there are, unfortu-
         nately, numerous other examples of harm resulting from the indus-
         trial uses of chemicals.
            Because of the lack of testing by manufacturers and processors of
         chemicals to determine their health and environmental effects, the
      ^ general population and the environment now serve as the laboratory
         for discovering adverse health and environmental effects. Aside from
         the glaring inequities in relying on human experience to indicate
         when a chemical is harmful, such a method is also a grossly inefficient
         way to identify problems. F o r example, vinyl chloride and asbestos
         were relatively easy hazards to identify because exposure to these
         agents could be correlated with incidences of otherwise rare cancers
         in a uniquely denned group of workers. Other kinds of hazards, and
         other substances, cannot be expected to present such easily traceable
         cause and effect relationships. As a result exposure to an extremely
         harmful chemical may continue unabated because the harm it causes
         will never be linked to the chemical.
            Fortunately our ability to screen and test substances for ad-
         verse effects and our capabilities for monitoring and predicting
         the health and environmental effects of chemicals are sufficiently
         well-developed that it is not necessaiy to choose between the alterna-
         tives of using the population as guinea pigs or doing without the bene-
         fits provided by the increasing use and development of chemical prod-
         ucts. The validity of applying animal test results to man is now firmly
         based upon empirical evidence and thus such results provide an invalu-
      - able tool for predicting human health effects. Further, major method-
         ological advances are occurring with respect to improving testing and
         monitoring methods for assessing the long-term effects of a chemical.
       y For example, methods for detecting low levels of carcinogens in the
         environment have increased significantly in both accuracy and reli-
         ability, and it is now possible to detect concentrations of polynuclear
         compounds at 1 part of an individual compound per billion as opposed
         to the 1959 sensitivity standard of 100 parts per billion. Analytical
         methods have improved as well. Illustrative is the salmonella test de-
         veloped by Dr. Bruce Ames of the University of California, Berkeley,
         which is now available for screening for cancer-causing properties of
         chemicals and which has considerably reduced both the costs and time
         required for such screening. Although testing and monitoring may
           1
             Hearings on H.R. 7229. H.R. 7548. and H.R. 7664 before the Subcommittee on Con-
         sumer Protection and Finance of the House Committee on Interstate and Foreign Com-
         merce, 94th Cong.,. 1st Sess., p. 132-138 (1975).




                                              399
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 758 of 85
                                         6

       not be able to provide certainty as to the long-term consequences
       resulting from exposure to a chemical, the predictions from such
       testing and monitoring can provide a reasonable basis for regula-
       tory action to protect against potential long-term adverse effects.
          Present authorities for protecting against and regulating hazardous
       chemicals are fragmented and inadequate. Although there are a num-
       ber of Federal laws which now provide some authority for regulation
        (e.g., the Clean Air Act, the Federal Water Pollution Control Act, the
       Occupational Safety and Health Act of 1970, and the Consumer Prod-
       uct Safety Act) conspicuous gaps exist in the protections provided by
       such laws. Most significant among the deficiencies are the following:
                (1) I n general, such laws provide regulatory authority which is
             not set in motion until after human or environmental exposure to
             a harmful chemical has occurred.
                (2) The authorities provided to reduce or eliminate the harm-
             ful exposure to a chemical may not be adequate or may be cum-
             bersome or inefficient.
                (3) No authority exists for collection of data to determine the
             totality of human and environmental exposure to chemicals.
          An example of the deficiency described in paragraph (1) is the fact
       that there is presently no authority to require manufacturers of poten- *
       tially dangerous new chemicals to test the chemical to determine its
       health and environmental effects before marketing. Thus, although
       there is some authority to remove harmful chemicals from the work-
       place, the home, etc., there is no authority which provides a means
       of assessing the safety of a chemical before exposure occurs. I n
       addition, since present laws require regulatory agencies to bear the
       cost of testing to see if a chemical is safe, regulatory action often
       does not occur until adverse effects of a chemical become evident
       in the population or in the environment.
          The inadequacies in current authorities to deal with the recognized
       harm presented by polychlorinated biphenyls (PCBs) illustrates the
       deficiencies in present law to deal with known harmful chemicals.
       Under the Federal Water Pollution Control Act, the Administrator
       of the Environmental Protection Agency has authority to control the
       discharge of P C B s into the waters. However, there is no means for
       regulating other avenues through which the environment is exposed ^
       to PCBs. F o r example, an estimated three-fourths of the amount of
       discarded PCB's have been disposed of in landfills. Under existing
       law there is no authority to deal with such disposal and even though
       water emissions may be restricted, environmental exposure through
       seepage from landfills will continue to occur.
          Intelligent standards for regulating exposures to a chemical in the
       workplace, the home or elsewhere in the environment cannot be set
       unless the full extent of human or environmental exposure is consid-
       ered. The importance of considering the cumulative impact of all
       sources of exposure and the synergistic effects resulting from exposure
       to a number of chemicals in regulating hazardous chemicals was
       pointed out by the National Academy of Sciences—National Academy
       of Engineers study which stated:
             The concept of total body burden should be the significant
           indicator of exposure, rather than burden acquired in one or

                                                400
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 759 of 854
                                                  7
               another p a r t of the environment or from one or another
               toxic material. People who work in a factory in which dan-
                gerous substances are handled in high concentration may
               live in an adjacent area in which the same or other substances
               are dispersed, thus increasing overall exposure. More than
               one organ may be attacked because the offending substance
               is transported by two or more media. Synergistic effects
               among two or more substances, by which the combined effect
               is more than the sum of the separate effects should be con-
               sidered. 1
            Yet a comprehensive data system indicating the totality of human
         or environmental exposure does not exist. As a result, present regula-
         tions controlling workplace exposure, exposure in the home or else-
         where to a hazardous chemical may often be based on measurements
         indicating only one source of exposure, thereby resulting in less than
         full protection from the hazard.
            I n summary, the country faces serious risks of harm to the health of
         its people and to its environment from the substantial use which is
         made of chemicals, and Federal law is clearly inadequate to deal with
         such risks. A major element in our efforts to improve the nation's
         health and environment must be the enactment of protective legisla-
         tion such as H.R. 14032. The overriding purpose of the bill is to pro-
         vide protection of health and the environment through authorities
         which are designed to prevent harm.

                                  COMMITTEE CONSIDERATION

            A1971 report by the Council on Environmental Quality highlighted
         the growing need for a comprehensive program of toxic substances
         control. Based upon the Council's recommendations, the Environ-
         mental Protection Agency submitted legislative proposals on behalf
         of the Administration to the 92d Congress. The Committee's Subcom-
         mittee on Commerce and Finance held hearings on the Administration
         bill, and a Senate-passed bill which made substantial amendments to
         the Administration bill. After executive session, the Subcommittee re-
         ported a clean bill which represented an accommodation between the
         Administration and Senate-passed bills. This bill with certain further
         amendments was reported by the full Committee and passed the
         House by a record vote of 240 to 61. Time did not permit a conference
         with the Senate to work out differences before the adjournment of the
         92d Congress.
           I n the 93d Congress, the Subcommittee on Commerce and Finance
         held hearings on a new bill submitted by the Administration (H.R.
         5087) and a bill introduced by the Subcommittee chairman, Mr. Moss,
         and others (H.R. 5356) which substantially followed the bill passed
         by the House in the 92d Congress. The Subcommittee reported H.R.
         5356, with amendments. The bill with certain further amendments was
         reported by the full Committee and passed the House by a record vote
         of 324 to 73. However, the conference with the Senate was unable to
         work out differences in t h e bills in the time remaining.
           1
             Man, Materials and Environment: A Report to the National Commission on Materials
         Policy", National Academy of Sciences—National Academy of Engineers, p. 12 (March
         1973).                         _



                                          401
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 760 of 85




         SECTION 6, REGrLATTON OF HAZARDOUS CHEMICAL SUBSTANCES AND
                                   MIXTURES

          Section 6 empowers and directs the Administrator to take action
       to protect the public from hazardous chmeical substances and mixtures.
       Such action shall be taken against existing chemical substances, new
       chemical substances, and mixtures when there is a reasonable basis
       to conclude that the substance or mixture causes or significantly con-
       tributes to or will cause or significantly contribute to an unreason-
       able risk.
       Scope of regulation
          Section 6(a) provides that if the Administrator finds that there is
       a reasonable basis to conclude that the manufacture, processing, dis-
       tribution in commerce, use or disposal of a chemical substance or mix-
       ture (or any combination of such activities) causes or significantly
       contributes to or will cause or significantly contribute to an unrea-
       sonable risk to health or environment, the Administrator shall by rule
       take regulatory action necessary to adequately protect against the
       risk. Absent such a finding, the Administrator may not take action
       under section 6 ( a ) .
          This standard for taking action recognizes that factual certainty
       respecting the existence of an unreasonable risk of^a particular harm
       may not be possible and the bill does not require-it^Such uncertainty
       is particularly likely to occur true when dealing^with the long term
       or chronic effects of a substance or mixture. F o r example, cancer does
       not appear immediately after exposure to a carcinogenic substance or
       mixture, but instead there may be a latency period of several years
       before the cancer appears. With mutagens, the effects may not become
       apparent until generations have passed. When, as here, regulatory
       action is intended to be taken to prevent the occurrence of harm in the
       future as well as protect against presently visible harm, such action
       often must be based not only consideration of facts but also on consid-
       eration of scientific theories, projections of trends from currently
       available data, modeling using reasonable assumptions, and extrapo-
       lations from limited data. Further, regulatory action may be taken
       even though there are uncertainties as to the threshold levels of causa-
       tion. Thus, the bill requires a reasonable basis to conclude that a sub-
       stance or mixture causes or significantly contributes to or will cause,
       or significantly contribute to an unreasonable risk to health or envi-
       ronment. Such a judgment may be based upon items such as toxico-
       logical, physiological, epidemiological, biochemical, or statistical re-
       search or studies or extrapolations therefrom. A finding by the
       Administrator that there is such a reasonable basis must include ade-
       quate reasons and explanations for the Administrator's conclusion. I t
       does not, however, require the factual certainty of a "finding of fact"
       of the sort associated with adjudication.
                                         (3?)

                                                    425
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 761 of 85
                                            33
             The term "significantly contribute to an unreasonable risk" is used
          throughout the bill. The Committee has used such term because it
          recognizes that an individual substance or mixture may not be the sole
          identifiable factor which may cause an unreasonable risk. Because
          of the multiple avenues by which humans and the environment are ex-
          posed to a substance or mixture and because substances and mixtures
          do not occur in the environment in isolation, risks may result from
          complex interactions or because of cumulative effects. Thus the bill
          authorizes actions against a substance or mixture which is only a con-
          tributing factor to an unreasonable risk. The bill specifies that the
          contribution be significant, for the Committee does not intend to au-
         thorize action against a contributing factor which is only de minimus.
          However, the Committee recognizes that in many instances it will be
          impossible for the Administrator to show the quantity of contribution
         to a particular risk made by a particular substance or mixture, and the
          Committee does not intend t h a t the Administrator be required to do
          so in such situations. Nor does the Administrator have to show that
          a substance or mixture is the predominant contributing factor. Be-
          cause of potential cumulative or synergistic effects, even a small con-
         tribution may be significant. Moreover, because of the dispersion and
         transformation of chemical substances and mixtures in the environ-
         ment, the substance or mixture may contribute to a risk indirectly
         or directly. The considerations discussed in this paragraph would,
         of course, apply whenever the phrase is used in the bill.
            A section 6(a) rule may consist of any one or more of the follow-
         ing: (1) a requirement prohibiting the manufacturing, processing,
         or distribution in commerce of the substance or mixture or limiting
         the amount of such substance or mixture which may be manufactured,
          processed, or distributed in commerce; (2) a requirement prohibiting
          the manufacture, processing, or distribution in commerce of the sub-
         stance or mixture for a particular use or prohibiting the manufacture,
          processing, or distribution in commerce of the substance or mixture
          for a particular use in excess of a specified level of concentration; (3)
          a requirement limiting the amount of the substance or mixture which
         may be manufactured, processed, or distributed in commerce for a
         particular use or a particular use in a concentration in excess of a spec-
         ified level; (4) a requirement that the substance or mixture or any
         article containing it be marked with or accompanied by appropriate
         warnings and instructions; (5) a requirement that the manufacturers
          and processors of the substance or mixture make and retain records
         of the processes hised to manufacture or process the substance or mix-
         ture; (6) a requirement regulating the manner or method of disposal
         of the substance, mixture or any article containing it by its manu-
         facturer, processor, or by any commercial user; and (7) if a require-
         ment described in clause (1), (2), or (3) is imposed, a requirement
         that the manufacturers and processors of the substance or mixture
          provide notice of the risk to persons in possession of the substance or
          mixture and to the public. The Committee recognizes the inherent in-
         terests of the States and political subdivisions respecting disposal of
         hazardous chemicals within their jurisdiction. As a result, the Com-
         mittee has limited the Administrator to prescribing only those dis-
         posal requirements which do not violate any law of a State or a po-


                                          426
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 762 of 85
                                         34
       litical subdivision of a State. In addition, any disposal requirement
      shall require persons subject to it to notify each State and political
      subdivision in which a required disposal may occur.
          While the bill authorizes the Administrator to prohibit or limit the
      distribution in commerce of substances or mixtures and to prohibit
      or limit the distribution in commerce of substances and mixtures for
      a particular use, such authority does not authorize the Administrator
      to regulate the manner or method of transporting hazardous chemical
      substances or mixtures in commerce. F o r example, the loading, un-
      loading, and storage in connection with transportation in commerce
      are regulated under the Hazardous Materials Act of 1974, and it is
      not the Committee's intent to grant the Administrator any regulatory
      authority under section 6(a) with respect to such loading, unloading,
      or storage.
          The Committee recognizes that the requirements prescribed by the
      Administrator under this section may provide protection for em-
      ployees in the workplace. F o r example, by prohibiting the manufac-
      ture of a substance, risks to employees involved in the manufacturing
      of the substance would be eliminated. However, the Committee wishes
      to emphasize that none of the authorities included in section 6(a)
      should be construed as authorizing the Administrator to issue work-
      place standards directly regulating such matters as the airborne con-
      centrations of a substance to which employees may be exposed or the
      manner in which an employee is permitted to nandle a substance.
      There is no authority in the bill for the Administrator to issue rules
      respecting personal protective equipment for employees, work prac-
      tices in hazardous operations, or procedures for emergency situations.
      Such direct regulation of the workplace falls under the jurisdiction
      of the Occupational Safety and Health Act of 1970 not under this bill.
          The Committee intends that any requirement prescribed under sec-
      tion 6(a) be the least burdensome possible for those subject to the re-
      quirement and for society while providing an adequate margin of
      protection against the unreasonable risk. The Committee expects that
      the determination of the least burdensome requirement will be based
      on information submitted to the Administration during the rulemak-
      ing proceeding and other information which is readily available to
      the Administrator. The Committee does not intend that needed reg-
      ulation be unreasonably delayed while the Administrator develops
      quantative data comparing the costs of control methods. Because dif-
      ferent environmental or health conditions in different areas of the
      country may require different forms of regulation to protect against
      an unreasonable risk, the bill permits a requirement to be limited in
      application to specified geographic areas.
      Protection against adulterated      or contaminated    substances and
            mixtures
          Subsection (b) of section 6 authorizes the Administrator to take
      action to prevent the adulteration or contamination of substances and
      mixtures. If the Administrator has good cause to believe that a par-
      ticular manufacturer or processor is manufacturing or processing a
      substance or mixture in a manner which unintentionally results in the
      substance or mixture causing or significantly contributing to or to




                                                 427
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 763 of 854




                      Exhibit 36
 Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 764 of 854




                  FOOD & WATER WATCH

                                 VS

U.S. ENVIRONMENTAL PROTECTION AGENCY, ET AL.,



                        ELLEN CHANG

                         August 29, 2019
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 765 of 854



·1     · · · · · ·IN THE UNITED STATES DISTRICT COURT
·2     · · · · ·FOR THE NORTHERN DISTRICT OF CALIFORNIA
·3     · · · · · · · · · · ·AT SAN FRANCISCO
·4
·5     FOOD & WATER WATCH, et al.,· )
· · ·· · · · · · · · · · · · · · ·)
·6     · · · · · · · · · · · · · · ·)
· · ·· · · · ·Plaintiffs,· · · · ·)
·7     · · · · · · · · · · · · · · ·) Case No.
· · ·· ·vs.· · · · · · · · · · · ·) 17-CV-02162-EMC
·8     · · · · · · · · · · · · · · ·)
· · ·U.S. ENVIRONMENTAL· · · · · ·)
·9     PROTECTION AGENCY, et al.,· ·)
· · ·· · · · · · · · · · · · · · ·)
10     · · · · ·Defendants.· · · · ·)
· · ·· · · · · · · · · · ____· · ·)
11
12
13
14
15     · · · · · · · · ·VIDEOTAPED DEPOSITION OF
16     · · · · · · · · · · ELLEN CHANG, SC.D.
17
18     · · · · · · · · Thursday, August 29, 2019
19
20
21
22
23
24
25
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 766 of 854
                                                                            27

·1     · · A.· ·Somewhere between 5 and 15, maybe.

·2     · · Q.· ·Okay.· And when was that project?

·3     · · A.· ·I think, 2013 or '14.

·4     · · Q.· ·Okay.· So other than that project in 2013

·5     or 2014, had you ever reviewed the scientific

·6     literature on fluoride?

·7     · · A.· ·Not -- I mean, I think I looked at it in a

·8     cursory manner or when my kids were small.

·9     · · Q.· ·Okay.· So it's fair to say that prior to

10     your work in this case, you didn't consider yourself

11     a subject matter expert on fluoride and human

12     health.

13     · · A.· ·I think that's fair.

14     · · Q.· ·Okay.· And you didn't consider yourself a

15     subject matter expert on fluoride and neurotoxicity.

16     · · A.· ·Correct.

17     · · Q.· ·Have you ever --

18     · · · · ·I think this is obvious, but I'll just ask

19     it just for the record:· Have you ever conducted or

20     published any studies on fluoride separate and apart

21     from what you did in this case?

22     · · A.· ·No, I haven't.

23     · · Q.· ·Okay.· And have you ever conducted or

24     published any studies on fluoride neurotoxicity

25     separate and apart from what you did in this case?



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 767 of 854
                                                                            28

·1     · · A.· ·No, I haven't.

·2     · · Q.· ·Okay.· Have you -- have you ever published

·3     or conducted any studies related to fluoride in

·4     human health, at any time in your career, separate

·5     and apart from this case?

·6     · · A.· ·No, I haven't.

·7     · · Q.· ·Do you consider yourself an expert on

·8     fluoride pharmacokinetics?

·9     · · A.· ·No.· I have some understanding of it, but I

10     wouldn't consider myself an expert on the

11     pharmacokinetics.

12     · · Q.· ·Okay.· Do you consider yourself an expert

13     on fluoride's neurotoxicity?

14     · · · · ·MS. CARFORA:· Asked and answered.

15     · · · · ·THE WITNESS:· So I do consider myself an

16     expert on the epidemiology of fluoride and

17     neurotoxic outcomes.· It depends on the, I guess,

18     subdiscipline of fluoride and neurotoxicity, whether

19     I consider myself an expert in that area.

20     · · · · ·I would say, no, for example, with regard

21     to animal toxicology and that subject.

22     BY MR. CONNETT:

23     · · Q.· ·Uh-huh.

24     · · A.· ·But yes, with regard to human epidemiology.

25     · · Q.· ·Okay.· Do you consider yourself an expert



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 768 of 854
                                                                         123

·1     think the method can be completely clear and

·2     reliable and valid, and yet be -- due to differences

·3     in the individuals attempting to follow that method.

·4     Again, in -- in terms of their judgment and their

·5     qualifications and background and expertise, as well

·6     as, how well they followed the method and -- and

·7     that sort of thing.· I think you can lead -- you can

·8     obtain different results despite following the same

·9     valid method.

10     · · · · ·I would also say that reaching a conclusion

11     that evidence is insufficient to establish a causal

12     effect and a conclusion that evidence is sufficient

13     to establish a causal effect are not necessarily

14     opposite conclusions, but they are different.· But

15     not diametrically opposed, necessarily.

16     · · Q.· ·Okay.· Can you explain how --

17     · · · · ·So how is it that a conclusion that there

18     is insufficient evidence of caus- -- causation, how

19     is that not opposite the conclusion that there is

20     sufficient evidence of causation?· Can you explain

21     that a little bit more?

22     · · A.· ·Sure.· I think if you conclude that there

23     is insufficient evidence, you could conclude -- that

24     could be a conclusion that there is, for example, a

25     statistical association that is observed.· If we're



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 769 of 854
                                                                         124

·1     talking about epidemiology.· There could be a

·2     conclusion that there is a statistically significant

·3     association observed.· Even that it's consistent

·4     across a number of studies, not necessarily all

·5     studies, but in -- in multiple studies.· And yet --

·6     and it could be suggestive of a causal association,

·7     but not yet sufficient.

·8     · · · · ·So, you know, it could fall short, for

·9     example, in terms of uncertainties in exposure

10     assessment or in control for confounders.

11     · · · · ·And so I think that conclusion -- it's

12     similar to, for example, an NTP conclusion that

13     there's a presumed health hazard, or an IARC

14     conclusion that a given agent is a probable human

15     carcinogen, but not a definite human carcinogen.

16     There are degrees of classification of the level of

17     evidence.

18     · · Q.· ·Uh-huh.

19     · · A.· ·And so for me, the opposite conclusion

20     would be that there is evidence that it is not a

21     causal effect.

22     · · · · ·So that would be like the Group 4

23     classification for IARC, which my understanding is

24     they've only classified one agent ever as a Group 4

25     carcinogen where, you know, they said the



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 770 of 854
                                                                         125

·1     evidence -- there -- there's good evidence, and it

·2     suggests it's not a carcinogen.· And then NTP, that

·3     would be their classification that something is

·4     not -- or not likely to be, I think is their lowest

·5     classification.· Not likely to be a health hazard.

·6     That, to me, would be closer to the opposite

·7     conclusion than, you know, the -- the sort of

·8     higher -- higher levels.

·9     · · Q.· ·So insufficient evidence of causation, for

10     epidemiology sake, is not inconsistent with the

11     chemical being a presumed cause of the outcome.

12     · · A.· ·That is correct.· So presumed under NTP's

13     definition of presumed health hazard is -- is

14     actually specifically not known to be a health

15     hazard.· So it's specifically not a causal effect.

16     And so insufficient evidence is -- is consistent

17     with, you know, not known to be a cause.

18     · · Q.· ·Right.

19     · · · · ·So when you used the phrase insufficient

20     evidence of causation from the epidemiological

21     literature, you're not saying the chemical doesn't

22     cause the effect; is that correct?

23     · · · · ·MS. CARFORA:· Objection.· Mischaracterizes.

24     · · · · ·THE WITNESS:· It says -- when I say it's

25     insufficient, I'm saying that there's not enough



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 771 of 854
                                                                         126

·1     compelling evidence to reach a definitive

·2     conclusion, one way or the other.

·3     BY MR. CONNETT:

·4     · · Q.· ·Okay.· And your conclusion that there's

·5     insufficient evidence of epidemiological -- sorry,

·6     strike that.

·7     · · · · ·Your conclusion, in any of your systematic

·8     reviews that there is insufficient epidemiological

·9     evidence of causation, is not inconsistent with the

10     chemical being a presumed cause of the effect.

11     · · A.· ·Where presumed -- here we're using

12     presumed, I guess, do you mean it the way NTP means

13     it?· Where they have a specific technical

14     definition?

15     · · Q.· ·No, let's use it more generally.

16     · · A.· ·So presumed more generally, I would not use

17     that term because I think it's -- it's -- it can be

18     misinterpreted.

19     · · Q.· ·Okay.

20     · · A.· ·I think NTP can use it because they

21     specifically --

22     · · Q.· ·Right.

23     · · A.· ·-- define out what presumed means.

24     · · Q.· ·Okay.

25     · · A.· ·And then I'm comfortable -- I'm more



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 772 of 854
                                                                         208

·1     · · · · ·And you have the summary of your causal

·2     evaluation there, right?

·3     · · A.· ·Yes.

·4     · · Q.· ·And the last sentence of the first

·5     paragraph you say -- you talked about the ten

·6     epidemiological studies most relevant to your

·7     assessment, right?

·8     · · A.· ·Yes.

·9     · · Q.· ·And those are the same ten studies we were

10     looking at before, right?

11     · · A.· ·That's correct.

12     · · Q.· ·Okay.· Now, you understand there's a

13     difference between the relevance of a study and the

14     reliability of a study.

15     · · A.· ·I do.

16     · · Q.· ·Okay.· So of these ten most relevant

17     studies, which do you find to be the most reliable

18     studies from a methodological standpoint?

19     · · A.· ·I think they are all more reliable, for

20     example, than the ecological cross-sectional studies

21     from nonwestern populations.· Just methodologically

22     even, they are better.

23     · · Q.· ·Uh-huh.

24     · · A.· ·Among these ten, I would say that the

25     prospective cohort studies are, in general, more



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 773 of 854
                                                                         209

·1     rigorous in design than those that are not.

·2     · · · · ·And then among the prospective cohort

·3     studies, I would say that those that adjusted for

·4     multiple confounders and had individual level

·5     measures of exposure, are relatively better than

·6     those that lack those elements.

·7     · · Q.· ·Okay.· So of the ten studies, which study

·8     do you -- which single -- do you have -- which

·9     single study do you find to be the most rigorous

10     from a methodological standpoint?

11     · · A.· ·Of these ten, I think that the methods are

12     quite comparable among the Bashash studies --

13     · · Q.· ·Uh-huh.

14     · · A.· ·-- the Green and Till studies.

15     · · · · ·So Thomas is, I believe an abstract, but

16     it's -- it's a -- it's related to the Bashash

17     studies.

18     · · Q.· ·Uh-huh.

19     · · A.· ·Yeah.· Those are the -- the ones.· So Bash-

20     -- the -- the last five that are listed, those are

21     the Bashash, et al., 2017 and '18.· The Thomas,

22     et al., study under the reasonable assumption that

23     the methods described in that abstract are the same

24     as used in the full-length papers.· And then the

25     Green, et al., and the Till, et al., studies, I



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 774 of 854
                                                                         210

·1     think, are relatively more rigorous than the other

·2     five.

·3     · · Q.· ·Okay.· By the way, did you find any

·4     epidemiological study that supports the safety of

·5     prenatal fluoride exposure?· And by that I mean, did

·6     you, in your systematic review, find any

·7     epidemiological study that investigated prenatal

·8     fluoride exposure and found no significant effect

·9     with neurodevelopmental outcomes?

10     · · A.· ·It depends on the subgroup and the outcome

11     that you're talking about.· I wouldn't say that a --

12     to jump from a statistically null finding to the

13     conclusion that it supports the safety of a given

14     exposure, I think is too much of a leap for an

15     epidemiologic study.

16     · · · · ·But there are studies that found no

17     significant association between some prenatal

18     measure of exposure to fluoride and some

19     neurodevelopmental outcome.

20     · · Q.· ·And you're talking about within a single

21     study, some of the analyses didn't find significant

22     effects on neurodevelopment, right?

23     · · A.· ·I would say they didn't find significant --

24     statistically significant associations with certain

25     neurodevelopmental outcomes.



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 775 of 854
                                                                         213

·1     correlation between the two --

·2     · · Q.· ·Uh-huh.

·3     · · A.· ·-- suggesting that the -- the prenatal

·4     measures were not independent of the postnatal

·5     measurements.

·6     · · Q.· ·Okay.

·7     · · A.· ·So what I mean is that, I don't consider

·8     any of these studies to have evaluated prenatal

·9     exposure in isolation.

10     · · Q.· ·Right.

11     · · · · ·I understand that qualifier.· Understood.

12     That the -- that studies that have attempted to look

13     at prenatal fluoride exposure, that prenatal

14     fluoride exposure may correlate with postnatal

15     exposure.

16     · · · · ·I understand that caveat, okay?

17     · · A.· ·Uh-huh.

18     · · Q.· ·I'm gonna ask -- ask the question again,

19     which is:· Did you find in your systematic review

20     any study that attempted to examine prenatal

21     fluoride exposure that did not find some significant

22     association with neurodevelopmental effects.

23     · · · · ·MS. CARFORA:· Objection.· Asked and

24     answered.

25     · · · · ·THE WITNESS:· Among those -- among the



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 776 of 854
                                                                         214

·1     three that I found that were published that

·2     attempted to look at some prenatal measurement of

·3     exposure, I think all three of them found some

·4     statistically significant association with adverse

·5     neurodevelopmental outcomes and some statistically

·6     nonsignificant associations.

·7     BY MR. CONNETT:

·8     · · Q.· ·Are you referring to Bashash 2017, Bashash

·9     2018 and Green 2019?

10     · · A.· ·No.· I mean, the Bashash studies, which

11     would be the ELEMENT ones.

12     · · Q.· ·Right.

13     · · A.· ·The -- the Till and Green ones, which are

14     the Canadian ones.

15     · · Q.· ·Right.

16     · · A.· ·And then the Valdez --

17     · · Q.· ·Jimenez.

18     · · A.· ·-- Jimenez one in other areas of Mexico

19     where they --

20     · · Q.· ·Okay.

21     · · A.· ·I'm sorry, not one.· There's a single study

22     by Valdez Jimenez looking at other areas in Mexico.

23     · · Q.· ·Okay.· So I'm just gonna ask you some

24     questions here about -- that relate to assessing the

25     relative methodological strengths of studies, okay?



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 777 of 854
                                                                         242

·1     had mentioned -- it seemed like you had mentioned

·2     those controls earlier in your testimony as a

·3     strength of the study, but I'll move on.

·4     · · · · ·MS. CARFORA:· Objection.

·5     · · · · ·THE WITNESS:· No.

·6     · · · · ·MS. CARFORA:· Mischaracterizes the

·7     testimony.

·8     · · · · ·THE WITNESS:· I said that they assessed

·9     those exposures, but not that they controlled for

10     them as confounders.

11     BY MR. CONNETT:

12     · · Q.· ·Fair enough.· Thank you for the

13     clarification.

14     · · · · ·Okay.· So in your report you state that

15     Dr. Grandjean and Dr. Thiessen omitted numerous

16     studies, correct?

17     · · A.· ·I think that's correct.

18     · · Q.· ·And do any of the studies that they omitted

19     or failed to discuss, do any of those studies in

20     your view undermine or contradict their opinions in

21     this case?

22     · · A.· ·I think that the individual studies, in and

23     of themselves and the results of those findings, are

24     not what is the important part of my opinion

25     regarding their omission.



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 778 of 854
                                                                         243

·1     · · · · ·My bigger concern relates to their not

·2     systematically searching and reviewing literature.

·3     So it's not the -- the individual studies and their

·4     findings.

·5     · · Q.· ·Uh-huh.

·6     · · A.· ·I don't -- I don't think that the studies

·7     that they omitted --

·8     · · Q.· ·Uh-huh.

·9     · · A.· ·-- would necessarily change their opinions

10     or mine.

11     · · Q.· ·Uh-huh.

12     · · A.· ·I think my -- my main issue is that they

13     have not conducted systematic comprehensive or

14     transparent searches, reviews, and assessments of

15     the epidemiologic literature.

16     · · Q.· ·Right.· Understood.

17     · · · · ·Now, you mentioned earlier that you read

18     Dr. Grandjean's rebuttal report, correct?

19     · · A.· ·Correct.· I -- I think it -- I can't

20     remember if it's called a rebuttal report, or

21     rebuttal and supplemental report, but yes.

22     · · Q.· ·Okay.· Now, Dr. Grandjean identified four,

23     I'll call 'em, no effect studies, that you

24     identified that he did not discuss.

25     · · · · ·Do you recall that?



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 779 of 854
                                                                         246

·1     B-A-Y-L-E-Y, Scales of Infant Development.

·2     · · · · ·So, I guess if you characterize no-effect

·3     studies as though as to find no significant

·4     association, this one did find one, but they found

·5     -- they found one with -- one outcome that they

·6     evaluated, but apparently not with the other one.

·7     BY MR. CONNETT:

·8     · · Q.· ·Okay.· So I wanna go and talk just a little

·9     bit more about those four studies that I mentioned,

10     and --

11     · · · · ·The Perrott study, you're familiar with

12     that, right?

13     · · A.· ·Yes.

14     · · Q.· ·And you didn't include that in -- among the

15     ten in your studies in your causal analysis, right?

16     · · A.· ·Correct.

17     · · Q.· ·Okay.· The Kang study, you're familiar with

18     that, right?

19     · · A.· ·Yes, generally.

20     · · Q.· ·That's a cross-sectional study from China?

21     · · A.· ·I think that's right.

22     · · Q.· ·And you didn't include the Kang study in

23     your causal analysis, correct?

24     · · A.· ·Let me just make sure that the description

25     is correct.



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 780 of 854
                                                                         247

·1     · · · · ·Kang 2011.

·2     · · Q.· ·Yes.

·3     · · A.· ·Is that correct?

·4     · · · · ·Yes, that's right.

·5     · · Q.· ·Okay.· The He study, 2010.

·6     · · · · ·You're familiar with that, right?

·7     · · A.· ·Yes.

·8     · · Q.· ·And that's another cross-sectional study

·9     from China, right?

10     · · A.· ·That's correct.

11     · · Q.· ·And you did not include that in your causal

12     analysis, correct?

13     · · A.· ·So I did include all these studies, I took

14     -- I took 'em into consideration, but in terms of

15     the ones that I weighted more heavily, I did not

16     include these.

17     · · Q.· ·Okay.· So you didn't give much weight to

18     the He 2010 study, right?

19     · · A.· ·That's right.

20     · · Q.· ·And you didn't give much weight to the Kang

21     2011 study, right?

22     · · A.· ·That's correct.

23     · · Q.· ·And you didn't give much weight to the

24     Perrott 2018 study, correct?

25     · · A.· ·That's correct.



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 781 of 854
                                                                         249

·1     · · A.· ·-- fluoride exposure from drinking water.

·2     · · Q.· ·Uh-huh.

·3     · · A.· ·I considered it to be relevant --

·4     · · Q.· ·Uh-huh.

·5     · · A.· ·-- which, as you pointed out, is different

·6     from, I think you said, valid or rigorous, or

·7     something.

·8     · · · · ·But yes, I considered it relevant, but then

·9     whether I would -- I think you asked me before

10     about, for example, the Morgan study in its relative

11     quality and the Broadbent study and the Shannon

12     study.· And the -- and I think also maybe Barberio,

13     the relative quality of those studies, compared with

14     others.

15     · · Q.· ·Okay.

16     · · A.· ·The Spittle study I would include with the

17     Shannon because it's the same study.

18     · · Q.· ·Uh-huh.

19     · · A.· ·So I would say that it is better in quality

20     than the ecological cross-sectional studies from

21     China, for instance.· But it's poorer in quality

22     than, for example, the Bashash and the Green studies

23     that came thereafter.

24     · · Q.· ·What confounders did Spittle control for?

25     · · A.· ·So it's -- it's not stated in the abstract,



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 782 of 854
                                                                         268

·1     · · A.· ·-- I don't think would change their

·2     opinions.· It's not the lack of any one given study

·3     that I think --

·4     · · Q.· ·Uh-huh.

·5     · · A.· ·-- is a flaw.· It's the overall

·6     methodology.

·7     · · Q.· ·Right.

·8     · · · · ·Well, what --

·9     · · · · ·Is there any study that they didn't

10     identify and discuss that refutes or undermines

11     their opinions?

12     · · · · ·MS. CARFORA:· Objection.· Asked and

13     answered.

14     · · · · ·THE WITNESS:· Again, I think there's no one

15     individual study necessarily that would change or

16     undermine their opinions.· I think the fact that

17     they didn't do a systematic and thorough search and

18     review and assessment of the literature that

19     undermines the validity of their opinions.

20     BY MR. CONNETT:

21     · · Q.· ·Do you --

22     · · · · ·You know --

23     · · · · ·You had --

24     · · · · ·You identified and discussed many studies

25     that reported significant associations with fluoride



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 783 of 854
                                                                         269

·1     and IQ that Dr. Grandjean did not discuss in his

·2     report.

·3     · · · · ·Are you aware of that?

·4     · · A.· ·Yes.

·5     · · Q.· ·Now, do you think those studies that you

·6     discussed, which found significant associations with

·7     fluoride, do you think those studies support

·8     Dr. Grandjean's conclusions, or are at odds with

·9     Dr. Grandjean's conclusions, or none of the above?

10     · · A.· ·I think that they -- those studies that I

11     identified that identified -- that had signif- --

12     significant causative associations between fluoride

13     and adverse developmental -- neurodevelopmental

14     outcomes, I think that they do not provide

15     substantive support, one way or another, because

16     they are of poor methodological quality, in general.

17     And then they are not otherwise relevant to the U.S.

18     drinking water fluoridation situation.

19     · · · · ·So I don't think that they support his

20     opinions.· I think that they contribute, in and of

21     themselves, on a study-by-study basis, little weight

22     to any conclusion of association or causation.

23     · · · · ·Again, I think the bigger point related to

24     those studies is not that there's any sort of one

25     definitive study that would sway an opinion, one way



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 784 of 854
                                                                         270

·1     or another -- or another.· It's more of an issue of

·2     not having conducted a systematic and thorough

·3     review and analysis of literature.

·4     · · Q.· ·Right.

·5     · · · · ·I -- I understand that -- that -- that --

·6     your criticism on that point.

·7     · · · · ·But going back to the studies that you

·8     identified and discussed, which reported

·9     associations with adverse neurological effects that

10     Dr. Grandjean did not discuss, do I understand your

11     testimony that those studies don't add much weight

12     to the literature, one way or the other?· Is that a

13     fair summary?

14     · · A.· ·I would say that for this particular

15     assessment of the potential impact of community

16     drinking water fluoridation on neurodevelopmental

17     outcomes in the U.S., those studies, given their

18     limited quality and lack of relevance, that they --

19     that their results, I guess, carry little weight.

20     · · Q.· ·Okay.· And now hypothetical questions for

21     you, okay?· Going back to hypotheticals.

22     · · · · ·Let's say you looked at all the data, you

23     did your systematic review on fluoride and

24     neurotoxicity, and there was no Kang 2011 study.

25     · · · · ·You understand that?



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 785 of 854
                                                                         271

·1     · · A.· ·Yes.

·2     · · Q.· ·Would your opinions in this case be any

·3     different?

·4     · · A.· ·So if that study simply had never existed.

·5     · · Q.· ·Correct.

·6     · · A.· ·No.· I don't think my -- my opinions would

·7     change.

·8     · · Q.· ·Okay.· Similar hypothetical:· You do your

·9     systematic review of the scientific literature and

10     the He 2010 study did not exist.

11     · · · · ·Would your opinions be any different?

12     · · A.· ·No.· My overall opinions would not change.

13     · · Q.· ·Okay.· Say you --

14     · · · · ·Same similar hypothetical:· You do your

15     systematic review of scientific literature, and the

16     Perrott study, or Perrott, does not exist.

17     · · · · ·Would your opinions be any different?

18     · · A.· ·I think I had expressed an opinion that the

19     Malan, M-A-L-A-N, and Till, I think it's a different

20     Till, but T-I-L-L, ecological study was of very poor

21     quality, and they didn't control for a number of

22     confounders, and Perrott, in particular, identified

23     one confounder, which was something like elevation

24     -- you know, geographic elevation of residents.

25     That once they controlled for it, the association



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 786 of 854
                                                                         272

·1     was statistically nonsignificant.

·2     · · · · ·I mean, I think that particular opinion

·3     about the Malan and Till study would change.

·4     Because I wouldn't be able to identify the one -- or

·5     one particular confounder that was influential.

·6     · · Q.· ·Right.

·7     · · A.· ·But other than that, I don't think my

·8     opinions about the association -- the bigger picture

·9     opinions about association or causation, I don't

10     think that those opinions would change.

11     · · Q.· ·Okay.· And finally, on the same note, if

12     you did your scientific -- your systematic review of

13     scientific literature on fluoride, and the Spittle

14     abstract did not exist, would your opinions in this

15     case be any different?

16     · · A.· ·So under that hypothetical, no.· I don't

17     think my opinions would change.

18     · · Q.· ·Okay.

19     · · · · ·MR. CONNETT:· Now, we probably are at a

20     good stopping point.

21     · · · · ·Wanna take a five-minute break?

22     · · · · ·THE VIDEOGRAPHER:· We are off the record.

23     · · · · ·The time is 4:28 p.m.

24

25     · · · · · · · · · ·(Break taken.)



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 787 of 854
                                                                         348

·1   STATE OF CALIFORNIA· · )
· · ·· · · · · · · · · · · ·)
·2   COUNTY OF RIVERSIDE· · )

·3

·4     · · · · ·I, KATIE HRON, C.S.R. No. 13483, in and for

·5     the State of California, do hereby certify:

·6     · · · · ·That prior to being examined, the witness

·7     named in the foregoing deposition was by me duly

·8     sworn to testify to the truth, the whole truth, and

·9     nothing but the truth.

10     · · · · ·That said deposition was taken down by me

11     in shorthand at the time and place therein named and

12     thereafter reduced to typewriting under my

13     direction, and the same is a true, correct, and

14     complete transcript of my shorthand notes so taken.

15     · · · · ·That if the foregoing pertains to the

16     original transcript of a deposition in a Federal

17     Case, before completion of the proceedings, review

18     of the transcript { } was { } was not requested.

19     · · · · ·I further certify that I am not interested

20     in the event of this action.

21     · · · · ·In witness whereof, I have hereunto

22     subscribed my name on September 12, 2019.

23

24     · · · · · · · · · · · ______________________________

25     · · · · · · · · · · · · Katie Hron, C.S.R. No. 13483



                      Asbestos Reporters of California
                                888-779-9974
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 788 of 854




                      Exhibit 37
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 789 of 854
Integrated Risk Information System (IRIS)                             U.S. Environmental Protection Agency
Chemical Assessment Summary                                    National Center for Environmental Assessment




   Methylmercury (MeHg); CASRN 22967-92-6
   Human health assessment information on a chemical substance is included in the IRIS
   database only after a comprehensive review of toxicity data, as outlined in the IRIS
   assessment development process. Sections I (Health Hazard Assessments for Noncarcinogenic
   Effects) and II (Carcinogenicity Assessment for Lifetime Exposure) present the conclusions
   that were reached during the assessment development process. Supporting information and
   explanations of the methods used to derive the values given in IRIS are provided in the
   guidance documents located on the IRIS website.

   STATUS OF DATA FOR Methylmercury

   File First On-Line 01/31/1987

               Category (section)                    Assessment Available?             Last Revised


Oral RfD (I.A.)                                               yes                       07/27/2001


Inhalation RfC (I.B.)                                    not evaluated


Carcinogenicity Assessment (II.)                              yes                       05/01/1995



I. Chronic Health Hazard Assessments for Noncarcinogenic Effects
I.A. Reference Dose for Chronic Oral Exposure (RfD)

   Substance Name — Methylmercury (MeHg)
   CASRN — 22967-92-6
   Last Revised — 07/27/2001

   The oral Reference Dose (RfD) is based on the assumption that thresholds exist for certain
   toxic effects such as cellular necrosis. It is expressed in units of mg/kg-day. In general, the
   RfD is an estimate (with uncertainty spanning perhaps an order of magnitude) of a daily
   exposure to the human population (including sensitive subgroups) that is likely to be without
   an appreciable risk of deleterious effects during a lifetime. Please refer to the Background
   Document for an elaboration of these concepts. RfDs can also be derived for the
   noncarcinogenic health effects of substances that are also carcinogens. Therefore, it is


                                                 1
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 790 of 854
Integrated Risk Information System (IRIS)                                       U.S. Environmental Protection Agency
Chemical Assessment Summary                                              National Center for Environmental Assessment




   essential to refer to other sources of information concerning the carcinogenicity of this
   substance. If the U.S. EPA has evaluated this substance for potential human carcinogenicity, a
   summary of that evaluation will be contained in Section II of this file.

I.A.1. Oral RfD Summary

         Critical Effect                          Experimental Doses*               UF      MF            RfD


Developmental                               Benchmark Dose: BMDL05                  10       1
neuropsychological                          range of 46-79 ppb in                                       1E-4
impairment                                  maternal blood for different                              mg/kg-day
                                            neuropsychological effects in the
                                            offspring at 7 years of age,
Human epidemiological                       corresponding to a range of                               (0.0001
studies (Grandjean et al.,                  maternal daily intakes of                                mg/kg-day)
1997; Budtz-Jørgensen et                    0.857-1.472 µg/kg-day
al., 1999a)



   *Conversion Factors and Assumptions —Maternal daily dietary intake levels were used as the
   dose surrogate for the observed developmental effects in the children exposed in utero. The
   daily dietary intake levels were calculated from blood concentrations measured in the mothers
   with supporting additional values based on their hair concentrations. This conversion is
   explained in the text below. A benchmark dose approach (BMD) was used rather than a no-
   observed-adverse-effect level/lowest-observed-adverse-effect level (NOAEL/LOAEL)
   approach to analyze the neurological effects in children as the response variable. This analysis
   is also explained in the text below.

   This assessment updates the 1995 RfD assessment on IRIS and is the same as the RfD that
   was based on the study of a poisoning episode in Iraq in which developmental neurotoxicity
   was observed following ingestion of methylmercury-treated grain (Marsh et al., 1987).

I.A.2. Principal and Supporting Studies (Oral RfD)

   Congress directed EPA, through the House Appropriations Report for Fiscal Year 1999, to
   contract with the National Research Council (NRC), a body of the National Academy of
   Sciences, to evaluate the available data on the health effects of methylmercury, with particular
   emphasis on new data since the publication of the Mercury Study Report to Congress (MSRC)
   (U.S. EPA, 1997). NRC was asked to provide recommendations regarding issues relevant to
   the derivation of an appropriate RfD for methylmercury. The NRC report, "Toxicological



                                                           2
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 791 of 854
Integrated Risk Information System (IRIS)                               U.S. Environmental Protection Agency
Chemical Assessment Summary                                      National Center for Environmental Assessment




   Effects of Methylmercury," was released to the public on July 11, 2000 (NRC, 2000). This
   assessment reported here relied on the quantitative analyses performed by the NRC, as
   described in that report.

   Methylmercury is a highly toxic substance; a number of adverse health effects associated with
   exposure to it have been identified in humans and in animal studies. Most extensive are the
   data on neurotoxicity, particularly in developing organisms. The nervous system is considered
   to be the most sensitive target organ for which there are data suitable for derivation of an RfD.

   There are three epidemiological studies for which quantitative analyses have become available
   since EPA's derivation of an RfD in 1995 (NRC, 2000). These longitudinal, developmental
   studies were conducted in the Seychelles Islands, the Faroe Islands, and New Zealand. The
   subjects of the Seychelles longitudinal prospective study were 779 mother-infant pairs from a
   fish-eating population (Myers et al., 1995a-c, 1997; Davidson et al., 1995, 1998). Infants were
   followed from birth to 5.5 years of age, and assessed at various ages on a number of
   standardized neuropsychological endpoints. The independent variable was maternal-hair
   mercury levels. The Faroe Islands study was a longitudinal study of about 900 mother-infant
   pairs (Grandjean et al., 1997). The main independent variable was cord-blood mercury;
   maternal-hair mercury was also measured. At 7 years of age, children were tested on a variety
   of tasks designed to assess function in specific behavioral domains. The New Zealand study
   was a prospective study in which 38 children of mothers with hair mercury levels during
   pregnancy greater than 6 ppm were matched with children whose mothers had lower hair
   mercury levels (Kjellstrom et al., 1989, 1986). At 6 years of age, a total of 237 children were
   assessed on a number of neuropsychological endpoints similar to those used in the Seychelles
   study (Kjellstrom et al., 1989). The Seychelles study yielded scant evidence of impairment
   related to in utero methylmercury exposure, whereas the other two studies found dose-related
   effects on a number of neuropsychological endpoints. In the assessment described here,
   emphasis is placed on the results of the Faroe Islands study, the larger of the two studies that
   identified methylmercury-related developmental neurotoxicity. Supporting evidence from the
   New Zealand study provides assurance that choosing this focus is the appropriate strategy for
   protecting public health. In addition, of all three studies an integrative analysis is set out later
   in this assessment report.

   EPA chose BMD analysis as the most appropriate method of quantifying the dose-effect
   relationship in these studies, which was also the recommendation of the NRC (2000). EPA
   chose the K power model for BMD analysis, with the constraint that K >= 1, such that the
   model precludes supralinearity. There is no identified mechanism by which methylmercury
   would produce a supralinear response; therefore the K power model was thought to have more
   biological plausibility compared with other models. A power of 1 provided the best fit of the
   Faroese data using the K power model (Budtz-Jørgensen et al., 1999b, 2000), so this model


                                                   3
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 792 of 854
Integrated Risk Information System (IRIS)                            U.S. Environmental Protection Agency
Chemical Assessment Summary                                   National Center for Environmental Assessment




   Volume of blood in the body (V)

   Stern (1997) cited three studies (Brown et al., 1962; Retzlaff et al., 1969; Huff and Feller,
   1956) wherein correlation of body weight and blood volume were demonstrated. All studies
   were of U.S. women, presumably not pregnant at the time of the study. The mean blood
   volumes for each study were 3.58 L, 3.76 L, and 3.49 L, respectively; the mean of the
   combined data set is 3.61 L. If one assumes a 30% increase in blood volume with pregnancy,
   this would be 4.67 L. In their analysis, Swartout and Rice (2000) used data from a cohort of 20
   pregnant Nigerian women (Harrison, 1966). Whole-blood volumes in the third trimester
   ranged from 4 to 6 L; the mean and median were both 5 L. Although 5 L is somewhat higher
   than the blood volume estimated from three studies of U.S. women, it is a reasonable value to
   use for V.

   Body weight (bw)

   Swartout and Rice (2000) in their distributional analysis used the body weight data collected
   on the cohort of 20 pregnant Nigerian women (Harrison, 1966); this was the data set that they
   used for blood volume. Body weight during the third trimester of pregnancy ranged from 49.5
   kg to 73.9 kg, with a geometric mean of 55 kg. Stern (1997) used the Third National Health
   and Nutritional Survey (NHANES III) data for women 18 to 40 years old (NCHS, 1995). The
   mean weight was 66.6 kg and the 50th percentile value was 62.8 kg. The EPA Methodology
   for Deriving Ambient Water Quality Criteria for the Protection of Human Health (U.S. EPA,
   2000) also cites NHANES III data; in the agency document, women of childbearing age were
   considered to be between the ages of 15 and 44 years old. The median body weight in this
   group was 63.2 kg and the mean was 67.3 kg. EPA also cites the earlier analyses of Ershow
   and Canter (1989); they do not state the age range but give a median of 64.4 kg and a mean of
   65.8 kg. The recommendation in the EPA Methodology was to use a body weight value of 67
   kg for a pregnant woman on the basis of the relatively current data from NHANES III. This
   value was used for body weight in the dose conversion.

   Dose conversion using the one-compartment model

   d= (c x b x V)/(A x f x bw)


   d= (BMDL05 µg/L x 0.014days-1 x 5L)/(0.95 x 0.059 x 67 kg)



   BMD ANALYSIS OF THE FAROE ISLANDS STUDY



                                                7
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 793 of 854
Integrated Risk Information System (IRIS)                                U.S. Environmental Protection Agency
Chemical Assessment Summary                                       National Center for Environmental Assessment




   The Faroe cohort was exposed to polychlorinated biphenyls (PCBs) as well as to
   methylmercury. An association was identified between PCB levels in cord tissue and four
   measures for which an effect of methylmercury also was identified (Grandjean et al., 1997).
   Analyses performed by the Faroe investigators indicate that the effects of methylmercury and
   PCBs are independent of each other (Budtz-Jørgensen et al., 1999a). Further, NRC presented
   an analysis of benchmark analyses designed to explore the influence of PCBs (Table 1). PCB
   measurements were made on cord tissue taken from about one-half of the Faroese cohort
   (about 450 children) and the "adjusted for PCBs" values are based on those children for whom
   PCB cord tissue levels and cord-blood mercury levels were available. PCB-adjusted analyses
   also were conducted of children in the lowest tertile with respect to PCB levels, which reduced
   the number of children studied to about 150. No clear pattern arose from a comparison of the
   PCB-adjusted analyses and the original results. The observed variability probably was no
   more than that which would be expected to exist by chance alone. This analysis provides
   compelling evidence that the effects of methylmercury identified in this study are not the
   consequence of exposure to PCBs.

   BMD ANALYSIS OF ALL THREE EPIDEMIOLOGICAL STUDIES

   Benchmark dose analyses were performed for a number of endpoints from all three studies
   (Faroe Islands, Seychelles, New Zealand) (NRC, 2000, Chapter 7). NRC estimated a central
   tendency measure, equivalent to a BMD, across all three studies for all endpoints that were
   identified as significant in the Faroe Islands and New Zealand studies, and for all endpoints at
   5.5 years of age in the Seychelles study. They also determined a lower limit based on a
   theoretical distribution of BMDs, which is the logical equivalent of a BMDL.

   NRC also used a hierarchical random-effect model to reduce random variation in the estimate
   for these same endpoints from all three studies (NRC, 2000, Table 7-5, pp. 290-294).
   Additionally, this analysis was used in calculating BMD and BMDLs for the most sensitive
   and median endpoints from both the Faroe Islands and New Zealand studies (NRC, 2000,
   Table 7-6, p. 294). This approach also allowed an integrative analysis of data from all three
   studies.

   Table 1. BMD (BMDL) Estimates from the Faroe Islands Study with and without Adjustment
   for PCBs and in the Subset of Children Whose PCB Exposure Was Low (calculated using the
   K-power model)

Exposure        Endpointa              Full Cohort       Adjusted for PCBs       Low-PCB Tertile




                                                     8
       Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 794 of 854
Integrated Risk Information System (IRIS)                                 U.S. Environmental Protection Agency
Chemical Assessment Summary                                        National Center for Environmental Assessment




Exposure        Endpointa              Full Cohort        Adjusted for PCBs       Low-PCB Tertile


                                 BMD05 (BMDL05)b BMD05 (BMDL05) BMD05 (BMDL05)


Maternal- Finger                    20        (12)         17        (9)             7            (4)
hair      tapping
(ppm)
                CPT                 18        (10)         27        (11)           13            (5)
                reaction
                time


                BNT                 15        (10)         24        (10)           21            (6)


                CVLT:               27        (14)         39        (12)           32            (7)
                delayed
                recall


Cord            Finger              140        (79)        149       (66)           41           (24)
blood           tapping
(ppb)
                CPT                 72        (46)         83        (49)           53           (28)
                reaction
                time


                BNT                 85        (58)         184       (71)          127           (40)


                CVLT:               246       (103)        224       (78)          393           (52)
                delayed
                recall


   a
    CPT = Continuous Performance Test; BNT = Boston Naming Test; CVLT = California
   Verbal Learning Test.
   b
     BMDs are calculated under the assumption that 5% of the responses will be abnormal in
   unexposed subjects (P0 = 0.05), assuming a doubling of the excess risk (BMR = 0.05).




                                                      9
      Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 795 of 854
Integrated Risk Information System (IRIS)                             U.S. Environmental Protection Agency
Chemical Assessment Summary                                    National Center for Environmental Assessment




   Source: E. Budtz-Jørgensen, Copenhagen University, N. Keiding, Copenhagen University, and
   P. Grandjean,University of Southern Denmark, unpublished material, April 28, 2000, in Table
   7-4, p. 289, NRC 2000.

   Table 2 presents BMDL05s from a number of endpoints in terms of cord-blood mercury. These
   tests are all indications of neuropsychological processes involved in a child's ability to learn
   and process information. The BMDLs for these scores are all within a relatively close range.
   They were converted using a one-compartment model to an ingested dose of methylmercury
   that would result in the cord-blood level. The last column shows the corresponding RfD from
   application of a UF of 10 (see next section). The calculated RfD values converge at the same
   point: 0.1 µg/kg/day. Among the endpoints from the Faroe Islands study were three deviations
   from 0.1 µg/kg/day: 0.2 µg/kg/day for the CVLT entire cohort and 0.05 µg/kg/day for CPT
   and Finger Tapping, the lowest PCB tertile. EPA also calculated geometric means from the
   four endpoints from the Faroe Islands study; RfDs were 0.1 µg/kg/day based on these
   calculations. For the New Zealand study smoothed values, both the median value and the
   results of the McCarthy Perceived Performance test yielded RfDs of 0.05 µg/kg/day, and the
   McCarthy Motor Test yields an RfD of 0.1 µg/kg/day. Based on the integrative analysis of all
   three studies, the RfD would be 0.1 µg/kg/day

   Table 2. Comparison of BMDL05s and Corresponding RfDs from Faroes, New Zealand, and
   NRC Integrative Analysisa

         Testb                  BMDL05 ppb     Ingested           RfD
                                 mercury         dose          µg/kg/dayd
                                  cord        µg;/kg/dayc


BNT Faroes


Whole cohort                           58        1.081              0.1


PCB-adjusted                           71        1.323              0.1


Lowest PCB                             40        0.745              0.1


CPT Faroes




                                                10
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 796 of 854




                      Exhibit 38
 Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 797 of 854




                  FOOD & WATER WATCH

                                 VS

U.S. ENVIRONMENTAL PROTECTION AGENCY, ET AL.,



                    CHARLOTTE LEWIS

                         August 08, 2019
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 798 of 854




   · ·

   · ·

   · ·



   FOOD
   · ·
   · ·
   · ·
   · ·
   · ·
   U.S.
   AGEN
   · ·
   · ·
   · ·


   · ·

   · ·

   · ·

   · ·
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 799 of 854
                                                                            23

·1

·2

·3

·4

·5

·6

·7

·8

·9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 800 of 854
                                                                            24

·1

·2

·3

·4

·5

·6

·7

·8

·9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 801 of 854
                                                                            25

·1

·2

·3

·4

·5

·6

·7

·8

·9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 802 of 854
                                                                            26

·1

·2

·3

·4

·5

·6

·7

·8

·9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 803 of 854
                                                                            27

·1

·2

·3

·4

·5

·6

·7

·8

·9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 804 of 854
                                                                            28

·1

·2

·3

·4

·5

·6

·7

·8

·9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 805 of 854
                                                                            29

·1

·2

·3

·4

·5

·6

·7

·8

·9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 806 of 854
                                                                         338

·1     · · · · · · · · ·CERTIFICATE OF REPORTER

·2

·3     · · ·I, ANTHONY JUDE CORDOVA, a California Certified

·4     Shorthand Reporter and Notary Public, hereby certify

·5     that the witness in the foregoing deposition was by me

·6     duly sworn to tell the truth in the within-entitled

·7     cause;

·8     · · ·That said deposition was taken down in shorthand by

·9     me, a disinterested person, at the time and place

10     therein stated, that review was not waived, and that the

11     testimony of the said witness was thereafter reduced to

12     typewriting, by computer, under my direction and

13     supervision;

14     · · ·I further certify that I am not of counsel or

15     attorney for either or any of the parties to the said

16     deposition, nor in any way interested in the event of

17     this cause, and that I am not related to any of the

18     parties thereto.

19

20     DATE: 8-22, 2019

21

22     _____________________________________

23     Anthony Jude Cordova, RPR, CS

24

25



                      Asbestos Reporters of California
                                888-779-9974                                   YVer1f
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 807 of 854




                      Exhibit 39
 Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 808 of 854




                  FOOD & WATER WATCH

                                 VS

U.S. ENVIRONMENTAL PROTECTION AGENCY, ET AL.,



                         GARY SLADE

                         August 13, 2019
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 809 of 854



·1     · · · · ·IN THE UNITED STATES DISTRICT COURT

·2     · · · ·FOR THE NORTHERN DISTRICT OF CALIFORNIA

·3     · · · · · · · · · AT SAN FRANCISCO

·4     FOOD & WATER WATCH, et al.· · *

·5     · Plaintiffs· · · · · · · · · *· Civ. No.

·6     v.· · · · · · · · · · · · · · *· 17-CV-02162-EMC

·7     U.S. ENVIRONMENTAL PROTECTION *

·8     AGENCY, et al.· · · · · · · · *

·9     · Defendants· · · · · · · · · *

10     · · · · · · · · · *· ·*· ·*· ·*· ·*

11     · · · · · · · VIDEOTAPED DEPOSITION OF

12     · · · GARY DOUGLAS SLADE, Ph.D., DDPH, B.D.Sc.

13     · · · · · · · · · AUGUST 13th, 2019

14     · · · · · · · · · WASHINGTON, D.C.

15

16     · · · · · · ·Reported by:· Dawn M. Hyde

17

18

19

20

21
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 810 of 854
                                                                            45

·1     · · · · · (Deposition Exhibit Numbers 197 and 198

·2     · · · · · were marked for identification.)

·3     · · ·BY MR. CONNETT:

·4     · · ·Q· · So I am going to mark those reports

·5     for the record now.· The first report, your

·6     initial report I have marked as Exhibit

·7     Number 197 and your rebuttal report I have

·8     marked as Exhibit Number 198.

·9     · · · · · Now, for your reports in this case

10     you did not conduct systematic reviews,

11     correct?

12     · · ·A· · This is a narrative review which is

13     different from a systematic review.

14     · · ·Q· · And can you describe what a

15     narrative review is.

16     · · ·A· · It's the traditional way that

17     researchers used to -- and still do -- for

18     instance, prepare a paper and they'll review

19     the literature as preamble to their new

20     studies.· So I say used to because since

21     systematic review methodology was developed,



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 811 of 854
                                                                            46

·1     that has been singled out as a qualitatively

·2     different level of review for multiple

·3     methodological reasons.

·4     · · ·Q· · But literature reviews are -- sorry,

·5     strike that.

·6     · · · · · Narrative reviews still continue to

·7     be published in the scientific literature,

·8     correct?

·9     · · ·A· · Oh, certainly they do, yes.

10     · · ·Q· · And they continue to be relied upon

11     by professionals like yourself in evaluating

12     the literature, correct?

13     · · ·A· · Good researchers will evaluate them.

14     Now, rely is your term.· When I evaluate any

15     evidence, I weight its merits.

16     · · ·Q· · Right.· You'll take -- any given

17     paper, you will look at it to assess the

18     merits of it based on the presentation of

19     material in that paper, right?

20     · · ·A· · That's what I always endeavor to do,

21     yes.



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 812 of 854
                                                                            47

·1     · · ·Q· · Now, you are a subject matter expert

·2     on the issue of fluoridation and caries,

·3     correct?

·4     · · ·A· · Yes.

·5     · · ·Q· · And you're not -- you didn't come to

·6     this case as a stranger to the issue of

·7     fluoridation and caries, correct?

·8     · · ·A· · That's right.· I was recruited for

·9     my expertise in that.

10     · · ·Q· · And do you think that's a relevant

11     consideration in assessing the reliability of

12     your narrative review, the fact that you are a

13     subject matter expert on this issue?

14     · · · · · MR. DO:· Objection to form.

15     · · ·A· · I assume the Justice Department

16     wanted an expert so that's why they asked me.

17     · · ·BY MR. CONNETT:

18     · · ·Q· · And so, for instance, when the judge

19     is reading your report, do you think it's a

20     relevant consideration for the judge to say,

21     "Dr. Slade is a subject matter expert on this



                      Asbestos Reporters of California
                                888-779-9974                                     YVer1f
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 813 of 854
                                                                         469

·1     STATE OF MARYLAND

·2     HOWARD COUNTY

·3     · · ·I, Dawn Michele Hyde, a Notary Public of the

·4     State of Maryland, Howard County, do hereby

·5     certify that the above-captioned proceeding took

·6     place before me at the time and place herein set

·7     out.

·8     · · ·I further certify that the proceeding was

·9     recorded stenographically by me and this

10     transcript is a true record of the proceedings.

11     · · ·I further certify that I am not of counsel to

12     any of the parties, nor an employee of counsel,

13     nor related to any of the parties, nor in any way

14     interested in the outcome of the action.

15     · · ·As witness my hand and seal this 13th day of

16     August, 2019.

17

18     · · · · · · · ·Dawn M. Hyde, Notary Public

19     · · · · · · · ·My Commission Expires 10/7/2019

20

21



                      Asbestos Reporters of California
                                888-779-9974
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 814 of 854




                      Exhibit 40
 Case 3:17-cv-02162-EMC
   Case  3:17-cv-02162-EMCDocument 120-1
                            Document 100-1Filed 10/18/19
                                             Filed 05/22/19Page 815
                                                             Page 1 of
                                                                    of 854
                                                                       5




                              Exhibit A
 Second Amended Declaration of Scott Edwards, Co-
Director of the Food & Water Justice project for Food &
                     Water Watch
  Case 3:17-cv-02162-EMC
    Case  3:17-cv-02162-EMCDocument 120-1
                             Document 100-1Filed 10/18/19
                                              Filed 05/22/19Page 816
                                                              Page 2 of
                                                                     of 854
                                                                        5




 1
 2
 3
 4
 5
 6
 7
 8
                           IN THE UNITED STATES DISTRICT COURT
 9
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
                                     SAN FRANCISCO DIVISION
11
12
13 FOOD & WATER WATCH, INC., et al.,                )    Case No. 17-cv-02162-EMC
                                                    )
14                                Plaintiffs,       )
                                                    )
15          v.                                      )    SECOND AMENDED DECLARATION OF
                                                    )    SCOTT EDWARDS
16 ENVIRONMENTAL PROTECTION                         )
     AGENCY, et al.,                                )
17
                                                    )
                                  Defendants.
18                                                  )
                                                    )
19
     I, SCOTT EDWARDS, declare as follows:
20
     1.     I am over the age of eighteen (18) years of age, and suffer from no legal incapacity.
21
     2.     I am Co-Director of the Food & Water Justice project for Food & Water Watch (FWW), a
22
23 position I have held since 2011. In my capacity as Co-Director of the Food & Water Justice Project,
24 I oversee and am intimately familiar with the organization’s mission, membership, activities, and
25 operations.
26
27
28

                                                   -1-
  Case 3:17-cv-02162-EMC
    Case  3:17-cv-02162-EMCDocument 120-1
                             Document 100-1Filed 10/18/19
                                              Filed 05/22/19Page 817
                                                              Page 3 of
                                                                     of 854
                                                                        5




 1 3.       I make this declaration on behalf of Food & Water Watch and in support of Food & Water

 2 Watch’s action against EPA under the Toxic Substances Control Act regarding the risks posed by
 3 fluoridation chemicals in drinking water.
 4
     4.     FWW is a nonprofit membership organization that champions healthy food and clean water
 5
     for all, and advocates for a democracy that improves people’s lives and protects our environment.
 6
     Core to our mission is the belief that clean, safe water for drinking and recreational uses is a
 7
 8 fundamental right that should be afforded to all people.
 9 5.       FWW has over 70,000 members nationwide. Audrey Adams (Renton, WA), Julie Simms

10 (Seattle, WA), and Jessica Trader (San Francisco, CA) are each members of FWW.
11 6.       On behalf of our over 70,000 members nationwide, we advocate for more government
12
     responsibility in protecting our drinking water resources, including properly regulating the
13
     addition of harmful additives and chemicals, like fluoridation chemicals, to our water supplies.
14
15 Our advocacy for safe water includes public education and outreach efforts to our members and
16 the general public, including advocating in 2013 against the proposed addition of fluoridation
17 chemicals to the largest non-fluoridated city in the United States (Portland, Oregon).
18 7.       Our work also includes research and publication of reports related to drinking water safety;
19
     political organizing to force better laws and policies; and legal efforts to oppose regulatory actions
20
     that threaten the safety of our nation’s food and water. EPA’s failure to properly regulate
21
     fluoridation chemicals and safeguard our nation’s drinking water supplies is the type of
22
23 irresponsible action and dereliction of duty that FWW was formed to address.
24 8.       I am aware of the many peer-reviewed studies that have linked fluoride in drinking water

25 to adverse neurological effects, which our experts will be testifying about in much greater detail
26 later in this action.
27
28

                                                     -2-
  Case 3:17-cv-02162-EMC
    Case  3:17-cv-02162-EMCDocument 120-1
                             Document 100-1Filed 10/18/19
                                              Filed 05/22/19Page 818
                                                              Page 4 of
                                                                     of 854
                                                                        5




 1 9.         I am aware of the declarations, supporting documentation, and testimony from three of our

 2 members, Audrey Adams, Julie Simms, and Jessica Trader, that detail harms they have suffered
 3 because of fluoridation chemicals in drinking water supplies. For purposes of this litigation, FWW
 4
     will be relying upon the experiences of Audrey Adams, Julie Simms, and Jessica Trader to
 5
     illustrate how FWW members would have standing in their own right to bring this action. I am
 6
     aware, however, of other individual FWW members who suffer similar harm from fluoridation
 7
 8 chemicals, including Karen Spencer, Franzi Talley, and Randy Talley.
 9 10.        As evidenced by the sworn statements of Mrs. Adams, Ms. Simms, and Ms. Trader, some

10 FWW members expend substantial sums of money and endure substantial inconvenience in order
11 to protect themselves and their families from the credible risks of neurological harm posed by
12
     fluoridation chemicals in food and water, including:
13
           A. Purchasing non-fluoridated spring/filtered/deionized water for drinking and cooking needs;
14
           B. Purchasing specialized water filtration systems (including ongoing replacement of filter
15
16            cartridges) for drinking, cooking and showering needs;

17         C. Purchasing bottled water for drinking needs when away from home;
18         D. Refraining from consumption of restaurant-prepared beverages in areas where fluoridation
19
              chemicals are added to drinking water;
20
           E. Refraining from consumption of commercially produced beverages, including coffee,
21
              sodas, reconstituted juices, and beers; and
22
23         F. Refraining from, or limiting, showers and baths in areas where fluoridation chemicals are

24            added to drinking water.

25
     11.      For some FWW members, the concern about neurological risks from fluoridation
26
     chemicals is based, in part, on neurological ailments they, or their children, have suffered from
27
     drinking fluoridated water. The declarations by Julie Simms and Audrey Adams provide examples
28

                                                       -3-
  Case 3:17-cv-02162-EMC
    Case  3:17-cv-02162-EMCDocument 120-1
                             Document 100-1Filed 10/18/19
                                              Filed 05/22/19Page 819
                                                              Page 5 of
                                                                     of 854
                                                                        5




 1 of some of the neurological health issues that FWW members have experienced from their
 2 exposure to fluoridation chemicals.
 3 12.      FWW believes its members’ concerns about the neurological risks of fluoridated water are
 4
     consistent with and justified by the findings of peer-reviewed scientific literature, including the
 5
     recent longitudinal birth cohort studies financed by the National Institutes of Health and EPA.
 6
     (FWW_TSCA_FL_0002181-0002192,                                FWW_TSCA_FL0012774-0012782,
 7
 8 FWW_TSCA_FL_0012837-0012866); the findings of the prestigious National Research
 9 Council’s      (NRC)      review     on    fluoride’s    neurological    and     endocrine    effects

10 (FWW_TSCA_FL_0002569-0002571; FWW_TSCA_FL_0003735-0003742); and the many
11 additional studies published subsequent to the NRC’s review which have repeatedly found that
12
     fluoride ingestion is associated with adverse neurological and thyroid effects.
13
     13.    FWW believes that the concerns of its members are also consistent with, and further
14
15 supported by, the conclusions of a prominent review by Drs. Philippe Grandjean and Philip
16 Landrigan in Lancet Neurology, which identified fluoride as one of only 12 chemicals “known to
17 cause developmental neurotoxicity in human beings.” (FWW_TSCA_FL_0002597).
18 14.      I am aware that many FWW members drink tap water, and that fluoridation chemicals are
19
     added to over 70% of community water systems in the United States. I have also become aware
20
     through my work at FWW that some FWW members use countertop filters like Brita and Pur to
21
     remove contaminants from their water, and that these countertop filters do not remove fluoride.
22
23          I declare under penalty of perjury, under the laws of the United States of America, that the

                                                                             9th day of
24 foregoing is true and correct to the best of my knowledge. Executed this ___
   May
25 _______________, 2019 in New York City.
26                                                                    _________________
27
                                                                      SCOTT EDWARDS
28

                                                    -4-
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 820 of 854




                      Exhibit 41
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 821 of 854
                                   Julie Simms                 November 28, 2018

                                                                   Page 1

1                  IN THE UNITED STATES DISTRICT COURT

2                  FOR THE CENTRAL DISTRICT OF CALIFORNIA

3       _____________________________________________________

4       FOOD & WATER WATCH,             )

5       et al.,                         )

6                 Plaintiffs,           )

7          vs.                          ) No. 17-cv-02162-EMC

8       US ENVIRONMENTAL                )

9       PROTECTION AGENCY,              )

10      et al.,                         )

11                Defendants.           )

12      _____________________________________________________

13

14                   DEPOSITION UPON ORAL EXAMINATION

15                                      OF

16                                 JULIE SIMMS

17       _____________________________________________________

18                                 9:27 a.m.

19                              November 28, 2018

20                                 700 Stewart

21                            Seattle, Washington

22

23

24      REPORTED BY: Margaret Walkky, CCR, RPR, RMR, CRR

25      Court Reporter, License No. 2540

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 822 of 854
                                   Julie Simms                 November 28, 2018

                                                                       Page 85

1                    A.   Yes, NRC.     Yes, National Research

2       Council, uh-huh.

3                    Q.   Do you find -- there was questions

4       about what you might find credible or not credible.

5       Do you find the National Research Council to be a

6       credible organization?

7                    A.   Yes, I do.

8                    Q.   Are you aware that the NRC published a

9       review on fluoride toxicity?

10                        MS. CARFORA:      Objection, scope.

11                   A.   Yes, I am.

12                   Q.   Have you ever head about the NRC's

13      findings in its review?

14                   A.   I have.     Yes, I have.

15                   Q.   Do you have any awareness as to whether

16      the NRC in its review discussed fluoride's effects on

17      the brain?

18                   A.   Yes.   I'm thinking that earlier when I

19      was trying to remember the study that talked about

20      rats and brain health and dementia, that I believe

21      that was the study I was thinking of.

22                   Q.   What's your understanding as to what

23      the -- what's your understanding of what the NRC said

24      about fluoride's effects on the brain?               I'm not

25      asking for everything, but do you have any

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 823 of 854
                                   Julie Simms                 November 28, 2018

                                                                 Page 86

1       understanding about what the NRC said about

2       fluoride's effects on the brain?

3                    A.     In terms of what it does --

4                    Q.     Yeah.

5                    A.     -- or the end result?

6                           I'm a layman, kind of what I walked

7       away with from the study was disruption of brain

8       chemistry and that that can lead to long-term

9       effects, can lead to dementia and Alzheimer's, but I

10      don't know A to B, I don't know exactly how that

11      happens.

12                   Q.     So you are aware of that the NRC

13      discussed the possible relationship between fluoride

14      and dementia; is that fair to say?

15                   A.     Yes.

16                   Q.     Are you aware that the NRC discussed

17      the possible relationship between fluoride and

18      Alzheimer's disease?

19                   A.     Yes.

20                   Q.     Are you aware that the NRC recommended

21      that studies be done to further investigate the

22      relationship between fluoride and dementia?

23                   A.     Yes, I am.

24                   Q.     Is that part of the, quote, new

25      information that you were referring to earlier?

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 824 of 854
                                   Julie Simms                 November 28, 2018

                                                                 Page 87

1                    A.     Yes, it is.

2                    Q.     Does that new information cause you

3       personal concern about how fluoridation chemicals

4       could affect your health?

5                    A.     Yes, it causes me a lot of concern.              I

6       mentioned earlier a family history of dementia.                 In

7       fact, last week my uncle was diagnosed with

8       Alzheimer's.       My great grandmother had Alzheimer's

9       and my grandmother had dementia.              She probably had

10      Alzheimer's, but died before it was diagnosed.

11                          And I have a young child and I'm very

12      worried about being healthy for her, and for me, it's

13      terrifying.       I don't think the damage is -- just

14      stopping after so many years of drinking fluoridated

15      water, I don't think that's the end of it for me.

16                   Q.     So when you hear about the NRC

17      discussing the relationship between fluoride and

18      dementia and the possibility that fluoride can cause

19      dementia, that causes you concern?

20                   A.     Yes.

21                   Q.     You had talked about getting

22      information on fluoride and the brain from the

23      Fluoride Action Network?

24                   A.     Yes.

25                   Q.     Do you recall ever reading about the

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 825 of 854
                                   Julie Simms                 November 28, 2018

                                                                Page 103

1                    Q.      And you -- now, if you look at

2       paragraph 13 on line 17, you talk about the daily

3       headaches.        Do you see that?

4                    A.      Yes.

5                    Q.      Do you use those two terms

6       interchangeably, low grade daily migraines and daily

7       headaches?

8                    A.      Yes.

9                    Q.      And you also talk about, you refer in

10      the declaration to migraines.           Sometimes you say

11      severe migraines.           How would you differentiate for us

12      what you call the daily headache versus the migraine?

13                   A.      Okay.     For me, the daily headaches were

14      head pain.        And then what was escalating a few times

15      a month was like that low grade headache might

16      escalate and become what we'll call a migraine that

17      included not only a much, much higher level of pain,

18      but also other symptoms like nausea, dizziness,

19      vomiting, fatigue, light sensitivity, things of that

20      nature.

21                   Q.      Now, in paragraph 10 you talk about in

22      the 2002 to 2013 time frame, your headaches would

23      flare up to a pain level of 9 to 10 several times

24      each month; is that correct?

25                   A.      Correct.

                             www.CapitalReportingCompany.com
                                      202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 826 of 854
                                   Julie Simms                 November 28, 2018

                                                               Page 104

1                    Q.      When it would flare up to the level of

2       9 to 10, is that what you would call a migraine?

3                    A.      Yes.

4                    Q.      So why do you sometimes call the daily

5       headaches low grade daily migraines?

6                    A.      My understanding is that once you're

7       diagnosed with migraines, that's what your headaches

8       are.    They're migraine headaches, not cluster

9       headaches.        So I do use them interchangeably because

10      I think migraine headache, and that was just

11      something I can recall my doctor saying, that you

12      don't just get a general headache.               You're getting

13      migraines.

14                           So I think as the migraine would go

15      from a low level to severe, then all those migraine

16      symptoms would increase as well.               But yeah, I do use

17      them fairly interchangeably in the document.

18                   Q.      Would it be fair to say that you would

19      generally refer to the low grade daily migraines as

20      daily headaches?

21                   A.      Yes.

22                   Q.      Would that be, when speaking with the

23      doctor, for example, would you refer to the low grade

24      daily migraines as daily headaches?

25                   A.      Yes.

                            www.CapitalReportingCompany.com
                                     202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 827 of 854
                                   Julie Simms                 November 28, 2018

                                                               Page 110

1                    Q.     Now, the next two paragraphs,

2       Dr. Konikow is talking about certain medications that

3       you had taken or were taking?

4                    A.     Yeah, these were in this paragraph,

5       those were the medications that were more current.                  I

6       think in the next paragraph he talks about previous

7       or other tried medications, but at this time, this is

8       what I had been currently taking.

9                    Q.     I see the first sentence of the third

10      paragraph he writes, "Julie currently takes

11      nortriptyline 75 milligrams for headache prevention

12      with questionable efficacy."

13                          Did I read that correctly?

14                   A.     Yes.

15                   Q.     And is that consistent with your

16      recollection?

17                   A.     Yes.

18                   Q.     So you experimented it appears with a

19      number of different pharmaceuticals for headaches and

20      migraines?

21                   A.     Yes.

22                   Q.     And did any of them provide you

23      sustaining significant relief from your symptoms?

24                   A.     No.    Sometimes short-term relief.

25      Sometimes when I took Imitrex or Relpax ahead of a

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 828 of 854
                                   Julie Simms                 November 28, 2018

                                                               Page 111

1       big headache, it would keep the headache from

2       escalating, but I got where I was in pain so much of

3       the time it was hard to know when the big headache

4       was coming be on.          And these medications are not

5       designed to take daily or I believe even at that time

6       he said, you know, no more than six times a month

7       should I be using Imitrex or Relpax types of

8       medication.

9                    Q.     Now, you stopped drinking fluoridated

10      water in the early part of 2013, correct?

11                   A.     Yes.

12                   Q.     Have you ever since that time taken

13      medications to treat your headaches or migraines?

14                   A.     I have not.

15                   Q.     At this present time today, are you

16      taking any medication to prevent or treat headaches

17      or migraines?

18                   A.     No, I'm not.

19                   Q.     Are you going to any doctor to treat

20      your headaches or migraines?

21                   A.     I am not.

22                          I believe Dr. Konikow has a typo in

23      this letter.

24                   Q.     Oh, now that you mentioned that, why

25      don't I go ahead and ask you, because there was no

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 829 of 854
                                   Julie Simms                 November 28, 2018

                                                               Page 114

1       but under resolved, she lists migraines as well.

2                    Q.     Do you know what the doctor meant when

3       she says migraine resolved?

4                           MS. CARFORA:       Objection.

5                    A.     I believe this is because the daily

6       headaches were resolved, but I am still prone to

7       triggering migraines through the other triggers, is

8       that I have.

9                    Q.     So you still experience migraines

10      today, correct?

11                   A.     Correct.

12                   Q.     But are the migraines that you

13      experience of the same -- how would you describe the

14      difference with the migraines that you experience

15      today versus the migraines that you were experiencing

16      before you stopped your exposure to fluoridated

17      water?

18                          MS. CARFORA:       Objection, form,

19      foundation.

20                   A.     When I had -- when I experienced

21      headaches prior to 2013, not only was there sort of

22      this oppressive, always-present pain or

23      present-almost-every-day pain, but when I did get

24      headaches or the big -- sorry, the big migraines that

25      would escalate, the pain and the severity was worse.

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 830 of 854
                                   Julie Simms                 November 28, 2018

                                                                  Page 115

1                            So, yeah, it's hard to explain how the

2       pain had a different way of feeling.                  It wasn't sort

3       of a dull throb or pulsing.             It would be like these

4       massive stabbing pains.           And then there would be the

5       daily things.

6                            So since then, I can still get a

7       headache from one of my other triggers.                  For example,

8       last -- about a month ago I was having a stressful

9       work week.        I was having trouble sleeping.            I got a

10      headache.     I was grumpy and I had a dull pain, but

11      headache only lasted a day and a half.                  The migraine

12      only lasted that long, and I was able to feel better

13      with an ice pack or something simple.

14                           So it's like the migraines of the past

15      were in a different league.             They were so much more

16      painful or they were more often.               Since removing

17      water with fluoride, I can actually go many months

18      without a headache, and for most of my adult life,

19      that was untrue.         I was having them on a very regular

20      basis until I stopped water fluoride.

21                   Q.      Do you have daily headaches today?

22                   A.      I do not.

23                   Q.      Have you had daily headaches at any

24      period since stopping your consummation of

25      fluoridated water?

                            www.CapitalReportingCompany.com
                                     202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 831 of 854
                                   Julie Simms                 November 28, 2018

                                                               Page 116

1                    A.     No.

2                    Q.     Is that one of the reasons why you no

3       longer take medication for headaches?

4                    A.     Yes.

5                           MR. CONNETT:       I have no further

6       questions.

7                           MS. CARFORA:       I have some, sorry.

8       We've plowed through here.           Everyone okay, keep

9       going?

10                          MR. CONNETT:       Okay.

11

12                            E X A M I N A T I O N

13      BY MS. CARFORA:

14                   Q.     Are you aware of any studies that show

15      an association between fluoridated water and

16      headaches?

17                          MR. CONNETT:       Calls for an expert

18      opinion.

19                   A.     Yes, I am aware.

20                   Q.     What studies are you aware of?

21                   A.     We were just talking about the NIH

22      study -- I'm sorry, the NRC study.

23                   Q.     Let's start with the NIH study.            I

24      understand your testimony to be that the NIHA study

25      looked at neurotoxic affects of fluoride?

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 832 of 854
                                   Julie Simms                 November 28, 2018

                                                               Page 126

1                        C E R T I F I C A T E
2
3       STATE OF WASHINGTON           )ss.
4       COUNTY OF KING                )
5
6
7       I, Margaret Walkky, the undersigned Registered Merit
        Reporter and an officer of the Court for the State of
8       Washington, hereby certify that the foregoing
        deposition upon oral examination of JULIE SIMMS was
9       taken before me on November 28, 2018 and transcribed
        under my direction;
10
        That the witness was duly sworn by me pursuant to RCW
11      5.28.010 to testify truthfully; that the transcript
        of the deposition is a full, true, and correct
12      transcript to the best of my ability; that I am
        neither attorney for, nor a relative or employee of,
13      any of the parties to the action or any attorney or
        counsel employed by the parties hereto, nor
14      financially interested in its outcome;
15      I further certify that in accordance with CR 30(e),
        the witness was given the opportunity to examine,
16      read, and sign the deposition, within 30 days, upon
        its completion and submission, unless waiver of
17      signature was indicated in the record.
18      IN WITNESS WHEREOF, I have hereunto set my hand and
        seal this date: December 10, 2018.
19
20
21
22                <%8862,Signature%>
                  Margaret Walkky, Registered Merit Reporter
23                Certified Court Reporter No. 2540 License
                  expires July 18, 2019
24
25

                           www.CapitalReportingCompany.com
                                    202-857-3376
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 833 of 854




                      Exhibit 42
            Case
            Case3:17-cv-02162-EMC
                 3:17-cv-02162-EMC Document
                                   Document120-1
                                            100-6 Filed
                                                  Filed10/18/19
                                                        05/22/19 Page
                                                                 Page834 of104
                                                                      19 of 854


Middle Way Internal Medicine
3121 E Madison St. Ste 204
Seattle, WA 98112
(206)322−5498
FAX (206)322−5618

Patient: SIMMS, JULIE M, DOB: 09/24/1968, Age: 47 years, Female
Acct #: 17791516, Encounter Date: 04/26/2016

Preventive Medicine Services − Established Patient Encounter
04/26/2016


Chief Complaint(s): PE, possible allergies, migraines, fatigue, MTHFR mutation questions

History of Present Illness:
Amazing improvementin general since she stopped having any exposure to fluoride; migraines are maybe
once a month, around the time of her period and last 2−3 d, not treatment except ice.
8 mos of ear congestion, plugging, sometimes feels as if there is some drainage down into her throat and
then she feels less pressure.
There are times when she does not have allergy sx but ears are still congested
New cat at home in past 2−3 years.
Also some tinnitus, worse with clenching, wears a night guard.
Energy is not great, even with enough sleep, crashes in the afternoon and doesn’t get a second wind,
very tired 3−4 pm, hard to not take a nap.
Wonders if she shoudl be tested for MTHFR gene mutation

Medical History
Migraines, no aura but occasional peripheral visual spots. Frequency reduced to once a month after she
started avoiding fluoride; some mild headaches at other times.
Pregnancy induced hypertension.

Bruxism.
Allergic rhinitis.

Family History
CAD − father 66 yo > stent.
Stroke − grandfather.
Type 2 diabetes − maternal grandmother.
Asthma − brother.
Visual migraine − father.
Allergic rhinitis − brother.
Pernicious anemia − 2 maternal aunts.
Hashimoto’s thyroiditis − father.

Social History
tobacco use − non smoker.
Smoking status: Never smoker (266919005).
alcohol use − none even 1/2 drink makes her feel bad.
Water at least 1 qtd.
exercise − walks a lot, bicycling.
Living situation − Lives w/ daughter Lilly b 2006.
occupation − marketing, event planner.

working on campaign to stop fluoridating water in Seattle.
diet pretty clean, mostly OG; tried avoiding gluten x 1 month, no change.
caffeine consumption − coffee 1 big c/d.

Allergies: hydrocodone−acetaminophen reaction: itch; Latex reaction: unspecified;
                                                            Riboflavin (Vitamin B−2) Group

Printed by TRACEY LIGHTBURN on 09/24/2016, Page 1 of 3
CPT only © 2015 American Medical Association. All Rights Reserved.
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 835 of 854




                      Exhibit 43
            Case
            Case3:17-cv-02162-EMC
                 3:17-cv-02162-EMC Document
                                   Document120-1
                                            100-6 Filed
                                                  Filed10/18/19
                                                        05/22/19 Page
                                                                 Page836 of104
                                                                      16 of 854


Middle Way Internal Medicine
3121 E Madison St. Ste 204
Seattle, WA 98112
(206)322−5498
FAX (206)322−5618

Patient: SIMMS, JULIE M, DOB: 09/24/1968, Age: 44 years, Female
Acct #: 17791516, Encounter Date: 08/09/2013

Established Patient Encounter
08/09/2013


Chief Complaint(s): Wart

History of Present Illness:
Wart on right 4th finger, never fully resolved after last tx, getting bigger.
otherwise doing well; found that her daily headaches resolved when she stopped drinking water with
fluoride; also filters shower water to the extent that she can.
Off nortiptylline since December, was having daily headaches until 3 weeks after she started avoiding all
fluoride. Since that change, intensity of migraines is significantly less and she has not taking sumatriptan
or Fioricet for 2 months. Also easier to see what her migraine triggers are.
has to move again, plans to come back to Seattle

Medical History
Migraines, no aura but occasional peripheral visual spots. Also periods of daily headaches.
Pregnancy induced hypertension.


Social History
tobacco use − non smoker.
Smoking status: Never smoker.
alcohol use − not much.
Water at least 1 qtd.
exercise − walking, PIlates, cardio video.
Living situation − Lives with child Lilly b 9/28/06.
occupation − marketing, event planner.


working on campaign to stop fluoridating water in Seattle.

Allergies: hydrocodone−acetaminophen reaction: itch; Latex reaction: unspecified;
                                                            Riboflavin (Vitamin B−2) Group
reaction: itch

Current Medications:
sumatriptan succinate 100 mg tablet , infrequent X 30 Days, Disp. 9 NR, Start Date: 11/20/2012
Vitamin D3 , 4,000 IU/d

Review of Systems:
Constitutional Symptoms:
Feels well, energy is good

Exam:
General appearance: Appears well.
Normal attention, orientation, concentration, memory.
Normal gait and posture.
Skin: 4 mm wart on right 4th finger.
Psychiatric: affect is full, bright.


Printed by Sevocity Support on 07/06/2018, Page 1 of 2
CPT only © 2017 American Medical Association. All Rights Reserved.
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 837 of 854




                      Exhibit 44
Case
Case3:17-cv-02162-EMC
     3:17-cv-02162-EMC Document
                       Document120-1
                                100-7 Filed
                                      Filed10/18/19
                                            05/22/19 Page
                                                     Page838 of118
                                                          10 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 839 of 854




                      Exhibit 45
Case
Case3:17-cv-02162-EMC
     3:17-cv-02162-EMC Document
                       Document120-1
                                100-7 Filed
                                      Filed10/18/19
                                            05/22/19 Page
                                                     Page840 of118
                                                          25 of 854
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 841 of 854




                      Exhibit 46
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 842 of 854
   127 Research report                    Neurological manifestations of fluoride in a human population 127
        Fluoride 42(2)127–132                                                       Sharma, Sohu, Jain
        April-June 2009

    PREVALENCE OF NEUROLOGICAL MANIFESTATIONS IN A HUMAN
      POPULATION EXPOSED TO FLUORIDE IN DRINKING WATER
                                JD Sharma,a Deepika Sohu, Parul Jain
                                               Jaipur, India

    SUMMARY: A health survey of a human population exposed to low, medium, and high
    fluoride (F) concentrations in drinking water in villages of Sanganer Tehsil, India, was
    conducted. A total of 2691 subjects were personally interviewed and classified from
    low (<1.0 ppm), medium (1.0-1.5 ppm) and high (1.5-6.4 ppm) F villages. Among the
    subjects were 1145 children aged 12 to18 years and 1546 adults aged >18 years who
    were interviewed for various neurological ailments, viz., headache, insomnia,
    lethargy, polyuria, and polydipsia. There were no neurological manifestations in
    children in the low and medium F villages, whereas, in the high F villages, 9.48% of
    the children had headache, 1.21% had insomnia, and 3.23% exhibited lethargy. There
    were no cases of polyuria or polydipsia among the children in any of the villages.
    Among adults in the low, medium, and high F villages, 1.56%, 2.51%, and 26.96%,
    respectively, suffered with headache, while 1.17%, 1.12%, and 24.74% had insomnia,
    and 2.73%, 3.63%, and 23.70% manifested lethargy. No cases of polyuria or
    polydipsia were reported in the low and medium F villages, whereas in the high F
    villages there were 0.74% and 1.19% cases, respectively. The severity of the ailments
    increased with the increasing F concentration in the drinking water. Although the
    percentage of headache, insomnia, and lethargy among the adults was fairly small in
    the low and medium F villages, it was considerable in the high F endemic villages,
    clearly indicative of a role of fluoride in such neurological outcomes. The data also
    indicate that the largest number of cases were headache, followed by lethargy and
    insomnia in the endemic village areas.
    Keywords: Endemic fluoride; Fluoride in water; Headache; Insomnia; Lethargy; Neurological
    manifestations; Sanganer Tehsil, India.
                                          INTRODUCTION
      Fluorosis caused by excess intake of fluoride (F) is a slow, progressive
    degenerative disorder in man and animals that produces deleterious effects on the
    skeletal system,1-3 dental tissues,3-6 soft tissues,5, 7-8 enzyme activities,5, 9 and
    locomotor behavior.10-11 F has the ability to interfere with brain function,12
    reducing IQ levels in children,13-15 cognition and memory,16 and learning
    ability.17 It also impairs the central nervous system functions.18
      The present study was designed to investigate the effect of high fluoride in
    drinking water on neuro-behavioral patterns of a human population in villages of a
    F endemic area.
                                   MATERIALS AND METHODS
      On the basis of the fluoride concentration in the groundwater, 20 villages of
    Sanganer Tehsil, India, were divided into two groups with 10 villages in each
    group: a F non-endemic (low F group having F in drinking water below 1 ppm) or
    medium F (in the range of 1.0-1.5 ppm) and a F endemic group (drinking water F
    more than 1.5 ppm).


    aFor correspondence: Dr (Mrs) JD Sharma, Associate Professor, Department of Zoology,

    University of Rajasthan, Jaipur, Rajasthan, India; E-mail: jaishree_ajay@yahoo.co.in.
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 843 of 854
   128 Research report                                     Neurological manifestations of fluoride in a human population 128
           Fluoride 42(2)127–132                                                                     Sharma, Sohu, Jain
           April-June 2009

      A human health survey was conducted in the above-selected villages. A
    questionnaire was prepared with the help of medical doctors to personally
    interrogate and to investigate the health problems of the inhabitants of the F-
    affected villages.
                                                                      RESULTS
      As found here, F ingestion in excess can lead to various neurological
    manifestations. Inhabitants of certain villages in Sanganer Tehsil were found to be
    suffering from various neurological disorders due to high levels of F in the
    groundwater. The main neurological manifestations observed were headache,
    insomnia (lack of sleep), lethargy (fatigue), depression, polyuria (tendency to
    urinate frequently), and polydipsia (excessive thirst).
      In the low and medium F villages, no child was found to have any of these
    neurological symptoms. In the high F area, a few children were found to have
    headache, insomnia, and lethargy, most of them complaining of headache
    followed by insomnia and lethargy. No child in high fluoride area was found to
    have polyuria or polydipsia (Table 1).




             Table 1 . Neuro logical manifesta tion s amon g chil dren in low, med ium, and h igh F villag es of Sang aner Tehsil


                                   Total no of                                    Ne urolo gical manifesta tio ns
                               a
     Villa ge area      S ex         child ren
                                    su rve yed       Head ache            In somn ia         Letharg y          Polyuria    Po lyd ipsia

                                       372                0                   0                  0                  0               0
        Low F
      (<1.0ppm)           M            186                0                   0                  0                  0               0
                          F            186                0                   0                  0                  0               0

                                       355                0                   0                  0                  0               0
       Me dium F
                          M            180                0                   0                  0                  0               0
     (1.0-1.5ppm)
                          F            175                0                   0                  0                  0               0

                                                         47                  16                  6
                                       418                        b                                                 0               0
                                                      (11 .2 4)            (3.83)              (1.44)
        High F                                          29                   13                  4
                          M            213                                                                          0               0
      (>1.5ppm)                                       (13.62)              (6.10)              (1.88)
                                                         18                  3                   2
                          F            205                                                                          0               0
                                                       (8 .7 8)            (1.46)              (0.98)

       a                           b
        M = Ma le, F = Female. Valu es in par enthesis ar e p ercentages of e ach g roup.
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 844 of 854
   129 Research report                                     Neurological manifestations of fluoride in a human population 129
          Fluoride 42(2)127–132                                                                      Sharma, Sohu, Jain
          April-June 2009

      In the low F villages, a small number of adults suffered from neurological
    manifestations, the most common of which was lethargy followed by headache
    and insomnia. No case of polyuria or polydipsia was observed among adults in the
    low F villages (Table 2).


              Table 2 . Neuro logical manifesta tion s amo ng a dults in lo w, me dium, and h igh F vi l l age s of S anga ner Tehsil
                                                                                    Neurolo gical manifesta tio ns
                            a      Total no of
     V illag e area   Sex                              Hea dache           Insomnia            Letharg y        Polyuria        Po lyd ipsia
                                ad ults surveyed

                                                            8                   6                  14
                                      51 3                      b                                                    0                  0
                                                         (1.56)              (1.17)              (2.73)
          Low F                                             5                   3                  9
                       M              25 9                                                                           0                  0
     ( <1.0 ppm)                                         ( 1.9 3)            (1.16)              (3.47)
                                                             3                  3                  5
                        F             25 4                                                                           0                  0
                                                         ( 1.1 8)            (1.18)              (1.97)

                                                            12                  7                  22
                                      47 7                                                                           0                  0
                                                         ( 2.5 1)            (1.47)              (4.61)
      Med ium F
                                                             8                  4                  13
       (1 .0- 1.5      M              24 2                                                                           0                  0
                                                         ( 3.3 0)            (1.66)              (5.37)
         ppm)
                                                            4                   3                  9
                        F             23 5                                                                           0                  0
                                                         ( 1.7 0)            (1.28)              (3.83)

                                                           179                1 51                16 4               5                  8
                                      56 6
                                                         (32.19 )           (2 7.16)            (2 9.5 0)        (0 .9 0)          ( 1.4 4)
        Hig h F                                            96                  80                 10 9               3                 5
                       M              29 2
     ( >1.5 ppm)                                         (32.88 )           (2 7.40)            (3 7.3 3)        (1 .0 3)          ( 1.7 1)
                                                           83                  71                  55                2                 3
                        F             27 4
                                                         (31.44 )           (2 6.89)            (2 0.8 3)        (0 .7 6)          ( 1.1 4)
      a                          b
       M = Mal e, F = Femal e. V alues in paren th esis are pe rce ntages in e ach g roup.


      In the medium F villages a considerable number of adults suffered from lethargy
    followed by headache and insomnia. As in the low F villages, no subject was
    found to be suffering from polyuria or polydipsia (Table 2). Males were more
    prone to the neurological manifestations than females.
      In the high F villages the percentage of adult inhabitants suffering from
    headache, insomnia, lethargy, polyuria, and polydipsia was high compared to the
    low and medium F villages. The most frequent neurological manifestation among
    adults was headache again followed by insomnia and lethargy. A few cases of
    polyuria and polydipsia were also reported among adults in the high F villages
    (Table 2).


      The results revealed that in the study villages, the most prevalent neurological
    manifestation was headache in both children and adults, followed by lethargy and
    insomnia. However, there were a few cases of polyuria and polydipsia among
    adults, but not children, especially in the high F villages (Table 3). Again, males
    were found to be more prone to fluorosis than females. The most vulnerable age
    group for all the neurological manifestations was 40-60 years followed by 18-40
    years (Table 3).
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 845 of 854
   130 Research report                                            Neurological manifestations of fluoride in a human population 130
             Fluoride 42(2)127–132                                                                          Sharma, Sohu, Jain
             April-June 2009

     .
              Table 3 . Neurol ogical manifestation s in inha bitants of d iffere nt ag e groups and sex o f village s of S angan er Te hsil
        A ge                     Total no of                                         Neuro logical manifestations
       rang e         S exa       pe ople
      (years)                    surveyed            Heada ch e           In somn ia           Lethar gy          Po lyu ria       Pol ydi psia

                      To tal         14 6                  0                  0                    0                  0                  0

             <6         M             75                   0                  0                    0                  0                  0
                        F             71                   0                  0                    0                  0                  0

                      To tal         27 7                  0                  0                    0                  0                  0

         6 -12          M            13 3                  0                  0                    0                  0                  0
                        F            14 4                  0                  0                    0                  0                  0

                                                          47                  16                   6
                      To tal         72 2                                                                             0                  0
                                                        (6.51 )             (2.22)              (0.83)
                                                          29                  13                   4
         12-1 8         M            37 1                                                                             0                  0
                                                        (7.82 )             (3.50)              (1.08)
                                                          18                  3                    2
                        F            35 1                                                                             0                  0
                                                        (5.13 )             (0.85)              (0.57)

                      To tal                             106                  82                  1 20                1                  2
                                     81 6
                                                       (12.99)             (10.05 )             (1 4.7 1)           (0.12)            (0 .25 )

         18-4 0                                           57                  45                   65                 1                  2
                        M            41 8
                                                       (13.64)             (10.77 )             (1 5.5 5)           (0.24)            (0 .48 )
                                                         49                   37                   55
                        F            39 8                                                                             0                  0
                                                       (12.31)              (9.30)              (1 3.8 2)

                      To tal                             75                  60                    91                 3                   4
                                     54 1
                                                       (13.86)             (11.09 )             (1 6.8 2)           (0.55)            (0 .74 )
         40-6 0                                          41                  31                    52                 2                   2
                        M            28 0
                                                       (14.64)             (11.07 )             (1 8.5 7)           (0.71)            (0 .71 )
                                                          34                  29                   39                 1                  2
                        F            26 1
                                                       (13.03)             (11.11 )             (1 4.9 4)           (0.96)            (0 .77 )

                      To tal                              18                 22                   27                  2                   2
                                     19 9
                                                        (9.05 )            (11.06 )             (13.57              (1.01)            (1 .01 )

         >60                                             11                  11                    14                 1                   1
                        M             95
                                                       (11.58)             (11.58 )             (1 4.7 4)           (1.05)            (1 .05 )
                                                           7                 11                    13                 1                   1
                        F            10 4
                                                        (6.73 )            (10.58 )             (1 2.5 0)           (0.96)            (0 .96 )

                      To tal                              47                  16                   6                  0                  0
                                     1145
     Chil dren                                          (4.10 )             (1.40)              (0.52)
                                                          29                  13                   4
                        M            57 9                                                                             0                  0
                                                        (5.01 )             (2.25)              (0.69)
                                                          18                  3                    2
                        F            56 6                     b                                                       0                  0
                                                        (3.18)              (0.53)              (0.35)

      Adul ts         To tal                             199                 164                  2 38                6                   8
                                     1556
                                                       (12.79)             (10.54 )             (1 5.3 0)           (0.39)            (0 .51 )
                                                         109                  87                  1 31                4                  5
                        M            79 3
                                                       (13.75)             (10.97 )             (1 6.5 2)           (0.50)            (0 .63 )
                                                         90                  77                   1 07                2                   3
                        F            76 3
                                                       (11.80)             (10.09 )             (1 4.0 2)           (0.26)            (0 .39 )

      Gran d                                             246                 180                 2 44                 6                   8
                      To tal         2701
      Total
                                                        (9.11 )             (6.66)              (9.03)              (0.22)            (0 .30 )
                                                         138                 100                 1 35                 4                   5
                        M            1372
                                                       (10.06)              (7.29)              (9.84)              (0.29)            (0 .36 )
                                                         108                  80                  1 09                2                  3
                        F            1329
                                                        (8.13 )             (6.02)              (8.20)              (0.15)            (0 .23 )
         a                           b
             M = Male, F= Female . Va lues in p arenthesis are percen tag es in e ach g roup.
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 846 of 854
   131 Research report                Neurological manifestations of fluoride in a human population 131
        Fluoride 42(2)127–132                                                   Sharma, Sohu, Jain
        April-June 2009

                                        DISCUSSION
      Among neurological ailments caused by F are neurological manifestations such
    as headache, paralysis, quadriplegia, lethargy, insomnia, etc., but no individual
    usually suffers to a great extent from any one symptom. Although the blood-brain
    barrier is relatively impermeable to F, it does not pose an absolute barrier, and F
    has the ability to enter the brain, where is can disrupt the activity of normally
    functioning hormones. For example, F can reduce levels of melatonin, the sleep
    hormone, in the body, causing chronic insomnia.19
      Spittle10 has recorded cases of severe headache, lethargy, depression, and
    paralysis in adult subjects exposed to medium-level F in their drinking water.
    Possible mechanisms whereby F could affect brain function include influencing
    calcium currents, altering enzyme configuration by forming strong hydrogen
    bonds with amide groups, inhibiting cortical adenylyl cyclase activity, and
    increasing phosphoinositide hydrolysis.10 Shashi20 also has suggested that there is
    a direct action of F on nerve tissue in the brain that is responsible for central
    nervous system problems such as tremors, seizures, and paralysis
      In the present study, some individuals complained of polydipsia and polyuria. F
    adversely affects various parts of the brain, affecting behavioral patterns
    controlled by those parts. Furthermore, F inhibits anti-diuretic hormone
    production in the brain, and consequently the kidneys (the target organ for the
    hormone action) are unable to function normally for elimination of sufficient urine
    and re-absorption of water by the tubules. Srikantia and Siddiqui21 emphasized
    polydipsia and polyuria in endemic skeletal fluorosis in an endemic F area in
    India.
                                       CONCLUSION
      F may cause various neurological manifestations among subjects residing in
    endemic areas that may be due, at least in part, to the adverse action of F on the
    brain and various organs such as the kidney controlled by the brain through
    various hormones.
                                  ACKNOWLEDGEMENTS
     The authors are grateful for support from the Ground Water Department,
    Government of Rajasthan, and the Head, Department of Zoology, University of
    Rajasthan, Jaipur, Rajasthan (India). This work was presented at the XXVIIIth
    Conference of the International Society for Fluoride Research, 7-11 August 2008,
    Toronto, Canada.
                                       REFERENCES
     1 Botha CJ, Nande TW, Mannaar PP, Van-Amstel SR, Jansevan-Rensberg SD. Two out
       breaks of fluorosis in cattle and sheep. J S Afr Vet Assoc 1993;64:165.
     2 Gupta SK, Gambhir S, Mithal A, Das BK. Skeletal scientigraphic findings in endemic
       skeletal fluorosis. Nucl Med Commun 1993;14:384.
     3 Choubisa SL. Some observation on endemic fluorosis in domestic animals in southern
       Rajasthan (India). Vet Res Commun 1999;23:457.
     4 Boulton IC, Cooke JA, Johnson MS. Fluoride accumulation and toxicity in laboratory
       population of wild small mammals and white mice. J Appl Toxicol 1995;15:423.
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 847 of 854
   132 Research report                       Neurological manifestations of fluoride in a human population 132
        Fluoride 42(2)127–132                                                          Sharma, Sohu, Jain
        April-June 2009

     5 Michael M, Barot VV, Chinoy NJ. Investigation of soft tissue functions in fluorotic individual
       of North Gujarat. Fluoride 1996;29:63.
     6 Hicks MJ, Flaitz CM. Enamel caries formation and lesion progression with a fluoride
       dentifrice and a calcium-phosphate containing fluoride dentifrice: a polarized light
       microscopic study. ASDC J Dent Child 2000;67:21.
     7 Chinoy NJ, Pradeep PK, Sequeira E. Effects of fluoride ingestion on the physiology of
       reproductive organs of male rats. J Environ Biol 1991;13:55.
     8 Purohit SD, Gupta RC, MAthur AK, Gupta N, Jeswani ID, Choudhary VK, Purohit SK.
       Experimental pulmonary fluorosis. Indian J Chest Dis Allied Sci 1999;41:27.
     9 Suketa Y, Mikami E. Changes in urinary excretion and related renal enzyme activities in
       fluoride treated rats. Toxicol Appl Pharmacol 1977;40:551-9.
    10 Spittle B. Psychopharmacology of fluoride: a review. Int Clin Psychopharmacol 1994;9:79-
       82.
    11 Paul V, Ekambaram P, Jayakumar AR. Effects of sodium fluoride on locomotor behavior
       and a few biochemical parameters in rats. Environ Toxicol Pharmacol 1998;6:187-91.
    12 National Research Council. Fluoride in drinking water: a scientific review of EPA standards.
       Washington, DC: National Academies Press; 2006. p. 187.
    13 Trivedi MH, Verma RJ, Chinoy NJ, Patel RS, Sathawara NG. Effect of high fluoride water on
       intelligence of school children in India. Fluoride 2007;40(3):178-83.
    14 Wang SX, Wang ZH, Cheng XT, Li J, Sang ZP, Zhang XD, et al. Arsenic and fluoride
       exposure in drinking water: children’s IQ and growth in Shanyin Country, Shanxi Province,
       China. Environ Hlth Perspec 2007;115(4):643-7.
    15 Rocha-Amador D, Navarro ME, Carrizales L, Morales R, Calderon J. Decreased
       intelligence in children and exposure to fluoride and arsenic in drinking water. Cadernos de
       Saude Publica 2007;23(Suppl 4):S579-87.
    16 Calvert GM, Mueller CA, Fajen JM, Chrislip DW, Russo J, Briggle T, et al. Health effects
       associated with sulfuryl fluoride and methyl bromide exposure among structural fumigation
       workers. American J Public Health 1998;88:1774-80.
    17 Chioca LR, Raupp IM, Da Cunha C, Losso EM, Andreatini R. Subchronic fluoride intake
       induces impairment in habituation and active avoidance tasks in rats. Eur J Pharmacol
       2008;579(1-3):196-201.
    18 Guo Z, et al. Study on neurobehavioral function of workers occupationally exposed to
       fluoride. Ind Health Occup Dis 2001;27:346-348.
    19 Heliman B. Fluoridation of Water: Questions about health risks and benefits remain after
       more than 40 years. Chemical and Engineering News 1998;26-42.
    20 Shashi A. Histopathological investigation of fluoride-induced neurotoxicity in rabbits.
       Fluoride 2003;36:95-105.
    21 Srikantia SG, Siddiqui AH. Metabolic studies in skeletal fluorosis. Clin Sci 1965;28:477-485.




                      Copyright © 2009 The International Society for Fluoride Research Inc.
               www.fluorideresearch.org      www.fluorideresearch.com      www.fluorideresearch.net
                 Editorial Office: 727 Brighton Road, Ocean View, Dunedin 9035, New Zealand.
Case 3:17-cv-02162-EMC Document 120-1 Filed 10/18/19 Page 848 of 854




                      Exhibit 47
0120324105      Case 3:17-cv-02162-EMC Document678ÿ
                                                  44 35Filed
                                                120-1  4110ÿÿ10/18/19
                                                                    Page 849 of 854



                                              $%&ÿ(()*+,*(--.
     /012345671ÿ29ÿ:5603;<456=5>
     ?0<@005ÿAB0ÿC5D=325105<4EÿF32<0G<=25ÿH>05GI
     456ÿAB0ÿJ226ÿ456ÿK37>ÿH61=5=;<34<=25
     ÿ
     MNÿF73O2;0P
     QRSTÿUVWXYZ[\]WÿX^ÿ_[\VYT`Z[\S[aÿVT`ZbcSTRVTÿZ[ÿZaYVVWV[`ÿbV`dVV[ÿ̀RVÿe[fSYX[WV[`Zc
     gYX`Vh`SX[ÿiaV[hjÿkegilÿZ[\ÿ̀RVÿmXX\ÿZ[\ÿnY]aÿi\WS[ST`YZ`SX[ÿkmnilÿdS̀RÿYVaZY\ÿ̀Xÿ̀RV
     hX[`YXcÿX^ÿ\SYVh`ÿZ[\ÿS[\SYVh`ÿZ\\S̀SfVTÿ̀XÿZ[\ÿT]bT`Z[hVTÿS[ÿ\YS[oS[aÿdZ`VYp
     egiÿZ[\ÿmniÿZaYVVq
     ÿ
     ipÿQRZ`ÿhX[`ZWS[Z`SX[ÿX^ÿ\YS[oS[aÿdZ`VYÿ^YXWÿ̀RVÿ]TVÿZ[\ÿZrrcShZ`SX[ÿX^ÿ\SYVh`ÿZ[\ÿS[\SYVh`
     Z\\S̀SfVTÿZ[\ÿX`RVYÿT]bT`Z[hVTÿrXTVTÿZÿrX`V[`SZcÿr]bcShÿRVZc̀RÿrYXbcVWs
     ÿ
     tpÿQRZ`ÿ̀RVÿThXrVÿX^ÿ̀RVÿZ\\S̀SfVTÿrYXbcVWÿS[ÿ̀VYWTÿX^ÿ̀RVÿRVZc̀RÿTSa[S^ShZ[hVÿX^ÿ̀RVTV
     hX[`ZWS[Z[`TÿS[ÿ\YS[oS[aÿdZ`VYÿSTÿ[X`ÿ^]ccjÿo[Xd[s
     upÿQRZ`ÿ̀RVÿrXTTSbScS̀jÿX^ÿXfVYcZrrS[aÿv]YST\Sh`SX[ÿbV`dVV[ÿegiÿZ[\ÿmniÿdS̀RÿYVTrVh`ÿ̀XÿhX[`YXc
     X^ÿ\YS[oS[aÿdZ`VYÿZ\\S̀SfVTÿRZTÿbVV[ÿ̀RVÿT]bvVh`ÿX^ÿuX[aYVTTSX[ZcÿZTÿdVccÿZTÿr]bcShÿhX[hVY[s
     ÿ
     npÿQRZ`ÿ̀RVÿZ]`RXYS̀jÿ̀XÿhX[`YXcÿ̀RVÿ]TVÿZ[\ÿZrrcShZ`SX[ÿX^ÿ\SYVh`ÿZ[\ÿS[\SYVh`ÿZ\\S̀SfVTÿ̀XÿZ[\
     T]bT`Z[hVTÿS[ÿ\YS[oS[aÿdZ`VYÿTRX]c\ÿbVÿfVT`V\ÿS[ÿZÿTS[acVÿYVa]cZ`XYjÿZaV[hjÿ̀XÿZfXS\ÿ\]rcShZ`SfV
     Z[\ÿS[hX[TST`V[`ÿYVa]cZ`SX[s
     ÿ
     epÿQRZ`ÿegiÿRZTÿbVV[ÿWZ[\Z`V\ÿbjÿuX[aYVTTÿ][\VYÿ̀RVÿwZ^VÿnYS[oS[aÿxZ`VYÿih`ÿkwnxilyÿZT
     ZWV[\V\yÿ̀XÿZTT]YVÿ̀RZ`ÿ̀RVÿr]bcShÿSTÿrYXfS\V\ÿdS̀RÿTZ^Vÿ\YS[oS[aÿdZ`VYs
     ÿ

2222 !"244 354110                                                  02#
0120324105      Case 3:17-cv-02162-EMC Document678ÿ
                                                  44 35Filed
                                                120-1  4110ÿÿ10/18/19
                                                                    Page 850 of 854
     $%ÿ'()*ÿ+,-ÿ().ÿ/001ÿ2)13)*03ÿ/4ÿ561780..ÿ91308ÿ*(0ÿ'6:;<ÿ=9/.*)1<0.ÿ561*86>ÿ-<*ÿ?'=5-@ÿ*6
     A86*0<*ÿ)7);1.*ÿ9180).61)/>0ÿ8;.B.ÿ*6ÿ(0)>*(ÿ)13ÿ*(0ÿ01C;861201*ÿD862ÿ*6:;<ÿ.9/.*)1<0.ÿ/4
     80E9;8;17Fÿ;1*08ÿ)>;)Fÿ*0.*;17ÿ)13ÿ10<0..)84ÿ80.*8;<*;61.ÿ61ÿ*(0ÿ9.0Fÿ2)19D)<*980FÿA86<0..;17F
     3;.*8;/9*;61Fÿ)13ÿ3;.A6.)>ÿ6Dÿ<(02;<)>ÿ.9/.*)1<0.ÿ)13ÿ2;:*980.G
     ÿ
     H%ÿ'()*ÿ+,-ÿ().ÿ/001ÿ2)13)*03ÿ/4ÿ561780..ÿ91308ÿ*(0ÿ$0308)>ÿI1.0<*;<;30Fÿ$917;<;30Fÿ)13
     J6301*;<;30ÿ-<*ÿ?$I$J-@Fÿ).ÿ)201303Fÿ*6ÿ)..980Fÿ;1*08ÿ)>;)Fÿ*()*ÿK(01ÿ9.03ÿA86A08>4FÿA0.*;<;30.
     K;>>ÿA08D682ÿ*(0;8ÿ;1*01303ÿD91<*;61ÿK;*(69*ÿ<)9.;17ÿ9180).61)/>0ÿ)3C08.0ÿ0DD0<*.ÿ61ÿ*(0
     01C;861201*Gÿ)13F
     ÿ
     L%ÿ'()*ÿ$M-ÿ().ÿ/001ÿ2)13)*03ÿ/4ÿ561780..ÿ91308ÿ*(0ÿ$0308)>ÿ$663FÿM897Fÿ)13ÿ56.20*;<ÿ-<*
     ?$$M5-@Fÿ).ÿ)201303Fÿ*6ÿA86*0<*ÿ*(0ÿA9/>;<ÿD862Fÿ;1*08ÿ)>;)Fÿ*(0ÿ)39>*08)*;61ÿ6DÿD663ÿ/4ÿD663
     )33;*;C0.ÿ)13ÿA6;.6169.ÿ)13ÿ30>0*08;69.ÿ.9/.*)1<0.%
     I*ÿ;.ÿ*(0ÿ;1*01*ÿ6Dÿ*(0ÿA)8*;0.ÿ*()*N
     ÿ
     -%ÿ+,-ÿK;>>ÿ()C0ÿ80.A61.;/;>;*4ÿD68ÿ3;80<*ÿ)13ÿ;13;80<*ÿ)33;*;C0.ÿ*6ÿ)13ÿ6*(08ÿ.9/.*)1<0.ÿ;1
     38;1B;17ÿK)*08ÿ91308ÿ*(0ÿ=MO-Fÿ'=5-Fÿ)13ÿ$I$J-Gÿ)13F
     P%ÿ$M-ÿK;>>ÿ()C0ÿ80.A61.;/;>;*4ÿD68ÿK)*08Fÿ)13ÿ.9/.*)1<0.ÿ;1ÿK)*08Fÿ9.03ÿ;1ÿD663ÿ)13ÿD68ÿD663
     A86<0..;17ÿ)13ÿ80.A61.;/;>;*4ÿD68ÿ/6**>03ÿ38;1B;17ÿK)*08ÿ91308ÿ*(0ÿ$$M5-%
     ÿ
     QQRÿTUVWXYZ[\]^
     -%ÿ$M-ÿ_07)>ÿ-9*(68;*4
     `$663`ÿ20)1.ÿ)8*;<>0.ÿ9.03ÿD68ÿD663ÿ68ÿ38;1BÿD68ÿ2)1ÿ68ÿ6*(08ÿ)1;2)>.ÿ)13ÿ<62A6101*.ÿ6Dÿ.9<(
     )8*;<>0.%ÿÿ?$$M5-ÿ=0<*;61ÿabc?D@@%ÿÿd1308ÿ=0<*;61ÿebaFÿ;1*08ÿ)>;)Fÿ)ÿD663ÿ2)4ÿ16*ÿ<61*);1ÿ)14
     )3303ÿA6;.6169.ÿ68ÿ30>0*08;69.ÿ.9/.*)1<0ÿ*()*ÿ2)4ÿ801308ÿ;*ÿ;1f98;69.ÿ*6ÿ(0)>*(Fÿ68ÿ/0ÿA80A)803F
     A)<B03ÿ68ÿ()13>03ÿ91308ÿ91.)1;*)84ÿ<613;*;61.%ÿ'6>08)1<0.ÿ2)4ÿ/0ÿ.0*Fÿ91308ÿ=0<*;61ÿebgF
     >;2;*;17ÿ*(0ÿE9)1*;*4ÿ6Dÿ)14ÿ.9/.*)1<0ÿK(;<(ÿ;.ÿ80E9;803ÿD68ÿ*(0ÿA8639<*;61ÿ6DÿD663ÿ68ÿ<)116*ÿ/0
     )C6;303ÿ;1ÿD663%ÿ$M-ÿ().ÿ*(0ÿ)9*(68;*4ÿ91308ÿ=0<*;61ÿebhÿ*6ÿ;..90ÿD663ÿ)33;*;C0ÿ8079>)*;61.
     )AA86C;17FÿK;*(ÿ68ÿK;*(69*ÿ<613;*;61.Fÿ68ÿ3014;17ÿ*(0ÿ9.0ÿ6Dÿ)ÿ̀D663ÿ)33;*;C0%̀ÿ'()*ÿ*082ÿ;.
     30D;103ÿ;1ÿ=0<*;61ÿabc?.@ÿ*6ÿ;1<>930ÿ)14ÿ.9/.*)1<0ÿ*(0ÿ;1*01303ÿ9.0ÿ6DÿK(;<(ÿ80.9>*.ÿ68ÿ2)4

2222 !"244 354110                                                  42#
0120324105      Case 3:17-cv-02162-EMC Document678ÿ
                                                  44 35Filed
                                                120-1  4110ÿÿ10/18/19
                                                                    Page 851 of 854
     %&'()*'+,&ÿ+&ÿ&./&01&2ÿ1)ÿ%&(3,14ÿ25%&01,6ÿ)%ÿ5*25%&01,64ÿ5*ÿ51(ÿ+&0)75*8ÿ'ÿ0)7/)*&*1ÿ)%
     )19&%:5(&ÿ';;&015*8ÿ19&ÿ09'%'01&%5(150(ÿ);ÿ'*6ÿ;))24ÿ5;ÿ(309ÿ(3+(1'*0&ÿ5(ÿ*)1ÿ8&*&%',,6ÿ%&0)8*5<&2
     '(ÿ(';&=
     ÿ
     >*ÿ19&ÿ/'(14ÿ?@Aÿ9'(ÿ0)*(52&%&2ÿ2%5*B5*8ÿ:'1&%ÿ1)ÿ+&ÿ'ÿ;))2ÿ3*2&%ÿC&015)*ÿDEFG;H=ÿI):&J&%4
     +)19ÿ/'%15&(ÿ9'J&ÿ2&1&%75*&2ÿ19'1ÿ19&ÿ/'(('8&ÿ);ÿ19&ÿC@KAÿ5*ÿFLMNÿ57/,5051,6ÿ%&/&',&2ÿ?@AO(
     '319)%516ÿ3*2&%ÿ19&ÿ??@PAÿ)J&%ÿ:'1&%ÿ3(&2ÿ;)%ÿ2%5*B5*8ÿ:'1&%ÿ/3%/)(&(=ÿQ*2&%ÿ19&ÿ&./%&((
     /%)J5(5)*(ÿ);ÿC&015)*ÿNFEÿ);ÿ19&ÿ??@PA4ÿ?@Aÿ%&1'5*(ÿ'319)%516ÿ)J&%ÿ+)11,&2ÿ2%5*B5*8ÿ:'1&%=
     ?3%19&%7)%&4ÿ',,ÿ:'1&%ÿ3(&2ÿ5*ÿ;))2ÿ%&7'5*(ÿ'ÿ;))2ÿ'*2ÿ(3+R&01ÿ1)ÿ19&ÿ/%)J5(5)*(ÿ);ÿ19&ÿ??@PA=
     K'1&%ÿ3(&2ÿ;)%ÿ;))2ÿ/%)0&((5*8ÿ5(ÿ(3+R&01ÿ1)ÿ'//,50'+,&ÿ/%)J5(5)*(ÿ);ÿ??@PA=ÿS)%&)J&%4ÿ',,
     (3+(1'*0&(ÿ5*ÿ:'1&%ÿ3(&2ÿ5*ÿ;))2ÿ'%&ÿ'22&2ÿ(3+(1'*0&(ÿ(3+R&01ÿ1)ÿ19&ÿ/%)J5(5)*(ÿ);ÿ19&ÿ??@PA4
     +31ÿ*)ÿ(3+(1'*0&(ÿ'22&2ÿ1)ÿ'ÿ/3+,50ÿ2%5*B5*8ÿ:'1&%ÿ(6(1&7ÿ+&;)%&ÿ19&ÿ:'1&%ÿ&*1&%(ÿ'ÿ;))2
     /%)0&((5*8ÿ&(1'+,5(97&*1ÿ:5,,ÿ+&ÿ0)*(52&%&2ÿ'ÿ;))2ÿ'22515J&=
     ÿ
     T=ÿUVAÿW&8',ÿA319)%516
     X9&ÿC@KAÿ8%'*1(ÿUVAÿ19&ÿ'319)%516ÿ1)ÿ0)*1%),ÿ0)*1'75*'*1(ÿ5*ÿ2%5*B5*8ÿ:'1&%ÿ:9509ÿ7'6ÿ9'J&
     '*6ÿ'2J&%(&ÿ&;;&01ÿ)*ÿ19&ÿ/3+,50ÿ9&',194ÿ19%)389ÿ19&ÿ&(1'+,5(97&*1ÿ);ÿ7'.5737ÿ0)*1'75*'*1
     ,&J&,(ÿGSPW(Hÿ)%ÿ1%&'17&*1ÿ1&09*5Y3&(4ÿ3*2&%ÿC&015)*ÿFNFD4ÿ:9509ÿ'%&ÿ'//,50'+,&ÿ1)ÿ):*&%(ÿ'*2
     )/&%'1)%(ÿ);ÿ/3+,50ÿ:'1&%ÿ(6(1&7(=ÿX9&ÿ&./%&((&2ÿ5*1&*1ÿ);ÿ19&ÿA01ÿ:'(ÿ1)ÿ85J&ÿUVAÿ&.0,3(5J&
     0)*1%),ÿ)J&%ÿ19&ÿ(';&16ÿ);ÿ/3+,50ÿ:'1&%ÿ(3//,5&(=ÿV3+,50ÿ:'1&%ÿ(6(1&7(ÿ7'6ÿ',()ÿ+&ÿ%&Y35%&2ÿ+6
     %&83,'15)*ÿ1)ÿ0)*2301ÿ7)*51)%5*8ÿ;)%ÿ3*%&83,'1&2ÿ0)*1'75*'*1(ÿ3*2&%ÿC&015)*ÿFNNZÿ'*2ÿ1)ÿ5((3&
     /3+,50ÿ*)15;50'15)*ÿ);ÿ(309ÿ,&J&,(ÿ3*2&%ÿC&015)*ÿFNFNG0H=
     ÿ
     UVAO(ÿ25%&01ÿ'319)%516ÿ1)ÿ0)*1%),ÿ'22515J&(ÿ1)ÿ2%5*B5*8ÿ:'1&%ÿ'/'%1ÿ;%)7ÿ19&ÿ&.5(1&*0&ÿ);
     7'.5737ÿ0)*1'75*'*1ÿ,&J&,(ÿ)%ÿ1%&'17&*1ÿ1&09*5Y3&(ÿ5(ÿ,5751&2ÿ1)ÿ51(ÿ&7&%8&*06ÿ/):&%(ÿ3*2&%
     C&015)*ÿFN[F=ÿI):&J&%4ÿC&015)*ÿFNNDG+Hÿ);ÿ19&ÿA01ÿ'319)%5<&(ÿUVAÿ1)ÿ\0),,&01ÿ'*2ÿ7'B&ÿ'J'5,'+,&
     5*;)%7'15)*ÿ/&%1'5*5*8ÿ1)ÿ%&(&'%094ÿ5*J&(158'15)*(4ÿ'*2ÿ2&7)*(1%'15)*(ÿ:519ÿ%&(/&01ÿ1)
     /%)J525*8ÿ'ÿ2&/&*2'+,6ÿ(';&ÿ(3//,6ÿ);ÿ2%5*B5*8ÿ:'1&%ÿ1)8&19&%ÿ:519ÿ'//%)/%5'1&
     %&0)77&*2'15)*(ÿ19&%&:519=\
     ÿ
     XCPAÿ85J&(ÿUVAÿ'319)%516ÿ1)ÿ%&83,'1&ÿ09&750',ÿ(3+(1'*0&(4ÿ75.13%&(ÿ'*2ÿ3*2&%ÿ()7&
     05%037(1'*0&(4ÿ'%150,&(ÿ0)*1'5*5*8ÿ(309ÿ(3+(1'*0&(ÿ)%ÿ75.13%&(=ÿC&015)*ÿNÿ/&%751(ÿUVAÿ1)
     %&Y35%&ÿ1&(15*8ÿ);ÿ'ÿ09&750',ÿ(3+(1'*0&ÿ)%ÿ75.13%&ÿ+'(&2ÿ)*ÿ/)((5+,&ÿ3*%&'()*'+,&ÿ%5(Bÿ);ÿ5*R3%6
     1)ÿ9&',19ÿ)%ÿ19&ÿ&*J5%)*7&*14ÿ)%ÿ)*ÿ(58*5;50'*1ÿ)%ÿ(3+(1'*15',ÿ937'*ÿ)%ÿ&*J5%)*7&*1',ÿ&./)(3%&
2222 !"244 354110                                                    #2$
0120324105      Case 3:17-cv-02162-EMC Document678ÿ
                                                  44 35Filed
                                                120-1  4110ÿÿ10/18/19
                                                                    Page 852 of 854
     %&'()ÿ+),-'./ÿ0ÿ)/12()3ÿ456ÿ-.ÿ7)89'7)ÿ392:'33'./ÿ.;ÿ<1-1ÿ3&.%'/=ÿ3923-1/-'1(ÿ7'3>ÿ.;ÿ'/?97@ÿ-.
     &)1(-&ÿ.7ÿ-&)ÿ)/A'7./:)/-Bÿ)C'3-'/=ÿ&)1(-&ÿ1/<ÿ31;)-@ÿ3-9<')3Bÿ1/<ÿ.-&)7ÿ<1-1DÿE.7ÿ/)%ÿ,&):',1(
     3923-1/,)3Bÿ1/<ÿ3'=/';',1/-ÿ/)%ÿ93)3ÿ.;ÿ)C'3-'/=ÿ,&):',1(ÿ3923-1/,)3Bÿ+),-'./ÿFÿ7)89'7)3
     :1/9;1,-97)73ÿ-.ÿG7.A'<)ÿ456ÿ%'-&ÿG7)H:1/9;1,-97'/=ÿ/.-',)DÿI/<)7ÿ+),-'./ÿJÿ-&)
     :1/9;1,-97)BÿG7.,)33'/=Bÿ<'3-7'29-'./Bÿ93)Bÿ1/<ÿ<'3G.31(ÿ.;ÿ1ÿ,&):',1(ÿ3923-1/,)ÿ.7ÿ:'C-97)
     <)-)7:'/)<ÿ-.ÿ2)ÿ&17:;9(ÿ:1@ÿ2)ÿ7)3-7',-)<ÿ.7ÿ21//)<Dÿ6(-&.9=&ÿ+),-'./ÿKLMNLONÿ.;ÿP+Q6
     )C,(9<)3ÿ;7.:ÿ-&)ÿ<);'/'-'./ÿ.;ÿR,&):',1(ÿ3923-1/,)Rÿ;..<ÿ1/<ÿ;..<ÿ1<<'-'A)3ÿ13ÿ<);'/)<ÿ9/<)7
     EESQ6Bÿ-&)ÿ':G(','-ÿ7)G)1(ÿ2@ÿ-&)ÿ+ST6ÿ.;ÿES6U3ÿ19-&.7'-@ÿ.A)7ÿ<7'/>'/=ÿ%1-)7ÿ)/12()3ÿ456ÿ-.
     7)=9(1-)ÿ<'7),-ÿ1/<ÿ'/<'7),-ÿ1<<'-'A)3ÿ-.ÿ<7'/>'/=ÿ%1-)7ÿ13ÿ,&):',1(ÿ3923-1/,)3ÿ1/<ÿ:'C-97)3
     9/<)7ÿP+Q6D
     ÿ
     P&)ÿEVEW6ÿ7)89'7)3ÿ456ÿ-.ÿ3)-ÿ7)3-7',-'./3ÿ./ÿ-&)ÿ93)ÿ.;ÿG)3-','<)3ÿ-.ÿ13397)ÿ-&1-ÿ%&)/ÿ93)<
     G7.G)7(@Bÿ-&)@ÿ%'((ÿ/.-ÿ,193)ÿ9/7)13./12()ÿ1<A)73)ÿ);;),-3ÿ./ÿ-&)ÿ)/A'7./:)/-Dÿ456ÿ:1@
     7)89'7)Bÿ'/-)7ÿ1('1ÿ(12)('/=ÿ%&',&ÿ3G),';')3ÿ&.%Bÿ%&)/Bÿ1/<ÿ%&)7)ÿ1ÿG)3-','<)ÿ:1@ÿ2)ÿ()=1((@ÿ93)<D
     V/ÿ1<<'-'./Bÿ456ÿ&13Bÿ9/<)7ÿ+),-'./ÿXYZÿ.;ÿ-&)ÿEESQ6Bÿ7)89'7)<ÿEVEW6ÿ7)='3-71/-3ÿ1-ÿ-':)3ÿ-.
     .2-1'/ÿ1ÿ;..<ÿ1<<'-'A)ÿ-.()71/,)ÿ2);.7)ÿ93'/=ÿ1ÿG)3-','<)ÿ'/ÿ.7ÿ17.9/<ÿ1ÿ<7'/>'/=ÿ%1-)7ÿ3.97,)D
     +9,&ÿ-.()71/,)3ÿ)3-12('3&ÿ;97-&)7ÿ7)3-7',-'./3ÿ./ÿ-&)ÿ93)ÿ.;ÿ1ÿG)3-','<)ÿ%&',&ÿ17)ÿ)/;.7,)12()
     1=1'/3-ÿ-&)ÿ%1-)7ÿ39GG(')7ÿ13ÿ%)((ÿ13ÿ-&)ÿ7)='3-71/-ÿ.;ÿ-&)ÿG)3-','<)D
     ÿ
     [[[\ÿ^_`abÿcdÿef`__a_ghi
     6Dÿ456U3ÿ7)3G./3'2'('-')3ÿ17)ÿ13ÿ;.((.%3j
     kDÿP.ÿ)3-12('3&ÿ1GG7.G7'1-)ÿ7)=9(1-'./3Bÿ1/<ÿ-.ÿ-1>)ÿ1GG7.G7'1-)ÿ:)1397)3Bÿ9/<)7ÿ-&)ÿ+ST6
     1/<l.7ÿP+Q6Bÿ1/<ÿEVEW6Bÿ-.ÿ,./-7.(ÿ<'7),-ÿ1<<'-'A)3ÿ-.ÿ<7'/>'/=ÿ%1-)7ÿL%&',&ÿ)/,.:G133ÿ1/@
     3923-1/,)3ÿG97G.3)(@ÿ1<<)<ÿ-.ÿ-&)ÿ%1-)7NBÿ1/<ÿ'/<'7),-ÿ1<<'-'A)3ÿL%&',&ÿ)/,.:G133ÿ1/@
     3923-1/,)ÿ%&',&ÿ:'=&-ÿ()1,&ÿ;7.:ÿG1'/-3Bÿ,.1-'/=3ÿ.7ÿ.-&)7ÿ:1-)7'1(3ÿ13ÿ1/ÿ'/,'<)/-1(ÿ7)39(-ÿ.;
     <7'/>'/=ÿ%1-)7ÿ,./-1,-NBÿ1/<ÿ.-&)7ÿ3923-1/,)3D
     ÿ
     MDÿP.ÿ)3-12('3&ÿ1GG7.G7'1-)ÿ7)=9(1-'./3ÿ9/<)7ÿ-&)ÿ+ST6ÿ-.ÿ(':'-ÿ-&)ÿ,./,)/-71-'./3ÿ.;ÿG)3-','<)3
     '/ÿ<7'/>'/=ÿ%1-)7mÿ-&)ÿ(':'-1-'./3ÿ./ÿ,./,)/-71-'./3ÿ1/<ÿ-@G)3ÿ.;ÿG)3-','<)3ÿ'/ÿ%1-)7ÿ17)
     G7)3)/-(@ÿ3)-ÿ2@ÿ456ÿ-&7.9=&ÿ-.()71/,)3ÿ9/<)7ÿ+),-'./ÿXYZÿ.;ÿ-&)ÿEESQ6D
     ÿ
     KDÿP.ÿ,./-'/9)ÿ-.ÿG7.A'<)ÿ-),&/',1(ÿ133'3-1/,)ÿ'/ÿ-&)ÿ;.7:ÿ.;ÿ'/;.7:1(ÿ1<A'3.7@ÿ.G'/'./3ÿ./
     <7'/>'/=ÿ%1-)7ÿ1<<'-'A)3ÿ9/<)7ÿ+),-'./ÿkXXML2Nÿ.;ÿ-&)ÿ+ST6D
2222 !"244 354110                                                    #2$
0120324105      Case 3:17-cv-02162-EMC Document678ÿ
                                                  44 35Filed
                                                120-1  4110ÿÿ10/18/19
                                                                    Page 853 of 854
     ÿ
     %&ÿ'(ÿ)(*+,)-ÿ.*+ÿ/01,2/0ÿ/030./)4ÿ.*+ÿ5(*2-(/2*6ÿ.*+ÿ-40ÿ3,752332(*ÿ(8ÿ+.-.ÿ/09.-2:0ÿ-(ÿ-40
     ;/(7905ÿ(8ÿ+2/0)-ÿ.*+ÿ2*+2/0)-ÿ.++2-2:03ÿ2*ÿ+/2*<2*6ÿ=.-0/ÿ2*ÿ(/+0/ÿ-(ÿ.)),5,9.-0ÿ+.-.
     )(*)0/*2*6ÿ-40ÿ40.9-4ÿ/23<3ÿ;(30+ÿ7>ÿ-40ÿ;/030*)0ÿ(8ÿ-4030ÿ)(*-.52*.*-3ÿ2*ÿ+/2*<2*6ÿ=.-0/&
     ÿ
     ?&ÿ@ABC3ÿ/03;(*327292-203ÿ./0ÿ.3ÿ8(99(=3D
     E&ÿ'(ÿ-.<0ÿ.;;/(;/2.-0ÿ/06,9.-(/>ÿ.)-2(*ÿ,*+0/ÿ-40ÿ.,-4(/2->ÿ(8ÿ-40ÿ@@AFBÿ-(ÿ)(*-/(9ÿ7(--90+
     +/2*<2*6ÿ=.-0/ÿ.*+ÿ=.-0/Gÿ.*+ÿ3,73-.*)03ÿ2*ÿ=.-0/Gÿ,30+ÿ2*ÿ8((+ÿ.*+ÿ8(/ÿ8((+ÿ;/()0332*6&
     ÿ
     H&ÿ'(ÿ;/(:2+0ÿ.3323-.*)0ÿ-(ÿIJBÿ-(ÿ8.)292-.-0ÿ-40ÿ-/.*32-2(*ÿ(8ÿ/03;(*327292-203Gÿ2*)9,+2*6D
     .Kÿ'(ÿ/0:20=ÿ0L23-2*6ÿ@ABÿ.;;/(:.93ÿ2*ÿ(/+0/ÿ-(ÿ2+0*-28>ÿ-402/ÿ.;;92).7292->ÿ-(ÿ.++2-2:03ÿ2*
     +/2*<2*6ÿ=.-0/&
     7Kÿ'(ÿ;/(:2+0ÿ.ÿ5,-,.99>ÿ.6/00+ÿ,;(*ÿ90:09ÿ(8ÿ.3323-.*)0ÿ2*ÿ)(*+,)-2*6ÿ92-0/.-,/0ÿ30./)403
     /09.-0+ÿ-(ÿ-(L2)(9(62).9ÿ+0)232(*ÿ5.<2*6&
     )Kÿ'(ÿ;/(:2+0ÿ.ÿ30*2(/ÿ-(L2)(9(623-ÿ-(ÿ409;ÿIJBÿ+0:230ÿ*0=ÿ;/()0+,/03ÿ.*+ÿ;/(-()(93ÿ-(ÿ70ÿ,30+
     2*ÿ8(/5,9.-2*6ÿ.+:2)0ÿ(*ÿ+2/0)-ÿ.*+ÿ2*+2/0)-ÿ.++2-2:03ÿ-(ÿ+/2*<2*6ÿ=.-0/&
     ÿ
     MNOÿQRSTUVWXÿWYÿZ[S\\]\XU^
     '423ÿ_05(/.*+,5ÿ(8ÿ̀*+0/3-.*+2*6ÿ34.99ÿ)(*-2*,0ÿ2*ÿ0880)-ÿ,*9033ÿ5(+2820+ÿ7>ÿ5,-,.9ÿ)(*30*-
     (8ÿ7(-4ÿ;./-203ÿ(/ÿ-0/52*.-0+ÿ7>ÿ02-40/ÿ;./->ÿ,;(*ÿ-42/->ÿabcKÿ+.>3ÿ.+:.*)0ÿ=/2--0*ÿ*(-2)0ÿ-(ÿ-40
     (-40/&
     '423ÿ_05(/.*+,5ÿ(8ÿ̀*+0/3-.*+2*6ÿ=299ÿ70)(50ÿ0880)-2:0ÿ(*ÿ-40ÿ+.-0ÿ(8ÿ-40ÿ9.3-ÿ326*.-,/0&
     ZddSWe\fÿTXfÿZgg\dU\f
     YWSÿUh\ÿiXeVSWX]\XUTjÿkSWU\gUVWXÿZ[\Xgl
     m26*0+ÿ7>DÿA(,69.3ÿJ&ÿF(3-90
     B+52*23-/.-(/
     I*:2/(*50*-.9ÿJ/(-0)-2(*ÿB60*)>
     A.-0Dÿn,*0ÿEHGÿEopo
     ÿ
     ZddSWe\fÿTXfÿZgg\dU\f
     YWSÿUh\ÿqWWfÿTXfÿQSR[ÿZf]VXVrUSTUVWX
2222 !"244 354110                                                   2#
0120324105      Case 3:17-cv-02162-EMC Document678ÿ
                                                  44 35Filed
                                                120-1  4110ÿÿ10/18/19
                                                                    Page 854 of 854
     $%&'()ÿ+,-ÿ./'01)ÿ2(''(),
     3)4%'%56706/7
     8//)ÿ0')ÿ.79&ÿ3)4%'%56706%/'
     .06(-ÿ:9'(ÿ;;<ÿ=>?>
     ÿ
     ÿ




2222 !"244 354110                                  #2#
